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                         UNITED STATES DISTRICT COURT

                            DISTRICT OF CONNECTICUT


In re TEVA SECURITIES LITIGATION      )    No. 3:17-cv-00558-SRU
                                      )
                                      )    CLASS ACTION
This Document Relates To:             )
                                      )    AMENDED COMPLAINT FOR
            No. 3:19-cv-00449-SRU     )    VIOLATIONS OF FEDERAL SECURITIES
                                      )    LAW, THE PENNSYLVANIA SECURITIES
THE PHOENIX INSURANCE COMPANY )            ACT AND THE ISRAEL SECURITIES
LTD., THE PHOENIX PENSION LTD.,       )    LAWS
EXCELLENCE GEMEL & HISHTALMUT )
LTD., EXCELLENCE KESEM ETNS and       )
EXCELLENCE MUTUAL FUNDS,              )
                                      )
                          Plaintiffs, )
       vs.                            )
                                      )
TEVA PHARMACEUTICAL INDUSTRIES
                                      )
LTD., TEVA PHARMACEUTICALS USA,
                                      )
INC., EREZ VIGODMAN, EYAL DESHEH,
                                      )
SIGURDUR OLAFSSON, YAACOV
                                      )
ALTMAN, YITZHAK PETERBURG,
                                      )
DIPANKAR BHATTACHARJEE, MICHAEL
                                      )
McCLELLAN, DEBORAH GRIFFIN, KÅRE
                                      )
SCHULTZ and TEVA PHARMACEUTICAL
                                      )
FINANCE NETHERLANDS III B.V.,
                                      )
                          Defendants. )
                                      )    DEMAND FOR JURY TRIAL




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    DEFINED
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     TERMS
 2Q2013 Form 6-K     Form 6-K, filed on August 1, 2013, signed by defendant Desheh, with
                     second quarter 2013 financial results
 3Q2013 Form 6-K     Form 6-K, filed on October 31, 2013, signed by defendant Desheh, with
                     third quarter 2013 financial results
 4Q2013 Form 6-K     Form 6-K, filed on February 6, 2014, signed by defendant Altman, with
 Press Release       fourth quarter and full year 2013 financial results press release
 2013 Form 20-F      Form 20-F, filed on February 10, 2014, signed by defendant Desheh
 1Q2014 Form 6-K     Form 6-K, filed on May 1, 2014, signed by defendant Desheh, with first
                     quarter 2014 financial results
 2Q2014 Form 6-K     Form 6-K, filed on July 31, 2014, signed by defendant Desheh, with
                     second quarter 2014 financial results
 3Q2014 Form 6-K     Form 6-K, filed on October 30, 2014, signed by defendant Desheh, with
                     third quarter 2014 financial results
 4Q2014 Form 6-K     Form 6-K, filed on February 5, 2015, signed by defendant Desheh, with
 Press Release       fourth quarter and full year 2014 financial results press release
 2014 Form 20-F      Form 20-F, filed on February 9, 2015, signed and certified by defendants
                     Desheh and Vigodman
 1Q2015 Form 6-K     Form 6-K, filed on April 30, 2015, signed by defendant Desheh, with first
                     quarter 2015 financial results
 2Q2015 Form 6-K     Form 6-K, filed on July 30, 2015, signed by defendant Desheh, with
                     second quarter 2015 financial results
 3Q2015 Form 6-K     Form 6-K, filed on October 29, 2015, signed by defendant Desheh, with
                     third quarter 2015 financial results
 4Q2015 Form 6-K     Form 6-K, filed on February 11, 2016, signed by defendant Desheh, with
 Press Release       fourth quarter 2015 financial results press release
 2015 Form 20-F      Form 20-F, filed on February 11, 2016, signed by defendant Desheh;
                     defendants Vigodman and Desheh signed the consolidated balance sheet.
 1Q2016 Form 6-K     Form 6-K, filed on May 9, 2016, signed by defendant Desheh, with first
                     quarter 2016 financial results; defendants Vigodman and Desheh signed
                     the consolidated balance sheet
 2Q2016 Form 6-K     Form 6-K, filed on August 2, 2016, signed by defendant Desheh, with
                     second quarter 2016 financial results; defendants Vigodman and Desheh
                     signed the consolidated balance sheet
 3Q2016 Form 6-K     Form 6-K, filed on November 15, 2016, signed by defendant Desheh,
                     with third quarter 2016 financial results; defendants Vigodman and
                     Desheh signed the consolidated balance sheet
 3Q2016 Form 6-K     Form 6 K, filed on November 15, 2016, with third quarter 2016 financial
 Press Release       results press release
 4Q2016 Form 6-K     Form 6-K, filed on February 13, 2017, signed by defendant Desheh, with
 Press Release       fourth quarter 2016 financial results press release
 2016 Form 20-F      Form 20-F, filed on February 15, 2017, signed by defendant Desheh;
                     defendants Peterburg and Desheh signed the consolidated balance sheet
 1Q2017 Form 6-K     Form 6-K, filed on May 11, 2017, signed by defendant Desheh, with first
                     quarter 2017 financial results; defendants Peterburg and Desheh signed
                     the consolidated balance sheet
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    DEFINED
                                                   DEFINITION
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 2Q2017 Form 6-K      Form 6-K, filed on August 3, 2017, signed by defendant McClellan, with
                      second quarter 2017 financial results; defendants McClellan and
                      Peterburg also signed the consolidated balance sheet
 3Q2017 Form 6-K      Form 6-K, filed on November 2, 2017, signed by defendant McClellan,
                      with third quarter 2017 financial results
 4Q2017 Form 8-K      Form 8-K, filed on February 8, 2018, signed by defendant McClellan with
                      fourth quarter 2017 financial results
 2017 Form 10-K       Form 10-K, filed on February 12, 2018, signed by defendants Schultz and
                      McClellan
 1Q2018 Form 8-K      Form 8-K, filed on May 3, 2018, signed by defendant McClellan, with
                      first quarter 2018 financial results
 1Q2018 Form 10-Q     Form 10-Q, filed on May 3, 2018, signed by defendants Schultz and
                      McClellan, with first quarter 2018 financial results
 2Q2018 Form 8-K      Form 8-K, filed on August 2, 2018, signed by defendant McClellan, with
                      second quarter 2018 financial results
 2Q2018 Form 10-Q     Form 10-Q, filed on August 2, 2018, signed by defendants Schultz and
                      McClellan, with second quarter 2018 financial results
 3Q2018 Form 8-K      Form 8-K, filed on November 1, 2018, signed by defendant McClellan,
                      with third quarter 2018 financial results
 3Q2018 Form 10-Q     Form 10-Q, filed on November 1, 2018, signed by defendants Schultz and
                      McClellan, with third quarter 2018 financial results
 4Q2018 Form 8-K      Form 8-K, filed on February 13, 2019, signed by defendant McClellan,
                      with fourth quarter 2018 financial results
 2018 Form 10-K       Form 10-K, filed on February 19, 2019, signed by defendants Schultz and
                      McClellan
 1Q2019 Form 8-K      Form 8-K, filed on May 2, 2019, signed by defendant McClellan, with
                      first quarter 2019 financial results
 1Q2019 Form 10-Q     Form 10-Q, filed on May 2, 2019, signed by defendants Schultz and
                      McClellan, with first quarter 2019 financial results
 ADS Offering         $3.375 billion offering of 54 million American Depository Shares to
                      finance the Actavis acquisition
 ADS/Preferred        The ADS/Preferred Registration Statement, the ADS Underwriting
 Offering Materials   Agreement, the Preferred Underwriting Agreement, the Rule 424(b)(5)
                      prospectus supplements for the ADS Offering and the Preferred Offering,
                      each dated and filed on November 30, 2015, the ADS Prospectus
                      Supplement, the Preferred Prospectus Supplement, and the SEC filings
                      incorporated therein, including the 2014 Form 20-F, the 1Q2015 Form
                      6-K, the 2Q2015 Form 6-K, the 3Q2015 Form 6-K, and the July 28, 2015
                      Form 6-K with the Master Purchase Agreement
 ADS Prospectus       Prospectus supplement for the ADSs, dated December 2, 2015, filed on
 Supplement           December 3, 2015, with Registration No. 333-208238
 ADS Underwriting     Form 6-K, filed on December 8, 2015, signed by defendant Desheh, with
 Agreement            an underwriting agreement relating to the ADS Offering, dated
                      December 2, 2015, and signed by defendants Teva and Desheh
 ADS/Preferred        Form F-3 registration statement and the prospectus that formed a part of
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      DEFINED
                                                       DEFINITION
       TERMS
 Registration         the registration statement, dated and filed on November 30, 2015, with
 Statement            Registration No. 333-208238, signed by, among others, defendants
                      Peterburg, Vigodman, Desheh and Griffin
 Collusive Profit     The amount of profit generated by Teva as a result of its collusive price
                      increases as quantified by counsel and industry experts
 ILS                  Israel New Shekels
 Inflated Profit      The amount of profit generated by Teva as a result of its price increases as
                      quantified by counsel and industry experts
 Master Purchase      Master Purchase Agreement, dated as of July 26, 2015, by and between
 Agreement            Allergan plc and Teva Pharmaceutical Industries Limited, signed by
                      defendants Vigodman, Desheh and Olafsson, filed as a Form 6-K on
                      July 28, 2015, signed by defendant Desheh
 Notes                The $3.5 billion 3.150% Senior Notes due October 1, 2026 (the “2026
                      Notes”) and the $2 billion 4.100% Senior Notes due October 1, 2046 (the
                      “2046 Notes”)
 Notes Offering       The Notes Registration Statement, Notes Registration Statement
 Materials            Amendment No. 1, Notes Prospectus Supplements and the SEC filings
                      incorporated therein, including the 2015 Form 20-F, the January 25, 2016
                      Form 6-K, the 1Q2016 Form 6-K, and the Notes Underwriting Agreement
 Notes Offering       The $3.5 billion 3.150% Senior Notes due 2026 and the $2 billion 4.100%
                      Senior Notes due 2046 to finance the Actavis acquisition
 Notes Prospectus     (1) Preliminary Prospectus Supplement for the Notes Offering, dated
 Supplements          July 18, 2016, filed on July 18, 2016, with Registration No. 333-201984,
                      and (2) Prospectus Supplement for the Notes Offering, dated July 18,
                      2016, filed on July 19, 2016, with Registration No. 333-201984
 Notes Registration   (1) Form F-3 registration statement and the prospectus that formed part of
 Statement            the registration statement, dated and filed on February 9, 2015, with
                      Registration No. 333-201984, signed by, among others, defendants
                      Peterburg, Vigodman, Desheh and Griffin, and (2) the Notes Registration
                      Statement Amendment No. 1
 Notes Registration   Post-Effective Amendment No. 1 to the Notes Registration Agreement
 Statement            and the accompanying prospectus, dated and filed on July 13, 2016, with
 Amendment No. 1      Registration No. 333-201984, signed by defendants Vigodman, Peterburg,
                      Desheh and Griffin
 Notes Underwriting Form 6-K , filed on July 21, 2016, signed by defendant Desheh, with an
 Agreement            underwriting agreement relating to the Notes Offering, dated July 18,
                      2016, and signed by defendants Teva and Desheh
 Offerings            The ADS Offering, the Preferred Offering and the Notes Offering
 Preferred Offering   $3.375 billion offering of 3.375 million mandatory convertible Preferred
                      Shares to finance the Actavis acquisition
 Preferred Prospectus Prospectus supplement for the Preferred Shares, dated December 2, 2015,
 Supplement           filed on December 3, 2015, with Registration No. 333-208238
 Preferred Shares     7.00% mandatory convertible preferred shares


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     DEFINED
                                                     DEFINITION
      TERMS
 Preferred           Form 6-K, filed on December 8, 2015, signed by defendant Desheh, with
 Underwriting        an underwriting agreement relating to the Preferred Offering, dated
 Agreement           December 2, 2015, and signed by defendants Teva and Desheh




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         The Phoenix Insurance Company Ltd., The Phoenix Pension Ltd., Excellence Gemel &

Hishtalmut Ltd., Excellence Kesem ETNS and Excellence Mutual Funds (collectively, “Plaintiffs”),

by the undersigned attorneys, allege the following based upon personal knowledge as to Plaintiffs

and Plaintiffs’ own acts, and on information and belief as to all other matters based on the

investigation conducted by and through Plaintiffs’ attorneys, which included, among other things, a

review of defendants’ public documents, conference calls and announcements made by defendants,

U.S. Securities and Exchange Commission (“SEC”) filings made by Teva Pharmaceutical Industries

Ltd. (“Teva” or the “Company”), wire and press releases published by and regarding Teva, analysts’

reports and advisories about Teva, government investigations and reports related to the generic drug

industry, information obtainable on the Internet, civil and regulatory complaints and court filings,

drug pricing and market share information from proprietary databases, and consultation with

industry experts. Plaintiffs believe that substantial evidentiary support will exist for the allegations

set forth herein after a reasonable opportunity for discovery.

I.       NATURE AND SUMMARY OF THE ACTION

         1.         Plaintiffs bring this action under the Securities Exchange Act of 1934 (the “Exchange

Act”), the Securities Act of 1933 (the “Securities Act”), the Pennsylvania Securities Act of 1972 (the

“PSA”), and Israel Securities Law, 1968, against Teva, Teva Pharmaceuticals USA, Inc. (“Teva

USA”), Teva Pharmaceutical Finance Netherlands III B.V. (“Teva Finance”), and certain of Teva’s

former and current officers and directors to recover damages for losses Plaintiffs have suffered in

connection with their acquisition of Teva securities between October 30, 2013 and May 10, 2019,

inclusive (the “Relevant Period”). Plaintiffs purchased or otherwise acquired Teva American

Depositary Shares (“ADSs”), ordinary shares, Preferred Shares, and Notes at artificially inflated

prices during the Relevant Period and suffered damages as a result of the violations of the securities

laws alleged herein.

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         2.         Plaintiffs assert claims under §§10(b) and 20(a) of the Exchange Act and Rule 10b-5

promulgated thereunder, and §§1-402(c) and 1-501(c) of the PSA, and Israel Securities Law, 1968,

against Teva, Teva USA, and nine of Teva’s current and former executives (collectively,

“Defendants”).

         3.         Plaintiffs also assert strict liability and negligence claims, which do not sound in

fraud, under §§11 and 12(a)(2) of the Securities Act. These claims are asserted against the Securities

Act Defendants (defined below) who are statutorily responsible for material misstatements of fact or

omissions in the registration statements and prospectuses by which Teva offered securities to the

public. Plaintiffs also bring §15 claims against certain of the Securities Act Defendants for control

person liability. Plaintiffs expressly disclaim any allegations of fraud or intentional misconduct in

connection with these non-fraud claims, which are treated separately in this Complaint from the

Exchange Act, PSA and Israel Securities Law claims.

         4.         These claims arise from a series of material misstatements and omissions about:

(i) Teva’s U.S. generic drugs business, including its financial performance and projections, its

participation in an anti-competitive collusive scheme to manipulate the market for generic drugs, the

source and sustainability of Teva’s revenues, profits and growth, the rate of price erosion on Teva’s

generic drugs, and Teva’s acquisition of Actavis Generics; (ii) Teva’s overstatement of its goodwill

valuation for its generics business and inflation of its balance sheet and operating results by billions

of dollars, and (iii) Teva’s engagement in an international bribery scheme centered around its key

drug Copaxone that ultimately led to a $519 million fine, the imposition of a deferred prosecution

agreement, and significant loss of revenues from the “Rest of World” markets. These material

misstatements and omissions misled the market and caused the prices of Teva securities to be

inflated. When the truth about Teva’s financial condition and operations began to leak into the

market, the prices of these securities fell significantly, causing damage to Plaintiffs.

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         5.         Teva develops, manufactures and markets generic medicines and a portfolio of

specialty medicines worldwide. Teva is the largest generic drug manufacturer and one of the 15

largest pharmaceutical companies in the world. Prior to the Relevant Period, Teva was under siege

on all fronts – its top selling generic drug was suffering from new competition, its top revenue driver

(the specialty drug Copaxone) was about to lose exclusivity, and its stock price was flat. Under

pressure to turn the Company around, Defendants resorted to fraud.

         6.         Beginning in mid-2013, Teva began to collude with its competitors to increase

generic drug prices in order to decrease competition and artificially inflate revenues. In particular,

throughout the Relevant Period, Teva entered into agreements to fix the prices of or allocate the

market for hundreds of generic drugs. Throughout the Relevant Period, Defendants issued financial

reports and made public statements that misstated the Company’s financial position and concealed

Teva’s and Teva USA’s participation in this vast collusion and involvement in an illegal price fixing,

bid rigging, and market and customer allocation scheme. The scheme was highly profitable,

contributing at least $1.57 billion to Teva’s bottom line.

         7.         In addition to collusive price hikes, Teva systematically raised prices across a large

swath of its generic drug portfolio, often in tandem with other drug manufacturers (together with

collusive price hikes, the “Price-Hike Strategy”). The impact of the Price-Hike Strategy was

staggering, totaling more than $2.75 billion in profits attributable solely to the price increases (the

“Inflated Profit”):




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         8.         Teva’s Price-Hike Strategy, including collusive price hikes, immediately drove the

Company’s rebound. During the third quarter of 2013, U.S. generics revenues turned around and

rose over $1 billion, with a 6% increase year-over-year. U.S. generics ended the year as the most

profitable part of Teva’s business, with 14% top-line revenue growth and 50% gross margins. In

turn, Teva’s stock price ended its year-long flat streak, and by the first quarter of 2014, the stock

posted its biggest quarterly rally since 2005 at 32%.

         9.         Defendants were highly effective at concealing that the Price-Hike Strategy was

driving Teva’s rapid growth. They invariably attributed the improved profits to legitimate sources.

Neither Teva, nor any of its peers, regularly disclosed to the investing public information concerning

individual drug prices, changes in price, or revenues per drug, let alone profits. Wall Street analysts,

intimately familiar with Teva’s business and disclosures, had no way to know if Teva was profiting

from systematic price increases, except to ask Defendants. When analysts asked whether Teva’s

profits and performance were at all connected to price increases, the Officer Defendants (as defined

below) answered with explicit and false denials – repeatedly representing that: (1) Teva was not

engaged in any collusive activity; (2) Teva’s Relevant Period growth, revenues and profits were not

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the product of generic drug price increases; and (3) because Teva’s success was not reliant on

generic drug price increases, the Company was not susceptible to, and had not experienced,

substantial price erosion. In fact, Maureen Cavanaugh (“Cavanaugh”) blatantly told investors that

Teva brought “‘cost savings to patients each year and also reduce[d its] costs on an ongoing basis.’”

         10.        Defendants had to conceal that the massive generic drug price increases were the

primary contributor to Teva’s massive boost in Relevant Period profits. The strategy was inherently

risky and unsustainable for a variety of reasons, including that a significant number of the increases

were done in tandem with other drug manufacturers. Wholesale purchasers of generic drugs

routinely set pricing through a competitive RFP bidding process. Thus, assuming no collusion,

when Teva raised prices any manufacturer in the generic drug market could underbid Teva and wipe

out Teva’s market share. Additionally, the appearance of price gouging or collusion could draw

public outrage, law enforcement scrutiny, and civil and criminal liability. Had Teva disclosed the

true facts behind its core business strategy, investors would have valued Teva very differently from a

company with a strategy driven by fundamental growth and cost cutting, as the Defendants falsely

proclaimed.

         11.        Substantial facts support the allegations that Teva did in fact collude to fix the prices

of over 100 drugs. In addition to evidence uncovered by the State AGs and cited in the AGs’

complaints, Plaintiffs’ investigation also revealed that for at least two dozen drugs, prices moved in

near-perfect unison and increased suddenly and simultaneously at each drug company. The price

increases were exponential. And there is a clear pattern of an industry conference attendance by

Teva and its competitors, followed by an abrupt and unprecedented spike in Teva’s prices closely

timed with spikes in Teva’s competitors’ prices.

         12.        There is no non-collusive explanation for Teva’s sudden, synchronized price

increases – there were no supply shortages, production problems, or sudden increases in demand for

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these drugs during this period, and no major competitor left the market. Moreover, the markets for

these drugs are highly susceptible to collusion – they are dominated by only a few companies, and

this market concentration makes collusion easy. The market for the price-fixed drugs featured

several other characteristics that facilitated collusion: demand was inelastic, with increases or

miniscule reductions in the quantities sold even after massive and sudden price hikes; they were

commodity-like products – generic drugs for which the only distinguishing factor for purchasers was

price; there was no viable substitute; the drugs had high barriers to entry; and information sharing

and price discovery were common. Finally, the drug prices did not decrease following the initial

price increases as one would expect if the sudden price increases reflected temporary supply

shortages, cost increases or other benign market explanations.

         13.        Teva’s extraordinary and historic price increases would have been against Teva’s

economic self-interest absent the existence of a price-fixing scheme. Generic drugs are commodity

products. Absent price collusion, if one manufacturer raises the price of a given drug, its

competitors will seek to increase their own market share by selling the drug to the first

manufacturer’s customers at lower prices. Indeed, under the “maximum allowable cost” (“MAC”)

pricing regime that governs much of the U.S. generic pharmaceutical market, drug cost

reimbursements from insurance companies are capped at a certain price, and if a drug manufacturer

raises its prices above this cap while its competitors do not, the reimbursements for the higher priced

drug will cease. Thus, it would not be in any drug manufacturer’s interest to increase the prices of

its generic drugs unless it had an agreement with the other manufacturers that they would do the

same.

         14.        The suspicious price increases by Teva and other drug manufacturers have spawned

investigations by Congress, the U.S. Department of Justice (“DOJ”), and 49 state Attorneys General

(“AGs”). In October 2014, Congress initiated an inquiry, calling for testimony from Teva and other

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competitors to explain the egregious price spikes. Teva, however, refused to appear or to even

produce documents. As the State AGs’ evidence revealed, instead of responding to Congressional

inquiries with testimony and document production, Teva was coordinating with co-conspirators to

generate a “polite f-u” letter response:




         15.        In short order, Congress called on the U.S. Government Accountability Office

(“GAO”) to conduct an audit of Medicare expenditures on generic drugs, the Connecticut AG issued

subpoenas, and the DOJ launched a criminal investigation. Those inquiries expanded from narrowly

focused probes into specific drugs and manufacturers to an ongoing industry-wide investigation that

has already produced guilty pleas from top executives who have admitted to colluding with Teva.

         16.        As the price hikes gained attention, Teva went on the offensive, repeatedly and falsely

denying any wrongdoing and that Teva’s success was price-driven. Defendants insisted that price

increases were only taken “due to some abnormalities in the market,” emphasized that the Company

was “very responsible in everything that pertains to prices,” and assured investors that margin

improvements were “driven by quantities, and by mix, and by efficiency measures, not by price, [in]

2014, 2015.” In reality, there were no “abnormalities in the market” associated with the generic

drugs subject to the price hikes, and Teva’s outsized profits were driven by collusion and other

massive, but unsustainable, price increases.




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         17.        The investigations began to bear fruit in the fall of 2016. On September 12, 2016, the

GAO publicly released its audit report, Generic Drugs Under Medicare Part D (“GAO Report”).

After the year-long review, the GAO’s conclusions were stunning. The Medicare data revealed

hundreds of unexplained “extraordinary price increases,” defined as a particular drug’s price

increasing over 100% within a 12-month period, including numerous price increases of more than

1,000%. Teva owned the rights to at least 40% of the drugs the GAO Report identified as having

exhibited extraordinary price increases between 2013 and 2015. Following the GAO Report,

Defendants continued to falsely deny that Teva had driven performance through price hikes and was

susceptible to erosion from “giv[ing] back” prior price increases.

         18.        On November 3, 2016, Bloomberg reported that the DOJ investigation had implicated

Teva in the price-fixing scheme, that criminal charges would be issued before year-end, and that the

Connecticut AG could also soon file charges. As predicted, on December 14, 2016, the DOJ

unsealed allegations against the Chief Executive Officer (“CEO”) and the President of Teva’s

competitor Heritage Pharmaceuticals Inc. (“Heritage”), Jeffrey Glazer (“Glazer”) and Jason Malek

(“Malek”), respectively. The charges included “knowingly enter[ing] into and engag[ing] in a

combination and conspiracy with other persons and entities engaged in the production and sale of

generic pharmaceutical products, . . . the primary purpose of which was to allocate customers, rig

bids, and fix and maintain prices.” The charges pertained to two drugs, Glyburide and Doxycycline

Hyclate, both also sold by Teva.

         19.        On December 15, 2016, the AGs of 20 states, led by the Connecticut AG, filed a civil

complaint against Teva and several of its co-conspirators (“December 2016 AG Complaint”). The

state AGs’ initial complaint accused Teva of allocating customers and market share and agreeing to

collectively raise prices of generic drugs along with other manufacturers. The allegations expressly

implicated Teva in colluding to fix the pricing and market share for Glyburide – a generic drug for

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which Teva had dominated 75% of sales from 2012 to 2017. As the Connecticut AG put it, this

“fraud [was] on an almost unimaginable scale,” and the allegations around these two drugs are just

the “tip of the iceberg.” 1 In March 2017, the AGs amended their complaint and added the claims of

AGs of 24 additional states, the Commonwealth of Puerto Rico and the District of Columbia (“State

AGs”) against Teva and its co-conspirators (“March 2017 AG Complaint”).

         20.        In January 2017, Glazer and Malek pleaded guilty to the DOJ’s criminal charges in

exchange for a grant of immunity as to a host of additional drugs, a list of which was filed under

seal. They also admitted liability to the claims levied by the State AGs. Most importantly, they

admitted that they conspired with Teva. Specifically, they admitted that in April 2014, for example,

Heritage prepared a list of drugs and price increases for collusion. According to the State AGs’

allegations, “Malek himself was responsible for communicating with defendant Teva, which was a

competitor on several of the drugs on the list, including Glyburide.” Although the names and

positions of the participants are redacted, they included the “executives at the highest levels of many

of the Defendant companies.”

         21.        On October 31, 2017, the State AGs filed a motion for leave to file a Consolidated

Amended Complaint (the “October 2017 AG Complaint”) in Connecticut v. Aurobindo Pharma USA,

Inc., Civ. A. No. 17-3768 (E.D. Pa.) (ECF No. 3). The October 2017 AG Complaint contains

additional detailed allegations regarding Teva’s collusive activities. In total, Teva was implicated in

the misconduct surrounding eight of the 15 generic drugs alleged by the State AGs in their amended

complaint: (i) Glyburide; (ii) Acetazolamide ER; (iii) Glipizide-Metformin; (iv) Glyburide-Metformin;

(v) Leflunomide; (vi) Nystatin; (vii) Theophylline ER; and (viii) Verapamil.




1
    All emphasis has been added unless otherwise noted.

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         22.        On June 18, 2018, after the court granted the State AGs’ motion for leave to file an

amended complaint, 49 AGs filed a Consolidated Amended Complaint (the “June 2018 AG

Complaint”) (collectively with the December 2016 AG Complaint, the March 2017 AG Complaint and

October 2017 AG Complaint, the “AG Complaints”) in Connecticut v. Aurobindo Pharma USA, Inc.,

Civ. A. No. 17-3768 (E.D. Pa.) (ECF No. 15). As both the DOJ and State AGs have stated, the

investigations are ongoing and more charges are to come.

         23.        On May 10, 2019, the State AGs filed an expanded complaint (the “May 2019 AG

Complaint”) alleging that Teva significantly raised prices on approximately 112 generic drugs, and

fixed prices and/or allocated markets for at least 107 drugs with 19 manufacturer co-conspirators.

On November 1, 2019, the State AGs amended the May 2019 AG Complaint to include additional

defendants (the “November 2019 AG Complaint”).

         24.        In the meantime, Plaintiffs have conducted an extensive investigation and uncovered

additional evidence that Teva’s misconduct applies to at least three times as many drugs as alleged

by the State AGs in the AG Complaints. Through this scheme, Teva was able to generate

approximately $1.57 billion in profits from 2013 through the first half of 2019 from more than two

dozen drugs that Plaintiffs were able to identify and analyze. For example, as set forth in more detail

below, Teva’s illicit profits during the Relevant Period from the conspiracy to hike the price of

Pravastatin, one of Teva’s better selling generics, amounted to nearly $320 million. Similarly, the

collusion with respect to Carbamazepine, an epilepsy drug, yielded price increases of more than

1,500% and over $230 million in illicit profits. Teva similarly gained close to $168 million in such

profits from increases of up to 430% in its prices for Baclofen, a multiple sclerosis drug, and over

$160 million from increases of up to 434% in its prices for Fluocinonide, a high-potency topical

corticosteroid. Teva, through its purchase of Actavis Generics, also gained more than $23 million in

illicit profits from price increases of up to 2,500% for Doxycycline Hyclate, an acne medication.

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Importantly, Plaintiffs calculated these illicit profits from a limited subset of the more than 250

generic drug products sold by Teva in the United States, dozens of which were also subject to

extraordinary price hikes according to the GAO.

         25.        Teva’s illicit profits led to increased revenues beginning in mid-2013; however, Teva

kept the source of its revenues hidden from investors. With Teva’s dramatically increased

profitability beginning in 2014, analysts and investors were focused on the reasons for Teva’s

improving fortunes. In the face of probing questions, Defendants repeatedly omitted the true source

of Teva’s increased revenues, instead falsely asserting that Teva was profiting from competition on

the merits. For instance, Teva’s former CEO, defendant Erez Vigodman (“Vigodman”), in response

to a direct question on pricing practices during an October 29, 2015 investor conference, stated: “We

are very responsible . . . in everything that pertains to prices, on the generic side and on the specialty

side. . . . I will even put [it] another way, all the improvement you see in margins is not driven by

price. It is driven by quantities, and by mix, and by efficiency measures, not by price, 2014, 2015.

And that’s a very important message.”

         26.        Likewise defendant Eyal Desheh (“Desheh”), who during the Relevant Period served

first as Teva’s Interim CEO and later as its Chief Financial Officer (“CFO”), went so far as to

describe the success of the division as “nothing short of a revolution,” bragging that Teva had

steeply increased its margins in generics by simultaneously growing revenue through increasing

quantities and new drugs, and cutting the sales and marketing costs needed to “drive the sale.” In a

November 2015 investor conference, Desheh addressed pricing head on:

         There is a lot of noise around pricing issues. Some of it’s coming from politicians
         driving agenda[s] . . . . Our exposure to all these things is very minimal. . . . I
         believe there are many examples for competitive environment, real competition, like
         we see in the generic market in the United States.




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          27.       Defendants and senior executives repeated their false denials throughout the Relevant

Period:

          •         On November 19, 2015, defendant Desheh eased investor concerns by attesting that
                    Teva played “by the book and by the rule[s],” and as such, its “exposure to any
                    initiative on price reduction in the United States is as small as anybody can have.”

          •         On January 5, 2016, Cavanaugh told investors that “‘[a]s the largest supplier of
                    generics in the U.S. market, we bring cost savings to patients each year and also
                    reduce our costs on an ongoing basis. We are continuously working to make
                    products more accessible, especially when there are drug shortages in the market.’”

          •         During a February 11, 2016 earnings call, defendant Sigurdur Olafsson (“Olafsson”),
                    the former President and CEO of Teva’s Global Generic Medicines Group, conveyed
                    that competition was fierce. In both the United States and Europe, Teva fought “on a
                    molecule by molecule basis” and there was “fierce competition between Actavis
                    Generics and Teva.” In addition, Olafsson told investors that Teva’s record
                    performance was achieved “not by pricing.”

          •         On August 4, 2016, defendant Olafsson stated that competition from
                    Emcure/Heritage resulted in “significant volume impact, but very little impact on
                    profitability or the top line,” and Teva regularly competed with Actavis. In addition,
                    opportunities to raise prices only came with shortages or “some kind of dysfunction
                    in the market,” and “the small pricing opportunity . . . usually comes in and comes
                    out.”

          •         During a November 15, 2016 earnings call, defendant Vigodman professed that, with
                    respect to the DOJ’s “investigation into price collusion in the generic drug industry,
                    which has been in the news this month[,] I would like to emphasize that based on all
                    of our efforts to date, internal and external, we disclosed, and I’m reiterating it here
                    today, that we are not aware of any fact that would give rise to an exposure to Teva
                    with respect to the investigation.”

          •         On the same conference call, when an analyst asked whether the accelerated price
                    decreases during the 2016 third quarter were due to increased competition or “having
                    to tame previous price increases, or give back some of those,” defendant Olafsson
                    emphatically answered “no” and falsely explained that the increased price erosion
                    was due to a one-time event of the Federal Trade Commission (“FTC”) requiring
                    divestiture of products relating to the Actavis Generics acquisition.

          •         In a November 2, 2017 filing with the SEC disclosing the receipt of subpoenas from
                    prosecutors concerning price collusion activities in the U.S. generic drug market,
                    Teva denied “having engaged in any conduct that would give rise to liability with
                    respect to the above-mentioned subpoenas and civil suits.”

          •         In all of its filings disclosing the receipt of subpoenas from prosecutors concerning
                    price collusion activities in the U.S. generic drug market, Teva told investors that it
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                    was “not aware of any facts that would give rise to an exposure to [the Company]
                    with respect to these subpoenas.”

         28.        Investors relied on these false statements. For example, as analysts at Leerink

echoed: Teva’s management “provided some reassurance that the company is less exposed to the

unwinding of generic price inflation . . . which was reassuring after competitor results stoked

investor concerns about the groups’ exposure to unwinding generic price inflation.”

         29.        And, as Teva’s price hikes increased, the price of Teva’s ADSs rose from $40 to a

Relevant Period high of $72 in mid-2015, and the price of ordinary shares rose from ILS 13,000 to a

high of ILS 27,120. Defendants made millions in personal compensation from the scheme.

         30.        Defendants also used Teva’s soaring stock price to fund a long-conceived acquisition

binge. Vigodman and Desheh stated early in the Relevant Period that they wanted to convert Teva

securities into “currency” to acquire a competitor, further consolidating Teva’s market share. They

first tried making an offer for Mylan N.V. (“Mylan”) in April 2015. This offer was rejected.

Undeterred, Defendants ratcheted up their bidding, and with Teva’s ADS and ordinary share prices

reaching all-time highs, on July 27, 2015, Defendants announced the purchase of Allergan plc’s

(“Allergan”) generics division, Actavis.

         31.        The deal would cost Teva approximately $40 billion, most of which was funded

through three offerings.        First, in December 2015, Teva undertook a secondary offering of

$3.375 billion in ADSs and an offering of $3.375 billion in Preferred Shares. Like their other public

statements, the ADS/Preferred Offering Materials were materially false, claiming that Teva had

achieved its outstanding results notwithstanding “intense competition,” and concealing the true

source of Teva’s profits. These offerings were a success, and an additional debt offering was slated

for later in 2016 once the Actavis transaction closed.




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         32.        In 2016, however, Teva’s scheme began to unravel. Increased scrutiny from

investigators made it more difficult for Teva to maintain its high prices, let alone raise prices on

additional drugs. Unbeknownst to Plaintiffs, under pressure from the investigations, Teva’s Inflated

Profits were diminishing. Other pharmaceutical companies reported disappointing earnings,

attributed to increased pressure to reduce prices. This pricing pressure was a by-product of

heightened government scrutiny and public outcry. But when asked whether Teva faced the same

risks, Olafsson falsely claimed that Teva was not exposed: “Teva has not seen any fundamental

change or worsening in the pricing environment.” Vigodman claimed that “[w]hat we see is a 4% to

5% erosion [in pricing] . . . . That’s not something which is different from what we said during

2015.” In reality, the denied pricing pressure was eating into Teva’s Inflated Profits; in the first

quarter of 2016, Inflated Profits were 46% lower than they were a year earlier.

         33.        Adding to the pressure, the FTC’s approval of the Actavis acquisition took longer

than expected. With the investigations mounting, Teva urgently sought to close the Actavis

acquisition before the fraud became public. Without warning, during a pre-arranged investor call on

July 13, 2016, defendant Vigodman announced that the notes offering, which was used to

consummate the Actavis acquisition, would be launched that day. The notes offering, which raised

$15 billion for the acquisition, was closed on August 2, 2016.

         34.        What Vigodman failed to disclose in the July 13, 2016 investor conference call and

the Notes Offering Materials was that Teva had been served with subpoenas on July 12, 2016 by the

Connecticut AG, and three weeks earlier, on June 21, 2016, by the DOJ, indicating that Teva was

now a focus of the investigations into illegal price-fixing and collusive conduct. These subpoenas

were not disclosed until Teva filed a Form 6-K with the SEC on August 4, 2016, after the Notes

Offering and Actavis deal had closed.



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         35.        As criminal charges, guilty pleas, and the State AGs’ allegations mounted in the latter

half of 2016, the prices of Teva securities precipitously declined. The wide- ranging scope of the

investigation took its toll on Teva’s ability to continue with its Price-Hike Strategy, and the

Company’s financial performance suffered. Over the course of 2016, Inflated Profits plunged 50%.

Nevertheless, Teva continued to push back against charges of generic price inflation, and misled

investors about the Company’s exposure to the concommitant price erosion.

         36.        As Teva’s troubles mounted, key executives resigned or were fired. Defendant

Olafsson, President and CEO of Teva’s Global Generic Medicines Group, was fired on December 5,

2016. Vigodman was terminated on February 6, 2017, and on June 30, 2017, Desheh also left.

         37.        On August 3, 2017, in the first financial report issued after Desheh, Vigodman and

Olafsson were gone, Teva announced disappointing results due to the poor performance of its U.S.

generics business and wrote down more than $6.1 billion of goodwill related to the Actavis Generics

acquisition. Teva attributed the poor performance of its U.S. generics business to “accelerated price

erosion,” a natural result of increased scrutiny of increased pricing.

         38.        Without the Price-Hike Strategy driving Inflated Profits, Teva’s ability to service its

over $30 billion in debt also raised fears; the credit-rating agencies immediately downgraded the

Company’s debt to just above “junk.” And after 30 years of maintaining or increasing its dividend,

the new Board of Directors and management of Teva were forced to cut the dividend by 75%. In

reality, without the Price-Hike Strategy and collusive activities, Teva was a fundamentally weaker

company than investors were led to believe. Teva’s share price plummeted in reaction to this news.

         39.        On October 31, 2017, the State AGs, now numbering more than 40, published the

proposed amended complaint that expanded on the states’ allegations against Teva. The expanded

allegations, developed by evidence uncovered through the ongoing investigation, specifically



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implicated Teva in conspiring with its competitors to fix the prices and allocate market share for

eight generic drugs.

         40.        On February 8, 2018, Teva announced another staggering $10.4 billion goodwill

impairment related to its generics business for the fourth quarter of 2017. The February 8, 2018

Form 6-K stated that “[d]uring the fourth quarter of 2017, we noted further deterioration in the U.S.

generics market and economic environment, further limitations on our ability to influence generic

medicines pricing in the long term and a decrease in value from future launches.” These

developments included “additional pricing pressure in the U.S. generics market as a result of

customer consolidation into larger buying groups capable of extracting greater price reductions” and

“pricing challenges due to government regulation.” As such, another goodwill impairment was

recorded for the generics segment.

         41.        On December 9, 2018, The Washington Post published an interview with Connecticut

Assistant AG Joseph Nielsen, where he stated that the State AGs’ investigation had expanded to at

least 16 companies and 300 drugs, and exposed “‘the largest cartel in the history of the United

States.’”

         42.        On May 10, 2019, after the market closed, the State AGs filed a 467-page antitrust

complaint revealing previously undisclosed facts regarding Teva’s participation in the generic drug

price-fixing conspiracy. The May 2019 AG Complaint alleges that Teva implemented significant

price increases for approximately 112 generic drugs, including extraordinary price hikes of over

1,000%, and details Teva’s price-fixing with regard to at least 86 of those generic drugs compared to

just 7 Teva-related drugs in the State AGs’ previously filed action. The action details Teva’s role as

a “consistent participant” and a central player in the conspiracy. Further, the civil enforcement action

names four Teva employees personally as defendants: Cavanaugh, Nisha Patel, Kevin Green (Teva’s



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former Director of National Accounts), and David Rekenthaler (Teva’s former Vice President, Sales

U.S. Generics).

         43.        As these revelations came to light over time, the price of Teva’s ADSs collapsed from

an all-time high of $72 to less than $11.30, and Teva’s ordinary shares fell from an all-time high of

ILS 27,120 to ILS 4,026. As a result, Teva’s market capitalization declined from approximately

$61 billion to $12 billion, revealing that Teva’s skyrocketing value during the Relevant Period, built

on the supposed success of its U.S. generics business, had been a fraud.

II.      JURISDICTION AND VENUE

         44.        The claims asserted herein arise under §§10(b) and 20(a) of the Exchange Act, 15

U.S.C. §§78j(b) and 78t(a), and the rules and regulations promulgated thereunder, including SEC

Rule 10b-5, 17 C.F.R. §240.10b-5; §§11, 12(a)(2) and 15 of the Securities Act, 15 U.S.C. §77k,

77l(a)(2) and 77o; §§1-402(c) and 1-501(c) of the PSA, 70 Pa. Stat. §§1-402(c) & 1-501(c); and the

Israel Securities Law, 1968.

         45.        This Court has jurisdiction over the subject matter of Counts I, II, V, VI and VII

pursuant to §27(a) of the Exchange Act, 15 U.S.C. §78aa(a), §22 of the Securities Act, 15 U.S.C.

§77v, and 28 U.S.C. §§1331 and 1337. This Court has supplemental jurisdiction over Counts III and

IV pursuant to 28 U.S.C. §1367(c).

         46.        Venue is proper in this District pursuant to §27(a) of the Exchange Act, 15 U.S.C.

§78aa(a), §22 of the Securities Act, 15 U.S.C. §77v, and 28 U.S.C. §1391.

         47.        In connection with the acts alleged herein, Defendants directly or indirectly used the

means and instrumentalities of interstate commerce, including the U.S. mails, interstate

communications, and the facilities of a national securities exchange, namely the New York Stock

Exchange (“NYSE”).



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III.     EXCHANGE ACT, PSA AND ISRAEL SECURITIES LAW
         ALLEGATIONS

         A.         Parties

                    1.        Plaintiffs

         48.        Plaintiffs are subsidiaries of The Phoenix Insurance Company Ltd (“Phoenix”), an

insurance and financial services conglomerate headquartered in Israel, which provide insurance

products and services, including life insurance, long-term savings, pension and provident funds,

general insurance, healthcare insurance, ETNS indexes and mutual funds.

                    2.        Defendants

                              a.     The Company

         49.        Defendant Teva Pharmaceutical Industries Ltd. is incorporated in Israel with its

principal executive offices at 5 Basel Street, P.O. Box 3190, Petach Tikva, 4951033, Israel.

         50.        Defendant Teva Pharmaceuticals USA, Inc. is defendant Teva’s wholly-owned

subsidiary and during the Relevant Period had its principal offices at 1090 Horsham Road, North

Wales, Pennsylvania, 19454. Teva conducted much of its global operations through the Teva USA

North Wales offices, including investor relations and sales and marketing for the North American

generics business. In addition, during the Relevant Period, all sales, marketing and finance

executives with responsibility for U.S. generics pricing were based in Pennsylvania, and Teva’s

Relevant Period SEC filings were drafted, prepared and/or controlled by individuals located in Teva

USA’s North Wales, Pennsylvania headquarters, in conjunction with individuals at Teva’s

headquarters in Israel.

         51.        Teva engages in interstate commerce within this District. Teva’s ADSs are listed and

traded on the NYSE under the symbol “TEVA.” Teva’s ordinary shares trade on the Tel Aviv Stock

Exchange (“TASE”) under the symbol “TEVA.”



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                           b.     The Officer Defendants

         52.        Defendant Erez Vigodman served as Teva’s President and CEO from February 11,

2014 to February 6, 2017 and as a Teva director from June 22, 2009 to February 6, 2017. Vigodman

signed and certified certain of Teva’s reports on Forms 20-F and 6-K filed with the SEC during the

Relevant Period, as set forth herein. Vigodman made false and misleading statements and omitted to

disclose the truth during the course of numerous conferences with investors and analysts, alleged

specifically herein.

         53.        Defendant Eyal Desheh served as Teva’s CFO from July 2008 to June 30, 2017,

except from October 30, 2013 to February 11, 2014, a period during which he served as Teva’s

Interim CEO and Interim President. Desheh also served as Teva’s Group Executive Vice President

(“EVP”) from 2012 to June 30, 2017. Desheh signed and certified certain of Teva’s reports on

Forms 20-F and 6-K filed with the SEC during the Relevant Period, as set forth herein. Desheh

made false and misleading statements and omitted to disclose the truth during the course of

numerous conferences with investors and analysts, alleged specifically herein.

         54.        Defendant Yaacov Altman (“Altman”) served as Teva’s Acting CFO from

October 31, 2013 to February 11, 2014. Altman signed and certified certain of Teva’s reports on

Forms 20-F and 6-K filed with the SEC during the Relevant Period, as set forth herein. Altman

made false and misleading statements and omitted to disclose the truth during the course of

numerous conferences with investors and analysts, alleged specifically herein.

         55.        Defendant Sigurdur Olafsson served as President and CEO of Teva’s Global Generic

Medicines Group from July 1, 2014 to December 5, 2016 and was CEO of Teva USA. Prior to

joining Teva, Olafsson served in various roles, including senior leadership positions, within Actavis

(also known as Actavis Pharma, Actavis plc, (Watson) and the Actavis Group) from 2003 to 2014.



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Olafsson made false and misleading statements and omitted to disclose the truth during the course of

numerous conferences with investors and analysts, alleged specifically herein.

         56.        Defendant Yitzhak Peterburg (“Peterburg”) served as Teva’s Interim President and

CEO from February 6, 2017 to October 31, 2017. Prior to that date, he was Chairman of Teva’s

Board from January 1, 2015. He also served as a Teva director from June 2009 to July 2010 and

after a brief departure he rejoined Teva’s Board from 2012 until February 6, 2017. Peterburg signed

and certified certain of Teva’s reports on Forms 20-F and 6-K filed with the SEC during the

Relevant Period, as set forth herein. Peterburg made false and misleading statements and omitted to

disclose the truth during the course of numerous conferences with investors and analysts, alleged

specifically herein.

         57.        Defendant Dipankar Bhattacharjee (“Bhattacharjee”) served as the President and CEO

of Teva’s Global Generic Medicines Group from December 5, 2016 to December 31, 2017. He

previously served as President and CEO of Teva’s Generics Europe from 2013 and 2016 and as CEO

of Teva UK Ltd. and later as Senior Vice President (“SVP”) of Teva Western Europe from 2009 to

2013. Bhattacharjee made false and misleading statements and omitted to disclose the truth during

the course of numerous conferences with investors and analysts, alleged specifically herein.

         58.        Defendant Deborah Griffin (“Griffin”) serves as Teva’s SVP and Chief Accounting

Officer (Principal Accounting Officer), and served as the Authorized U.S. Representative of Teva,

and the Authorized U.S. Representative of Teva Finance during the Relevant Period. She was also

Vice President (“VP”) and CFO of Teva USA during the Relevant Period. Griffin signed the

ADS/Preferred Registration Statement and the Notes Registration Statement. While at Teva, Griffin

possessed the power and authority to approve, and in fact did approve, and control the contents of

the Company’s SEC filings alleged herein to be false and misleading, as they pertained to Teva

USA’s financial reporting.

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         59.        Defendant Kåre Schultz (“Schultz”) has served as the President and CEO of Teva

since November 1, 2017. Schultz has also served on the Company’s Board of Directors since

November 1, 2017. Schultz signed and certified certain of Teva’s reports on Forms 10-K and 10-Q

filed with the SEC during the Relevant Period, as set forth herein. Schultz made false and

misleading statements and omitted to disclose the truth during the course of numerous conferences

with investors and analysts, alleged specifically herein.

         60.        Defendant Michael McClellan (“McClellan”) has served as Executive Vice President

(“EVP”) and CFO of Teva since November 2017. Prior to becoming CFO, he was Teva’s SVP and

Interim CFO from July 2017 to November 2017, and SVP and CFO of the Global Specialty

Medicines division from July 2015 to July 2017. McClellan signed and certified certain of Teva’s

reports on Forms 10-K, 10-Q, and 6-K filed with the SEC during the Relevant Period, as set forth

herein. McClellan made false and misleading statements and omitted to disclose the truth during the

course of numerous conferences with investors and analysts, alleged specifically herein.

         61.        Defendants Vigodman, Desheh, Altman, Olafsson, Peterburg, Bhattacharjee, Schultz,

McClellan, and Griffin are sometimes referred to herein collectively as the “Officer Defendants.”

Teva, Teva USA and the Officer Defendants are sometimes referred to herein collectively, as

pertaining solely to the claims under the PSA, the Exchange Act, and the parallel provisions of the

Israel Securities Law, 1968, as the “Defendants.”

         B.         A Brief Overview of the U.S. Generic Drug Market

         62.        In 2015, sales of generic pharmaceuticals in the United States were an estimated

$84 billion, with the industry accounting for approximately 88% of all prescriptions written in the

United States. Teva controlled as much as 16% of the U.S. market as of year-end 2016.

         63.        Under U.S. law, newly discovered drugs maintain patent protection. But once

expired, other companies may obtain government approval to manufacture and market “generic”

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drugs to compete. According to the U.S. Food and Drug Administration’s (“FDA”) glossary, a

generic drug shall be “the same as a brand name drug in dosage, safety, strength, how it is taken,

quality, performance, and intended use.” Once the FDA approves a generic as “‘therapeutically

equivalent’” to a brand name drug, the generic version “can be expected to have equal effect and no

difference when substituted for the brand name product.” Thus, “[d]rug products classified as

therapeutically equivalent [to a branded drug] can be substituted with the full expectation that the

substituted product will produce the same clinical effect and safety profile as the prescribed

product.”

         64.        The regulatory filings necessary to market generic drugs are typically made before the

patent expiration, so that generics manufacturers can maximize the amount of time they can sell the

drug. Under the Federal Food, Drug, and Cosmetic Act (“FDCA”), manufacturers that create a new

drug must obtain FDA approval to sell the product by filing a New Drug Application (“NDA”). 21

U.S.C. §§301-392. An NDA must include specific data concerning the safety and effectiveness of

the drug, as well as information on applicable patents. 21 U.S.C. §355(a), (b).

         65.        The Hatch-Waxman Act of 1984 simplified the regulatory hurdles for prospective

generics manufacturers by allowing a manufacturer seeking approval to sell a generic version of a

brand-name drug to file an Abbreviated New Drug Application (“ANDA”), a much simpler filing.

Once the FDA determines that a drug company’s application contains sufficient scientific evidence

establishing the bioequivalence of the product to the branded drug, an applicant may manufacture,

market, and sell the generic drug product. This approval process can be lengthy, with the median

time to approval standing at 47 months as of September 2016, thus creating an effective barrier to

entry into a market for new competitors.

         66.        Because each generic must be identical, the only real means for the manufacturers to

compete is by price. As reported in the August 2016 GAO Report concerning generic drug prices,

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each of the five manufacturers interviewed by the GAO – including Teva – “reported that

competition is the primary driver of generic drug prices.” U.S. Gov’t Accountability Off., GAO-16-

706, Generic Drugs Under Medicare Part D 11-12, 16 (Aug. 2016).

         67.        Ordinarily and consistent with established economic principles and common sense,

once the first lower-priced generic enters the market, the brand-name drug rapidly loses sales, and

sales continue to decrease. As new generic competitors enter the market, the price of the drug

typically continues to decrease. In a normally functioning market for a generic drug, the market

participants compete to maintain market share, and if one manufacturer raises prices, the others will

lower prices and steal its customers.

         68.        Over the past decades, further increasing pressure on generic manufacturers, the

purchasers of generic drugs (i.e., pharmaceutical wholesalers, retail pharmacies, Group Purchasing

Organizations (“GPOs”) and institutional buyers like hospitals) have become highly consolidated

through various mergers and acquisitions. Likewise, the global market for generic pharmaceutical

manufacturers has undergone substantial consolidation since at least 2005, which fueled the growth

of a handful of large manufacturers, like Teva, who together dominate many of the generic drug

markets. Teva gained the status as the world’s largest manufacturer of generic drugs, leading the

U.S. generic market in total prescriptions and new prescriptions, through a series of acquisitions.

For example, Teva acquired Ivax Corp. for $7.4 billion in 2006, Barr Laboratories for $7.4 billion in

2008, Ratiopharm – Germany’s second largest generic drug producer – for $5 billion in 2010, and

Allergan Generics (also known as “Actavis”) in 2016 for $40 billion.

         69.        Teva’s competitors also went on acquisition sprees. By mid-2015, a handful of

players controlled 50% of the market: Teva (13%), Mylan (11%), Actavis (8%), the Sandoz division

of Novartis AG (“Sandoz”) (8%), Sun Pharmaceutical Industries, Inc. (“Sun”) (4%), Endo



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International plc (“Endo”) (3%), and Par Pharmaceutical (“Par”) (3%). In 2016, the consolidation

continued with Endo’s acquisition of Par.

         C.         Teva Suffered a Series of Setbacks Before the Relevant Period Began

         70.        During the first half of 2013, Teva was a company under siege on all fronts. Teva’s

specialty drug segment, which represented close to 40% of its company-wide revenue, was

dominated by one drug – Copaxone. Copaxone made up two-thirds of the Company’s profits in the

specialty segment and faced looming generic competition from Mylan and Sandoz. Analysts

characterized the drug as Teva’s “white elephant in the room,” and defendant Desheh called it a

“large product towards the autumn of its life.” Compounding the problem, in 2012, Teva received

subpoenas from the SEC and the DOJ relating to a Foreign Corrupt Practices Act (“FCPA”)

investigation into Teva’s bribery scheme to generate sales and gain market share of generic drugs in

Russia, certain Eastern European countries, and certain Latin American countries. 2 Upon receiving

the subpoenas, Teva proceeded to conduct an internal investigation. However, unbeknownst to

investors, Teva’s worldwide bribery scheme actually centered around its key drug Copaxone.

         71.        At the same time, Teva’s generics segment, which represented close to 50% of

company-wide revenues, was also marred by problems. The segment’s profitability was likewise

dominated by one drug – budesonide, also known as generic Pulmicort – which was facing the

heightened risk of losing exclusivity with a generic entrant from Actavis. Excluding profits from

generic Pulmicort, Teva’s generics segment was close to break-even. As a Deutsche Bank analyst

2
    Complaint at 1, SEC v. Teva Pharm. Indus., No. 1:16-cv-25298 (KMM) (S.D. Fla. Dec. 22,
2016) (ECF No. 1, ¶2) (the “SEC FCPA Complaint”). Teva LLC entered into a plea agreement with
the DOJ on December 22, 2016, pleading guilty to conspiracy to violate the FCPA in connection
with the bribery of a Russian government official. See Plea Agreement at 1, United States of
America v. Teva LLC (Russia), No. 1:16-cr-20967 (KMW) (S.D. Fla. Dec. 22, 2016) (ECF No. 2,
¶1) (the “FCPA Plea Agreement”); Information, United States of America v. Teva LLC (Russia), No.
1:16-cr-20967 (KMW) (S.D. Fla. Dec. 22, 2016) (ECF No. 1) (the “FCPA Information”). The SEC
FCPA Complaint, FCPA Plea Agreement, and FCPA Information are incorporated herein in their
entirety.
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concluded in a report published on May 3, 2013, Teva’s overall generics business had “significantly

underperformed” as compared to its competitors. Teva was the worst performing generics drug

company compared to its peers despite being the largest. By August 14, 2013, Teva’s then-CEO

Jeremy M. Levin acknowledged that “Generic growth in the United States [was] slowing

fundamentally.”

         72.        In addition to product problems, the Company was in the midst of sweeping

management and board changes, with a new CEO who had only been in his position for a year.

         73.        Publicly, Levin and Teva reacted to these headwinds and the decline of U.S. generics

by touting an extensive “cost-cutting” program designed to make the Company more efficient and

purportedly save the Company billions. By mid-year 2013, the supposed cost-cutting had produced

few visible results as the revenues from Teva’s generics segments continued to plummet.

         74.        On October 30, 2013, Teva’s Board of Directors forced CEO Levin to step down as

President and CEO, less than 18 months into the job. Given the sudden nature of Levin’s

termination, without a replacement identified, the Board named defendant Desheh, Teva’s EVP and

CFO, to fill the role of President and CEO on an interim basis, effective immediately, and formed a

committee to search for a permanent successor. Defendant Altman took over as the acting CFO.

         75.        In an October 30, 2013 investor call about Levin’s firing, the then-chairman of Teva’s

Board, Phillip Frost, and defendant Desheh assured investors that they were focused on turning the

Company around. Desheh informed the market that Teva “ha[d] decided to accelerate” the cost

reduction plan and promised “to create a much better, efficient generic machine.” Chairman Frost

disclosed that “friends of [his] . . . have bought hundreds of millions of dollars [worth] of stock

during the last couple of weeks.”

         76.        Teva’s only means of delivering immediate value to investors was implementing a

stock buyback program of 10 to 15 million shares on average purchased annually. The buyback

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program temporarily propped up the stock price, which was close to flat and traded around the

average of $39 throughout 2013.

         77.        But flat stock performance was not enough for investors or the Company. Frustrated

investors urged Teva to divest assets, break up the Company or position Teva to become an

acquisition target. These options were vehemently opposed by Board members and management,

with Chairman Frost stating that Teva “was not seeking to be bought.” Instead, Teva hired Paul

Sekhri as the Head of Business Development to look for acquisition opportunities. However, with

the stock price below $40, Teva’s CFO concluded that “[i]t’s just too expensive. There’s no deal in

the world that will justify using our stocks.”

         78.        With limited options to deliver a quick boost to profitability, Teva resorted to massive

collusive activities by the third quarter of 2013 and kicked off a long series of price hikes with at

least three drugs: Pravastatin – one of the Company’s more prominent generic drugs – along with

Enalapril Maleate and Diclofenac. According to the June 2018 AG Complaint, by at least

June 2013, Teva had begun to select generic drugs for price increases – resulting in the creation of a

“Price Increase Candidates” list put together by Nisha Patel. See June 2018 AG Complaint, ¶¶394-

397. Patel was hired by Teva in April 2013 “to run the pricing team,” and shortly after starting her

role, she and others began to choose generic drugs for price increases. For certain drugs, Patel noted

on the list “Heritage Involved; follow Mutual” after her extensive phone consultations with

Heritage’s President Malek (who pleaded guilty to conspiracy). See id. Around the same time,

between July and August 2013, Teva hiked prices on Pravastatin, Enalapril Maleate and Diclofenac

on a similar scale and timing as its co-conspirators. See §III.H, infra. With respect to Pravastatin,

for which Teva had close to 50% market share, the Company increased prices from 90% to 200% for

different dosage forms. Similarly, for Enalapril Maleate, Teva initially hiked prices by 260% for the



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10 milligram strength tablets and over 340% for the 5 milligram strength tablets. For Diclofenac, the

initial round of price hikes was 22%.

         79.        The collusive price hikes relating to Pravastatin, Enalapril Maleate and Diclofenac

marked the beginning of years of massive anti-competitive activities involving over 100 generic

drugs. Unexplainable by any market forces, the price hikes propped up Teva’s declining revenues,

without incurring a penny more in research and development costs, the hiring of additional sales

force, or any other additional expenditures. Instead, the Company slashed those line item costs as it

unlawfully fixed market share and prices. Collectively, these collusive prices hikes in 2013 turned

Teva’s financial trajectory completely around.

         D.         Collusive Price Hikes Drove Teva’s Rebound

         80.        The effects of Teva’s collusive price hikes were immediate and significant. During

the third quarter of 2013, U.S. generics revenues turned around and rose over $1 billion with a 6%

increase year-over-year. U.S. generics ended the year as the most profitable part of Teva’s business,

with top-line revenue growth of 14% and gross margins of 50% – far exceeding other regions such

as Europe (gross margins of 40%) and Japan (gross margins of 35%).

                                Millions         1Q2013      2Q2013       3Q2013      4Q2013
           U.S. Generics Revenues                 $895        $970        $1,138      $1,178
           Year-Over-Year Change                  -27%        -8%           6%         14%

         81.        On October 31, 2013 (the first day of the Relevant Period), Allan Oberman

(“Oberman”) falsely told investors that the improvements were the result of Teva’s product-by-

product “margin enhancement strategy” and its ability “to take pricing on a number of products this

year.” On December 10, 2013, Defendant Desheh agreed and predicted price erosion would slow

down in the United States. He assured investors that “it wouldn’t take long, where all the

improvement will go to the bottom line of the generic business.” What Defendants failed to

disclose, however, was that Teva had engaged in collusive activity to raise the prices.

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         82.        Analysts reacted positively to Teva’s surprising and rapid turn-around. Cowen and

Company analysts wrote: “The bottom line is that this story is reversing (for the positive) much

faster than previously anticipated, and the belief that ‘growth’ could reemerge is very real.” J.P.

Morgan predicted an “upside to near/longer term EPS” because of Teva “taking several steps to

regain its generic leadership including . . . focusing more heavily on portfolio selection and

management.”

         83.        In turn, Teva’s stock price ended its year-long flat streak, and in the first quarter of

2014 posted the biggest quarterly rally since 2005 at 32%.

         84.        When defendant Vigodman was named as President and CEO of Teva in

February 2014, he immediately told investors that improving profitability was a “must win[ ]” for

2014 and “Teva will do everything which is needed in order to win. Everything that is needed in

order to win.” Jefferies analysts noted that Vigodman “Impresse[d] in His Wall Street Debut” due to

his determination to reestablish “Teva’s dominance in its core generic business.” In fact, Teva did

do everything and anything to drive profits in 2014. Unbeknownst to investors, this included

implementing collusive price-fixing activities on dozens of additional generic drugs. Consequently,

for each quarter during 2014, Teva’s revenues and/or profitability growth were attributed to the U.S.

generics business:

         •          First quarter 2014 earnings call – Desheh: “In generics, we experienced significant
                    growth in the United States market, with 17% year-over-year growth to a total of
                    $1 billion. . . . The profitability of our major business segment was driven by global
                    generic, with 31% improvement resulting from the strong performance in the US
                    market and higher profitability in Europe.”

         •          Second quarter 2014 earnings call – Desheh: “Revenues. The improvement in sales
                    this quarter was driven by the growth of our global generic business, primarily in the
                    US. . . . Looking at what impacted profitability this quarter, the improvement of
                    operating profit and profitability was driven by strong results of our global generic
                    business, with profit improvement of 41% compared to last year. Launch of generic
                    Xeloda in March and generic Lovaza this quarter in the US market.”


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         •          Third quarter 2014 earnings call – Vigodman: “Q3 was a solid quarter for Teva.
                    Significant improvement in all profit margins. Generic profitability improved
                    substantially.”

         •          Fourth quarter 2014 earnings call – Desheh: “When we look at the profit
                    distribution, we see the improvement in the generic profit and a lower dependency on
                    Copaxone profit, which we are developing. We will see the same impacts for the
                    entire year.”

         85.        During 2014, the prices of Teva’s ADSs and ordinary shares rallied 43% and 59%,

respectively, on the Company’s improved financial performance, largely driven by its collusive

activities.

         86.        As heightened generic drug pricing drew Congressional attention in late 2014,

Defendants falsely assured investors that Teva only sought out price hike opportunities on specific

products – such as drugs that encountered shortages in the market. Defendant Olafsson emphatically

stated during the October 30, 2014 earnings call that:

         [T]here’s never a price increase on the base business as whole. Like any other
         business, if there’s a pricing opportunity that comes in the market, we look for
         that. . . . When there is an opportunity, when there is a shortage in the market, we
         obviously look for pricing like any other business.

         87.        On the same call, a UBS analyst asked Vigodman: “[C]ould you talk about generics a

little bit in the US? . . . [whether there were] price increases in some of your base business. And

whether that impacted” profit. Vigodman fraudulently explained that the market was functioning

normally and that prices were decreasing:

         When there is an opportunity, when there is a shortage in the market, we obviously
         look for pricing like any other business. But overall, as I’ve said many times before,
         the base business itself is slowly eroding, the overall of the base business.

         88.        Again, analysts, unaware of the true facts, reacted positively to Teva’s financial

results, and the Company’s ordinary share and ADS prices continued to climb. For example, a

Cowen and Company analyst noted that Teva’s “Operations Are Improving, [and] Cash Flows Are

Accelerating.” Piper Jaffray wrote: “Importantly, operating profit . . . for the generics segment

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during the quarter was up 40% versus the same period a year ago.” Morgan Stanley increased its

price target for Teva from $57 to $61, stating: “We are encouraged by progress that Teva is making

on global generics under Siggi Olafsson.”

         89.        In truth, the generic drugs subject to the highly profitable price hikes represented a

substantial portion of Teva’s generic drugs portfolio and no shortages had in fact occurred.

Plaintiffs’ investigation revealed that, in 2013 and 2014 alone, Teva implemented at least 50 massive

price jumps across its portfolio as part of the Price-Hike Strategy. At least 35 of the price increases

were executed in tandem with other drug manufacturers, with at least 15 collusive price hikes. The

price hikes mitigated price declines in other Teva products.

         90.        Still, despite at least $942 million of Inflated Profits driving Teva’s turnaround in

2014, analysts continued to press management to break up the Company. Desheh flatly responded

“[a]bsolutely not,” while Vigodman unequivocally stated: “On the scenario of breaking up the

businesses, this scenario is not on the table.”

         91.        In lieu of breaking up the business, Vigodman set out to create “a new Teva.” He

considered 2015 an important year for the Company: “Once we put Teva on a solid footing . . . we

moved to the next phase in the grand plan of Teva.” While the Company sought out acquisition

candidates to transform itself in 2015, the Price-Hike Strategy continued in an effort to continue to

drive profitability and keep stock prices on their upward trajectory. Teva needed a more valuable

currency to pay for a transformative acquisition.

         92.        Once again, revenues and profits skyrocketed with more than 14 additional massive

price hikes during the first quarter of 2015 – U.S. generics revenues increased 37% year-over-year,

gross profit jumped 23% and gross margins reached 50% of revenues. Throughout the first half of

the year, Defendants continued to laud the success of Teva’s generics segment in a series of

misleading statements, while concealing the true source and unsustainability of the results:

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         •          On an April 30, 2015, earnings call, Olafsson announced a “1,000 basis points
                    improvement over a two years period” in “operating profit in the generic segment.”
                    He attributed this to “a significant improvement in our cost of goods . . . portfolio
                    offering . . . [including] when we have more of the launches . . . [and] the cost
                    infrastructure.

         •          On May 13, 2015, at a Bank of America Conference, Desheh declared that Teva’s
                    improved generics business was “nothing short of a revolution,” explaining that
                    “[i]n 2013 our gross margin of generic business was 41.3%, it was 46% in Q1 2015.
                    Our operating margin was 16.7%, it is 27%, this is full 10 percentage points,” i.e., a
                    $1 billion improvement.

         •          During a June 10, 2015 Goldman Sachs Global Healthcare Conference, Vigodman
                    explained: “[W]e started 2014 with a clear message, clear focus getting the [house in
                    order] first, solidifying the foundation of Teva. You see the profound change in the
                    generic business. . . . [These are] things [that] are not confined to numbers,
                    [inaudible]: 16.7% operating profit in 2013, 21.9% operating profit in 2014.” He
                    fraudulently attributed all of this success to “cost reduction” and “[f]ull
                    transformation of our operational network.”

         93.        By the time Teva announced its $40.5 billion acquisition of Actavis, its ADS and

ordinary share prices had rallied another 25% and 18%, respectively, since the end of 2014 –

reaching their all-time highs.

         94.        Teva’s illicit anti-competitive activities and concealed Price-Hike Strategy enabled

the Company to achieve a stellar year in 2015 and facilitated its issuance of securities to finance the

acquisition. The U.S. generics business finished 2015 with $4.8 billion in revenues, an increase of

8% from 2014. Gross profit from the generics segment increased 6%, driven by the U.S. business.

Vigodman attributed the performance to the generics segment: “We delivered in 2015 record

operating income, EPS and cash flow, while improving profitability margins across the board. Our

financial performance was based on excellent execution in generics, with significant improvement in

profitability.”

         95.        Analysts, unaware of the truth, continued to adopt the Defendants’ misleading

narrative. Piper Jaffray wrote, “Margins for the generics business continue to improve. . . . Though

top-line growth for the generics segment has been anemic, margins have continued to expand.”

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Jefferies’ analysts highlighted that, “Generic Drug Margins Continue to Improve,” noting that “on

the live Q3 presentation, management highlighted the significant improvement in profitability from

its core generics business.”

         96.        Specifically, the generic segment drove Teva’s profit margin and EBITDA growth

between 2013 to 2015. During the third quarter 2015 earnings call on October 29, 2015, defendant

Olafsson touted the generics business’s contribution to Teva’s profitability, stating that, “overall, we

will be in the range of 28% operating profits from generics, which really is first class with the

countries we’re operating in today.”

         97.        On the same call, after a series of questions on the sustainability of Teva’s generics

success, Vigodman reaffirmed the false premise that Teva had generated its profits solely from

sustainable, ordinary business practices, and not price hikes:

         We are very responsible . . . in everything that pertains to prices, on the generics
         side . . . . And I will even put [it] another way, all the improvement you see in
         margins is not driven by price. It is driven by quantities, and by mix, and by
         efficiency measures, not by price, 2014, 2015. And that’s a very important message.

         98.        Then, when a Barclays analyst asked for management’s thoughts on the proposed

legislation with the “potential limit to generic [drug] price increases,” Olafsson denied that Teva was

exposed, and acknowledged the only price increases were those “due to some abnormalities in the

market,” like supply shortages: “In terms of the proposed legislation on pricing control on

generics, . . . we have told you that overall on our whole portfolio, we have a decline in price. . . .

The talk about the inflation in generics, when you have a big portfolio . . . is really not there.”

         99.        Misled, analysts took explicit note. That day, UBS repeated the Defendants’

fraudulent denials: “[Management] highlighted that the [generic business] improvement was not

driven by price, but by volume, mix, and efficiency.”




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         100.       When the full year 2015 results came in, Desheh recognized the increasing

importance of the generics business as a percentage of the Company’s annual operating profit:

         Looking at EBITDA, this important measurement will continue to drive very strong
         EBITDA growth, with 7.8% [compound annual growth rate (“CAGR”)] over the past
         three years. The improved generic business generated 37% of annual operating
         profit without G&A while Copaxone’s share of this profit was down from 46% to
         42%.




         101.       Defendants continued to conceal the impact of Teva’s collusive activities and Price-

Hike Strategy on the Company’s profitability, instead falsely attributing the increased profits to

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Teva’s operations. During the September 2016 “Generic Medicine Business Overview,” Olafsson

summed it up, claiming that Teva’s financial outperformance was all bottom line as top-line revenue

growth was stagnant: “I think over the last two and-a-half years, there has been double-digit growth

on the bottom line. There hasn’t been a growth on the top line. We needed to do that just to clean

up the organization, to clean up what we were doing.”

         102.       On January 6, 2017, Vigodman, again, attributed the improvement of Teva’s

profitability since 2014 to everything except collusive activities and the Price-Hike Strategy: “Since

the start of 2014, one of our greatest priorities has been to increase the profitability of our generics

business. . . . This has been accomplished with a strong emphasis on the cost of goods sold, product

mix, and the overall cost structure.” Indeed, at every opportunity, in Teva’s financial disclosures

filed with the SEC and on conference calls, Defendants denied that Teva was engaged in price

increases, let alone that those increases were driving profits. Defendants told investors that the

Company’s increased profits came from ordinary business strategies, like cost cutting and new

product launches.

         103.       In truth, without the Price-Hike Strategy and its associated collusive activities,

revenues for the U.S. generics segment would have suffered negative growth in 2014 and endured

dismal growth in 2015. As such, the Price-Hike Strategy and collusive activities drove both top- and

bottom-line growth. The associated increase in revenues went straight to the bottom line with no

incremental increase in cost, generating significant profit margin improvement and substantial

Inflated Profit and Collusive Profit:




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                                            million         2015        2014         2013
        U.S. Generics Revenues                             $4,793      $4,418       $4,172
        Year-Over-Year Increase                            +$375       +$246
        Year-Over-Year Change                              +8.5%       +5.9%

        U.S. Price-Hike Strategy Inflated Profit             $848       $692          $250
        Year-Over-Year Increase                             +$156      +$445
        Year-Over-Year Change                              +22.5%    +176.8%

        Global Generic Segment Gross Profit                 $2,682     $2,148       $1,668
        Year-Over-Year Increase                             +$534      +$480
        Year-Over-Year Change                              +24.9%     +28.8%

         104.       Defendants concealed the Price-Hike Strategy because it was inherently risky and

unsustainable and could subject Teva to governmental and law enforcement scrutiny, if not

prosecution. Specifically, the strategy was unsustainable and risky because the U.S. generic drug

market was designed to be extremely competitive; generic drugs are a commodity, fully

interchangeable and identical in every respect, except for price. Wholesale customers solicit pricing

though a “blind” RFP bidding process. Thus, even if Teva increased its prices, the profits could be

short lived if other manufacturers undercut Teva’s price to secure more market share. Moreover,

generic drugs are an essential part of the lives of millions of Americans. Dramatic increases in

prices would, and in fact did, garner public criticism and Congressional action that further undercut

the sustainability of the strategy. Additionally, many of Teva’s price increases occurred in tandem

with competitors. As described herein, there is significant and compelling evidence that Teva

colluded to fix the prices of generic drugs and allocate markets. But whether illegal or not, Teva’s

pricing behavior is indicative of a lack of competition, if not collusion, and could, and again did,

come under intense civil and criminal law enforcement scrutiny. Had Teva disclosed that its core

business strategy was to aggressively increase prices on generic drugs, investors would have valued

the Company very differently from a company with a strategy driven by fundamental growth and

cost cutting, as the Defendants falsely proclaimed.

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         E.         The Actavis Acquisition

         105.       In late 2014, Teva urgently sought to announce an acquisition and enter into a merger

agreement. At the end of 2014, Teva reached out to Allergan but was rebuffed. After Mylan

likewise rebuffed Teva’s offer in the first half of 2015, Teva tapped Allergan again and speedily

executed the transaction “in the course of . . . two weeks.”

         106.       After implementing two years of collusive schemes and the Price-Hike Strategy,

which drove up profitability and Teva’s stock price, Defendants upped their ante by acquiring

Actavis to drive up their own paychecks. According to Defendants’ numbers, the Actavis

acquisition was projected to take Teva’s net revenues from $19.7 billion in pre-closing 2015 to a

projected $22 billion in 2016 and $25-$26 billion in 2017; EBITDA from $6 billion in 2015 to a

projected $7.5-$7.9 billion in 2016 and close to $10 billion in 2017; and free cash flow from

$4.9 billion in 2015 to a projected $7.6-$8.1 billion in 2016 and close to $6.5 billion in 2017. These

numbers translated to giant paydays for defendants Vigodman, Olafsson and Desheh, as their cash

bonus objectives were based on the following performance indicators: 35% non-GAAP operating

profit (EBITDA), 20% net revenue, 15% free cash flow.

         107.       Defendants also portrayed the deal as good for employees. Olafsson emphasized:

         [T]o me, for this to be a successful company, we need to have the best teams. . . .
         [B]ecause, yes, we are buying [tablet presses] and files and things like that, but at the
         end of the day, the success of this position and of this integration is the human capital.

                    People are the essence of the company going forward.

Less than 18 months after closing, Teva cut 14,000 jobs or 25% of its employees.

         108.       The Actavis acquisition was represented as a cure-all for the new Teva, with benefits

such as:

         •          The creation of a platform to grow the top and bottom line and “help the Street to
                    assign a higher multiple on higher EPS to Teva.”



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         •          The “incredible value [of] the pipeline of new products . . . as a part of this
                    acquisition.”

         •          Although originally pitched as “not driven by any necessity that pertains to
                    Copaxone,” Vigodman later admitted that the acquisition was part of “everything that
                    we have been doing the last 20 months is in a quest to be fully prepared for . . .
                    generic competition to 40 milligram [Copaxone],” and “in the story, the narrative,
                    that we have been building, the new one for Teva, Copaxone will become less and
                    less prominent and important in that story.”

         •          A solution to customer consolidation: “[T]here has been such a transformation on our
                    customers side, I think this move will change the generic space, in terms of product
                    supply, in terms of pipeline, in terms of offering what our customers are looking for”
                    because “they basically reduce over time and limit the number of suppliers that
                    basically they work with. So in general, you need to be big. You need to be able to
                    apply economy of scale in order to compete successfully and to translate, then
                    transform the challenge here into an opportunity.”

         •          After closing, it was again emphasized that: “Yes, there has been [customer]
                    consolidation, but we are strategically aligned and already communicating with these
                    companies as we bring the two organizations together . . . big to big provides a value
                    to all of these companies. Less transactions. It’s a lot easier to do business with
                    Teva.”

         109.       Defendants pitched the deal to investors as risk-mitigated based on Olafsson’s

credentials. During the second quarter 2015 earnings call, an analyst mentioned Olafsson’s long

tenure at Actavis and that it “eliminated the biggest risk to any major M&A . . . in that you know

what you’re buying.” Olafsson agreed and stated that “on the integration, yes, it’s true. We’re in a

special situation of knowing both companies very well.”

         110.       Olafsson also used his credentials as the former President of Actavis to ease

investors’ concerns about Actavis’s revenues and strategic value. During a May 10, 2016 industry

conference, an analyst confronted Olafsson with concerns about Actavis’s first quarter results,

stating that “revenues were down 26% year-over-year, and the operating income was down like

30%.” Olafsson responded that, “as we sit here today, and me understanding what has happened in

the in and out of the business, there’s nothing alarming in the numbers that we are seeing this

morning.” In fact, he blamed Actavis’s dismal performance on one product, Lidoderm, as the

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“single biggest issue,” and warned investors that it was “very dangerous to compare discontinued

operation number[s] with a real reporting a year ago.” On June 8, 2016, two months prior to closing,

in addressing the market’s perception that Teva overpaid for Actavis, Olafsson assured investors that

“the [strategic] value of the deal is exactly the same, and even better . . . than it was in July. If you

look at the performance of the Actavis business . . . I was running that for 11 years up until

July 2014.” Again, during the July 13, 2016 outlook conference call, less than a month before

closing, he affirmed that

         overall, the revenue hasn’t changed in the Actavis business. We understand, it is in
         good shape. We are pleased with the business as is.

                 The underlying business of what we’re acquiring is in very, very good shape,
         and in the same shape as we were hoping when we did the transaction a year ago.

         111.       After closing, during the November 15, 2016 earnings call, Olafsson continued to

justify the Actavis acquisition, stating: “We are very pleased with . . . the Actavis asset when it

comes in,” but the overall underperformance of the generics business was blamed on delays in new

launches. He assured investors that “the good news on this bad news is they will come later . . . it

doesn’t undermine at all the fundamental of the generic business, because these are not lost

opportunities. These are opportunities that we are moving into next year and the year after.”

         112.       In reality, however, Olafsson knew that the combined companies’ performance was

not due to delayed launches, but was the foreseeable consequence of the companies’ unsustainable

collusive practices and Price-Hike Strategy. During the same investor conference call, defendant

Vigodman directly addressed the DOJ investigation into price collusion in the generic drug industry

that had been in the news that month, emphasizing that, “based on all of our efforts to date, internal

and external . . . we are not aware of any fact that would give rise to an exposure to Teva with

respect to the investigation.” When Olafsson announced that pricing erosion had jumped to 7%, a

Wells Fargo analyst immediately questioned whether “it’s not a result of having to tame previous

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price increases or give back some of those?” Olafsson pushed back against such claim and

emphatically stated:

                 No, basically, the main reason, David, was that we had to divest a very good
         portfolio of products that had limited competition . . . . So, there was an instability
         that happened in the market during the month of August . . . .

                It didn’t change the fundamental of the market. It didn’t change the structure
         of the market, or the chemistry of the market, but we saw the impact on divested
         molecule significantly more than we saw for on the rest of the portfolio which gave
         us a 7% versus 5%, which we assumed going into the quarter.

         113.       Thus, while Defendants acknowledged that pricing pressure was impacting profits,

they falsely attributed these negative results to divestiture of certain generic products related to the

Actavis acquisition and continued to conceal Teva’s anti-competitive conduct and Price-Hike

Strategy, improper financial reporting and disclosures, and Teva’s true financial and business

condition.

         114.       Less than 20 days later, Teva fired Olafsson and immediately started the process of

revising guidance. While shocking Wall Street with the announcement of Olafsson’s departure,

Vigodman told investors that:

         [W]e are fully aware and mindful of the uncertainties that are elevated in a way that
         is driven by [Olafsson’s] departure. So, that’s why we decided to just to move the
         guidance we provide to the Street on 2017 from February to January. So, we are
         accelerat[ing] . . . the internal processes, and in the course of January [you will be]
         provide[d] the guidance.

         F.         Defendants Falsely Denied Price Inflation and the Resulting Erosion
                    and Provided Misleading Projections Using Artificially Inflated
                    Metrics

         115.       On July 27, 2015, when the Actavis acquisition was announced, Defendants provided

false and misleading projections to investors on the expected benefits of the acquisition. During the

acquisition announcement conference call, defendant Vigodman stated “[d]uring [the] 2016 to 2018

timeframe, we expect to grow pro forma net revenues by CAGR of 5%, pro forma EBITDA by

10.1%, pro forma cash flow from operations by 12.5%, and pro forma free cash flow by 14.4%.”
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During the February 11, 2016 earnings call, defendant Vigodman reaffirmed the projections, “using

2015 as the base year.”

         116.       On July 13, 2016, three weeks before the completion of the acquisition, defendant

Vigodman provided a new set of projections:




         117.       Using 2015 as a base year, revenues were projected to grow at midpoint CAGR of 9%

from $19.5 billion in 2015 to $26.7 billion to $27.8 billion in 2019; EBITDA was projected to grow

at midpoint CAGR of 14% from $6.6 billion in 2015 to $10.7 billion to $11.5 billion in 2019.

Similarly, free cash flow was projected to grow at midpoint CAGR of 11% from 2015.

         118.       Defendants Vigodman, Desheh and Olafsson – all of whom participated in each of the

conference calls providing false and misleading projections to investors – knew that the projections

lacked a reasonable basis, as 2015, the base year, was a record year for U.S. generics revenues,

operating income, EBITDA, earnings per share (“EPS”), cash flow and profitability margin. These

metrics were driven by the generics segment and were artificially and unsustainably inflated by the

Price-Hike Strategy and collusive price-fixing and market allocation activities.

         119.       As 2015 came to a close, the effects of industry-wide pressure on generics pricing

spurred by the investigations and scrutiny on pricing practices had come to the fore as a number of


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industry participants reported a new trend of downward pricing pressure. In the first half of 2016,

Teva’s customers and industry peers began announcing increased pricing erosion or expectations of

heightened generic drug price deflation. For example, during the January 11, 2016 industry

conference, a JPMorgan analyst raised the concern that “McKesson this morning announced some

maybe challenging pricing on the generics side or an expectation of that going forward.” Olafsson

flatly rejected the claim and stated that Teva did not take part in generics price inflation, stating that:

         [W]e need to keep in mind there’s a lot of talk about inflations in generic pricing.
         But what we see is there’s – overall on our total portfolio of 270 products, there is a
         slight decrease in pricing. It’s low single digit.

                 There’s a lot of headlines of examples of big price increases in generics. But
         when you are a company of the size of Teva and you have the portfolio that we have
         today . . . there is a decline.

Again, during the May 9, 2016 earnings call, analysts flagged that AmerisourceBergen, Endo and

Perrigo Company plc (“Perrigo”) were seeing worsening price deflation. Olafsson derided these

companies as “leaking houses” that were “blaming the neighborhood for their maintenance

issues. . . . You have to look at it differently for a company that has a big portfolio, strong new

product launches, a differentiated portfolio, and a high quality portfolio.”

         120.       Along the same lines, throughout 2016, Olafsson repeatedly denied ever having

participated in generics pricing inflation, and accordingly, that Teva had encountered the

concomitant pricing erosion:

         •          January 11, 2016 – Olafsson: “[W]e need to keep in mind there’s a lot of talk about
                    inflations in generic pricing. But what we see is there’s – overall on our total
                    portfolio of 270 products, there is a slight decrease in pricing. It’s low single digit,
                    but year on year we see a low single-digit decrease because on 95% of our portfolio,
                    we experience price decline. And then on 5%, we might be flat or a slight increase.
                    So, overall, we see that in the business.”

         •          February 11, 2016 – Olafsson: “As I’ve previously stated, we and the generic
                    industry overall don’t see price inflation of generics as it sometimes is portrayed in
                    the media. On the contrary, for 2015, we saw a mid-single-digit price decline for the


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                    overall business. In the US, our largest market, we saw approximately 4% price
                    erosion.”

         •          March 8, 2016 – Olafsson: “I think overall the pricing hasn’t changed that much.
                    There was a lot of talk about inflation in generic pricing. But we never saw that.
                    That was an individual molecule basis, they used example of products that really
                    were not generic products, even though they were off-patent, and in an environment
                    where there was an inflation never really happened in the generic business. And
                    there has been a decline there.”

         •          June 8, 2016 – Olafsson: “When we signed that [Actavis] deal in July [2015], we
                    talked about 4% price erosion in the US generic business. And we are still talking
                    about the same number, what we see in the base business.”

         •          September 9, 2016 – Olafsson: “Government is struggling with increased healthcare
                    costs, and really the generics are the key to the solution. They are really not the
                    problem. There is no inflation in the generic pricing. . . . So far, what we saw in the
                    end of second quarter was approximately 4% in the US and 5% global.”

         •          November 15, 2016 – Olafsson: “[T]he overall prices in the US of generics always
                    go down. I’ve been in the business for 23 years, and the prices, even though there
                    are examples giving of a product going up significantly, maybe a single molecule,
                    even one SKU, but overall, when you look at the 300 to 400 products we have on the
                    market, our price erosion on average is about 5% per year.”

         121.       In truth, Teva had raised prices on dozens of drugs, generating more than $2.2 billion

in Inflated Profit by the end of 2016.

         122.       Furthermore, as Olafsson made the above false statements and denials, Teva’s

Inflated Profit from collusive activities and the Price-Hike Strategy was on a rapid downward

trajectory:




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         123.       Contrary to Olafsson’s representations, Teva’s portfolio experienced heightened

pricing erosion throughout 2016 – much higher than the 4% conveyed to investors. During Teva’s

January 6, 2017 business outlook conference call, Vigodman announced that “the entire healthcare

sector has faced significant headwinds, and we have not been immune,” resulting in a $1.2 billion

EBITDA gap. Vigodman stated that “[t]he guidance we provided today is significantly below what

we provided in the July [13, 2016] preliminary outlook . . . [and] we have an EBITDA gap of

$1.2 billion emanating from our generic business.” He falsely claimed that:

         [T]he majority of the $1.2 billion gap is attributable to not being able to realize new
         launches in our Teva legacy business in a way that is consistent with our past track-
         record. As we communicated in November, this impacted the second half of 2016
         and will have an impact on 2017 as well.

                 In addition, the long waiting period for the closing of the transaction had an
         adverse impact on our ability to fully exploit all opportunities from the business
         during this long transition period.

         124.       Defendants’ explanations for the $1.2 billion gap were marred by inconsistencies.

The July 2016 projection was provided a mere three weeks prior to the Actavis closing, which was

originally scheduled to occur in the first quarter of 2016. Thus, the long waiting period for the

closing had already occurred at that point and would have been accounted for in the projections.
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Vigodman provided a further explanation for the $1.2 billion gap at the J.P. Morgan Healthcare

Conference a few days later, stating that:

         [T]he assumption was that we launch $600 million, which is very reasonable, given
         the numbers . . . . In retrospect that was a tough year for us for a number of reasons
         and we were able eventually to launch only $140 million in 2016 for new
         products . . . and it created a new run rate for 2017.

In essence, Vigodman asserted a $460 million new launch delay – which Olafsson previously had

characterized as “the good news” because these delayed products were “opportunities” that Teva

could move “into next year and the year after” – that generated a $1.2 billion earnings gap.

         125.       In addition, Vigodman emphasized that “we use basically very reasonable

assumptions in the model, we modeled, based on past performance in the US and pipeline assets of

Teva.” But the “past performance in the US” was inflated by collusive activities and the

unsustainable Price-Hike Strategy, which Defendants concealed from investors. In reality, the

Inflated Profit declined by 40%, dropping from $848 million in 2015 to $513 million in 2016, which

significantly contributed to the EBITDA gap.

         126.       Nevertheless, Defendants continued to mislead investors with false and misleading

projections that lacked a reasonable basis and were tainted by artificially and unsustainably inflated

assumptions. Although Defendants adjusted the EBITDA guidance downwards by $1.2 billion, the

revised 2017 projections were still artificially inflated by unreasonable pricing assumptions:




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         127.       After Vigodman’s unexpected termination, during Teva’s first quarter 2017 earnings

conference call on May 11, 2017, defendant Peterburg affirmed the false and misleading projections

even though pricing erosion had reached 7%. He attributed the heightened pricing pressure to “the

ongoing consolidation of our key customers and the increase in generic drug approval by the FDA,

which has created additional competition” – without disclosing that dramatic price hikes from

collusive activities and the Price-Hike Strategy had led to the FDA’s initiative to speed up and

increase generic drug approval and had attracted additional competitors, which had resulted in

customer renegotiation of contracts as competition increased. Inflated Profit for the first quarter of

2017 dwindled to $103 million, a 17% drop year-over-year and 19% decline from the fourth quarter

of 2016.

         128.       On August 3, 2017, Peterburg announced that Teva would have to lower its 2017

projections again due to U.S. generics pricing erosion and customers negotiating lower prices:




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         129.       Interim CFO McClellan revealed that Teva had been lying about the true level of

pricing erosion all along. He stated that pricing erosion for the base business was 8% on the

12-month moving average measurement “we have used in the past,” but 6% on a year-over-year

basis:

                 Regarding the key topic of price erosion, as mentioned by Yitzhak, if we look
         at Q2 ‘17 compared to Q2 ‘16, rather than a 12-month moving average that we have
         used in the past, price erosion of our base products was slightly over 6%. We believe
         this methodology better captures the rapid changes in the market, which we’ve been
         seeing recently. Had we used the previous MAT methodology, Q2 erosion would
         have been near 8%.

         130.       In order for a trailing 12-month moving average to be 8% between the second quarter

of 2016 and the second quarter of 2017, when year-over-year change was only 6%, Teva had to

experience substantially higher than 8% pricing erosion during the 12-month period. However,

except for the third quarter of 2016 and the first quarter of 2017 – in which Olafsson and Peterburg

announced pricing erosion of 7% – Defendants had represented to investors that Teva’s pricing

erosion was 4% or 5% each quarter since 2015. In fact, during the September 2016 generics outlook

conference call, Olafsson reiterated that, because of the size of Teva’s portfolio, “we are more shield



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[sic] towards the prices up and down.” A stable portfolio with pricing erosion between 4% to 7%

could not have reached 8% pricing erosion on an average basis.

         131.       Finally, on February 8, 2018, Teva provided 2018 guidance, with revenues down 30%

from the projections at the time of the Actavis acquisition closing:




         G.         Multiple Governmental Investigations Uncovered Evidence of Teva’s
                    Illegal Price Fixing, Bid Rigging and Market Allocation

                    1.     The Congressional Inquiry

         132.       Beginning in 2014, the price hikes by Teva and its co-conspirators in the generics

market were sufficiently extensive that they had garnered some attention within the industry. In

January 2014, the CEO of the National Community Pharmacists Association wrote Congress stating

that “[o]ver the last six months . . . many of our members across the U.S. . . . have seen huge

upswings in generic drug prices,” and requesting an investigation into the matter. The State of

Connecticut also found that:

         Prices for dozens of generic drugs have uncharacteristically risen – some have
         skyrocketed – for no apparent reason, sparking outrage from public officials, payers,
         and consumers across the country whose costs have doubled, tripled, or in some
         cases, increased up to 1,000% or more. The growing outrage and public reports of
         unexplained and suspicious price increases caused the State of Connecticut to


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         commence an investigation in July of 2014, which was followed shortly by . . . the
         United States Department of Justice Antitrust Division.

         133.       Congress launched its investigation by October 2014, based on conclusions drawn

from data accumulated on generic drug prices by the private Washington, D.C.-based Healthcare

Supply Chain Association (the “HSCA”). The HSCA surveyed average prices paid by organizations

that assist hospitals, nursing homes and home health agencies in negotiating with pharmaceutical

companies and other vendors for discounts. The survey largely confirmed that there had been recent

enormous price hikes for generics drugs that appeared to be unexplained by market conditions.

(Healthcare Supply Chain Assn., Surv. of Group Purchasing Org. (Oct. 2013 to Apr. 2014)).

         134.       Congress sent letters to Teva and many of its peers, requesting documents and

information concerning “the recent staggering price increases for generic drugs used to treat

everything from common medical conditions to life threatening illnesses” and requesting that Teva

provide a series of documents and information for the time period covering January 1, 2012 to

October 7, 2014. Teva refused to provide these documents. Instead, the Company coordinated with

co-conspirators to draft a “polite f-u” letter to Congress.

         135.       The other generics manufacturers that received similar letters from Congress

included:       (i) Actavis;   (ii) Amphastar   Pharmaceuticals;   (iii) Apotex   Corp.   (“Apotex”);

(iv) Dr. Reddy’s Laboratories Ltd. (“Dr. Reddy’s”); (v) Endo; (vi) Global Pharmaceuticals;

(vii) Heritage; (viii) Lannett Company, Inc. (“Lannett”); (ix) Marathon Pharmaceuticals, LLC;

(x) Mylan; (xi) Par; (xii) Sun; (xiii) Turing Pharmaceuticals LLC; (xiv) Valeant Pharmaceutical

International, Inc. (“Valeant”); (xv) West-Ward Pharmaceutical Corp. (“West-Ward”); and

(xvi) Zydus Pharmaceuticals USA Inc. (“Zydus”). Press Release, Sen. Bernard Sanders, Congress

Investigating Why Generic Drug Prices Are Skyrocketing (Oct. 2, 2014).




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         136.       On November 20, 2014, the Senate Subcommittee on Primary Health and Aging held

a hearing to explore “if there was a rational economic reason as to why patients saw these huge price

increases [in generic drugs] or whether it was simply a question of greed of companies who were

able to raise prices to whatever level they wanted, and that is, in fact, what they did.” Why Are Some

Generic Drugs Skyrocketing in Price?: Hrg. Before the Subcomm. on Primary Health and Aging of

the S. Comm. of Health, Education, Labor, and Pensions, 113 Cong. 3 (2014). Although Teva was

specifically invited to testify, it refused. Id. at 8.

                    2.     The September 2016 GAO Report

         137.       As a result of its inquiry, Congress requested that the GAO undertake an independent

audit of the generic drugs that the federal government purchased by means of the Medicare Part D

program. The GAO performed its audit from June 2015 to August 2016 in accordance with

generally accepted government auditing standards, requiring that the “evidence obtained provide[d]

a reasonable basis for [the GAO’s] findings and conclusions based on [its] audit objectives.” U.S.

Gov’t Accountability Off., GAO-16-706, Generic Drugs Under Medicare Part D 5 (Aug. 2016).

         138.       Publicly released on September 12, 2016, the GAO’s conclusions were significant.

The GAO found hundreds of unexplained “extraordinary price increases,” defined as a particular

drug increasing over 100% within a 12-month period, and that some drug prices increased more than

1000%. Id. at 14. The GAO’s analysis indicates that Teva was one of the largest offenders. See,

e.g., id. at 5 n.11.

         139.       Over the study period of the first quarter of 2010 through the second quarter of 2015,

the GAO found that as a general matter, overall generic drug prices had declined over time – as

would be expected in a competitively functioning generics market. According to the GAO,

consistent with expectations, “generic drug prices fell 59 percent from the first quarter of 2010



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through the second quarter of 2015.” Id. at “What GAO Found.” In other words, when looked at as

a whole, the entire set of generic drugs, including new entrants to the market, saw a price decline.

         140.       However, over the same period, the GAO “analyzed an established basket of 1,441

generic drugs that were present during the entire period of analysis,” and found price increases for a

subset of drugs that was at odds with the trend for the overall generics market:

         More than 300 of the 1,441 established generic drugs analyzed had at least one
         extraordinary price increase of 100 percent or more between first quarter 2010 and
         first quarter 2015. GAO found that drugs with extraordinary price increases
         moderated the overall decline in generic drug prices. Additionally, the extraordinary
         price increases generally persisted for at least 1 year and most had no downward
         movement after the extraordinary price increase. Given the low cost of generic drugs
         relative to their brand counterparts, stakeholders indicated limited changes to benefit
         design, including drug coverage.

Id.

         141.       The GAO Report concluded that these price increases had begun in earnest in 2012,

and accelerated into 2015. Specifically, the GAO found that between the first quarter of 2010 and

the fourth quarter of 2012, the price for this established basket of generic drugs had decreased by

22%, or about 2.2% per quarter on average. However, between the end of 2012 and the second

quarter of 2015, the price of the GAO’s “established generic drug basket increased by 10%, or about

0.9% per quarter on average, which was four times the overall rate of general inflation of

approximately 2.3% over the same time period.” Id. at 10.

         142.       In all, “[t]he 315 drugs that experienced an extraordinary price increase during [the

GAO’s] study period have moderated the decline in generic drug prices for [the] basket of 1,441

established drugs, despite only representing slightly more than one in five established generic

drugs.” Id. at 16.

         143.       Contemporaneously with the increases, manufacturers publicly blamed the price

increases on external pressures such as ingredient supply disruption, market consolidation, or similar


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factors. The GAO took issue with those assertions, concluding that the primary driver of prices in

the generics industry is competition: “Manufacturers reported that competition, determined by the

price and availability of the same drug from other manufacturers, is the primary driver of generic

drug prices, as less competition could drive prices higher.” Id. at “What GAO Found.”

         144.       Indeed, according to the manufacturers interviewed by the GAO, including Teva:

         The generic drug market operates like a commodities market, and manufacturers
         told us they are asked to submit a proposal offering their best possible price to their
         customers – for example, companies that operate pharmacies or wholesalers. If
         another manufacturer offers a lower price to a customer, manufacturers we
         interviewed indicated that they are usually asked to match it or risk losing market
         share to the other manufacturer.

Id. at 23.

         145.       As a matter of empirical fact, however, competition had not moderated the price hikes

back to the historically normative price levels. Instead, the GAO Report states that, “[o]f the 351

annual extraordinary price increases that occurred from first quarter 2010 to first quarter 2015, we

were able to track 248 of these annual increases for 1 or more additional years, and found that nearly

all persisted at 100 percent or more above the original price for at least 1 year.” Id. at 17. As a

result, the benefit from each drug price increase to the bottom line of the manufacturers involved was

cumulative over time, and did not just provide an immediate benefit to the drug manufacturers.

         146.       Teva owned the rights to FDA-approved products associated with at least 40% of the

drugs identified in the GAO Report as having exhibited an “extraordinary price increase” in the 2013

to 2014 or 2014 to 2015 timeframes (42 of 105 active ingredients, 90 of 191 ingredient/form/strength

alignments), as determined by cross-referencing the GAO Report against the FDA’s list of

“Approved Drug Products with Therapeutic Equivalence Evaluations” (commonly known as the

“Orange Book”).




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         147.       The drugs identified by the GAO Report specifically included Acetazolamide,

Baclofen, Carbamazepine, Cephalexin, Clobetasol Propionate, Desonide, Doxycycline Hyclate,

Enalapril Maleate, Fluocinonide, Ketoconazole, Nystatin, Pravastatin Sodium, Theophylline and

Tretinoin. All of these drugs, which are discussed in more detail below, have also either been

implicated in the State AGs’ investigation and/or have been identified by Plaintiffs as having

collusive price increases.

                    3.     The DOJ and State AG Investigations

         148.       On or around July 8, 2014, the State of Connecticut began a non-public investigation

into suspicious price increases of generic drugs. The Connecticut AG quickly began issuing

document subpoenas to Teva’s peer generics manufacturers. Specifically, the Connecticut AG

issued subpoenas to Impax on July 14, 2014, to Lannett on July 15, 2014, and to Par on August 6,

2014, all relating to pricing of the generic drug Digoxin. Lannett, Current Report (Form 8-K) at 2

(July 16, 2014); Impax, Current Report (Form 8-K) at 2 (July 15, 2014); Par, Annual Report (Form

10-K) (Dec. 31, 2014).

         149.       According to reports, within days of the initial Connecticut AG subpoenas being

issued to drug manufacturers, the DOJ Antitrust Division, Criminal I Section, contacted the

Connecticut AG’s office to inquire into the investigation. See Mark Pazniokas, How a small-state

AG’s office plays in the big leagues, C.T. Mirror, Jan. 27, 2017.

         150.       By November 2014, the DOJ reportedly initiated an investigation and convened a

grand jury in Philadelphia, Pennsylvania. The grand jury began to issue document, testimony and

information subpoenas.

         151.       The DOJ’s and the State AGs’ investigations quickly accelerated with dozens of

subpoenas being issued in 2014, 2015 and 2016. To date, the Connecticut AG alone has issued

hundreds of subpoenas to various manufacturers, individuals and other entities in the generic drug

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industry, including Actavis, Teva, Impax, Heritage, Lannett, Par, Mylan, Mayne Pharma (USA)

(“Mayne”), and Dr. Reddy’s. Plaintiff State of New York has issued a total of 30 investigative

subpoenas to telephone carriers regarding current and former employees of targets of the

investigation, including to AT&T on February 6, 2018 and to 29 additional carriers between

February 15, 2018 and March 27, 2018. The AGs of California and Texas have also issued

subpoenas. Generic drug manufacturers have received subpoenas for documents or testimony from

the federal criminal grand jury, including Teva, Impax, Lannett, Par, Mylan, Mayne, Dr. Reddy’s,

Sun, Taro Pharmaceuticals USA, Inc. (“Taro”), Baxter International and Allergan. These include

subpoenas served directly on individuals, including high ranking executives. The DOJ has also

served search warrants on Citron Pharma LLC (“Citron”) (June 2016), Mylan (November 2016),

Perrigo (May 2017), and Pfizer Inc. (July 2017).

         152.       Teva was one of the last of the conspirators to receive a subpoena from the DOJ,

which it did in June 2016, as it is the largest member of the conspiracy.

                    4.     Civil Antitrust Litigations

         153.       Teva and numerous peers are the subject of more than two dozen civil antitrust suits

brought by market participants alleging per se illegal price fixing across numerous specific drugs.

Consistent with the AG Complaints’ allegations of a wide-spread antitrust conspiracy, the DOJ

Antitrust Division has intervened in these civil actions, seeking stays and also asserting that they

overlap with the DOJ’s criminal investigation. This indicates that, at a minimum, the dozens of

drugs in the civil suits – including several suits against Teva and Actavis – are the same drugs that

are the subject of the ongoing criminal investigation.




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                    5.     The DOJ Investigation Yields Admissions of a Wide-Ranging
                           Illegal Conspiracy Involving Teva

         154.       On December 14, 2016, the DOJ announced that it had charged Glazer, the former

CEO of Heritage, and Malek, the former President of Heritage, with violations of the federal

antitrust laws concerning a conspiracy relating to the prices of generic drugs.

         155.       Glazer and Malek were charged with “knowingly enter[ing] into and engag[ing] in a

combination and conspiracy with other persons and entities engaged in the production and sale of

generic pharmaceutical products, . . . the primary purpose of which was to allocate customers, rig

bids, and fix and maintain prices.” Information, ¶6, USA v. Glazer, No. 16-cr-00506-RBS (E.D. Pa.

Dec. 12, 2016) (ECF No. 1) (“Glazer Information”); Information, ¶6, USA v. Malek, No. 16-cr-

00508 (E.D. Pa. Dec. 13, 2016) (ECF No. 1) (“Malek Information”).

         156.       The criminal information related to these charges specified that these products

included two specific drugs, Glyburide (used to treat type-2 diabetes) and Doxycycline Hyclate

(used to treat acne); they also indicated that the conspiracy involved numerous other unspecified

drugs and parties. See Glazer Information, ¶106; Malek Information, ¶106.

         157.       Teva was the dominant participant in the Glyburide market during the Relevant

Period, with approximately 70% to 75% of the market from 2012 to 2017. The market for Glyburide

was an estimated $650 million in sales from 2012 to 2016. Teva was also a major player in the

Doxycycline Hyclate market through its acquisition of Actavis, with an estimated $708 million in

sales in 2015 for Doxycycline Hyclate capsules alone.

         158.       On December 9, 2016, Glazer and Malek both pled guilty to the federal charges. In

exchange for immunity as to a whole host of generic drugs, they each agreed to provide full

cooperation with the DOJ’s ongoing investigation, specifically with “the current federal

investigation of violations of federal antitrust and related criminal laws involving the production and


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sale of generic pharmaceutical products in the United States.” Plea Agreement, ¶18, USA v. Glazer,

No. 16-cr-00506-RBS (E.D. Pa. Jan. 9, 2017) (ECF No. 18) (“Glazer Plea”); Plea Agreement, ¶17,

USA v. Malek, No. 16-cr-00508-RBS (E.D. Pa. Jan. 1, 2017) (ECF No. 17) (“Malek Plea”)

(collectively, the “Pleas”). The full list of generic drugs on which Malek and Glazer conspired to

raise prices, including those manufactured by Teva, has been filed under seal, and is the subject of

the continued criminal grand jury inquiry.

         159.       With respect to the Pleas, Malek and Glazer specifically admitted to participating in a

conspiracy to allocate the market share, rig bids, and fix the prices of Doxycycline from at least

April 2013 through at least December 2015. They also admitted to participating in a conspiracy to

allocate the market share, rig bids, allocate customers and fix the prices of Glyburide from

April 2014 through at least December 2015. Teva was a member of the conspiracy. Glazer Plea,

¶106; Malek Plea, ¶106.

         160.       Heritage, a New Jersey company owned by India-based manufacturer Emcure

Pharmaceuticals, Ltd., fired Glazer and Malek in August 2016 and admitted to their conduct, stating:

“‘We are deeply disappointed by the misconduct and are committed to ensuring it does not happen

again,’” promising full cooperation with authorities. Nathan Vardi, The Man The Feds Are Using To

First Crack Open Their Big Antitrust Case Against Generic Drug Makers, Forbes (Dec. 16, 2014).

         161.       Further confirming the wide-ranging conspiracy at issue, co-conspirators Apotex,

Heritage, Sandoz, and Rising have all entered into deferred prosecution agreements with the DOJ

and agreed to cooperate in the investigations. Sandoz’s Armando Kellum and Taro’s Ara

Aprahamian are facing criminal charges for their roles in the conspiracy, with Kellum pleading

guilty to the charges on February 14, 2020.




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                    6.     Forty-Seven State AGs, the District of Columbia and the
                           Commonwealth of Puerto Rico Accuse Teva of Participating in
                           an Illegal Conspiracy Which Artificially Inflated the Value of
                           Teva Securities

         162.       On December 15, 2016, Connecticut and 19 other states’ AGs filed civil charges

against Teva and five other generic drug manufacturers – Aurobindo Pharma USA, Inc.

(“Aurobindo”); Citron; Heritage; Mayne; and Mylan. See December 2016 AG Complaint. The

December 2016 AG Complaint was based on, and referenced, direct evidence of the conspiracy that

was gathered in the State AGs’ multi-year investigation. Additional states have since joined the

action, which currently totals 47 State AGs, the District of Columbia and the Commonwealth of

Puerto Rico.

         163.       The December 2016 AG Complaint alleged direct evidence, accumulated through

years of investigation and discovery, of a massive horizontal conspiracy between Teva and other

companies to illegally allocate the market for, rig bids for the sale of, and fix the prices of, generic

drugs.

         164.       According to the December 2016 AG Complaint, the scheme consisted of two types

of anti-competitive practices: First, to allocate customers and market share “either upon their entry

into a given generic market or upon the entry of a new competitor into that market.” The co-

conspirators “communicated with each other to determine and agree on how much market share or

which customers each competitor was entitled to.” Teva and its co-conspirators would effectuate the

agreement either by refusing to bid for particular customers (e.g., drug wholesalers or GPOs) or by

providing a cover bid that they knew would not be successful. This conduct effectively reduced or

eliminated competition for a particular drug and allowed Defendants to maintain artificially supra-

competitive prices in these markets throughout the United States.




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         165.       Second, and often in conjunction with the first practice, competitors would simply

communicate – typically either in person, by telephone, or by text message – and agree to

collectively raise prices for a particular generic drug. While maintaining a presence in the market for

a particular drug, these agreements kept the appearance of competition, though prices and markets

were fixed.

         166.       Glazer and Malek have also admitted liability to the claims levied by the State AGs

and, as part of their settlements, have agreed to cooperate fully with the State AGs’ investigation and

suit. As the Connecticut AG George Jepsen has stated, Glazer and Malek’s cooperation “‘will

significantly strengthen [the State AG’s] ability to prosecute the litigation and further [their]

investigation.’” Eric Sagonowsky, Ex-Heritage execs turn state’s evidence in far-reaching generic

pricing probe, FiercePharma, May 25, 2017.

         167.       The December 2016 AG Complaint focused on the same two drugs as the DOJ:

Doxycycline and Glyburide. However, like the DOJ, the State AGs made clear that these were

simply examples of the much greater continuum of illegal agreements, and only a small part of its

tremendous scope. Specifically, the State AGs’ complaint, amended on March 1, 2017, alleged that

the still-ongoing investigation “uncovered evidence of a broad, well-coordinated and long-running

series of schemes to fix the prices and allocate the markets for a number of generic pharmaceuticals

in the United States.” See March 2017 AG Complaint.

         168.       According to the State AGs’ allegations, “many of these schemes were conceived and

directed by executives at the highest levels of many of the Defendant companies.”

         169.       As discussed in more detail below, Teva was expressly implicated in the

December 2016 AG Complaint concerning the collusion over pricing and market share for

Glyburide. These allegations included direct communications and explicit agreements among Teva

and its co-conspirators. Specifically, on April 22, 2014, Malek identified “a large number of

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different drugs that Heritage targeted for price increases.” Malek “instructed members of the sales

team to immediately reach out to their contacts at each competitor on the list of drugs, and attempt to

reach agreement on the price increases.” However, Malek had a “direct relationship” with Nisha

Patel at Teva, whom he spoke to regarding “rais[ing] prices on Glyburide, among other drugs.”

           170.     The State AGs also alleged that the efforts to conceal the conspiracy were deliberate

and extensive. “Going back to at least 2012, for example, Heritage executives took overt steps to

conceal their illegal activity, and destroy evidence of any wrongdoing.” In that regard, “all

[defendants] made consistent efforts to avoid communicating with each other in writing, or to delete

written electronic communications after they were made.” Indeed, “as [d]efendants became more

aware that they were under state and federal investigation, there was even more urgency to avoid

detection.” March 2017 AG Complaint, ¶¶125-126, 131.

           171.     Moreover, the State AGs have found that the explanations provided by the generic

drug manufacturers for their price increases were a mere pretext:

           Generic drug manufacturers [have] argued publicly that the significant price
           increases were due to a myriad of benign factors, such as industry consolidation,
           FDA-mandated plant closures, or elimination of unprofitable generic drug product
           lines. What the Plaintiff States have found through their investigation, however, is
           that the reason underlying many of these price increases is much more
           straightforward, and sinister – collusion among generic drug competitors.

Id., ¶6.

           172.     In addition to the specific claims already made in the State AG complaint, the AGs

allege that “the Plaintiff States have uncovered wide-ranging conduct implicating numerous different

drugs and competitors, which will be acted upon at the appropriate time.” Id., ¶9. According to an

article citing the Connecticut AG lawyers who prepared the complaint, the full extent of the scheme

involves “fraud on a broader, nearly unimaginable scale.” Mark Pazniokas, How a small-state AG’s

office plays in the big leagues, C.T. Mirror, Jan. 27, 2017.


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         173.       Consistent with this, Connecticut’s AG, Jepsen, in a December 2016 article published

by The New York Times, noted that “‘this is just the tip of the iceberg . . . . I stress that our

investigation is continuing, and it goes way beyond the two drugs in this lawsuit, and it involves

many more companies than are in this lawsuit.’” Katie Thomas, 20 States Accuse Generic Drug

Companies of Price Fixing, N.Y. Times, Dec. 15, 2016. Jepsen “promised that more charges were

coming.” Id.

         174.       Similarly, in an interview with Bloomberg that aired December 14, 2016, Jepsen

described the breadth of the price-fixing scheme: “‘[W]e believe it is massive, we believe it is quite

widespread. This is only the first legal action that is being taken; we expect quite a bit more.’”

Asked to describe the mechanics of the scheme, Jepsen said “what we’re finding, and what the

evidence will show, is very explicit price fixing. This isn’t circumstantial evidence . . . . This is

very explicit price fixing . . . in text messages, in emails, in conversations; we have cooperating

witnesses. The case is very strong.” Jepsen also explained that “the number of drugs that are being

investigated goes well beyond the[] two drugs [Doxycycline and Glyburide].”

         175.       Jepsen summarized, as reported in The New York Times, that the investigation had

uncovered “‘very damning’” evidence, and “‘a culture of cronyism where, whether it’s over a game

of golf or a dinner or drinks, there’s just systematic cooperation.’”

                           a.      Trade Groups and Social Events Facilitated the
                                   Collusion

         176.       Both the DOJ and the State AGs focused in part on the participation of generic

manufacturers in trade groups and other social industry events as a means to facilitate the

conspiracy. The State AGs alleged that “the [d]efendants and other generic drug manufacturers also

attend various industry trade shows throughout the year, including those hosted by the National

Association of Chain Drug Stores (‘NACDS’), Healthcare Distribution Management Association


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(‘HDMA’) (now the Healthcare Distribution Alliance), the Generic Pharmaceutical Association

(‘GPhA’) and Efficient Collaborative Retail Marketing (‘ECRM’),” among others.

         177.       The DOJ is reported to have stated that “prosecutors are taking a close look at trade

associations as part of its investigation as having been one potential avenue for facilitating the

collusion between salespeople at different generic producers.”

         178.       At these various conferences and trade shows, sales representatives from many

generic drug manufacturers, including from Teva, had the opportunity to interact with each other and

discuss their respective businesses.

         179.       As alleged by the State AGs, in addition to these frequent conferences and trade

shows, sales representatives got together separately, in more limited groups, allowing high level

executives to meet face-to-face with their competitors and discuss their business, gatherings that

included “industry dinners.” For example, the State AGs allege that “in January 2014, at a time

when the prices of a number of generic drugs were reportedly soaring, at least thirteen (13) high-

ranking [male] executives, including CEOs, Presidents and Senior Vice Presidents of various generic

drug manufacturers, met at a steakhouse in Bridgewater, New Jersey.”

         180.       Further, “[f]emale generic pharmaceutical sales representatives also get together

regularly for what they refer to as a ‘Girls Night Out’ (‘GNO’), or alternatively ‘Women in the

Industry’ meetings and dinners. During these GNOs, meetings and dinners, these representatives

meet with their competitors and discuss competitively sensitive information.”

         181.       According to the State AGs’ allegations:

                 Several different GNOs were held in 2015, including: (1) at the ECRM
         conference in February (involving defendants Citron and Heritage, among others);
         (2) in Baltimore in May (involving defendants Citron, Heritage and Teva, among
         others); and (3) at the NACDS conference in August (involving defendants Citron
         and Heritage, among others).



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         182.       Teva belonged to numerous additional trade organizations and attended numerous

trade shows with its competitors over the Relevant Period, including: NACDS, HDMA (now the

Healthcare Distribution Alliance), ECRM, and the GPhA. Executives from Teva and its co-

conspirators served on the GPhA Board of Directors, including Oberman, President and CEO of

Teva Generics (2014); Debra Barrett, Teva SVP of Government and Public Affairs (2012-2013,

2015-2016); Glazer, President and CEO of Heritage (2013- 2016); Jeff Watson, President of Apotex

(2013-2014, 2015-2017); and Joseph Renner President and CEO of Zydus (2013-2017). Trade

meetings provided ample opportunity for collusion by high-level executives with authority over

price setting. For example, price hikes on Pravastatin tablets occurred soon after February and

June 2013 GPhA conferences attended by representatives from Teva and its co-conspirators. 3

                           b.      The State AGs Expand Their Allegations Against Teva
                                   to Eight Drugs

         183.       On October 31, 2017, the State AGs filed a motion for leave to file a Consolidated

Amended Complaint in Connecticut v. Aurobindo Pharma USA, Inc., Civ. A. No. 17-3768 (E.D.

Pa.), ECF No. 3. The October 2017 AG Complaint, which was filed as Exhibit A to the motion,

alleged an extensive industry-wide overarching conspiracy and increased the number of generic drug

manufacturer defendants from 6 to 18 and the number of drugs at issue in the litigation from 2 to 15.

Several of the new drugs implicated in the conspiracy are manufactured by Teva. The motion for

leave to amend was granted on June 5, 2018. 4

         184.       Specifically, the October 2017 AG Complaint provided additional detailed allegations

about Teva’s expansive organizational involvement in the illegal price-fixing conspiracy related to


3
   See Appendix B for a non-exhaustive list of corporate and individual attendees at various
industry meetings and conferences attended by Defendants.
4
    The October 2017 AG Complaint was originally filed with certain details and allegations under
seal. On February 27, 2019, the complaint was filed in unredacted form.

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eight drugs: (i) Acetazolamide; (ii) Glipizide-Metformin; (iii) Glyburide; (iv) Glyburide-Metformin;

(v) Leflunomide; (vi) Nystatin; (vii) Theophylline; and (viii) Verapamil. The allegations included

internal Teva communications announcing collusive price increases with instructions to not to

compete against co-conspirators or decrease pricing and to track the agreements through Teva’s

Delphi system. The allegations also included organized efforts by Teva personnel to communicate

externally with co-conspirators to reach agreements on pricing increases.

         185.       Through their investigations, the State AGs found that the conspiratorial conduct by

Teva and its co-conspirators in the generic drug market was “pervasive and industry-wide and the

schemes identified herein are part of a larger, overarching understanding about how generic

manufacturers fix prices and allocate markets to suppress competition.” October 2017 AG

Complaint, ¶11. The overarching understanding applied whether the scheme involved allocation of

market share or an agreement to fix prices. Id., ¶¶8, 14. According to the October 2017 AG

Complaint, “[t]his overarching agreement is widespread across the generic drug industry and is

broader than the [d]efendants named in this Complaint.” Id., ¶92.

         186.       The overarching conspiracy rested on “general rules of the road” that were put in

place over a decade ago – that each competitor was entitled to a certain percentage of market share

“based on the number of competitors in the particular drug market, with a potential adjustment based

on the timing of their entry.” Id., ¶¶90-91. In general, the earlier entrant was entitled to additional

market share. Id. In practice, a generic manufacturer with more than its fair share of the market

would walk away from a customer by instigating a price increase to allow its competitor seeking to

obtain its fair share to bid slightly below the increased pricing. Id., ¶99. After the market reached an

equilibrium, the manufacturers then agreed on not competing on prices or on significantly raising

prices in coordination. Id. At the equilibrium state, manufacturers did not take advantage of another



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competitor’s price increase by bidding lower prices, as doing so would be “viewed as ‘punishing’ a

competitor for raising prices – which [was] against the rules.” Id., ¶106.

         187.       Adherence to the “general rules of the road” by all competitors was crucial to

maintaining high prices, because even a single deviant could lead to competition and lower prices.

Id., ¶107. Even for a new entrant to the market seeking to attain market share, “an underlying code

of conduct,” widespread in the industry, was adhered to that allowed the new entrant and existing

manufacturers to determine “a generally agreed-upon standard of ‘fair share’ in order to avoid

competing and keep prices high.” Id., ¶¶14, 100.

         188.       The October 2017 AG Complaint also provided additional detailed information about

how high-level executives, including CEOs, Presidents and SVPs at many generic drug

manufacturers, including Teva, regularly discussed competitively sensitive information at industry

events, in private meetings and via phone, text and email conversations. Id., ¶¶88-91. As a result of

these communications, sales and marketing executives in the generic pharmaceutical drug industry

are aware of their competitors’ current and future business plans. This familiarity and opportunity

led to agreements among competitors to allocate markets to avoid price competition. Id.

         189.       For example, senior sales executives and other individuals responsible for the pricing,

marketing and sale of generic drugs at Teva frequently spoke by phone and/or exchanged text

messages with representatives of every other U.S.-based corporate defendant named in the

October 2017 AG Complaint between July 1, 2013 and July 30, 2014, as represented in the

following Table 2, which is based on phone and text message records from some of the executives

and salespeople at issue, and therefore shows only some of the phone calls and text messages

between Teva and the other defendants named by the State AGs during that period:




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Id., ¶¶93-95.

         190.       According to the October 2017 AG Complaint, these close communications led to

price increases for several drugs in 2014, including those manufactured by Teva. For instance, in

April 2014, as part of his “pricing strategy,” Heritage’s Malek identified 18 different drugs targeted

for price increases, of which Teva was a competitor on 8 of the drugs. Id., ¶269. Malek had a direct

relationship with Teva’s National Accounts Manager, Nisha Patel, whom he called on April 15, 2014

and spoke to for 17 minutes. Id., ¶271. During the call, Malek and Patel agreed that if Heritage

increased prices for the drugs on the list, Teva would follow or, at a minimum, would not challenge

Heritage’s price increases by underbidding Heritage. Id.

         191.       For two of the drugs – Nystatin and Theophylline ER – Teva had already been

planning a price increase and Malek and Patel agreed that Teva would take the lead on those

increases. Id., ¶272.

         192.       After her April 15, 2014 agreement with Malek, Patel and her Teva colleagues

reached out extensively to other co-conspirators in an effort to reach similar agreements. For

example, on April 16, 2014, the day after her agreement with Malek, Patel called co-conspirator

Zydus’s Kevin Green, a Senior Director of National Accounts, and spoke for close to 20 minutes.

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Id., ¶298. They spoke again the next day for another 12 minutes and continued to talk frequently

over the course the next several months. Id. Patel’s colleague Jessica Peters – an Associate Director

of National Accounts – also communicated closely with Kristy Ronco, Zydus’s Vice President of

Sales, through numerous text messages in May 2014. Id. David Rekenthaler – Teva’s National

Accounts Director – communicated with Actavis’s Marc Falkin (Vice President of Marketing,

Pricing, and Contracts) by phone frequently throughout May 2014 and the subsequent months and

exchanged 30 text messages between May 19 and May 22, 2014. Id., ¶¶370, 375. Rekenthaler was

also in constant communication with Mylan’s Vice President of Sales, Jim Nesta. Rekenthaler and

Nesta communicated by phone multiple times on May 9, 2014, speaking for more than seven

minutes, and continuously stayed in contact throughout 2014.

         193.       While Teva reached out to co-conspirators, Teva and Heritage continued to keep each

other updated about the “pricing strategy.” Malek spoke to Patel several more times after their

April 15 conversation and kept her informed with more details about when Heritage would be

increasing prices for those drugs so Patel could track them and instruct Teva not to decrease prices

and to avoid competing when customers ask for bid requests. In addition, from May 12 to May 15,

2014, representatives from Teva, Heritage and other co-conspirators met at the Minnesota Multistate

Contracting Alliance for Pharmacy (“MMCAP”) conference to discuss pricing. Heritage’s Anne

Sather summarized in an email to Malek her success in achieving “‘like minding’” with the co-

conspirators on the “‘pricing strategies’”:

         “Hi Jason: At the MMCAP meeting yesterday, spoke with some other industry reps
         and found similar like minding on the pricing strategies we discussed. Overall,
         spoke with Aurobindo[‘s representative], and Sandoz[‘s Christopher Bihari],
         Perrigo[‘s Pam Hoffman] (Colistimethate), Xgen ([B.P.]), (Colistimethate), and
         Lannett[‘s Tracy Sullivan]. . . . I will try to meet with the Teva [representative],
         today. Supposedly, Midlothian is here too – but I have not seen G. S. yet. . . .”

Id., ¶287.


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         194.       After rounding up agreements from co-conspirators, on June 23, 2014, Heritage

employees had an internal call to discuss the specific percentages by which they would seek to

increase the pricing of certain drugs, including drugs for which they had already obtained agreement

from all competitors (or potential future competitors) to increase the prices, including Teva, and the

strategies for doing so. Id., ¶289. Included on the list of drugs slated for increases were four drugs

manufactured by Teva: Acetazolamide (75% increase); Glyburide (200% increase); Theophylline

(150% increase); and Nystatin (95% increase). Id.

         195.       After the Heritage internal call, Malek and Patel spoke on June 25, 2014 for

approximately 14 minutes. Id., ¶290. During that conversation, Malek told Patel that Heritage

would increase prices for a number of drugs that were also sold by Teva. Id.

         196.       After her conversation with Malek, Patel informed her Teva colleagues of Heritage’s

price increases and requested that the drugs be entered into the “Delphi” system for tracking

purposes to ensure Teva would not provide competing bids or decrease prices. On June 30, 2014,

Patel sent an email to Teva employees announcing Heritage’s price increase on Theophylline and

instructed that Teva “should not be considering decreases,” even when opportunities arose to capture

market share, as Heritage’s price-hike “will likely trigger some bid requests/activity.” Id., ¶441.

Similarly, when bid requests came in on July 9, 2014 for Glyburide and Nystatin after Heritage’s

price increases, Patel told her colleagues that “‘we will not be bidding’” and affirmed Teva’s

agreement with Heritage, under which Heritage would “‘follow[] Teva on . . . Nystatin’” and

Heritage would be “‘leading Glyburide Micronase.’” Id., ¶¶353-354. She further instructed: “‘Per

our conversation, please enter in Delphi for tracking purposes . . . .’” Id.

         197.       According to the October 2017 AG Complaint, Teva’s Government Affairs

Department was alerted to the price-gouging activities and requested Patel’s assistance in coming up

with a rational excuse to provide to the Senate. Id., ¶433. After receiving a request on April 24,

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2014 from a consultant working for the U.S. Senate Special Committee on pharmaceutical price

gouging for an explanation of Teva’s 200% price hike on Theophylline, Teva’s Government Affairs

Department stated in an internal email: “‘I’m hoping someone increased the price and we had to

follow it up. Or, API or something I can give the senate.’” Id., ¶434. And specifically directed to

Patel, the email asked: “‘Anything positive I can say?’” Id. Patel responded: “‘I don’t have a great

story. I’ll take a closer look.’” Id.

         198.       As is evident from the internal communications, Teva’s collusive activities were well-

known within the organization and not bidding against co-conspirators and not competing on pricing

were the usual modus operandi tracked through the Delphi system. And through experience, the

Government Affairs Department knew to provide common excuses such as “‘API [shortage] or

something’” to external inquiries about Teva’s dramatic price hikes. Id.

         199.       As discussed, Teva was implicated in the misconduct alleged by the State AGs in

their amended complaint for eight of the 15 generic drugs. Additional detailed allegations regarding

these Teva-manufactured drugs subject to collusive price increases are laid out below.

                                   (1)     Nystatin

         200.       The State AGs’ investigation has indicated that price hikes in 2014 by Teva for

Nystatin Oral Tablets (“Nystatin”) were the result of collusion among market participants.

         201.       Nystatin is a medication used to fight fungal infections, also known by the brand

name Mycostatin®, among others.

         202.       Nystatin comes in the form of a tablet in a strength of 500,000 units. Teva’s ANDA

to manufacture Nystatin was approved in 1984.

         203.       In 2013 and 2014, Teva’s two main competitors for Nystatin were Heritage and Sun,

through its division Mutual Pharmaceuticals (“Mutual”).



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         204.       Price increases on Nystatin were the result of collusive agreements to increase pricing

and restrain competition. These collusive agreements were furthered, in part, through phone and text

communications (as identified in ¶189, supra) and in-person discussions conducted at meetings and

industry events hosted by GPhA, HDMA and others (as identified in ¶465, infra; App. B). For

instance, in the months preceding the April 2014 price increases for Nystatin, representatives from

Teva, Heritage and Sun communicated via phone and text at least 34 times, and their corporate

representatives, including Oberman, met in person at numerous industry events, including events

held in February and April of 2014. These frequent meetings and communications culminated in an

agreement among competitors to fix prices and restrain competition for Nystatin.

         205.       Sun, through Mutual, had increased Nystatin prices on April 15, 2013.

         206.       According to the October 2017 AG Complaint, Teva began to consider raising its

price of Nystatin around June 2013, and the drug appeared on a “‘Price Increase Candidates’” list

created by Teva’s Patel by late July 2013 after a series of phone conversation between her and

Malek. October 2017 AG Complaint, ¶¶394-395. Patel spoke to Heritage’s Malek on July 9, 2013

for more than 21 minutes. Id. They spoke again on July 23, 2013 for nearly 10 minutes, and twice

on July 30, 2013 with the second of those 2 calls lasting more than 12 minutes. Id. While Patel was

initially reluctant to increase prices on Nystatin when it was suggested to her in June 2013, she

ultimately put it on Teva’s list of “‘Price Increase Candidates’” after her discussions with Malek.

Id., ¶397. She included a note of “‘Heritage Involved; follow Mutual’” on the list. Id.

         207.       The State AGs also alleged that Heritage and Mutual/Sun were in close contact, both

before and after Mutual took the Nystatin price increase in April 2013. Id., ¶396. In fact, the day

after Mutual increased its price for Nystatin – April 16, 2013 – Mutual/Sun’s Susan Knoblauch

called Heritage’s Anne Sather and they spoke for nearly 40 minutes, and continued to communicate



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regularly throughout the summer of 2013. Id. In the time between Malek’s two July 30, 2013 calls

with Patel, Sather and Knoblauch also spoke for nearly 11 minutes. Id., ¶395.

         208.       After these conversations with Teva and Mutual/Sun, Heritage also began exploring a

price increase for Nystatin. Id., ¶398. On August 20, 2013, Malek sent an email, with a copy to

Glazer, providing a list of four drugs, one of which was Nystatin. Id.

         209.       Patel left for maternity leave in August 2013, and both Teva and Heritage put the

Nystatin price increase plan on hold until her return. Id., ¶399.

         210.       Shortly after her return, Patel reached out to Malek and resumed communication on

Teva and Heritage’s price increase plan for Nystatin and other generic drugs. Id. On February 4,

2014, Patel left a message for Malek. Id. The next day, Malek returned her call and spoke for more

than an hour. Id.

         211.       After their conversation, on February 7, 2014, Patel created a “PI Candidates”

spreadsheet that included Nystatin and Theophylline as price increase candidates. Id., ¶400. For

Nystatin, Patel noted on the spreadsheet: “‘Shared with Heritage and Mutual/Caraco’” and “‘WAC

increase likely.’” Id. 5

         212.       According to the October 2017 AG Complaint, after Patel and Malek’s follow-up

calls in February and March 2014, in April 2014, Patel and Malek “agreed that Teva would take the

lead on [Nystatin and Theophylline] increases.” Id., ¶272. Once Heritage had its agreement with

Teva in place, “Teva began implementing the price increases for Nystatin with an effective date of

April 4, 2014, doubling the WAC price from $47.06 to $100.30.” Id., ¶402.



5
   Generic drug manufacturers typically report, via subscription-based industry publications and
compendia such as MediSpan and First Data Bank, a drug-by-drug pricing metric known as
Wholesale Acquisition Cost (“WAC”). WAC is, in effect, the manufacturers’ list price for a given
drug; it does not reflect discounts or rebates applied to transactions between manufacturers and
wholesalers or other institutions.

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         213.       After Teva’s price increase, Heritage continued to communicate with Sun, with

Heritage’s Sather responsible for reaching out to her counterpart Knoblauch at Sun. Id., ¶404. After

Heritage’s internal “Price Increase Discussion” conference call on April 22, 2014, Sather spoke with

Knoblauch for 45 minutes. Id. After her call, Sather reported her agreement with Knoblauch in an

email to Glazer and Malek entitled “‘Conference call follow up.’” Id., ¶405. She stated: “‘Caraco

notified and on board’” – to which Glazer replied: “‘No emails please.’” Id.

         214.       After reaching agreement with Sun, Heritage conducted a series of internal meetings

to determine the extent of its price increase. On May 9, 2014, Heritage employees held another call

regarding raising prices for Nystatin, and on June 23, 2014, discussed the specific percentage

amounts by which they would seek to increase the pricing of certain drugs, and the strategies for

doing so. Id., ¶¶406-407. Nystatin was slated for a 95% increase. Id. Heritage’s Associate Director

of International Sales recorded in her notes that “Heritage had to increase its WAC pricing for

Nystatin, because Teva had.” Id. On June 25, 2014, Heritage held a “Product Price Changes”

internal conference call regarding the planned price increase for Nystatin. Id., ¶408.

         215.       During Heritage’s June 25, 2014 internal call, Sather texted Knoblauch to update her

about the upcoming Nystatin price increase:

         Sather: “‘Work news: we are raising price on Nystatin. Just letting you know. :)’”

         Knoblauch: “‘How much[?]’”

         Sather: “‘Double the price[.]’”

         Sather: “‘On conf call – will call you back[.]’”

         Knoblauch: “‘Yes[.]’”

Id., ¶409.

         216.       Similarly, on the same day, Malek updated Teva about Heritage’s upcoming price

increases. Id., ¶410. During Malek’s 14-minute call with Patel, he reported that Heritage would be


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sending out Price Increase Notices the next day for Nystatin and several of the other drugs that

Heritage and Teva had agreed to raise prices on. Id.

         217.       Indeed, Heritage began to send out Price Increase Notices on June 26, 2014, and by

July 9, 2014, Heritage had successfully increased prices for at least 14 different customers

nationwide. Id., ¶411.

         218.       In addition to leading the price increases, the State AGs alleged that Teva also refused

to bid or challenge the Heritage price increases when requested by Heritage’s customers. Id., ¶412.

For example, on July 8, 2014, a large retail customer sent an email to a Teva representative

requesting a quote for Nystatin, given the price increase of its current supplier. Id. The Teva

representative forwarded that email to Patel, to which Patel “responded that she was aware,” and that

Heritage would be “following Teva on . . . Nystatin” and “leading Glyburide.” Patel instructed that

“we will not be bidding. Thanks.” Id.

         219.       Although Plaintiffs do not have the benefit of discovery at this stage, Plaintiffs’

investigation has uncovered nearly identical information confirming that Teva doubled the WAC

price in April 2014. Teva’s WAC price for Nystatin tablets increased 110% for a 100-count bottle,

from $47.76 to $100.03.

         220.       Moreover, this price increase occurred in concert with Teva’s competitors’ increases,

which were remarkably similar in terms of scale and timing, and occurred in close proximity to

several industry gatherings. See ¶¶327, 465, infra; App. B.

         221.       As detailed in §III.H.3, Teva generated close to $9.5 million from the second quarter

of 2014 through the second quarter of 2019 as a result of collusive increases in its prices for

Nystatin: $2.6 million in 2014, $2.7 million in 2015, $2.4 million in 2016, $1.8 million in 2017, and

less than $0.1 million in 2018 to the second quarter of 2019. The price hikes came at no additional

expense to Teva. This increased revenue, therefore, went straight to Teva’s bottom line.

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                                   (2)    Theophylline

         222.       The State AGs’ investigation indicates that price hikes in 2014 by Teva for generic

Theophylline, manufactured through its wholly-owned subsidiary Pliva, were the result of collusion

among market participants.

         223.       Theophylline, also known by the brand name Theo-Dur®, among others, is a

medication used to treat asthma and airway narrowing associated with long-term asthma or other

lung problems, such as chronic bronchitis and emphysema.

         224.       Teva manufactures Theophylline in tablet form, with strengths of 100, 200, 300 and

450 milligrams. Teva’s ANDAs to manufacture the 100, 200 and 300 milligram strengths of

Theophylline were approved in 1990, and the 450 milligram strength was approved in 1992.

         225.       In 2014, Teva’s primary competitor for Theophylline was Heritage.

         226.       Price increases on Theophylline were the result of collusive agreements to increase

pricing and restrain competition. These collusive agreements were furthered, in part, through phone

and text communications (as identified in ¶189, supra) and in-person discussions conducted at

meetings and industry events hosted by GPhA, HDMA and others (as identified in ¶465, infra;

App. B). For instance, in the months preceding the April 2014 price increases for Theophylline,

representatives from Teva and Heritage communicated via phone and text at least 22 times, and their

corporate representatives, including Oberman, met in person at numerous industry events, including

events held in February and April of 2014. These frequent meetings and communications

culminated in an agreement among competitors to fix prices and restrain competition for

Theophylline.

         227.       According to the October 2017 AG Complaint, Teva began to consider raising the

price of Theophylline in early 2014. October 2017 AG Complaint, ¶429. On February 4, 2014,

Patel and Malek spoke for more than an hour, and three days later Theophylline was identified as a

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candidate for price increases in a “PI Candidates” spreadsheet created by Patel. Id., ¶430. Follow-

up calls ensued in February and March 2014. Id., ¶431.

          228.      As alleged by the State AGs, “[b]y April 2014, Teva had decided to increase prices

for Theophylline, and Heritage had planned to follow the price increases to match Teva.” Id.

          229.      In fact, as alleged by the State AGs, in April 2014, Patel and Malek “agreed that

Teva would take the lead on those increases.” Id., ¶272. In the ensuing months, Patel and Malek

spoke several times and Malek gave Teva detailed information “about when Heritage would be

increasing prices for those drugs.” Id., ¶273.

          230.      Effective April 4, 2014, Teva implemented price increases across the board for

Theophylline. Id., ¶432.

          231.      According to the October 2017 AG Complaint, shortly after Teva hiked its

Theophylline prices, on April 24, 2014, a consultant for the U.S. Senate Special Committee sent an

email to Teva with the subject line “‘PLIVA.com [Info] Price Gouging.’” Id., ¶433. The email

stated:

          “I have been a consultant to virtually every major pharma company including Teva
          and Pliva (before it was acquired and located in E. Hanover). Since retiring I have
          been asked to participate with a US Senate Special Committee on the issue of
          pharmaceutical price gouging in the U.S.A. Today, I acquired my usual Rx of
          Theophylline ER from Costco for which I usually pay $19.01 and was charged
          $53.28 an increase of almost 200%. Costco Pharmacy confirmed that this increase is
          correct and was institute sometime earlier this year (2014). Before having this listed
          in our national report as another example of Pharmaceutical Price Gouging, [w]e
          respectfully request a confirmation response from you, the manufacturer, relative to
          the accuracy of our data. Please respond to me at the above email address. If you
          prefer you can respond to Senator Schumer a New York State representative.”

Id.

          232.      The email was forwarded to a member of the Government Affairs Department at

Teva, who asked: “‘Can I get some details on the specifics of this product and the price increase. I’m

hoping someone increased the price and we had to follow it up. Or, API or something I can give the

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senate.’” Id., ¶434. Ultimately, the request was forwarded to Patel – who had directed and agreed to

the price increases – with the question: “‘Please let me know the specifics of the price increase.

Anything positive I can say?’” Id. Patel responded: “‘I don’t have a great story. I’ll take a closer

look.’” Id. The real story was that Teva conspired with Heritage to raise market prices. Id.

         233.       Meanwhile, Heritage held a series of internal meetings to determine the extent of its

Theophylline price increase. During an April 22, 2014 Heritage “Price Increase Discussion”

meeting, “Malek specifically instructed the Heritage sales team during that meeting that Heritage

would be following the Teva price increase on Theophylline.” Id., ¶435. In May and June 2014,

Heritage continued to discuss internally its planned price increase on Theophylline. Id., ¶¶436-438.

On June 23, 2014, Heritage employees discussed the specific percentage amounts by which they

would seek to increase the prices of certain drugs, and the strategies for doing so. Id. As alleged by

the State AGs, Theophylline “was slated for a 150% increase.” Id., ¶437. On June 25, 2014,

Heritage conducted a final “Product Price Changes” internal call before implementing its

Theophylline price increase. Id., ¶438.

         234.       According to the October 2017 AG Complaint, on June 25, 2014, Patel and Malek

spoke for 14 minutes and Malek informed Patel “that Heritage would be sending out Price Increase

Notices shortly for Theophylline and several of the other drugs for which Heritage and Teva had

agreed to raise prices.” Id., ¶439. The next day Heritage began sending out Price Increase Notices

to its customers. Id., ¶440. By July 9, 2014, Heritage had followed Teva’s lead and raised prices for

at least 20 different customers nationwide. Id.

         235.       After her call with Malek, on June 30, 2014, Patel emailed Teva employees, reporting

“‘[i]t appears that Heritage took an increase [on Theophylline] to follow Teva. The new pricing

looks like it will be effective tomorrow and matches Teva’s WACs.’” Id., ¶441. Patel noted to her



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Teva colleagues that this activity “‘will likely trigger some bid requests/activity,’” but stated that

Teva “‘should not be considering decreases.’” Id.

         236.       Although Plaintiffs do not have the benefit of discovery at this stage, Plaintiffs’

investigation has uncovered nearly identical information confirming that Teva increased the WAC

price of Theophylline in April 2014. Teva’s WAC price for Theophylline 300 milligram tablets

increased 82% for a 100-count bottle, from $30 to $54. Parallel price increases occurred in the 100,

200 and 450 milligram tablets during April 2014, rising abruptly by 78%, 70% and 28%,

respectively.

         237.       Moreover, these price increases occurred in concert with Teva’s competitors’

increases, which were remarkably similar in terms of scale and timing, and occurred in close

proximity to industry gatherings. See ¶¶327, 465, infra; App. B.

         238.       As detailed in §III.H.3, Teva has generated an estimated $19.2 million from the

second quarter of 2014 through 2017 as a result of collusive increases in its prices for all strengths of

Theophylline: $8.1 million in 2014, $8.4 million in 2015, and $2.7 million in 2016-2017. The price

hikes came at no additional expense to Teva; this increased revenue, therefore, went straight to

Teva’s bottom line.

                                   (3)     Glyburide

         239.       The State AGs’ investigation indicates that price hikes in 2014 by Teva for generic

Glyburide were the result of collusion among market participants.

         240.       Glyburide is an oral diabetes medication used to treat Type 2 diabetes. Over time,

people who have diabetes and high blood sugar can develop serious or life-threatening

complications, including heart disease, stroke, kidney problems, nerve damage, and eye problems.

         241.       Glyburide comes in the form of a tablet, with strengths of 1.25, 2.5 and 5 milligrams.

Teva’s ANDA for generic Glyburide was approved in 1995.

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         242.       As of April 2014, Teva’s main competitors for Glyburide were Heritage and

Aurobindo. Between 2012 and 2017, Teva dominated the market for Glyburide with 75% of the

$650 million market.

         243.       Price increases on Glyburide were the result of collusive agreements to increase

pricing and restrain competition. These collusive agreements were furthered, in part, through phone

and text communications (¶189, supra), and in-person discussions conducted at meetings and

industry events hosted by GPhA, HDMA and others (as identified in ¶465, infra; App. B). For

instance, in the months preceding the April 2014 price increases for Glyburide, representatives from

Teva, Aurobindo, Citron, and Heritage communicated via phone and text at least 114 times, and their

corporate representatives, including Oberman, met in person at numerous industry events, including

events held in February and April 2014. These frequent meetings and communications culminated

in an agreement among competitors to fix prices and restrain competition for Glyburide.

         244.       On April 22, 2014, Heritage held a conference call during which Malek identified a

large number of different drugs targeted for price increases, including Glyburide. October 2017 AG

Complaint, ¶269. As alleged by the State AGs, “Malek instructed members of the sales team to

immediately reach out to their contacts at each competitor on the list of drugs, and attempt to reach

agreement on the price increases.” Id. In response to Malek’s directive, the sales team immediately

began contacting their competition, including Teva. Id., ¶275.

         245.       On June 23, 2014, Heritage employees discussed “the specific percentage amounts

they would seek to increase certain drugs, and the strategies for doing so.” Id., ¶346. Among those

discussed was Glyburide, “which was slated for a 200% increase.” Id.

         246.       According to the State AGs, “Malek himself was responsible for communicating with

[d]efendant Teva, which was a competitor on several of the drugs on the list, including Glyburide.”

March 2017 AG Complaint, ¶108. Malek “had a direct relationship” with his contact at Teva who

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was capable of making binding decisions regarding price increases. Id. Malek “was able to

successfully communicate with her and reach an agreement to raise prices on Glyburide, among

other drugs.” Id.

         247.       As alleged by the State AGs, “[a]fter reaching agreement with competitors

Aurobindo, Citron and Teva to raise prices for Glyburide, Heritage began implementing the price

increases.” October 2014 AG Complaint, ¶352. By July 9, 2014, “Heritage had been able to

successfully increase prices for Glyburide to at least seventeen (17) different customers.” Id.

         248.       The State AGs further alleged that Patel and Malek had been discussing the price

increases as early as April 15, 2014, when they spoke for approximately 17 minutes. Id., ¶341.

During the call, they “discussed Heritage’s intention to raise the price of Glyburide and other drugs”

and Patel “agreed that if Heritage did raise the price of Glyburide (and/or the other drugs), Teva

would follow with its own price increase or, at least, would not challenge Heritage’s price

increases by seeking to underbid and take Heritage’s accounts.” Id. Patel and Malek “spoke

several more times over the next several months and confirmed the agreement to raise prices.” Id.

         249.       According to the October 2017 AG Complaint, after reaching agreement with Teva in

April, Heritage began to communicate with Aurobindo and Citron to reach agreements to increase

Glyburide prices. Id., ¶342. Representatives from Heritage and Aurobindo spoke for 16 minutes on

May 8, 2014. Id., ¶343. Less than a week later, at the MMCAP conference, Heritage’s Sather

emailed Glazer and Malek and reported her success after her May 14, 2014 meeting with Aurobindo

at the conference. She stated that Aurobindo expressed “‘similar like minding on the pricing

strategies we discussed’” for Glyburide and other drugs. Id., ¶345. A month later, on June 25, 2014,

Sather texted her friend at Citron to tout Heritage’s success at reaching agreements with Teva and

Aurobindo and inquired about Citron’s plan at launching Glyburide:

         Sather: “‘Work question: is Citron launching Glyburide anytime soon?’”

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         K.A.: “‘Yes we currently have the product in our warehouse.’”

         Sather: “‘We are raising the price right now – just letting you know. Teva says they
                 will follow.’”

         Sather: “‘Aurobindo agrees too.’”

         K.A.: “‘?’”

         K.A.: “‘You have micronaise brand equivalent.’”

         K.A.: “‘And are you also raising your wacs?’”

         Sather: “‘Sorry – was on conference call. Ours is Micronase? Is yours Micro or
                 Diabeta?’”

         K.A.: “‘Micro.’”

         Sather: “‘I don’t think we changing WAC – verifying now[.]’”

         K.A.: “‘Okay i talked to [Karen Strelau, Executive Vice President, Sales &
               Marketing at Citron] we are def in to raise pricing . . . are doing this
               immediately, i know she was mentioning teva can take a while to raise
               prices[.]’”

         Sather: “‘Teva is slow but conversations have been good.’”

         Sather: “‘No change to WAC for us[.]’”

         Sather: “‘We are raising our customers 200% over current market price[.]’”

         K.A.: “‘Okay will make sure the appropriate people find out[.]’”

         Sather: “‘Teva has 66% of mkt- great target for share! By [sic] [t]hey should play
                 fair. Aurobindo and us each have about 18% share. Good luck!’”

         K.A.: “‘Thanks! Is this something you will be doing like this week?’”

         Sather: “‘Letters going out this week! A lot of customers have 30 day notices and
                 price protection so real price will be felt in 30+ days[.]’”

         K.A.: “‘Perfect makes sense . . . Your not doing anything with glyb/met pricing
               right?’”

         Sather: “‘Not yet – but is on a short list!’”

         Sather: “‘Glyburide and Fosi/HCTZ are increasing too – those are Aurobindo items
                 too[.]’”



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         K.A.: “‘Okay yeah we have that too. . . . Thanks for the info!’”

Id., ¶347.

         250.       After the text exchange, Sather sent an email entitled “Citron: Glyburide” to the

Heritage sales team, which stated that “‘Citron is launching soon – product is in their warehouse now.

They have our version- rated to Micronase. They are on board – communication is good.’” Id., ¶348.

In a reply the next day, Neal O’Mara cautioned that “‘[t]hey will still need to get some market share.

May keep away initially, but we need to be prepared to lose some.’” Id.

         251.       After a series of internal meetings to determine the extent of its Glyburide price

increase, Heritage decided on June 23, 2014 that Glyburide was slated for a 200% price hike. Id.,

¶346.

         252.       Having reached agreements with Teva, Aurobindo, and Citron, Heritage began

sending Price Increase Notices to its customers on June 26, 2014. Id., ¶352. That day, Sather

informed a customer that Heritage would be increasing its price for Glyburide by 200% market-wide

effective July 1, 2014. Id., ¶349. By July 9, 2014, Heritage successfully increased Glyburide prices

for at least 17 customers. Id., ¶352.

         253.       Teva also began to evaluate its own price increases on Glyburide, and by July 9,

2014, “Teva had also increased its WAC pricing on Glyburide.” Id., ¶355. On July 15, 2014,

Citron also increased its WAC and average wholesale price, or AWP, pricing for Glyburide to be in

line with the price increases adopted by Heritage. Id.

         254.       Indeed, the March and October 2017 AG Complaints alleged that “[t]he unlawful

agreement resulted in specific price increases to customers who sold Glyburide to customers

nationwide.” Id., ¶353. The price increases on Glyburide prompted a large national retail chain to

contact Teva on July 9, 2014, requesting a bid. Id. The request was forwarded to Patel with “‘[a]re

you aware of the below? Should we engage?’” Id. Patel reiterated that Heritage and Teva had an

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“agreement” regarding “the two drugs at issue” and stated in her response: “‘I am aware. Heritage

is likely following Teva on the Nystatin. They are likely leading Glyburide Micronase. Per our

conversation, please enter in Delphi for tracking purposes, but we will not be bidding. Thanks.’”

Id., ¶354.

         255.       After Heritage raised its prices in July 2014, another large wholesaler solicited bids

from both Teva and Aurobindo in an effort to obtain lower pricing. Id., ¶356. On July 25, 2014, that

wholesaler sent an email to Patel requesting a bid for Glyburide and certain other drugs. Id. The

same day, the wholesaler sent an identical email to Aurobindo. Id.

         256.       According to the October 2017 AG Complaint, the bid requests “sparked immediate

communication between the competitors as they tried to ensure uniformity and compliance with the

scheme.” Id., ¶357. On July 25, 2014, Malek sent directions via text message, then had a 13-minute

call to convey “the direction that Aurobindo should not provide a bid to the wholesaler.” Id.

         257.       Malek also called Patel on the same day and spoke for more than 15 minutes. Id.,

¶358. After speaking with Heritage, both Teva and Aurobindo declined to provide a bid to the

wholesaler. Id., ¶359. These communications indicate that Teva coordinated with its competitors

and declined to take market share in the face of price increases by Heritage.

         258.       The October 2017 AG Complaint alleged that the anti-competitive agreement

between Heritage, Teva, Aurobindo and Citron “to avoid competition and unlawfully increase prices

for Glyburide continued until at least December 2015, and the effects continue to this day.” Id.,

¶363.

         259.       Indeed, as described in §III.G.5, supra, in December 2016 both the former CEO and

the former President of Heritage, Glazer and Malek, respectively, were charged with and pled guilty

to federal charges of “knowingly enter[ing] into and engag[ing] in a combination and conspiracy

with other persons and entities engaged in the production and sale of generic pharmaceutical

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products, . . . the primary purpose of which was to allocate customers, rig bids, and fix and maintain

prices.” As part of their pleas, Glazer and Malek admitted to participating in a conspiracy to allocate

the market share, rig bids, allocate customers and fix the prices of Glyburide from April 2014

through at least December 2015. As described above, Teva was a member of this conspiracy.

                                   (4)    Acetazolamide ER

         260.       The State AGs’ investigation indicates that Teva colluded with its competitors in

2014 to increase prices for generic Acetazolamide ER (“Acetazolamide”).

         261.       Acetazolamide, also known by the brand name Diamox®, among others, is an

extended-release version of a medication used to treat glaucoma (a condition in which increased

pressure in the eye can lead to gradual loss of vision), epilepsy, altitude sickness, periodic paralysis,

and heart failure.

         262.       Acetazolamide comes in the form of a capsule in a strength of 500 milligrams.

Teva’s first NDA for Acetazolamide, under the brand name Diamox®, was approved in 1962.

         263.       Teva’s main competitors for Acetazolamide were Heritage and Zydus. As of

April 2014, Heritage and Teva combined for approximately 78% of the market.

         264.       Price increases on Acetazolamide were the result of collusive agreements to increase

pricing and restrain competition. These collusive agreements were furthered, in part, through phone

and text communications (as identified in ¶189, supra), and in-person discussions conducted at

meetings and industry events hosted by GPhA, HDMA and others (as identified in ¶465, infra;

App. B). For instance, in the months preceding the April 2014 price increases for Acetazolamide,

representatives from Teva, Heritage and Zydus communicated via phone and text at least 593 times,

and their corporate representatives, including Oberman, met in person at numerous industry events,

including events held in February and April of 2014. These frequent meetings and communications



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culminated in an agreement among competitors to fix prices and restrain competition for

Acetazolamide.

         265.       According to the AG Complaints, Heritage’s Malek was responsible for obtaining

Teva’s agreement to raise prices. On April 15, 2014, Patel and Malek spoke for more than 17

minutes during which time they discussed Heritage’s intention to raise the price of Acetazolamide

and other drugs. October 2017 AG Complaint, ¶297. The State AGs alleged that, during the call,

Patel agreed that if Heritage did raise the price of Acetazolamide, “Teva would follow with its own

price increase or, at least, would not challenge Heritage’s price increases by seeking to underbid and

take Heritage’s accounts.” Id. Over the next several months, Patel and Malek spoke several more

times to confirm their agreement to raise prices, and to provide updates regarding the Heritage

increases. Id.

         266.       After reaching agreement with Heritage, Teva engaged in communications with

employees at Zydus. Id., ¶298. According to the October 2017 AG Complaint, on April 16, 2014,

Patel spoke with Zydus’s Senior Director of National Accounts, Kevin Green, for close to 20

minutes. Id. They spoke again on April 17, 2014 for another 12 minutes. Id. Over the next few

months, Patel and Green continued to communicate frequently. Id. Patel’s colleague, Jessica

Peters – Teva’s Associate Director of National Accounts – also exchanged numerous text messages

with Zydus’s Vice President of Sales, Kristy Ronco, on May 14, 2014. Id.

         267.       According to the October 2017 AG Complaint, Malek also reached out to Zydus’s

Ronco via LinkedIn, with Ronco responding on April 24, 2014 with “Hi Jason – I’m out in Arizona.

I can give you a call tomorrow afternoon or call me anytime.” Id., ¶299.

         268.       On May 7, 2014, Malek confirmed to his colleague Sather that he got “‘buy in from

all to go up’” on the price of Acetazolamide. Id., ¶300. Sather expressed an intention to hike prices

within the next week on Acetazolamine, “‘one of our strategic items.’” Id.

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         269.       The State AGs alleged that during this time period Heritage avoided bidding on any

potential Acetazolamide customers already being supplied by Zydus in order to maintain market

share among the competitors. Id., ¶301. Then, on June 23, 2014, Malek and members of the

Heritage sales team discussed an intention to raise prices for Acetazolamide by 75%. Id., ¶302.

         270.       Indeed, three days later, on June 26, 2014, Heritage began sending out price increases

to its customers, notifying them that Acetazolamide prices would be increasing by 75%. Id., ¶303.

As alleged by the State AGs, Heritage raised Acetazolamide prices to at least 17 different customers

nationwide by July 9, 2014. Id., ¶304.

                                   (5)     Glipizide-Metformin

         271.       The State AGs’ investigation indicates that Teva colluded with its competitors in

2014 to increase prices for generic Glipizide-Metformin (“Glip-Met”).

         272.       Glip-Met, also known by the brand name Metaglip®, is a combination medicine used

to treat high blood sugar levels that are caused by a type of diabetes mellitus or sugar diabetes called

Type 2 diabetes. Over time, people who have diabetes and high blood sugar can develop serious or

life-threatening complications, including heart disease, stroke, kidney problems, nerve damage, and

eye problems.

         273.       Glip-Met comes in the form of a tablet in strengths of 2.5 mg/250 mg, 2.5 mg/500

mg, and 5 mg/500 mg. Teva’s ANDA to manufacture Glip-Met was approved in 2005.

         274.       As of April 2014, Teva’s main competitors for Glip-Met were Heritage and Mylan.

         275.       Price increases on Glip-Met were the result of collusive agreements to increase

pricing and restrain competition. These collusive agreements were furthered, in part, through phone

and text communications (as identified in ¶189, supra), and in-person discussions conducted at

meetings and industry events hosted by GPhA, HDMA and others (as identified in ¶465, infra;

App. B). For instance, in the months preceding the April 2014 price increases for Glip-Met,

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representatives from Teva, Heritage and Mylan communicated via phone and text at least 110 times,

and their corporate representatives, including Oberman, met in person at numerous industry events,

including events held in February and April of 2014. These frequent meetings and communications

culminated in an agreement among competitors to fix prices and restrain competition for Glip-Met.

         276.       As alleged in the October 2017 AG Complaint, Heritage’s Malek took responsibility

for communicating with Teva about Glip-Met price increases and spoke with Patel on April 15, 2014

for more than 17 minutes. October 2017 AG Complaint, ¶341. During the call they discussed

Heritage’s intention to raise the price of Glip-Met and other drugs. Id. The State AGs alleged that

Patel agreed that if Heritage raised the price of Glip-Met, “Teva would follow with its own price

increase or, at least, would not challenge Heritage’s price increases by seeking to underbid and take

Heritage’s accounts.” Id. Over the next several months, Patel and Malek spoke several more times

to confirm their agreement to raise prices and to provide updates regarding the Heritage price

increases. Id.

         277.       According to the State AGs, Mylan also agreed to raise prices for Glip-Met and two

other drugs on April 23, 2014. Id., ¶276. Heritage’s Neal O’Mara confirmed in an internal email to

Malek and Sather on April 23, 2014 that: “‘Just let me know a day before we price adjust on the

three Mylan products and they will put the word out to the reps to leave us alone. They are looking

at price increases as well on a number of products.’” Id.

         278.       Teva employees were in close communication with employees at Mylan during this

time period. According to the October 2017 AG Complaint, Teva’s National Accounts Director,

David Rekenthaler, spoke with Mylan’s Vice President of Sales, Jim Nesta, multiple times on

May 9, 2014, including one call that lasted more than seven minutes. Id., ¶333. The two continued

to stay in close contact throughout the rest of 2014. Id.



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         279.       The agreed price increases went into effect shortly thereafter. On May 9, 2014,

Heritage held another internal call regarding increasing the price of Glip-Met. Id., ¶334. Then, on

June 26, 2014, Heritage’s Sather informed a customer, a large wholesaler, that a 100% market-wide

price increase for Glip-Met would be going into effect as of July 1, 2014. Id., ¶335. Heritage began

sending out Price Increase Notices to its customers for Glip-Met the same day. By July 9, 2014,

Heritage had increase prices nationwide to at least 27 different customers for Glip-Met. Id., ¶336.

         280.       Teva and Mylan went along with Heritage on its price increases, and “Teva, in fact,

increased its bid prices to potential customers.” Id., ¶337. In November 2014, Malek received

confirmation from Heritage’s Keith Fleming that “‘a majority’” of Heritage price increases for Glip-

Met “‘had stuck up to [that] point.’” Id.

                                   (6)    Glyburide-Metformin

         281.       The State AGs’ investigation indicates that Teva colluded with its competitors in

2014 to increase prices for generic Glyburide-Metformin.

         282.       Glyburide-Metformin, also known by the brand name Glucovance®, is an oral

medication used to treat Type 2 diabetes, a condition in which the body does not use insulin

normally and therefore cannot control the amount of sugar in the blood.

         283.       Glyburide-Metformin comes in the form of tablet, in strengths of 1.25 mg/250 mg,

2.5 mg/500 mg, and 5 mg/500 mg. Teva’s ANDA to manufacture Glyburide-Metformin was

approved in 2005.

         284.       As of April 2014, Teva’s competitors in the market for Glyburide-Metformin were

Heritage, Aurobindo and Actavis. Heritage had only 5% market share at that time, but nonetheless

wanted to raise prices.

         285.       Price increases on Glyburide-Metformin were the result of collusive agreements to

increase pricing and restrain competition. These collusive agreements were furthered, in part,

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through phone and text communications (as identified in ¶189, supra), and in-person discussions

conducted at meetings and industry events hosted by GPhA, HDMA and others (as identified in

¶465, infra; App. B). For instance, in the months preceding the April 2014 price increases for

Glyburide-Metformin, representatives from Teva, Actavis, Aurobindo and Heritage communicated

via phone and text at least 320 times, and corporate representatives at Teva, Actavis, Aurobindo and

Heritage, including Oberman, met in person at numerous industry events, including events held in

February and April of 2014. These frequent meetings and communications culminated in an

agreement among competitors to fix prices and restrain competition for Glyburide-Metformin.

         286.       According to the October 2017 AG Complaint, “Malek was responsible for

communicating with Teva regarding Glyburide-Metformin price increases,” and on April 15, 2014

Malek and Patel spoke for more than 17 minutes. October 2017 AG Complaint, ¶367. During the

call they discussed Heritage’s intention to raise the price of Glyburide-Metformin and agreed that if

Heritage did raise the price of Glyburide-Metformin, “Teva would follow with its own price increase

or, at least, would not challenge Heritage’s price increases by seeking to underbid and take

Heritage’s accounts.” Id. Over the next several months, Malek and Patel spoke several more times

to confirm their agreement to raise prices and to provide updates regarding the Heritage price

increases. Id.

         287.       After reaching an agreement with Teva, Heritage contacted Actavis, which also

agreed to increase the price of Glyburide-Metformin. Id., ¶368. The State AGs allege that on

April 22, 2014, after Heritage’s internal “Price Increase Discussion” call, Heritage’s Sather called

Actavis’s National Accounts Director Michael Dorsey to discuss price hikes for Glyburide-

Metformin and Verapamil. Id. Sather and Dorsey spoke for nine minutes and, according to the

October 2017 AG Complaint, Actavis and Heritage reached an agreement to raise the prices of both



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drugs. Id. Dorsey conveyed the message internally to the Actavis sales and pricing team that

Heritage was planning a price increase on Glyburide-Metformin and Verapamil. Id., ¶369.

         288.       On April 28, 2014, an Actavis pricing manager circulated an email with a list of

potential price increases for different drugs. Id. The email noted “‘[Dorsey] made mention of

keeping an eye out for an increase on Glyburide/Met and Verapamil IR.’” Id.

         289.       As alleged by the State AGs, after receiving the April 28, 2014 email with a list of

potential price increase candidates, Mark Falkin, Actavis’s Vice President of Marketing, Pricing and

Contracts, called Teva’s Rekenthaler and spoke for five minutes on May 1, 2014. Id., ¶370. They

communicated frequently over the next several months and spoke three more times on May 6, 2014,

with one of the calls lasting 15 minutes. Id. Between May 19 and May 22, 2014, Falkin and

Rekenthaler exchanged 30 text messages. Id., ¶375.

         290.       With agreements from Teva in hand, Heritage and Actavis reached out to Aurobindo to

obtain an agreement on price increases for Glyburide-Metformin. Id., ¶371. Heritage’s Dan

Lukasiewicz spoke with Aurobindo’s Paul McMahon for 16 minutes on May 8, 2014. Id., ¶372. Less

than a week later, on May 14, 2014, Heritage’s Sather met in person with an Aurobindo representative

at the MMCAP conference. Id., ¶311. After the meeting, she emailed Malek to report on Aurobindo’s

“‘similar like minding on the pricing strategies we discussed.’” Id. Around the same time, Actavis’s

Falkin communicated twice with Aurobindo’s CEO, Robert Cunard, on May 12, 2014. Id., ¶375.

         291.       Sather touted Heritage’s success at reaching agreements on Glyburide-Metformin and

other drugs in her communications with other co-conspirators – even though they were not actively

selling Glyburide-Metformin. Id., ¶¶376-377. In her text messages to Sun’s Knoblauch on

August 20, 2014, Sather discussed Heritage’s agreements with Actavis:

         Sather: “‘I heard they were on board with it. What item specifically?’”



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         Knoblauch: “‘I don’t know. I am just hearing about an increase but no details.
                    What product have you heard about[?]’”

         Sather: “‘We were communicating on Glyburide/Metformin and Verapamil[.]’”

Id., ¶378.

         292.       With Citron, after reaching agreements on Glyburide on June 22, 2014, in response to

her co-conspirator inquiry on Glyburide-Metformin’s price increase, Sather stated: “‘Not yet – but is

on a short list!’” Id., ¶376.

         293.       Several weeks later, Teva’s and Heritage’s WAC pricing increases on Glyburide-

Metformin and two other drugs were noted by Citron’s Karen Strelau in an internal email dated

July 9, 2014. Id., ¶377. In reply, a member of the pricing team stated Citron’s intention to “‘match

their price increases.’” Id.

         294.       Price increases resulted from these numerous communications. As alleged by the

State AGs, on July 2014, Heritage increased its WAC prices for Glyburide-Metformin. An internal

Citron email dated July 9, 2014 noted that “Heritage and Teva had increased their WAC pricing on 3

different drugs, including Glyburide-Metformin.” Id.

                                   (7)    Leflunomide

         295.       The State AGs’ investigation indicates that Teva colluded with its competitors in

2014 to raise the price of generic Leflunomide.

         296.       Leflunomide, also known by the brand name Arava®, is an immunosuppressant drug

used to treat active, moderate-to-severe rheumatoid arthritis and psoriatic arthritis (conditions in

which the body attacks its own joints, causing pain, swelling, and loss of function).

         297.       Leflunomide comes in the form of a tablet in strengths of 10 and 20 milligrams.

Teva’s ANDA to manufacture Leflunomide was approved in 2005.

         298.       As of April 2014, Teva’s main competitors in the market for Leflunomide were

Heritage and Apotex. Heritage was the dominant player, holding a 61% share.
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         299.       Price increases on Leflunomide were the result of collusive agreements to increase

pricing and restrain competition. These collusive agreements were furthered, in part, through phone

and text communications (as identified in ¶189, supra) and in-person discussions conducted at

meetings and industry events hosted by GPhA, HDMA and others (as identified in ¶465, infra;

App. B). For instance, in the months preceding the April 2014 price increases for Leflunomide,

representatives from Teva, Apotex and Heritage communicated via phone and text at least 37 times,

and their corporate representatives, including Oberman, met in person at numerous industry events,

including events held in February and April of 2014. These frequent meetings and communications

culminated in an agreement among competitors to fix prices and restrain competition for

Leflunomide.

         300.       According to the October 2017 AG Complaint, “Malek was responsible for

communicating with Teva about Leflunomide price increases,” and he spoke with Patel on April 15,

2014 for more than 17 minutes. October 2017 AG Complaint, ¶382. During the call they discussed

Heritage’s intention to raise the price of Leflunomide and other drugs. The State AGs alleged that

Patel agreed that if Heritage did raise the price of Leflunomide, “Teva would follow with its own

price increase or, at least, would not challenge Heritage’s price increases by seeking to underbid and

take Heritage’s accounts.” Id. Over the next several months, Malek and Patel spoke several more

times to confirm their agreement to raise prices and to provide updates regarding the Heritage price

increases. Id.

         301.       Armed with an agreement from Teva, Heritage proceeded to rope in Apotex. As

alleged by the State AGs, Heritage’s Matt Edelson took responsibility for contacting Apotex on

Leflunomide. Id., ¶383. On May 2, 2014, he spoke with Apotex’s Sales Manager Debbie Veira for

over 13 minutes. Id. On May 6, 2014, Heritage’s Sather emailed Malek about Teva’s potential exit

from the market, stating that “‘the Teva discontinuation of Leflunomide has everyone in a fuss!

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Wow – can we take more share???’” Id., ¶384. Malek responded with “‘we may give some to

[A]potex and follow our strategy we discussed. Will have clarity by tomorrow.’” Id. At the same

time, Edelson intensified his efforts to contact Apotex and had two more conversations with Veira.

Id., ¶385. Apotex’s Vice President of Sales, Beth Hamilton, also spoke twice with Edelson for more

than 17 minutes. Id. They had two more conversations the next day. Id. According to the

October 2017 AG Complaint, upon information and belief, Heritage and Apotex agreed to increase

prices and avoid competition on Leflunomide during these conversations. Id.

         302.       On May 9, 2014, Heritage discussed internally the planned price increase for

Leflunomide, and in late June began sending out Price Increase Notices to its customers. Id., ¶¶387-

388. By July 9, 2014, Heritage had raised prices for at least 15 different customers nationwide. Id.

         303.       Despite Teva’s initial agreement to follow Heritage’s price increase, Teva began to

exit the market for Leflunomide in or around July 2014. Id., ¶389.

                                   (8)     Verapamil

         304.       The State AGs’ investigation indicates that price hikes in early 2015 by Actavis for its

generic Verapamil was the result of collusion among market participants. The collusion and

collusive effect on overall sales continued after Teva’s acquisition of Actavis on August 2, 2016.

         305.       Verapamil, also known by various brand names, is a calcium channel blocker used to

treat hypertension, angina and certain heart rhythm disorders.

         306.       On October 29, 2013, Actavis hosted a conference call to discuss the Company’s third

quarter 2013 financial results. During this call, defendant Olafsson acknowledged that “there’s [sic]

opportunities to take pricing increases [in the U.S. generics market], and that is what has changed

since maybe 5 years ago when there wasn’t an opportunity.” A few months later, Actavis

participated in the Citi Global Healthcare Conference on February 25, 2014. At the conference,



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Olafsson indicated that, despite increased pricing pressure, “when you are in this top four range –

Teva, Mylan, Actavis, and Sandoz – I think you can make this a win-win.”

         307.       In April 2014, Actavis’s main competitors for Verapamil were Mylan and Heritage.

Together, over the prior five full years, these entities were responsible for over 90% of the generic

Verapamil capsules sold in the United States.

         308.       Price increases on Verapamil were the result of collusive agreements to increase

pricing and restrain competition. These collusive agreements were furthered, in part, through phone

and text communications (as identified in ¶189, supra) and in-person discussions conducted at

meetings and industry events hosted by GPhA, HDMA and others (as identified in ¶465, infra;

App. B). For instance, in the months preceding the March 2015 price increases for Verapamil,

representatives from Actavis communicated with Heritage on at least two occasions, communicated

frequently with Mylan, and their corporate representatives met in person at numerous industry

events, including events held from February 2014 through February 2015. These frequent meetings

and communications culminated in an agreement among competitors to fix prices and restrain

competition for Verapamil.

         309.       In phone calls that took place on April 22 and April 23, 2014, senior sales executives

at Actavis, Mylan and Heritage reached an agreement to raise prices for Verapamil.

         310.       On April 22, 2014, Actavis’s Dorsey and Heritage’s Sather spoke for more than nine

minutes within hours after Heritage’s internal “Price Increase Discussion.” October 2017 AG

Complaint, ¶446. The State AGs alleged, upon information and belief, that during that call Heritage

and Actavis reached an agreement to raise the price of Verapamil and another drug, Glyburide-

Metformin. Id.

         311.       Dorsey then conveyed the message internally to the sales and pricing team at Actavis

that Heritage was looking to take a price increase on Verapamil. Id., ¶447. Two different Senior

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Pricing Managers at Actavis were involved. As alleged by the State AGs, “[t]he information spread

quickly throughout the sales and pricing teams at Actavis.” Id.

         312.       On April 28, 2014, an Actavis pricing manager circulated an email with a list of drugs

that were potential price increase candidates. The email noted “‘[Michael Dorsey] made mention of

keeping an eye out for an increase on Glyburide/Met and Verapamil JR.’” Id.

         313.       Just over a week later, on May 6, 2014, Actavis’s Falkin, who had also received the

April 28, 2014 email with a list of price increase candidates, called Mylan’s Nesta and left a

message. Id., ¶448. Nesta returned the call on May 9, 2014 and the two spoke for just over three

minutes.      They spoke again on May 19, 2014 for almost seven minutes, and continued to

communicate frequently over the next several months. Id.

         314.       On May 8, 2014, Malek emailed the Heritage sales team asking them to confirm

which competitors they had each been able to obtain agreements from in order to move forward with

the price increases discussed during the April 22, 2014 “Price Increase Discussion” call. Id., ¶449.

Sather, who reached an agreement with Dorsey on Verapamil and Glyburide-Metformin, confirmed

in an email to Malek: “‘Jason, I made contact with all my take aways – with positive results. I can

resend those notes or talk with you on any details.’” Id.

         315.       Likewise, Heritage’s Neal O’Mara had similar success with Mylan. Id., ¶276. He

spoke with Mylan’s Mike Aiger on April 23, 2014 and reached an agreement to hike prices for

Verapamil and two other drugs. Id. Immediately after his call, he sent an email entitled “‘Mylan’”

to Malek and Sather and confirmed: “‘Just let me know a day before we price adjust on the three

Mylan products and they will put the word out to the reps to leave us alone. They are looking at

price increases as well on a number of products.’” Id.

         316.       On May 9, 2014, Heritage held another conference call, and Verapamil was again on

the list of drugs targeted for a price increase. Id., ¶450.

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         317.       Although Heritage did not increase prices for Verapamil market-wide in July 2014,

like it did for many other drugs, it did raise the price of Verapamil for at least one customer as part

of its price increase initiative. Id., ¶451.

         318.       As alleged by the State AGs, on August 20, 2014, Heritage’s Sather and Sun’s

Knoblauch exchanged text messages, which “described agreements that Heritage had reached with

Actavis to increase prices of both Glyburide/Metformin and Verapamil”:

         Knoblauch: “‘Have you heard anything about an Actavis price increase[?]’”

         Sather: “‘I heard they were on board with it. What item specifically?’”

         Knoblauch: “‘I don’t know. I am just hearing about an increase but no details. What
                    product have you heard about[?]’”

         Sather: “‘We were communicating on Glyburide/Metformin and Verapamil[.]’”

         Sather: “‘We haven’t touched verapamil yet[.]’”

Id., ¶452.

         319.       Although Plaintiffs do not have the benefit of discovery at this stage, Plaintiffs’

investigation has uncovered information confirming that Actavis increased the WAC price of

Verapamil around March 2015. Teva’s WAC price for the highest strength Verapamil capsules

increased by 95% for a 100-count bottle, from $155 to $303. The unprecedented price increases for

Verapamil by the colluding manufacturers were highly correlated, meaning that there is a 99%

chance that the probability of “no correlation” can be rejected, and that a relationship exists.

         320.       As detailed in §III.H.3, Actavis and Teva have generated an estimated $127 million

from the first quarter of 2015 through the second quarter of 2019 as a result of collusive increases in

prices for Verapamil, approximately $96 million of which was generated after Teva acquired Actavis

in August 2016: $15.8 million in 2016, $37.4 million in 2017, and $43.1 million from 2018 to the

second quarter of 2019. The price hikes came at no additional expense to Actavis or Teva; following

the Actavis acquisition, this increased revenue, therefore, went straight to Teva’s bottom line.

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            321.        These eight examples of Teva reaching anti-competitive agreements are drawn just

from the limited subset of drugs manufactured by both Teva and Heritage, a relatively small player

in the industry. The State AGs have indicated that the AG Complaints’ common thread is Heritage,

and that they plan to bring separate complaints focused on companies other than Heritage. The State

AGs are investigating collusive conduct relating to nearly 300 additional drugs.

            H.          Plaintiffs’ Investigation Has Uncovered 17 Additional Drugs that
                        Were the Subject of Collusion

                        1.     Plaintiffs’ Research Has Identified Drugs with Large Collusive
                               Price Increases

            322.        Plaintiffs’ investigation has revealed that the markets for numerous additional drugs

sold by Teva have indicia of large collusive price hikes by Teva.

            323.        These are examples that Plaintiffs have been able to uncover without the benefit of

discovery. Plaintiffs believe discovery will reveal numerous other drugs in which the market

participants colluded to fix prices, set market share, allocate customers, and rig bids. Specifically,

these examples are:

  Additional Collusive        Teva    Actavis                                    Medical Indications
         Drugs                Drug     Drug
                                                Treats spasticity associated with multiple sclerosis, particularly for the relief of
Baclofen                        X
                                                repeated flexor spasms and accompanying pain and muscular rigidity
Carbamazepine (tablet and                       Treats epilepsy, trigeminal neuralgia, manic and mixed episodes of bipolar I disorder,
                                X
chewable tablet forms)                          and attention deficit and hyperactivity disorder
Cephalexin (oral                                Treats bacterial infections, including streptococcal pharyngitis, bone and joint
                                X
suspension form)                                infections, pneumonia, cellulitis, and urinary tract infections
Clobetasol (topical cream)              X       Reduces swelling, redness, and itching
Desonide (topical lotion                        Treats redness, swelling, itching, and discomfort of skin conditions such as eczema,
                                        X
and external cream)                             seborrheic dermatitis, contact dermatitis and psoriasis
Diclofenac Potassium            X               Reduces pain, fever, and inflammation
                                                Treats infections caused by bacteria, such as pneumonia; infections of the skin, eye,
Doxycycline                             X
                                                and the lymphatic, intestinal, genital, and urinary systems
Enalapril Maleate                               Treats high blood pressure, heart and kidney disease
Estradiol (tablet form)         X       X       A hormone replacement therapy for insufficient estrogen production
Fluocinonide (cream,                            Reduces swelling, itching, and redness associated with conditions such as psoriasis,
                                X
ointment, and gel forms)                        eczema, dermatitis, and vitiligo.
Glyburide (micronized)          X               Reduces blood glucose to improve glycemic control in adults with type 2 diabetes
Ketoconazole (tablet and
                                X               Treats fungal infections
cream forms)
Pravastatin Sodium              X               Reduces the risk of heart attack, stroke, and cardiovascular mortality
                                                Treats high blood pressure, irregular heart rhythms, pheochromocytoma, and certain
Propranolol (capsule)                   X       types of tremor, and hypertrophic subaortic stenosis; prevents angina and migraine
                                                headaches; and improves survival after a heart attack



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    Additional Collusive      Teva   Actavis                                   Medical Indications
           Drugs              Drug    Drug
                                               Treats high blood pressure, irregular heart rhythms, pheochromocytoma, and certain
Propranolol (tablet)           X               types of tremor, and hypertrophic subaortic stenosis; prevents angina and migraine
                                               headaches; and improves survival after a heart attack
Tretinoin                              X       Treats acne
Ursodiol                               X       Treats gallstone


            324.       For the Teva collusive drugs, Teva implemented extraordinary price increases, and

did so without the price hikes having any meaningful effect on Teva’s market share. In other words,

the market participants did not, as would be expected in a functioning, non-collusive market, try to

undercut each other’s prices to gain market share. The price hikes were in the competitors’ self-

interests only if they all agreed to act in tandem.

            325.       For the Actavis collusive drugs, Actavis and its competitors engaged in anti-

competitive conduct by colluding to improperly raise and maintain prices of the generic drugs. The

collusion and its effect on overall sales continued after Teva’s acquisition of Actavis on August 2,

2016.

            326.       Plaintiffs’ investigation has found that there is no rational alternative explanation for

these price hikes other than collusion. There was no shortage of supply or unexpected increase in

demand. 6 Moreover, as the graphs below depict (Appendix C), prices generally did not decrease

following the initial price increases to their pre-increase equilibrium price points as one would

expect if the sudden price increases reflected temporary supply shortages, cost increases, or other

benign market explanations.

            327.       Anti-competitive behavior by Teva and its co-conspirators left behind a series of

collusive markers in the market, as evidenced by uniform price hikes within close timeframes

marked by high correlations, low volatility of drug prices post-collusion, and the high stability of

market share. These characteristics were inconsistent with competitive markets. For each drug, the

6
    See FDA, Current and Resolved Shortages and Discontinuations Reported to FDA,
https://www.accessdata.fda.gov/scripts/drugshortages/default.cfm.

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correlation of the manufacturers’ price moves was so high and statistically significant that the

probability of obtaining such heightened correlation by chance is less than 1%. After the price hikes,

the volatility of pricing and market share substantially declined – indicating stability that was

uncharacteristic of a competitive market where manufacturers would compete on pricing to gain

market share:


                                                                       Correlation
                                                                        of Price                     Volatility of
                                                                                     Volatility of
                    Manufacturers       Dates      New WAC per Unit.     Hikes                         Market
   Drug / Form                                                                       Prices after
                    Raising Price   of Increases      (% increase)       During                      Share After
                                                                                     Price Hike
                                                                        Relevant                     Price Hike
                                                                         Period


 Enalapril           Mylan          Jul, 2013         $0.20 (81%)        73%         0.3%-12.8%         3.3%
 Maleate             Teva           Jul, 2013         $0.20 (312%)       100%        0.4%-11.7%         1.0%
 (1st Increase)      Wockhardt      Jul, 2013         $0.17 (247%)       91%         0.3%-9.2%          4.2%

 Pravastatin         Glenmark       May, 2013        $0.76 (191%)         63%        0.1%-1.8%          2.1%
 Sodium              Apotex         May, 2013        $0.75 (118%)         66%        0.3%-6.2%          2.4%
                     Zydus          Jun, 2013        $0.64 (187%)         86%        0.3%-3.3%          1.3%
                     Teva           Aug, 2013        $0.64 (175%)        100%        0.1%-1.6%          2.7%
                     Lupin          Aug, 2013        $0.64 (160%)         99%        0.2%-1.5%          0.4%

 Cephalexin          Lupin          Nov, 2013        $0.21 (109%)        85%            0.0%            0.6%
                     Teva           Apr, 2014        $0.21 (111%)        100%           0.0%            2.3%

 Ketoconazole        Teva           Apr, 2014         $1.23 (113%)       100%        0.4%-1.7%          7.8%
 Cream / Tablets                                      $2.22 (250%)
                     Taro           Apr, 2014         $1.23 (112%)        40%        0.1%-3.5%          5.8%
                                                      $2.20 (242%)

 Nystatin            Teva           Apr, 2014         $1.00 (110%)       100%           0.0%            2.9%
                     Heritage       Jun, 2014         $1.00 (110%)       92%            0.0%            4.8%

 Theophylline        Teva           Apr, 2014         $0.35 (78%)        100%           0.0%            8.5%
 SR                  Major          Jul, 2014         $0.48 (237%)       73%            0.0%            21.5%
 100mg
 200mg               Teva           Apr, 2014         $0.42 (70%)
 300mg               Major          Jul, 2014         $0.56 (197%)
 450mg
                     Teva           Apr, 2014         $0.54 (82%)
                     Heritage       Jun, 2014         $0.55 (80%)

                     Teva           Apr, 2014         $0.76 (32%)
                     Heritage       Jun, 2014         $0.76 (32%)




 Baclofen            Upsher-Smith   Feb, 2014         $0.35 (374%)       94%         0.3%-0.6%          2.3%
                     Teva           Apr, 2014         $0.35 (380%)       100%        0.1%-0.4%          6.3%

 Fluocinonide        Taro           May, 2014         $3.77 (400%)        92%           0.0%            3.9%
 5% Ointment /                                        $2.43 (437%)
 5% Cream /                                           $3.18 (181%)
 5% Gel              Teva           Jun, 2014         $3.77 (415%)       100%           0.0%            3.9%
                                                      $2.43 (434%)
                                                      $3.18 (255%)



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                                                                       Correlation
                                                                        of Price                     Volatility of
                                                                                     Volatility of
                    Manufacturers       Dates      New WAC per Unit.     Hikes                         Market
   Drug / Form                                                                       Prices after
                    Raising Price   of Increases      (% increase)       During                      Share After
                                                                                     Price Hike
                                                                        Relevant                     Price Hike
                                                                         Period


 Enalapril           Mylan          Apr, 2014        $0.66 (230%)        73%         0.3%-5.9%          3.6%
 Maleate             Teva           Aug, 2014        $0.67 (230%)        100%        0.4%-2.3%          1.1%
 (2nd Increase)      Taro           Oct, 2014        $0.67 (244%)        94%         0.7%-3.9%          1.0%
                     Wockhardt      Nov, 2014        $0.55 (231%)        91%         0.3%-2.1%          0.6%

 Carbamazepine       Taro           May, 2014        $1.25 (2282%) /      70%        0.0%-11.3%         3.5%
 Tablets /                                            $0.53 (307%)
 Chewable Tablets    Apotex         Jul, 2014        $1.28 (1041%)        90%        0.0%-3.7%          3.8%

                     Teva           Aug, 2014        $1.28 (1543%) /     100%        0.0%-3.8%          2.8%
                                                      $0.53 (270%)
                     Torrent        Sep, 2014        $1.28 (2336%) /      98%        0.0%-3.7%          1.8%
                                                      $0.53 (967%)

 Diclofenac          Teva           Aug, 2014         $1.05 (50%)        100%        0.0%-4.3%          3.5%
 Potassium           Sandoz         Oct, 2014         $1.05 (82%)        94%         0.0%-4.3%          2.9%
                     Mylan          Mar, 2015         $1.05 (49%)        81%         0.0%-8.6%          3.0%

 Propranolol         Teva           Jan, 2015         $0.43 (482%)       100%        0.3%-2.0%          8.1%
 Tablets             Actavis        Jan, 2015         $0.37 (681%)       92%         0.4%-0.5%          3.9%
                     Mylan          Jul, 2015         $0.41 (454%)       61%         0.2%-1.6%          4.9%
                     Heritage       Aug, 2015         $0.42 (305%)       59%         0.2%-0.6%          6.2%

 Estradiol           Teva           Jan, 2015         $0.32 (90%)        100%        0.1%-0.2%          0.9%
                     Actavis        Apr, 2015         $0.32 (112%)       92%         0.1%-0.2%          2.8%

 Glyburide           Teva           Sep, 2015         $0.15 (185%)       100%           0.4%            3.6%
 Micronized          Mylan          Sep, 2015         $0.21 (191%)       99%            0.6%            1.0%
                     Westward       Sep, 2015         $0.16 (182%)       98%            0.3%            1.2%

 Desonide Topical    Actavis        Aug, 2013         $3.39 (98%)        100%        0.6%-1.0%          6.4%
 Lotion              Sandoz         Dec, 2012         $3.42 (99%)        78%         1.0%-2.3%          6.8%

 Doxycycline         Actavis        Feb, 2013        $2.61 (2547%)       100%           0.8%            6.2%
                     Sun            Dec, 2012        $4.35 (4819%)       90%            2.8%            9.7%
                     Westward       Jan, 2013        $4.10 (4093%)       99%            2.9%            5.4%


 Tretinoin           Actavis        Apr, 2014         $3.67 (218%)       100%        0.4%-1.9%          0.6%
                     Perrigo        Mar, 2014         $4.08 (196%)       75%         0.5%-3.9%          10.6%
                     Spear          Apr, 2014         $4.16 (10%)        82%         0.3%-2.1%          1.1%

 Ursodiol            Epic           May, 2014        $5.10 (1034%)       94%            0.0%            5.8%
                     Actavis        May, 2014        $5.11 (562%)        100%           0.0%            6.8%
                     Lannett        Jun, 2014        $5.11 (138%)        97%            0.0%            9.7%

 Verapamil           Actavis        Feb, 2015         $2.25 (113%)       100%        7.5%-8.5%          2.9%
                     Mylan          Apr, 2016         $1.66 (74%)        72%         7.5%-8.5%          1.6%

 Clobetasol          Actavis        Mar, 2015        $6.66 (670%)        100%           1.3%            1.8%
                     Akorn          Jul, 2014        $6.42 (2014%)       59%            0.5%            4.5%
                     Taro           May, 2014        $6.47 (1886%)       50%            0.2%            2.0%
                     Sandoz         Jul, 2014        $6.37 (1116%)       59%            1.0%            2.2%


 Propranolol         Actavis        Jan, 2014         $2.03 (91%)        100%        0.5%-1.3%          3.2%
 Capsules            Breckenidge    Nov, 2013         $2.11 (85%)        88%         0.3%-1.4%          2.0%
                     Ani/Rouse      Jan, 2014         $2.17 (90%)        98%         0.7%-2.4%          3.6%
                     Upsher-Smith   Dec, 2013         $2.18 (81%)        94%         0.9%-3.8%          2.0%




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         328.       These examples, and extraordinary price increases more generally, are not the only

means by which Teva and its co-conspirators extended their collusion. Teva and its co-conspirators

also set market share, allocated customers, and rigged bids. This behavior included removing Teva

from certain markets in return for concessions by competitors with respect to different drugs,

collusively raising prices in certain markets in amounts and in ways that are not obvious, collusively

maintaining prices in other markets, and rigging bids to stifle competition.

         329.       At a minimum, implementing and sustaining price increases for just the drugs that

Plaintiffs have identified added approximately $1.47 billion to Teva’s bottom line from 2013

through the second quarter of 2019.

                           a.     Pravastatin Sodium

         330.       In 2013, Teva and its competitors engaged in anti-competitive conduct by colluding

to improperly raise and maintain the price of generic Pravastatin Sodium (“Pravastatin”).

         331.       Pravastatin comes in the form of a tablet, with strengths of 10, 20, 40, and 80

milligrams. Teva’s ANDAs to manufacture Pravastatin were approved April 24, 2006, for the 10,

20, and 40 milligram dosage forms, and January 15, 2008, for the 80 milligram dosage form.

         332.       During the Relevant Period, the main competitors in the market for generic

Pravastatin were Teva, Glenmark Pharmaceuticals Inc. (“Glenmark”), and Apotex. Manufacturers

with smaller shares of the market included Zydus and Lupin Pharmaceuticals, Inc. (“Lupin”). A

repackager, International Laboratories, LLC (“International Labs”) was responsible for selling a

significant number of units as well. Together, over the past five full years, these entities were

responsible for 99% (2013), 99% (2014), 97% (2015), 94% (2016) and 94% (2017) of the generic

Pravastatin sold in the United States.

         333.       In mid-2013, as Teva was experiencing a sharp downward trend in its U.S. generics

business, Teva and its competitors dramatically raised the list prices of their Pravastatin products.

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Teva’s WAC increases, which took effect in August 2013, ranged from over 150% (for a 90-count

package of 20 milligram strength) to over 200% (for a 1,000-count package of 40 milligram

strength); Teva’s increases on the 80-milligram strength were somewhat smaller but still significant,

on the order of approximately 90%. By way of example, Teva’s list WAC for a 1,000-count

package of 10 milligram Pravastatin, previously $165, immediately increased to $482.

         334.       Price increases on Pravastatin were the result of collusive agreements to increase

pricing and restrain competition. These collusive agreements were furthered, in part, through phone

and text communications (as identified in ¶189, supra), and in-person discussions conducted at

meetings and industry events hosted by GPhA, HDMA and others (as identified in ¶465, infra;

App. B). For instance, in the months preceding the August 2013 price increases for Pravastatin,

representatives from Teva, Apotex, Glenmark and Zydus communicated via phone and text at least

126 times, and corporate representatives from Teva, Apotex, Glenmark, Lupin and Zydus, including

Oberman, met in person at industry events, including events held in February and June of 2013.

These frequent meetings and communications culminated in an agreement among competitors to fix

prices and restrain competition for Pravastatin. The competitors’ increases in the list prices of

generic Pravastatin were remarkably similar in terms of scale and timing, and occurred in close

proximity to several industry gatherings. See ¶¶327, 465; App. B.

         335.       As detailed in §III.H.3, Teva generated an estimated $320 million from mid-2013

through the first quarter of 2016 as a result of collusive increases in its prices for Pravastatin:

$120.5 million in 2013, $149.7 million in 2014, $47.9 million in 2015, and $1.5 million in 2016.

The price hikes came at no additional expense to Teva; this increased revenue, therefore, went

straight to Teva’s bottom line.




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                           b.      Enalapril Maleate

         336.       In 2013 and 2014, Teva and its competitors engaged in anti-competitive conduct by

colluding to improperly raise and maintain the price of generic Enalapril Maleate (“Enalapril”).

         337.       Enalapril comes in the form of a tablet, with strengths of 2.5, 5, 10, and 20

milligrams. Teva’s ANDA to manufacture Enalapril tablets, in all four strengths, was approved

August 22, 2000.

         338.       During most of the Relevant Period, the primary competitors in the market for generic

Enalapril were Teva, Mylan, Taro, Legacy Pharmaceuticals International (“Legacy”), and

Wockhardt USA (“Wockhardt”). Together, over the past five full years, these entities were

responsible for 90% (2013), 100% (2014), 99% (2015), 91% (2016), and 88% (2017) of the generic

Enalapril sold in the United States.

         339.       In mid-2013, as Teva was experiencing a sharp downward trend in its U.S. generics

business, Teva and its primary competitors raised the list prices of their Enalapril products. Teva’s

WAC increases, which took effect around July 2013, ranged from over 260% (applied to all package

sizes of 10 milligram tablets) to over 340% (applied to all package sizes of 5 milligram tablets). By

way of example, Teva’s list WAC for a 1,000-count package of 20 milligram Enalapril, previously

around $50, immediately increased to over $230.

         340.       In 2014, Teva and its primary competitors instituted an even larger increase in the list

prices of their Enalapril products. Around August 2014, Teva instituted a 230% across-the-board

increase, over and above the increases implemented in 2013. Continuing to use the 1,000-count

package of 20 milligram Enalapril as an example, Teva’s list WAC, around $50 just over one year

prior, now stood at $788, more than 13 times higher than it was.

         341.       Price increases on Enalapril were the result of collusive agreements to increase

pricing and restrain competition. These collusive agreements were furthered, in part, through phone

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and text communications (as identified in ¶189, supra), and in-person discussions conducted at

meetings and industry events hosted by GPhA, HDMA and others (as identified in ¶465, infra; App.

B). For instance, in the months preceding the July 2013 and August 2014 price increases for

Enalapril, representatives from Teva and Mylan communicated via phone and text at least 88 times,

and corporate representatives from Teva, Mylan, Taro and Wockhardt, including Oberman, met in

person at numerous industry events, including events held in April and June of 2013 and April

through August of 2014. These frequent meetings and communications culminated in an agreement

among competitors to fix prices and restrain competition for Enalapril. The competitors’ increases

in the list prices of generic Enalapril were remarkably similar in terms of scale and timing, and

occurred in close proximity to several industry gatherings. See ¶¶327, 465; Apps. B-C.

         342.       As detailed in §III.H.3, Teva has generated an estimated $105 million from mid-2013

through 2017 as a result of collusive increases in its prices for Enalapril: $5.3 million in 2013,

$47.7 million in 2014, $44.1 million in 2015, $6.2 million in 2016, and $1.8 million in 2017. The

price hikes came at no additional expense to Teva; this increased revenue, therefore, went straight to

Teva’s bottom line.

                           c.      Cephalexin Oral Suspension

         343.       In 2014, Teva and its competitors engaged in anti-competitive conduct by colluding

to improperly raise and maintain the price of generic Cephalexin.

         344.       Teva’s ANDA to manufacture 125 mg/5 mL and 250 mg/5 mL strength oral

suspension Cephalexin was approved February 13, 1987.

         345.       During the Relevant Period, the main competitors in the market for generic

Cephalexin were Teva and Lupin. Together, over the past five full years Teva and Lupin were

responsible for 94% (2013), 99% (2014), 96% (2015), 89% (2016) and 88% (2017) of the generic



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Cephalexin oral suspension sold in the United States. Karalex Pharma, LLC also held a lesser share

of the market for Cephalexin, between 1% and 12% from 2013 to 2017.

         346.       In late 2013 and early 2014, respectively, Lupin and Teva – which already had

established identical pricing structures – made identical increases in their prices for Cephalexin oral

suspension. Teva’s April 2014 price increases ranged from 109% (for the stronger dose) to 165%

(for the weaker dose). In dollar terms, a large package of the weaker strength configuration, which

previously listed for $13, now was priced at $35.

         347.       Price increases on Cephalexin were the result of collusive agreements to increase

pricing and restrain competition. These collusive agreements were furthered, in part, through in-

person discussions conducted at meetings and industry events hosted by GPhA, HDMA and others

(as identified in ¶465, infra; App. B). For instance, in the months preceding the April 2014 price

increases for Cephalexin, corporate representatives of Teva and Lupin, including Oberman, met in

person at numerous industry events, including events held in October 2013 and February 2014.

These frequent meetings and communications culminated in an agreement among competitors to fix

prices and restrain competition for Cephalexin. The competitors’ increases in the list prices of

generic Cephalexin were remarkably similar in terms of scale and timing, and occurred in close

proximity to several industry gatherings. See ¶¶327, 465; Apps. B-C.

         348.       As detailed in §III.H.3, Teva has generated an estimated $35 million from the second

quarter of 2014 through 2017 as a result of collusive increases in its prices for Cephalexin oral

suspension: $14 million in 2014, $11.5 million in 2015, $6.5 million in 2016, and $3.1 million in

2017. The price hikes came at no additional expense to Teva; this increased revenue, therefore, went

straight to Teva’s bottom line.




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                           d.      Ketoconazole Tablets and 2% Cream

         349.       In 2014, Teva and its competitors engaged in anti-competitive conduct by colluding

to improperly raise and maintain the price of generic Ketoconazole tablets and 2% cream.

         350.       Teva received the first ANDAs to sell generic Ketoconazole tablets (approved

June 15, 1999) and generic 2% Ketoconazole cream (approved April 25, 2000).

         351.       The markets for Ketoconazole tablets and 2% cream are highly concentrated with all

three major manufacturers being previously identified together in other drug price-fixing cases.

During the Relevant Period, the main competitors in the market for both tablets and 2% cream were

Teva and Taro; in each market, a third competitor – Mylan with respect to tablets and Fougera

Pharmaceuticals Inc. (“Fougera”), a part of Sandoz, with respect to 2% cream – held a smaller

portion of the market. In or around July 2015, Teva began exiting the market for Ketoconazole 2%

cream. Together, over the past five full years, in the markets for both forms of the drug, the top

three competitors controlled the entire market.

         352.       In April 2014, Teva and Taro dramatically raised the price of Ketoconazole tablets

and 2% cream. Before that the price had been essentially flat for many years. Both competitors

instituted identical 110% price increases, to the same exact price points, across all package sizes of

the 2% cream; with respect to the tablet form, price increases were on the order of 250% for Teva

and 230% for Taro, again to identical price points. By way of example, a 100-count package of

tablets that had cost around $64, increased to $222, and a mid-size container of 2% cream,

previously $20, increased to $42.

         353.       Price increases on Ketoconazole were the result of collusive agreements to increase

pricing and restrain competition. These collusive agreements were furthered, in part, through phone

and text communications (as identified in ¶189, supra), and in-person discussions conducted at

meetings and industry events hosted by GPhA, HDMA and others (as identified in ¶465, infra; App.

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B). For instance, in the months preceding the April 2014 price increases for Ketoconazole,

representatives from Teva, Mylan and Sandoz communicated via phone and text at least 103 times,

and corporate representatives at Teva, Fougera, Mylan, Sandoz and Taro, including Oberman, met in

person at numerous industry events, including events held in February and April of 2014. These

frequent meetings and communications culminated in an agreement among competitors to fix prices

and restrain competition for Ketoconazole. The Ketoconazole competitors’ price increases occurred

in close proximity to several industry gatherings, with remarkable similarity in timing and scale. See

¶¶327, 465; Apps. B-C.

         354.       The price increase was maintained through at least July 2015, when Taro and

Fougera/Sandoz again raised their prices. Although Teva did not raise its WAC price at the time, it

soon exited the market altogether. The timing of Teva’s exit coincides approximately with the

FTC’s review of Teva’s purchase of Actavis.

         355.       As detailed in §III.H.3, Teva has generated an estimated $58 million from the second

quarter of 2014 through the third quarter of 2016 as a result of collusive increases in its prices for

Ketoconazole tablets and 2% cream: $26.5 million in 2014, $26.8 million in 2015, $4.4 million in

2016, and $.2 million in 2017. The price hikes came at no additional expense to Teva; this increased

revenue, therefore, went straight to Teva’s bottom line.

                           e.      Baclofen Tablets

         356.       In 2014, Teva and its competitors engaged in anti-competitive conduct by colluding

to improperly raise and maintain the price of generic Baclofen tablets.

         357.       Baclofen is almost always administered orally, in tablets containing either 10 or 20

milligrams of active ingredient; Teva manufactures tablets in both the 10 and 20 milligram strengths

under ANDAs, approved in 1988, that it acquired in its 2006 acquisition of Ivax Corp.



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         358.       For July 2017, Baclofen was one of Teva’s top 50 generic drugs in the U.S. market,

both in terms of revenue and in terms of quantity of units manufactured.

         359.       During the Relevant Period, the main competitors in the market for generic Baclofen

tablets were Teva, Qualitest Pharmaceuticals Co. (“Qualitest”) (now part of Par), and Upsher-Smith

Laboratories (“Upsher-Smith”). Manufacturers that held a smaller share of the market included

Lannett and Northstar Rx LLC. Together, between 2013 and 2017 these entities were responsible

for 100% of the generic Baclofen tablets sold in the United States.

         360.       Around April 2014, Teva and Upsher-Smith increased their WAC list price, in equal

or nearly equal amounts. Teva increased its WAC prices for 100-unit packages of 10 milligram

tablets by 359%, from $6.52 to $29.93, and for 20 milligram tablets by 430%, from $9.32 to $49.40.

         361.       Price increases on Baclofen were the result of collusive agreements to increase

pricing and restrain competition. These collusive agreements were furthered, in part, through phone

and text communications (as identified in ¶189, supra), and in-person discussions conducted at

meetings and industry events hosted by GPhA, HDMA and others (as identified in ¶465, infra; App.

B).    For instance, in the months preceding the April 2014 price increases for Baclofen,

representatives from Teva, Lannett and Qualitest/Par communicated via phone and text at least 90

times, and corporate representatives of Teva, Lannett, Qualitest/Par and Upsher-Smith, including

Oberman, met in person at numerous industry events, including events held in February and April

2014. These frequent meetings and communications culminated in an agreement among competitors

to fix prices and restrain competition for Baclofen. The competitors’ increases in the list prices of

generic Baclofen were remarkably similar in terms of scale and timing, and occurred in close

proximity to several industry gatherings. See ¶¶327, 465; Apps. B-C.

         362.       As detailed in §III.H.3, Teva has generated an estimated $168 million from the

second quarter of 2014 through the second quarter of 2019 as a result of collusive increases in its

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prices for Baclofen: $56.1 million in 2014, $58.6 million in 2015, $38.3 million in 2016,

$10.1 million in 2017, and $4.5 million from 2018 to the second quarter of 2019. The price hikes

came at no additional expense to Teva; this increased revenue, therefore, went straight to Teva’s

bottom line.

                           f.      0.05% Fluocinonide

          363.      In 2014, Teva and its competitors engaged in anti-competitive conduct by colluding

to improperly raise and maintain the price of generic .05% Fluocinonide cream, ointment, and gel.

For purposes of this Complaint, unless otherwise noted, references to “.05% Fluocinonide”

encompass the cream, ointment, and gel forms of .05% generic Fluocinonide.

          364.      During the Relevant Period, Teva sold .05% Fluocinonide under ANDAs approved in

February 1989 (cream, gel) and December 1991 (ointment).

          365.      During the Relevant Period, the main competitors in the combined market for generic

.05% Fluocinonide were Teva and Taro. Actavis/Mayne, which manufactures only the cream form

of .05% Fluocinonide, had a lesser share of the market, and did not enter in any material way until

June 2014. Fougera/Sandoz held a small share of the .05% Fluocinonide topical gel market before

exiting in mid-2014. Together, over the past several years, these entities were responsible for 98%

(2013), 99% (2014), 100% (2015), and 96% (2016) of the .05% Fluocinonide sold in the United

States.

          366.      .05% Fluocinonide is among Teva’s top-50 generic drugs in terms of sales.

          367.      In mid-2014, Taro and Teva made massive, and identical, increases in WAC list

prices. Around June 2014, both manufacturers raised the average prices for .05% Fluocinonide

cream by 434% and ointment by 415%. In July 2014, both manufacturers raised the price for .05%

Fluocinonide gel by 255%. These price increases meant that a mid-sized package of .05%

Fluocinonide ointment, previously listed at $22, now listed for $113.

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         368.       Price increases on .05% Fluocinonide were the result of collusive agreements to

increase pricing and restrain competition. These collusive agreements were furthered, in part,

through phone and text communications (as identified in ¶189, supra), and in-person discussions

conducted at meetings and industry events hosted by GPhA, HDMA and others (as identified in

¶465, infra; App. B). For instance, in the months preceding the June and July 2014 price increases

for .05% Fluocinonide, representatives from Teva, Actavis and Mayne communicated via phone and

text at least 358 times, and corporate representatives from Teva, Actavis and Taro, including

Oberman, met in person at numerous industry events, including events held from February through

June 2014. These frequent meetings and communications culminated in an agreement among

competitors to fix prices and restrain competition for .05% Fluocinonide. The competitors’ increases

in the list prices of generic .05% Fluocinonide were remarkably similar in terms of scale and timing,

and occurred in close proximity to several industry gatherings. See ¶¶327, 465; Apps. B-C.

         369.       As detailed at in §III.H.3, Teva has generated an estimated $168 million from mid-

2014 through 2017 as a result of collusive increases in its prices for the cream, gel and ointment

forms of .05% Fluocinonide: $41 million in 2014, $75.6 million in 2015, $38 million in 2016, and

$13.3 million in 2017. The price hikes came at no additional expense to Teva; this increased

revenue, therefore, went straight to Teva’s bottom line.

                           g.     Carbamazepine Tablets and Chewable Tablets

         370.       During 2014, Teva and its competitors engaged in anti-competitive conduct by

colluding to improperly raise and maintain the prices of generic Carbamazepine tablets and chewable

tablets (cf. sustained release tablets).

         371.       Teva manufactures 200 milligram Carbamazepine tablets under an ANDA approved

September 17, 1986, and 100 milligram chewable tablets under an ANDA approved July 29, 1992.



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         372.       During the Relevant Period, the main competitors in the market for generic

Carbamazepine tablets and chewable tablets were Teva and Taro. Torrent Pharmaceuticals Ltd.

(“Torrent”), Novartis AG and Apotex held smaller shares of the market (Novartis and Apotex did

not compete in the chewables market). Together, over the past several years these entities were

responsible for 100% (2013), 99% (2014), 99% (2015), 100% (2016) and 99.5% (2017) of the

combined market for generic Carbamazepine tablets and chewable tablets sold in the United States.

         373.       Around August 2014, the five competitors in Carbamazepine tablets and three

competitors in chewable tablets all increased WAC list prices for Carbamazepine tablets and

chewable tablets. The competitors – whose price points generally varied prior to these increases –

all established largely identical pricing structures, with identical WACs for 100-count packages, and

only slight variations at larger package sizes. Teva’s new WAC for 1,000-count tablets was $1,276,

which was nearly identical to Taro’s price increase. Teva’s new list price for the tablets had been

massively inflated by more than 1,500%. Teva’s increase for chewable tablets was also significant:

nearly 270%. The practical effect of these changes was enormous: for example, a 100-count

package of tablets, which Teva previously listed at $8, suddenly listed for $128, and with no cheaper

alternative on the market; similarly, a 100-count package of chewable tablets, formerly listed by

Teva for $14, now listed for $53, again with no cheaper alternative on the market.

         374.       Price increases on Carbamazepine were the result of collusive agreements to increase

pricing and restrain competition. These collusive agreements were furthered, in part, through phone

and text communications (as identified in ¶189, supra), and in-person discussions conducted at

meetings and industry events hosted by GPhA, HDMA and others (as identified in ¶465, infra; App.

B). For instance, in the months preceding the August 2014 price increases for Carbamazepine,

representatives from Teva and Apotex communicated via phone and text at least 7 times, and

corporate representatives of Teva, Apotex and Taro, including Oberman, met in person at numerous

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industry events, including events held in February and June of 2014. These frequent meetings and

communications culminated in an agreement among competitors to fix prices and restrain

competition for Carbamazepine. The Carbamazepine competitors’ price increases occurred in close

proximity to several industry gatherings, with remarkable similarity in timing and scale. See ¶¶327,

465; Apps. B-C.

         375.       Again, the market participants went into 2014 at different price points, but the new

WAC prices established in mid-2014 established largely identical pricing structures.

         376.       As detailed in §III.H.3, Teva has generated a combined estimated $234 million from

mid-2014 through the second quarter of 2019 as a result of collusive increases in its prices for

Carbamazepine tablets and chewable tablets: $38 million in 2014, $81.3 million in 2015,

$56.9 million in 2016, $40.6 million in 2017, $16.6 million in 2018, and close to $1 million in the

first half of 2019. The price hikes came at no additional expense to Teva; this increased revenue,

therefore, went straight to Teva’s bottom line.

                           h.      Estradiol Tablets

         377.       In 2015, Teva and Actavis engaged in anti-competitive conduct by colluding to

improperly raise and maintain the price of generic Estradiol tablets.

         378.       Teva sells .5, 1, and 2 milligram tablets of Estradiol under an ANDA approved

October 22, 1997, the rights to which Teva acquired via its 2008 acquisition of Barr Laboratories.

Estradiol is among Teva’s top-20 generic drugs in terms of sales.

         379.       From 2013 through 2017, Teva dominated the market for Estradiol with annual

market shares ranging from 74% to 85%. As of early 2015, Teva’s largest competitor in the

Estradiol market was Actavis, which held approximately 10% of the market until Teva and Actavis

merged in August 2016. Teva and Actavis together were responsible for 96% of units sold in 2014

and 95% in 2015. In 2016, Teva and Actavis, now combined, controlled 87% of the market. Before

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2013, Mylan was a significant competitor, but its market share dropped significantly in July 2013,

before increasing in 2016 and 2017.

         380.       Prior to the Estradiol price increases, Actavis hosted a conference call on October 29,

2013 to discuss its third quarter 2013 financial results. During this call, defendant Olafsson

acknowledged that “there’s [sic] opportunities to take pricing increases [in the U.S. generics

market], and that is what has changed since maybe 5 years ago when there wasn’t an

opportunity.” A few months later, Actavis participated in the Citi Global Healthcare Conference on

February 25, 2014. At the conference, Olafsson indicated that, despite increased pricing pressure,

“when you are in this top four range – Teva, Mylan, Actavis, and Sandoz – I think you can make

this a win-win.”

         381.       In early 2015, Teva and Actavis dramatically raised the list WAC of Estradiol tablets.

In February 2015, Teva raised prices by 90% across the board. Thus, for example, a 500-count

package of 1 milligram tablets, previously listed at $81, now was listed at $154. In May 2015, a few

months later, Actavis matched Teva’s pricing structure to the penny. See ¶327, supra; App. C.

         382.       Price increases on Estradiol were the result of collusive agreements to increase

pricing and restrain competition. These collusive agreements were furthered, in part, through phone

and text communications (as identified in ¶189, supra), and in-person discussions conducted at

meetings and industry events hosted by GPhA, HDMA and others (as identified in ¶465, infra;

App. B). For instance, in the months preceding the February and May 2015 price increases for

Estradiol, corporate representatives from Teva, Actavis and Mylan communicated via phone and text

at least 422 times and met in person at numerous industry events, including events held in November

and December of 2014, and in February and April of 2015. Defendant Olafsson attended the annual

GPhA meeting in February 2013 while President of Actavis. Concurrent with the February 2015

price spike, defendant Olafsson attended the annual GPhA meeting while President of Teva. These

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frequent meetings and communications culminated in an agreement among competitors to fix prices

and restrain competition for Estradiol.

         383.       As detailed in §III.H.3, Teva has generated an estimated $88 million from early 2015

through the second quarter of 2019 as a result of collusive increases in its prices for Estradiol:

$27.3 million in 2015, $19.5 million in 2016, $24.6 million in 2017, $14.2 million in 2018, and

$2.4 million in the first half of 2019. Additionally, Actavis generated an estimated $7 million in

collusive profit from mid-2015 through mid-2017 ($1.2 million of which was generated post-

acquisition). Actavis’s collusive profits were a fact that Teva was aware of when it announced it

would acquire Actavis in July 2015. These price hikes came at no additional expense to Teva or

Actavis; this increased revenue, therefore, went straight to Teva’s bottom line.

                           i.      Clobetasol Propionate Topical Cream

         384.       In 2015, Actavis and its competitors engaged in anti-competitive conduct by

colluding to improperly raise and maintain the price of generic Clobetasol Propionate (“Clobetasol”).

The collusion and collusive effect on overall sales continued after Teva’s acquisition of Actavis on

August 2, 2016.

         385.       Clobetasol comes in the form of a topical cream, lotion, spray and topical solution.

The topical cream form comes in a strength of 0.05%. Teva’s ANDA for generic Clobetasol topical

cream, also known under the brand name Temovate®, was approved in 1994.

         386.       Clobetasol is among Teva’s top-40 generic drugs, both in terms of revenues and units

sold.

         387.       During the Relevant Period, both before and after Teva’s acquisition of Actavis,

Actavis’s main competitors in the market for generic Clobetasol were Akorn, Inc. (“Akorn”)/Hi-

Tech Pharmacal Co., Inc. (“Hi-Tech”), Taro, and Fougera/Sandoz. Together, over the past five full



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years these entities were responsible for 100% of the generic Clobetasol topical cream sold in the

United States.

         388.       Prior to the Clobetasol price increases, Actavis hosted a conference call on

October 29, 2013 to discuss its third quarter 2013 financial results. During this call, defendant

Olafsson acknowledged that “there’s [sic] opportunities to take pricing increases [in the U.S.

generics market], and that is what has changed since maybe 5 years ago when there wasn’t an

opportunity.” A few months later, Actavis participated in the Citi Global Healthcare Conference on

February 25, 2014. At the conference, Olafsson indicated that, despite increased pricing pressure,

“when you are in this top four range – Teva, Mylan, Actavis, and Sandoz – I think you can make

this a win-win.”

         389.       In early-2015, Actavis and its competitors dramatically raised the list price of

Clobetasol topical cream. Actavis’s WAC increase, which took effect around February 2015, was

587%. By way of example, Actavis’s list WAC for a large tube of Clobetasol, previously $58,

immediately increased to $400.

         390.       Price increases on Clobetasol were the result of collusive agreements to increase

pricing and restrain competition. These collusive agreements were furthered, in part, through phone

and text communications (as identified in ¶189, supra), and in-person discussions conducted at

meetings and industry events hosted by GPhA, HDMA and others (as identified in ¶465, infra;

App. B). For instance, in the months preceding the February 2015 price increases for Clobetasol,

corporate representatives from Actavis, Akorn, Fougera, Hi-Tech, Taro and Sandoz met in person at

numerous industry events, including events held from February 2013 through February 2015. These

frequent meetings and communications culminated in an agreement among competitors to fix prices

and restrain competition for Clobetasol. The competitors’ increases in the list prices of generic



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Clobetasol were remarkably similar in terms of scale and timing, and occurred in close proximity to

several industry gatherings. See ¶¶327, 465; Apps. B-C.

         391.       As detailed in §III.H.3, Teva and Actavis generated an estimated $93.1 million from

2015 through 2017 as a result of collusive increases in prices for Clobetasol, approximately

$33 million of which was generated after Teva acquired Actavis in August 2016: $19.8 million in

2016, and $12.9 million in 2017. The price hikes came at no additional expense to Actavis or Teva;

following the Actavis acquisition, this increased revenue, therefore, went straight to Teva’s bottom

line.

                           j.       Diclofenac Potassium Tablets

         392.       In 2013, Teva and its competitors engaged in anti-competitive conduct by colluding

to improperly raise and maintain the price of generic Diclofenac Potassium (“Diclofenac”) tablets.

         393.       Diclofenac is the most widely prescribed NSAID worldwide, with more than

10 million Diclofenac drug product prescriptions dispensed in the United States in 2012.

         394.       Teva manufactures Diclofenac in the form of a tablet, with a strength of 50

milligrams available in quantities of 100 or 500. Teva’s ANDAs to manufacture Diclofenac were

approved in 1998.

         395.       During the Relevant Period, the main competitors in the market for generic

Diclofenac were Teva, Mylan and Sandoz. Together, over a five year time span (2013-2017) these

entities were responsible for 100% of the generic Diclofenac tablets sold in the United States.

         396.       In mid-2013, as Teva was experiencing a sharp downward trend in its U.S. generics

business, Teva and its competitors dramatically raised the list prices of their Diclofenac products.

Teva’s WAC increase, which took effect around August 2013, increased 22%. By way of example,

Teva’s list WAC for a 100-count bottle of 50 milligram Diclofenac, previously $57.07, immediately

increased to $69.72.            A second WAC price hike, of an additional 50%, occurred around

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August 2014. A 100-count bottle of 50 milligram Diclofenac, previously $69.72, increased again to

$104.58.

         397.       Price increases on Diclofenac were the result of collusive agreements to increase

pricing and restrain competition. These collusive agreements were furthered, in part, through phone

and text communications (as identified in ¶189, supra), and in-person discussions conducted at

meetings and industry events hosted by GPhA, HDMA and others (as identified in ¶465, infra; App.

B). For instance, in the months preceding the August 2013 and August 2014 price increases for

Diclofenac, representatives from Teva, Mylan and Sandoz communicated via phone and text at least

112 times, and their corporate representatives, including Oberman, met in person at numerous

industry events, including events held in August 2013 and August 2014. These frequent meetings

and communications culminated in an agreement among competitors to fix prices and restrain

competition for Diclofenac. The competitors’ increases in the list prices of generic Diclofenac were

remarkably similar in terms of scale and timing, and occurred in close proximity to several industry

gatherings. See ¶¶327, 465; Apps. B-C.

         398.       As detailed in §III.H.3, Teva generated an estimated $12.8 million from mid-2013

through the second quarter of 2017 as a result of collusive increases in its prices for Diclofenac:

$0.4 million in 2013, $3.0 million in 2014, $5.9 million in 2015, $3.05 million in 2016, and

$0.5 million in 2017. The price hikes came at no additional expense to Teva; this increased revenue,

therefore, went straight to Teva’s bottom line.

                           k.     Glyburide Micronized

         399.       In 2015, Teva and its competitors engaged in anti-competitive conduct by colluding

to improperly raise and maintain the price of the generic micronized form of Glyburide (“Glyburide

Micronized”).



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         400.       Teva’s first ANDA for generic Glyburide Micronized was approved in 1999.

Glyburide Micronized comes in the form of a tablet, with strengths of 1.5, 3 and 6 milligrams.

         401.       During the Relevant Period, the main competitors in the market for generic Glyburide

Micronized were Teva, West-Ward Inc. and Mylan. Manufacturers with lesser shares of the market

included Dava Pharma. Together, from 2013 to 2017, these entities were responsible for 99% of the

generic Glyburide Micronized sold in the United States.

         402.       Around August 2015, Teva and its competitors reduced the discounts offered to

wholesalers, thereby increasing their net prices on Glyburide Micronized. The effect on prices by

reducing these discounts can be seen in the following chart:




         403.       Price increases on Glyburide Micronized were the result of collusive agreements to

increase pricing and restrain competition. These collusive agreements were furthered, in part,

through phone and text communications (as identified in ¶189, supra), and in-person discussions

conducted at meetings and industry events hosted by GPhA, HDMA and others (as identified in

¶465, infra; App. B). For instance, in the months preceding the August 2015 price increases for

Glyburide Micronized, representatives from Teva and Mylan communicated via phone and text at

least 88 times, and corporate representatives from Teva, Mylan and West-Ward, including defendant

Olafsson, met in person at numerous industry events, including events held from February through

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August of 2015. These frequent meetings and communications culminated in an agreement among

competitors to fix prices and restrain competition for Glyburide Micronized. The competitors’

increases in the list prices of generic Glyburide Micronized were remarkably similar in terms of

scale and timing, and occurred in close proximity to several industry gatherings. See ¶¶327, 465;

Apps. B-C.

         404.       As detailed in §III.H.3, Teva generated an estimated $0.5 million from mid-2015

through 2017 as a result of collusive increases in its prices for Glyburide Micronized: $.2 million in

2015, $.3 million in 2016, and $.1 million in 2017. The price hikes came at no additional expense to

Teva; this increased revenue, therefore, went straight to Teva’s bottom line.

                           l.      Propranolol Tablets

         405.       In 2015, Teva and its competitors engaged in anti-competitive conduct by colluding

to improperly raise and maintain the price of generic Propranolol tablets (“Propranolol Tablets”).

         406.       Teva’s main competitors in the market for generic Propranolol Tablets were Actavis,

Mylan and Heritage. Between early to mid-2015, Teva and its competitors dramatically raised the

list prices of their Propranolol Tablets.         Teva’s WAC increase, which took effect around

January 2015, was over 630%.

         407.       Price increases on Propranolol Tablets were the result of collusive agreements to

increase pricing and restrain competition. These collusive agreements were furthered, in part,

through phone and text communications (as identified in ¶189, supra), and in-person discussions

conducted at meetings and industry events hosted by NACDS, IGPA, GPhA and others (as identified

in ¶465, infra; App. B). For instance, in the months preceding the January 2015 price increase,

corporate representatives from Actavis, Mylan and Heritage met in person at numerous industry

events, including events held between October and December of 2014. In November 2014,

Oberman attended the IGPA annual conference with counterparts from Actavis and Mylan. In

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December 2014, Cavanaugh attended the NACDS dinner with representatives from Actavis and

Mylan.      These frequent meetings and communications culminated in an agreement among

competitors to fix prices and restrain competition for Propranolol Tablets. The competitors’

increases in the list prices of generic Propranolol Tablets were remarkably similar in terms of scale

and timing, and occurred in close proximity to several industry gatherings. See ¶¶327, 465;

Apps. B-C.

         408.       As detailed in §III.H.3, Teva generated an estimated $98 million from 2015 through

2017 as a result of collusive increases in prices for Propranolol Tablets: approximately $41 million

in 2015, $47 million in 2016, and $11 million in 2017. The price hikes came at no additional

expense to Teva and went straight to Teva’s bottom line.

                           m.     Desonide Topical Lotion and External Cream

         409.       In 2013, Actavis and its competitors engaged in anti-competitive conduct by

colluding to improperly raise and maintain the price of generic Desonide Topical Lotion and

External Cream (“Desonide”). The collusion and its effect on overall sales continued after Teva’s

acquisition of Actavis on August 2, 2016.

         410.       Actavis marketed generic Desonide under an ANDA approved in 1992.

         411.       During the Relevant Period, both before and after Teva’s acquisition of Actavis,

Actavis’s main competitors in the market for generic Desonide were Taro and Fougera/Sandoz.

Together, over the past five full years these entities were responsible for 100% (2013), 100% (2014),

99% (2015), 99% (2016) and 100% (2017) of the generic Desonide sold in the United States.

         412.       In 2013, Actavis and its competitors dramatically raised the list prices of their

Desonide products. Actavis’s WAC increase, which took effect around August 2013, was 96%. By

way of example, Actavis’s list WAC for a 2-ounce bottle of Desonide Topical Lotion, previously

$3.45, immediately increased to $6.77. This followed an approximately eight-fold increase by

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Actavis’s competitors for Desonide External Cream in March 2013, from approximately $0.50 per

ounce to $4.25 per ounce. Instead of competing on price, Actavis entered the collusive arrangement

in August 2013 by setting its price at elevated levels exactly in line with competitors, as depicted in

the following chart:




         413.       After the Desonide price increases, Actavis hosted a conference call on October 29,

2013 to discuss its third quarter 2013 financial results. During this call, defendant Olafsson

acknowledged that “there’s [sic] opportunities to take pricing increases [in the U.S. generics

market], and that is what has changed since maybe 5 years ago when there wasn’t an

opportunity.” A few months later, Actavis participated in the Citi Global Healthcare Conference on

February 25, 2014. At the conference, Olafsson indicated that, despite increased pricing pressure,

“when you are in this top four range – Teva, Mylan, Actavis, and Sandoz – I think you can make

this a win-win.”

         414.       Price increases on Desonide were the result of collusive agreements to increase

pricing and restrain competition. These collusive agreements were furthered, in part, through phone

and text communications (as identified in ¶189, supra), and in-person discussions conducted at

meetings and industry events hosted by GPhA, HDMA and others (as identified in ¶465, infra; App.

B). For instance, in the months preceding the August 2013 price increases for Desonide, corporate


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representatives from Actavis, Taro and Fougera/Sandoz met in person at numerous industry events,

including events held in February and June of 2013. Mere months before the price spike, defendant

Olafsson attended the annual GPhA meeting in February 2013 while President of Actavis. These

frequent meetings and communications culminated in an agreement among competitors to fix prices

and restrain competition for Desonide. The competitors’ increases in the list prices of generic

Desonide were remarkably similar in terms of scale and timing, and occurred in close proximity to

several industry gatherings. See ¶¶327, 465; Apps. B-C.

         415.       As detailed in §III.H.3, Teva and Actavis generated an estimated $60 million from

mid-2013 through 2017 as a result of collusive increases in prices for Desonide topical lotion and

external cream, approximately $6.3 million of which was generated after Teva acquired Actavis in

August 2016: $4 million in 2016 and $2.3 million in 2017. The price hikes came at no additional

expense to Actavis or Teva; following the Actavis acquisition, this increased revenue, therefore,

went straight to Teva’s bottom line.

                           n.     Doxycycline Hyclate Capsules

         416.       In 2013, Actavis and its competitors engaged in anti-competitive conduct by

colluding to improperly raise and maintain the price of generic Doxycycline Hyclate Capsules

(“Doxycycline”). Doxycycline was also implicated in the investigations conducted by the DOJ and

the State AGs. The collusion and the collusive effect on overall sales continued after Teva’s

acquisition of Actavis on August 2, 2016.

         417.       Actavis’s first ANDA for generic Doxycycline was approved in 1982. Actavis

manufactures Doxycycline in the form of a capsule, with strengths of 50 and 100 milligrams.

         418.       Following the acquisition of Actavis, Doxycycline became one of Teva’s top-50

generic drugs, both in terms of revenues and units sold.



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         419.       During the Relevant Period, both before and after Teva’s acquisition, Actavis’s main

competitors in the market for generic Doxycycline were Sun and West-Ward. Other competitors

entered the market in 2014, but held a lesser share of the market, including Citron and Mylan.

Together, from 2013 to 2016, these entities were responsible for 100% (2013), 100% (2014), 97%

(2015), and 89% (2016) of the generic Doxycycline sold in the United States. Even as new

competitors entered the market in 2017, the entities above maintained control of 59% of the market.

         420.       In early 2013, Actavis and its competitors dramatically raised the list prices of their

Doxycycline products. Actavis’s WAC increases, which took effect around February 2013, ranged

from 1,711% (for the 50 milligram strength) to 2,558% (for the 100 milligram strength). By way of

example, Actavis’s list WAC for a 500-count bottle of 100 milligram Doxycycline capsules,

previously $49.58, immediately increased to $1,317.89.

         421.       After the Doxycycline price increases, Actavis hosted a conference call on

October 29, 2013 to discuss its third quarter 2013 financial results. During this call, defendant

Olafsson acknowledged that “there’s [sic] opportunities to take pricing increases [in the U.S.

generics market], and that is what has changed since maybe 5 years ago when there wasn’t an

opportunity.” A few months later, Actavis participated in the Citi Global Healthcare Conference on

February 25, 2014. At the conference, Olafsson indicated that, despite increased pricing pressure,

“when you are in this top four range – Teva, Mylan, Actavis, and Sandoz – I think you can make

this a win-win.”

         422.       Price increases on Doxycycline were the result of collusive agreements to increase

pricing and restrain competition. These collusive agreements were furthered, in part, through in-

person discussions conducted at meetings and industry events hosted by GPhA, HDMA and others

(as identified in ¶465, infra; App. B). For instance, in the months preceding the February 2013 price

increases for Doxycycline, corporate representatives from Actavis, Mylan, and Sun met in person at

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industry events, including events held in October 2012 and February 2013. Concurrent with the

price spike, defendant Olafsson attended the annual GPhA meeting in February 2013 while President

of Actavis. These frequent meetings and communications culminated in an agreement among

competitors to fix prices and restrain competition for Doxycycline. The competitors’ increases in the

list prices of generic Doxycycline were remarkably similar in terms of scale and timing, and

occurred in close proximity to several industry gatherings. See ¶¶327, 465; Apps. B-C.

         423.       As detailed in §III.H.3, Actavis and Teva generated an estimated $581 million from

2013 through 2017 as a result of collusive increases in prices for Doxycycline, approximately

$24 million of which was generated after Teva acquired Actavis in August 2016: $17.5 million in

2016 and $6.3 million in 2017. The price hikes came at no additional expense to either Actavis or

Teva; following the Actavis acquisition, this increased revenue, therefore, went straight to Teva’s

bottom line.

                           o.      Propranolol Hydrochloride

         424.       In 2014, Actavis and its competitors engaged in anti-competitive conduct by

colluding to improperly raise and maintain the price of generic Propranolol Hydrochloride

(“Propranolol”). The collusion and collusive effect on overall sales continued after Teva’s

acquisition of Actavis on August 2, 2016.

         425.       Actavis’s first ANDA for generic Propranolol extended release was approved in

2007. Propranolol extended release capsules come in strengths of 60, 80, 120, and 160 milligrams.

         426.       During the Relevant Period, both before and after Teva’s acquisition, Actavis’s main

competitors in the market for generic Propranolol extended release capsules were Breckenridge and

Ani/Rouses. Manufacturers with lesser shares of the market included Upsher-Smith and Mylan.

Together, from 2013 to 2017 these entities were responsible for 100% of the generic Propranolol

extended release capsules sold in the United States.

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         427.       Following the acquisition of Actavis, Propranolol became one of Teva’s top-50

generic drugs in terms of sales.

         428.       In early 2014, Actavis and its competitors dramatically raised the list prices of their

Propranolol extended release capsules. Actavis’s WAC increase, which took effect around

January 2014, was 91% across the board for all four strengths. By way of example, Actavis’s list

WAC for a 100-count package of 160 milligram Propranolol, previously $167, immediately

increased to $319.

         429.       Shortly after the Propranolol price increases, Actavis hosted a conference call on

October 29, 2013 to discuss its third quarter 2013 financial results. During this call, defendant

Olafsson acknowledged that “there’s [sic] opportunities to take pricing increases [in the U.S.

generics market], and that is what has changed since maybe 5 years ago when there wasn’t an

opportunity.” A few months later, Actavis participated in the Citi Global Healthcare Conference on

February 25, 2014. At the conference, Olafsson indicated that, despite increased pricing pressure,

“when you are in this top four range – Teva, Mylan, Actavis, and Sandoz – I think you can make

this a win-win.”

         430.       Price increases on Propranolol were the result of collusive agreements to increase

pricing and restrain competition. These collusive agreements were furthered, in part, through phone

and text communications (as identified in ¶189, supra), and in-person discussions conducted at

meetings and industry events hosted by GPhA, HDMA and others (as identified in ¶465, infra; App.

B). For instance, in the months preceding the January 2014 price increases for Propranolol,

corporate representatives from Actavis, Breckenridge, Mylan and Upsher-Smith met in person at

numerous industry events, including events held in October and December of 2013. Months before

the price spike, defendant Olafsson attended the annual GPhA meeting in February 2013 while

President of Actavis. These frequent meetings and communications culminated in an agreement

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among competitors to fix prices and restrain competition for Propranolol. The competitors’

increases in the list prices of generic Propranolol extended release capsules were remarkably similar

in terms of scale and timing, and occurred in close proximity to several industry gatherings. See

¶¶327, 465; Apps. B-C.

         431.       As detailed in §III.H.3, Actavis and Teva generated an estimated $92 million from

2014 through 2017 as a result of collusive increases in prices for Propranolol, approximately

$6.5 million of which was generated after Teva acquired Actavis in August 2016: $5.5 million in

2016 and $.9 million in 2017. The price hikes came at no additional expense to either Actavis or

Teva; following the Actavis acquisition, this increased revenue, therefore, went straight to Teva’s

bottom line.

                           p.      Tretinoin External Cream

         432.       In 2014, Actavis and its competitors engaged in anti-competitive conduct by

colluding to improperly raise and maintain the price of generic Tretinoin External Cream

(“Tretinoin”). The collusion and collusive effect on overall sales continued after Teva’s acquisition

of Actavis on August 2, 2016.

         433.       Actavis marketed generic Tretinoin under an NDA approved in 1997. Tretinoin

comes in a strength of 0.025%, in 20 or 45 gram tubes.

         434.       During the Relevant Period, both before and after Teva’s acquisition, Actavis’s main

competitors in the market for generic Tretinoin were Perrigo, Ani/Rouses and Spear Derm Prod

(“Spear”). Manufacturers, with a lesser share of the market going to Valeant. Together, from 2013

to 2017 these entities were responsible for 100% of the generic Tretinoin sold in the United States.

         435.       In early 2014, Actavis and its competitors dramatically raised the list prices of their

Tretinoin products. Actavis’s WAC increase, which took effect around April 2014, was 218%. By



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way of example, Actavis’s list WAC for a small tube of Tretinoin, previously $23, immediately

increased to $73.

         436.       Price increases on Tretinoin were the result of collusive agreements to increase

pricing and restrain competition. These collusive agreements were furthered, in part, through in-

person discussions conducted at meetings and industry events hosted by GPhA, HDMA and others

(as identified in ¶465, infra; App. B). For instance, in the months preceding the April 2014 price

increases for Tretinoin, corporate representatives from Actavis and Perrigo met in person at

numerous industry events, including events held in October 2013 and February 2014. Months before

the price spike, defendant Olafsson attended the annual GPhA meeting in February 2013 while

President of Actavis. These frequent meetings and communications culminated in an agreement

among competitors to fix prices and restrain competition for Tretinoin. The competitors’ increases

in the list prices of generic Tretinoin were remarkably similar in terms of scale and timing, and

occurred in close proximity to several industry gatherings. See ¶¶327, 465; Apps. B-C.

         437.       As detailed in §III.H.3, Teva generated close to $39 million of Collusive Profit from

Tretinoin after acquiring Actavis in August 2016. The price hikes came at no additional expense to

either Actavis or Teva; following the Actavis acquisition, this increased revenue, therefore, went

straight to Teva’s bottom line.

                           q.      Ursodiol Capsules

         438.       In 2014, Actavis and its competitors engaged in anti-competitive conduct by

colluding to improperly raise and maintain the price of generic Ursodiol Capsules (“Ursodiol”). The

collusion and collusive effect on overall sales continued after Teva’s acquisition of Actavis on

August 2, 2016.

         439.       Actavis marketed generic Ursodiol under an NDA approved in 1987. Ursodiol comes

in capsules with a strength of 300 milligrams.

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         440.       Following the acquisition of Actavis, Ursodiol became one of Teva’s top-30 generic

drugs, in terms of sales.

         441.       During the Relevant Period, both before and after Teva’s acquisition, Actavis’s main

competitors in the market for generic Ursodiol were Lannett and Epic Pharma LLC (“Epic”).

Together, over the past five full years these entities were responsible for 96% (2013), 98% (2014),

98% (2015), 96% (2016) and 94% (2017) of the generic Ursodiol sold in the United States.

         442.       In mid-2014, Actavis and its competitors dramatically raised the list prices of their

Ursodiol products. Actavis’s WAC increase, which took effect around May 2014, was 562%. By

way of example, Actavis’s list WAC for a 100-count bottle of Ursodiol, previously $77, immediately

increased to $511.

         443.       Shortly before the Ursodiol price increases, Actavis hosted a conference call on

October 29, 2013 to discuss its third quarter 2013 financial results. During this call, defendant

Olafsson acknowledged that “there’s [sic] opportunities to take pricing increases [in the U.S.

generics market], and that is what has changed since maybe 5 years ago when there wasn’t an

opportunity.” A few months later, Actavis participated in the Citi Global Healthcare Conference on

February 25, 2014. At the conference, Olafsson indicated that, despite increased pricing pressure,

“when you are in this top four range – Teva, Mylan, Actavis, and Sandoz – I think you can make

this a win-win.”

         444.       Price increases on Ursodiol were the result of collusive agreements to increase pricing

and restrain competition. These collusive agreements were furthered, in part, through phone and text

communications (as identified in ¶189, supra), and in-person discussions conducted at meetings and

industry events hosted by GPhA, HDMA and others (as identified in ¶465, infra; App. B). For

instance, in the months preceding the May 2014 price increases for Ursodiol, corporate

representatives from Actavis, Lannett and Epic met in person at numerous industry events, including

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events held in October 2013 and February 2014. These frequent meetings and communications

culminated in an agreement among competitors to fix prices and restrain competition for Ursodiol.

The competitors’ increases in the list prices of generic Ursodiol were remarkably similar in terms of

scale and timing, and occurred in close proximity to several industry gatherings. See ¶¶327, 465;

Apps. B-C.

         445.       As detailed in §III.H.3, Teva generated approximately $46.8 million of Collusive

Profit from Ursodiol after acquiring Actavis in August 2016. The price hikes came at no additional

expense to either Actavis or Teva; following the Actavis acquisition, this increased revenue,

therefore, went straight to Teva’s bottom line.

                    2.     The Structure of the Markets for the 25 Alleged Drugs
                           Facilitated Teva’s Collusion

         446.       The markets for the 25 drugs that are the subject of the State AGs’ ongoing

investigation as alleged in the June 2018 AG Complaint and Plaintiffs’ investigation were highly

conducive to price fixing. Characteristics that facilitated collusion include: (i) a high level of market

concentration; (ii) near perfectly inelastic demand; (iii) the commoditized-nature of generic drugs;

(iv) significant barriers to entry; and (v) the ease of information sharing.

                           a.     High Level of Market Concentration

         447.       The Herfindahl-Hirschman Index (“HHI”) is a widely accepted market concentration

measurement and is used by antitrust enforcement agencies, such as the FTC and the DOJ, for

assessing market competitiveness. An HHI score of 0 is indicative of perfect competition and an

HHI score of 10,000 is indicative of a monopoly. The DOJ and FTC’s Horizontal Merger

Guidelines classify a market as unconcentrated when HHI is below 1,500, moderately concentrated

when HHI is between 1,500 and 2,500, and highly concentrated when HHI exceeds 2,500.




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         448.       The HHI score is calculated by squaring the market share of each firm competing in

the market and then summing the resulting numbers. For example, in a market consisting of three

companies with market shares of 10%, 40% and 50%, the HHI is 4,200 (100 + 1,600 + 2,500).

         449.       As indicated in the chart below, HHI scores for the drugs that have so far been

implicated in the State AGs’ investigation and by Plaintiffs’ investigation well exceeded 1,500, with

most exceeding 2,500, and were thus all considered moderately to highly concentrated.

                Tev a & Ac t av i s ' s Gener i c Dr ugs HHI                 2013   2014   2015   2016   2017
                Ac et az ol ami de SR Caps ul es HHI                         3555   3204   3428   4381   4438
                Bac l of en Tabl et s HHI                                    3521   3679   3653   3108   2275
                Car bamaz epi ne Tabl et s HHI                               3775   3683   3127   2572   2627
                Cephal ex i n Or al Sus pens i on HHI                        4328   4969   4614   4115   4002
                Cl obet as ol Ex t er nal Cr eam HHI                         4333   4286   3371   2693   2771
                Des oni de Topi c al Lot i on HHI                            8738   5551   4006   3513   3574
                Di c l of enac Pot as s i um Tabl et s HHI                   3998   3689   3517   3622   3842
                Dox y c y c l i ne Hy c l at e Caps ul es HHI                2550   2495   2047   2064   1823
                Enal apr i l Tabl et s HHI                                   2888   2795   2446   2407   2276
                Es t r adi ol Tabl et s HHI                                  5137   6416   6756   6390   6463
                Fl uoc i noni de Ex t er nal Oi nt ment HHI                  4572   4796   5977   5228   3908
                Gl i pi z i de Met f or mi n Tabl et HHI                     2668   4609   3550   3731   3481
                Gl y bur i de Met f or mi n HCL Tabl et s HHI                4945   5111   5104   3738   4333
                Gl y bur i de Mi c r oni z ed Tabl et s HHI                  4208   5227   5612   4838   4399
                Gl y bur i de Tabl et HHI                                    5007   5382   6065   5838   5730
                Ket oc onazol e Cr eam HHI                                   4092   3698   3169   2985   3353
                Lef l unomi de Tabl et HHI                                   5284   4757   2284   2494   2618
                Ny s t at i n Tabl et HHI                                    3378   4499   3835   4075   3973
                Pr av as t at i n Sodi um Tabl et s HHI                      3318   2419   2280   2177   2065
                Pr opr anol ol HCL Sus t ai ned Rel eas e Caps ul   es HHI   3726   4446   3569   3372   4016
                Theophy l l i ne Anhy dr ous SR Tabl et s 100MG     HHI      9738   9595   9537   9256   8843
                Theophy l l i ne Anhy dr ous SR Tabl et s 200MG     HHI      9958   9897   9862   9631   9302
                Theophy l l i ne Anhy dr ous SR Tabl et s 300MG     HHI      7320   6675   5381   6183   9711
                Theophy l l i ne Anhy dr ous SR Tabl et s 450MG     HHI      6842   6594   5553   7174   9907
                Tr et i noi n Ex t er nal Cr eam HHI                         4284   3977   3912   3770   3109
                Ur s odi ol Caps ul es HHI                                   5494   3579   3257   3061   2965
                Ver apami l SR Caps ul es HHI                                3602   3652   3886   3994   4200


         450.       During the Relevant Period each of the 25 combined drugs were in highly

concentrated markets with only a handful of competitors. A highly concentrated market is

vulnerable to coordinated activities because fewer firms are involved in the negotiation, collusive

profits are high for each firm, and the cartel tends to be stable with the absence of cheating.

                             b.         Inelastic Demand

         451.       Elasticity of demand (“Ed”) is measured by the change in quantity of goods sold

relative to the change in price. When Ed is zero, demand is perfectly inelastic as there is no change

in the quantity of goods sold despite a large increase in price. Inelastic demand encourages cartel


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behavior, as a significant increase in price has minimal effect on quantity demanded by consumers.

As such, the cartel can maximize profit because price increases will directly translate into revenues.

         452.       At the time of the collusive price-fixing, the markets for the drugs were characterized

by nearly perfect inelastic demand with Ed measured at close to zero:

        PRICE ELASTICITY OF DEMAND
                                   Elasticity of   % Change in      % Change in
            Collusive Drugs                                                             Elasticity
                                     Demand           Price      Quantity Demanded
        Baclofen                       0.019          197%                4%          Highly inelastic
        Carbamazepine                 -0.002          621%               -1%          Highly inelastic
        Cephalexin                    -0.078           48%               -4%          Highly inelastic
        Clobetasol                     0.008         1812%               15%          Highly inelastic
        Desonide                      -0.197           63%              -12%          Highly inelastic
        Diclofenac Potassium           0.255           32%                8%          Highly inelastic
        Doxycycline                   -0.001         3240%               -3%          Highly inelastic
        Enalapril Maleate             -0.038          106%               -4%          Highly inelastic
        Estradiol                     -0.028           71%               -2%          Highly inelastic
        Fluocinonide                  -0.016          395%               -6%          Highly inelastic
        Glyburide                     -0.137           96%              -13%          Highly inelastic
        Ketoconazole                   0.155           85%               13%          Highly inelastic
        Nystatin                       0.040           88%                3%          Highly inelastic
        Pravastatin                    0.026          172%                4%          Highly inelastic
        Propranolol                    0.024           68%                2%          Highly inelastic
        Theophyline – SR 100 mg        0.023           78%                2%          Highly inelastic
        Theophyline – SR 200 mg       -0.074           70%               -5%          Highly inelastic
        Theophyline – SR 300 mg       -0.086           82%               -7%          Highly inelastic
        Theophyline – SR 450 mg       -0.208           32%               -7%          Highly inelastic
        Tretinoin                      0.006          109%                1%          Highly inelastic
        Ursodiol                      -0.003          294%               -1%          Highly inelastic
        Verapamil                     -0.126           31%                4%          Highly inelastic


For example, for Baclofen, the market was so inelastic that a 197% price increase had no negative

effect on sales whatsoever and quantities sold actually increased by 4%. As a result, the coordinated

price hikes translated immediately and directly into collusive profits shared by the co-conspirators.

                           c.      Commodity-Like Product

         453.       A commodity-like product is a standardized product where price is the only

distinguishing factor for purchasers. During the Relevant Period, each of the 25 combined drugs was

AB-rated by the FDA, which indicates each drug is bioequivalent to its respective branded version.

In addition, the FDA’s Orange Book shows that Teva’s versions are therapeutically equivalent to

other manufacturers’ generic versions of the same drugs. As stated in its Orange Book, the “FDA


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believes that products classified as therapeutically equivalent can be substituted with the full

expectation that the substituted product will produce the same clinical effect and safety profile as the

prescribed product.” As such, pharmacists are able to substitute one manufacturer’s version of a

drug for another.

         454.       For commodity-like products such as these, all of the manufacturers must raise prices

for the collusion to be viable. Price hikes by Teva without the co-conspirators’ agreement to join the

heightened price levels would enable competitors to take market share away by simply setting prices

below Teva’s price point. Thus, the coordinated massive price hikes could only be sustainable with

the cooperation and agreement among the co-conspirators.

                            d.      No Viable Substitute

         455.       The lack of a viable substitute encourages cartel behavior because consumers cannot

replace the product with a cheaper alternative after significant price hikes. For example:

         •          Carbamazepine, Cephalexin and Enalapril are listed prominently on the World
                    Health Organization’s “essential medicine” list and are considered crucial to the
                    priority health care needs of the population.

         •          Baclofen is one of two recognized first-line treatments for spasticity induced by
                    multiple sclerosis, according to the U.K. National Institute of Health and Care
                    Excellence. Patients who cannot tolerate gabapentin – the alternative first-line
                    treatment – or those for whom gabapentin proves ineffective have little to no viable
                    choice.

         •          Estradiol alternatives – synthetic estrogens and conjugated equine estrogens – have
                    disproportionate effects on synthesis of proteins in the liver, which in turn creates a
                    considerably higher risk of cardiovascular side effects relative to the risks of
                    Estradiol.

         •          .05% Fluocinonide is a prominent high potency (Group II) corticosteroids and is one
                    of “the mainstay[s] of therapy for psoriasis.” Jonathan D. Ference, PharmD. and
                    Allen R. Last, M.D., Choosing Topical Corticosteroids, 79 American Family
                    Physician 2, at 135 (Jan. 15, 2009).

         •          Pravastatin is critical to the health of patients with high cholesterol and is considered
                    a medical necessity that must be purchased at whatever the cost. Pravastatin is
                    unique among statins for its relatively low level of binding to blood plasma proteins,
                    which is an important consideration for patients whose other medications require
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                    binding to plasma proteins in order to be effective, such as the widely used blood
                    thinner warfarin.

         •          Propranolol’s creation is considered to be one of the most important contributions to
                    clinical medicine and pharmacology of the 20th century. The drug was invented in
                    the 1960s by James Black.

         •          Ursodiol is the principal non-invasive non-surgical medical treatment for cholesterol
                    gallstones. Ursodiol is usually taken two or three times a day to treat gallstones, and
                    must be taken for months, or even years, to have an effect. Up to 50% of patients
                    who dissolve their stones on bile acid therapy have a recurrence of stones within five
                    years. Gallstone disease is one of the most common and costly of all digestive
                    diseases when factoring in the cost of surgeries and hospital admissions.

         456.       In addition to the fact that few or no effective substitutes exist for patients on many of

the collusive drugs, various barriers in the medical field also serve to promote the resistance to

prescription changes.            These barriers include doctors’ reluctance to change well-known

prescriptions, insurance and Medicare’s absorption of most of the price shock, lags in co-payment

tiering changes, and the restriction on Medicare from negotiating drug prices with pharmaceutical

companies.

         457.       The lack of a viable substitute enabled the collusive price fixing to be sustained over

an extended period.

                            e.      Barriers to Entry

         458.       Collusion is more effective in markets with high barriers to entry because new

competitors cannot easily enter the market and undercut the agreed-upon price.

         459.       A competitor attempting to enter the generic drug market faces the barrier of both

time and costs. The generic drug approval process created a significant barrier to entry in the

markets for each of the 25 combined drugs alleged above. An ANDA approval by the FDA takes an

average of 36 months. Upon approval, the manufacturing facility is subject to regulatory oversight

and compliance expenses.




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         460.       A high barrier to entry to the markets for each of the 25 drugs enabled the collusive

price fixing to be sustained over an extended period.

                           f.      Information Sharing

         461.       Information sharing is important in a conspiracy to enable the cartel to come to an

agreement and monitor pricing decisions and compliance.

         462.       Teva and its co-conspirators were in constant contact prior to the collusive price hikes

through industry conferences and trade association meetings. The State AGs stated that “[t]hese

trade shows and customer conferences provide generic drug manufacturers, including but not limited

to the [d]efendants, with ample opportunity to meet, discuss, devise and implement a host of

anticompetitive schemes that unreasonably restrain competition in the United States’ market for

generic drugs.” As such, the DOJ is scrutinizing “trade associations as part of their investigation as

having been one potential avenue for facilitating the collusion between salespeople at different

generic producers.”

         463.       According to the GPhA’s website, GPhA is “the nation’s leading trade association for

manufacturers and distributors of generic prescription drugs, manufacturers of bulk active

pharmaceutical chemicals, and suppliers of other goods and services to the generic industry.” The

GPhA provides a forum for frequent in-person meetings and opportunities to collude.

         464.       In addition, Teva has always occupied a leadership role at the GPhA. Executives

from Teva and its co-conspirators served on the GPhA Board of Directors, including: Oberman,

President and CEO of Teva Generics (2014); Debra Barrett, Teva SVP of Government and Public

Affairs (2012-2013, 2015-2016); Glazer, President and CEO of Heritage (2013- 2016); Jeff Watson,

President of Apotex (2013-2014, 2015-2017); and Joseph Renner, President and CEO of Zydus

(2013-2017).



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         465.       In addition to the GPhA, Teva also belonged to numerous additional trade

organizations and attended numerous trade shows with its competitors over the Relevant Period.

Teva and other drug manufacturers had opportunities to meet and collude at association meetings

hosted by: NACDS, HDMA (now the Healthcare Distribution Alliance), and ECRM:

           Meeting / Conference          Location                              Corporate Attendees
        GPhA 2012 Technical        Bethesda North           Teva:
         Conference                Marriott Hotel &           Debbie Jaskot, Vice President, US Generic Regulatory
        October 1-3, 2012          Conference Center,           Affairs & North American Policy
                                   Bethesda, MD               Jonathan Kafer, VP Sales & Marketing
                                                            Other Corporate Attendees:
                                                              Actavis           Heritage            Sun
                                                              Akorn              Impax              Taro
                                                              Apotex             Lannett            UDL (Mylan
                                                              Aurobindo          Lupin                Institutional)
                                                              Breckenridge       Mylan              Upsher-Smith
                                                              Dr. Reddy’s        Par                Wockhardt
                                                              Fougera            Perrigo            Zydus
                                                              Glenmark           Sandoz
        GPhA 2013 Annual Meeting   JW Marriott Orlando      Teva:
        February 20-22, 2013       Grande Lakes,              Allan Oberman, President & CEO
                                   Orlando, FL              Actavis
                                                              Sigurdur Olafsson, President
                                                            Other Corporate Attendees:
                                                              Akorn              Heritage           Sandoz
                                                              Apotex             Impax              Taro
                                                              Aurobindo          Lupin              Teligent (IGI
                                                              Breckenridge       Mylan                Laboratories)
                                                              Dr. Reddy’s        Par                Wockhardt
                                                              Glenmark           Perrigo            Zydus
        2013 NACDS Annual          Palm Beach, FL           Teva:
        Meeting                                               Jeremy Levin, President and CEO
        April 20-23, 2013                                     Allan Oberman, President and CEO of Teva Americas
                                                                Generics
                                                              Maureen Cavanaugh, Sr. VP and Chief Operating
                                                                Officer of North America Generics
                                                              Teri Coward, Sr. Director Sales and Trade Relations
                                                              Michael Sine, Director, Corporate Account Group
                                                              Jonathan Kafer, Executive VP, Sales and Marketing
                                                              David Marshall, VP of Operations
                                                              Dave Rekenthaler, VP of Sales
                                                            Other Corporate Attendees:
                                                              Actavis               Par
                                                              Mylan                 Upsher-Smith
        GPhA 2013 CMC Conference   Bethesda North           Teva
        June 4-5, 2013             Marriott Hotel &         Other Corporate Attendees:
                                   Conference Center,         Actavis            Hi-Tech            Sandoz
                                   Bethesda, MD               Apotex             Impax              Sun
                                                             Breckenridge        Lannett            Taro
                                                              Dr. Reddy’s        Morton Grove       UDL (Mylan
                                                              Fougera            Mylan               Institutional)
                                                              Glenmark           Par                Upsher-Smith
                                                              Heritage           Perrigo            Zydus
        2013 NACDS Total Store     Sands Expo               Teva:
        Expo                       Convention Center,         Theresa Coward, Senior Director of Sales
        August 10-13, 2013         Las Vegas, NV              David Rekenthaler, Vice President, Sales
                                                              Maureen Cavanaugh, Senior Vice President and Chief
                                                                Operating Officer N.A. Generics
                                                              Kevin Galowina, Head of Marketing Operations
                                                              Jessica Peters, Manager of Corporate Accounts
                                                              Allan Oberman, President and CEO Teva Americas
                                                                Generics
                                                            Other Corporate Attendees:
                                                              Actavis            Heritage           Par
                                                              Breckenridge       Mylan              Upsher-Smith




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           Meeting / Conference            Location                              Corporate Attendees
        GPhA 2013 Fall Technical     Bethesda North           Teva
         Conference                  Marriot Hotel &          Other Corporate Attendees:
        October 28-30, 2013          Conference Center,         Actavis            Hi-Tech             Taro
                                     Bethesda, MD               Akorn              Impax               Teligent (IGI
                                                                Apotex             Lannett               Laboratories)
                                                                Aurobindo          Lupin               UDL (Mylan
                                                                Breckenridge       Mylan                 Institutional)
                                                                Dr. Reddy’s        Par                 Upsher-Smith
                                                                Fougera            Perrigo             Wockhardt
                                                                Glenmark           Sandoz              Zydus
                                                                Heritage           Sun
        2013 NACDS NYC Week          New York City            Teva:
          Annual Foundation Dinner                               Theresa Coward, Senior Director of Sales
        December 3, 2013                                         David Rekenthaler, Vice President, Sales
                                                                 Maureen Cavanaugh, Senior Vice President and Chief
                                                                  Operating Officer N.A. Generics
                                                              Other Corporate Attendees:
                                                                Actavis            Mylan               Upsher-Smith
        GPhA 2014 Annual Meeting     JW Marriott Orlando      Teva:
        February 19-21, 2014         Grande Lakes,               Allan Oberman, President & CEO
                                     Orlando, FL              Other Corporate Attendees:
                                                                Actavis            Hi-Tech             Sun
                                                                Apotex             Impax               Taro
                                                                Aurobindo          Lupin               Teligent (IGI
                                                                Breckenridge       Mylan                 Laboratories)
                                                                Dr. Reddy’s        Par                 Upsher-Smith
                                                                Epic               Perrigo             Wockhardt
                                                                Heritage           Sandoz              Zydus
        2014 NACDS Annual            The Phoenician           Teva:
        Meeting                      Resort, Scottsdale,         Theresa Coward, Senior Director of Sales
        April 26–29, 2014            Arizona                     David Rekenthaler, Vice President, Sales
                                                                 Maureen Cavanaugh, Senior Vice President and Chief
                                                                  Operating Officer N.A. Generics
                                                                 Allan Oberman, President and CEO Teva Americas
                                                                  Generics
                                                              Other Corporate Attendees:
                                                                Actavis            Heritage            Par
                                                                Breckenridge       Mylan               Upsher-Smith
        2014 MMCAP National          Bloomington, MN          Teva:
          Member Conference                                      Nick Gerebi, National Account Manager
        May 12-15, 2014                                       Other Corporate Attendees:
                                                                Actavis            Heritage            Upsher-Smith
                                                                Breckenridge       Mylan
        2014 HDMA Business and       JW Marriott Desert       Actavis              Mylan               Upsher-Smith
          Leadership Conference      Ridge, Phoenix, AZ
        June 1-4, 2014
        GPhA 2014 CMC Conference     Bethesda North           Teva:
        June 3-4, 2014               Marriot Hotel &            Scott Tomsky, Generic Regulatory Affairs, North America
                                     Conference Center,         Siva Vaithiyalingam, Director, Regulatory Affairs
                                     Bethesda, MD             Other Corporate Attendees:
                                                                Actavis            Impax              Sandoz
                                                                Apotex             Lannett            Sun
                                                                Dr. Reddy’s        Lupin              Taro
                                                                Fougera            Morton Grove       Teligent (IGI
                                                                Glenmark           Mylan                Laboratories)
                                                                Heritage           Par                Upsher-Smith
                                                                Hi-Tech            Perrigo            Zydus
        2014 NACDS Total Store       Boston Convention        Teva:
        Expo                         Center, Boston, MA         David Rekenthaler, Vice President, Sales
        August 23-26, 2014                                      Maureen Cavanaugh, Senior Vice President and Chief
                                                                  Operating Officer N.A. Generics
                                                                Kevin Galowina, Head of Marketing Operations
                                                                Jessica Peters, Manager of Corporate Accounts
                                                                Nisha Patel, Director of National Accounts
                                                              Other Corporate Attendees:
                                                                Actavis            Heritage           Par
                                                                Breckenridge       Mylan              Upsher-Smith
        2014 HCSCA LogiPharma        Princeton, NJ            Teva
          Supply Chain Conference                             Other Corporate Attendee:
        September 16-18, 2014                                   Actavis




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           Meeting / Conference            Location                                Corporate Attendees
        GPhA 2014 Fall Technical     Bethesda North             Teva:
         Conference                  Marriot Hotel &              Scott Tomsky, Generic Regulatory Affairs, North America
        October 27-29, 2014          Conference Center,         Other Corporate Attendees:
                                     Bethesda, MD                 Actavis             Impax              Teligent (IGI
                                                                  Apotex              Lannett              Laboratories)
                                                                  Aurobindo           Lupin              Upsher-Smith
                                                                  Breckenridge        Mylan              UDL (Mylan
                                                                  Citron              Par                 Institutional)
                                                                  Dr. Reddy’s         Perrigo            West-Ward
                                                                  Fougera             Sandoz             Wockhardt
                                                                  Glenmark            Sun                Zydus
                                                                  Heritage            Taro
        2014 IGPA Annual             Ritz-Carlton, Key          Teva:
        Conference                   Biscayne, Miami, FL          Allan Oberman, President & CEO, Teva Americas
        November 19-21, 2014                                        Generics
                                                                  Yehudah Livneh, Ph.D., Vice President, Global Public
                                                                    Policy, Asia and EMIA
                                                                Other Corporate Attendees:
                                                                  Actavis             Dr. Reddy’s        Sandoz
                                                                  Apotex              Mylan
        2014 NACDS NYC Week          New York City              Teva:
          Annual Foundation Dinner                                Theresa Coward, Senior Director of Sales
        December 3, 2014                                          David Rekenthaler, Vice President, Sales
                                                                  Maureen Cavanaugh, Senior Vice President and Chief
                                                                    Operating Officer N.A. Generics
                                                                  Jessica Peters, Director National Accounts
                                                                Other Corporate Attendees:
                                                                  Actavis             Mylan
        GPhA 2015 Annual Meeting     Fontainebleau Miami        Teva:
        February 9-11, 2015          Beach, Miami, FL             Sigurdur Olafsson, President & Chief Executive Officer,
                                                                    Global Generic Medicines Group
                                                                  Brian Rubenstein, Executive Counsel
                                                                Other Corporate Attendees:
                                                                  Actavis             Heritage           Taro
                                                                  Akorn               Impax              Teligent (IGI
                                                                  Apotex              Lupin             Laboratories)
                                                                  Aurobindo           Mylan              Upsher-Smith
                                                                  Breckenridge        Par                West-Ward
                                                                  Dr. Reddy’s         Perrigo            Wockhardt
                                                                  Epic                Sandoz             Zydus
                                                                  Glenmark
        2015 HCSCA National          Tampa, FL                  Teva:
          Pharmacy Forum                                          Nick Gerebi, Director of National Accounts
        February 16-18, 2015                                      Jeff McClard, Sr. Director of National Accounts
                                                                  Cam Bivens, Director of National Accounts
                                                                  Brad Bradford, Director of National Accounts
                                                                Other Corporate Attendees:
                                                                  Actavis             Breckenridge       Mylan
        2015 NACDS Annual            The Breakers Resort,       Teva
        Meeting                      Palm Beach, FL             Other Corporate Attendees:
        April 25-28, 2015                                         Actavis             Mylan              Upsher-Smith
                                                                  Breckenridge        Par
        2015 HDMA Business &         JW Marriott San            Teva:
          Leadership Conference      Antonio Hill Country,        Christine Bader, Vice President, Commercial Operations
        June 7-10, 2015              San Antonio, TX              Brad Bradford, Director National Accounts
                                                                  Theresa (Teri) Coward, Senior Director of National Sales
                                                                  Christopher (Chris) Doerr, Senior Director, Trade
                                                                    Operations
                                                                  Cassie Dunrud, Associate Director
                                                                  Nick Gerebi, Director National Accounts
                                                                  Jeff Herberholt, Senior Manager, Regional Accounts
                                                                  Jeff McClard, Senior Director National Accounts
                                                                  Jason Nagel, Associate Director, Trade Relations
                                                                  Michelle Osmian, Director, Customer Operations
                                                                  Nisha Patel, Director, National Accounts
                                                                  Jessica Peters, Director, National Accounts
                                                                Other Corporate Attendees:
                                                                  Actavis             Heritage           Sandoz
                                                                  Apotex              Impax              Sun
                                                                  Aurobindo           Lannett            Upsher-Smith
                                                                  Breckenridge        Lupin              Wockhardt
                                                                  Citron              Mylan              Zydus
                                                                  Dr. Reddy’s         Par




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           Meeting / Conference          Location                             Corporate Attendees
        GPhA 2015 CMC Conference   Bethesda North           Teva:
        June 9-10, 2015            Marriot Hotel &            Scott Tomsky, Generic Regulatory Affairs, North America
                                   Conference Center,         Siva Vaithiyalingam, Director, Regulatory Affairs
                                   Bethesda, MD             Other Corporate Attendees:
                                                              Actavis            Impax              Sun
                                                              Apotex             Lannett            Taro
                                                              Citron             Lupin              UDL (Mylan
                                                              Dr. Reddy’s        Mylan               Institutional)
                                                              Fougera            Par                Upsher-Smith
                                                              Glenmark           Perrigo            West-Ward
                                                              Heritage           Sandoz             Wockhardt
                                                                                                      Zydus
        2015 NACDS Total Store     Colorado Convention      Teva
        Expo                       Center, Denver, CO       Other Corporate Attendees:
        August 22-25, 2015                                    Actavis            Heritage           Par
                                                              Breckenridge       Mylan              Upsher-Smith


         466.       Often within weeks after these industry meetings took place, Teva and its competitors

implemented unprecedented massive price hikes in lock-step. See ¶¶327, 465; Apps. B-C.

         467.       Besides in-person meetings, pricing and market information were communicated

through investor conference calls.

         468.       In addition to issuing directives through investor calls, pricing and market

information was shared through subscription-based databases. The availability of market-sensitive

information facilitates the coordination and collusion between manufacturers. Teva and other

manufacturers have the ability to share pricing, market share, quantities and sales information on a

weekly basis through subscription-based data providers such as Symphony Health Solutions, IMS,

and First Data Bank

                    3.      Teva Increased Revenues by Approximately $1.57 Billion
                            Through Collusion on the Eight Drugs Identified by the State
                            AGs and the Seventeen Additional Drugs Uncovered by
                            Plaintiffs

         469.       Teva does not publicly disclose its revenues on sales of the specific generic drugs

described above. Despite this, Plaintiffs, through their investigation and analysis, have estimated the

revenues that Teva derived from the collusive increase of the prices of certain drugs identified

through Plaintiffs’ investigation and by the State AGs as the subject of collusion, enumerated above.

Plaintiffs derived this estimated revenue using subscription-based data and publicly available

information.
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         470.       In examining the revenues generated by the collusion for each drug, Plaintiffs

examined: (i) the relationship between price and quantity; (ii) the relationship between price and cost

of manufacturing; (iii) the prior price trends and volatility of price in the relevant drug; (iv) expected

inflation/deflation; and (v) prices over the entire prescription market to calculate average prices.

Plaintiffs applied a reasonable proxy for rebates and discounts provided to public purchasers based

on publicly available Medicare rebates, as that information is not publicly disclosed.

         471.       Plaintiffs estimate that just for the drugs described above in §§III.G, H.1, Teva

generated approximately $1.57 billion in total revenue from the collusion. This is a small sample

given that Teva generated revenue from hundreds of generic drugs at the time. This also does not

include any revenue from other drugs with price hikes that were the result of collusion, or the

revenues generated by other anti-competitive activities such as collusive price fixing, price

maintenance, customer allocation, or market allocation.

         472.       Given the breadth of the conspiracy, Teva also undoubtedly made additional price

hikes, or agreed with its co-conspirators to allocate markets or decline to compete on price in other

markets, thereby generating additional illicit revenues that contributed to Teva’s reported 2013

fourth quarter success in U.S. generics. Thus, Plaintiffs’ estimate for just the drugs listed below

vastly understates the true impact of Teva’s collusion in the generic drugs market.

         473.       2013. Plaintiffs, looking only to the drugs described above, estimate that in 2013

Teva generated approximately $126 million in revenue attributable to improper collusion with its

competitors. This improper collusion-derived revenue breaks down by drug and by quarter as

follows 7:


7
    Collusive profits are calculated as the average of three methodologies: (1) a time series
regression of pre-collusion prices to determine “but for” prices based on prior trend and volatility;
(2) a time series regression of pre-collusion prices to determine but for prices based on prior trend
and volatility plus accounting for inflation; and (3) an analysis of prices over the entire prescription
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                             Collusive Profits ($mm)          Q3 2013           Q4 2013             Total
                       Diclofenac Potassium Tablets                 0.12           0.24              0.36
                       Enalapril Tablets                            2.32           3.01              5.33
                       Pravastatin Sodium Tablets                  44.11          76.34            120.45
                       Total                                       46.55          79.59            126.14

           474.       2014-2015. Plaintiffs, looking only to the drugs described above, estimate that

between 2014 and 2015 Teva generated approximately $818 million in revenue attributable to

improper collusion with its competitors. This improper collusion-derived revenue breaks down by

drug and by quarter as follows:

       Collusive Profits ($mm)        Q1 2014 Q2 2014 Q3 2014 Q4 2014 Q1 2015 Q2 2015 Q3 2015 Q4 2015               Total
  Baclofen Tablets                         0.00   15.66    20.59      19.88    14.72      15.53    14.43    13.94   114.74
  Carbamazepine Chewable                   0.00    0.00     0.40       1.00     0.74       0.44     0.33     0.27
  Tablets                                                                                                             3.19
  Carbamazepine Tablets                    0.00    0.00    10.58      26.03    22.91      20.68    18.97    16.96   116.13
  Cephalexin Oral Suspension               0.00    4.85     5.08       4.06     3.11       3.32     2.73     2.33    25.47
  Diclofenac Potassium Tablets             0.18    0.17     0.77       1.89     1.59       1.43     1.42     1.40     8.86
  Enalapril Tablets                        5.70    6.26    13.80      21.95    19.13      10.38     8.38     6.25    91.84
  Estradiol Tablets (Teva)                 0.00    0.00     0.00       0.00     5.43       7.92     7.96     6.02    27.33
  Fluocinonide External Cream              0.00    0.02     6.09       6.92     4.80       9.89     8.91     5.28    41.90
  Fluocinonide External Gel                0.00    0.00     0.88       0.75     0.43       0.26     0.17     0.09     2.58
  Fluocinonide External Ointment           0.00    0.10    12.48      13.80    13.36      12.50    11.69     8.27    72.20
  Glyburide Micronized Tablet              0.00    0.00     0.00       0.00     0.00       0.00     0.01     0.16     0.17
  Ketoconazole Cream                       0.00    6.48     6.77       6.19     5.14       5.78     5.68     3.90    39.94
  Ketoconazole Tablets                     0.00    2.33     2.52       2.19     1.84       1.85     1.65     0.98    13.35
  Nystatin Tablets                         0.00    0.92     0.92       0.80     0.66       0.65     0.63     0.71     5.29
  Pravastatin Sodium Tablets            52.14     41.11    30.92      25.57    16.60      14.53    12.16     4.64   197.67
  Propranolol Tablets                      0.00    0.00     0.00       0.00     6.87      12.06    11.87    10.18    40.98
  Theophylline SR Tablets 100mg            0.00    0.31     0.33       0.32     0.30       0.30     0.30     0.30     2.17
  Theophylline SR Tablets 200mg            0.00    1.16     1.15       1.10     1.00       0.96     0.92     0.88     7.17
  Theophylline SR Tablets 300mg            0.00    1.37     1.24       1.14     1.01       0.90     0.78     0.74     7.18
  Theophylline SR Tablets 450mg            0.00    0.02     0.02       0.01     0.01       0.01     0.01     0.01     0.08
  Total                                 58.02     80.75   114.55     133.60   119.67   119.40     108.98    83.30   818.26


           475.       2016-2017. Plaintiffs, looking only to the drugs described above, estimate that

between 2016 and 2017, Teva generated approximately $531 million in revenue attributable to

drug market (7,128 drugs, excluding alleged drugs) to calculate the average price changes post-
collusion. These average prices were then used to determine but for prices.

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improper collusion with its competitors. This improper collusion-derived revenue breaks down by

drug and by quarter as follows:

       Collusive Profits ($m)      Q1 2016 Q2 2016 Q3 2016 Q4 2016 Q1 2017 Q2 2017 Q3 2017 Q4 2017       Total
 Baclofen Tablets                    11.74   11.26     9.35      5.93    4.47    3.00    1.36     1.27    48.38
 Carbamazepine Chewable Tablets       0.29    0.33     0.33      0.32    0.29    0.30    0.27     0.25     2.38
 Carbamazepine Tablets               12.90   14.14    14.59     14.07   12.70   11.62    8.67     6.46    95.15
 Cephalexin Oral Suspension           1.92    1.80     1.52      1.28    1.15    0.78    0.78     0.40     9.63
 Clobetasol External Cream            0.00    0.00    11.52      8.28    5.44    3.68    2.58     1.22    32.72
 Desonide External Cream              0.00    0.00     1.78      1.35    0.79    0.41    0.00     0.00     4.33
 Desonide Topical Lotion              0.00    0.00     0.35      0.53    0.38    0.23    0.31     0.13     1.95
 Diclofenac Potassium Tablets         0.72    0.63     0.64      1.06    0.31    0.17    0.00     0.00     3.53
 Doxycycline Hyclate Capsules         0.00    0.00    10.34      7.15    4.96    1.23    0.06     0.00    23.74
 Enalapril Tablets                    2.76    1.67     0.96      0.78    0.62    0.49    0.46     0.25     7.97
 Estradiol Tablets (Teva)             4.58    5.09     4.92      4.87    5.82    6.08    6.15     6.56    44.07
 Estradiol Tablets (Actavis)          0.00    0.00     0.68      0.25    0.11    0.07    0.05     0.04     1.20
 Fluocinonide External Cream          4.71    4.91     4.16      3.63    2.66    1.72    1.90     1.87    25.55
 Fluocinonide External Gel            0.02    0.00     0.00      0.00    0.00    0.00    0.00     0.00     0.02
 Fluocinonide External Ointment       6.55    6.13     4.45      3.51    3.08    1.86    0.21     0.00    25.80
 Glyburide Micronized Tablet          0.09    0.09     0.06      0.01    0.05    0.05    0.01     0.01     0.37
 Ketoconazole Cream                   1.54    0.18     0.16      0.02    0.00    0.00    0.00     0.00     1.90
 Ketoconazole Tablets                 0.88    0.72     0.59      0.31    0.11    0.02    0.01     0.01     2.65
 Nystatin Tablets                     0.57    0.63     0.61      0.57    0.55    0.56    0.46     0.19     4.14
 Pravastatin Sodium Tablets           1.53    0.00     0.00      0.00    0.00    0.00    0.00     0.00     1.53
 Propranolol HCL SR Capsules          0.00    0.00     3.55      1.97    0.81    0.12    0.00     0.00     6.45
 Propranolol Tablets                 12.16   13.73    11.08      9.91    6.84    2.35    0.90     0.49    57.46
 Theophylline SR Tablets 100mg        0.23    0.07     0.01      0.00    0.00    0.00    0.00     0.00     0.33
 Theophylline SR Tablets 200mg        0.49    0.19     0.07      0.03    0.02    0.01    0.01     0.01     0.82
 Theophylline SR Tablets 300mg        0.67    0.47     0.20      0.06    0.04    0.02    0.01     0.01     1.47
 Theophylline SR Tablets 450mg        0.00    0.00     0.00      0.00    0.00    0.00    0.00     0.00     0.01
 Tretinoin External Cream             0.00    0.00     5.42      5.41    4.56    3.89    4.51     4.26    28.04
 Ursodiol Tablets                     0.00    0.00    10.90      9.63    8.07    6.67    6.98     4.52    46.78
 Verapamil SR Capsules                0.00    0.00     7.87      7.95    7.98    8.78   10.38    10.21    53.18
 Total                               64.36   62.05   106.09     88.88   71.80   54.10   46.09    38.16   531.53


         476.       2018-1H2019. Plaintiffs, looking only to the drugs described above, estimate that

between 2018 and the first half of 2019, Teva generated close to $95 million in revenue attributable

to improper collusion with its competitors. This improper collusion-derived revenue breaks down by

drug and by quarter as follows:

                Collusive Profits ($m)   Q1 2018 Q2 2018 Q3 2018 Q4 2018 Q1 2019 Q2 2019        Total
          Baclofen Tablets                  1.64    1.08    1.05    0.49    0.04    0.20         4.50
          Carbamazepine Chewable Tablets    0.18    0.18    0.14    0.13    0.05    0.03         0.70
          Carbamazepine Tablets             5.61    4.51    4.19    1.67    0.29    0.43        16.70
          Estradiol Tablets                 2.65    4.34    4.03    3.18    1.28    1.12        16.60
          Tretinoin External Cream          3.01    1.86    1.46    1.81    1.56    1.22        10.92

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                Collusive Profits ($m)      Q1 2018 Q2 2018 Q3 2018 Q4 2018 Q1 2019 Q2 2019         Total
          Ursodiol Tablets                     1.52    0.70    0.04    0.00    0.00    0.00          2.26
          Verapamil SR Capsules                8.63    7.62    7.21    7.10    6.43    6.13         43.12
          Total                              23.23   20.29   18.12   14.38     9.65    9.13             94.81


         477.       In sum, the drugs Plaintiffs identified generated approximately $1.57 billion from

mid-2013 through the first half of 2019 in revenue attributable to improper collusion with Teva’s

competitors. This revenue breaks down by drug and by year as follows:

            Collusive Profits ($mm)      FY 2013 FY 2014 FY 2015 FY 2016 FY 2017 FY 2018 1H 2019          Total
       Baclofen Tablets                    0.00    56.12      58.61    38.28    10.11    4.26    0.24     167.62
       Carbamazepine Chewable
                                           0.00     1.41       1.78     1.26     1.11    0.62    0.08       6.26
       Tablets
       Carbamazepine Tablets               0.00    36.61      79.53    55.70    39.45   15.98    0.73     228.00
       Cephalexin Oral Suspension          0.00    13.99      11.48     6.51     3.11    0.00    0.00      35.09
       Clobetasol External Cream           0.00     0.00       0.00    19.80    12.92    0.00    0.00      32.72
       Desonide External Cream             0.00     0.00       0.00     3.13     1.20    0.00    0.00       4.33
       Desonide Topical Lotion             0.00     0.00       0.00     0.88     1.06    0.01    0.06       2.01
       Diclofenac Potassium Tablets        0.36     3.02       5.85     3.05     0.48    0.05    0.00      12.81
       Doxycycline Hyclate Capsules        0.00     0.00       0.00    17.49     6.25    0.00    0.00      23.74
       Enalapril Tablets                   5.33    47.70      44.14     6.17     1.81    0.00    0.00     105.15
       Estradiol Tablets (Teva)            0.00     0.00      27.33    19.47    24.61   14.20    2.40      88.01
       Estradiol Tablets (Actavis)         0.00     0.00       0.00     0.93     0.27    0.00    0.00       1.20
       Fluocinonide External Cream         0.00    13.03      28.88    17.40     8.15    0.02    0.00      67.48
       Fluocinonide External Gel           0.00     1.63       0.95     0.02     0.00    0.00    0.00       2.60
       Fluocinonide External Ointment      0.00    26.38      45.82    20.64     5.16    0.01    0.00      98.01
       Glyburide Micronized Tablet         0.00     0.00       0.17     0.25     0.12    0.00    0.00       0.54
       Ketoconazole Cream                  0.00    19.44      20.50     1.89     0.00    0.00    0.00      41.83
       Ketoconazole Tablets                0.00     7.04       6.32     2.50     0.15    0.01    0.01      16.03
       Nystatin Tablets                    0.00     2.64       2.65     2.38     1.76    0.01    0.00       9.44
       Pravastatin Sodium Tablets        120.45   149.75      47.92     1.53     0.00    0.00    0.00     319.65
       Propranolol HCL SR Capsules         0.00     0.00       0.00     5.52     0.93    0.00    0.00       6.45
       Propranolol Tablets                 0.00     0.00      40.98    46.89    10.58    0.00    0.00      98.45
       Theophylline SR Tablets 100mg       0.00     0.95       1.21     0.32     0.01    0.00    0.00       2.49
       Theophylline SR Tablets 200mg       0.00     3.41       3.76     0.78     0.04    0.00    0.00       7.99
       Theophylline SR Tablets 300mg       0.00     3.75       3.43     1.40     0.07    0.00    0.00       8.65
       Theophylline SR Tablets 450mg       0.00     0.05       0.04     0.00     0.00    0.00    0.00       0.09
       Tretinoin External Cream            0.00     0.00       0.00    10.83    17.22    8.14    2.78      38.97
       Ursodiol Tablets                    0.00     0.00       0.00    20.53    26.24    2.26    0.00      49.03
       Verapamil SR Capsules               0.00     0.00       0.00    15.82    37.35   30.56   12.56      96.29
       Total                             126.14   386.91     431.35   321.38   210.15   76.13   18.85 1,570.93




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         I.         Forty-Four State AGs Filed a Second Complaint Against Teva and
                    Nineteen Co-Conspirators for Participating in an Illegal Conspiracy
                    Which Artificially Inflated the Value of Teva Securities

         478.       On May 10, 2019, Connecticut and 43 additional states filed a second complaint

against Teva, alleging a massive industry-wide conspiracy that now includes over 100 generic drugs.

In a June 24, 2019 press release, Connecticut Attorney General William Tong suggested more to

come against Teva and its co-conspirators:

                “The evidence is undeniable and the conspiracy is unconscionable. Our
         lawsuit alleges that generic drug manufacturers engaged in a brazen, industrywide
         conspiracy to fix prices and allocate market share for drugs that we rely on every
         day. The evidence demonstrates that they knew what they were doing was illegal,
         and that’s why they sought to mislead Congress, destroyed evidence, and cautioned
         each other to keep their collusive conversations offline. Our investigation is ongoing
         and expanding and the evidence released today reinforces the allegations in the
         complaint.”

         479.       Similarly, after filing the November 2019 AG Complaint to include additional

defendants, Joseph Nielsen from the State of Connecticut Attorney General’s Office indicated in a

December 13, 2019 court hearing that a third complaint is expected to be filed with a similar set of

defendants.

                    1.     Collusive Price-Hike Drugs in the November 2019 AG
                           Complaint

         480.       Evidence uncovered by the State AGs and cited in the November 2019 AG Complaint

shows that Teva and its co-conspirators engaged in collusive price hikes for over 100 drugs that

generated collusive profits during the Relevant Period:




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                           a.        July 2012 Price-Fixing on Eight Drugs

         481.       On July 31, 2012, Teva collusively increased prices for at least eight generic drugs

after extensive coordination with co-conspirators Alvogen, Breckenridge, Mylan, Sandoz, and

Watson 8:

                  Drug                                               Medical Indications
         Buspirone                 An anti-anxiety drug for prevention of depression and bioequivalent to the branded
         Hydrochloride Tablets     drug BuSpar
         Estadiol Tablets          An estrogen for alleviation of menopause symptoms and bioequivalent to the branded
                                   drug Estrace
         Labetalol HCL Tablets     A beta blocker for the treatment of high blood pressure and bioequivalent to the
                                   branded drug Normodyne
         Loperamide HCL            An anti-diarrhea drug used to treat inflammatory bowel disease and the generic version
         Capsules                  of the branded drug Imodium
         Estradiol/Norethindrone   An estrogen used for the alleviation of menopause symptoms and the generic version
         Acetate Tablets           of the branded drug Activella
         (“Mimvey”)
         Nadolol Tablets           A beta blocker for the treatment of chest pain and high blood pressure and a generic
                                   version of the branded drug Corgard
         Nitrofurantoin MAC        Use for the treatment of urinary tract infections and bioequivalent to the branded drug
         Capsules                  Macrodantin
         Tamoxifen Citrate         Use for the treatment of breast cancer and bioequivalent to the branded drug
         Tablets                   Nolvadex


November 2019 AG Complaint, ¶¶540-559.

         482.       For this batch of price increases, Teva’s Green was responsible for coordinating with

Mylan, Sandoz, and Alvogen; and Rekenthaler was responsible for Watson and Breckenridge. Id.,

¶540. The co-conspirators communicated extensively in July 2012, immediately prior to Teva’s

July 31 price increases:

         •          Mylan for Buspirone Hydrochloride, Estradiol, Loperamide HCL, Nadolol,
                    Nitrofurantoin MAC, Tamoxifen Citrate: Green communicated with Mylan’s Vice
                    President of Sales James Nesta by phone on July 23, 2012 (7 minutes), July 24 (2
                    calls totaling 12 minutes), July 25 (4 minutes), July 26 (4 minutes), July 30 (2 calls
                    over 8 minutes), and July 31 (5 calls totaling 21 minutes).

         •          Alvogen for Nitrofurantoin MAC: After Teva’s Green and Mylan’s Nesta spoke on
                    July 31, 2012, Nesta called his counterpart B.H., a senior sales and marketing
                    executive at Alvogen.



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   In October 2012, Watson acquired Actavis and the entities became Actavis, Inc. in January 2013.
See November 2019 AG Complaint, ¶540 n.3.

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         •          Watson for Buspirone Hydrochloride, Estradiol, Labetalol, Tamoxifen Citrate: On
                    July 11, 2012, Rekenthaler communicated with Watson’s senior sales executive
                    Allan Slavsky twice by phone for total of 10 minutes.

         •          Sandoz for Labetalol and Nadolol: Green communicated with the State AG CW-2 9
                    on July 29, 2012 (2 calls totaling 6 minutes) and July 31 (6 minutes).

         •          Breckenridge for Mimvey: On July 17, 2012, Rekenthaler communicated with
                    Breckenridge’s senior sales executive Dave Neilson by phone for 4 minutes.

Id.

         483.       After Teva’s July 31, 2012 price hikes, the co-conspirators continued to communicate

with each other to maintain prices or implement additional price hikes:

         •          Labetalol: After Teva, Allergan, and Sandoz implemented coordinated price
                    increases in June and July 2012, on October 16, 2012, Teva’s Green spoke with State
                    AG CW-2 from Sandoz by phone twice. Id., ¶555. After his conversation with State
                    AG CW-2 of Sandoz, Green emailed his Teva colleagues Jared Levinson and
                    Theresa Coward and stated that Sandoz was “holding firm with their prices” and that
                    Teva must “[s]tay the course and maintain our higher price.” Id., ¶¶554-555.
                    Coward concurred with “[w]e need to stay the TEVA course.” Id., ¶555. On
                    October 18, 2012, Teva’s Rekenthaler and Allergan’s Slavsky spoke by phone four
                    times to also re-affirm their commitment to maintain elevated pricing. Id., ¶556.

         •          Mimvey: In preparation for Breckenridge’s price hikes on November 14, 2013,
                    Teva’s Rekenthaler and Breckenridge’s Nielson spoke twice on October 14, 2013
                    and once on October 24, 2013 for 26 minutes. Id., ¶799. On November 14, 2013,
                    Breckenridge raised Mimvey’s WAC by 20%-27%. Id., ¶798.

         •          Nadolol: On August 21, 2012, State AG CW-2 at Sandoz spoke to Teva’s Green
                    while Sandoz’s pricing committee was approving Sandoz’s price hike. Id., ¶547. On
                    August 26, the day before Sandoz’s price increases Sandoz’s Senior Director of
                    Pricing and Contracts Armando Kellum called Green. Id. On August 27, 2012,
                    Sandoz followed Teva’s price increase with 746%-2,762% hikes varying by dosage.
                    Id. Teva’s Green acted as an information conduit between Sandoz and Mylan and
                    spoke to Mylan’s Nesta twice on August 28, 2012. Id.

         •          Nadolol: On January 3, 2013, the day before Mylan’s price hike, Teva’s Green
                    spoke to Mylan’s Nesta four times. Id., ¶548. Green again acted as conduit of
                    information and conveyed Mylan’s information to Sandoz’s Kellum at 9:43 a.m. on
                    January 4, 2013, the day of Mylan’s price hike. Id. Kellum immediately passed the

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   State AG CW-2 is one of the StateAGs’ cooperating witnesses. November 2019 AG Complaint,
¶68. State AG CW-2 was a sales and marketing executive at Sandoz until 2013, when he/she left
Sandoz to join Rising Pharmaceuticals, Inc. Id., ¶959.

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                    information to his Sandoz colleagues at 11:28 a.m. that same morning and confirmed
                    that Teva, Mylan, and Sandoz had coordinated Nadolol prices to the same level. Id.
                    In his email, Kellum warned his Sandoz colleagues to be “cautious” on Nadolol,
                    which, according to the State AGs, meant not to “steal business away” from Teva
                    and Mylan “by offering a lower price and taking their market share.” Id. After
                    Kellum sent out his 11:28 a.m. email, State AG CW-2 at Sandoz spoke with Teva’s
                    Green at 11:50am for 15 minutes. Id., ¶549.

         •          Nitrofurantoin MAC: On October 10, 2012, more than two months after Teva’s 90%-
                    95% price hike on different dosages and formulations of Nitrofurantoin MAC,
                    Teva’s Galownia emailed his sales team at 9:49 a.m. about a customer request for
                    price reduction on the drug and asked the team to gather intellligence about current
                    market pricing. Id., ¶¶558-559. Instantly after receiving Galownia’s email, Green
                    called Mylan’s Nesta at 10:01 a.m. and spoke for ten minutes. Id., ¶559.
                    Immediately after the call with Mylan, Teva’s Green called his counterpart B.H. at
                    Alvogen at 10:11 a.m., followed by two more calls that day, and spoke for more than
                    ten minutes. Id. After Green’s calls with Mylan and Alvogen, Teva refused to
                    reduce its pricing. Id.

                           b.      July 3, 2013 Price-Fixing of 21 Generic Drugs

         484.       On July 3, 2013, Teva implemented collusive price hikes on at least 21 generic drugs.

Id., ¶626. On July 2, 2013, the day before the price hikes, Teva’s Patel sent out an agenda for a

conference call with personnel from Teva’s sales and pricing departments. Id. The agenda showed

the 21 drugs affected and the percentage of Average Sales Price increases as reported to Medicare:




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Id.

         485.       In the process of putting together the July 3, 2013 collusive price hike list, Teva

began coordinating with co-conspirators in May 2013. The price increase list initially included only

15 generic drugs, compiled after conversations that Patel, Rekenthaler, and Green had with the

highest-quality co-conspirators that included at least Actavis, Amneal, Glenmark, Lupin, Sandoz,

and Taro:




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Id., ¶¶602-604.

         486.       After a month of constant communication with co-conspirators, Teva’s Patel put

together a spreadsheet entitled “Immediate PI File” for senior executive’s approval. Id., ¶602. On

May 24, 2013, she emailed the spreadsheet to Galownia, who forwarded the list to Cavanaugh for

approval on May 27, 2013. Id., ¶¶602, 605. Cavanaugh approved the price increases on May 28,

2013. Id., ¶605.

         487.       After Cavanaugh approved the initial collusive price hikes list, Teva continued to

coordinate extensively with co-conspirators via phone calls and text messages and the price increase

list grew to 21 drugs:




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Id., ¶¶626-627.

         488.       Details of Teva’s agreements with co-conspirators are outlined below.

                                   (1)     Agreement with Mylan

         489.       For Teva’s July 3, 2013 price hikes, Teva’s Green and Mylan’s Nesta agreed to

collusively increase prices on Nadolol, Cimetidine, Prazosin, and Methotrexate (id., ¶¶636-645):

         •          As discussed above, Nadolol was previously subjected to collusive price hikes by
                    Teva, Mylan, and Sandoz between mid-2012 to early 2013. §III.I.1.a.

         •          On May 6, 2013 Patel emailed to Green a spreadsheet entitled “Price Increase
                    Candidate Competitive Landscape,” with instruction to “gather as much market
                    intelligence as possible” for at least nine Mylan drugs: (i) Amiloride HCL/HCTZ
                    Tablets, (ii) Cimetidine Tablets, (iii) Diltiazem HCL Tablets, (iv) Estradiol Tablets,
                    (v) Flurbiprofen Tablets, (vi) Methotrexate Tablets, (vii) Nadolol, (viii) Prazosin
                    HCL Capsules, and (ix) Tolmetin Sodium Capsules. November 2019 AG Complaint,
                    ¶636. Over the next 4 days, between May 7 and May 10, Green spoke to Nesta at
                    least 8 times, totaling more than 30 minutes. Id., ¶637. Green reported information
                    obtained from his conversations with Nesta to Patel by phone. Id.

         •          On May 14, Patel emailed Green and other Teva national account managers to obtain
                    “price points” from Mylan on additional drugs including Nadolol and Cimetidine in

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                    preparation for potential price hikes. Id., ¶638. Three days later, on May 17, Green
                    spoke to Nesta 6 times totaling at least 35 minutes. Id. While Green was reaching
                    out to Mylan, Patel told another colleague to expect “additional Mylan intel” and
                    Mylan “to take an additional increase” on Nadolol and Cimetidine. Id.

         •          After Green’s conversations with Mylan, on May 29, 2013, Patel asked for
                    Cavanaugh’s approval on Nadolol, Cimetidine, Prazosin, and Methotrexate – on top
                    of her May 28, 2013 approval of the 15 drugs on the preliminary list in the
                    “Immediate PI File.” Id., ¶¶605, 639.

         •          During the week before Mylan and Teva’s price hikes, from June 24 to June 28,
                    Green and Mylan’s Nesta spoke at least ten times, totaling over 80 minutes. Id.,
                    ¶640.

         •          On June 28, 2013, after Green’s call with Mylan’s Nesta, Patel circulated an email
                    about Mylan’s upcoming price increases – before Mylan publicly announced its price
                    increases – demonstrating that Teva had advanced non-public information about
                    Mylan’s price hikes. Id., ¶643.

         •          On July 2, 2013, the day before Teva’s price hikes, a colleague emailed Patel to
                    inquire about Mylan’s pricing on Methotrexate in preparation for Teva’s own
                    increase on the drug. Id., ¶645. Patel responded that Teva was comfortable taking
                    price increase on the drug on July 3 because, even though Mylan’s pricing was a bit
                    low, “we are hearing rumors of them taking another increase.” Id. According to the
                    State AGs, the purported “rumors” were based on conversations between Green and
                    Nestor at the request of Patel on May 6 to gather “market intelligence” relating to
                    Methotrexate and eight other Mylan drugs. Id., ¶¶636-637, 645.

                                   (2)    Agreement with Glenmark

         490.       For Teva’s July 3, 2013 round of price hikes, Patel reached collusive agreement with

State AG CW-5 10 of Glenmark to implement coordinated price hikes on Adapalene Gel,

Fluconazole, Nabumetone, Moexipril HCL, Moexipril HCTZ, and Ranitidine (November 2019 AG

Complaint, ¶¶607-614):

         •          As early as 6:49 a.m. on May 2, 2013, Patel emailed her colleague about having
                    some “high priority items” to add to Teva’s price increase list shortly. Id., ¶607.
                    Within 15 minutes after sending her email, Patel spoke to State AG CW-5 from
                    Glenmark for over 5 minutes. Id. That day, Patel spoke to State AG CW-5 4 times
                    for more than 24 minutes. Id. After speaking with State AG CW-5, at 7:44 a.m.,

10
     State AG CW-5 is one of the State AGs’ cooperating witnesses. November 2019 AG Complaint,
¶68. State AG CW-5 was a “senior-most” executive at Glenmark until s/he resigned in March 2014.
Id., ¶¶483, 596.

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                    Patel emailed the same Teva colleague again about adding six Glenmark drugs to
                    Teva’s price increase list: Adapalene Gel, Nabumetone, Moexipril, Moexipril HCTZ,
                    Pravastatin, and Ranitidine. Id.

         •          Patel continued to coordinate the upcoming price increases with Glenmark as the
                    price increase list grew to include eight Glenmark drugs. Id. On May 3, 2013, Patel
                    communicated with State AG CW-5 via two phone calls and a text message. Id.
                    Patel also had series of calls with Glenmark’s sales and marketing executive Jessica
                    Cangemi on May 3, May 6, and May 7 totaling over 45 minutes. Id. On May 16,
                    2013, the day of Glenmark’s price hikes, Patel spoke with State AG CW-5 for almost
                    6 minutes. Id., ¶609. The day after the price hikes, she spoke again with State AG
                    CW-5 and also with Cangemi. Id.

         •          On May 16, 2013, Glenmark hiked prices on at least eight drugs that were also
                    manufactured by co-conspirator Teva: (i) Adapalene Gel; (ii) Fluconazole tablets;
                    (iii) Moexipril; (iv) Moexipril HCTZ; (v) Nabumetone; (vi) Ondansetron;
                    (vii) Pravastatin; and (viii) Ranitidine. Id., ¶609. All of these drugs were on Teva’s
                    price increase list – with Pravastatin slated for the August 9, 2013 round of price
                    increases instead of the July 3, 2013 hike. Id., ¶609.

         •          Patel also that ensured that Teva did not violate the “fair share” rule of the road.
                    According to the State AGs, on May 15, the day prior to Glenmark’s price hikes and
                    before its price increases were made public, Patel directed her colleagues that she
                    “would like to be made aware of any requests (including in-house RFPs)” on the
                    eight Glenmark drugs to ensure that Teva did not take market share away from
                    Glenmark as a result of Glenmark’s price increases. Id, ¶608.

         •          Indeed, after Glenmark’s price hikes, Teva conformed to its agreement to not
                    undermine its co-conspirator’s efforts by either refusing to bid or providing high bids
                    to Glenmark customers that approached Teva for lower pricing. Id., ¶610. As Patel
                    instructed a colleague in responding to a large wholesaler’s request, “IF we bid, we
                    need to bid high, or we will disturb the market.” Id. Similarly, Teva’s Green told
                    colleagues on May 29, 2013 that he would not want to steal Glenmark’s Fluconazole
                    business “on an increase” even though Teva had plenty of inventory to meet a large
                    retail client’s bid. Id., ¶137. Teva ultimately decided not to bid for the business. Id.

         •          On August 5, 2013, after receiving news of Glenmark’s attempt to poach Teva’s
                    largest customer AmerisourceBergen, Patel called and spoke to State AG CW-5 at
                    Glenmark three times. Id., ¶¶484-486. On August 6, 2013, Patel also spoke to
                    Glenmark’s Vice President of Sales Jim Brown twice for 13 and 15 minutes. Id.,
                    ¶486. According to the State AGs, during these conversations, she “reminded Brown
                    and [State AG] CW-5 of their prior agreement not to poach each other’s customers
                    after a price increase.” Id. After these conversations, on August 6, 2013, Glenmark
                    withdrew its AmerisourceBergen bid and honored the agreement it had reached with
                    Teva not to compete on Moexipril. Id., ¶487. Teva’s Theresa Coward emailed her
                    colleagues to inform them of Glenmark’s bid withdrawal: “[t]oday is a new day and
                    today . . . . ABC has now informed me that they will NOT be moving the Moexipril
                    business to Glenmark.” Id.
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                                   (3)     Agreement with Greenstone

         491.       For Teva’s July 3, 2013 round of price hikes, in addition to reaching agreement with

Glenmark on Fluconazole and other drugs, Patel also reached collusive agreement with Greenstone’s

Robin Hatosy to implement coordinated price hikes on Fluconazole (id., ¶¶611-613, 950-953):

         •          Even though Teva had entered into agreement to coordinate with Glenmark on its
                    price hike, Teva’s Patel was initially ambivalent about adding the Fluconazole to
                    Teva’s price increase list because Greenstone, a not-so-high-quality competitor, was
                    also a manufacturer for the drug. Id., ¶¶611-612. Patel had given Greenstone a
                    mediocre co-conspirator quality score of “0.” Id., ¶950.

         •          Her views about Greenstone changed on May 28, 2013, after a 21-minute phone
                    conversation with Greenstone’s National Account Executive Robin Hatosy, who was
                    Patel’s former colleague at AmerisourceBergen. Id., ¶¶612, 951. According to the
                    State AGs, after the call with Hatosy, on May 29, “Patel promptly added Fluconazole
                    to the Teva price increase list.” Id., ¶612.

         •          On July 3, 2013, when Teva hiked prices for different dosages of Fluconazole by
                    875%-1,570%, Patel spoke to Greenstone’s Hatosy and Glenmark’s CW-5 for 16
                    minutes and 5 minutes, respectively. Id., ¶613. As agreed, Greenstone followed
                    Teva and hiked Fluconazole prices on August 16, 2013. Id.

                                   (4)     Agreement with Taro

         492.       For Teva’s July 3, 2013 round of price hikes, Patel reached collusive agreements with

Taro’s Ara Aprahamian 11 to implement coordinated price hikes on Adapalene Gel and Fluocinonide

0.05% cream, gel, ointment and emollient-based cream (“Fluocinonide”):

         •          Fluocinonide: Patel had planned for Teva’s price increases even before April 11,
                    2013 – her last day at former employer AmerisourceBergen. Id., ¶¶569-570, 602,
                    830. On April 2, 2013, after his conversation with Patel, Taro’s Aprahamian
                    emailed his Chief Operating Officer about Patel. Id., ¶571. Taro’s Chief Operating
                    Officer viewed Patel “as someone who would change” the Teva mindset, which the
                    State AGs described as “being slow to follow price increases.” Id., ¶571. Taro
                    predicted that “[m]aybe the industry will be better for it. Teva can only improve.”
                    Id. Patel reached out to her former colleague Aprahamian and identified
                    Fluocinonide as a coordinated price increase candidate. Id.



11
   Ara Aprahamian, a Vice President of Sales and Marketing at Taro, is named as a defendant in the
November 2019 AG Complaint.

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         •          Adapalene Gel: Patel’s conversations with Taro’s Aprahamian continued after she
                    joined Teva and they also reached agreement to follow Glenmark’s price hike for
                    Adapalene Gel. Id., ¶623. On May 22, 2013, during their first phone call after Patel
                    joined Teva, Patel and Aprahamian agreed to follow Glenmark’s May 16, 2013 price
                    hike for the drug. Id. After the call, Aprahamian instructed his Taro colleague to
                    implement a price increase on the drug on May 23, 2013, which took effect on
                    May 29, 2013. Id., ¶¶623-624. At the same time, Patel made a note in her May 24,
                    2013 “Immediate PI File” price increase spreadsheet about following Glenmark’s
                    Adapalene Gel price hikes. Id., ¶¶623, 643.

         •          Teva increased its price for Adapalene Gel on July 3, 2013. Id., ¶625. At the same
                    time, it also hiked the prices of the four formulations of Fluocinonide by 10%-17%.
                    Id., ¶831.

                                   (5)     Agreement with Sandoz

         493.       For Teva’s July 3, 2013 round of price hikes, Patel reached collusive agreements with

State AG CW-1 12 of Sandoz to implement coordinated price hikes on Nabumetone, Cefdinir Oral

Suspension, Cefprozil, Cefdinir Capsules, Fluocinonide, Nadolol 13, and Ranitidine:

         •          Before Patel started her employment at Teva on April 22, 2013, she and State AG
                    CW-1 at Sandoz already began communication. November 2019 AG Complaint,
                    ¶572. The two co-conspirators exchanged phone calls on April 12, 2013 and
                    April 18, 2013. Id.

         •          On May 1, 2013, Patel started to create a spreadsheet with “Price Increase
                    Candidates,” and one of the first calls she made was to State AG CW-1 at Sandoz.
                    The two co-conspirators spoke for almost 16 minutes on May 2, 2013. Id., ¶¶573,
                    575, 577. According to the State AGs, “Patel told [State AG] CW-1 that she had
                    been hired by Teva to identify drugs where Teva could increase its prices. She asked
                    [State AG] CW-l how Sandoz handled price increases. [State AG] CW-1 told Patel
                    that Sandoz would follow Teva’s price increases and, importantly, would not poach
                    Teva’s customers after Teva increased.” Id., ¶575.

         •          On May 15, 2013 and May 20, 2013, Patel spoke to State AG CW-1 from Sandoz
                    again for 25 minutes and more than 18 minutes, respectively. Id., ¶615. According
                    to the State AGs, during these conversations, Patel received assurance from Sandoz
                    that it would be “bidding high” on Nabumetone – meaning it “would provide cover

12
   State AG CW-1 is one of the StateAGs’ cooperating witnesses. November 2019 AG Complaint,
¶68. State AG CW-2 was a pricing executive at Sandoz. Id.
13
   For Nadolol, Teva and Sandoz already had a successful experience coordinating a year before
and hiked prices by 746% to 2,762% for different formulations of the drug following Teva’s price
hike in July 31, 2012. See §III.I.1.a.

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                    bids that were too high to be successful, so that Sandoz would not take its
                    competitors’ market share even if it did not take its own price increase.” Id.
                    Sandoz’s May 22, 2013 internal email revealed such an agreement. Id., ¶616.

         •          After these conversations with Sandoz, Patel’s “Immediate PI File” spreadsheet
                    included Sandoz drugs Nabumetone, Cefdinir Oral Suspension, Cefprozil, Cefdinir
                    Capsules, Fluocinonide, and Ranitidine as initial price increase candidates. Id., ¶602.

         •          On May 30, Patel called State AG CW-1 at Sandoz after her 8:15 a.m. call with State
                    AG CW-5 at Glenmark to discuss with State AG CW-1 “Glenmark’s increase on the
                    drug Ranitidine and Teva’s plans to follow that increase.” Id., ¶617. At 10:02 a.m.,
                    after speaking with Patel, State AG CW-1 emailed his Sandoz colleague Kellum and
                    recommended that Sandoz triple its Ranitidine pricing “from $1.77 to $5” as he
                    believed “there might be some price increases in the pipeline.” Id., ¶618.

         •          After Teva’s July 3, 2013 price hikes, on July 15, 2013, State AG CW-2 at Sandoz
                    called Teva’s Rekenthaler and asked for “a full comprehensive list of all the Teva
                    price increase drugs – not just those drugs where Teva overlapped with Sandoz” so
                    as to be sure not to compete with Teva for market shares on the drugs. Id., ¶¶646-
                    648. According to the State AGs, the purpose of request was to ensure that Sandoz
                    “could live up to its end of the bargain.” Id., ¶646. Rekenthaler complied with the
                    request but, knowing the impropriety of sharing such commercially sensitive
                    information, sent the price increase list from his Teva email to his personal email
                    before forwarding to State AG CW-2’s personal icloud email account. Id., ¶648.

                                   (6)     Agreement with Upsher-Smith

         494.       For Teva’s July 3, 2013 round of price hikes, Patel reached an agreement with

Upsher-Smith’s Brad Leonard to implement coordinated price hikes on Oxybutynin Chloride:

         •          Patel reached a general agreement with Leonard to implement coordinated price
                    hikes. On April 18, 2013, the week before starting her new job at Teva, Patel and
                    Upsher-Smith’s senior national account executive Brad Leonard began exchanging
                    text messages. Id., ¶633. On April 29, 2013, Patel and Leonard again spoke for
                    close to 20 minutes. Id. According to the State AGs, “[d]uring these initial
                    communications, the two competitors reached an understanding that Teva and
                    Upsher-Smith would follow each other’s price increases.” Id.

         •          On June 13, 2013, Patel’s boss Galownia emailed several Teva colleagues, including
                    Patel, to “share any competitive intelligence you may have or receive” on the drug in
                    order to assess whether to exit the Oxybutynin market. Id., ¶631. On Saturday,
                    June 15, 2013, Patel communicated with Upsher-Smith’s Leonard six times via text
                    messages. Id., ¶632.

         •          Within half a month, Teva hiked the Oxybutynin Chloride prices by 1,100%-1,500%
                    on July 3, 2013, depending on dosages. Id., ¶635. Plaintiffs’ investigation reveals


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                    that Upsher-Smith also hiked Oxybutynin prices by the same amount around the
                    same time as Teva’s price hikes. See App. C.

                                   (7)     Agreement with Lupin

         495.       For Teva’s July 3, 2013 round of price hikes, Patel reached an agreement with

Lupin’s David Berthold to implement coordinated price hikes on Cefdinir Oral Suspension, Cefdinir

Capsules, and Cefprozil Tablets:

         •          Patel had a series of phone conversations with Lupin’s Berthold during the process of
                    putting together her “Immediate PI File” spreadsheet. In the week prior to her
                    May 24, 2013 email to her supervisor Galownia with a preliminary list of price hike
                    candidates, Patel spoke to Lupin’s Berthold almost on a daily basis: 6 times on
                    May 16 for close to 12 minutes, twice on May 17 for over 11.5 minutes, on May 20
                    for close to a minute, on May 21 for more than 11.5 minutes, and 3 times on May 23
                    for over 2 minutes. November 2019 AG Complaint, ¶¶604-605.

         •          According to the State AGs, during these calls, “Teva and Lupin conspired to fìx and
                    raise prices” on Cefdinir Oral Suspension, Cefdinir Capsules, and Cefprozil Tablets.
                    Id., ¶¶603-604, 940. Indeed, after these calls, in her “Immediate PI Files”
                    spreadsheet, Patel noted next to these three drugs Teva’s agreement to “follow
                    Lupin” as the “[r]eason for increase.” Id., ¶602.

                                         (i)      The July 2013 Collusive Price Hikes
                                                  Generated Nearly $1 Billion of Revenue
                                                  per Quarter for Teva

         496.       As alleged in the November 2019 AG Complaint, Teva benefited from “a staggering

$937,079,079 (nearly $1 billion) per quarter” as a result of its July 3, 2013 price hikes on 21 drugs,

Pravastatin price hike in August 2013, and price hike on an additional drug:




Id., ¶722.




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         497.       As a reward for her efforts, within a mere 11 months after Patel began her

employment at Teva, the Company awarded Patel 9,500 stock options and a $37,735 cash bonus in

March 2014. Id., ¶¶572, 723.

                            c.      Enalapril Maleate Price-Fixing and Market Allocation –
                                    Teva, Taro, Mylan, Wockhardt (July 2013)

         498.       Enalapril is an ace inhibitor used to treat congestive heart failure and high blood

pressure and is the generic version of Vasotec®. Id., ¶¶391, 651. Teva’s Green and Patel

coordinated with Wockhardt and Mylan for Teva and Wockhardt’s July 19, 2013 price hike:

         •          On July 10, 2013, Teva’s Galownia emailed his colleagues about a customer’s
                    erroneous claim that Wockhardt was having supply issues for Enalapril. Id., ¶653.
                    He conveyed that, in reality, the drug “was on the Mylan increase communicated last
                    week. They took a ~75% increase to WAC.” Id. Teva’s Green sought to figure out
                    the Enalapril market situation and immediately called Mylan’s Nesta that same day
                    and spoke for 16 minutes. Id., ¶654. They spoke again twice on July 11 and Nesta
                    explained that Mylan and Wockhardt had actually reached an agreement such that
                    Wockhardt would follow Mylan’s price increase on Enalapril. Id. Green quickly
                    emailed the information from Nesta to his Teva colleagues. Id.

         •          On July 12, 2013, Patel spoke with Mylan’s Nesta three times while Green attended
                    the July 12-14, 2013 PBA Health Conference in Overland Park, Kansas. Id., ¶656.
                    Teva’s Jessica Peters emailed Patel and asked if Teva was “planning on increasing
                    [its price for Enalapril].” Id., ¶655. Patel indicated: “I hope to increase, but we’re
                    gathering all the facts before making a determination” and “[w]e’re exploring the
                    possibility of an increase just on this item . . . in the near future. Maybe next week.”
                    Id.

         •          According to the November 2019 AG Complaint, based on information and belief,
                    Green likely spoke with Wockhardt’s Kevin Knarr during the PBA conference’s golf
                    outing on July 12 or at the trade show that night, resulting in Knarr adding Green’s
                    cell number to his cell phone contact list at 12:40 a.m. on July 13. Id., ¶656.
                    Immediately after the conference, Green and Patel spoke 3 times on July 14 for 21
                    minutes and, according to the State AGs, “Green conveyed to Defendant Patel what
                    he had learned from [Kevin Knarr]: Wockhardt planned to follow the Mylan price
                    increase.” Id., ¶657. Patel immediately announced the information via email to a
                    Teva executive early in the morning on the next day: “new developments . . . heard
                    that Wockhardt is taking an increase today or tomorrow.” Id., ¶658.

         •          During the early morning of July 15, 2013, Green and Wockhardt’s Knarr exchanged
                    Enalapril price points over two phone calls. Id. By 9:57 a.m., Knarr had obtained
                    Teva’s price points from Green and sent the information to his colleagues for the
                    upcoming price increase. Id. On July 16, 2013, after she received a voice mail from
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                    Green, Patel emailed her plan for the Enalapril price increase to Galownia, who
                    forwarded it to Cavanaugh. Id., ¶¶659-660. According to the State AGs,
                    “Cavanaugh . . . promptly approved the price increase,” and Patel immediately
                    scheduled a sales and pricing team meeting for an Enalapril “Price Increase
                    Discussion.” Id., ¶660.

         499.       On the same day that Teva was preparing for the coordinated Enalapril price hikes,

Patel called Taro’s Aprahamian and kicked off the market allocation process to maintain elevated

pricing for the drug:

         •          On July 17, 2013, Patel and Aprahamian spoke for 14 minutes. Id., ¶396. On
                    July 19, 2013, the day of Teva and Wockhardt’s price hikes, Aprahamian called
                    Wockhardt’s Vice President of Sales and Marketing Michael Craney’s office and cell
                    phones and spoke for almost 11 minutes. Id. After speaking with Teva’s Patel and
                    Wockhardt’s Craney, Taro’s Aprahamian decided to re-launch Enalapril to go
                    beyond the governmental sales and started negotiating with Teva, Mylan and
                    Wockhardt for its “fair share.” Id., ¶¶395-398.

         •          According to the State AGs, “both Teva and Taro engaged in intensive analyses of
                    how the market should look after Taro’s re-launch so that each competitor would
                    have its desired, or “fair,” share of the market.” Id., ¶398. After speaking with
                    Taro’s Aprahamian for 11 minutes on July 30, 2013 and 4 minutes on July 31, 2013,
                    Patel circulated her analysis to her colleagues and provided instructions on how Teva
                    should respond to customers’ bid requests in light of its ““fair share” targets.” Id.,
                    ¶399. According to the State AGs, “[b]ased on the agreement between the two
                    companies, and in accordance with the industry’s ‘fair share’ code of conduct, Taro
                    understood that it would not take significant share from Teva upon its launch because
                    Teva had a relatively low market share compared to others in the market.” Id.

         •          When Taro reached out to potential customers with bid proposals, Aprahamian
                    would call each co-conspirator beforehand to seek its input. Id., ¶¶402-403. For
                    example, Aprahamian reached out to Patel on December 5, 2013 and spoke with her
                    before submitting a bid proposal to Teva’s customer on December 6. Id., ¶¶403, 405.
                    At the same time and throughout December 2013, Aprahamian also consulted the
                    market leader Mylan by communicating with its senior account executive Mike
                    Aiger. Id., ¶¶401, 405-407. With Aiger’s consent, Taro increased its targeted “fair
                    share” from 15% to 20%. Id., ¶407. On December 31, 2013, Wockhardt’s Craney
                    also reached agreement with Taro’s Aprahamian to concede Morris & Dickson’s
                    Enalapril business to Taro. Id., ¶408.

         •          With customer allocation agreements in place and without the need to compete on
                    pricing to obtain market share, Taro’s Enalapril fact sheet generated on December 5
                    – the day of Aprahamian’s consultation with Patel – showed that Taro’s pricing was
                    set at the same level as Teva’s pricing for the drug and close to Wockhardt and
                    Mylan’s levels. Id., ¶404.

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         •          On May 14, 2014, Teva’s Patel communicated with Taro’s Aprahamian once by
                    phone and eight times by text messages after receiving a request for proposal from a
                    wholesale customer. Id., ¶409. On the same day, she also emailed her colleagues to
                    caution them not to disrupt the Enalapril market agreement: “no bid due to potential
                    market/customer disruption, aka strategic reasons.” Id.

         •          With the “fair share” market allocation in place, the co-conspirators implemented
                    another round of price hikes on Enalapril in August 2014. See §III.I.1.h.

                           d.      August 9, 2013 Price-Fixing of 12 Generic Drugs

         500.       Teva’s August 9, 2013 price hikes included at least 12 drugs – 7 of which involved

co-conspirator Mylan, and also included other co-conspirators such as Actavis, Aurobindo, Apotex,

Glenmark, Heritage, Lupin, Sandoz, Taro, and Zydus:




November 2019 AG Complaint, ¶¶663, 668. The price hike list above was sent to Cavanaugh for

approval on August 7, 2013 – two days before the price increases became effective. Id., ¶668.

         501.       Teva coordinated extensively with co-conspirators in the process of putting together

the August 9, 2013 price hike list and agreeing to price hikes:

         •          Between July 8-11, 2013, Teva’s Patel communicated extensively with at least 6
                    conspirators: (i) Actavis (July 8 with Rogerson), (ii) Aurobindo (July 8 with Grauso
                    for over 8 minutes), (iii) Glenmark (July 8 for over 11 minutes, July 10 by phone and
                    text, July 11 for 7.5 minutes – all with State AG CW-5) , (iv) Heritage (July 9 with
                    Malek for over 21 minutes), (v) Lupin (July 8 for over 8 minutes, July 9 for over 4
                    minutes, July 11 – all with Berthold), and (vi) Sandoz (July 9 for 16.5 minutes,
                    July 10 for 16 minutes – all with State AG CW-1). Id., ¶665.

         •          Teva’s Green acted as the conduit of information between Patel and Mylan: On
                    June 26, 2013, Green and Mylan’s Nesta had an hour-long conversation, followed by
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                    Teva personnel emailing around a list of drugs for potential price increase, which
                    included Mylan drugs Ketorolac Tablets and Ketoprofen Capsules. Id., ¶641.
                    Galownia and Patel responded positively, with Galownia commenting that
                    “Ketoprofen would have a high likelihood of success.” Id. Teva slated the two
                    drugs for price increases on August 9, 2013. Id., ¶642. On July 10, 2013, Green
                    spoke to Mylan’s Nesta again twice for approximately 17.9 minutes. Id., ¶666.
                    Within ten minutes after his last call with Mylan that day, Green called Patel to talk
                    about his conversation with Nesta. Id. Green and Nesta spoke again on July 11,
                    2013 for over six minutes. Id.

         •          On July 11, 2013, Patel distributed a preliminary list by email and stated “it will be
                    put through the review process.” Id., ¶664.

                                   (1)     Amiloride, Diclofenac, Diltiazem, Doxazosin,
                                           Ketoprofen, Ketorolac, and Tolmetin Price-
                                           Fixing

         502.       After Patel distributed the preliminary list, Green continued communication with

Mylan’s Nestor to coordinate the August 2013 price hikes:

         •          On July 22, 2013, Patel emailed Green that she was “seeking intel” on drugs targeted
                    for price hikes and attached a spreadsheet with mostly Mylan drugs, including
                    Amiloride, Diclofenac, Diltiazem, Doxazosin, Ketoprofen, Ketorolac, and Tolmetin.
                    Id., ¶674. The next day, Green called Mylan’s Nesta and spoke for over six minutes.
                    Id., ¶675. Immediately after the call, Green called Patel and conveyed the intel from
                    Mylan. Id.

         •          A week later, on July 30, 2013 Patel emailed another spreadsheet to Green requesting
                    for more “market intel” on the seven Mylan drugs. Id., ¶677. On July 31, Green
                    spoke to Mylan’s Nesta 5 times for close to 18 minutes. On August 1, they spoke
                    again twice for close to seven minutes. Id., ¶678. Within seven minutes of Green’s
                    last conversation with Mylan, he called Patel to convey the intel gathered. Id.

         •          According to the State AGs, “[b]ased on all of these communications between Teva
                    and Mylan (and at times other competitors), Teva was able to successfully increase
                    price on seven different Mylan drugs on August 9, 2013.” Id., ¶680.

         503.       Patel also communicated with Apotex to coordinate price hikes for Doxazosin. A

week after Apotex’s Beth Hamilton’s phone conversation with Patel, on July 23, 2013, Apotex

implemented its price hike for the drug. Id., ¶922. On August 1, 2013, the two co-conspirators

spoke again to coordinate Teva’s price hike. Id. On August 3, 2013, Teva hiked Doxazosin price by

1,053% to match the price levels set by Apotex and Mylan. Id.


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                                   (2)     Pravastatin Price-Fixing

         504.       Although five generic manufacturers – Teva, Apotex, Glenmark, Lupin, and Zydus –

split the market for the cholesterol drug Pravastatin, it was one of the most profitable drugs for Teva.

Id., ¶¶681, 683, 704.

         505.       Teva began coordinating with co-conspirators on Pravastatin price hikes as early as

May 2013:

         •          Glenmark: Patel began with Glenmark and exchanged four calls with State AG CW-
                    5 of Glenmark on May 2, 2013 – speaking for over 24 minutes. Id., ¶¶577, 682.
                    After one of her calls with State AG CW-5, Patel directed her colleague to add
                    Pravastatin to the price increase list. Id., ¶682. Patel continued communicating with
                    Glenmark and spoke with its National Account Executive Jessica Cangemi for more
                    than 36 minutes on May 6 and 9 minutes on May 7. Id., ¶686. According to the
                    State AGs, during Patel’s conversations with State AG CW-5 and Cangemi, she was
                    able to obtain “specific price points from Glenmark for its Pravastatin (and other)
                    price increases – well before the Glenmark increases became public – and
                    documented those price points in her price increase spreadsheet.” Id. By May 8,
                    2013, Teva and Glenmark decided that Glenmark would lead the price hikes as a
                    Teva executive emailed Patel and expressed the expectation to hike Pravastatin price
                    “if/when Glenmark does.” Id., ¶687. On May 16, 2013, Glenmark hiked Pravastatin
                    prices. Id., ¶689.

         •          Apotex: Beginning May 20, 2013, Patel reached out to Apotex – the only remaining
                    Pravastatin competitor that Teva had not reached out to – and reached agreement to
                    a coordinated price hike on the drug. According to the November 2019 AG
                    Complaint, Patel exchanged 5 phone calls between May 20-24 for more than 52
                    minutes with Apotex’s senior sales executive Beth Hamilton – “during which Apotex
                    agreed to raise its price for Pravastatin.” Id., ¶695. Apotex hiked its Pravastatin
                    price by more than 100% on May 28, 2013 – taking its price to approximately the
                    same level as Glenmark after its May 16, 2013 price hike. Id., ¶919.

         •          Immediately after Apotex’s May 28 price hike, Patel spoke to Teva’s executive
                    Cavanaugh and added Pravastatin to the price increase list. Id., ¶697.

         •          Zydus: Green was responsible for coordinating with Zydus. Beginning May 3,
                    2013, Green coordinated the Pravastatin price hikes with Zydus senior executive
                    Michael Keenley – speaking twice on that day with one call lasting at least four
                    minutes. Id., ¶685. Patel indicated to her colleagues that “[t]he only threat was
                    Zydus.” Id., ¶691. Green reached out to Zydus to gain assurance and spoke to Maria
                    Falcone (for 5 minutes on May 15), Michael Keenley (for 3 minutes on May 15 and
                    4 minutes on May 16), and Kristy Ronco (for 16 minutes on May 15). Id., ¶690.
                    After his conversations with Zydus executives, on May 16, Green reported the
                    conversations to his colleagues Rekenthaler and Patel. Id., ¶692.
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         •          Green continued to coordinate with Zydus until Zydus’s price increase on June 14,
                    2013. Id., ¶698. On May 28, the day of Apotex’s Pravastatin price hike, Green and
                    Zydus’s Ronco exchanged six text messages. Id., ¶697. On May 29, the two co-
                    conspirators spoke twice and exchanged four text messages. Id., ¶698. During the
                    week before Zydus’s price hike, Green communicated extensively with Zydus’s
                    Michael Keenley (June 10 call for 2 minutes, June 11 calls for 29 minutes), Maria
                    Falcone (June 9 call for 12 minutes, June 13 call for 16 minutes), and Kristy Ronco
                    (June 11 with one call and three text messages, June 12 calls for 37 minutes, June 13
                    call for over seven minutes). Id., ¶¶699, 933. On June 14, 2013, Zydus hiked its
                    Pravastatin price by more than 150%. Id., ¶933.

         •          Lupin: Patel began coordinating the Pravastatin price hikes with Lupin’s Berthold on
                    May 6, 2013 and spoke with Berthold for more than 22 minutes on May 6 and 10
                    minutes on May 7. Id., ¶686. On May 16, 2013, Patel called Lupin’s Berthold again
                    to gather supply and pricing intelligence and exchanged seven phone calls with him
                    that day. Id., ¶¶690, 693. Lupin increased its Pravastatin price on August 28, 2013.
                    Id., ¶703.

         506.       In the week prior to Teva’s own August 9, 2013 Pravastatin price hike, Green and

Patel communicated with Apotex, Glenmark, Lupin and Zydus by phone to coordinate the price

increase:

                        Teva Executive   Co-Conspirator           Phone Call
              7/31/2013 Nisha Patel      Lupin (David Berthold)   2.5 minutes
               8/1/2013 Nisha Patel      Apotex (Beth Hamilton)   14.6 minutes
               8/1/2013 Kevin Green      Lupin (David Berthold)   2 minutes
               8/2/2013 Kevin Green      Lupin (David Berthold)   over 13 minutes
               8/4/2013 Kevin Green      Zydus (Kristy Ronco)     2 times
               8/5/2013 Kevin Green      Zydus (Kristy Ronco)     once
               8/5/2013 Kevin Green      Lupin (David Berthold)   1 minute
               8/5/2013 Nisha Patel      Glenmark (CW-5)          3 times for more than 21 minutes
               8/6/2013 Nisha Patel      Glenmark (Jim Brown)     2 times for more than 28 minutes
               8/8/2013 Nisha Patel      Lupin (David Berthold)   0.6 minute
               8/9/2013 Nisha Patel      Glenmark (Jim Brown)     2.1 minutes

Id., ¶¶670, 699-700, 921.

         507.       Several days after Teva’s August 9, 2013 price hike, Patel summed up the co-

conspirators’ Pravastatin price increases in an internal email, noting that Kevin Green was

responsible for coordinating with Zydus and that Zydus’s price hike occurred around the time of the

HDMA conference:


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Id., ¶702.

         508.       Patel touted the lucrativeness of Teva’s Pravastatin price hike. According to the State

AGs, Teva’s monumental effort in coordinating with four other co-conspirators on the price hikes

was well worth it as “[o]n August 8, 2013 – the day before the Teva increase – Patel sent her

supervisor K[evin] G[alownia] an estimate of the ‘net upside’ to Teva as a result of certain price

increases. She estimated that, for Pravastatin alone, the ‘net upside after credits’ to Teva was

$674,670,548 per quarter.” Id., ¶704.

                                   (3)     Etodolac Price-Fixing

         509.       Sandoz kicked off the collusive coordination with Teva and Taro for the arthritis

drugs Etodolac Immediate Release (“Etodolac” or “Etodolac IR”) and Etodolac Extended Release

(“Etodolac ER”):

         •          In July 2013, Sandoz had identified a list of drugs targeted for price hikes at the end
                    of July, and State AG CW-3 14 at Sandoz reached out to Taro’s Aprahamian. Id.,
                    ¶¶708-709. The two co-conspirators spoke for 16 minutes on July 16 and 8 minutes
                    on July 17. Id., ¶709. Immediately after his July 17 phone call with Sandoz, Taro’s
                    Aprahamian exchanged calls with Teva’s Patel and spoke for close to 14 minutes that
                    day. Id. The next day, Teva’s Patel reached out to State AG CW-1 at Sandoz, who
                    was responsible for generic drugs pricing, and spoke for over ten minutes. Id., ¶¶68,
                    709. According to the State AGs, “[d]uring this flurry of phone calls, . . . Sandoz,
                    Taro and Teva agreed to raise prices for both Etodolac and Etodolac ER.” Id., ¶710.

         •          On July 22, 2013, Patel included Etodolac IR and Etodolac ER to Teva’s price
                    increase spreadsheet, before any of the co-conspirators made public announcement of
                    price hikes for the drugs. Id., ¶711. Patel’s spreadsheet noted details from her
                    conversations with State AG CW-1 at Sandoz and Taro’s Aprahamian – which
                    included the agreement that Sandoz would lead the price increase on Etodolac IR,
                    Taro would follow by increasing prices for both Etodolac IR and Etodolac ER, and
                    Teva would follow Taro on both drugs. Id.


14
   State AG CW-3 is one of the State AGs’ cooperating witnesses. November 2019 AG Complaint,
¶68. State AG CW-3 was a senior sales executive at Sandoz. Id., ¶¶68, 709.

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         •          According to the State AGs, on July 23, 2013, three days before Sandoz’s price
                    hikes, State AG CW-1 spoke to Teva’s Patel for 14 minutes and “confirmed the
                    details of the Sandoz price increase on Etodolac.” Id., ¶712. At the same time, State
                    AG CW-3 at Sandoz reached out to Taro’s Aprahamian. Id.

         •          Patel continued communicating with Sandoz and Taro after Sandoz’s July 26, 2013
                    in preparation to follow Teva own price increases. Id., ¶¶713-716. On July 29, Patel
                    spoke with State AG CW-1 at Sandoz for over nine minutes. Id., ¶716. On July 30
                    and July 31, she spoke with Taro’s Aprahamian for 11 minutes and 3.5 minutes,
                    respectively. Id. On August 1, she spoke with Aprahamian twice for close to 12.5
                    minutes and with State AG CW-1 at Sandoz for over 14.5 minutes. Id. On August 2,
                    she spoke with State AG CW-1 at Sandoz 3 times for over 14 minutes, followed by 4
                    conversations with Aprahamian for over 6.5 minutes. Id. After speaking with
                    Teva’s Patel on August 1, Taro’s Aprahamian directed his colleagues to start
                    preparing for price hikes on Etodolac and Etodolac ER. Id., ¶717.

         •          According to November 2019 AG Complaint, “Teva and Taro raised prices for
                    Etodolac and Etodolac ER simultaneously, with the price increases effective on
                    August 9, 2013. Both their AWP and their WAC prices were increased to the exact
                    same price points. The increases were substantial. For Etodolac, Teva’s average
                    increase was 414%; for Etodolac ER, the average increase was 198%.” Id., ¶720.

                           e.      April 4, 2014 Price-Fixing of 20 Drugs

         510.       According to the State AGs, “[b]y early 2014, the generic drug industry was in the

midst of a price increase explosion.” Id., ¶795. Teva’s own internal presentation, entitled “2014 US

Pricing Strategy,” recognized the same and noted that the generic drug “[c]ompetitive landscape is

supportive of price increases.” Id. Teva further commented in the presentation that “[m]ature

competitors participate in price appreciation; immature competitors are starting to follow.” Id.

According to the State AGs, this price-hike strategy presentation “document[ed] in many respects

the successful strategy that [Patel] had implemented in 2013, focused on leveraging Teva’s collusive

relationships with high-quality competitors.” Id., ¶741. “This strategy was well known, understood

and authorized by individuals at much higher levels at Teva, including Defendants Cavanaugh and

Rekenthaler, and Patel’s direct supervisor Kevin Galownia.” Id. For 2014, Teva’s collusive price

hike strategy included “[l]ead more increases.” Id.




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         511.       Consistent with the strategy laid out in the “2014 US Pricing Strategy” document,

after extensive coordination with co-conspirators such as Actavis, Apotex, Breckenridge,

Greenstone, Heritage, Lupin, Mylan, Rising, Sandoz, Taro, Versapharm, and Zydus, Teva

implemented collusive price hikes on 20 generic drugs 15 in the April 4, 2014 round of price

increases. Teva itself initiated price hikes on 11 of the collusive drugs, leading price hikes on more

than half of the collusive drugs:




November 2019 AG Complaint, ¶749.

         512.       Teva began strategizing for future collusive price hikes and developing price increase

candidates in December 2013:

15
    Nystatin Tablet and Theophylline Tablet are part of the October 2017 AG Complaint, and Teva’s
collusive activities relating to the two drugs are discussed in §III.G.6.b.(1) and §III.G.6.b.(2) above,
respectively.

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         •          On January 14, 2014 Patel emailed her boss Galownia the preliminary list of
                    “Increase Potential Q1 2014” and stated “[a]ttached is my list of potential items.
                    Note that they still need to go through the review process.” Id., ¶742. The list was
                    developed after communications with co-conspirators in December 2013 to early
                    January 2014. Id., ¶743.

         •          On February 26, 2014, Patel sent out another “PI Candidates” list to her Teva
                    colleague after talking to Actavis, Breckenridge, Glenmark, Greenstone, Heritage,
                    Lupin, Sandoz, and Taro:




                    Id., ¶¶744-745.

         •          In preparation for Galownia’s review and approval of the “PI Candidates” collusive
                    price hikes list, Patel and Rekenthaler coordinated extensively with co-conspirators
                    between March 10-17, 2014. Some of their communiciations with co-conspirators
                    are captured by the phone log below, which included calls and text messages with
                    Actavis, Greenstone, Heritage, Lupin, Rising, Taro, and Zydus:




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                    Id., ¶746.

         •          In addition to the communications above, Rekenthaler also called Versapharm’s
                    senior national accounts executive James Josway on January 22, 2014 and March 7,
                    2014 to secure his agreement to follow Teva’s Ethosuximide Capsule and
                    Ethosuximide Oral Solution price hikes. Id.

         •          On March 17, 2014, Patel emailed a close-to-final spreadsheet of the “PI Candidates”
                    to Galownia, stating: “Once you verify these are acceptable, we can finalize for the
                    increase.” Id.

                                   (1)    Cephalexin Oral Suspension – Teva, Lupin

         513.       Six months before Teva’s April 2014 price hikes, Teva was already coordinating with

co-conspirator Lupin to increase prices of Cephalexin Oral Suspension (id., ¶¶751-760):

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         •          On October 14, 2013, Teva’s Rekenthaler and Lupin’s Berthold spoke for 16 minutes
                    to coordinate Lupin’s November 1, 2013 Cephalexin price increase. Id., ¶754. On
                    October 31, 2013, one day before Lupin’s price hike, Teva’s Teri Sherman and
                    Lupin’s Berthold spoke for five minutes at 9:57 a.m. Id., ¶755. Immediately after
                    hanging up the phone, Teva’s Sherman emailed her colleagues about Lupin’s plan to
                    hike Cephalexin prices to “4-6x’s current price.” Id., ¶756.

         •          Teva agreed not to compete for Lupin’s Cephalexin Oral Suspension business after
                    Lupin’s November 1, 2013 price hike. On November 22, 2013, when a customer
                    requested Teva’s bid on the medication, Teva’s Sherman emailed her colleagues to
                    suggest not submitting a bid as Teva already had majority market share. Id., ¶758.
                    Galownia agreed and forwarded Sherman’s email to Patel to include Cephalexin Oral
                    Suspension to Teva’s collusive price increase list, stating “Nisha, let’s add this to our
                    list to discuss.” Id. Patel immediately called and left a message for Lupin’s Berthold
                    that day. Id. Patel continued to coordinate with Lupin’s Berthold after Galownia’s
                    instruction, and Cephalexin Oral Suspension was on the collusive price hikes list
                    when she forwarded it to Galownia in January 2014. See id., ¶759; §III.I.1.e.

         •          On April 4, 2014, Teva hiked Cephalexin Oral Suspension’s WAC price to the
                    identical level set by Lupin on November 1, 2013, with 90%-185% increases
                    depending on formulation. November 2019 AG Complaint, ¶760.

                                    (2)     Azithromycin Oral Suspension, Azithromycin
                                            Suspension, and Medroxyprogesterone Tablets –
                                            Teva, Greenstone

         514.       Teva and Greenstone began coordinating price hikes for Azithromycin Oral

Suspension, Azithromycin Suspension and Medroxyprogesterone Tablets in November 2013:

         •          On November 16, 2013, Teva’s Patel and Greenstone’s Hatosy exchanged six text
                    messages – followed by a a phone call on November 23. Id., ¶761. According to the
                    State AGs, “[b]ecause Greenstone was a high-quality competitor, and because the
                    companies had successfully conspired to raise prices previously, it was understood
                    between the two that if Greenstone raised prices Teva would follow and would not
                    seek to poach Greenstone’s customers after the increase.” Id.

         •          Teva agreed to refrain from bidding for Greenstone’s customers after Greenstone’s
                    December 2013 announcement of its price increases. On November 23, 2013, the
                    day after Greenstone’s parent company Pfizer approved Greenstone’s Azithromycin
                    Oral Suspension, Azithromycin Suspension and Medroxyprogesterone Tablets price
                    hikes, Teva’s Patel spoke with Greenstone’s Hatosy. Id., ¶762. The two co-
                    conspirators spoke again for more than 7.5 minutes on December 2, 2013, when
                    Greenstone sent out price increase notices to its customers. Id., ¶763. Immediately
                    following these calls, at 2:23 p.m., Teva’s Patel emailed her colleagues and
                    instructed them to take Greenstone’s price hikes “into consideration for bid requests
                    we may receive.” Id., ¶764.

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         •          On December 5, 2013, the two co-conspirators communicated again about
                    coordinating responses to customers’ bid requests, with Teva’s Patel emailing her
                    supervisor Galownia afterwards recommending a “‘decline to bid at this time’
                    approach.” Id., ¶765. Galownia agreed with the strategy and it was implemented
                    multiple customers. Id., ¶¶765-766.

         •          On January 27, 2014, when a wholesaler requested for bids on Azithromycin Oral
                    Suspension, Azithromycin Suspension and Medroxyprogesterone Tablets, Teva’s
                    Patel called Greenstone’s Hatosy. Id., ¶766. After the call, she declined to bid for
                    the business. Id.

         •          On April 4, 2014, three months after Greenstone’s price hikes became effective,
                    Teva hiked prices for Azithromycin Oral Suspension, Azithromycin Suspension and
                    Medroxyprogesterone Tablets. Id., ¶768. As part of the process of coordinating the
                    price hikes with Greenstone, Teva’s Patel and Greenstone’s Hatosy spoke two times
                    that day. See id.; §III.I.1.e.

                                   (3)     Clarithromycin ER Tablets, Tamoxifen Citrate
                                           and Estazolam – Teva, Actavis

         515.       Teva and Actavis began coordinating price hikes on Clarithromycin ER Tablets in

January 2014, when Zydus was planning its exit from the market:

         •          On December 30, 2013, in preparation for Zydus’s exit, Cardinal, a wholesaler,
                    approached Teva for a bid on Clarithromycin ER Tablets. November 2019 AG
                    Complaint, ¶770. On January 2, 2014 at 9:37 a.m., Teva’s customer marketing
                    manager Liz Ricketts recommended that Teva compete for Cardinal’s business and
                    price Clarithromycin ER “10% under market intel pricing for [the] Watson/Actavis
                    product.” Id., ¶771. Instead of competing, within three minutes of receiving the
                    email, Teva’s Patel called Actavis’s Rogerson at 9:40 a.m. to coordinate pricing. Id.,
                    ¶772. After speaking with Rogerson for 17 minutes, Patel replied to Ricketts’ email
                    at 10:12 a.m. with a recommendation to price Clarithromycin ER higher, suggesting:
                    “I think we have an opportunity to go higher. Let’s aim for around $148 net and
                    request feedback.” Id. A week later, on January 9, Patel spoke with Rogerson again
                    for over six minutes at 9:19 a.m. Id., ¶773. At 9:45 a.m., she announced to her
                    colleagues that Teva had an opportunity to take a price increase on the drug: “It looks
                    like Cardinal accepted our bid at the higher price. We may have an opportunity to
                    take some increases.” Id.

         •          On January 14, 2014, Patel emailed Galownia a collusive price hike list entitled
                    “Increase Potentials Q1 2014,” which included Clarithromycin ER as a price hike
                    candidate. Id., ¶¶742, 774.

         •          In March 2014, when Actavis implemented price hikes on basket of drugs, Teva’s
                    Patel and Actavis’s Rogerson communicated again to coordinate price increases on
                    drugs that overlapped with Teva. Id., ¶775. According to the State AGs,
                    “[c]onsistent with the ongoing understanding between these high-quality
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                    competitors, Actavis understood that Teva would follow the increases or, at a
                    minimum, would not poach Actavis customers after the increase.” Id. At 10:31 a.m.
                    on March 14, 2014, Patel and Rogerson spoke on the phone for over 12 minutes. Id.,
                    ¶776. Immediately after hanging up the phone, Patel emailed Teva’s team of
                    National Account Managers (“NAMs”) at 10:47 a.m. to announce Actavis’s price
                    hikes and quickly followed up with a second email instructing her colleagues to add
                    Tamoxifen and Estazolam to Teva’s price hike list. Id., ¶¶777-778. Within two
                    hours after sending her emails, Patel called Actavis’s Rogerson again at 12:37 p.m.
                    and spoke for over five minutes. Id., ¶778. At 12:51 p.m., she emailed her
                    colleagues and stated affirmatively that “Actavis took an increase. We will follow.”
                    Id.

         •          On Monday, March 17, Patel sent a collusive price increases list entitled “PI
                    Candidates” to her boss Galownia and included Tamoxifen Citrate and Estsazolam
                    on the list. Id., ¶779. After sending the list, she called Actavis’s Rogerson and spoke
                    for 19 minutes. Id. On the same day, her colleague Rekenthaler spoke to Actavis’s
                    Falkin for over six minutes and communicated by text messages four times. Id.

         •          On April 4, 2014, when Teva took its price hikes, Teva’s Patel coordinated with
                    Actavis’s Rogerson, and Teva’s Rekenthaler coordinated with Actavis’s Falkin. For
                    Tamoxifen Citrate and Estazolam, Teva’s price hikes took effect even before
                    Actavis’s price hikes took effect on April 15, 2014. Id., ¶¶776, 780.

         •          After the price hikes, in May 2014, Teva avoided competing against Actavis for
                    additional Tamoxifen Citrate and Estazolam businesses. On May 14, Teva declined
                    to bid for wholesaler AmerisourceBergen’s business for “strategic reasons.” Id.,
                    ¶781. According to the State AGs, “strategic” reason was a code “for the fact that
                    there was an understanding in place with a competitor.” Id. Again, on May 21, Teva
                    declined to bid for a large customer’s Tamoxifen Citrate business. Id., ¶782.

                                   (4)     Ketoconazole Cream (Teva, Taro, Sandoz) and
                                           Tablets (Teva, Taro, Mylan, Apotex)

         516.       Teva led the collusive price increases for Ketoconazole Cream and Tablets and was

the first of the co-conspirators to hike prices in April 4, 2014. Id., ¶785. Teva’s Patel added

Ketoconazole to its collusive price increase list in February 2014, entitled “Increase Potentials.” Id.,

¶783. After adding the medications to the list and prior to its price hikes, Teva coordinated with

Taro and Sandoz on the cream, and Taro, Mylan and Apotex on the tablets (id., ¶¶783-785):

         •          On March 20 and 25, Teva’s Rekenthaler reached out to Apotex’s Jeffrey Hampton
                    to coordinate the upcoming price hikes for Ketoconazole. Id., ¶785. On April 4,
                    2014, Rekenthaler spoke to Mylan’s Nesta. Id. On the same day, Patel spoke to
                    Aprahamian of Taro and State AG CW-1 of Sandoz. Id. Indeed, after Patel and
                    Aprahamian’s conversation, Sandoz’s April 4 internal email revealed that Taro had
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                    agreed to follow Teva’s price hikes. Id., ¶786. According to the State AGs, State
                    AG “CW-1 at Sandoz immediately told his colleagues not to bid on any new
                    opportunities for the drugs, and instead put the products on ‘strict allocation’ until
                    Sandoz determined how to proceed.” Id.

         •          Aprahamian also instructed his Taro colleagues not to bid for business in the face of
                    Teva’s April 4 price hikes and promptly followed Teva’s price hikes on both the
                    cream and tablet formulations. Id., ¶¶787-789. On April 7, 2014, when the
                    Minnesota Multistate Contracting Alliance for Pharmacy requested a bid, a Taro
                    sales executive announced in an internal email that “we are not going to bid this
                    product. . . . Taro has 27% share in a 4-player market.” Id., ¶788. According to the
                    State AGs, Taro’s Director of Corporate Accounts Elizabeth Guerrero further
                    directed her colleagues to “lie about the reason” why Taro was not bidding by stating
                    in her email response: “Yes, we are declining, but we need to advise its [sic] due to
                    supply.” Id. The next day, Aprahamian spoke to Teva’s Patel for over 19 minutes
                    and began the process of hiking Ketoconazole Cream and Tablets prices for all
                    Taro’s customers by instructing that price increase notices be sent out on April 16,
                    2014 with new prices taking effect the next day. Id., ¶789.

         •          Sandoz was not able to follow Teva and Taro’s Ketoconazole cream price hikes until
                    October 10, 2014 due to price protection provisions in its customer contracts. Id.,
                    ¶¶790, 793. On October 10, when Sandoz implemented its price hike, State AG CW-
                    1 from Sandoz coordinated with Teva’s Patel by phone and spoke for over three
                    minutes. Id., ¶793.

         •          Teva, Taro and Sandoz’s WAC increased by close to 110% for Ketoconazole cream.
                    Id., ¶794. Teva increased its WAC for Ketoconazole tablets by almost 250%, and its
                    customer pricing soared by an average of 528%. Id.

         •          After Teva and Taro’s Ketoconazole price hikes, the co-conspirators avoided
                    competing for each other’s customers as agreed. Id., ¶791. On May 14, 2014,
                    Teva’s Patel communicated extensively with Taro’s Aprahamian – exchanging one
                    phone call and eight text messages. Id. In the same day, she instructed her
                    colleagues to decline to bid for wholesaler Cardinal’s business after conferring with
                    co-conspirator Aprahamian at Taro, citing “strategic” reasons – the code for having
                    “an understanding in place with a competitor.” Id., ¶¶781, 791. Later in the day,
                    Patel also instructed her colleagues to not bid for wholesaler AmerisourceBergen’s
                    Ketoconazole business for the same reason. Id., ¶792.

                                   (5)     Estradiol/Norethindrone Acetate Tablets
                                           (“Mimvey”) and Cyproheptadine HCL Tablets –
                                           Teva, Breckenridge

         517.       Teva had coordinated successfully with Breckenridge for its Mimvey price hike in

July 2012. See §III.I.1.a. The collusive relationship continued as Teva and Breckenridge engaged in

extensive coordination to implement Breckenridge’s Mimvey and Cyproheptadine HCL price hikes
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in November 2013, followed by Teva’s price hikes for the same drugs in April 2014

(November 2019 AG Complaint, ¶¶797-803):

         •          Teva and Breckenridge began coordinating in October 2013 in preparation for
                    Breckenridge’s Mimvey and Cyproheptadine HCL price hikes. Teva’s Rekenthaler
                    and Breckenridge’s Nielson spoke twice on October 14, 2013. Id., ¶799. On
                    October 24, 2013, they spoke again for 26 minutes. Id. On November 14, 2013,
                    Breckenridge raised Cyproheptadine HCL’s WAC by 150% and customer pricing by
                    400%. Id., ¶798. It also increased Mimvey’s WAC by 20%-27%. Id.

         •          The co-conspirators resumed communication in January 2014 as Teva prepared for
                    its April 4, 2014 Mimvey and Cyproheptadine HCL price hikes. After Teva’s Patel
                    released a list of potential price increase candidates on January 14, 2014 – entitled
                    “Increase Potential Q1 2014” – Teva’s Rekenthaler spoke to Breckenridge’s Nielson
                    for 19 minutes on January 15 to coordinate Teva’s upcoming price increase. Id.,
                    ¶968. On February 7, 2014, while she was creating a more formalized price increase
                    list entitled “PI Candidates,” Patel reached out to Breckenridge’s Cohon and spoke
                    twice totaling six minutes. Id., ¶744. On February 26, 2014, Patel’s “PI Candidates”
                    list showed Mimvey and Cyproheptadine HCL as targeted for a price increase, with
                    notations next to each drug indicating “Follow Breckenridge.” Id., ¶745.

         •          Prior to its April 2014 price hikes, Teva avoided poaching Breckenridge’s
                    Cyproheptadine HCL customers as Teva already had its fair share of 54% of the
                    market. Id., ¶801. For example, on February 7, Patel reached out to Breckenridge’s
                    Cohon and spoke twice by phone. Id. After their conversations, Teva declined to
                    compete for Breckenridge’s customer’s Cyproheptadine HCL business by refusing to
                    provide a bid. Id.

         •          For Mimvey, where Teva did not have its fair share, Teva’s five-months delay in
                    following Breckenridge’s price hike enabled the co-conspirators to “level the playing
                    field” by allowing Teva to take some of Breckenridge’s Mimvey business. Id., ¶802.

         •          On April 4, 2014, Teva implemented WAC increases of 26% on Mimvey and 95%
                    on Cyproheptadine HCL, which took pricings on the drugs to the same levels set by
                    Breckenridge in November 2013. Id., ¶803.

                                   (6)     Diflunisal and Hydroxyzine Pamoate – Teva,
                                           Rising

         518.       In August 2013, State AG CW-2 left Sandoz, joined Rising, and brought his collusive

relationships and activities with him to his new employer. Id., ¶¶804, 959. Rising immediately

became a more appealing co-conspirator for Teva as Teva’s Rekenthaler had a long-standing




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relationship with State AG CW-2, dating back to State AG CW-2 tenure at Teva years ago prior to

his employment at Sandoz. Id.

         519.       State AG CW-2 of Rising began coordinating with Teva’s Rekenthaler as early as

December 2013 to facilitate Teva’s 182% contract price hike on Diflunisal and 165% contract price

hike on Hydroxyzine Pamoate on April 4, 2014 (id., ¶¶806, 961):

         •          In December 2013, the Hydroxyzine Pamoate market was already rife with collusive
                    activities because Rising had entered the market in October 2013 and engaged in
                    market allocation activities with Teva. Id., ¶960. After State AG CW-2 reached out
                    to Teva’s Rekenthaler and Green, Teva ceded a large customer to Rising to facilitate
                    its entry. Id. According to the State AGs, to reciprocate the favor, State AG CW-2
                    and Teva’s Rekenthaler spoke by phone for 14 minutes on December 5, 2013 to
                    assist Teva in putting together an “initial list of ‘Increase Potentials,’” which was
                    sent to Teva’s Galownia to review on January 14, 2014. Id., ¶806.

         •          In March 2014, State AG CW-2 and Rekenthaler spoke by phone three times to
                    coordinate Teva’s price hikes – two times on March 17 and one time on March 31.
                    Id., ¶961. According to the State AGs, “[i]n effort to ‘play nice in the sandbox,’ and
                    to further the ongoing understanding between the two competitors,” on March 17,
                    State AG CW-2 gave Rekenthaler advance notice that Rising was planning to
                    temporarily leave the Diflunisal market. Id., ¶960. Teva, by hiking prices on the
                    drug, would enable Rising to re-enter the market at heightened pricing. Id., ¶809.
                    Four days before Teva’s price hikes, on March 31, State AG CW-2 and Rekenthaler
                    again spoke to each other by phone. Id., ¶808. Teva hiked its Diflunisal WAC price
                    by 30%. Id.

         •          Rising temporarily exited the Diflunisal market in mid-July 2014 – four months after
                    State AG CW-2’s advance notice to Teva and more than three months after Teva’s
                    price hikes. Id., ¶809. State AG CW-2 called Rekenthaler when Rising was exiting
                    the market. Id. According to the State AGs, “[c]onsistent with the fair share
                    principles and industry code of conduct among generic drug manufacturers discussed
                    more fully above, [State AG] CW-2 and . . . Rekenthaler spoke by phone on several
                    occasions in advance of Rising’s re-entry to identify specific customers that Rising
                    would obtain and, most importantly, to retain the high pricing that Teva had
                    established through its price increase on April 4, 2014.” Id. Indeed, when Rising
                    returned to the market on December 3, 2014, its Diflunisal WAC was set at the
                    identical level established by Teva on April 4, 2014. Id.

                                   (7)     Ethosuximide Capsule and Oral Solution – Teva,
                                           Versapharm

         520.       In May 2013, when Patel created Teva’s co-conspirator ranking, Versapharm had a

score of -2, which signified its status as a low-quality co-conspirator. Id., ¶812. As such, when Patel
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added Ethosuximide capsule and oral solution to Teva’s list of “PI Candidate” after Rekenthaler call

with Versapharm’s Senior Account Executive James Josway on January 22, 2014, she noted that

Versapharm’s quality as a co-conspirator needed to be tested:




Id. Prior to Rekenthaler’s January 22 conversation with Versapharm, Ethosuximide Capsule and

Oral Solution were not on Teva’s list of price increase candidates as the drugs were not in the mid-

January 2014 version of the list sent to Patel’s boss Galownia. Id., ¶811.

         521.       In March 2014, Teva and Versapharm continued to coordinate their price hikes on the

drugs. Rekenthaler and Josway spoke again on March 7, and less than a month later, Teva increased

Ethosuximide capsule and oral solution WAC prices by 87% and 20%, respectively, and contract

prices by close to 322% and 81%, respectively. Id., ¶813. Five days after Teva’s April 4 price

hikes, Versapharm followed and raised prices on both drugs to close to the identical levels set by

Teva. Id., ¶814.

         522.       After the price hikes, Rekenthaler and Josway never spoke again by phone. Id., ¶815.

                                   (8)    Pentoxifylline Price Fixing – Teva, Apotex

         523.       When Senior Executive Jeffrey Hampton joined Apotex in 2013, it was one of Teva’s

lowest-ranked co-conspirator with a score of -3. Id., ¶¶917, 923. A year after he joined, in

May 2014, Apotex became a high-quality co-conspirator with a score of +2. Id.

         524.       Teva’s Rekenthaler communicated with Hampton regularly after he joined Apotex –

the two had never communicated before that – and Apotex proved to be a high-quality co-

conspirator by coordinating on Teva’s April 2014 Pentoxifylline price increase. Id., ¶923. During

the month prior to Teva’s Pentoxifylline price hikes, Rekenthaler and Hampton spoke frequently,

including two phone calls on March 7, one phone call on March 20, and another phone call on

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March 25. Id., ¶924. According to the State AGs, “during these calls, . . . Rekenthaler gathered

Apotex’s pricing plans and conveyed them to . . . Patel.” Id. Teva hiked its Pentoxifylline price by

close to 69% on April 4, 2014. Id.

                           f.      April 15, 2014 Baclofen Price-Fixing and Market
                                   Allocation – Teva, Upsher-Smith, Lannett

                                   (1)     Baclofen Price-Fixing

         525.       Teva had assigned a high co-conspirator score of +2 to Upsher-Smith in 2013 based

on Patel’s relationship with Upsher-Smith’s National Account Executive Brad Leonard. Id., ¶823.

Patel communicated with Leonard even before she started at Teva – during the week prior to her

employment at Teva – and followed by a 20-minutes call during her first week at Teva on April 29,

2013. Id. According to the State AGs, “[d]uring these initial communications, . . . Patel and [Brad

Leonard] reached an understanding that Teva and Upsher-Smith would follow each other’s price

increases, and not compete for each other[‘]s customers after a price increase.” Id.

         526.       This understanding drove the collusive price hikes on Baclofen, with Teva and

Upsher-Smith increasing prices to the same level and avoiding competing for customers:

         •          On February 21, 2014, Upsher-Smith hiked Baclofen WAC by 350%-420% on
                    different formulations of the drug. Id., ¶¶818, 825.

         •          With an agreement in place with Upsher-Smith, during the two months between
                    Upsher-Smith and Teva’s price hikes, Teva did not pursue Upsher-Smith’s customers
                    in accordance to their agreement. Id., ¶826.

         •          On April 15, 2014, Teva followed with 350%-447% WAC and SWP price hikes and
                    took its Baclofen prices to the identical levels set by Upsher-Smith. Id., ¶¶818, 825.
                    After Teva’s price hikes, Upsher-Smith’s Senior Director of Sales and Marketing Jim
                    Maahs touted Baclofen’s new status as a very profitable product in an internal email
                    and stated that “Teva matched our pricing.” Id., ¶827.

         •          After its price hikes, Teva continued to avoid competing against Upsher-Smith to
                    allow its co-conspirator to pick up its fair share from a low 6.8% market share as
                    competitor Qualitest exited the market. Id., ¶¶819, 826. For example, in a June 11,
                    2014 email to Galownia, Patel suggested: “Dynamics have changed, but I think we
                    need to see if Upsher wants to pick up share. We have an unreasonably high share.”

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                    Id., ¶826. Galownia replied: “I think this is the right thing to do. . . . we should just
                    give [a former Qualitest customer] a high bid.” Id.

                                    (2)     Baclofen Market Allocation

         527.       Within two months after Teva’s Baclofen price hikes, Lannett entered the market for

the drug, and, according to the State AGs, “Teva and Lannett colluded so that Lannett could enter

the market seamlessly without significantly eroding the high prices in the market” (id., ¶828):

         •          On or before June 12, 2014, in preparation for its Baclofen launch, Lannett’s senior
                    sales executive Kevin Smith sent an email to his colleagues, stating: “Baclofen
                    launch in four weeks, need market intelligence. We can only take a 10% market
                    share.” Id., ¶497. Lannett’s National Accounts Director Tracy Sullivan immediately
                    reached out to Teva’s Patel via Facebook Messenger at 11:16 a.m. on June 12, 2014.
                    Id., ¶498.

         •          Within less than 15 minutes, Patel reached out to Lannett’s Sullivan for the first time
                    since joining Teva and had a 7-minute phone conversation. Id. During the call,
                    Sullivan told Patel about Lannett’s plan to enter the Baclofen market and confirmed
                    their conversation through another Facebook Messenger message that same day and
                    agreed to “touch base” again before the launch that was coming “[d]efinitely Mid
                    July.” Id.

         •          Indeed, in July 2014, Teva and Lannett touched base to coordinate Lannett’s
                    Baclofen market entry and price maintenance. On July 1, Patel and Sullivan had
                    another 7-minute phone call. Id., ¶499. On July 11, Patel and Sullivan exchanged
                    text messages and a phone call. Id., ¶500. On July 22, Teva conceded a customer’s
                    Baclofen business to Lannett by refusing to exercise its right of first refusal. Id.,
                    ¶501. Teva decided not to compete even though the pricing was only slightly below
                    Teva’s own pricing. Id. Patel stated in an internal email that she agreed with the
                    decision to concede because “I believe this is Lannett,” and Teva’s tracking database
                    showed that the Baclofen concession was due to a “Strategic New Market Entrant.”
                    Id.

         •          In accordance with its agreement with Teva, when Lannett entered the Baclofen
                    market, it set the WAC price for the drug at the identical level set by Teva in its
                    April 15, 2014 price hikes. Id., ¶502.

                            g.      July 1, 2014 Fluocinonide Price-Fixing – Teva, Sandoz,
                                    Taro, Actavis

         528.       Because Fluocinonide is one of the most widely used dermatological drugs for the

treatment of psoriasis, dermatitis, and eczema, Teva decided to take a second bite at the apple by

implementing a second round of price increases on the drug. Id., ¶829. Similar to the first round of

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price hikes, Teva’s collusive activities in the second round also involved the 0.05% cream, 0.05%

emollient-based cream, 0.05% gel, and 0.05% ointment formulations (collectively, “Fluocinonide”).

Id., ¶830; § III.I.1.b. But this time around, instead of the 10%-17% price increases in July 2013, the

co-conspirators hiked prices by multiples (see, e.g., November 2019 AG Complaint, ¶¶831-832,

845):




         529.       Teva began coordinating for the second round of Fluocinonide massive price

increases with co-conspirators as early as May 2014:

         •          On May 14, 2014, Patel and Taro’s Aprahamian communicated via a phone call and
                    eight text messages. Id., ¶834. During these communications, Aprahamian
                    conveyed to Patel about Taro’s plan to hike Fluocinonide prices. Id. After her
                    communications with Taro, Patel provided data to a colleague to create a spreadsheet
                    with price hike candidates, which included Fluocinonide. Id., ¶¶835-836. The
                    spreadsheet contained a notation of “Follow/Urgent” next to each Fluocinonide
                    formulations. Id.

         •          On June 3, 2014, Taro implemented its Fluocinonide price hike for all four
                    formulations. Id., ¶832.

         •          After Taro’s price hikes, Patel repeatedly stressed the need to act responsibly as Taro
                    was a high-quality co-conspirator. For example, when CVS requested bids for
                    Fluocinonide on June 3, the day of Taro’s price hikes, Patel promptly communicated
                    with Taro’s Aprahamian five times by text. Id., ¶¶836, 838. In the afternoon, she
                    emailed her colleagues that she was “still working on intel” on the Taro price hikes,
                    noting that Taro was a “high quality competitor” and she would provide “guidance”
                    tomorrow. Id., ¶838. After her email, she spoke with Aprahamian for close to seven
                    minutes. Id.

         •          On the morning of June 4, she communicated with Aprahamian again – twice by text
                    and once by phone for over 25 minutes. Id., ¶839. At 10:44 a.m., she emailed her
                    boss Galownia – emphasizing her preference to discuss verbally the “intel” and again
                    stressing that “Taro is a high quality competitor – I think we need to be responsible
                    where we have adequate market share.” Id.



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         •          When Walmart requested Fluocinonide bids that day, she again emphasized the
                    quality of Taro as a co-conspirator and the need to be responsible. Id., ¶840.
                    Ultimately, Teva refused to provide bids to Walmart. Id.

         •          In the middle of June 2014, Teva began to prepare for its July 1, 2014 price increase.
                    On June 17 and June 19, Patel and Taro’s Aprahamian spoke for approximately 15
                    and 14 minutes, respectively, where she obtained additional “intel” from
                    Aprahamian. Id., ¶841. Her “intel” was recorded in a spreadsheet, which, according
                    to the State AGs, “contained specific Taro customer price points for the different
                    formulations of Fluocinonide for each of the various classes of trade (i.e.,
                    wholesalers, chain drug stores, mail order and GPO).” Id. These customer contract
                    price points were not public information. Id.

         •          Around the same time, Taro’s Aprahamian also spoke to State AG CW-3 at Sandoz
                    seven times by phone between June 17 to 20. Id., ¶842. According to the State AGs,
                    on June 20, 2014, “Aprahamian dictated to [State AG] CW-3 over the telephone
                    specific Taro contract price points for each of the same classes of trade that he had
                    provided to . . . Patel, for Fluocinonide ointment, Fluocinonide gel, and various other
                    drugs that Taro had increased that overlapped with Sandoz. CW-3 took very detailed
                    notes of the pricing information . . . .” Id.

         •          On June 26, 2014, Teva’s sales and pricing employees held a conference call at
                    3:00 p.m. to “discuss the upcoming price increase for all Fluocinonide products”
                    targeted for effective date July 1. Id., ¶843. Patel and Rekenthaler were among the
                    attendees. Id. The next day, Patel and Aprahamian communicated by phone for
                    close to 13 minutes. Id.

         •          On July 1, 2014, Teva hiked Fluocinonide WAC prices to the same levels set by Taro
                    during its June 3, 2014 price hikes. Id., ¶844.

         •          On the same day, Patel and State AG CW-1 at Sandoz exchanged 7 phone calls,
                    totaling almost 31 minutes. Id., ¶844. According to the State AGs, “[d]uring those
                    calls, . . . Patel informed [State AG] CW-1 of the Teva price increase and provided
                    specific price points to CW-1 so that Sandoz would be able to follow the price
                    increase.” Id.

         •          On October 10, 2014, Sandoz hiked Fluocinonide gel WAC prices by 491%. Id.,
                    ¶845. On the same day, Patel and State AG CW-1 spoke for over three minutes. Id.

         •          Around the same time, Actavis entered the Fluocinonide 0.05% cream market. Id.,
                    ¶846. Between December 3-18, 2014, Teva’s Rekenthaler and Actavis’s Marc
                    Falkin exchanged at least 14 phone calls, totaling close to half an hour: 5 calls on
                    December 3, 3 calls on December 9, 3 calls on December 10, 2 calls on
                    December 17, and 1 call on December 18. Id.

         •          On December 19, Actavis hiked its Fluocinonide cream prices to the same levels set
                    by Teva and Taro, even though it did not have much market share at the time. Id.


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                           h.      August 28, 2014 Price-Fixing on 22 Drugs

         530.       Teva hiked prices on 22 drugs during the August 28, 2014 round of price-fixing – co-

conspirators included at least Actavis, Amneal, Apotex, Aurobindo, Greenstone, Mylan, Par,

Sandoz, Taro, and Zydus (id., ¶847):




         531.       Shortly before Teva’s August 28, 2014 price hikes, the co-conspirators met at the

August 23-26, 2014 NACDS annual event. Teva’s Cavanaugh, Patel and Rekenthaler attended the

conference along with Taro’s Aprahamian, Actavis’s Rogerson and Falkin, Zydus’s Green, and

Mylan’s Nesta, among others. See App. B.

         532.       Evidence uncovered and cited in the November 2019 AG Complaint shows Teva’s

extensive coordination with co-conspirators prior to and after the price hikes.




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                                   (1)     Amiloride HCL/HCTZ Tablets, Cimetidine
                                           Tablets, Diclofenac Potassium Tablets, Enalapril
                                           Maleate Tablets, Flurbiprofen Tablets,
                                           Fluvastatin Sodium Capsules, Loperamide HCL
                                           Capsules, Prazosin HCL Capsules,
                                           Prochlorperazine Tablets, and Sotalol
                                           Hydrochloride Tablets Price Fixing – Teva,
                                           Mylan

          533.      Teva began coordinating with Mylan in April 2014 for its August 28, 2014 price

hikes:

          •         Beginning April 17, 2014, Mylan implemented price hikes on numerous drugs for
                    effective date in mid-May. November 2019 AG Complaint, ¶854. According to the
                    State AGs, “[p]ursuant to the established understanding between the two companies,
                    Teva immediately decided that it would follow the Mylan increases.” Id., ¶855.
                    Indeed, on April 21, 2014, Patel forwarded two Mylan-created spreadsheets with
                    Mylan’s WAC and AWP pricing levels for the price-hiked drugs to other Teva
                    colleagues and stated: “Our intention is to follow Mylan on this increase. Below,
                    you will see the list of increase items where Teva overlaps with Mylan.” Id., ¶¶855-
                    856.

          •         Patel’s list included Amiloride HCL/HCTZ Tablets, Cimetidine Tablets, Enalapril
                    Maleate Tablets, Fluvastatin Sodium Capsules, Loperamide HCL Capsules, Prazosin
                    HCL Capsules, and Sotalol Hydrochloride Tablets. Id., ¶856.

          •         On May 9, 2014, Patel emailed Teva’s team of National Account Managers to gather
                    “Mylan price increase intelligence” in advance of Teva’s own price hikes. Id., ¶859.
                    After receiving Patel’s 9:55 a.m. email, Rekenthaler reached out to Mylan’s Nesta at
                    11:23 a.m. and spoke for close to eight minutes. Id. On May 13, Teva’s Teri
                    Sherman emailed a Mylan-created spreadsheet entitled “Mylan-Price List A” to
                    Patel. Id., ¶861. On May 20, Rekenthaler spoke to Nesta again. With such Mylan
                    “intel,” Patel asked a colleague to create a price hike list with the Mylan drugs and
                    price points in a spreadsheet tab labeled as “follow.” Id., ¶862.

          •         On May 27, 2014, Rekenthaler spoke to Mylan’s Nesta again twice for at least four
                    minutes. Id., ¶863. On May 28, Teva’s comprehensive list of price hike drugs
                    included seven drugs for which Teva will follow Mylan’s price hikes: Amiloride
                    HCL/HCTZ Tablets; Cimetidine Tablets; Enalapril Maleate Tablets; Fluvastatin
                    Sodium Capsules; Loperamide HCL Capsules; Prazosin HCL Capsules; and Sotalol
                    Hydrochloride Tablets. Id. Next to each drug, Teva included comments
                    “Follow/Urgent” and “Follow Mylan Increase.” Id. For three Mylan drugs –
                    Diclofenac Potassium, Flurbiprofen, and Prochlorperazine Tablets – Teva would lead
                    the price hikes. Id.

          •         Between August 4-21, 2014, Rekenthaler spoke to Mylan’s Nesta at least 8 times for
                    over 49 minutes to coordinate Teva’s August 24 price hikes: twice on August 4 for
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                    7 minutes, August 7 for 14 minutes, twice on August 11 for 8 minutes, twice on
                    August 18 for 14 minutes, and August 21 for at least 6 minutes. Id., ¶864.

         •          After speaking with Rekenthaler on August 7 and 11, on both days, Mylan’s Nesta
                    promptly reached out to Mark Dudick of Cardista Pharmaceuticals – another
                    manufacturer of Prochloporazine – to coordinate the price hikes for the drug. Id.,
                    ¶852.

         •          On March 4, 2015, Mylan followed Teva’s August 28, 2014 Diclofenac Potassium
                    Tablets price hikes after Mylan’s Nesta coordinated with Rekenthaler on
                    February 18-19, 2015 through three phone calls. Id., ¶887.

                                   (2)     Carbamazepine Chewable Tablets,
                                           Carbamazepine Tablets, Clotrimazole Topical
                                           Solution and Warfarin Sodium Tablets –Teva,
                                           Taro, Zydus

         534.       Teva began coordinating its August 28, 2014 Carbamazepine Chewable Tablets,

Carbamazepine Tablets, Clotrimazole Topical Solution and Warfarin Sodium Tablets price hikes

with Taro as early as May 2014 and began coordinating with Zydus on Warfarin in June 2014:

         •          After Patel communicated with Taro’s Aprahamiuan by text eight times and by
                    phone for over four minutes on May 14, 2014, she provided the data obtained from
                    Taro to Teri Sherman to include in a price hike spreadsheet. Id., ¶¶834-835, 867. On
                    May 28, 2014, Sherman provided a spreadsheet entitled “Future Price Increase
                    Candidate Analysis” to Patel, which included Taro drugs Carbamazepine Tablets and
                    Clotrimazole Topical Solution with a notation “Follow/Urgent.” Id., ¶¶835, 867.

         •          On June 3, 2014, after Taro hiked the prices of Carbamazepine Chewable Tablets,
                    Carbamazepine Tablets, Clotrimazole Topical Solution, Warfarin Sodium Tablets,
                    and other drugs, Patel texted Taro’s Aprahamian five times. Id., ¶¶835, 868. She
                    followed up with a 7-minute call with Aprahamian that evening, and two text
                    messages and a 26-minute call the next morning. Id., ¶¶868-869. After her
                    communications with Aprahamian, she emailed her boss Galownia and stated that
                    she had additional “intel” to verbally discuss with him about the Taro price hikes.
                    Id., ¶869.

         •          In addition to communicating with Taro, Teva also reached out to co-conspirator
                    Zydus to coordinate Zydus’s June 13, 2014 Warfarin price hike. Id., ¶¶872-873. On
                    June 2, 2014, both Rekenthaler and Patel reached out to Zydus’s Kevin Green and
                    spoke to him for two minutes and close to six minutes, respectively. Id., ¶880. On
                    June 11, 2014, Rekenthaler and Patel again reached out to Zydus’s Green and spoke
                    to him for 8 minutes and over 14.5 minutes, respectively. Id., ¶¶872, 880. Patel then
                    reached out to Taro’s Aprahamian the next day and spoke for more than nine
                    minutes. Id., ¶872. After speaking with Taro, Patel called Zydus’s Green on June 13
                    and spoke for over 16.5 minutes. Id.
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         •          On June 13, 2014, after Zydus’s Warfarin price hike, Patel responded to a
                    colleague’s email about a customer’s bid request for the drug with: “we intend to
                    follow [the] Taro and Zydus increase price.” Id., ¶873. Later that day, she emailed
                    her colleagues a Teva price-hikes list – which included Carbamazepine Chewable
                    Tablets, Carbamazepine Tablets, Clotrimazole Topical Solution, and Warfarin
                    Sodium Tablets with comment “Follow/Urgent - Taro” – and instructed “we should
                    not provide any decreases on these products” to avoid competing for Taro’s or
                    Zydus’s customers. Id.

         •          On June 17, 2014, Patel spoke with Taro’s Aprahamian for over 15 minutes. Id.,
                    ¶874. The next day, she re-distributed the Teva price-hikes list to the sales team on
                    to inform them that “we are taking our increase plans into consideration and are
                    bidding on new business at the planned increase price where our WAC allows.” Id.
                    She further stated that Teva’s decision took into consideration the “quality of
                    competitors” among other things. Id.

         •          After her email to the Teva sales team, Patel communicated diligently with Taro’s
                    Aprahamian and Zydus’s Green simultaneously in advance of Teva’s price hikes:




                    Id., ¶875.

         •          The day before Teva’s August 28, 2014 price increases, Patel reached out to Taro’s
                    Aprahamian and Zydus’s Green and spoke for 2.5 minutes and 39 minutes,
                    respectively, to discuss the price hikes. Id., ¶848.

                                   (3)     Topiramate Sprinkle Capsules – Teva, Zydus,
                                           Actavis

         535.       Teva began coordinating with co-conspirators on price hikes relating to the seizure

and migraine drug Topiramate Sprinkle as early as June 2014 (id., ¶¶878, 927-930):

         •          Four days before Zydus’s June 13, 2014 Topiramate Sprinkle price hike, on June 9,
                    Patel and Zydus’s Green spoke four times. Id., ¶¶928-929. On June 11, both
                    Rekenthaler and Patel communicated with Zydus’s Green by phone, for 8 minutes
                    and over 14.5 minutes, respectively. Id., ¶¶880, 930. On the same day, Rekenthaler
                    also called Actavis’s Marc Falkin twice – Actavis was the third manufacturer of the
                    drug. Id., ¶¶878, 881.



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         •          On the day of Zydus’s price hike, Patel spoke with Green for over 16.5 minutes. Id.,
                    ¶880. After Patel’s June 13, 2014 conversion with Zydus’s Green, she included
                    Topiramate Sprinkle to Teva’s price hike list, noting “Follow/Urgent – Zydus.” Id.,
                    ¶881.

         •          Approximately a week before Teva’s August 28, 2014 Topiramate Sprinkle price
                    hike, Teva communicated extensively with co-conspirators Zydus and Actavis. On
                    August 18, Rekenthaler spoke to Actavis’s Falkin twice. Id., ¶848. On August 20,
                    Rekenthaler spoke to Zydus’s Green twice. Id., ¶930. On August 24 and 26,
                    Rekenthaler spoke to Actavis’s Falkin once and four times, respective. Id., ¶848. On
                    the day before Teva’s price hike, Patel spoke to Zydus’s Green for three minutes and
                    exchanged three calls with Actavis’s Rogerson. Id., ¶¶848, 929. On the day of the
                    price hike, Rekenthaler coordinated with Actavis’s Falkin. Id., ¶848.

                                   (4)    Amoxicillin/Potassium Clavulanate Chewable
                                          Tablets, Diclofenac Potassium Tablets, Penicillin
                                          V Potassium Tablets, Desmopressin Acetate
                                          Tablets – Co-Conspirators Followed Teva’s
                                          Price Hikes

         536.       While Teva communicated extensively with co-conspirators prior to the August 28,

2014 price hikes, the Company continued these communications after its price hikes to coordinate

the co-conspirators’ price hikes:

         •          Sandoz: For Amoxicillin/Potassium Clavulanate Chewable Tablets, Diclofenac
                    Potassium Tablets, and Penicillin V Potassium Tablets, Teva coordinated its
                    August 28, 2014 price hikes with Sandoz – with Patel reaching out to State AG CW-
                    1 on August 11, 26, 27 (twice), and 28. Id., ¶848. When Sandoz followed Teva’s
                    price hikes on October 10, 2014, Patel again communicated with State AG CW-1 to
                    discuss Sandoz’s price increases for more than three minutes. Id., ¶884.

         •          Actavis: For Desmopressin Acetate Tablets, Disopyramide Phosphate Capsules,
                    Flutamide Capsules, Teva coordinated its August 28, 2014 price hikes with Actavis –
                    with Patel reaching out to Actavis’s Rogerson three times by phone on August 27
                    and Rekethaler speaking to Actavis’s Falkin twice on August 18, once on August 24,
                    four times on August 26, and once on August 28. Id., ¶848.

         •          On October 15, 2014, when a customer contacted Teva on Desmopressin Acetate,
                    Patel lamented to her colleagues about the difficulty in tracking Teva’s collusive
                    arrangements and stating “I can’t quite recall if Actavis followed us or we followed
                    them.” Id., ¶886.

         •          When Actavis followed Teva’s price hikes for Desmopressin Acetate in
                    December 2014, Rekenthaler spoke to Actavis’s Falkin on November 18, 21, and 25
                    to discuss the price increases. Id., ¶885. On December 19, 2014, Actavis hiked its

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                    Desmopressin Acetate price to the same level set by Teva on August 28, 2014. Id.;
                    App. C.

                           i.     January 28, 2015 Price-Fixing of 12 Drugs

         537.       For the January 28, 2015 round of price-fixing, Teva coordinated with at least

Actavis, Amneal, Dr. Reddy’s, Mylan, Par, Sandoz, and Taro to hike prices on 12 generic drugs

(November 2019 AG Complaint, ¶¶890-891):




         538.       According to the State AGs, upon information and belief, Patel met with the co-

conspirators in trade conferences, including the August 23-26, 2014 NACDS annual event, the

September 17-19, 2014 Econdisc Bidders Meeting, the October 13-14, 2014 PCMA Annual

Meeting, the October 26-29, 2014 Anda Strategy Meeting, and the January 8, 2015 HDMA Round

Table. Id., ¶892.




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         539.       Evidence uncovered and cited in the November 2019 AG Complaint shows the extent

of the price hikes were massive – reaching as high as 612% increase (November 2019 AG

Complaint, ¶890):




                                   (1)     Propranolol – Teva, Actavis, Mylan

         540.       In early January 2015, Teva, Actavis, and Mylan began coordinating price hikes for

the blood pressure drug Propranolol (November 2019 AG Complaint, ¶¶894-901:

         •          During the week before Actavis’s January 15, 2015 notifications to its customers of a
                    significant Propranolol price hike, Teva’s Rekenthaler and Actavis’s Falkin spoke 4
                    times for a total of 15 minutes: once on January 8, once on January 13, and twice on
                    January 14. Id., ¶¶895-896. On January 14, the day before Actavis’s notifications,
                    Rekenthaler reached out to both Actavis and Mylan:




                    Id., ¶897.

         •          Actavis hiked both WAC and Suggested Wholesale Prices, and the increases became
                    effective on February 17, 2015. Id., ¶895.

         •          On January 16, 2015, Rekenthaler emailed a price hike list to Patel, which included
                    different dosages of Propranolol. Id., ¶898. Next to each Propranolol product, a
                    notation showed “Follow Competitor – Actavis.” Id.

         •          After Teva’s January 28, 2015 price hikes, the co-conspirators continued
                    coordination on pricing. On February 16, 2015, the day before Actavis’s increases
                    effective date, Rekenthaler spoke to Actavis’s Falkin twice for more than 23 minutes.


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                    Id., ¶900. On February 18-19, 2015, Rekenthaler and Mylan’s Nesta spoke three
                    times over the phone. Id.

         •          On July 10, 2015, Mylan followed Teva and Actavis’s Propranolol price hikes. Id.,
                    ¶901.

                                   (2)     Ciprofloxacin HCL (Teva, Dr. Reddy’s, Actavis)
                                           and Glimepiride (Teva, Dr. Reddy’s)

         541.       Teva began coordinating with co-conspirators on price hikes for antibiotic drug

Ciprofloxacin HCL and diabetic drug Glimepiride as early as July 2014 (id., ¶¶902-910):

         •          Dr. Reddy’s Price Hikes: Between July 10-24, 2014, Patel spoke to Dr. Reddy’s
                    Victor Borelli 6 times for more 25 minutes – once on July 10, 18, 21, and 22, and
                    twice on July 26 – regarding Dr. Reddy’s upcoming Ciprofloxacin and Glimepiride
                    price hikes. Id., ¶905. On August 18, 2014, Dr. Reddy’s hiked Ciprofloxacin WAC
                    by 201%-533% for different dosages and Glimepiride WAC by close to 300% for all
                    dosages. Id., ¶904.

         •          Dr. Reddy’s Borelli texted Patel four times on August 25, 2014 in hope that Teva
                    would hike prices for the two drugs in its August 28, 2014 round of price increases.
                    Id., ¶906. Even though Teva did not include the two drugs in the August 2014 round,
                    the two co-conspirators communicated by text four times on October 10, 2014 to
                    coordinate pricing. Id., ¶908.

         •          Actavis’s Price Hikes: In December 2014, Rekenthaler spoke to Actavis’s Falkin at
                    least three times to coordinate Actavis’s price hikes on Ciprofloxacin – two times on
                    December 17 and once on December 18, 2014. Id., ¶909. On December 19, 2014,
                    Actavis’s hiked its Ciprofloxacin prices to the levels set by Dr. Reddy’s on
                    August 18, 2014. Id.

         •          Teva’s Price Hikes: On January 13, 14, and 16 of 2015 Rekenthaler spoke to
                    Actavis’s Falkin again to coordinate Teva’s own price hike this time. Id., ¶891. On
                    January 28, 2015, Teva hiked Ciprofloxacin prices to the same levels set by
                    Dr. Reddy’s and Actavis. Similarly, Teva’s Glimepiride prices were raised to
                    identically match Dr. Reddy’s pricing. Id., ¶910.

                                   (3)     Isoniazid – Teva, Sandoz

         542.       During Teva’s July 2013 round of price hikes, Patel was already collecting Isoniazid

pricing information from Sandoz. According to the State AGs, Patel reached out to State AG CW-1

of Sandoz in June 2013 “attempting to understand how [its] pricing for Isoniazid compares to the

rest of the market” in light of Sandoz’s Isoniazid price hikes in January 2013. Id., ¶619. On


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June 12, 2013, Patel reached out to and spoke with State AG CW-1 of Sandoz at least 5 times,

totaling over 35 minutes. Id., ¶620. She passed on the market information received from State AG

CW-1, noting that Teva’s WACs for the drug were very low. Id., ¶¶620-621.

         543.       Although Teva did not hike Isoniazid prices in the early round of price increases, it

did on January 28, 2015 – after coordinating with State AG CW-1 at Sandoz and speaking with him

for more than 16 minutes on January 22, 2015. Id., ¶622.

                                   (4)     Griseofulvin Microsize Oral Suspension – Teva,
                                           Actavis

         544.       Teva began coordinating with co-conspirator Actavis on raising prices of anti-fungal

medication Griseofulvin Microsize Oral Suspension as early as September 2014 (id., ¶¶911-914):

         •          In the week prior to Actavis notifying its Griseofulvin customers of a price hike,
                    Rekenthaler and Patel communicated with Actavis extensively to coordinate the price
                    increase. Id., ¶912. Between September 3-9, 2014, Rekenthaler spoke to Actavis’s
                    Falkin 9 times, totaling 49 minutes. Id. On September 9, 2014, the day of Actavis’s
                    notifications, Patel also spoke to Actavis’s Rogerson for over 4.5 minutes. Id.
                    Actavis’s price hikes took effect on October 6, 2014. Id.

         •          Immediately after Actavis’s price hike, Teva included Griseofulvin to its price hike
                    list with comment “Follow Competitor – Actavis.” Id., ¶913.

         •          On January 28, 2015, Teva hiked Griseofulvin prices to match Actavis’s pricing. Id.,
                    ¶914. Prior to Teva’s price hikes, Rekenthaler coordinated with Actavis’s Falkin and
                    spoke with him four times during January 13-16, 2015. Id.

                    2.     Market Allocation and Price-Fixed Drugs in the
                           November 2019 AG Complaint

                           a.      Allocation of Irbesartan, Generic Combivir, Portia and
                                   Jolessa, and MAS XR Markets to Fix Prices in 2012

         545.       During 2012, Teva and its co-conspirators divided the markets on four generic drugs:

Irbesartan, Lamivudine/Zidovudine (“generic Combivir”), Ethinyl Estradiol and Levonorgestrel

(“Portia and Jolessa”), and (Amphetamine/Dextroamphetamine Extended Release (“MAS XR”).

These four essential drugs were manufactured by Teva, Actavis, Aurobindo, Lupin, and Sandoz:



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         •          March 2012, Irbesartan (November 2019 AG Complaint, ¶¶270-275): Teva and
                    Lupin began dividing the market for the hypertension drug Irbesartan in March 2012,
                    when the FDA granted approval for Teva to manufacture the drug. Id., ¶¶270, 275.
                    Teva’s Green reached out to Lupin’s David Berthold on March 6 and confirmed that
                    Lupin sought a 15% fair share. Id., ¶273. According to the State AGs, on March 7,
                    after Green and Berthold’s conversation, Teva’s Galownia announced that “Teva was
                    in a position to take up to a 40% market share when it launched Irbesartan on
                    March 30, 2012.” Id., ¶275.

         •          May 2012, generic Combivir (id., ¶¶257-269): Teva, Lupin, and Aurobindo began
                    the market allocation process for the HIV drug generic Combivir in April 2014, in
                    anticipation of Lupin and Aurobindo receiving FDA approvals for the drug in
                    May 2012. Id., ¶¶257-261. On April 24 and 25, Green spoke to Lupin’s Berthold
                    and obtained Lupin’s launch plan. Id., ¶¶261-262. On April 24, Green also reached
                    out to Aurobindo’s Jim Grauso and obtained Aurobindo’s launch plan. Id. Green
                    and negotiated market share with Lupin’s Berthold and Aurobindo’s Grauso on
                    May 8 and 9. Id., ¶263. On May 10, Teva’s Galownia announced the customer
                    accounts Teva will retain and the specific accounts to concede to Aurobindo and
                    Lupin. Id., ¶265. He further stated that Teva would obtain its fair share as the first
                    entrant with “40-45% market share in a three player market.” Id., ¶268. Shortly
                    thereafter, Lupin entered the market and received more than 30% fair share without
                    significantly eroding the price of generic Combivir as a result of the agreement. Id.,
                    ¶269.

         •          May 2012, Portia and Jolessa (id., ¶¶219-224): Teva and Sandoz coordinated to
                    allocate customers for birth control drugs Portia and Jolessa (also known as Ethinyl
                    estradiol and levonorgestrel) beginning May 2012, when Walmart reached out to
                    Teva with a right of first refusal after receiving Sandoz’s competing offer. Id.,
                    ¶¶219, 221. On May 22, 2012, Green spoke with State AG CW-2 at Sandoz by
                    phone and came to an agreement to withdraw Teva’s offers to Walmart to enable
                    Sandoz to achieve a more equal share for Portia and Jolessa. Id., ¶222. The next
                    day, Teva withdrew the Walmart offers. Id. The market allocation process
                    continued over a year later, after a series of phone conversations between Teva and
                    Sandoz on July 10, 2013 – Patel with State AG CW-1 of Sandoz and Rekenthaler
                    with State AG CW-2 – Teva submitted an intentionally inflated bid to cede a
                    customer’s business to Sandoz. Id., ¶¶223-224.

         •          June 2012, MAS XR (id., ¶¶329-335): Teva and Actavis began the process of
                    allocating the attention deficit drug MAS XR (also known as
                    Amphetamine/Dextroamphetamine Extended Release) market on June 22, 2012,
                    when Actavis received FDA approval for the drug. Id., ¶¶329, 333. On June 23,
                    Teva’s Teri Sherman emailed Rekenthaler about her conversation with Actavis’s
                    Michael Perfetto and conveyed Actavis’s plan to obtain 15% fair share for the drug.
                    Id., ¶333. She stated that Actavis wanted “either McKesson or Cardinal” and maybe
                    “Econdisc,” but “NOT Walgreen and CVS.” Id. Afterwards, Teva conceded
                    customers to Actavis and the market allocation scheme was completed by May 7,
                    2013. Id., ¶335.

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                           b.      Allocation of Budesonide Inhalation, Clonidine-TTS
                                   Patch, Generic Ocella, Fenofibrate, Nortriptyline
                                   Hydrochloride, Oxyprozin, Temezolomide, and
                                   Tolterodine ER Markets to Fix Prices in 2013

         546.       During 2013, in response to the entry and/or re-entry of Actavis, Dr. Reddy’s,

Greenstone, Lupin, Mylan, Taro, and Sandoz to the market for various generic drugs, Teva again

engaged in market allocation activities with the co-conspirators to avoid price competition. Teva’s

market allocation efforts involved at least eight drugs – Budesonide Inhalation (§III.I.2.c),

Clonidine-TTS Patch, Drospirenone and ethinyl estradiol (“generic Ocella”), Fenofibrate,

Nortriptyline Hydrochloride, Oxyprozin, Temezolomide, and Tolterodine ER:

         •          February-April 2013, Clonidine-TTS Patch (id., ¶¶178-192): Teva and Mylan began
                    colluding in the blood pressure medication Clonidine-TTS Patch market as early as
                    July 2012, when Teva’s Green spoke to Mylan’s Nesta on July 17-18, 2012 and
                    September 28, 2012 to discuss Mylan temporarily exiting the market for the drug.
                    Id., ¶¶178, 184-187. On October 1, 2012, when CVS asked for Teva’s pricing,
                    Green again spoke to Mylan’s Nesta while Rekenthaler spoke to Mylan’s Bob Potter.
                    Id., ¶¶186-187. On October 4, after Green’s conversation with Mylan’s Nesta, Teva
                    submitted bids at over three times higher than CVS’s then-current prices. Id.
                    Between February and March 2013, Teva and Mylan logged 33 calls, totaling close
                    to 2 hours and 45 minutes to discuss Mylan’s re-entry into the Clonidine-TTS Patch
                    market. Id., ¶191. As a result of these conversations, Teva ceded Econdisc back to
                    Mylan in March and ceded McKesson, Rite Aid, and Omnicare to Mylan in
                    April 2013. Id., ¶¶189, 192. On April 8-9, 2013, Green and Mylan’s Nesta spoke
                    twice and confirmed that Mylan would follow a Teva price increase on Clonidine-
                    TTS. Id., ¶192.

         •          May 2013, Fenofibrate (id., ¶¶168-177): Teva, Mylan, and Lupin began allocating
                    the market for cholesterol drug Fenofibrate in February 2013 in advance of Mylan’s
                    launch of the drug. Id., ¶¶168, 171. On May 6-9, 2013, Green spoke to Mylan’s
                    Nesta eight times and spoke to Lupin’s Berthold three times while Patel also spoke to
                    Lupin’s Berthold three times. Id., ¶172. At the same time, Mylan’s Nesta spoke to
                    Lupin’s Berthold – often after speaking to Teva. Id., ¶¶172-173. After these
                    conversations, on May 10, Teva’s Galownia announced that “it is best to concede
                    Econdisc [to Mylan] and try to maintain the balance of our customers” even though
                    Mylan had not posted a price challenge and Econdisc did not request a bid. Id., ¶174.
                    Galownia announcement triggered a series of calls among the co-conspirators:




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                    Id., ¶175. On May 15, 2013, after Econodisc’s request for bids due to a competing
                    offer for Fenofibrate from a new market entrant, the three co-conspirators reaffirmed
                    their agreement – with Teva’s Patel exchanging seven calls with Lupin’s Berthold on
                    May 16 and three calls on May 17, and Teva’s Green exchanging one text message
                    and six calls with Mylan’s Nesta on May 17 and one call with Lupin’s Berthold. Id.,
                    ¶177. Mylan’s Nesta and Lupin’s Berthold also communicated by phone on May 17.
                    Id. Teva ultimately conceded Econdisc to Mylan. Id., ¶176.

         •          March-July 2013, Oxaprozin (id., ¶¶299-307, 506-517): In March 2013, Teva and
                    Greenstone began allocating customers for the anti-inflammatory drug Oxaprozin in
                    advance of Greenstone’s market entry. Id., ¶¶299-300. Between March 6-27, Green
                    logged 13 phone calls and 1 text message with Greenstone’s Robin Hatosy, and
                    agreed to concede CVS and Cardinal’s Oxaprozin business to Greenstone. Id. When
                    Greenstone violated the fair share agreement by going after Walmart, Teva was
                    “pissed” and Green logged six calls to Hatosy on March 28. Id., ¶¶300-305.
                    Greenstone agreed to withdraw the offer to Walmart and honor the agreement with
                    Teva. Id., ¶¶305-306.

                    On June 27, 2013, Dr. Reddy’s re-launched Oxaprozin at the same WAC as Teva and
                    Greenstone, and sought a fair share of 20% of the market. Id., ¶¶507, 509. On
                    July 23, Dr. Reddy’s Jake Austin called Green to see if Teva would concede
                    Walgreen’s business. Id., ¶512. On July 29, 2013, Teva decided to concede
                    Econdisc to Dr. Reddy’s and keep Walgreens, and Rekenthaler promptly called
                    Dr. Reddy’s Tricia Wetzel. Id., ¶¶514-516. By September 10, 2013, Dr. Reddy’s
                    achieved its 20% fair share with customers such as Econdisc, Keysource, and
                    Premier. Id., ¶517.

         •          April 2013, generic Ocella (id., ¶¶276-292): Teva, Lupin, and Actavis began the
                    market allocation process for the birth control medication generic Ocella (also known
                    as Drospirenone and Ethinyl Estradiol) in April 2013, in advance of Lupin’s entry
                    into the market planned for the summer of 2013. Id., ¶¶276, 279-280. On April 24-
                    25, Lupin’s Berthold called Teva’s Green three times to begin negotiation. Id., ¶279.
                    A series of calls took place between Lupin’s Berthold and Teva’s Patel and Green
                    between May 6-10. Id., ¶¶282-283. Finally, on July 10, 2013, Teva’s Green and
                    Patel reached an agreement to divide customers with Lupin’s Berthold, and the
                    process took place over the next three montha before its completion in October 2013.
                    Id., ¶¶286-292.



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                    Actavis also took the opportunity to negotiate for its fair share in light of Teva’s
                    dominating 70%-75% market share. Id., ¶280. On April 30, Actavis’s Andrew
                    Boyer spoke to Rekenthaler twice. Id., ¶281. Patel also called Boyer on the same
                    day and texted him four times on May 1. Id. On May 8, after learning about
                    Actavis’s bid for Teva’s customer, Patel immediately called Actavis’s Richard
                    Rogerson and spoke to him again on May 10. Id., ¶¶283-284. On May 14, 2013,
                    Galownia recommended conceding two significant generic Ocella customers to
                    Actavis. Id., ¶¶284-285.

         •          July 2013, Temozolomide (id., ¶¶225-238): In July 2013, Teva and Sandoz began
                    planning for their August entry into the market for brain cancer drug Temozolomide
                    and coordinated to allocate customers. Id., ¶¶225-226. After a large pharmacy
                    requested bids, Teva’s Patel called the State AG CW-1 at Sandoz and began
                    discussion of dividing customers for Temozolomide on July 18 and 23. Id., ¶¶227,
                    229. On July 22, Sandoz’s Steven Greenstein reached out to the pharmacy for
                    Teva’s plans, and the pharmacy replied that Teva will launch on August 11 and
                    “looking to play nice in 2 player market.” Id., ¶¶228-230. Sandoz cheered “[g]reat
                    news…!” and indicated that “Teva is seeking ~45-50% share.” Id., ¶231. Between
                    July 29-31, Teva’s Patel, Green and Sherman had a series of calls with Sandoz’s
                    State AG CW-1, State AG CW-2 and Greenstein, respectively. Id., ¶¶232-234. On
                    July 31, 2013, after Sherman’s call with Sandoz’s Greenstein, Sandoz ceded the
                    pharmacy’s business to Teva. Id., ¶233. On August 12, 2013, at the NACDS Total
                    Store Expo Conference in Las Vegas, Rekenthaler met State AG CW-2 at the Grand
                    Lux Café and an agreement was reached that CVS’s business on the 250mg
                    Temozolomide would go to Teva initially. Id., ¶¶236-237.

         •          November 2013, Nortriptyline Hydrochloride (id., ¶¶411-428): In November 2013,
                    Teva, Taro, and Actavis began dividing the market for anti-depression drug
                    Nortriptyline Hydrochloride in preparation for Taro re-launching the drug. Id.,
                    ¶¶411, 414. Rekenthaler spoke to Actavis’s Falkin on November 10, 14-15 and 18 to
                    determine how to, as the State AGs stated, “make room for Taro.” Id., ¶¶417, 419.
                    Falkin also texted Cavanaugh twice on November 18-19. Id., ¶419. Taro’s
                    Aprahamian reached out to Patel on November 17 and agreed not to pursue Teva’s
                    customers, such McKesson and HD Smith. Id., ¶¶418, 420. In exchange, on
                    November 21, Teva agreed to cede Cardinal’s Nortriptyline business to Taro. Id.,
                    ¶422. In addition, Taro’s Aprahamian spoke to Actavis’s Michael Dorsey on
                    November 20 and December 6, and Actavis agreed to cede HEB’s Nortriptyline
                    business to Taro. Id., ¶¶421, 423-424. Between March 4-10, 2014, the three co-
                    conspirators communicated by phone and text extensively to coordinate Taro’s re-
                    entry. Id., ¶427. After Patel spoke to Taro’s Aprahamian on March 10, she decided
                    to postpone hiking prices for the drug during Taro’s entry. Id., ¶428. The collusive
                    price hike was postponed until January 28, 2015 after coordinating with Actavis and
                    Teva. Id.; §III.I.1.i.

         •          December 2013, Tolterodine Extended Release (November 2019 AG Complaint,
                    ¶¶193-204): Teva and Mylan began dividing the market for overactive bladder drug
                    Tolterodine ER in December 2013 in preparation for both companies’ launch of the

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                    drug in early 2014. Id., ¶¶193, 197. On December 20, Cardinal told Teva’s Coward
                    that Mylan was “looking for a 40% market share,” and that Teva “can figure the rest
                    out.” Id. On December 23, Rekenthaler reached out to Mylan’s Nesta and agreed to
                    the 60-40 market share. Id., ¶¶199-200. After the Mylan call, Galownia distributed a
                    target customers list which gave Teva 60% market share:




                    Id., ¶201. In addition, comparison of Teva’s Tolterodine ER pricing plan before
                    and after reaching agreement with Mylan showed substantially higher prices set
                    for Cigna, Humana, Kaiser, Optum RX Prime Therapeutics, and Walgreens – all
                    of which were customers allocated to Mylan. Id., ¶202. Teva and Mylan then
                    proceeded to submit inflated cover bids or refused to bid in order to avoid
                    competing for each others’ customers. Id., ¶¶202-203. On December 24, 2013,
                    Rekenthaler and Nesta spoke twice to confirm the market allocation agreement.
                    Id., ¶204.

                           c.      Allocation of Amphetamine/Dextroamphetamine IR,
                                   generic Balziva, Budesonide Inhalation, generic
                                   Cambivir, Cabergoline, Capecitabine, Clonidine-TTS,
                                   Dexmethylphenidate HCL ER, Dextroamphetamine
                                   Sulfate ER, Entecavir, Etodolac, Fenofibrate,
                                   Gabapentin, Labetalol, Niacin ER, Norethindrone
                                   Acetate, Omega-3-Acid Ethyl Esters, Paricalcitol,
                                   Prioxicam, Raloxifene, Tobramycin, and Tolterodine
                                   Tartrate Markets to Fix Prices in 2014 and 1Q2015

         547.       During 2014 and the first quarter of 2015, Teva’s collusive activities picked up speed

and the Company entered into market allocation agreements constantly throughout the year. Teva’s

collusive activities were industry-wide and included co-conspirators such as Actavis, Amneal,

Apotex, Aurobindo, Camber, Celecoxib, Dr. Reddy’s, Glenmark, Greenstone, Lupin, Mylan, Par,

Sandoz,         Taro,     and     Zydus      and     involved     essential    medicines      such     as

Amphetamine/Dextroamphetamine IR, generic Balziva, Budesonide Inhalation, generic Cambivir,

Cabergoline, Capecitabine, Clonidine-TTS, Dexmethylphenidate HCL ER, Dextroamphetamine

Sulfate ER, Entecavir, Etodolac, Fenofibrate, Gabapentin, Labetalol, Niacin ER, Norethindrone

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Acetate, Omega-3-Acid Ethyl Esters, Paricalcitol, Prioxicam, Raloxifene, Tobramycin, and

Tolterodine Tartrate:

         •          January 2014, generic Balziva (id., ¶¶293-298): Teva and Lupin began allocating
                    customers for the birth control drug generic Balziva (also known as
                    Norethindrone/Ethinyl Estradiol) in January 2014, after Teva heard from its customer
                    that a manufacturer was entering the generic Balziva market. Id., ¶¶293-294.
                    Suspecting that it was Lupin, Patel reach out to Lupin’s Berthold and spoke with him
                    twice on January 24. Id., ¶296. After her conversation, she recommended to
                    Rekenthaler: “Kevin and I are in agreement that we should concede part of the
                    business to be responsible in the market.” Id., ¶297. On February 4, Patel analyzed
                    concession of business to Lupin and spoke to him twice later that day to coordinate
                    Lupin’s entry into the generic Balziva market. Id., ¶298.

         •          January 2014, Tolterodine Tartrate (id., ¶¶308-313): Teva and Greenstone began
                    allocating customers for the overactive bladder drug Tolterodine Tartrate in
                    January 2014, when Greenstone entered the market for the drug. Id., ¶¶308-309. On
                    January 21-22, Patel exchanged five phone calls and six text messages with
                    Greenstone’s Jill Nailor, and one phone call and one text message with Greenstone’s
                    Robin Hatosy. Id., ¶309. Rekenthaler also exchanged two phone calls and a text
                    message with Greenstone’s Jill Nailor. Id. During these conversations, Teva agreed
                    to concede customers to Greenstone. Id. In exchange, on the next day, Greenstone
                    entered the Tolterodine Tartrate market at the same pricing set by Teva. Id., ¶310.
                    On January 24, Patel emailed Teva’s national account managers and notified them of
                    Greenstone’s entry and stated “I’m sure we will have to concede somewhere.” Id.
                    On January 28, CVS notified Teva of a pricing challenge on the drug. Id., ¶311.
                    After speaking with Greenstone’s Hatosy twice on January 29, Patel told her
                    colleagues to concede the account to Greenstone on February 3 despite protest by
                    Teva’s CVS coverage person. Id., ¶¶311-312. On February 4, Patel called Hatosy
                    again to discuss the concession. Id., ¶312.

         •          February 2014, Dexmethylphenidate HCL Extended Release (id., ¶¶248-256): In
                    February 2014, Teva and Sandoz began allocating customers for the attention deficit
                    drug Dexmethylphenidate HCL Extended Release (“Dexmeth ER”) in advance of
                    Sandoz entering the market for the drug. Id., ¶¶248-249. On February 10, State AG
                    CW-1 at Sandoz called Patel after he made preparation to go after Rite Aid’s
                    Dexmeth ER business. Id., ¶249. He called Patel on February 18 again, and Teva
                    conceded Rite Aid’s Dexmeth ER business to Sandoz on the same day. Id.
                    Similarly, on February 12, after Sandoz submitted a bid for ABC’s business, State
                    AG CW-1 spoke to Patel. Id., ¶250. After the call, Patel emailed her team that
                    “Sandoz is being responsible with their pricing. We should be responsible with our
                    share” and it “makes more sense to hold onto Walgeens than ABC.” Id. On
                    February 14, Teva also conceded Anda’s Dexmeth ER business to Sandoz. Id., ¶251.
                    On February 24, Teva had an internal meeting about “Post Launch Strategy” for
                    “Dexmethylphenidate 40mg: Sandoz (AG) entering market.” Id., ¶253. After the
                    meeting, Patel spoke with State AG CW-1 on February 27. Id. According to the

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                    State AG, “Sandoz abided by fair share principles and its ongoing understanding
                    with Teva” and the scheme continued until 2015. Id., ¶¶254-255.

         •          February 2014, Labetalol (id., ¶¶946-948): Teva and Par began the market allocation
                    process for blood pressure drug Labetalol in February 2014, after a customer emailed
                    Teva about a pricing challenge from Par. Id., ¶¶553, 946. On February 7, 2014, after
                    Patel forwarded Sherman the customer’s email with “???,” Sherman immediately
                    called Par’s Renee Kenney and told Patel “left message.” Id., ¶946. Sherman spoke
                    with Par’s Kenney that day. Id. Rekenthaler also called Par’s Michael Burton within
                    one minute after receiving Patel’s email. Id., ¶947. After Rekenthaler and
                    Sherman’s conversations with Par executives, Teva conceded the customer’s
                    business. Id., ¶948. As plaintiffs’ investigation shows, Labetalol pricing was
                    maintained at elevated levels for years after Teva and co-conspirators’ price hikes.
                    See App. C.

         •          February 2014, Fenofibrate (November 2019 AG Complaint, ¶¶431-447): After a
                    successful round of allocating Fenofibrate customers in May 2013 (§III.I.2.b), Teva,
                    Lupin, and Mylan began dividing the customers and fixing prices for the cholesterol
                    drug again in February 2014 with Zydus in preparation for Zydus’s entry into the
                    market on March 7, 2014. November 2019 AG Complaint, ¶¶431, 433-435. Patel
                    and Zydus’s Green exchanged 17 phone calls between February 19-24. Id., ¶435.
                    On March 3-4, both Patel and Rekenthaler spoke to Green. Id., ¶436. Rekenthaler
                    also coordinated with Mylan’s Nesta on March 3, while Patel reached out to Lupin’s
                    Berthold on March 6. Id. After no less than 26 calls exchanged among the parties,
                    Zydus entered the market on March 7 at the same WAC pricing as set by Teva,
                    Lupin, and Mylan. Id.

                    Over the next couple of months, Teva “strategically” conceded some customers to
                    Zydus, such as OptiSource, Humana, Ahold, Walgreen, and Anda. Id., ¶¶439-447.
                    These concessions were documented in Teva’s internal emails – with each
                    concession, Patel and Rekenthaler communicated with Green at Zydus or other co-
                    conspirators. Id.

         •          March-April 2014, MAS-IR (id., ¶¶336-339): Teva, Aurobindo, and Actavis began
                    dividing    the    market      for   the    attention   deficit   disorder    drug
                    Amphetamine/Dextroamphetamine Immediate Release in March 2014 in advance of
                    Aurobindo and Actavis’s launches. Id., ¶¶336-337. On March 17-18, and 20, Patel
                    and Rekenthaler spoke to Actavis’s Rogerson and Falkin, respectively. At the same
                    time, Rekenthaler also coordinated with Aurobindo. Id., ¶338. Aurobindo targeted a
                    10% market share for the drug. Id., ¶337. On April 16, 2014, Patel told her
                    colleague to concede a MAS-IR customer to Actavis. Id., ¶339. Within less than 15
                    minutes, she called Rogerson to discuss Teva’s concession. Id. Plaintiffs’
                    investigation revealed that both Actavis and Aurobindo entered the MAS-IR market
                    at the same WAC as set by Teva.

         •          March-June 2014, Niacin ER (id., ¶¶461-472, 729-739): Teva, Lupin, and Zydus
                    began dividing the market for cholesterol drug Niacin Extended Release in
                    March 2014, when Lupin entered the market for the drug. Id., ¶¶461, 729, 731. In
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                    anticipation of Lupin’s entrance, on February 28, 2014, Cavanaugh instructed
                    Galownia to hike Niacin ER price as Lupin was a quality co-conspirator. Id., ¶732.
                    Patel immediately called Lupin’s Berthold, and Teva hiked the Niacin ER price by
                    10% on March 7. Id., ¶¶732-733. Between March 17-20, Patel spoke to Lupin’s
                    Berthold every day, resulting in Lupin entering the Niacin market at the same WAC
                    set by Teva. Id., ¶¶735-736. On March 24, Patel and Lupin’s Berthold exchanged
                    three calls. Id., ¶¶738-739. After the calls, on March 25, Galownia confirmed to
                    Patel and Cavanaugh that Teva agreed to cede Cardinal, CVS, Humana, and Optum’s
                    Niacin ER business to Lupin, giving it 40% of the market. Id.

                    Prior to Teva’s March 7 price hike, Patel and Rekenthaler also looped in Zydus’s
                    Kevin Green on March 3, each spoke with Green for close to 20 minutes separately.
                    Id., ¶464. Zydus planned to enter the market in June 2014. Id., ¶469. Between
                    May 6-9, Green exchanged numerous calls with Teva’s Patel and Rekenthaler, and
                    Lupin’s Berthold. Id., ¶¶466-467. On May 29, Green spoke to Patel and
                    Rekenthaler again. Id., ¶469. On June 5, Teva’s Jessica Peter sent an internal email
                    with subject “McKesson Niacin” and confirming “Per Dave [Rekenthaler], Maureen
                    [Cavanaugh] has agreed to concede this item.” Id., ¶471. On June 28, Zydus
                    launched Niacin ER at the same WAC set by Teva and Lupin. Id., ¶472.

         •          March-July 2014, Paricalcitol (id., ¶¶448-460, 518-535): Between March to
                    June 2014, Teva, Zydus, and Dr. Reddy’s began dividing customer for the kidney
                    disease drug Paricalcitol, in preparation for Zydus and Dr. Reddy’s entering the
                    market on March 29 and June 24, respectively. Id., ¶¶448, 450, 527. Patel and
                    Rekenthaler exchanged a series of calls with Zydus’s Green on February 28 and
                    March 3-4, 14, and 17. Id., ¶¶452-455. Within 30 minutes after the second call in
                    March 17, Patel proposed to Galownia that Teva should “Keep Walgreens, ABC,
                    One Stop, WalMart, Rite Aid, Omnicare” on Paricalcitol. Id., ¶455. After the email,
                    Patel spoke to Zydus’s Green again. Id. After Patel and Zydus Green spoke on
                    March 27, Teva conceded OptiSource on March 28 and Publix on April 1. Id.,
                    ¶¶457-458. After Patel and Green spoke on April 1-2, Teva conceded NC Mutual.
                    Id., ¶459.

                    On May 1, 2014 Dr. Reddy’s Tricia Wetzel reached out to Teva’s Rekenthaler in
                    advance of Dr. Reddy’s entrance into the Paricalcitol market. Id., ¶521. After Patel
                    spoke to Dr. Reddy’s Borelli on June 10 and July 10, 18, and 22, Teva ceded
                    Omnicare, Cardinal, Winn-Dixie, Giant Eagle, and McKesson to Dr. Reddy’s. Id.,
                    ¶¶521-527. On June 26, Galownia confirmed to Patel that Teva was willing to cede
                    to Dr. Reddy’s 10%-15% of Paricalcitol’s market share. Id., ¶527.

         •          May 2014, Clonidine-TTS (id., ¶¶343-351): After successfully dividing the
                    Clonidine-TTS market with Mylan in February-April 2013 (§III.I.2.b), Teva
                    conducted a second round of market allocation with Actavis in May 2014, when
                    Actavis entered the market for the blood pressure medication. November 2019 AG
                    Complaint, ¶¶343, 345. As soon as Actavis received the FDA’s approval,
                    Rekentheler spoke to Actavis’s Falkin immediately on the same day. Id., ¶345. On
                    the next day, Galownia asked Patel to draw up a list of customers to concede to
                    Actavis. Id., ¶346. On May 8, Rekenthaler and Patel spoke to Actavis’s Falkin and
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                    Rogerson, respectively, and agreed to concede Ahold and HEB’s Clonidine business.
                    Id., ¶347. On May 9, Rogerson told Patel that Actavis wanted 25% of the Clonidine
                    market and agreed to change “their offer letters at pricing that is higher than our
                    [Teva’s] current.” Id., ¶348. In exchange, between May 14-23, Teva conceded a
                    wholesaler, a retailer, and two other customers’ Clonidine business to Actavis. Id.,
                    ¶¶350-351.

         •          May 2014, Etodolac ER (id., ¶¶473-481): After a successful round of Etodolac ER
                    price hikes in August 2013, Teva and Taro began dividing customers with Zydus for
                    the anti-inflammatory drug in May 2014 in preparation for Zydus’s launch of the
                    drug. Id., ¶¶473, 475. On May 6-8 and 11, Patel acted as conduit of information by
                    exchanging ten calls with Zydus’s Green, and three calls and six text messages with
                    Taro’s Aprahamian. Id., ¶475. As a result of the agreement to allocate customers to
                    Zydus, Zydus entered the Etodolac ER market on May 12, 2014 at the same collusive
                    WAC pricing as set by Teva and Taro in August 2013. Id.

                    In May and July 2014, Teva ceded customers to Zydus. After Patel spoke to Taro’s
                    Aprahamian on May 14 and Zydus’s Green on May 14 and 20-21, and Cavanaugh’s
                    call and text messages to Zydus’s Ronco on May 20-21, Teva ceded Anda’s Etodolac
                    business to Zydus on May 22. Id., ¶¶476-478. Similarly, after communicating with
                    Taro’s Aprahamian and Zydus’s Green on June 27 and July 2, respectively, Patel told
                    colleagues to cede Econodisc’s business to Zydus. Id., ¶¶479-481.

         •          June 2014, Dex Sulfate XR (id., ¶¶340-342): Teva and Actavis began the market
                    allocation process for the impulse control medication Dextroamphetamine Sulfate
                    Extended Release in June 2014, when Actavis launched the drug. Id., ¶¶340-341.
                    Rekenthaler spoke to Actavis’s Falkin twice on June 19 when Actavis entered the
                    market and confirmed that Actavis wanted 20%-25% of the Dex Sulfate XR market.
                    Id., ¶341. On June 24, Teva decided to give up a large customer and cede close to
                    14% market share to Actavis. Id., ¶342.

         •          June 2014-April 2015, Omega-3-Acid Ethyl Esters (id., ¶¶363-373): Teva began to
                    work with co-conspirators to allocate the market for lipid regulating agent Omega-3-
                    Acid Ethyl Esters in June 2014, when Par received approval for the drug. Id., ¶¶363,
                    365. On June 26, Patel reached out to Par’s Trey Propst via LinkedIn and spoke to
                    him on June 26-27 to gather Par’s pricing and bidding plan. Id., ¶¶365-367. After
                    Par entered the market on June 30, Teva began ceding Omega-3-Acid Ethyl Esters
                    market shares to Par in July and continued the process until February 2015 to
                    maintain elevated pricing. Id., ¶¶368-369, 371-372. During this period, Patel texted
                    Par’s Propst five times in November 2014, and Rekenthaler spoke frequently with
                    Par’s Michael Burton in February 2015. Id., ¶¶371-372.

                    When Apotex entered the Omega-3-Acid Ethyl Esters market in April 2015,
                    Rekenthaler spoke extensively with Apotex’s Jeffrey Hampton and ceded market
                    shares to Apotex. Id., ¶373.

         •          July 2014, Tobramycin (id., ¶¶239-247): Teva and Sandoz began dividing customers
                    for the antibacterial eye drop Tobramycin in July 2014 as Sandoz was entering the
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                    market for the medication. Id., ¶¶239, 241. On July 2, after Patel exchanged seven
                    phone calls with State AG CW-1 at Sandoz the day before, Teva decided to cede two
                    accounts to Sandoz. Id., ¶241. On July 7, Teva and Sandoz agreed on a list of
                    customers after Patel spoke to State AG CW-1 five times as Patel stated in an email
                    that Teva would take Walgreens, McKesson, Econdisc, ABC, and Omnicare; while
                    Sandoz would take CVS, Cigna, Prime Therapeutics, Kinney Drugs, and OptumRx.
                    Id., ¶242. Cardinal would also go to Sandoz. Id. As Teva was conceding
                    Tobramycin businesses to Sandoz, State AG CW-1 told Patel that Sandoz wanted
                    50% market share. Id., ¶¶243-246. Patel told him “a 25% share was reasonable”
                    after consulting with Rekenthaler. Id., ¶246.

         •          August 2014, Capecitabine (id., ¶¶205-218): Teva and Mylan began dividing the
                    market for the chemotherapy drug Capecitabine in August 2014 in advance of
                    Mylan’s launch of the drug. Id., ¶¶205, 210. Teva’s Rekethaler spoke with Mylan’s
                    Nesta on August 4, 7, 11, and 18 and agreed on ceding 35% market share of the drug
                    to Mylan. Id., ¶¶211-218. Teva ultimately ceded, among others, ABC, McKesson,
                    Econdisc, and Cigna’s Capecitabine business to Mylan. Id.

         •          August 2014, Entecavir (id., ¶¶374-383): Teva and Par began the market allocation
                    process for Hepatitis B drug Entecavir in August 2014 to pave the way for their entry
                    into the market for the drug. Id., ¶¶374-375. After Teva received approval to market
                    the drug on August 28, Rekenthaler immediately called Par’s Michael Burton three
                    times that day and twice on the next day. Id., ¶¶376-377. After their conversation,
                    Par abandoned its plan to price lower than Teva and allowed Teva to win ABC and
                    other customers’ Entecavir business. Id., ¶¶378-379. Several weeks after both
                    companies launched on September 4, 2014, Teva captured close to 47% of the
                    Entecavir market and continued to maintain that market share through January 2015.
                    Id., ¶¶380-383.

         •          September 2014, Raloxifene and generic Cambivir (id., ¶¶1085-1106): Teva began
                    coordinating with Camber to allocate markets for the osteoporosis drug Raloxifene
                    and HIV drug generic Combivir in September 2014, when Camber was entering the
                    market for both drugs. Id., ¶¶1088-1090. On September 17-19, Rekenthaler played
                    golf and socialized with Camber’s Kon Ostaficiuk at an industry outing in Kentucky.
                    Id., ¶1094. After the event, the two co-conspirators continued to speak by phone on
                    September 21-22 and 24. Id., ¶¶1095-1096. During these conversations, Camber
                    modified its Raloxifene pricing and indicated to Teva that it wanted Econdisc and a
                    small retailer’s business. Id. On September 25, Teva agreed to cede the small
                    retailer’s business, and later, also conceded Econdisc’s Raloxifene business to
                    Camber. Id., ¶¶1099, 1103. Rekenthaler and Ostaficiuk spoke again on
                    September 25-26, when Camber officially launched Raloxifene, and told Camber to
                    stop seeking anymore of Teva’s customers for both drugs as Teva had already ceded
                    customers to Camber for Raloxifene. Id., ¶¶1099-1102. On September 29,
                    Ostaficiuk instructed his colleagues to stop making offers to Teva’s customers as
                    “[w]e do not want to upset them more!” Id., ¶1102.

         •          September 2014, Norethindrone Acetate (id., ¶¶503-505): In September 2014, Teva,
                    Amneal, and Glenmark began fixing prices and maintaining market share for the
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                    hormonal therapy drug Norethindrone Acetate. Id., ¶¶503-504. The three co-
                    conspirators evenly shared the market for the drug when a customer reached out to
                    Teva for lower pricing on September 9. Id., ¶¶504-505. Patel immediately called
                    Amneal’s Stephen Rutledge and another Amneal sales and finance executive, who in
                    turn, contacted Glenmark’s Jim Brown. Id., ¶504. During these conversations,
                    Amneal executives told Patel that Norethindrone Acetate “would be an increase
                    candidate for Amneal.” Id., ¶505. After the call, according to the State AGs, Teva
                    “reinforced the fair share understanding” by giving the customer “only a nominal
                    [price] reduction so as not to disrupt the market” and avoid stealing Amneal’s
                    business. Id. Amneal implemented a price increase shortly thereafter. Id.

         •          October 2014, Gabapentin (id., ¶¶492-495): In October 2014, Teva and Glenmark
                    allocated the market for epilepsy drug Gabapentin while Glenmark took a price
                    increase on the drug. Id., ¶¶492, 494. After returning from the October 13-14
                    Pharmaceutical Care Management Association Annual Meeting in California, Patel
                    texted Glenmark’s Jim Brown twice on October 15 and announced to her colleague
                    that Glenmark was planning to hike Gabapentin prices. Id., ¶¶493-494. The co-
                    conspirators agreed that Teva would take the opportunity to get its fair share, and
                    Teva did so cautiously in the next several weeks so as not to “disrupt Glenmark’s
                    business too much.” Id., ¶¶494-495.

         •          November-December 2014, Celecoxib (id., ¶¶356-362): Both Actavis and Teva
                    were in preparation for the launch of anti-inflammatory medication Celecoxib in
                    November 2014, and when the two companies began targeting the same customers,
                    market allocation discussions began – initially with a customer as the intermediary.
                    Id., ¶¶356-358. On November 20, a customer told Teva that Allergan was in
                    preparation for launch and wanted to get its fair share given that Teva had captured
                    more than 30% of the market. Id., ¶358. According to the State AGs, Teva’s
                    Rekenthaler “took a cooperative – rather than competitive – stance” and responded
                    “‘[t]hat’s all pretty accurate and hard to argue with.’” Id., ¶359. In preparation for
                    Teva’s December 10 launch, Rekenthaler spoke with Actavis’s Falkin on
                    November 25, December 3, 9, and 10. Id., ¶362. Similarly, Patel connected with
                    Actavis’s Boyer on December 5 and 8. Id.

         •          December 2014, Cabergoline (id., ¶¶324-328): In December 2014, Teva and
                    Greenstone allocated customers for the hormone therapy drug Cabergoline as
                    Greenstone launched the drug. Id., ¶¶324-325. On December 9, Teva’s wholesaler
                    customer intermediated and approached Teva’s Theresa Coward on behalf of
                    Greenstone – stating that Greenstone wanted the wholesaler’s business along with
                    those of two other grocery store chains. Id., ¶325. On December 10, after internal
                    discussions, Coward replied: “Tell Greenstone we are playing nice in the sandbox
                    and we will let them have [The Wholesaler].” Id., ¶¶326-327.

         •          February 2015, Budesonide Inhalation (id., ¶¶352-355, 560-564): Teva and Actavis
                    began coordinating Actavis’s entry into the asthma medication Budesonide
                    Inhalation market as early as April 2013. Id., ¶¶560, 562. After Rekenthaler spoke
                    with Actavis’s Boyer on April 1 and 2, Actavis launched the medication at the exact
                    same price set by Teva. Id., ¶¶562-563. Actavis then temporarily exited the market
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                    due to legal action by the brand manufacturer and re-entered in February 13, 2015.
                    Id., ¶¶354, 564. Teva continued with the agreement and ceded customers to Actavis
                    after Rekenthaler spoke with Actavis’s Falkin on February 10 and 16. Id., ¶¶354-
                    355. On February 17, 2015, Teva’s Coward sent out an email to announce the
                    immediate concession of two major accounts to Actavis due to Actavis’s urgent need
                    to put out products before further litigations by the brand manufacturer. Id. In
                    addition, she had been working on an “exit strategy” with the customers to eliminate
                    Teva’s Budesonide from the supply channel to facilitate Actavis’s entry. Id.

         J.         Teva Overstated Goodwill and Failed to Make Timely Impairments

                    1.     Goodwill False Statements

         548.       As of December 31, 2016, Teva materially overstated the value of its goodwill, which

inflated its balance sheet and understated its goodwill impairment charge. This, in turn, inflated

Teva’s operating income and net earnings by billions of dollars. Teva continued to conceal its

inflated goodwill and overstated operating income, net income and EPS through February 8, 2018 –

when it reported its fourth quarter 2017 financial results. In total, Defendants inflated the goodwill

for their U.S. generics reporting unit by at least $8.0 billion or 52% of Teva’s $15.5 billion goodwill

amount reported as of September 30, 2017. Defendants accomplished this scheme by using bogus

inputs for the discounted cash flow (“DCF”) model used to calculate the fair value and goodwill of

Teva’s U.S. generics unit. By inflating goodwill, Defendants avoided recording impairment charges

necessary to properly account for the true value of the reporting unit. More specifically, Defendants,

in violation of generally accepted accounting principles (“GAAP”), 16 used inflated future cash flow

projections, abnormally low discount rates, and abnormally high terminal growth rates to improperly



16
   GAAP are the principles recognized by the accounting profession as the conventions, rules, and
procedures necessary to define accepted accounting practice at a particular time. SEC Regulation
SX, 17 C.F.R. §210.4-01(a)(1), states that financial statements filed with the SEC that are not
prepared in compliance with GAAP are presumed to be misleading and inaccurate, despite footnotes
and other disclosure. Regulation S-X requires that interim financial statements must also comply
with GAAP, with the exception that interim financial statements need not include disclosures that
would be duplicative of disclosures accompanying annual disclosures, pursuant to 17 C.F.R.
§210.10-01(a).

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inflate goodwill. Teva’s disclosures regarding its goodwill valuations and testing was also false and

misleading in the 2016 Form 20-F, filed on February 15, 2017 (see §III.K.5).

         549.       Teva reported goodwill impairment and goodwill balances as of the end of

December 31, 2016, March 31, 2017, June 30, 2017, September 30, 2017 and December 31, 2017 as

shown in the following chart:

                 Teva's Reported Goodwill Impairment and Goodwill Amounts as of the End of Each Quarter
                                                 (in millions of dollars)
                                                                                     Quarters
                                                              31-Dec-16 31-Mar-17     30-Jun-17    30-Sep-17   31-Dec-17
Goodwill Impairment Recognized By Teva                      $       -     $   -    $     (6,100) $      -    $   (10,400)
Goodwill Amount Reported By Teva                            $ 23,100 $ 23,100 $         15,500 $     15,500 $      5,500


As described herein, Teva’s goodwill and corresponding goodwill impairment charges were

materially false and misleading for each quarter from the fourth quarter of 2016 through the third

quarter of 2017. Teva ultimately took a late catch-up impairment charge of $10.4 billion in the

fourth quarter of 2017.

                           a.        Teva’s Discounted Cash Flow Models Were Inflated

         550.       In the 2016 Form 20-F filed on February 15, 2017, Teva assured investors that only

the Rimsa reporting unit’s goodwill was impaired (by $900 million) and stated that “[t]here was no

impairment for our remaining reporting units [including the U.S. generics reporting unit].” But

Defendants’ DCF model for the fourth quarter of 2016 was inflated because they applied improper

inputs to their DCF model. Defendants, in violation of GAAP, used inflated projected cash flows,

applied an abnormally low discount rate and applied an abnormally high terminal growth rate that

they knew market participants would not use to value the reporting unit. Therefore, the goodwill for

the U.S. generics reporting unit was also inflated by at least $7.6 billion or 33% of Teva’s reported

$23.1 billion goodwill as of the fourth quarter of 2016.

         551.       One of the critical inputs for goodwill impairment testing is the projected future cash

flow and the implicit compounded annual growth rate (“CAGR”). For Defendants’ fourth quarter


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2016 goodwill impairment test, Teva’s DCF model effectively applied an aggressive, biased CAGR

of 20%. But in Teva’s own July 2015 plan, Defendants used a “Pro Forma Free Cash Flow” CAGR

of 14.4% and Defendants themselves characterized the expected 14.4% cash flow CAGR as

representing “[s]trong free cash flow.” 17 Defendants had no credible basis to arbitrarily boost their

expected 14.4% CAGR to 20%, an increase of 39% in the CAGR in the fourth quarter of 2016. And

in July 2016, Teva used a CAGR of 11% for their projected cash flows (see §III.F, supra).

Defendants had no basis to increase the cash flow CAGR to 20% just five months later as of

December 31, 2016. Therefore, the maximum CAGR that Defendants should have applied for their

fourth quarter 2016 DCF model was their own 14.4% CAGR that was disclosed to investors, and

that Defendants themselves used to support the existence of Teva’s original $23.1 billion goodwill

for the U.S. generics reporting unit when Teva acquired Actavis in 2016.

         552.       In the 1Q2017 Form 6-K filed on May 11, 2017, Teva assured investors of its

continuous monitoring of “events or changes in circumstances that may impact the valuation of our

goodwill” and concluded that nothing affected its conclusion that the fair value estimates were

greater than the carrying amounts of the goodwill. In fact, not only did Teva fail to recognize any

impairment of its overvalued goodwill, it actually increased the amount of goodwill relating to its

Actavis acquisition and its generics segment. Teva increased the goodwill of its generics segment by

$590 million from $32.863 billion to $33.453 billion as of March 31, 2017. Since Teva’s goodwill

was still impaired at the first quarter of 2017, the reported goodwill was overstated by at least

$7.6 billion or 33% of Teva’s reported $23.1 billion goodwill as of the first quarter of 2017.

         553.       In the 2Q2017 Form 6-K filed on August 3, 2017, Defendants reported “a goodwill

impairment charge of $6.1 billion related to [Teva’s] U.S. generics reporting unit.” Defendants



17
     See Teva, Current Report (Form 6-K), Enhancing Teva’s Growth Profile (July 27, 2015).

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however, knew that GAAP required a much larger goodwill impairment charge of at least

$8.9 billion – $2.8 billion more than they recorded for the second quarter of 2017. In their DCF

model for the second quarter of 2017, Defendants again purposefully inflated the fair value of the

U.S. generics reporting unit by applying an abnormally low discount rate and an abnormally high

terminal growth rate that they knew market participants would not use to value the reporting unit.

         554.       For the second quarter of 2017, Defendants stated in their November 2, 2017 3Q2017

Form 6-K that Teva applied the following expected future cash flow assumptions:

         Teva expects revenue and operating profits to continue to decline in the next two
         years, as its ability to successfully launch new generic products is not expected to
         offset or exceed the price and volume erosion for its existing portfolio prior to 2020,
         following which time, in 2020 and 2021, Teva expects to return to moderate growth.

Defendants’ however, applied an effective CAGR of 7.4% for the second quarter of 2017, which did

not comport with a “cash flow decline in the next two years,” followed by a “return to moderate

growth.” A 7.4% cash flow CAGR is mathematically equivalent to a small decline in the first two

years, followed by consecutive 16.6% increases in cash flows for future years 2020 and 2021.

Defendants’ effective 16.6% CAGR for future years 2020 and 2021 does not comport with

“moderate growth,” since Defendants themselves have characterized a 14.4% CAGR as “strong free

cash flow” growth.

         555.       Furthermore, Defendants also admitted in the 3Q2017 Form 6-K to

         certain developments in the U.S. market [during the second quarter of 2017], which
         negatively impacted Teva’s outlook for its U.S. generics business [including the
         following]: (i) additional pricing pressure in the U.S. market as a result of customer
         consolidation into larger buying groups to extract further price reductions;
         (ii) accelerated FDA approval of additional generic versions of off-patent medicines,
         resulting in increased competition for these products; and (iii) delays in new launches
         of certain of Teva’s generic products.

Nonetheless, to give Defendants the benefit of the doubt, Plaintiffs have made no changes to

Defendants’ aggressive, biased 7.4% implicit cash flow CAGR assumption for the second quarter of


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2017. And even though such an aggressive, biased assumption cuts against Teva’s own recognized

$6.1 billion goodwill impairment at the second quarter of 2017, which was greatly understated,

Plaintiffs’ analysis assumes no adjustments to Defendants’ cash flow assumptions for the second

quarter of 2017. 18

         556.       For the third quarter of 2017, Teva did not take any impairment for goodwill. In the

3Q2017 Form 6-K, filed on November 2, 2017, Teva falsely assured investors that the Company

conducted impairment testing of goodwill for the third quarter of 2017 and that the goodwill fair

value was actually higher than carrying value even though the Company claimed that it had lowered

future cash flow projections. Defendants falsely stated that the amount of goodwill was $29.2 billion

for the generics segment and $39.4 billion for all reporting units as of September 30, 2017.

Defendants stated in the 3Q2017 Form 6-K: “As of September 30, 2017, Teva adjusted the

projections for its U.S. generics reporting unit to reflect favorable events, partially offset by further

increased pressure in the U.S. generics market.” Since Teva’s goodwill was still impaired at the

third quarter of 2017, the reported goodwill was overstated by at least $8.0 billion, or 52% of Teva’s

reported $15.5 billion goodwill as of the third quarter of 2017.

                           b.      Teva’s Discount Rate and Terminal Growth Rates
                                   Were Improperly Inflated

         557.       Two other critical inputs for goodwill in the DCF model are the discount rate and

terminal growth rate. 19 The discount rate is “a rate of return used to convert a future monetary sum

into [a] present value.” AICPA, Statements on Standards for Valuation Services, VS Section 100,

Valuation of a Business, Business Ownership Interest, Security, or Intangible Asset (June 2007).

18
   Had a more appropriate CAGR rate of 6.4% been used, Teva’s impairment charge would have
been understated by $3.1 billion.
19
    These two inputs have a greater impact on the goodwill measurement than projected cash flow
because relatively small decreases in the discount rate and/or relatively small increases in the
terminal growth rate can dramatically inflate the goodwill fair value measurement.

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The discount rate reflects macroeconomic risk, such as interest rate risk and the risk of recession, as

well as industry risks. “The discount rate is a market-driven rate. It represents the expected yield

rate – or rate of return – necessary to induce investors to commit available funds to the subject

investment, given its level of risk.” Shannon P. Pratt and Alina V. Niculita, Valuing a Business: The

Analysis and Appraisal of Closely Held Companies 182 (2008) (emphasis in original). The terminal

growth rate measures the perpetual cash flow growth rate after the end of the discrete period and is

used to measure the terminal or residual value of the business. “If [the] company is in an industry

subject to vigorous competitive pressure, with little prospect for real growth without large capital

expenditures, then perpetual growth at the rate of expected long-term inflation may be reasonable

(i.e., zero real growth).” Id. at 248.

         558.       Defendants used a 6.8% discount rate and a 2.0% terminal growth rate for the fourth

quarter of 2016, first quarter of 2017, second quarter of 2017, and third quarter of 2017. For the

fourth quarter of 2017, Defendants increased the discount rate to 7.3% and continued to apply a

2.0% terminal growth rate. Defendants knew that a 6.8% discount rate for the fourth quarter of

2016, first quarter of 2017, second quarter of 2017, and third quarter of 2017 was abnormally low

and a 2.0% terminal growth rate for those quarters was abnormally high. The discount rate and the

terminal growth rate that Defendants used did not reflect rates that market participants would use in

a DCF model of the U.S. generics reporting unit, as required by GAAP. As discussed below, GAAP

also required that Defendants use observable inputs to the extent possible. And Defendants had no

empirical or verifiable basis to support their inputs, which inflated the U.S. generics reporting unit’s

fair value in violation of GAAP.

         559.       For the fourth quarter of 2017, Defendants belatedly wrote down $10.4 billion for

goodwill impairment for the U.S. generics reporting unit, wiping out a total of $16.5 billion of



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goodwill in fiscal 2017, representing more than 71% of the reporting unit goodwill balance that was

originally reported in fiscal 2016.

         560.       When the cash flow projections discount rate and the terminal growth rate for the

fourth quarter of 2016 through the third quarter of 2017 are adjusted to rates that market participants

would use in accordance with GAAP, the U.S. generics reporting unit’s goodwill was actually

impaired by $8.5 billion in the fourth quarter of 2016, $7.6 billion in the first quarter of 2017,

$7.6 billion in the second quarter of 2017, and $8.9 million in the third quarter of 2017. As a result

of improperly accounting for goodwill, Teva’s operating income, net income and EPS were

materially overstated as depicted in the chart below.




                    2.     GAAP Provisions Concerning Goodwill and Goodwill
                           Impairment

         561.       Goodwill represents the excess of the purchase price over the fair value of the net

assets acquired in a business combination. Accounting Standards Codification (“ASC”) 805-10-05-4

“requires that a business combination be accounted for by applying . . . the acquisition method.”

ASC 805-20-30-1 describes the acquisition method, which requires the acquiring company to record

the assets acquired and liabilities assumed at their respective fair market values as of the date of the

acquisition. ASC 805-10-20 describes fair value as “[t]he price that would be received to sell an

asset or paid to transfer a liability in an orderly transaction between market participants at the

measurement date.” ASC 350-20-35-16 states that “[t]he excess of the fair value of a reporting unit

over the amounts assigned to its assets and liabilities is the implied fair value of goodwill.”


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         562.       “A reporting unit is an operating segment [of a company] or one level below an

operating segment (also known as a component).” ASC 350-20-20 Glossary. Although Teva

classified generics as a separate segment, for goodwill reporting purposes, Defendants treated the

U.S. generic part of the generics segment as a separate reporting unit for measuring applicable

goodwill impairment.

         563.       ASC 350-20-35-2 states that “[i]mpairment is the condition that exists when the

carrying amount [or book value] of goodwill exceeds its implied fair value.” Following an

acquisition, companies are required to account for any goodwill recorded as part of the acquisition in

accordance with ASC 350-20. ASC 350-20-35-28 requires goodwill to be tested annually and, as is

at issue here, for any quarter when certain circumstances are present.

         564.       ASC 350-20-35-3A requires that a company test goodwill for any quarter when an

assessment of “qualitative factors” determines that “more likely than not (that is, a likelihood of

more than 50 percent) that the fair value of a reporting unit is less than its carrying amount, including

goodwill.” This qualitative assessment is sometimes referred to as “step zero,” since the goodwill

impairment test itself involves GAAP procedures referred to as “step one,” followed by “step two,”

if required, as discussed in detail below. 20

         565.       GAAP requires goodwill impairment analysis testing for any quarter when certain

triggering events are present “that would more likely than not reduce the fair value of a reporting




20
    Instead of performing step zero, “[a]n entity has an unconditional option to bypass the qualitative
assessment . . . and proceed directly to performing the first step of the goodwill impairment test. An
entity may resume performing the qualitative assessment in any subsequent period.” ASC 350-20-
35-3B.

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unit below its carrying amount.” ASC 350-20-35-30. 21 As noted in ASC 350- 20-35-3C, examples

of such triggering events include, but are not limited to, the following:

                   Macroeconomic conditions such as deterioration in general economic
                    conditions, limitations on accessing capital, fluctuations in foreign exchange
                    rates, or other developments in equity and credit markets

                   Industry and market considerations such as a deterioration in the environment
                    in which an entity operates, an increased competitive environment, a decline
                    in market-dependent multiples or metrics (consider in both absolute terms
                    and relative to peers), a change in the market for an entity’s products or
                    services, or a regulatory or political development

                   Cost factors such as increases in raw materials, labor, or other costs that have
                    a negative effect on earnings and cash flows

                   Overall financial performance such as negative or declining cash flows or a
                    decline in actual or planned revenue or earnings compared with actual and
                    projected results of relevant prior periods

                   Other relevant entity-specific events such as changes in management, key
                    personnel, strategy, or customers; contemplation of bankruptcy; or litigation

                   Events affecting a reporting unit such as a change in the composition or
                    carrying amount of its net assets, a more-likely-than-not expectation of
                    selling or disposing all, or a portion, of a reporting unit, the testing for
                    recoverability of a significant asset group within a reporting unit, or
                    recognition of a goodwill impairment loss in the financial statements of a
                    subsidiary that is a component of a reporting unit

                   If applicable, a sustained decrease in share price (consider in both absolute
                    terms and relative to peers).

         566.       ASC 350-20-35-3E required Defendants to test for goodwill impairment if any

triggering events, including but not limited to any of the examples given above, alone or in

combination, made it more likely than not the fair value of the reporting unit is less than the book

value or carrying amount. ASC 350-20-35-3E also provides that the triggering events must be

considered holistically. In other words, even if no individual triggering event is sufficient, on its

21
    “Goodwill of a reporting unit shall be tested for impairment between annual tests if an event
occurs or circumstances change that would more likely than not reduce the fair value of a reporting
unit below its carrying amount.” ASC-350-20-35-30.

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own, to make it more likely than not the fair value of the reporting unit is less than the book value, if

the “totality” of the events and circumstances described above, as applied to Teva’s U.S. generics

reporting unit, made it more likely than not that the fair value of a reporting unit at each quarter was

less than its carrying amount, then Defendants were required to perform the first step of the two-step

goodwill impairment test.

         567.       Moreover, factors that were based on observable inputs are entitled to greater weight

than those based on inputs (such as forecasts) in the step zero analysis because observable inputs

reflect the assumptions market participants would use. ASC 820-10-05-1C requires that:

         When a price for an identical asset or liability is not observable, a reporting entity
         measures fair value using another valuation technique that maximizes the use of
         relevant observable inputs and minimizes the use of unobservable inputs. Because
         fair value is a market-based measurement, it is measured using the assumptions that
         market participants would use when pricing the asset or liability, including
         assumptions about risk.

Cf. FASB Statement of Accounting Concepts No. 8 (“SFAC No. 8”) at 18 (accounting must strictly

avoid bias, slanting and manipulation undertaken “to increase the probability that financial

information will be received favorably”).

         568.       During the first three quarters of 2017, by Defendants’ own admissions and/or

objective facts, Teva’s U.S. generics reporting unit met at least three of the specific triggering

circumstances set forth in ASC 350-20-35-3C, as well as other factors that they were required to

consider under ASC 350-20-35-3F. These circumstances and factors indicated that this reporting

unit’s goodwill was more likely than not impaired, requiring testing of goodwill.

         569.       Decline in overall financial performance. The generic segment’s continuous poor

overall financial performance indicated that the U.S. generics reporting unit’s goodwill was more

likely than not impaired. ASC 350-20-35-3C(d).               Because the decline in overall financial




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performance was an observable input available to market participants, it was entitled to substantial

weight in the step zero analysis. ASC 820-10-05-1C.

         570.       Increased competition and changes in industry conditions and the market for

generic drugs. Defendants repeatedly represented that the generics segment and the U.S. generics

reporting unit in particular faced increased competition and changed industry conditions. Pursuant

to ASC 350-20-35-3C(b), the existence of increased competition and changed industry and/or market

conditions added to the requirement that the Company test for goodwill impairment each quarter.

Because increased competition, the change in industry conditions, and the market for Teva’s generic

drug products were observable inputs available to market participants, they were entitled to

substantial weight in the step zero analysis. ASC 820-10-05-1C.

         571.       A sustained decrease in share price (and corresponding decline in market

capitalization). ASC 350-20-35-3C(g) also indicates that “a sustained decrease in share price

(consider[ed] in both absolute terms and relative to peers),” can be a triggering event that requires

testing for goodwill impairment. In fact, when Defendants belatedly reported that the U.S. generics

reporting unit’s goodwill was impaired as of the second quarter of 2017 and the fourth quarter of

2017, they themselves ascribed the decrease in the Company’s market capitalization as indicators of

goodwill impairment. Because Teva’s stock price decline and its corresponding decline in market

capitalization were observable inputs available to market participants, they were entitled to

substantial weight in the step zero analysis. ASC 820-10-05-1C.

         572.       Importantly, Teva did not need to perform step two to comply with GAAP.

Completing step one of the goodwill impairment test was sufficient. Defendants acknowledged this

as follows:

         In January 2017, the Financial Accounting Standards Board (“FASB”) issued
         guidance on goodwill impairment testing. The new guidance reduces the complexity
         of goodwill impairment tests by no longer requiring entities to determine goodwill

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         impairment by calculating the implied fair value of goodwill by assigning the fair
         value of a reporting unit to all of its assets and liabilities as if that reporting unit had
         been acquired in a business combination. Teva adopted the provisions of this update
         in the first quarter of 2017. The amount of goodwill impairment charge was
         determined in accordance with this new guidance.

2Q2017 Form 6-K, filed August 3, 2017.

                    3.     Defendants Failed to Properly Perform the Goodwill
                           Impairment Tests Required by GAAP

         573.       The Defendants well understood goodwill and the proper procedures and calculations

for determining goodwill impairment under GAAP as described above. “Goodwill is largely

attributable to expected synergies following the acquisitions, as well as future economic benefits

arising from other assets acquired that could not be separately recognized at this time.” 3Q2017

Form 6-K. The Defendants recognized that when applying the DCF income valuation method that

“Cash flow projections are based on management’s estimates of revenue growth rates and operating

margins, taking into consideration industry and market conditions.” 2016 Form 20-F. The

Defendants also knew that in the DCF model the discount rate used is based on the “weighted-

average cost of capital adjusted for the relevant risk associated with business-specific

characteristics.” Id.

         574.       Teva ultimately disclosed information about those inputs and assumptions. When

Teva belatedly took its $10.4 billion write-down in February 2018, it also disclosed information that

revealed the inputs and assumptions used to compute the fair values and the carrying values (book

values) of the U.S. generics reporting unit during the fourth quarter of 2016 through the third quarter

of 2017.

         575.       Defendants’ DCF models used during the pertinent period relied entirely on

unsupported and unreasonable inputs and assumptions that Defendants knew did not comport with

GAAP. Defendants knew, for example, that:


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         Estimates of future cash flows used to test the recoverability of a long-lived asset
         (asset group) shall incorporate the entity’s own assumptions about its use of the asset
         (asset group) and shall consider all available evidence. The assumptions used in
         developing those estimates shall be reasonable in relation to the assumptions used
         in developing other information used by the entity for comparable periods, such as
         internal budgets and projections.

ASC 360-10-35-30. 22 In particular, GAAP states that, “[i]n developing unobservable inputs, a

reporting entity may begin with its own data, but it shall adjust those data if reasonably available

information indicates that other market participants would use different data.” ASC 820-10-35-

54A.

         576.       According to GAAP, a “reporting entity shall measure the fair value of an asset or a

liability using the assumptions that market participants would use in pricing the asset or liability,

assuming that market participants act in their economic best interest.” ASC 820-10-35-9. GAAP

defines market participants as:

                 Buyers and sellers in the principal (or most advantageous) market for the
         asset or liability that [among other things] are independent of each other, that is, they
         are not related parties [and] are knowledgeable, having a reasonable understanding
         about the asset or liability and the transaction using all available information,
         including information that might be obtained through due diligence efforts that are
         usual and customary.

ASC 820-10-20, Glossary.

         577.       For Defendants’ discount rates and terminal growth rates, they also deliberately failed

to apply reasonable, supportable, and verifiable inputs in accordance with GAAP. For example,

ASC 820-10-05-1C requires that:

         When a price for an identical asset or liability is not observable, a reporting entity
         measures fair value using another valuation technique that maximizes the use of

22
   Although ASC 360 applies to long-lived assets, specifically property, plant and equipment, this
guidance similarly applies to the ASC 350 income approach’s use of future cash flows in the DCF
model. “If the guidance for a transaction or event is not specified within a source of authoritative
GAAP for that entity, an entity shall first consider accounting principles for similar transactions or
events within a source of authoritative GAAP for that entity and then consider nonauthoritative
guidance from other sources.” ASC 105-10-05-2.

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         relevant observable inputs and minimizes the use of unobservable inputs. Because
         fair value is a market-based measurement, it is measured using the assumptions
         that market participants would use when pricing the asset or liability, including
         assumptions about risk.

Cf. SFAC No. 8 at 18 (accounting must strictly avoid bias, slanting and manipulation undertaken “to

increase the probability that financial information will be received favorably”). “The fair value

hierarchy gives the highest priority to quoted prices (unadjusted) in active markets for identical

assets or liabilities (Level 1 inputs) and the lowest priority to unobservable inputs (Level 3 inputs).”

ASC 820-10-35-37 (emphasis in original). “Level 2 inputs are inputs other than quoted prices

included within Level 1 that are observable for the asset or liability, either directly or indirectly.”

ASC 820-10-35-47 (emphasis in original). “Level 2 inputs include . . . market-corroborated

inputs.” ASC 820-10-35-48 (emphasis in original).

         578.       Defendants’ failure to recognize and book the goodwill impairment charge at the

fourth quarter of 2016 for the U.S. generics reporting unit, when GAAP required the goodwill

impairment charge, is a common fraud scheme. In an academic study, Kevin K. Li and Richard G.

Sloan concluded that the implementation of what was previously referred to as SFAS 142 (currently

ASC 350) has resulted in “relatively inflated goodwill balances and untimely impairments.” They

also concluded, precisely as Defendants did here, that “managers . . . [exploit] the discretion afforded

by SFAS 142 [using non-neutral, biased projections and assumptions that do not comport with

GAAP] to delay goodwill impairments, causing earnings and stock prices to be temporarily

inflated.” 23



23
    Kevin K. Li & Richard G. Sloan, Has Goodwill Accounting Gone Bad?, Social Science Research
Network (Jan. 23, 2015), http://ssrn.com/abstract=1466271 (last visited Apr. 26, 2019). Professor
Sloan is the Emile R. Nimela Chair in Accounting and International Business at the Hass School of
Business, University of California, Berkeley, and serves as an editor, associate editor, or on the
editorial board of Review of Accounting Studies, Accounting Review, Accounting and Finance,
Journal of Accounting and Economics, and Journal of Finance Economics.

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         579.       Timely recognition of goodwill impairments is critical to investors because, when a

goodwill impairment is announced, investors revise their company performance expectation

downward. An academic study by Zining Li, Pervin Shroff, Ramgopal Venkataraman, and Ivy

Zhang confirms this is the case:

                 Our results show that on average the market revises its expectations
         downward on the announcement of a goodwill impairment loss and the downward
         revision is related to the magnitude of the impairment loss.

                                             *       *      *

                We further examine how the market reacts . . . when a firm with potentially
         impaired goodwill does not announce a goodwill impairment loss . . . .

                                             *       *      *

         [W]e find no evidence that market participants revise their expectations at the time of
         revelation [reporting] of a zero impairment loss. 24

“We further show that the impairment loss serves as a leading indicator of a decline in future

profitability due to a slow-down in sales and/or higher operating costs.” Id. at Abstract. In other

words, when a company announces a goodwill impairment, investors revise their future cash flow

expectations downward and the stock price falls in relation to the magnitude of the reported

impairment loss. On the other hand, if investors are aware of factors that could potentially result in

goodwill impairment (called “triggers” in accounting), but the company concludes that goodwill is

not impaired, then investors do not revise their expectations downward even though they are aware

of goodwill impairment indicators.

         580.       When Defendants belatedly recognized $6.1 billion and $10.4 billion goodwill

impairments as of the second quarter of 2017 and the fourth quarter of 2017, respectively, financial

analysts provided commentary about the adverse consequences of the goodwill announcements to

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    Zining Li, Pervin K. Shroff, Ramgopal Venkataraman & Ivy Zhang, Causes and Consequences
of Goodwill Impairment Losses, Social Science Research Network (May 2010),
https://papers.ssrn.com/sol3/papers.cfm?abstract_id=590908 (last visited Apr. 26, 2019).

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the future of the Company. The “$14 billion in additional goodwill and other impairments taken this

quarter [fourth quarter 2017] foreshadows further deterioration in the business.” Morningstar Equity

Research, Teva’s Operational and Debt Problems Result in Disappointing 2018 Outlook (Feb. 8,

2018). “We expect these challenges to continue for the next several quarters and the company took a

large goodwill impairment charge in 4Q (~$11Bn) mainly due to these challenges.” Credit Suisse,

We Expect TEVA’s US Generics Business to See Some Stability Starting in 2017 (Feb. 11, 2018).

“Teva reported goodwill [and other] impairments of $17.1B in 2017, mainly due to headwinds in its

U.S. generics unit. Therefore, it is not clear if U.S. generic drug pricing has stabilized yet.” Cantor

Fitzgerald Equity Research, Prescribing Big Change, But Return to Growth Could Take Time

(Feb. 8, 2018). “Teva took a $17.1 billion goodwill [and other] impairment[s], which investors

should see as reflective of how challenging the situation is.” Wells Fargo Equity Research, TEVA:

4Q17 First Look – Trends Look Poor (Feb. 8, 2018).

         581.       The consensus total Company terminal growth rate that financial analysts used for the

second quarter of 2017, however, was 0.0%. Consequently, Teva’s 2% terminal growth rate that it

used for the second quarter of 2017 was not “in line with [the] recent general outlook for [the] U.S.

generics [market].” For the data used to be “neutral” and to have “verifiability” in accordance with

the requirements of SFAC No. 8, Teva should have used a 0.0% terminal growth rate assumption for

the U.S. generics reporting unit as of the second quarter of 2017. Similarly, using the consensus

terminal growth rates based on the corresponding financial analyst reports for each quarter, the

consensus terminal growth rates that market participants would use was 0.8% for the fourth quarter

of 2016, 0.0% for the second quarter of 2017 and 0.3% for the third quarter of 2017.

         582.       Teva should also have relied on the consensus financial analyst terminal growth rates

because that data was verifiable and supported, whereas Teva’s 2.0% terminal growth rate

assumption lacked the verifiability required by GAAP. “Verifiability helps assure users that

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information faithfully represents the economic phenomena it purports to represent. Verifiability

means that different knowledgeable and independent observers could reach consensus, although not

necessarily complete agreement, that a particular depiction is a faithful representation.” SFAC

No. 8.

         583.       When Plaintiffs applied the inputs and assumptions that market participants would

use, as required by GAAP, and even incorporated some of Defendants’ overoptimistic (biased) cash

flow growth assumptions, Defendants should have recognized the following goodwill impairments:




         584.       And when the corrected goodwill impairments to the U.S. generics reporting unit

were made to Teva’s financial statements, Teva’s operating income, net income, and EPS were

materially overstated for each quarter in the fourth quarter of 2016 through the third quarter of 2017,

as follows:




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         K.         Actionable False and Misleading Statements and Omissions

         585.       During the Relevant Period, Defendants made eight types of false and misleading

statements or omissions on conference calls with investors, in SEC filings, and in Company reports

and documents:

         •          False Statements Regarding Competition. These statements falsely indicated that
                    Teva was participating in competitive and functioning markets for generic drugs. To
                    the contrary, Teva made dozens of price increases in tandem with its competitors.
                    Teva and these companies deliberately did not compete on price.

         •          False and Misleading Pricing Statements. These statements concealed Teva’s Price-
                    Hike Strategy and the profits it generated. Later, the statements concealed that the
                    Price-Hike Strategy fell apart as Teva was unable to make more price increases or
                    sustain the Inflated Profit, including the Collusive Profit. These statements were
                    particularly misleading, as Defendants touted, and investors were highly attuned to,
                    the sources of the generics segment’s purported success.

         •          Concealed Receipt of Subpoenas and Subsequent Denials. Defendants failed to
                    disclose in the Notes Offering Materials Teva’s receipt of subpoenas from the DOJ
                    and the State AGs in connection with their antitrust investigations into the generics
                    industry. Even after the disclosures of the subpoenas, Teva continued to deny having
                    participated in any collusive conduct.

         •          False and Misleading Statements Relating to the Actavis Acquisition. These
                    statements concealed the negative impact of the Actavis acquisition and integration
                    on Teva’s financial results and business prospects.

         •          False and Misleading Statements Relating to Goodwill. Beginning in the fourth
                    quarter of 2016, and through the end of the Relevant Period, Teva materially
                    overstated the value of its goodwill and inflated its balance sheet and operating
                    results by billions of dollars. In particular, Defendants, in violation of GAAP, used
                    bogus inputs for Teva’s DCF model which included inflated future cash flow
                    projections, based on abnormally low discount rates and abnormally high terminal
                    growth rates. In addition, Defendants made false and misleading disclosures about
                    Teva’s goodwill valuations and testing.

         •          False and Misleading Statements Explaining Financial Results. These statements
                    explained the sources and drivers of Teva’s financial results but failed to disclose
                    that the Company’s financial performance was positively impacted or mitigated by
                    the Inflated Profit, including the Collusive Profit.

         •          False and Misleading Statements Concerning Legal Compliance. These statements
                    falsely and unequivocally represented that Teva was in compliance with laws and
                    regulations and covenanted to the Company’s continual compliance. In truth, Teva
                    was engaged in illegal anti-competitive activities that constituted violations of
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                    antitrust laws and exposed the Company to significant risk of prosecution, along with
                    the attendant financial and reputational harm.

         •          False and Misleading Statements Relating to the Bribery Schemes. These statements
                    concealed that Teva was involved in worldwide bribery schemes centered around its
                    key drug Copaxone and touted Teva’s long history of supposedly ethical business
                    practices globally.

                    1.     False and Misleading Statements Regarding Competition

         586.       Throughout the Relevant Period, on conference calls, in Teva’s SEC filings, and in

the Company’s reports and publications, Defendants made materially false and misleading

statements concerning the purported: (i) “intense” competition on price in the U.S. market for

generic drugs, and (ii) “fierce” competition against “strong competitors” such as Mylan, Perrigo,

Actavis, Sandoz and Heritage. These statements gave investors the false impression that the markets

for generic drugs were functioning as intended. Given that their products are undifferentiated

commodities, the only way that generics manufacturers can compete is on the price of their products.

Such competition is the very purpose of the generics market, which was created to drive the price of

generic drugs towards their marginal cost of production, providing access for patients to life-saving

medicines.

         587.       Defendants’ statements about supposed competition on price by generics

manufacturers were false and misleading because Teva was not in fact competing on price. Instead,

Teva and its competitors, on at least 48 occasions, raised their prices in tandem, often by very large

amounts of well over 100%, rather than using lower prices to increase market share. Of the 48

occasions, at least 17 price increases were conducted collusively. Teva would also raise the price of

drugs on which it had a monopoly, while other generics manufacturers stayed on the sidelines

instead of entering the market. Teva was profiting from a lack of competition, not from thriving in a

competitive market environment. The markets for generic drugs were not functioning competitively;

rather than compete, generic drug manufacturers would deliberately and intentionally choose not to.

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         588.       In each of the 2013 Form 20-F (filed February 10, 2014), 2014 Form 20-F (filed

February 9, 2015), 2015 Form 20-F (filed February 11, 2016), 2016 Form 20-F (filed February 15,

2017), 2017 Form 10-K (filed February 12, 2018), and 2018 Form 10-K (filed February 19, 2019),

Defendants made substantially similar false and misleading statements with slight insignificant

variations (incorporated by reference in each quarterly filing and the ADS/Preferred Registration

Statement) that: (i) warned investors that “intense” competition was a primary risk Teva faced in the

U.S. generic drug market, and that competition would force the price of generic drugs down as

competitors “compet[ed] for advantage based on pricing,” as would be expected; and (ii) described

how the Company’s competitive advantages included its “competitive pricing strategy,” its product

portfolio, and the ability to launch new generics:

                 Our generic drugs face intense competition. Prices of generic drugs
         typically decline, often dramatically, especially as additional generic
         pharmaceutical companies (including low-cost generic producers based in China
         and India) receive approvals and enter the market for a given product and
         competition intensifies. Consequently, our ability to sustain our sales and
         profitability on any given product over time is affected by the number of new
         companies selling such product and the timing of their approvals.

                                            *      *      *

                Sales of generic pharmaceuticals have benefitted from increasing awareness
         and acceptance on the part of healthcare insurers and institutions, consumers,
         physicians and pharmacists globally. . . . These conditions also result in intense
         competition in the generic market, with generic companies competing for
         advantage based on pricing, time to market, reputation, customer service and
         breadth of product line.

                                            *      *      *

         In the United States, we are subject to intense competition in the generic drug
         market from other domestic and foreign generic drug manufacturers, brand-name
         pharmaceutical companies through lifecycle management initiatives, authorized
         generics, existing brand equivalents and manufacturers of therapeutically similar
         drugs. Price competition from additional generic versions of the same product
         typically results in margin pressures. We believe that our primary competitive
         advantages are our ability to continually introduce new and complex generic
         equivalents for brand-name drug products on a timely basis, our quality and cost-


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         effective production, our customer service and the breadth of our product line. We
         believe we have a focused and competitive pricing strategy.

         589.       Each of the 2013 Form 20-F, 2014 Form 20-F, 2015 Form 20-F, 2016 Form 20-F,

2017 Form 10-K, and 2018 Form 10-K contained signed certifications pursuant to the Sarbanes-

Oxley Act of 2002 (“SOX”) by Desheh (2013 Form 20-F, 2014 Form 20-F, 2015 Form 20-F, and

2016 Form 20-F), Altman (2013 Form 20-F), Vigodman (2014 Form 20-F and 2015 Form 20-F),

Peterburg (2016 Form 20-F), McClellan (2017 Form 10-K and 2018 Form 10-K), and Schultz (2017

Form 10-K and 2018 Form 10-K) stating that the financial information contained in the Forms 20-F

and Forms 10-K was accurate and disclosed any material changes to the Company’s internal control

over financial reporting.        In addition, Desheh, Altman, Vigodman, Peterburg, Schultz, and

McClellan certified that they were “responsible for establishing and maintaining disclosure controls

and procedures” and that such controls and procedures ensured that “information required to be

disclosed in reports that [Teva] files or submits under the Exchange Act [was] recorded, processed,

summarized and reported, within the time periods specified in the SEC rules and forms, and that

such information is accumulated and communicated to its management, including the chief executive

office and chief financial officer, as appropriate to allow timely decisions regarding required

disclosure.”

         590.       The statements in ¶¶588-589 were materially false and misleading or omitted material

facts. In particular:

                    (i)    Defendants’ statements above concerning Teva’s “primary competitive

advantages” and “competitive pricing strategy,” that the Company “compet[ed] for advantage based

on pricing” and “face[d] intense competition,” and that “[p]rices of generic drugs typically decline,

often dramatically” when new competitors entered the market were materially false and misleading

when made because: (a) Teva had gained its competitive advantage through illegal price fixing and


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market allocation schemes and the anti-competitive Price-Hike Strategy; (b) Teva’s pricing strategy

was not competitive and the Company conducted at least 76 price increases on selected generic

drugs between 2013 to 2016 without competitors competing on price, with at least 48 increases made

in tandem with purported competitors and at least 17 increases made collusively; and (c) Teva

engaged in collusive and anti-competitive price-fixing and market allocation schemes on over 100

generic drugs; and

                    (ii)   Defendants’ statements above concerning “margin pressures” from “[p]rice

competition” were materially false and misleading when made because Teva’s profit margin

improved significantly between 2013 to 2019 with over $2.75 billion of Inflated Profit, of which at

least $1.57 billion was Collusive Profit – all of which was generated with insignificant price

competition.

         591.       In addition to Forms 20-F and filings that incorporated them by reference, in each of

its Form 6-K quarterly financial results filings, Teva touted its competitive position and pledged to

increase its U.S. leadership position through its commitment to regulatory compliance:

         We expect that our U.S. market leadership position will continue to increase as a
         result of the enhancement of our specialty business, our ability to introduce new
         generic equivalents for brand-name products on a timely basis, our emphasis on
         customer service, the breadth of our product line, our commitment to regulatory
         compliance and quality and our cost-effective production.

         592.       On July 27, 2015, Teva filed a Form 6-K signed by Desheh that described the

Company’s “strong generics portfolio” as a competitive advantage that drove the delivery of generic

drugs at “competitive prices”:

                 When combined with Teva’s strong generics portfolio, Allergan Generics’
         world-class generics pipeline, which holds a leading position in first-to-file
         opportunities in the U.S., will further enhance Teva’s goals of delivering the highest
         quality generic medicines at the most competitive prices and cultivating the best
         development pipeline in the industry.



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         593.       On the same day, Teva hosted a conference call in which Olafsson emphasized the

competitiveness of the U.S. generics market and characterized Teva’s co-conspirators as “strong

competitors in the market.” In turn, Vigodman claimed that “[w]e believe in competition” while

discussing the Company’s improved performance:

         [Olafsson:] I think both Mylan and Perrigo individually are strong competitors in
         the market. Remember, the US generic market is very competitive. There are over
         200 generic companies. So it’s a fierce competition on most of the portfolio if not
         all of the portfolio.

                                                *        *       *

         [Vigodman:] [W]e promise to do everything in our power to basically take the
         Company to be able to continue the improvement that we have been witnessing here.
         We believe in competition, and will do what is needed in order to win in all the
         markets we operate.

         594.       During Teva’s third quarter 2015 earnings call on October 29, 2015, Olafsson boasted

about the Company’s stellar performance in the generics business despite competition in the market,

including from Actavis, and emphatically stated that “pricing is obviously based on the

competition”:

         But overall, we will be in the range of 28% operating profit from the generics, which
         really is first class with the countries we’re operating in today. . . .

                    . . . It is not easy in the competition today . . . .

                                                *        *       *

         So what has happened with the Actavis generics?

                    . . . We’re competing with them in the market on a day-to-day business.

                                                *        *       *

                So on the pricing, I think pricing is obviously based on the competition. We
         have talked about that the overall pricing trend is down.

         595.       During a Jefferies LLC Global Healthcare Conference on November 19, 2015,

Desheh highlighted the competitiveness of the U.S. generic drug market and falsely represented that

Teva played the competitive game fairly, “by the book and by the rule”:
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         Generic prices? There are no – I believe there are many examples for competitive
         environment, real competition, like we see in the generic market in the United
         [S]tates.

                                              *      *       *

         So we are playing the competitive game. We are playing it fairly. We, of course,
         play by the book and by the rule. And we believe that our exposure to any initiative
         on price reduction in the United States is as small as anybody can have. . . .

                 But we also saw that there is a floor to this. And the floor is an economic and
         business model. And wherever prices have come down to a level that it doesn’t
         make sense, companies like us just pull out. We refuse to participate in tenders that
         generate no profit and we just pull out. You pull out, prices go up because there is
         less supply over the demand. And we are, in short, playing in a very competitive
         market. And that’s a global phenomenon, not just limited to the US.

         596.       The statements in ¶¶591-595 were materially false and misleading or omitted material

facts. In particular:

                    (i)    Defendants’ statements above concerning Teva operating in a “competitive

environment” and a “very competitive market,” facing “fierce competition on most . . . if not all of

the portfolio,” playing “the competitive game . . . fairly,” believing in competition and delivering

“generic medicines at the most competitive prices,” with pricing “based on the competition,” and

that “the overall pricing trend is down” were materially false and misleading when made because:

(a) Teva did not operate in a competitive market, as the marketplace for many of its key generic

drugs was tainted by illegal price-fixing and market allocation schemes and the anti-competitive

Price-Hike Strategy; (b) pricing for Teva’s generic drugs was not competitive or trending down, as

the Company implemented at least 71 massive price increases on selected generic drugs between

2013 to 2015 without competitors competing on price, with at least 48 increases made in tandem

with purported competitors and at least 17 increases made collusively; and (c) Teva engaged in

collusive and anti-competitive price-fixing and market allocation schemes on over 100 generic

drugs; and



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                    (ii)   Defendants’ statements above that “Mylan and Perrigo individually are strong

competitors in the market” and that Teva was competing with Actavis on a “day-to-day” basis were

materially false and misleading when made because Teva had engaged in collusive anti-competitive

activities with Mylan, Perrigo and Actavis and implemented price hikes in tandem with these

purported competitors.

         597.       On January 5, 2016, Teva published its 2014 Global Citizenship Report, signed by

Vigodman. In the report, the Company emphasized its “operational efficiencies” as a competitive

advantage in maintaining “competitive market pricing positions”:

                 Much of our core business drives access to affordable healthcare through
         our ongoing investment in new generic products and their registration in national
         markets for the benefit of local patients. Our continued focus on operational
         efficiencies enables us to maintain competitive market pricing positions.

         598.       On February 11, 2016, during the fourth quarter 2015 earnings call, Olafsson again

stressed to investors the intense competitiveness of the U.S. generics drug market for every generic

drug, with Teva “fighting on a molecule by molecule basis” after product launches and engaging in

“fierce competition” with Actavis in particular:

         There is a lot of competition in the US, there is no question about it. As you well
         know, there are over 200 generic competitors in the US market and the competition
         is fierce.

                                             *      *       *

         There is a [sic] still a very fierce competition between Actavis Generics and Teva in
         the market today, there’s no question about that. We basically launched the
         product. We compete on pricing. And you have to keep in mind that especially in
         the – in the bigger market, both in the US and Europe, you are really fighting on a
         molecule by molecule basis. If there is a lowering of the prices, you either have to
         walk away from the business and that’s that. And that is the fact of the US
         business, and that doesn’t change anything around the combination of the two
         companies.

         599.       On May 9, 2016, Teva held its first quarter 2016 earnings call, in which Olafsson

discussed the U.S. generics market competition. Again, he reiterated there was fierce competition in


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the market and that Teva was competing “forcefully” against Actavis. He further represented that

Teva “walk[ed] away when competition [was] too fierce” and discussed competition in the topical

space with pricing pressures faced by co-conspirators such as Perrigo and Sandoz:

         We know, if we look at the US market, there’s 230 generic companies that are
         competing, so the competition is fierce. . . .

                . . . I think overall, the consolidation of the customers hasn’t changed that
         much in the last 24 months, as I said in my prepared remarks on, the change in the
         competition hasn’t been that much. So at this point in time, I don’t see [sic]
         foresee any big changes in the pricing environment in the US or globally. There’s
         nothing on the horizon that changes my mind.

                                           *       *       *

         We also walk away when the competition is too fierce on a product. We are not
         trying to grow our market share, which affects the 4% market share.

                                           *       *       *

         [A]round the information we get from Allergan. First of all, we have – we are
         competitors in the market. . . . We are competing very forcefully in the market
         until closing.

                                           *       *       *

         So on topicals now, I think there is some pricing pressure. You’ve seen that maybe
         in the companies that are more exposed to topicals like Per[r]igo and Sando[z], to
         some extent they have been talking about more pricing pressure than we have been
         talking about, or Mylan or Allergan, so that could be a reason.

                Overall, in topicals, the competition is a little bit less. We are talking about
         usually maybe three to five competitors in the market, where you have on
         commodities maybe 18, 19 – up to 18, 19 competitors. But currently, we are not
         that exposed to topicals ourselves.

         600.       On August 2, 2016, Teva filed a Form 6-K signed by Desheh that touted the

acquisition of Actavis, which enhanced Teva’s competitive position in delivering generic medicines

“at the most competitive prices”:

                This strategic acquisition brings together two leading generics businesses
         with complementary strengths, R&D capabilities, product pipelines and portfolios,
         geographical footprints, operational networks and cultures. The result is a stronger,
         more competitive Teva, well positioned to thrive in an evolving global marketplace,

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         to realize the opportunities the very attractive global and U.S. generics markets offer,
         and to deliver the highest-quality generic medicines at the most competitive prices,
         unlocking value to patients, healthcare systems and investors around the world.

         601.       Two days later, during the second quarter 2016 earnings call, Olafsson again

emphasized the fierce competition in the generic drug market – in particular, competition against

Actavis and Emcure/Heritage, with Heritage having a significant impact on Teva’s volume, but

“very little impact on our profitability or the top line.” And when questioned about the opportunity

to raise prices on selected products, he responded that market competition kept pricing in check,

even for a sizeable company like Teva:

         But we also have versus previous years, there’s an impact from a third-party
         manufacturer in India, Emcure [Heritage] which has a significant volume impact,
         but very little impact on our profitability or the top line.

                                            *       *       *

         [T]here has been a regular competition between Actavis and Teva, but Teva always
         has used Anda in the past.

                                            *       *       *

         [W]ith the 208 generic companies in the US market, the competition is fierce.
         There’s no question about it. . . .

                . . . I think most companies have started to understand how the market
         functions. But it is a fierce competition in the market. There’s no question in my
         mind, that with 208 companies with an – on average now from the FDA,
         approximately 55 to 60 approvals every month, we need to be on top of our game.

                                            *       *       *

         [Chris Schott – JPMorgan – Analyst:] As you kind of review the pro forma business,
         do you see the opportunity to raise price on select products here? . . .

                 . . . [Olafsson:] On the pricing, as you know, and we know that, the size
         really doesn’t affect the pricing. And I have a strong feeling when you have over
         200 competitors, size has nothing to do about pricing.

         602.       On September 9, 2016, Teva held a Generic Medicines Business Overview

conference call during which Olafsson insisted that, because of the intense competition for each

molecule, competitors were always willing “to take a little bit lower price”:
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                  Remember that there’s 208 generic companies out there that are offering
         product, and an average of every molecule we have, there is more than five
         competitors. So there’s always somebody happy to take a little bit lower price. So
         it’s a very competitive business we’re in.

         603.       The statements in ¶¶597-602 were materially false and misleading or omitted material

facts. In particular:

                    (i)     Defendants’ statements above concerning Teva maintaining its “competitive

market pricing positions” through operational efficiencies were materially false and misleading when

made because Teva had gained its competitive positions through illegal price fixing and market

allocation schemes and the anti-competitive Price-Hike Strategy;

                    (ii)    Defendants’ statements above concerning Teva driving “access to affordable

healthcare,” facing “a lot of competition” and fierce competition in the U.S. generics market,

delivering “generic medicines at the most competitive prices” through “R&D capabilities, product

pipelines and portfolios,” and “always” encountering “somebody happy to take a little bit lower

price” were materially false and misleading when made because: (a) Teva did not operate in a

competitive market, as the marketplace for many of its key generic drugs was tainted by illegal

price-fixing and market allocation schemes and the anti-competitive Price-Hike Strategy; (b) pricing

for Teva’s generic drugs was not competitive, as the Company implemented at least 76 instances of

massive price increases on selected generic drugs between 2013 to 2016 without competitors

competing on price, with at least 48 increases made in tandem with purported competitors and at

least 17 increases made collusively; and (c) Teva engaged in collusive and anti-competitive price-

fixing and market allocation schemes on over 100 generic drugs;

                    (iii)   Defendants’ statements above concerning the “very fierce competition”

between Actavis and Teva on pricing and competition with Perrigo and Sandoz in the topical market

were materially false and misleading when made because Teva had engaged in collusive anti-


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competitive activities with Actavis, Perrigo and Sandoz and implemented price hikes in tandem with

these purported competitors;

                    (iv)   Defendants’ statements above that there had been no significant change in the

competitive and pricing environment in the United States were materially false and misleading when

made because the anti-competitive practices in the generics industry that contributed substantially to

the Company’s financial results were drawing increased scrutiny, which made it difficult for Teva

and other manufacturers to continue to implement price hikes; and

                    (v)    Defendants’ statements above that Teva experienced “significant volume

impact, but very little impact” on profitability from Heritage and that it walks away “when the

competition is too fierce on a product” were materially false and misleading when made because

Teva was engaged in an anti-competitive market allocation scheme by agreeing with Heritage and

other manufacturers to not compete with each other by walking away from selected customers in

certain markets to maintain heightened pricing.

         604.       On May 11, 2017, during the first quarter 2017 earnings call, Peterburg claimed that

Teva faced increased competition caused by the FDA, which led to pricing erosion:

                 Our generic business is not immune to the challenges other companies in our
         industry are currently facing with increased competition and consolidation. This is
         reflected in the most recent analysis we completed that looks at net price erosion in
         our U.S.-based business, which came in at 7% versus the approximately 5% that
         we communicated previously. The 2 biggest contributing factors to this change are
         the ongoing consolidation of our key customers and the increase in generic drug
         approval by the FDA, which has created additional competition.

         605.       The statement above was materially false and misleading or omitted material facts

because the anti-competitive practices in the generics industry that contributed substantially to the

Company’s financial results were drawing increased scrutiny, which made it difficult for Teva and

other manufacturers to continue to conduct price hikes and led to pricing erosion and additional



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competition. In addition, Peterburg understated the rate of pricing erosion which was much higher

than 7%.

                    2.     False and Misleading Statements Regarding Teva’s Price-Hike
                           Strategy and Collusive Activities

         606.       On October 31, 2013, Teva held its third quarter 2013 earnings call. Participants

from Teva included Desheh and Oberman.

         607.       During the call, Oberman again reassured investors of Teva’s efforts in improving

profit margins, with a focus on tweaking “product by product” in a “margin enhancement strategy,”

but concealed that such strategy was driven by the Price-Hike Strategy, including collusive price

hikes, to quickly increase profit margins with no incremental increase in cost:

         The word rationalizing leads you to believe there is a massive effort going on, and
         really what we are focused on is product by product. Individual products where we
         want to improve our margins in working together with Carlo and his team in
         reducing our costs . . . . It’s a tweaking here and there of products that we are
         working very consciously on to improve our margin. Have we discontinued some
         products? Yes, but they are very few and very far between. I think you should view
         it more of a margin enhancement strategy than really a massive rationalization
         strategy.

         608.       On December 10, 2013, Teva hosted its 2014 Business Outlook Conference Call.

Oberman stated that the Company had increased prices on a number of generic products in 2013, and

defendant Desheh affirmed that such price hikes will go directly to the bottom line – without

disclosing that the price increases were part of widespread collusive activities:

         [Oberman:] We have been able to take pricing on a number of products this year
         and are forecasting next year to recoup some of that price erosion.

                                             *      *      *

                [Desheh:] We do estimate, we do see price erosion trends of slowdown in
         Europe and in the United States. You heard it both from Allan and from Dipankar
         Bhattacharjee. So I believe that at one point in time, it wouldn’t take long, where all
         the improvement will go to the bottom line of the generic business.




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         609.       At least as early as the end of 2013, Teva published its 2012 Corporate Social

Responsibility Report, signed by Desheh, which emphasized the Company’s business as a provider

of affordable generic medicines and unequivocally assured investors that its “sales and marketing

efforts follow the laws and regulations of markets where we operate.” The report stated, in part:

         Letter from the CEO

                 As one of the world’s largest medicine companies, Teva has a tremendous
         responsibility to our patients, as well as to our customers, shareholders and
         employees and to the communities in which we live and work. We consider this
         responsibility a foundation of doing business, and are guided by our values –
         integrity, respect, collaboration, excellence and leadership – in everything we do.

                                             *      *       *

               We are also the world’s leading provider of affordable generic
         medicines . . . .

                                             *      *       *

                Teva boasts more than 100 years of ethical and responsible business
         practices.

                                             *      *       *

                Teva aims to build a culture of integrity and ethical behavior in every
         country where we do business. We uphold the highest ethical standards for our
         Board of Directors, executives and employees.

                                             *      *       *

         We offer a wide range of products, including many generic alternatives to
         innovative pharmaceuticals, that provide millions of people with sometimes life-
         saving access to affordable medicines.

         610.       On February 6, 2014, Teva held its fourth quarter 2013 and full year 2013 earnings

call. Participants from Teva included Desheh, Oberman and Altman.

         611.       On the call, Defendants discussed the performance of the generics business in the

United States. Although Teva’s U.S. generics business turned in 14% revenue growth in the fourth

quarter and double-digit growth in last six months of 2014, Defendants attributed the improved


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profitability to cost reduction and concealed the impact of the Price-Hike Strategy, including the

collusive activities, on profitability growth:

         [Altman:] Non-GAAP gross profit in 2013 was $11.9 billion or 58.6% of revenue,
         a decrease of $0.2 billion or 0.8% compared to 2012. This decrease was mainly the
         result of lower revenues of PROVIGIL, which lost its exclusivity, as well as the
         reduced revenue from additional exclusive generic products, mainly atorvastatin.

                These were partially offset by more profitable product mix mainly in the US
         generic business, and higher COPAXONE revenue, as well as early contribution of
         our cost reduction program.

                                              *      *       *

                 [Desheh:] As to your question on the profitability our generic. You see the
         profitability of the generic business in Q4. It’s in line with what we have guided to
         2014 and we believe that we’re going to deliver that, at least. A lot of our cost
         reduction programs are going to hit the bottom line of the generic business, as we
         said. It’s not a one-sided picture.

                We are going to improve and get a lot of money into the bottom line over
         our generic business in order to improve competitiveness.

                                              *      *       *

                On the scale that we’re seeing, our US generic business is definitely the
         most profitable part, with gross margin at about the 50%. It’s a little over 40% in
         Europe. It’s around 35%, but improving next year, in Japan. It’s close to 50% in
         emerging markets.

                                              *      *       *

         [Oberman:] Building on what Eyal said, we are reporting a 14% top-line growth on
         the US generics business in the fourth quarter. In the back half of the year when
         we have an apples to apples comparison of six months versus six months, we
         reached double-digit growth. At the gross profit levels that Eyal was talking about,
         it is a very valuable business to Teva. And we see it continuing to be on a go-
         forward basis.

         612.       The statements in ¶¶601-611 were materially false and misleading or omitted material

facts. In particular:

                    (i)    Defendants’ statements above that Teva was a “leading provider of affordable

generic medicines” that upheld the “highest ethical standards” were materially false and misleading


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when made because: (a) Teva was engaged in illegal price-fixing and market allocation schemes that

caused generic drug prices to skyrocket; (b) Teva implemented at least 18 massive price increases on

selected generic drugs during 2013, with at least 15 increases made in tandem with purported

competitors; and (c) Teva engaged in collusive and anti-competitive price-fixing and market

allocation schemes on over 40 generic drugs; and

                    (ii)   Defendants’ statements above concerning improving profitability through cost

reduction and “profitable product mix” in the U.S. generic business mitigating profitability decline

were materially false and misleading when made because: (a) Teva’s financial results were inflated

in part by collusive activities and the Price-Hike Strategy; and (b) the Company generated at least

$250 million in Collusive Profit and Inflated Profit in 2013, which contributed significantly to the

financial results.

         613.       On May 1, 2014, Teva held its first quarter 2014 earnings call. Participants from

Teva included Vigodman and Desheh.

         614.       During the call, Desheh recognized that Teva’s significant revenue growth in the first

quarter was driven by the U.S. generics business, and Vigodman targeted 600 basis points in

profitability improvement in the generics business. Vigodman asserted that Teva planned to achieve

the profitability target by re-evaluating its generics business by product and by market through

portfolio selection and management – without disclosing that such revenue and profitability growth

would be driven by the Price-Hike Strategy and anti-competitive collusive activities:

         [Desheh:] The improvement of our sales this quarter was nicely split between the
         generic and the specialty businesses. In generics, we experienced significant
         growth in the United States market, with 17% year-over-year growth to a total of
         $1 billion, with a number of new product launches.

                                              *       *       *




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         The profitability of our major business segment was driven by global generic, with
         31% improvement resulting from the strong performance in the US market and
         higher profitability in Europe.

                                              *      *       *

         [Vigodman:] We have been assessing markets and products, in order to terminate
         products and markets, which will not meet a minimum threshold of profitability.

                I strongly believe that there is significant strategic and economic value in
         global generics leadership. Teva must regain focus on its generic business, with
         strong emphasis on portfolio selection and management, on R&D and innovation,
         on markets and product profitability, with the target to improve our profitability by
         the end of 2017 by at least 600 basis points.

         615.       On July 31, 2014, Teva held its second quarter 2014 earnings call. Participants from

Teva included Vigodman, Desheh and Olafsson.

         616.       During the call, Desheh attributed the generic segment’s revenue and profitability

growth to new launches in the United States, without disclosing the significant impact of the

Company’s Price-Hike Strategy and illegal collusive activities to the segment’s improved

performance:

                 [Desheh:] As you can see from the results highlight, this was another good
         quarter, which followed a solid Q1. We delivered 2% increase in revenues, we drove
         an 8% year-over-year improvement in our operating profit, 4% increase in net
         income, and 3% increase in earnings per share. Cash flow generation for the quarter
         was also very strong.

                                              *      *       *

         The improvement in sales this quarter was driven by the growth of our global
         generic business, primarily in the US. This increase resulted mainly from a full
         quarter of sales of Capecitabine, generic Xeloda, which was launched exclusively
         in March 2014, and the launch of Omega-3, generic Lovaza, for which we are first
         to market.

                                              *      *       *

                Looking at what impacted profitability this quarter, the improvement of
         operating profit and profitability was driven by strong results of our global generic
         business, with profit improvement of 41% compared to last year. Launch of
         generic Xeloda in March and generic Lovaza this quarter in the US market,
         together with improvements in profitability in Europe, led to the better results. . . .

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                 So when we look at profitability by segment this quarter, profit contribution
         of the generic business increased from 24% last year to 32% of total this year.

         617.       On October 30, 2014, Teva held its third quarter 2014 earnings call. Vigodman,

Desheh and Olafsson participated on the call.

         618.       During the call, Desheh and Olafsson attributed the generics business’s profitability

and revenues performance to lower expenses and new launches. In addition, in response to an

analyst’s question on price increases, Olafsson assured investors that price increases were only taken

when opportunities like shortages existed in the market:

                 [Desheh:] Profitability, which is our measure for segment operating income
         without G&A allocation, improved through all segments. Mostly for the generic
         segment, with 40% improvement year over year . . . . The improvement is due to
         better gross margins, lower sales and marketing expenses and Copaxone revenue,
         which grew year over year.

                                              *       *      *

         We can see the gross profit margin over the full year improved from 39.5% to
         44.3%. Total profitability operating profit from 15.9% to almost 23%, an
         improvement of 7 full points.

                                              *       *      *

         [Olafsson:] Let me talk a little bit about the US business. I think overall we have a
         good revenue off the new launches this year.

                [Capecitabine] being the generic Lovaz[a,] omega 3[, and] Entecavir.
         Entecavir was a new launch for us in the quarter. I think all these three products
         have been very significant contributors through the year.

                                              *       *      *

                I think the pricing, I’ve said it before, there’s never a price increase on the
         base business as a whole. Like any other business, if there’s a pricing opportunity
         that comes in the market, we look for that.

                 But the base business itself has been eroding overall because of the
         consolidation of the customers. When there is an opportunity, when there is a
         shortage in the market, we obviously look for pricing like any other business. But
         overall, as I’ve said many times before, the base business itself is slowly eroding the
         overall of the base business.


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         619.       On December 11, 2014, Teva hosted its 2015 Business Outlook conference call.

Participants from Teva included Vigodman, Desheh, and Olafsson. During the call, Vigodman and

Olafsson attributed the generic segment’s profitability to cost reduction, insisted that media coverage

of dramatic price increases in the U.S. generic drug market was simply a “hot political issue,” and

emphasized that Teva’s generic drugs actually experienced net pricing erosion in the past two

years – while failing to disclose the significant impact of the Price-Hike Strategy and anti-

competitive price-fixing activities on Teva’s U.S. generic drug pricing and profitability:

         [Vigodman:] Our cost reduction program will yield $650 million of net savings
         that flow directly to the bottom line in 2014. It supports the very important
         profitability of our new established Global Generic Medicine group, which will
         deliver 400 basis points in profitability in 2014.

                                             *      *      *

                 [Olafsson:] Also the US has done [an] amazing job and over the last two
         years, the operating profit in the US will increase by 10%. And that’s when you are
         the market leader like we are in the US. This is the fruit of the strategy we have in
         place. We are not growing the top line at the same rate, but the bottom line is very
         important to us.

                                             *      *      *

         I have to disagree that [wholesalers] have experienced tremendous price increase.
         I think overall the pricing in the US of generics has been flat to a slight down.
         There has been a lot of press about price increases on individual molecules, and
         this has been a hot political issue, selecting a few products.

                                             *      *      *

                [Vigodman:] First, maybe on – just to underscore the point that was made by
         Siggi. What we see in terms of pricing, we see an erosion, still a net erosion,
         generic prices. It is lower than what we saw two years ago, but still net/net we see
         net erosion. That’s a message that shall be spelled out in a very clear way.

         620.       On December 15, 2014, the Company issued its 2013 Corporate Social Responsibility

Report, signed by Vigodman, which misleadingly represented that the Company adhered to ethical

guidelines in all countries, even if doing so put it in a competitive disadvantage:

         A Letter from Erez Vigodman, Teva’s President & CEO

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                                           *       *       *

                 Teva is shifting its focus and reorienting its business model in order to stay
         ahead of the changes and deliver on our promise to our patients. These are
         transformative and exciting times for us. As such, they underscore not only what we
         need to change, but what must remain constant: our unwavering commitment to
         conducting our business responsibly and ethically. . . .

                . . . As one of the top 12 global pharmaceutical companies and a world leader
         in Generics, we are committed to increasing access to high-quality, affordable
         healthcare.

                                           *       *       *

         Going forward, we aim at targeting a unique space in the industry, at the intersection
         between innovative and off-patent drugs, in a way that will enable us to meet more
         and more unmet needs of patients along their journey, with affordable and
         integrated solutions that improve their adherence and compliance and enhance
         treatment effectiveness.

                                           *       *       *

                As we quest towards the differentiated leadership space we wish to claim and
         make our own, our strategic decisions and actions are guided by our deep-seated
         sense of social responsibility.

                                           *       *       *

               We bring safe, effective, innovative and affordable medications to patients
         worldwide, while delivering results for our customers, shareholders and
         employees. . . .

               Our corporate culture and our focus on broadening the access to affordable
         medicines is what drives our success.

                                           *       *       *

                As the world’s largest generic drug manufacturer, Teva plays a key role in
         providing patients with access to affordable medicines. Our broad portfolio of
         generic drugs helps us bring the latest advances in medicine to millions of patients,
         while keeping costs down throughout national healthcare systems. Our generic
         drugs offer affordable medicines that address pressing health issues in the
         developed world.

                                           *       *       *

               Teva plays an important role in generating value to the healthcare systems
         and wider economies in which we operate. The scale of production and the


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         accessible price of our products help to limit rising healthcare costs and improve
         patient health outcomes.

                                           *      *       *

         While marketing regulations may differ by region, we adhere to the ethical
         marketing guidelines in our Code of Business Conduct in all countries, even if this
         puts us at a competitive disadvantage.

                                           *      *       *

                Each action Teva takes, each action our employees take, shapes the ethical
         character of our company. That character is at the heart of how we operate and it is
         what sets us apart in the marketplace. It drives our deep commitment to expanding
         the availability and affordability of medicines for patients worldwide.

                 From the Board of Directors and CEO to each individual employee in each
         unit, we are unwavering in our commitment to doing what is right while striving to
         reach our financial and business goals. Although we face complex challenges as
         we transform our business, no objective is worth compromising our values or
         ethical standards.

         621.       On January 6, 2015 and January 13, 2015, Vigodman participated in the Goldman

Sachs CEOs Unscripted Healthcare Conference and the JPMorgan Healthcare Conference,

respectively. During the conferences, in answering analysts’ questions about when Teva would

begin to focus on topline revenue growth for the generics segment and what would drive such

growth, Vigodman reiterated that Teva’s market and product optimization and selection processes

would drive revenue growth – without disclosing that such processes had already driven the

Company’s U.S. generics revenue and profitability growth by selecting numerous drugs for

participation in illegal market allocation and price-fixing activities and the Price-Hike Strategy:

         •          Goldman Sachs January 6, 2015 conference:

                [Jami Rubin – Goldman Sachs – Analyst:] The focus for generics has been
         on growing profitability, not the top line. And as you have remarked, the
         improvement in profitability has been very impressive. But when do you start to
         focus on topline growth, and what will drive that growth beginning in 2017? . . .

                . . . [Vigodman:] First, look at the measures that we are conducting now.
         The decisions, the optimization of markets and product, that’s something that in
         most of the cases reduces the top line. Number one.

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                Number two, decisions on product selection. Over time it will basically
         enable us to drive our top line.

         •          JPMorgan January 13, 2015 conference:

         [Chris Schott – JPMorgan Securities – Analyst:] You’re driving very, very
         impressive operating margin expansion as we look through 2015. Can we just talk a
         little bit about once that’s complete, is there further opportunity for margin expansion
         within that generic business or is that largely going to be taken care of in 2015? I’m
         just trying to think about how we think about growth in that business over time
         beyond the step-up we’re expecting this year?

                [Vigodman:] So, there is this strong focus today on bottom line;
         optimization of products and markets, product selection decisions and also
         basically the acceleration of FTFs, strong focus on margins and profitability in a
         way which has manifested itself in a very clear manner. All of the time, the
         generic business will drive up also the topline. So we believe that in 2017 onward,
         we start to see the generic business driving up also the topline without derogating
         from the efforts to continue excess high pressure on margins and bottom line.

         622.       The statements in ¶¶614-621 were materially false and misleading or omitted material

facts. In particular:

                    (i)    Defendants’ statements above concerning Teva as a provider of affordable

generic medicines, experiencing net erosion of generic drug prices, making “strategic decisions and

actions” that were “guided by our deep-sense of social responsibility,” and adhering to ethical

guidelines “even if this puts us at a competitive disadvantage,” were materially false and misleading

when made because: (a) Teva was engaged in illegal price-fixing and market allocation schemes and

the anti-competitive Price-Hike Strategy that caused generic drug prices to skyrocket; (b) Teva

implemented at least 50 massive price increases on selected generic drugs during 2013 and 2014,

with at least 35 increases made in tandem with purported competitors; and (c) Teva engaged in

collusive and anti-competitive price-fixing and market allocation schemes on over 100 generic

drugs;

                    (ii)   Defendants’ statements above concerning improving sales and profitability

through new product launches, lower expenses, cost reduction and the optimization of markets and


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products in the generic business driving profitability were materially false and misleading when

made because: (a) Teva’s financial results were inflated in part by illegal collusive activities and the

Price-Hike Strategy; and (b) the Company generated at least $942 million in Collusive Profit and

Inflated Profit during 2013 and 2014, which contributed significantly to its financial results; and

                    (iii)   Defendants’ statements above concerning price increases occurring only

during periods of drug shortages were materially false and misleading when made because the Price-

Hike Strategy was implemented on drugs for which no shortages had in fact occurred.

         623.       On April 30, 2015, Teva held its first quarter 2015 earnings call. Vigodman, Desheh

and Olafsson participated in the call.

         624.       During the call, Desheh and Olafsson emphasized the significant profitability and

revenue growth of the generics segment and the increased contribution from the U.S. market, but

attributed the results to new launches without disclosing the impact of the Price-Hike Strategy and

anti-competitive activities to the top and bottom line:

                 [Olafsson:] We have done [an] outstanding quarter for generics this first-
         quarter 2015. All of our regions shows the significant improvement over first-
         quarter 2014. And despite the FX impact, the profit for the generics increased 59%
         to $799 million. The revenues were up 9% to $2.6 billion. And our operating
         profit in [the] first-quarter was 30.5%, which is a significant improvement over the
         2014 operating profit of 21.9% and 16.7% in operating profit in 2013. We
         successfully launched generic Nexium, esomeprazole, on February 17.

                                             *       *      *

                 [Desheh:] We are tracking the turnaround in our generic business closely.
         As you heard from Siggi, this is doing very well. This quarter, gross margins
         reached nearly 50% for our generic business. Segment profitability was 30.5%,
         above our plan for the year, which I have to remind you was 27%. This is a 10
         [point] percentage point improvement from last year, driven primarily by the
         launch of esomeprazole in the US and other new generic products.

                  US market [increasing in prominence] is reflecting our strong focus on the
         US generic business. FX impact also had a contribution to that and other markets.
         In total, that [will grow our] business in the United States to 59% of our total sales
         worldwide.

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                                              *      *       *

         [Olafsson:] What plays into the operating profit in the generics are probably three
         or four things.

                    First of all, we have a significant improvement in our cost of goods.

                                              *      *       *

                I think the next thing is the portfolio offering. I think the more we have of
         exclusive complex generics on offering, we have a higher margin on these
         products . . . .

                    The third thing is the cost infrastructure.

                                              *      *       *

                When you look at the top line growth, you see that already in first-quarter,
         we have improved our top-line growth. That mainly comes from our new launches
         but also our emphasis on the branded generic markets.

         625.       On May 13, 2015, Desheh participated in the Bank of America Merrill Lynch

Healthcare Conference. During the conference, Desheh touted the profitability of Teva’s generics

business and attributed the improved profitability to numerous factors while concealing the Price-

Hike Strategy and collusive activities:

         First, the generic business. This is nothing short of a revolution. In 2013 our
         gross margin of generic business was 41.3%, it was 46% in Q1 2015. Our
         operating margin was 16.7%, it is 27%, this is full 10 percentage points
         improvement. . . . [T]he operating profit grew – profit margin grew faster than the
         gross, which means that we’re also reducing our expenses that are needed to drive
         the sale. So the improvement is not just on the margins improvement, it is also on
         the expense structure and how we are building the business.

                                              *      *       *

                 Generic side of the house is doing very well. It has probably the best leader
         in the generic industry today under Siggi, very strong management team, both in
         Israel and Europe and in emerging market[s], production system or production
         network that is becoming more and more efficient all the time with a great
         program to reduce costs and reduced expenses, and you’ve seen the results in our
         numbers online. We’re very successful in launching new products, and getting
         approval. We had our fair share, better than others over the past number of
         quarter.


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         626.       On June 10, 2015, Vigodman and Olafsson participated in the Goldman Sachs Global

Healthcare Conference. During the conference, both defendants touted the 1,000 basis point

profitability improvement in the generics business since 2013 and attributed the financial

performance to cost reductions – without disclosing that the Price-Hike Strategy and illegal collusive

activities also significantly impacted profitability:

         [Vigodman:] [W]e started 2014 with a clear message, clear focus getting the house
         [in order] first, solidifying the foundation of Teva. You see the profound change in
         the generic business, you know these are things that are not confined to numbers,
         but [inaudible] 16.7% operating profit in 2013, 21.9% operating profit 2014. We
         are committed to deliver 27% operating profit 2015. The execution of the cost
         reduction program $600 million dollars of net savings 2014, $500 million dollar
         2015 . . . . Full transformation of our operational network. We closed or divested 11
         plants during the last 12 months, we centralized procurement . . . .

                  So everything that was done during 2014 was based on organic moves
         only . . . .

                                              *      *       *

         [Olafsson:] Erez mentioned the profitability 2013 and the challenge. We have
         improved the generic business by 1,000 basis point[s] on a revenue of around
         $10 billion, that is $1 billion improvement in 14 months, 16 months that we have
         done.

         627.       On July 27, 2015, Teva filed a Form 6-K, signed by Desheh, attaching a press release

announcing “Teva to Acquire Allergan Generics for $40.5 billion Creating a Transformative

Generics and Specialty Company Well Positioned to Win in Global Healthcare.” The Form 6-K

described Teva as a provider of affordable generic medicines at “the most competitive prices” and

quantified the “substantial financial benefits” of the acquisition. The Form 6-K, however, failed to

state that Teva was engaging in anti-competitive activities with substantial price hikes, and the

Company’s projections were based on artificially inflated and unsustainable historical performance

impacted by collusive activities:

                This strategic acquisition brings together two leading generics businesses
         with complementary strengths, brands and cultures, providing patients with more
         affordable access to quality medicines, and creating significant financial benefits
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         for Teva stockholders. . . . The new Teva will further transform the global generics
         space through its best-in-class generics pipeline, R&D capabilities, operational
         network, supply chain, global commercial deployment and infrastructure to achieve
         greater efficiencies across the healthcare system and provide patients and consumers
         across the globe with better access to high quality affordable medicines.

                 When combined with Teva’s strong generics portfolio, Allergan Generics’
         world-class generics pipeline, which holds a leading position in first-to-file
         opportunities in the U.S., will further enhance Teva’s goals of delivering the highest
         quality generic medicines at the most competitive prices and cultivating the best
         development pipeline in the industry.

                                             *      *      *

         Substantial Financial Benefits

                 The transaction is expected to provide substantial financial benefits for Teva
         including highly diversified revenues and profits, and substantial cost synergies and
         tax savings. Teva expects Allergan Generics to contribute approximately $2.7 billion
         in EBITDA in 2016, excluding synergies. Following the completion of the
         acquisition, Teva is expected to have pro forma sales of approximately $26 billion
         and EBITDA of approximately $9.5 billion in 2016, including an estimated
         $11 billion in sales outside of the United States. Teva also believes the acquisition
         will be significantly accretive to non-GAAP EPS, including expected double digit
         non-GAAP EPS accretion in 2016 and more than 20% accretion in year two and
         year three following the close of the transaction.

                                             *      *      *

         This acquisition furthers Teva’s promising future in generics with a focus on
         patient needs, improving compliance, convenience, efficacy and safety, and
         providing affordable generic products to patients and society worldwide.

         628.       On the same day, Teva held a conference call with a slide presentation to discuss

Teva’s acquisition of Actavis, attended by Vigodman, Olafsson, Peterburg and Desheh. On the call,

Vigodman informed investors that the Actavis acquisition would generate 5% CAGR for revenues,

over 10% growth for EBITDA, and 12.5% growth for cash flow from operations:

         [Vigodman:] During [the] 2016 to 2018 timeframe, we expect to grow pro forma
         net revenues by a CAGR of 5%, pro forma EBITDA by 10.1%, pro forma cash flow
         from operations by 12.5%, and pro forma free cash flow by 14.4%. The combined
         Company free cash flow would allow for rapid de-leveraging and the ability to
         continue to pursue future acquisitions to expand our portfolio in both specialty
         pharmaceuticals and generics.


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                                          *       *      *

                I said it and I’m just going to hit it now again, that is not the acquisition
         which focuses on cost savings only, a look at the growth profile that we will be
         portraying between 2016, 2018 top-line growth of 5% now we’re on organic moves
         only basis. EBITDA and profits more than 10% CAGR, cash flow more than 12%
         and 14% CAGR . . . .


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         629.       On July 30, 2015, Vigodman, Desheh, and Olafsson hosted the Company’s second

quarter 2015 earnings call, boasting about the significant outperformance of the U.S. generic drug

business – with outsized profitability growth of close to 1,100 basis point in the past two years –

with no mention of the impact of the Price-Hike Strategy and collusive price-fixing and market

allocation schemes on the Company’s performance:

                [Desheh:] When we look at our revenue breakdown by market, the US
         market is increasing in prominen[ce], reflecting our strong focus on US generics
         business and a record quarter for Copaxone sales in the United States. . . .

                 . . . When we look at the bridge of our quarterly revenues, strong results of
         our generics driven by the successful launch of aripiprazole, ABILIFY, this
         quarter, and esomeprazole, NEXIUM, which was launched in Q1, increased it
         significantly.

                                              *      *       *

                The result of all this is a strong trend of improvement in operating margin
         for Teva over the past 18 months of almost 500 basis points in operating profit.
         This was built upon the impressive improvement in the profitability of our generic
         business.

                                              *      *       *

         [Olafsson:] Teva has an outstanding team. If you think about the generic team at
         Teva, they have improved the profitability of the Teva generic business by
         approximately 1,100 basis points in two years.

         630.       On October 29, 2015, Teva held its third quarter 2015 earnings call. Vigodman,

Desheh and Olafsson participated in the call.

         631.       During the call, Olafsson unleashed a diatribe against proposed governmental efforts

to rein in generic prices, criticizing the proposal’s review of pricing on an individual drug basis, and

claimed Teva took price increases only due to “some abnormalities in the market” – all without

disclosing that Teva was engaged in the Price-Hike Strategy and collusive price-fixing and market

allocation schemes to artificially inflate generic drug prices. Vigodman, in turn, falsely assured




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investors that Teva was “very responsible” with respect to its pricing and its profitability was not

driven by price:

                  [Olafsson:] The talk about the inflation in generics, when you have a big
         portfolio it is really not there. 95% of our portfolio is declining, due to the
         consolidation of the customers I talked about. There might be [5]% of the portfolio
         that is either flat or increasing in pricing, due to some abnormalities in the market.
         The proposal on the table now, is that you cannot increase prices for more than
         inflation of generics. But it doesn’t take into account that I am declining on 95%
         of my portfolio, because they want to look at it molecule by molecule. That’s
         number one.

                 And then secondly, from what time point will you look at the price? Will you
         look at the price from when the generic launched, which would be fair. Or do you
         looked [sic] at the low point, after four or five quarters, when you have a fierce
         competition in the market? I think this could easily lead to shortages in the market,
         because there is product out there, if you cannot take a price increase, you simply go
         off the market.

                 Secondly, it doesn’t take into account that API increases are not according to
         inflation. So not that you don’t notice, but I’m quite excited about this. And really I
         think it’s [a]n unfair proposal. And I think the government is shooting their self in
         the foot, in terms of shortages in the market. And how unfair this will be – I think
         to the patients at the end of the day, because when the patients don’t get their
         drugs, I think that will really be when people speak up.

                                           *       *       *

                I still think the pricing environment has been quite favorable for generics
         versus six years ago.

                                           *       *       *

         [Vigodman:] We are very responsible to in [sic] everything that pertains to prices,
         on the generic side and on the specialty side. And I will even put in another way,
         all the improvement you see in margins is not driven by price. It is driven by
         quantities, and by mix, and by efficiency measures, not by price, 2014, 2015. And
         that’s a very important message.

         632.       On November 19, 2015, Desheh participated in the Jefferies Autumn Global

Healthcare Conference and assured investors that Teva played the competitive game fairly, “by the

book and by the rule.” Hence, Teva’s exposure to potential government efforts to rein in generic

prices “is as small as anybody can have”:


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         There is a lot of noise around pricing issues. Some of it is coming from politicians
         or a driving agenda, which is very, very legitimate. Our exposure to all these things
         is very minimal.

                                            *      *      *

                 And Teva was not associated with any of that. So we are playing the
         competitive game. We are playing it fairly. We, of course, play by the book and by
         the rule. And we believe that our exposure to any initiative on price reduction in
         the United States is as small as anybody can have.

         633.       Teva filed its (i) ADS/Preferred Registration Statement on November 30, 2015,

(ii) Preferred Prospectus Supplement on December 3, 2015, and (iii) ADS Prospectus Supplement on

December 3, 2015 – all of which incorporated by reference the materially false and misleading

statements in the 2014 Form 20-F (§§III.K.1, 6, 8), and the 1Q2015 Form 6-K, 2Q2015 Form 6-K,

and 3Q2015 Form 6-K (§III.K.6).

         634.       In addition, the Preferred Prospectus Supplement and ADS Prospectus Supplement

contained materially false and misleading statements concerning Teva and the combined entities’

revenues – with no disclosure that the revenues were artificially and unsustainably inflated by

collusive activities:

                For the nine months ended September 30, 2015, our generics segment
         represented approximately 46% of our revenues. Following the consummation of
         the Actavis Generics acquisition, generics will comprise a significantly larger
         component of our business, expected to be approximately 60% of our revenues.
         Accordingly, we will be increasingly subject to the risks associated with that
         business.

                                            *      *      *




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         635.       On January 5, 2016, Teva issued its 2014 Global Citizenship Report, which, again,

repeatedly touted Teva as the leading provider of affordable generic medicines with generic drugs

pricing reductions of 8.4% in the United States in 2013. Further, Cavanaugh falsely claimed that

Teva brought “‘cost savings to patients each year’” and worked “‘to make products more

accessible’” – without disclosing that Teva’s Price-Hike Strategy and collusive activities had made

generic medicines unaffordable to millions since 2013:

                We changed the game in healthcare by shaping the U.S. generics market and
         other markets around the world, making medicines affordable for millions of
         patients, and saving healthcare systems many billions of dollars each year.

                                             *      *      *

         Message from Teva’s President and CEO, Erez Vigodman

                                             *      *      *

         We also reduced the price on gold-standard therapies and medicines in key
         markets, helping healthcare services, payers and patients save billions of dollars.

                                             *      *      *

                Our passion – as great today as it was when Teva was founded as a single
         pharmacy in Jerusalem – is the fundamental aim to save money for healthcare
         systems, allowing for efficient use of resources and ultimately achieve better
         outcomes for patients. I am proud of what the people of Teva have accomplished.
         Guided by our unwavering commitment to conducting our business responsibly
         and ethically, we continue to influence healthcare decisions for billions of people
         around the world.

                                             *      *      *

                Teva’s generic drug prices were reduced by 8.4% in the U.S. in 2013 –
         double the average price reduction of the 280 top generic drugs sold in the U.S.
         market.

                                             *      *      *

         Affordable healthcare

                We believe that affordable healthcare should be available to all and as a
         global pharmaceutical company, we make a constant effort to make this possible.



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                 Affordable healthcare affects not only emerging economies and those living
         in extreme poverty. It also affects the quality of life for populations of the developed
         world. National economies are strengthened when their populations enjoy good
         health. By helping to increase access to affordable healthcare, we make a positive
         contribution to the global economy.

                                            *       *       *

                “As the largest supplier of generics in the U.S. market, we bring cost
         savings to patients each year and also reduce our costs on an ongoing basis. We
         are continuously working to make products more accessible, especially when there
         are drug shortages in the market.”

         Maureen Cavanaugh, SVP, U.S. Generics Sales & Marketing

                                            *       *       *

         Conscious of the need to ensure generic medicines remain affordable for older
         Americans as well as other patients, we reduced the price of four most frequently
         prescribed generic drugs by 7-21%. Overall, our generic drug prices reduced by
         8.4% – double the average price reduction of 280 generic prescription drugs
         examined by AARP. At the same time, the general inflation rate rose by 1.5%.

         636.       On January 11, 2016, Vigodman and Olafsson participated in the J.P. Morgan

Healthcare Conference. During the conference, Vigodman reiterated the materially false and

misleading projections and emphasized that, with the Actavis acquisition, Teva would generate

$20 billion to $25 billion of free cash flow between 2016 to 2018. At the same time, in response to

analysts’ concerns that McKesson had warned “some may be [sic] challenging pricing on the

generics side or an expectation of that going forward,” Olafsson assured investors that Teva would

be insulated from any potential generic drug pricing erosion because the Company had made only a

“flat or slight increase” to 5% of its portfolio and experienced price declines on the remaining 95%:

         [Vigodman:] So basically during 2016 – during 2016 to 2018 time frame, we will
         grow the bottom line of Teva by more than 10%, including the effect of the
         acquisition. We’ll grow the EBITDA, the cash flow for operation and free cash
         flow, by 20% CAGR during 2016 to 2018 time frame, including the effect of the
         acquisitions.

                 Now, on an organic basis, during 2016 to 2018 time frame we will grow top
         line on organic basis, without – excluding – the effect of the acquisition, by 4% to


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         5% CAGR top line, EBITDA by 8% to 10% CAGR, cash from operations by 10% to
         12% CAGR and free cash flow by 12% to 14% CAGR.

                                           *       *       *

                 Teva will generate during 2016 to 2018 time frame between $20 billion to
         $25 billion of free cash flow. Teva will generate on a run rate basis from 2018
         onward between $8 billion to $9 billion of free cash flow. It will enable us to not
         just to relever swiftly but also to direct resources towards unique assets that will
         enable us or help the Street to assign a higher multiple on higher EPS to Teva.

                                           *       *       *

                 [Olafsson:] The generic pricing – we need to keep in mind there’s a lot of
         talk about inflations in generic pricing. But what we see is there’s – overall on our
         total portfolio of 270 products, there is a slight decrease in pricing. It’s low single
         digit, but year on year we see a low single-digit decrease because on 95% of our
         portfolio, we experience price decline. And then on 5%, we might be flat or a
         slight increase. So, overall, we see that in the business.

                There’s a lot of headlines of examples of big price increases in generics. But
         when you are a company of the size of Teva and you have the portfolio that we
         have today – as I said, 270 products for the whole of the portfolio – there is a
         decline.

                                           *       *       *

                  But if at some point in time the FDA would start to catch up and they would
         start to approve some of these 3,000 applications, there could be an impact on pricing
         of the generic industry. How we think about it is the combined Company at closing
         will have over 300 ANDAs. So if the FDA starts to approve products faster, we will
         have a net benefit from that versus the pricing pressure that we experience.

         637.       On January 25, 2016, Teva filed a Form 6-K, signed by Desheh, to announce the

release of its Corporate Social Responsibility Highlights. Despite the Company’s Price-Hike

Strategy and collusive activities, in the Form 6-K, Vigodman touted Teva’s effort in decreasing

generic drug prices in the United States and making healthcare accessible:

         Teva President and CEO Erez Vigodman [stated:] “The highlights released today
         demonstrate our evolution over the last few years as we make healthcare accessible
         for billions of people around the world and seek to reduce the burden on national
         economies and investing in development to bring new therapeutic options to
         patients.”



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                Teva’s work in decreasing generic prescription drug prices in the U.S.,
         saving billions for the UK National Health Service, lowering greenhouse gas
         emissions and other recent insights into the company’s social responsibility and
         innovation efforts can be found in “Innovating for Better Health: Teva Global
         Corporate Social Responsibility Highlights.”

         638.       Furthermore, in the publication, Teva and Vigodman falsely represented that the

Company had reduced medicine prices to save patients billions of dollars and tackled challenges of

affordability through its business, as opposed to philanthropy:

                In this report, we share with you the stories of how we are meeting this
         commitment: how we innovate and collaborate with our stakeholders to address
         unmet patient needs, develop new therapies, expand the availability and
         affordability of our medicines and respond to the needs of our local communities.

                 . . . We also reduced the price on gold-standard therapies and medicines in
         key markets, helping healthcare services, payers and patients save billions of
         dollars.

                                              *      *       *

         Guided by our unwavering commitment to conducting our business responsibly
         and ethically, we continue to influence healthcare decisions for billions of people
         around the world.

                                              *      *       *

                 As a leading global healthcare company, we are deeply engaged with the
         issues relevant to our stakeholders and our business, such as accessibility and
         affordability of medicines; patient safety and patient support services; strengthening
         healthcare systems and acting ethically and responsibly.

                                              *      *       *

                To find new ways to make healthcare available to and affordable for all, in
         2014 Teva spent nearly $1.4 billion on research and development. In generics
         alone, we invested $517 million, an increase of five percent from 2013, to enhance
         the most affordable and accessible drugs in our product line.

                                              *      *       *

         We aim to expand sustainably and tackle challenges of access and affordability
         through our business, not philanthropy.

         639.       On February 11, 2016, Teva held its fourth quarter and full year 2015 earnings call.

Vigodman, Desheh and Olafsson participated in the call.
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         640.       During the conference call, all three defendants touted Teva’s performance in 2015 as

a record year for operating income, EBITDA, EPS, cash flow and profitability margin driven by the

generics segment – without disclosing that all of these metrics were inflated by the Company’s

Price-Hike Strategy and illegal price-fixing and market allocation activities. In fact, Olafsson falsely

assured investors that the record performance was achieved “[n]ot by pricing,” and refuted news of

generic drug price inflation by asserting that Teva and its competitors all experienced pricing

pressure and declines – albeit Teva experienced less of a decline because “we ha[d] been right in

adjusting the business.” On the basis of these misleading claims, Vigodman re-affirmed the growth

projections made during the Actavis acquisition announcement “[u]sing 2015 as the base year” for

top-line, EBITDA, cash flow from operations, and free cash flow growth:

         [Vigodman:] 2015 was a year of exceptional operational and strategic performance
         for Teva. We delivered in 2015 record operating income, EPS and cash flow, while
         improving profitability margins across the board. Our financial performance was
         based on excellent execution in generics, with significant improvement in
         profitability, strong execution of specialty life-cycle management initiatives,
         continued transformation of our global operations and network, and strong focus on
         cash flow generation.

                                              *       *      *

         EBITDA grew by 6% to $6.6 billion, cash flow for operations grew by 8% to
         $5.5 billion, and free cash flow grew by 15% to $4.9 billion. . . .

                In 2015, we continued the operating profit improvement of our generic
         business, while maintaining the operating profit of our specialty business, in a year
         when we face for the first time generic competition to Copaxone and invested in
         building the future of our specialty franchises.

                                              *       *      *

                Our strong focus on solidifying the foundation of Teva and improving our
         business fundamentals is manifesting itself in the operational step-up since the
         beginning of 2014 and the continuous improvement on all relevant financial
         matters.

                                              *       *      *



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                Today we are reaffirming our 2018 target, first presented last year when we
         announced the proposed Actavis Generics acquisition. Using 2015 as the base
         year, we project a CAGR for top-line growth of 12.5% and 20% CAGR growth in
         EBITDA, cash flow from operations, and free cash flow.

                                             *       *      *

                Last but not least, we expect to generate $20 billion to $25 billion of free
         cash flow during the 2016 to 2018 timeframe.

                                             *       *      *

                 [Olafsson:] 2015 was a very good year for Teva Generics. Thanks to our
         strong performance of the base business and good new products launches, we
         delivered great results in the US and in major markets globally. We continued
         improving the operating profit of the generic business, coming from $1.68 billion
         operating profit in 2013, or 17% of revenue, to $2.68 billion operating profit in
         2015, or 28% of revenue. This is $1 billion improvement in operating profit over
         24 months period.

                So how did we do this? Not by pricing but by portfolio mix, new products,
         and efficiency measures.

                                             *       *      *

         As I’ve previously stated, we and the generic industry overall don’t see price
         inflation of generics as it sometimes is portrayed in the media. On the contrary,
         for 2015, we saw a mid-single-digit price decline for the overall business.

                    In the US, our largest market, we saw approximately 4% price erosion. . . .

                Looking forward, the conjunction of price erosion with the mix changes,
         focus on cost structure, and the new product launches, we continue to drive our
         business growth, both top line and bottom line. We expect to see the same in 2016.
         Nothing today points to a significant change in the generic pricing environment.




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                                              *      *       *

         As I mentioned in the beginning, we didn’t see anything change in [the] fourth
         quarter. We saw approximately 4% pricing pressure or price decline in the US
         business over 2015 flat over the year. Some of our competitors have seen more
         pressure. I think overall, it might have to do with some dosage form differences.
         But also I think we have been right in adjusting the business.

                                              *      *       *

         But keep in mind that from fourth-quarter 2014 to fourth-quarter 2015, there is a
         200-basis-point improvement [in] the operating profit. So there were no exclusive
         launches in either quarters. So the base business, overall base business
         improvement from the 12-month period was 200 basis point from fourth quarter to
         fourth quarter. So I think the overall business is improving.

         641.       The statements in ¶¶624-640 were materially false and misleading or omitted material

facts. In particular:

                    (i)    Defendants’ statements above concerning Teva providing affordable generic

medicines at the “most competitive prices,” working continuously “‘to make products more

accessible,’” experiencing price declines on 95% of the portfolio and a “mid-single-digit price

decline” for 2015 with price erosion of 4% in the United States contributing to a more favorable

pricing environment for generic drugs versus six years ago, having “minimal exposure” to price

reduction initiatives in the United States, reducing generic drug prices by 8.4% in the United States

in 2013 and “the price of [the] four most frequently prescribed generic drugs by 7-21%,”

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“strengthening healthcare systems and acting ethically and responsibly,” and “tackl[ing] challenges

of access and affordability through our business” were materially false and misleading when made

because: (a) Teva was engaged in collusive price-fixing and market allocation schemes and the anti-

competitive Price-Hike Strategy that caused generic drug prices to skyrocket; (b) Teva made at least

71 massive price increases on selected generic drugs during 2013 to 2015, with at least 48 increases

made in tandem with purported competitors; (c) Teva engaged in collusive and anti-competitive

price-fixing and market allocation schemes on over 100 generic drugs; and (d) in 2013, Teva

implemented price hikes in the range of 22% to 812% for at least 18 generic drugs in United States;

                    (ii)    Defendants’ statements above that improving sales, revenues and profitability

were achieved through new product launches, lower expenses, cost reduction, operating efficiency,

and an outstanding generics team at Teva and “[n]ot by pricing” were materially false and

misleading when made because: (a) Teva’s financial results were inflated in part by illegal collusive

activities and the Price-Hike Strategy; and (b) the Company generated at least $1.79 billion in

Collusive Profit and Inflated Profit during 2013 to 2015, which contributed significantly to the

financial results;

                    (iii)   Defendants’ statements above concerning pro forma sales and growth “using

2015 as the base year” were materially false and misleading when made because both measures were

based on and included sales and growth derived from the unsustainable Price-Hike Strategy and

collusive anti-competitive activities;

                    (iv)    Defendants’ statements above that price increases occurred only during

periods of “abnormalit[y] in the market,” such as drug shortages or an increase in demand, were

materially false and misleading when made because the Price-Hike Strategy was implemented on

drugs for which no such abnormality had in fact occurred; and



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                    (v)   Defendants’ statement that “[n]othing today points to a significant change in

the generic pricing environment” was materially false and misleading when made because:

(a) Teva’s Inflated Profit began to decline by close to 8% and 24% quarter-over-quarter in the third

quarter and fourth quarter of 2015, respectively; and (b) the anti-competitive practices in the generics

industry that contributed substantially to the Company’s financial results were drawing increased

scrutiny, which made it increasingly difficult for Teva and other manufacturers to continue to hike

prices.

          642.      On March 8, 2016, Olafsson attended the Cowen Health Care Conference during

which he discussed pricing erosion and drivers of Teva’s profitability growth between 2013 and

2015. He reiterated that Teva saw less than 4% pricing erosion in 2013, 4% in 2014, and 4%-5% in

2015 – even though less than three months before, in its 2014 Global Citizenship Report, the

Company represented to investors that “[c]onscious of the need to ensure generic medicines remain

affordable for older Americans . . . our generic drug prices [were] reduced by 8.4%.” In addition,

Olafsson falsely assured investors that Teva’s 1,100 basis point profitability growth between 2013 to

2015 was driven by improvements in cost of goods sold, portfolio selection, and cost infrastructure –

without disclosing the impact of Teva’s Price-Hike Strategy and collusive activities:

          So we came out in our fourth quarter results, and told the market that we had seen
          approximately 4% price decline in the US market in 2015. And overall for Teva
          generics, we saw approximately 5% price decline in the market in 2015. And
          anyway, when I came out, we were one of the first to come out, I thought I was
          bringing some negative news. But now suddenly I look like the good guy in a bad
          neighborhood. Because some of the other companies saw worse price pressure
          than we saw.

                 I think overall the pricing hasn’t changed that much. There was a lot of
          talk about inflation in generic pricing. But we never saw that. That was an
          individual molecule basis, they used example of products that really were not
          generic products, even though they were off-patent, and in an environment where
          there was an inflation never really happened in the generic business. And there has
          been a decline there.


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                                            *       *      *

         So as of today, I came out with 4% in 2015. As of today, I don’t see any big
         changes in the pricing environment. It’s relatively stable. 4% is worse than maybe
         two years ago. But it’s similar to what we saw in 2014.

                                            *       *      *

         [F]rom 2013 to 2015, we grew the operating profit of the generic business from
         17% in 2013, and we exited for the full year of 2015 we were at 28.1%. So it’s
         about 1,100 basis points we improved the profitability on approximately $10 billion
         in revenue. So it was a significant improvement over a 24-month period. Part of
         that was due to the improvement in our cost of goods sold, very important in
         consolidation of plants and looking for the money there. But also part of it was
         due to portfolio selection and the cost infrastructure.

         643.       On May 9, 2016, Teva held its first quarter 2016 earnings call. Vigodman, Desheh

and Olafsson participated in the call.

         644.       During the conference call, Vigodman and Desheh assured investors that – even

though sales declined in the U.S. generics segment – EBITDA, operating income, cash flows from

operations, net income and EPS were unchanged due to improved profitability and “portfolio

optimization,” without disclosing that Teva’s sales from its Price-Hike Strategy and collusive

activities in the generic drug markets flowed directly to the bottom line and inflated each one of

these metrics:

                [Vigodman:] EPS for Q1 2016 is $1.20, at the top end of our quarterly
         guidance. We have improved our profitability, profit margin by 144 basis points,
         and operating margin by 101 basis points. Cash flow from operations in the
         quarter was a robust $1.38 billion. Our solid performance was driven by continual
         improvement of our core business, with a strong focus on profitability, cost control,
         and portfolio optimization.

                                            *       *      *

                 Our global generics business generated 26.9% operating margin in the
         quarter, without major new launches in the US and other key markets.

                                            *       *      *

         [Desheh:] As you can see from the highlights presented here, this was another strong
         quarter for Teva. Sales declined by 3%, mostly due to exchange rates impact.

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         However, operating income, EBITDA, net income, and earning per share were at
         the same level of last year, due to improved efficiency, and profitability – and Q1
         last year was a very strong quarter as well.

         645.       In turn, Olafsson assured investors that customer consolidation had already taken

effect two years ago, and during that period, Teva’s generics business’s operating profit actually

increased by 140 basis points, and emphasized that Mylan and Allergan were seeing a similar level

of price erosion as Teva. However, throughout his discourse, Olafsson failed to disclose that the

Company’s Price-Hike Strategy and widespread collusive pricing-fixing and market allocation

schemes had inflated Teva’s operating profits and mitigated the effects of price erosion for Teva and

its co-conspirators, such as Mylan and Allergan:

         Now, we fast-forward to April and May, to a new reporting season, and we find the
         number of companies citing a tougher pricing environment or price deflation seems
         to have grown at an almost incredible rate. . . .

                 . . . Teva has not seen any fundamental change or worsening in the pricing
         environment – something we have been consistent about telling investors all year.
         Teva experienced approximately 4% price erosion in the United States last year,
         and our guidance for this year is that it will remain the same. In fact, Allergan,
         and Mylan, two other companies with broad and diversified portfolios and high
         quality products, have also reported similar trends. From where I sit today, there
         is nothing that changes my mind about that. Nothing has happened in the last two
         quarters that has changed the pricing environment. What this boils down to is
         each individual company’s business model . . . .




                 Additionally, we have heard from many of the companies in this sector that
         consolidation of the customers is having an impact on the pricing environment. Of
         course, this consolidation creates pressure on generic manufacturers, but there has
         been no meaningful change in the last two quarters. We believe we have already
         reached a new status quo with the big customers; the fees and charges resulting
         from the customer consolidations are more or less already built into the pricing of
         the products when most of the consolidation took effect 24 months ago.
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                Overall, Teva’s generic business in the first quarter 2016 performed
         extremely well. The operating profit compared to last quarter improved by 140
         basis points from 25.5% in the fourth quarter 2015, to 26.9% in the first quarter
         2016. When compared to first quarter 2015, the operating profit declined by 360
         basis points, fully explained by the exclusive launch of generic Nexium,
         esomeprazole, in the first quarter 2016. Excluding the exclusivity period of
         esomeprazole in first quarter, the profit margin of the generic segment was 24.4%.

                So why is Teva different? Why is our performance better than most generic
         companies? Why are other companies continuing to say, there is a pricing pressure
         greater than what we at Teva are seeing? . . .

                 . . . Some companies are aggressive in going after market share for a variety
         of reasons, including to utilize excess capacity with relatively cheap volume. But in
         order to do that, you’ll have to drive down price. Buying new market share in price
         will cost you on the bottom line. We, on the other hand, are seeing our volumes go
         down, deliberately, net-net approximately 1% a year, because we think that is
         better for our business, and we would rather reduce capacity, than fill it with less
         profitable products.

                                       *       *       *

                 We have taken a significant step to transform our generic business, solidify
         our foundation, increase our profitability, and to better position us to generate
         sustainable long-term growth. These many steps have included portfolio
         optimization, strengthening our capabilities in R&D, and manufacturing of
         complex products, regaining a leading position in submission on first-to-files,
         enhancing our go-to-market, and sales force effectiveness capabilities, and much,
         much more. These are the very capabilities that companies must possess in order to
         thrive at the global level. We have created a unique and differentiated platform,
         positioned to extract significant value in the global growing generic space.

                                       *       *       *

                 I can’t obviously comment on why ABC [AmerisouceBergen] is seeing a
         high single-digit price erosion when we are talking about 4%. But I would remind
         you both Cardinal and McKesson are seeing the similar numbers that we are
         quoting, that Mylan is talking about, and also what Allergan is talking about. So
         it’s not all that bad. That’s number one. Number two, in terms of the – not all
         companies are created equal, and one investor asked me is, are you the only good
         house, in a really bad neighborhood?

                  And I don’t think that’s it, because I think the other houses are blaming the
         neighborhood for their maintenance issues. They are working with leaking houses,
         and it has to do with renewal of the portfolio, of lack of investment in generic R&D.
         That keeps you growing the business, because that is the key at the end of the day. So
         I don’t think you can look at companies, different companies, and say if company A
         is experiencing 7% price erosion, that should be the market norm. You have to look

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         at it differently for a company that has a big portfolio, strong new product launches, a
         differentiated portfolio, and a high quality portfolio.

         646.       In the same conference call, in response to an analyst’s question concerning whether

the announced Actavis acquisition price was still considered fair given the environment, Vigodman

answer with an unequivocal “absolutely yes,” because, “from all of the messages that we are

conveying in here, we strongly believe that we will be able to generate the economics that we

promised.” Later in the call, he re-affirmed his projection of generating $20 to $25 billion of free

cash flow in the first three years:

         [Tim Chiang – BTIG – Analyst:] Now, I know that you guys announced this deal
         back in July of last year. What can you comment about, in terms of the price you’re
         putting on the table for Allergan? You think that’s still a fair price in today’s
         environment?

                 [Vigodman:] Hi, Tim. The answer is absolutely yes. The strategic value of
         the deal, is at least the one that it was when we announced the deal. We have the
         opportunities in that US generic market, and in the global generic space are huge.
         And we strongly believe, that with everything that we are witnessing now, our
         opportunities for Teva are even bigger, compared to basically where [sic] when we
         announced the deal. So for us, what we’re creating in here, is a very unique
         platform, with the same at least the same strategic value that we alluded to when we
         announced the deal. And at the end of the day, it is also about the economics. And
         from all of the messages that we are conveying in here, we strongly believe that we
         will be able to generate the economics that we promised.

                                              *      *       *

         Furthermore, the combined Company of Teva and Allergan generics will generate
         significant amounts of cash. We mentioned numbers like $20 billion to $25 billion
         during the first three years following the closing.

         647.       On June 3, 2016, Vigodman participated in the Sanford C. Bernstein Strategic

Decisions Conference. During the conference, Vigodman attributed Teva’s substantial operating

profit growth between 2013 to 2015 to its business in emerging markets and touted the Company’s

generics business as generating over $240 billion in savings in the United States during the past

decade, while concealing that Teva’s Price-Hike Strategy and illegal collusive activities in the



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United States directly contributed to its bottom line and offset savings to the U.S. consumers of

generic medicines:

         [Vigodman:] We generated $1.6 billion of operating profit, which basically
         represented 17% operating profit – by our entire generic global generic business in
         2013. 2015, we generated 28% margin, $2.7 billion of operating profit. . . . We are
         improving significantly also the business in emerging markets. In emerging
         markets, this is a very profitable business.

                                           *      *       *

         [T]he generic industry saved $1.6 trillion during the last decade they were in the
         United States. The contribution of Teva is $240 billion to $260 billion during the
         last 10 years in the United States.

                                           *      *       *

                So we are very consistent. Our message was conveyed, and we will continue
         to convey. What we see is a 4% to 5% erosion. That’s what we see. That’s not
         something which is different from what we said during 2015. By the way, we
         continue saying it in 2016. I think our results in Q1 demonstrated that.

         648.       On June 8, 2016, Olafsson participated in the Goldman Sachs Global Healthcare

Conference and misleadingly reassured investors about the pricing environment by affirming that:

(i) the pricing environment had not changed since the Actavis deal was signed; (ii) Teva, Actavis and

Mylan had experienced a similar magnitude of price erosion; (iii) the cream and ointment space had

experienced greater price erosion as the opportunities to hike prices, which had occurred two years

ago, were no longer in existence; (iv) products with five or more players in the market were so

competitive that prices were “so low anyway”; (v) price increases taken two years ago were due to

shortages created by the FDA with its import ban; and (vi) customer consolidation would have “little

or very insignificant” impact on pricing. Throughout the conference, he failed to disclose that Teva

was engaged in the Price-Hike Strategy and widespread anti-competitive activities to artificially

inflate pricing – including in the cream and ointment space – and that such conduct mitigated the

price erosion experienced by the Company and its co-conspirators, such as Mylan and Actavis:



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         But really, the environment hasn’t changed. When we signed that [Actavis] deal in
         July, we talked about 4% price erosion in the US generic business. And we are still
         talking about the same number, what we see in the base business.

                                       *       *       *

                 So when you are in a niche industry, like if you are in creams and
         ointments now, where there is pricing pressure that is not a big portion of our
         business. But we need to be wide. I think the challenge has been that the
         companies, the medium-sized companies which don’t have a big enough portfolio,
         don’t have a differentiated enough portfolio, companies that have really gained
         significantly from raising prices in the previous years on maybe one or two
         molecules, and have shown growth year on year based on two molecules; those
         days are gone.

                Because the opportunity of raising prices are not exactly the same as they
         were before. . . .

                 But I challenge the competition as saying it’s not the environment that is bad
         in pricing. You can blame the environment all you want. But it’s the business
         model itself that is failing when you cannot take the same pricing action you could
         do two years ago.

                                       *       *       *

         So Mylan, Actavis, Teva, Capital Health and McKesson; we all are seeing the same
         or similar things. So two of the big three customers, and three of the big four
         generic companies are seeing the same or similar numbers in terms of price
         erosion.

                                       *       *       *

                  So, you know, I’ve been running a US generic business for about 10 years, so
         the last 10 years. And the swings have been from about minus 1% to about minus
         7%. Those have been the extremes. So minus 1%, about two years ago when they
         started the price increases. There was a lot of shortages in the market. This is
         when the FDA went very strongly and had the import bans and things like that,
         which led to shortages, which meant that the overall business was doing much
         better.

                                       *       *       *

                 But overall these are the swings. You will see 3% to 5% every year. I don’t
         expect it to be much worse than 7% to say on a big portfolio. What plays into it is I
         don’t think there could be more consolidation of the customers. For Walmart to go
         to McKesson really doesn’t move things. Walmart already has very good pricing.
         So I think the impact on pricing is very little or very insignificant.

                                           *       *       *
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         And when a product has five or more competitors in the market, the pricing
         doesn’t get much worse. Because it’s so low anyway. Where we are hit on pricing
         is when you’re exclusive or semi-exclusive in the market, and there’s a third and a
         fourth player. That’s really when it hurts in our business.

         649.       On July 13, 2016, Vigodman, Desheh and Olafsson hosted a conference call to

provide a preliminary outlook for 2016-2019 in advance of the consummation of the Actavis

acquisition. During the call, they provided investors with misleading projections for the combined

companies’ financial metrics, including net revenues, EBITDA, free cash flow, and EPS, while

concealing that the assumed generic drug pricing erosion was artificially and unsustainably inflated

by the Price-Hike Strategy and widespread collusive and anti-competitive activities. In addition,

Vigodman represented that Teva had made “huge improvement during the last two years in cash

flow” generation that was “very strongly driven by the improvement of margin in generics,” but

failed to disclosed that the Company’s cash flow and margin improvements were driven by profits

from the Price-Hike Strategy and illegal conduct and were not sustainable:

                 [Vigodman:] Financially, the [Actavis] transaction yields very competitive
         economics. It is highly synergetic, with $1.4 billion in operational and tax
         synergies achievable by the end of 2019. It is significantly accretive to non-GAAP
         EPS, with approximately 14% accretion in 2017, and approximately 19% accretion
         in 2019, and is expected to generate 9.3% ROIC by the end of 2019. The combined
         Company will generate more than $25 billion of free cash flow from deal close
         until the end of 2019, including the proceeds from the expected divestiture.

                                       *      *      *

                 It is also important to note that our 2016 outlook includes five months
         contribution from Actavis Generics. We estimate that we will grow the net revenues
         of the Company from $19.7 billion in 2015 to a range of between $26.7 billion and
         $27.8 billion in 2019, representing midpoint CAGR growth of approximately 9%
         on 2015 through 2019. As for the EBITDA of the Company, we estimate that we
         will grow it from $6.6 billion in 2015 to a range of between $10.7 billion to
         $11.5 billion in 2019, representing midpoint CAGR growth of approximately 14%
         from 2015 to 2019.

                 Turning next to net income and non-GAAP EPS, we estimate that we will
         grow net income from $4.7 billion in 2015 to a range of between $7.5 billion and
         $8.1 billion in 2019, representing midpoint CAGR growth of approximately 14%
         from 2015 to 2019. This in turn will generate an EPS growth from $5.42 in 2015,
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         based on a share count of 867 million, to a range between $6.90 to $7.40 in 2019
         based on our increased share count of approximately 1.1 billion.

                 And finally, free cash flow. We estimate we will grow our free cash flow
         from $4.9 billion in 2015 to a range of between $7.2 billion and $7.8 billion in
         2019, representing midpoint CAGR growth of approximately 11% from 2015 to
         2019. Including the $2.9 billion of proceeds from product divestitures, in 2016, we
         expect to generate over $25 billion of cumulative free cash flow between the close
         of the Actavis Generics deal and the end of 2019.




                                           *       *       *

                [Olafsson:] Our assumption and what we assume is basically approximately
         5% organic growth that we see year on year. That matters with the formula I gave
         you at the earnings call earlier this year – are we assuming the same pricing of
         minus 4% or is it minus 5%? It really doesn’t matter what we say. It is net-net
         when we have the new launches, minus the price erosion, minus any volume
         decline, we are seeing approximately 5% growth year on year.

                In terms of generic pricing in the second quarter, we saw no change in the
         pricing. We saw a stable environment, as we talked about, from first quarter into
         second quarter. Obviously, in second quarter, as we have highlighted to investors,
         there was no significant new launches that we saw in Teva, which obviously impacts
         the overall generic numbers. The pricing has remained stable.

                                           *       *       *

         Our assumption for the rest of the year is basically assuming the same pricing
         erosion. It is difficult to say; but as I’m sitting here today, with the information I
         have in hand, we are assuming and now forecasting for the guidance for the
         remainder of the year same pricing assumption as we have had for the first half of
         the year.

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                                            *       *       *

         [Vigodman:] Especially looking at the huge improvement during the last two years
         in cash flow. Now we are able to drive up our cash flow generation, cash flow
         from operations and free cash flow in a way that was very strongly driven by the
         improvement of margin in generics. That is the main driving force in basically our
         ability to uplift and step up the cash flow generation from the Business.

         650.       On July 13, 2016 and July 19, 2016, Teva filed its Notes Registration Statement

Amendment No. 1 and its Notes Prospectus Supplements, respectively, which incorporated by

reference the materially false and misleading statements in the 2015 Form 20-F, filed February 11,

2016 (§§III.K.1, 3, 5, 6, 8); the January 25, 2016 Form 6-K containing the Teva Corporate Social

Responsibility Highlights (¶¶639-640); and the 1Q2016 Form 6-K, filed May 9, 2016 (§§III.K.3, 6).

         651.       In addition, the Notes Prospectus Supplements contained materially false and

misleading statements concerning revenues for Teva and the combined entity – with no disclosure

that the revenues were artificially and unsustainably inflated by the Price-Hike Strategy and

collusive activities:

                 For the year ended December 31, 2015, our generics segment represented
         approximately 49% of our revenues. Following the completion of the Actavis
         Generics acquisition, the percentage of our revenues and profits attributable to
         sales of generics is expected to increase substantially. . . . [I]t is unlikely that the
         proportion of revenues attributable to generic pharmaceuticals, which will move
         from less than half before the acquisition to nearly two-thirds afterward, will
         change significantly over the next few years. Accordingly, we will be more
         dependent on our generics business and increasingly subject to market and
         regulatory factors affecting generic pharmaceuticals worldwide.

                                            *       *       *




         652.       On July 27, 2016, Teva filed a Form 6-K, signed by Desheh, announcing it had

received clearance from the FTC for the Actavis acquisition. In the press release, the Company

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touted itself as the provider of affordable generic medicines and repeated the false and misleading

projections provided to investors two weeks before:

          Acquisition Strongly Reinforces Teva’s Strategy and Opens New Possibilities in
                                      Generics and Specialty

           Added Capabilities, Assets and Talent Advance Teva’s Focus on Patient Needs
           and Providing Affordable Generic Products to Patients at Every Stage of Life
                                            Worldwide

                                             *      *       *

              Highly Synergistic Transaction Generating Double-Digit Accretion During
                            2017 Through 2019 with 9.3% ROIC in 2019

          Strong Combined Company Free Cash Flow ($25 billion from deal close to the
          end of 2019) will enable rapid deleveraging and continued capital allocation to
                       fuel future growth and generate shareholder value.

         653.       Less than a week later, on August 2, 2016, the Company filed a Form 6-K, signed by

Desheh, announcing “Teva Completes Acquisition of Actavis Generics.” In the Form 6-K, Teva

again touted the Company’s generation of more than $200 billion of savings to the U.S. healthcare

system in the past ten years. In addition, Vigodman repeated the combined companies’ ability to

generate “‘significant cash flow’” and top- and bottom-line growth. However, Desheh and

Vigodman failed to disclose that Teva engaged in the Price-Hike Strategy and anti-competitive

price-fixing and market allocation activities that worked to artificially inflate generic drug pricing

and offset any savings to U.S. consumers of generic medicines. Furthermore, Teva’s projections of

significant cash flow generation and top- and bottom-line growth lacked a reasonable basis and were

based on unsustainable pricing levels and revenues due to the Price-Hike Strategy and collusive

activities:

         Erez Vigodman, President and CEO, Teva [stated:] “Through our acquisition of
         Actavis Generics, we are creating a new Teva with a strong foundation, significantly
         enhanced financial profile and more diversified revenue sources and profit streams
         backed by strong product development engines in both generics and specialty. This
         is a platform that is expected to generate multi-year top-line and bottom-line
         growth as well as significant cash flow.”

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                                             *       *      *

                Teva’s products generated approximately $215 billion in savings in the last
         decade to the U.S. healthcare system; this number will continue to increase and
         even accelerate as a result of the acquisition.

         654.       On August 4, 2016, Teva held its second quarter 2016 earnings call. Vigodman,

Desheh and Olafsson participated in the call.

         655.       During the call, Vigodman and Olafsson discussed financial projections, pricing and

competition – while concealing Teva’s participation in the Price-Hike Strategy and anti-competitive

activities and the conduct’s impact on pricing and financial projections. Vigodman repeated the

misleading projections, again highlighting the significant accretion and cash flow generation

capabilities of $25 billion free cash flow for the upcoming three years. Olafsson, in turn, reassured

investors of the pricing stability in the market. And when questioned about the opportunity to raise

prices on selected product, Olafsson falsely stated that such opportunities only arose with exclusive

products or when some kind of dysfunction occurred in the market:

                [Vigodman:] Financially, the [Actavis] transaction yields very compelling
         economics. It is highly synergistic with $1.4 billion in operational and tax
         synergies achievable by the end of 2019. It is significantly accretive to non-GAAP
         EPS with 14% accretion in 2017, and 19% accretion in 2019, and is expected to
         generate 9.3% ROIC by the end of 2019. The combined Company will generate
         more than $25 billion of free cash flow from the beginning of August 2016 until
         the end of 2019.

                                             *       *      *

                  [Olafsson:] So overall, the business itself is fairly stable. As I mentioned in
         the beginning, we are seeing exactly the 4% price erosion. There is such [sic] not
         much movement in the other volumes. If you take away these two exceptions, the
         rest of the volume seems to be intact. And then some of the product there has been a
         small volume increase. So overall, a stable business, 4% price erosion in the US,
         and I think a great base to build on now, when we combine the two businesses for the
         future.

                                             *       *      *




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         [Chris Schott – J.P. Morgan – Analyst:] As you kind of review the pro forma
         business, do you see the opportunity to raise price on select products here? . . .

                 . . . [Olafsson:] On the pricing, as you know, and we know that, the size
         really doesn’t affect the pricing. And I have a strong feeling when you have over
         200 competitors, size has nothing to do about pricing. I think the pricing comes
         with shortages in the market. If you have an exclusive product, if there’s some
         kind of dysfunction in the market, there might be a small pricing opportunity that
         usually comes in and comes out. But overall, the size, and being a combined
         company doesn’t play into that. I feel quite strongly about that.

         656.       On September 7, 2016, Desheh attended a Healthcare Conference hosted by Wells

Fargo Securities. During the conference, Desheh not only maintained that Teva experienced only

4% pricing erosion, but also suggested that for products that Teva had been selling for two years or

more, the Company did not see any pricing erosion at all, and pricing “might even go up a little bit

here and there” – without disclosing that Teva’s pricing was artificially and unsustainably inflated by

the Price-Hike Strategy and collusive activities:

                 Now, with talking about prices of the base business, product that we’ve
         been selling more than two years already, the prices are very stable there. Might
         even go up a little bit here and there, depending on demand and supply, and
         demand and availability of competing products in the market, but you don’t see –
         there you don’t see the erosion. Where we see erosion is that you know, you have
         six months exclusivity, you start with the high price, and then obviously more
         competitors go into the market and the price goes down. But when we look at the
         base, there’s no – there’s no pressure on prices.

                                           *        *      *

                 Regarding your second question, you know, our role – and that’s how we see
         it, and we truly believe in it – is to bring to the markets, not just the US market but
         global markets, affordable medicines and provide access to billions of people, to
         medicine.

         657.       On September 9, 2016, Vigodman and Olafsson hosted Teva’s Generic Medicines

Overview conference call. During the call, Olafsson again reiterated the lack of pricing inflation for

generic medicines and 4% pricing erosion for Teva’s U.S. generics segment and assured investors

that its sizeable portfolio shielded the Company from pricing fluctuation – but failed to disclose that



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the Price-Hike Strategy and collusive price increases mitigated Teva’s pricing erosion. Furthermore,

Olafsson misrepresented that price increases were only taken when drug shortages occurred:

         Government is struggling with increased healthcare costs, and really the generics are
         the key to the solution. They are really not the problem.

                    There is no inflation in the generic pricing, which I will talk about.

                                          *       *      *

                  So I couldn’t conclude the presentation without talking about pricing. So
         first of all, nothing big has changed. We can all breathe in and breathe out.

                                          *       *      *

                So far, what we saw in the end of second quarter was approximately 4% in
         the US and 5% global. So, there will be a fluctuation, and obviously, it will affect
         every generic Company. But the message I want you to take from this slide is with
         our business, with the size of our portfolio, with the flexibility of our
         manufacturing network, with the industry-leading position in the market, we are
         more shielded towards the prices up and down.

                                          *       *      *

         And people that say that the generic – there’s a big generic price inflation, are
         simply wrong.

                 You’ve seen it throughout the years. Every year for the last 10 years, the
         price erosion we have seen this between 2% and 7%.

                                          *       *      *

         So first of all, it doesn’t work like we wake up when we are one Company, and we
         can take price increases. Simply, it doesn’t work like that in generics. When price
         increases are taken, there’s some kind of abnormality in the business. There are
         shortages.

         658.       On November 15, 2016, Teva held its third quarter 2016 earnings call. Vigodman,

Desheh and Olafsson participated in the call. During the call, Olafsson reviewed the performance of

the U.S. generics business and falsely attributed its profitability to cost control and business mix –

while concealing the profitability boost from the Price-Hike Strategy and collusive activities:

                 Turning to the performance of our global generics business in the third
         quarter. Total revenues were $2.9 billion, an increase of 32% compared to third

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         quarter of 2015, reflecting the results of operation of the Actavis generics business
         from August 2, 2016 or approximately two months contribution. . . .

                In the US, there was a small decline in the Teva legacy generics business,
         which mainly resulted from a loss of exclusivity, and intensified competition for
         generic versions of Pulmicort, Nexium and Xeloda.

                                             *      *       *

                Turning to our profit margins, the generic business came in at 29.9%. By
         exercising strong focus on cost control, and driving the right business mix, we
         compensated for challenges on the top line.

                                             *      *       *

         So I really didn’t expect us to get to 29.9% at this point in time. I think, that
         highlighted with, I think, early synergies, a good work around those synergies, but
         also a very good cost control. But I’m still of the opinion that we can be in the
         30%s in 2017 with the right mix of product launches.

         659.       Furthermore, on pricing, Olafsson emphasized that price erosion was and will be 5%

per year as guided by Teva. In response to an analyst’s question on whether the recent 7% price

erosion had to do with increased competition or reversal of previous price increases, he explained

that the increased price erosion was a one-time event associated with the FTC’s required divestiture

relating to the Actavis acquisition. In addition, Olafsson confirmed that the bullish growth guidance

from the September 9, 2016 conference call remained unchanged, and the recent underperformance

in the legacy Teva generic segment was a temporary event due to a lag in product launches:

         Let me start on the drug pricing, so overall, like previous quarters, there hasn’t been
         any fundamental change in the US drug pricing. And what we saw in the
         difference between the 5% or mid single-digit we guided for going into it, versus
         exiting at 7%, was the impact of the pricing impact on the divested product. As we
         mentioned, to close the transaction and to fulfill the requirement of the FTC, we had
         to divest 79 products in the US.

                                             *      *       *

         I’m as bullish on the generic business today as I was on September 9 for sure. . . .
         The price erosion in the US is similar to what we expected in September. The
         impact on the divested product was a little bit more.



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               I think the guidance on how we see the pricing environment is very similar
         as we guided to in our meeting, the difference being is basically the new
         launches. . . .

                    . . . But I’m as bullish of seeing the mid single-digit growth as before.

                                              *      *       *

                 What has brought the numbers lower than we thought in July for 2016 are
         the revenue from new launches. That’s very, very simple. We estimated a
         significantly higher – there were about three or four key launches that we expected to
         get by the end of this year, which are not coming in, that would deliver the hundreds
         of millions in revenue which are not coming in. The good news, on this bad news is,
         they will come later.

                    They will come in 2017 and maybe into 2018. So they’re not lost at all.

                                              *      *       *

                 I think maybe to add to the price increases, keep in mind, and we talk a lot
         about that, the overall prices in the US of generics always go down. I’ve been in the
         business for 23 years, and the prices, even though there are examples giv[en] of a
         product going up significantly, maybe a single molecule, even one SKU, but
         overall, when you look at the 300 to 400 products we have on the market, our price
         erosion on average is about 5% per year.

                                              *      *       *

                 [David Maris – Wells Fargo Securities – Analyst:] Just as a follow-up, Siggi.
         So what you’re saying is the acceleration in the price decreases that you’ve seen this
         past quarter aren’t a result of increased competition on existing molecules, and it’s
         not a result of having to tame previous price increases, or give back some of those?

                 [Olafsson:] No, basically, the main reason, David, was that we had to divest
         a very good portfolio of products that had limited competition, so we had to divest
         it. What our customers did, as they do, is that there is a new player in the market that
         took over those products, and that became a pricing pressure on roughly about 60
         molecules of – and these were one of our top – the top molecules we had in our
         portfolio. So there was an instability that happened in the market during the
         month of August, when the new owners were taking market share.

                 It didn’t change the fundamental of the market. It didn’t change the
         structure of the market, or the chemistry of the market, but we saw the impact on the
         divested molecule significantly more than we saw for on the rest of the portfolio
         which gave us a 7% versus 5%, which we assumed going into the quarter.




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         660.       Less than one month later, Olafsson was fired. A month after that, on January 6,

2017, Teva held a business outlook conference call. Vigodman, Desheh and Bhattacharjee

participated in the call.

         661.       During the call, defendant Vigodman discussed the drivers of increased profitability

in the generics business since 2014 and attributed the increase to everything but the Price-Hike

Strategy and collusive activities:

                 Since the start of 2014, one of our greatest priorities has been to increase
         the profitability of our generics business. In the first three years of this great
         effort, we have been able to improve significantly the margins of Teva’s standalone
         generics business. This has been accomplished with a strong emphasis on the cost
         of goods sold, product mix, and the overall cost structure.

         662.       In addition, during the call, Defendants lowered guidance provided to investors

during the July 13, 2016 conference call – blaming the delay on the Actavis acquisition closing and

new launches, even though the July 2016 guidance was provided a mere three weeks prior to the

completion of the Actavis acquisition. Vigodman falsely assured investors that “very reasonable

assumptions” based on past performances were used in the projections, without disclosing that

Teva’s past performance was unsustainably and artificially inflated by the Price-Hike Strategy and

collusive activities. Furthermore, Bhattacharjee maintained that price erosion expectations would

remain the same, in the mid-single digits, unless threatened by “unique market events,” such as

losing exclusivity due to additional competition. In sum, Defendants continued to provide

misleading projections, with Vigodman stating:

                For 2017, we estimated that Teva’s total revenues will be between
         $23.8 billion and $24.5 billion. For non-GAAP EPS, we estimate a range of
         between $4.90 and $5.30 per share. EBITDA for 2017 is expected to be in a range
         of $8 billion to $8.4 billion. Our cash flow from operations is expected to be
         between $5.7 billion and $6.1 billion.

                                              *      *       *




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                The 2017 guidance we provided today is significantly below what we
         provided in the July [2016] preliminary outlook. Besides FX headwinds ex-US, we
         have an EBITDA gap of $1.2 billion emanating from our US generics business.

                 . . . The majority of the $1.2 billion gap is attributable to not being able to
         realize new launches in our Teva legacy business in a way that is consistent with
         our past track-record. As we communicated in November, this impacted the second
         half of 2016 and will have an impact on 2017 as well.

                In addition, the long waiting period for the closing of the transaction had
         an adverse impact on our ability to fully exploit all opportunities from the business
         during this long transition period.




                                         *      *       *

         We use basically very reasonable assumptions in the model, we modeled, based on
         past performance in the US and pipeline assets of Teva. In retrospect a number of
         potential launches were not realized in the second half of 2016 as we indicated
         already would carry over, affect 2017, and we decided to lower expectations that
         pertain to the Teva’s legacy business in 2017, and that explains the majority of the
         gap.

                                         *      *       *

         663.       Further, Desheh and Bhattacharjee stated:

         [Desheh:] In 2017 we will deliver 11% top line growth . . . 11% growth in
         EBITDA, and strong cash flow from operations of $5.7 billion to $6.1 billion.

                                         *      *       *


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                 EBITDA grows by approximately 11% to a range of $8 billion to
         $8.4 billion.

                                          *       *       *

                 Our cash flow from operations is expected to be approximately $5.9 billion
         of leverage, and free cash flow which includes the divestment of Actavis European
         business and other non-core assets will reach $6.3 billion to $6.7 billion.

                                              *       *       *

         [Bhattacharjee:] On price erosion, as you know price erosion depends on the mix of
         products in the portfolio of a company and differs from company to company. We
         expect to see mid single digit price erosion to continue in our base business in the
         United States. However, if we include products that have unique market events,
         such as moving from an exclusive or semi-exclusive position, to seeing additional
         competition, this erosion could be higher.

         664.       On January 9, 2017, Vigodman participated in the JPMorgan Healthcare Conference.

During the conference, he elaborated on the $1.2 billion EBITDA gap announced in the business

outlook conference call three days earlier and misleadingly blamed the massive earnings gap on

$460 million in new launch delays:

         So, [we] used very reasonable assumptions when we modeled the outlook for 2017
         in July 2016. And the assumption was that we launch $600 million, which is very
         reasonable, given the numbers that I’ve just indicated. In retrospect, that was a
         tough year for us for a number of reasons and we were able eventually to launch
         only $140 million in 2016 for new products. It created – it had an impact on 2016
         and created a new run rate for 2017. We reduced the expectations also for 2017 in
         that regard. And that is the main reason that explains the gap between the
         guidance – the outlook and 2017 guidance.

         665.       In addition, during the conference, Vigodman touted Teva as a provider of affordable

generic medicines that saved U.S. consumers $215 billion in the last decade – with no mention that

the Company’s Price-Hike Strategy and collusive activities during the past four years had caused

dramatic price increases on essential drugs that were detrimental to patients and offset purported

savings to consumers:

         I think maybe this is an opportunity to maybe take three minutes through the generic
         industry . . . . A space that is critical for healthcare systems across the globe. It
         enables access for billions of people to high quality, affordable drugs. The space

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         saved, here in the United States, $1.6 trillion during the last decade. The direct
         contribution of Teva to that number is $215 billion during the last decade.

         666.       On February 13, 2017, a week after Vigodman’s unexpected termination, Teva filed

its 4Q2016 Form 6-K Press Release reaffirming the materially false and misleading projections

provided during the January 6, 2017 business outlook conference call:

                    Teva reaffirms its 2017 full year non-GAAP guidance, including the items
         below:

                   We expect revenues for full year 2017 to be $23.8 - 24.5 billion.

                   Non-GAAP EPS for 2017 is expected to be $4.90 - 5.30, based on a
                    weighted average number of shares of 1,076 million.

         667.       On the same day, Teva held its fourth quarter 2016 and full year 2016 earnings call.

Desheh, Peterburg and Bhattacharjee participated in the call.

         668.       During the call, Peterburg again reaffirmed the misleading projections provided

during the January 6, 2017 conference call and Bhattacharjee stated that the projections assumed 5%

price erosion in the base business:

                [Peterburg:] We are reiterating our guidance for 2017, including our
         earnings per share of $4.90 to $5.30. We are very committed to this EPS range,
         and the management team and I will do what it takes to protect it, including
         additional cost reduction if necessary.

                                          *      *       *

                 [Bhattacharjee:] As I have described in past discussions, in the US we
         expect net price erosion in our base business to be around 5%; however, there are
         additional price erosion factors at work, which will depend upon the amount of
         transition products in our portfolio for that specific year.

         669.       The statements in ¶¶642-668 were materially false and misleading or omitted material

facts. In particular:

                    (i)    Defendants’ statements above that Teva was a provider of affordable generic

medicines, contributed over $200 billion of savings to the U.S. healthcare system in the past decade,

experienced a 5% price decline for 2015 with price erosion of 4% in the United States similar to

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2014, had never seen inflation in generic pricing, and saw “no change in the pricing” with 4%

pricing erosion during the second quarter of 2016 were materially false and misleading when made

because: (a) Teva was engaged in collusive price-fixing and market allocation schemes and the anti-

competitive Price-Hike Strategy that caused generic drug prices to skyrocket; (b) Teva made at least

76 massive price increases on selected generic drugs during 2013 to 2016, with at least 48 increases

made in tandem with purported competitors; (c) Teva engaged in collusive and anti-competitive

price-fixing and market allocation schemes on over 100 generic drugs; (d) in 2014, Teva

implemented price hikes ranging from 22% to 1,543% for at least 28 generic drugs in the United

States; (e) in 2015, Teva implemented price hikes ranging from 50% to 632% for at least 15 generic

drugs in the United States; and (f) Teva’s rate of pricing erosion was much higher than reported or

disclosed.

                    (ii)    Defendants’ statements above concerning improving profitability driven by

cost control, cost of goods sold, portfolio selection and cost infrastructure were materially false and

misleading when made because: (a) Teva’s financial results were inflated in part by collusive

activities and the Price-Hike Strategy; and (b) the Company generated at least $1.79 billion in

Collusive Profit and Inflated Profit during 2013 to 2015 and at least $2.3 billion during 2013 to

2016, which contributed significantly to the financial results;

                    (iii)   Defendants’ statements above that “we strongly believe that we will be able to

generate the economics we promised” and that Teva grew net revenues and EBITDA from 2015

levels were materially false and misleading when made because both measures were based on and

included sales and growth derived from the unsustainable Price-Hike Strategy and collusive anti-

competitive activities;




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                    (iv)   Defendants’ statements above concerning price increases taken due to

shortages in the market were materially false and misleading when made because the Price-Hike

Strategy was implemented on drugs for which no shortages had in fact occurred; and

                    (v)    Defendants’ statements that Teva’s portfolio shielded the Company from

pricing variation, that it was not seeing any fundamental change or worsening in the pricing

environment and saw a stable environment during the second quarter of 2016, that the heightened

pricing erosion of 7% in the third quarter of 2016 was due to divested products, that expectation of

price erosion continued to be 5%, and that the $1.2 billion EBITDA gap was caused by a lag in new

product launches and a delay in the closing of the Actavis acquisition were materially false and

misleading when made because: (a) Teva’s Inflated Profit began to decline by close to 50% year-

over-year in 2016; (b) Defendants knew that the anti-competitive practices in the generics industry

that contributed substantially to Teva’s financial results were drawing increased scrutiny, which

made it increasingly difficult for Teva and other manufacturers to continue to implement price hikes;

and (c) Teva’s rate of pricing erosion had accelerated as the Inflated Profit declined substantially.

         670.       On March 31, 2017, Teva issued its Communication on Progress for 2015,

proclaiming that it upheld “ethical conduct at all times” and saved $215 billion in the past ten years

for various U.S. generic drug market participants – while disguising its involvement in widespread

unethical and collusive anti-competitive activities in the U.S. generic drug market and its

implementation of the Price-Hike Strategy that offset savings to families, insurers and the

government:

         Message from our President and CEO

                                        *      *      *

                To continue to positively impact the lives of our patients and other
         stakeholders, we must operate according to the principles and standards of corporate
         responsibility. This means upholding ethical conduct at all times, protecting the

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         planet, caring for our communities and providing our employees with a challenging,
         rewarding and meaningful work environment.

                                          *       *       *

         Dr. Yitzhak Peterburg
         Teva Interim President & CEO

                                              *       *       *

                    Teva saved $215 billion for U.S. families, insurers and government over 10
         years.

                                          *       *       *

         We account for almost 13% of savings generated from generics prescriptions in the
         U.S. equating to approximately $215 billion over the last ten years.

         671.       On May 11, 2017, Teva held its earnings call for the first quarter of 2017. Peterburg,

Desheh and Bhattacharjee participated in the call.

         672.       On the call, the three defendants reaffirmed the misleading projections provided

during the January 6, 2017 conference call and told investors that pricing erosion – which now stood

at a higher 7% – was embedded into the January forecast. Defendants attributed the heightened

pricing erosion to an increase in FDA generic drug approval and customer consolidation, without

disclosing that dramatic price hikes from collusive price fixing and the Price-Hike Strategy attracted

additional competitors and caused customer renegotiation of contracts as competition increased:

                 [Peterburg:] Our generic business is not immune to the challenges other
         companies in our industry are currently facing with increased competition and
         consolidation. This is reflected in the most recent analysis we completed that looks
         at net price erosion in our U.S.-based business, which came in at 7% versus the
         approximately 5% that we communicated previously. The 2 biggest contributing
         factors to this change are the ongoing consolidation of our key customers and the
         increase in generic drug approval by the FDA, which has created additional
         competition.

                                              *       *       *

                 As we stated in our press release from this morning, we are reaffirming our
         2017 outlook. We are committing to being transparent. And therefore, we wanted
         to provide more clarity into our business and the moving parts of our projections,

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         specifically regarding the challenges in the U.S. generic market and Venezuela. We
         will continue to keep you informed throughout the year as our team works extremely
         hard to execute on all of our promises and priorities for 2017.

                                               *       *       *

         [Bhattacharjee:] As regarding – in terms of what we would expect and how we will
         track for the rest of the year, we would expect the current levels of price erosion that
         we have spoken about will remain for the rest of the year. It is embedded in our
         forecast.

         673.       On August 3, 2017, Teva held its second quarter 2017 earnings call. Peterburg,

Bhattacharjee and McClellan participated in the call.

         674.       During the call, Defendants announced that profitability had declined for the first half

of 2017 and lowered guidance for 2017. Defendants attributed the negative results to the 8% price

erosion during the second quarter and volume decline – both caused by heightened competition from

increased FDA ANDA approvals and customers’ renegotiation of contract prices. Nevertheless,

Defendants failed to disclose that the increased pricing erosion, competition and renegotiation of

contracts were the direct result of Teva’s substantial and collusive price hikes and the Price-Hike

Strategy, which lured additional competitors to seek approval to manufacture and supply the drugs

and triggered contract renegotiation:

         [Peterburg:] We reported today lower-than-expected Q2 results. Revenues in this
         quarter were $5.7 billion, resulting in a non-GAAP net income of $1.1 billion and
         non-GAAP EPS of $1.02. Cash flow from operation was soft, amounting to
         $741 million. We have also lowered our 2017 revenue outlook to $22.8 billion to
         $23.2 billion and our non-GAAP EPS outlook to $4.30 to $4.50.

                All of us at Teva understand the frustration and disappointment our
         shareholders are feeling. This morning we are going to outline what has changed
         over in the last 3 months, the actions we are taking and some of the positive
         development this quarter.

                In the last 3 months, our results were greatly impacted by the performance
         in the U.S. Generics business and continued deterioration in Venezuela. In our
         U.S. Generics business, we experienced accelerated price erosion and decreased
         volume, mainly due to customer consolidation, greater competition as a result of
         an increase in generic drug approval by the FDA and some new product launches
         that were either delayed this quarter or got subjected to more competition.

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                                            *       *       *

                [McClellan:] Quarterly revenues. Looking at our quarterly revenues.
         They’re up 13% from Q2 of 2016. U.S. Generics is up by $410 million, while the
         other generic markets have grown by $316 million. Most of the growth in the
         generics business is due to the integration of the Actavis business globally, offset
         by price erosion and volume loss in the U.S. . . .

                 . . . We do not – or we do expect price erosion to accelerate in the remainder
         of the year, and we will be using the quarterly comparison going forward as it better
         reflects the dynamic nature of our business.

                                            *       *       *

                 The reduction in profitability we see in this slide in the first half of 2017 is
         the result of factors previously mentioned, mainly the price erosion and relatively
         low launches in our U.S. Generics business in 2017 as well as the Venezuela
         currency impact.

                                            *       *       *

                Now we’ll move to the financial outlook for the year. Our updated
         expectations for the annual revenues is down approximately 5% from our previous
         expectations, reflecting both the challenging environment in the U.S. Generics and
         the Venezuela devaluation. All of our other businesses are on track to deliver their
         forecasted targets. The same elements and specifically the U.S. price erosion and
         lower number of product launches also drove the majority of the reduction in our
         gross profit margin that you see here.




                                            *       *       *


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         [Bhattacharjee:] First, let me address the question that you have around the
         consolidation of the buyers. As you know that, now at this point in time,
         approximately 80% or a little higher than that, of generics purchases are concentrated
         in 4 GPOs. Specifically in quarter 2, we saw the impact coming from finalization
         of ClarusONE, which is the RFP that was from a combination of McKesson and
         Walmart. We saw some impact of that due to price adjustment in the latter part of
         the quarter as well as some shelf stock adjustments that we had to do. It has
         negatively impacted our prices. And we also largely secured most of the volumes
         that we have seen. Earlier in the year, we had a similar RFP from another GPO,
         which is ECONDISC. And at this point in time, we have no further news as to
         whether there will be further RFPs or not. In terms of the effect of these RFPs on
         the remainder of the year, it will lead to a higher price erosion and that is built into
         our forecast.

         675.       On September 14, 2017, Teva published its 2016 Social Impact Report, which, again,

repeatedly touted the Company as a leading provider of affordable generic medicines and its ethical

business practices and stated, in part:

         Increasingly, people suffer from more than one chronic condition, and too many face
         barriers to accessing the affordable treatments they need. We are committed to
         doing our part to address these challenges and demonstrate social value, knowing
         the way we act – and the way we conduct our business – matters.

                                             *      *       *

         Everything we do.

                In an ever-changing world, we strive to constantly evolve and improve,
         recognizing there is always more to learn – even from missteps. We are dedicated to
         acting with integrity and transparency.

                                             *      *       *

         A letter to our stakeholders

         From Dr. Yitzhak Peterburg, Teva’s Interim President & CEO

                 . . . As a global medicines company, we have a tremendous opportunity to
         improve lives and make a positive social impact. To realize this potential good, we
         foster a culture of accountability, responsibility, and ethical business practices
         throughout Teva.

                                             *      *       *

         — Increasing access to affordable, high-quality generic medicines.
         Unfortunately, many individuals around the world are living without access to much-

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         needed therapies. Last year, we launched nearly 1,000 generic medicines,
         enabling millions of patients to access and afford safe and reliable treatments.

                                            *       *        *

         Teva at a glance: 2016

                                            *       *        *

         We specialize in developing, manufacturing, and delivering affordable generic
         medicines, as well as innovative and specialty pharmaceuticals, over-the-counter
         healthcare products and Active Pharmaceutical Ingredients (APIs).

                                            *       *        *

         Enabling Better Days

                    Making medicines affordable

                                            *       *        *

         Doing Business Ethically and Responsibly

                                            *       *        *

                    Maintaining ethical business standards

                    Strengthening compliance

                                            *       *        *

                We advance good health and well-being through our core business of
         making medicines affordable and developing specialty treatments to address unmet
         needs.

                We promote ethical and responsible business behavior, advancing diversity,
         gender equality, and inclusion throughout our business.

                                            *       *        *

                Our promise is simple: enable better days. Making this promise real for the
         200 million people we serve each day is a central focus of every decision we make,
         every product we develop, and every therapy we bring to market – yet, we can only
         have an impact when medicines are accessible and affordable. . . .

         In Progress

                Our vast portfolio of generic medicines helps people live their best lives –
         with increased access to affordable treatments.


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                                             *       *      *

         A unique ability to increase access to affordable medicines

                As a large generics manufacturer with a global footprint, we have proven our
         dedication to making vital treatments accessible. We consistently introduce
         affordable, high-quality medications, while tailoring treatments to patient needs.

                                             *       *      *

                 Worldwide, our patients, their caregivers, and the communities in which they
         live trust us to engage in ethical conduct. Since our company was founded 116
         years ago, we have made a commitment to act responsibly, maintain integrity, and
         ensure transparency in every part of our business.

         676.       On November 2, 2017, Teva held its third quarter 2017 earnings call. Peterburg,

Bhattacharjee and McClellan participated in the call.

         677.       During the call, Defendants announced declines in the revenues and profitability of

the U.S. generics business due to heightened price erosion driven by increased competition from

FDA approvals and customer consolidation:

         [McClellan:] The profitability of the company was down to 26.2% from 32.2% in
         2016 Q3. This reflects a lower gross profit of 53% in the quarter compared to 61%
         in the same quarter of the previous year. This is driven by several factors. The
         inclusion of ANDA distribution business as well as lower margins in the generics,
         specifically, in our U.S. generic market. . . . U.S. generics revenues were down
         $102 million, despite the increase of an additional month of the Actavis generics
         compared to the same quarter in 2016. The U.S. business was impacted from
         continued price erosion, which was 10% in Q3 2017 on the base business as
         compared to the same quarter of last year as well as accelerated FDA approvals of
         additional generic versions of competitors in our base business as well as lower
         volumes of the Concerta-authorized generic following additional competition.

                                             *       *      *

         [Bhattacharjee:] So in the second quarter, we reported a price erosion of a little
         over 6% for our base business compared to the comparable quarter of the prior
         year. Since then, in our third quarter, we have seen an increase in price erosion.
         And as Mike explained that we have now seen, in the third quarter, the price
         erosion to be 10% This is primarily driven by 2 factors. The first is that the
         increasing FDA approvals that are happening for products, for which, already
         generics players exist in the market. So the new players try and drive some gains
         in market share based on volumes – based on lower prices. And the second is that
         the consolidation of the 3 – of the customers into 3 GPOs, which now account for

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         more than 85% of generics, which is in the U. S. market has also, while their RFPs
         have created additional pricing pressure. In terms of the rest of the year, we expect
         that these price erosions will remain at these elevated levels.

                                              *       *      *

         Now in terms of the generics business, it is not a recent development. It has been
         there for a while, which is, that the base business erodes as new and additional
         competitors come into the market. And this, in recent times, has been exacerbated
         by the increase in the FDA approvals.

                                              *       *      *

         [McClellan:] So the overall gross margin, the net margin on generics has been
         declining. We do – it’s driven by a couple of things. One is the level of price
         erosion we’ve seen in the U.S. generic business. We’ve seen lower contribution
         from our business in Venezuela over the quarters and compared to last year.
         We’ve also seen some unfavorable FX and other variance in our costs of goods
         sold. So all of those things have been pressuring margins, especially, in our U.S.
         generic business.

         678.       On December 14, 2017, Teva hosted a conference call to discuss its restructuring plan

and the additional measures it was taking to improve its financial and business performance. During

the call, Schultz told investors that generic drug price competition in the past several years had led to

a race to the bottom for Teva and other drug manufacturers. However, he concealed from investors

that Teva’s anti-competitive, collusive activities had contributed significantly to the Company’s

profitability:

                 Now let me talk a bit about the global generics portfolio. There’s been a lot
         of pricing dynamics on generic products in United States and elsewhere in the last
         couple of years. If you have a very dynamic situation, sometimes you have the risk
         that some of your products will not really meet a sustainable profitability
         benchmark.

                In order to secure that we have a long-term sustainable portfolio, we are
         reviewing each and every product worldwide, and we will make pricing
         adjustments to the extent that this is necessary.

                                              *       *      *

         Then, of course, it’s good to have price competition. . . . The total dynamics have
         just led to that – my guess is that not only Teva, but other manufacturers have
         ended up competing to the bottom where it’s not really sustainable or profitable.

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         679.       On January 8, 2018, Schultz participated at the JPMorgan Healthcare Conference,

where he represented to investors that Teva historically had focused on maximizing revenues

through volume growth – in direct contradiction to Oberman’s, Vigodman’s, Olafsson’s and

Desheh’s repeated representations that Teva’s profitability was not driven by volume or market

share. Schultz failed to disclose that Teva was actually maximizing revenues through unsustainable

collusive price increases:

         We’re also optimizing our portfolio and there’s been some misunderstandings about
         what is it we’re doing with this optimization of the portfolio. Why am I talking
         about some prices will have to go up, because they’re not sustainable. It’s basically a
         change where you can say, Teva used to focus on maximizing revenue in the
         generics business, believing that if you just maximize revenue, everything will fall
         in place and you’ll get great profitability and so on. That doesn’t really work from
         my point of view. You always need to maximize operating profit. So when you
         think about it, if you maximize revenue, you’re taking really any deal you can get,
         just to get the volume, but you don’t really stay super focused on what is the per
         product, per SKU profitability.

         680.       The statements in ¶¶670-679 were materially false and misleading or omitted material

facts. In particular:

                    (i)    Defendants’ statements above that “it’s good to have price competition . . .

manufacturers . . . have ended up competing to the bottom,” and that Teva experienced higher

pricing erosion due to RFPs from GPOs, “saved $215 billion for U.S. families, insurers and [the]

government” during the past decade, upheld “ethical conduct at all times,” was “commit[ted] to

being transparent,” “dedicated to acting with integrity and transparency” with “a culture of . . .

ethical business practices throughout Teva,” and specialized in “delivering affordable generic

medicines” and “making medicines affordable” were materially false and misleading when made

because: (a) Teva was engaged in collusive price-fixing and market allocation schemes and the anti-

competitive Price-Hike Strategy that caused generic drug prices to skyrocket; (b) Teva made at least

76 massive price increases on selected generic drugs during 2013 to 2016, with at least 48 increases


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made in tandem with purported competitors; (c) Teva engaged in collusive and anti-competitive

price-fixing and market allocation schemes on over 100 generic drugs; and (d) Teva’s rate of pricing

erosion was much higher than reported or disclosed;

                    (ii)    Defendants’ statements above that the generics business’s growth and

profitability was attributable to the Actavis integration, but was reduced by volume loss and price

erosion in the U.S. and Teva’s past effort at maximizing revenue “to get the volume” without getting

the profitability were materially false and misleading when made because: (a) Teva’s financial

results were inflated in part by collusive activities and the Price-Hike Strategy; and (b) the Company

generated at least $2.6 billion in Collusive Profit and Inflated Profit during 2013 to 2017, which

contributed significantly to revenues, profitability and growth;

                    (iii)   Defendants’ statements above “reaffirming [the] 2017 outlook,” lowering

Teva’s 2017 revenues and EPS outlook, and “expect[ing] the current levels of price erosion” to

“remain for the rest of the year” were materially false and misleading when made because these

measures were based on and impacted by the unsustainable Price-Hike Strategy and collusive anti-

competitive activities; and

                    (iv)    Defendants’ statements that Teva “experienced accelerated price erosion and

decreased volume” and pricing erosion of 7% due to customer consolidation and additional

competition created by the FDA’s increased generic drug approvals were materially false and

misleading when made because: (a) Defendants knew that the anti-competitive practices in the

generics industry that contributed substantially to Teva’s financial results and mitigated Teva’s rate

of pricing erosion were drawing increased scrutiny, which made it increasingly difficult for Teva and

other manufacturers to continue to implement price hikes; (b) Teva’s rate of pricing erosion had

accelerated as the Inflated Profit declined substantially; and (c) Teva and other manufacturers’

dramatic price hikes from collusive activities and its Price-Hike Strategy had led to the FDA’s

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initiative to speed up and increase generic drug approval and had attracted additional competitors,

which resulted in customer renegotiation of contracts as competition increased.

                    3.     False and Misleading Statements Concerning Subpoenas

         681.       Defendants concealed Teva’s receipt of a subpoena from the DOJ on June 21, 2016,

and a subpoena from the State AGs on July 12, 2016, each pursuant to their respective investigations

into potential antitrust violations regarding pricing practices by generics manufacturers (collectively,

the “Subpoenas”). Even when Teva ultimately disclosed the Subpoenas, Defendants persistently

denied “having engaged in any conduct that would give rise to liability.”

         682.       Specifically, Defendants failed to disclose the Subpoenas in the Notes Offering

Materials. This was actionably false and misleading because the Subpoenas called into question

Teva’s future earnings potential. They rendered uncertain the Company’s ability to maintain its

earnings from the undisclosed Price-Hike Strategy. Indeed, after Teva received the DOJ subpoena, it

was unable to make any additional price increases pursuant to the Price-Hike Strategy. Consistent

with this, the Notes Prospectus Supplements listed “governmental investigations into sales and

marketing practices” as among the “[i]mportant factors” that could cause Teva’s future financial

performance to “differ significantly from [anticipated] results, performance or achievements.”

         683.       Additionally, the Notes Offering Materials incorporated by reference the 2015 Form

20-F and the 1Q2016 Form 6-K, which included extensive risk disclosures but did not disclose the

Subpoenas. Among these is a section titled “Government Investigations and Litigation Relating to

Pricing and Marketing,” which included an extensive description of litigation related to “marketing

and promotion of [Teva’s] specialty pharmaceutical products,” and to litigation by “[a] number of

state attorneys general . . . relating to reimbursements or drug price reporting under Medicaid or

other programs.” The detailed and extensive nature of this section falsely and misleadingly indicated



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that the disclosures were complete, while omitting the highly material DOJ and State AGs

Subpoenas.

         684.       On August 2, 2016, in its 2Q2016 Form 6-K, Teva made the first disclosure of the

Subpoenas:

                 On June 21, 2015, Teva USA received a subpoena from the Antitrust
         Division of the United States Department of Justice seeking documents and other
         information relating to the marketing and pricing of certain of Teva USA’s generic
         products and communications with competitors about such products. On July 12,
         2016, Teva USA received a subpoena from the Connecticut Attorney General
         seeking documents and other information relating to potential state antitrust law
         violations. Teva is cooperating fully with these requests.

         685.       On November 15, 2016, Teva made substantially similar disclosures concerning the

Subpoenas in its 3Q2016 Form 6-K, discussed Actavis’s receipt of “a similar subpoena in

June 2015,” and issued the following denial:

         Teva is not aware of any facts that would give rise to an exposure to the Company
         with respect to these subpoenas.

         686.       On the same day, Teva held its third quarter 2016 earnings call hosted by Vigodman,

Desheh and Olafsson. Vigodman opened the call with reassurances to investors about Teva’s culture

of compliance with the law and that such culture underpinned “every single business decision that

Teva makes.” In the same breath, he affirmed that – based on “all of our efforts to date, internal and

external” – there were no facts from which exposure would accrue to Teva with respect to the

investigations on its generic drug collusive activities:

                 [Vigodman:] Since becoming Teva’s CEO in 2014, I have made
         compliance a top priority in everything we do. The compliance program that Teva
         has in place is serious, rigorous and comprehensive, and is designed to protect the
         Company and its subsidiaries against future violations. Today, Teva has a
         compliance culture that begins with a strong tone at the top, including our
         executive regional and local management, a culture of compliance that underpins
         every single business decision that Teva makes.

                                             *       *      *



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         Finally, I cannot conclude this part of my remarks without briefly addressing the US
         Department of Justice investigation into price collusion in the generic drug industry,
         which has been in the news this month. I would like to emphasize that based on all
         of our efforts to date, internal and external, we disclosed, and I’m reiterating it
         here today, that we are not aware of any fact that would give rise to an exposure to
         Teva with respect to the investigation.

         687.       In the 2016 Form 20-F, filed on February 15, 2017, Teva repeated the disclosures

above concerning the Subpoenas and the Actavis subpoena, announced the filing of the civil lawsuit

by the State AGs, and assured investors that no evidence existed that “would give rise to liability

with respect to” the Subpoenas and the State AGs’ lawsuit:

         On December 15, 2016, a civil action was brought by the attorneys general of twenty
         states (Connecticut, Delaware, Florida, Hawaii, Idaho, Iowa, Kansas, Kentucky,
         Louisiana, Maine, Maryland, Massachusetts, Minnesota, Nevada, New York, North
         Dakota, Ohio, Pennsylvania, Virginia, and Washington) against Teva USA and
         several other companies. The states seek a finding that the defendants’ actions
         violated federal antitrust law (Sherman Act § 1), as well as injunctive relief,
         disgorgement, and costs.

                                            *       *      *

                To date, Teva has not identified any evidence that would give rise to liability
         with respect to the above-mentioned subpoenas and civil suits.

         688.       On May 11, 2017, August 3, 2017, and November 2, 2017, February 12, 2018,

May 3, 2018, August 2, 2018, November 1, 2018, February 19, 2019, and May 2, 2019 Teva filed its

1Q2017 Form 6-K, 2Q2017 Form 6-K, 3Q2017 Form 6-K, 2017 Form 10-K, 1Q2018 Form 10-Q,

2Q2018 Form 10-Q, 3Q2018 Form 10-Q, 2018 Form 10-K, and 1Q2019 Form 10-Q, respectively,

which repeated substantially similar disclosures to those above concerning the Subpoenas, the

Actavis subpoena, and the State AGs’ lawsuit and denied engaging in “any conduct” that would

expose the Company to liabilities pursuant to the Subpoenas or civil lawsuits:

         Teva denies having engaged in any conduct that would give rise to liability with
         respect to the above-mentioned subpoenas and civil suits.




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         689.       Starting on October 31, 2017, in response to media reports issued after the State AGs

filed a proposed amendment expanding their first antitrust complaint, Teva continuously issued

denials:

         •          On October 31, 2017, a Teva spokeswoman told Courthouse News that “Teva denies
                    these allegations and will continue to defend itself vigorously in court.” The
                    Company further stated that “[i]n accordance with our values, Teva is committed to
                    complying with all applicable competition laws and regulations. To this end, we
                    have a robust compliance program designed to ensure that our employees are aware
                    of competition laws, regulations and internal policies, and their obligations to abide
                    by them.”

         •          In a December 19, 2018 statement to Business Insider, Teva denied the State AGs’
                    allegations and said it “will continue to vigorously defend itself.”

         •          On January 18, 2019, Teva stated to Law360: “Overall, we establish prices to enable
                    patient access, maintain our commitment to innovative and generic medicines and
                    fulfill obligations to shareholders.” Teva added that it is “committed to complying
                    with all applicable laws and regulations” and “is dedicated to conducting business
                    with integrity and fairness. Litigation surrounding U.S. generic pricing of several
                    companies, including Teva, continues to be the subject of inaccurate media stories.”

         •          On February 19, 2019, in response to media reports discussing an unredacted version
                    of the first State AG complaint that had recently been made public, Teva stated to
                    Bloomberg that it would “vigorously defend itself against these unfounded
                    allegations.”

         690.       The statements in ¶¶681-689 concerning the government investigations into generic

price fixing misled investors by denying any wrongdoing and representing that no anti-competitive

collusive activities had taken place, when in fact, Teva’s engagement in price-fixing and market

allocation schemes constituted a violation of U.S. antitrust laws and exposed the Company to

significant risk of prosecution by state and federal authorities, along with the attendant negative

financial and reputational harm. As the State AGs alleged, Teva was not merely a participant, but

the central actor in an industry-wide scheme to fix prices and allocate customers; and four Teva

executives were so extensively involved in the unlawful conspiracy that they were named personally

as defendants in the May 2019 AG Complaint.


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                    4.     False and Misleading Statements Relating to the Actavis
                           Acquisition

         691.       Beginning the the third quarter of 2016, Teva failed to disclose and concealed the

negative impact resulting from the acquisition and integration of Actavis on Teva’s financial results

and business prospects.

         692.       In the 3Q2016 Form 6-K, filed on November 15, 2016, Teva asserted that the Actavis

acquisition “had a significant impact on our generic medicines segment, expanding our product

portfolio, R&D capabilities, product pipeline, and global operational network.”

         693.       In the 3Q2016 Form 6-K Press Release, defendant Vigodman stated:

                 “This has been a year of transition for Teva, underscored this quarter by the
         close of our strategic acquisition of Actavis Generics, which had significant
         contribution to our results. Actavis will continue to contribute in a meaningful way
         to the future growth of our generics business through the strengthened R&D
         capabilities and complementary pipeline and portfolio, and enhance our leadership in
         an increasingly evolving industry.”

         694.       On the same day, Teva held its third quarter 2016 earnings call and made the

following false and misleading statements concerning the financial impact of the Actavis acquisition

and integration on the Company’s business prospects and reported financials:

                 [Vigodman:] The completion of the Actavis acquisition strengthens and
         broadens our R&D capabilities, and highly complements our product pipeline,
         product portfolio, geographical footprint and operational network. It enhances
         Teva’s leadership in an evolving competitive landscape and massive consolidation
         across our customer base. In addition, our integration plans with the Actavis generics
         business are on track.

                                             *      *       *

                 [Olafsson:] On August 2, we completed the strategic acquisition of Actavis
         generics. The result is a much stronger, more competitive Teva that is best
         positioned to thrive in an evolving global generics marketplace.

                                             *      *       *

                 The closing of the Actavis transaction has gone very smoothly since day one
         with no operational disrupter. While we were disappointed at the delay with the
         anti-trust review, the time allowed the integration teams at Teva and Actavis generics

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         to work diligently to plan for integration of the two companies, in order to ensure that
         combined Company would be fully operational immediately upon closing of the
         transaction.

                 As a result, Teva was able to begin capitalizing immediately on the benefits
         offered by the acquisition of Actavis generics. This included optimizing our R&D
         activities, harmonizing our customer contracts and relationships, and realizing
         economies of scale with our purchasing.

         695.       On December 5, 2016, Teva filed a Form 6-K, which included the following false and

misleading statements concerning the financial impact of the Actavis acquisition and integration on

the Company’s business prospects and reported financials:

         •          Vigodman: “As we continue to focus on integrating and realizing the value of the
                    Actavis Generics transaction, which is progressing according to plan, Dipankar and
                    his team will focus on generating organic growth through new launches and
                    replenishing the pipe line through our industry-leading R&D, and drive efficiencies
                    across the generics organization.”

         •          Bhattacharjee: “With the integration of Actavis proceeding on schedule and the
                    complementary U.S. distribution capabilities provided by our recent acquisition of
                    Anda, we have a matchless opportunity to add value in the U.S. healthcare system,
                    and in the fast-changing global generics marketplace.”

         696.       On February 13, 2017, Teva hosted its 4Q2016 earnings call, where Peterburg and

Desheh made the following false and misleading statements concerning the financial impact of the

Actavis acquisition and integration on the Company’s business prospects and reported financials:

         [Peterburg:] The Company’s priorities continue to be extracting all synergies related
         to the Actavis generic acquisition, successfully launching the key generic and
         specialty products we have planned for 2017, and generating significant cash flow to
         rapidly pay down our existing debt to maintain a strong balance sheet.

                 We are reiterating our guidance for 2017, including our earnings per share of
         $4.90 to $5.30. We are very committed to this EPS range, and the management team
         and I will do what it takes to protect it, including additional cost reduction if
         necessary.

                                             *       *      *

                [Desheh:] The increase in our operating profit was driven mainly by our
         generic business, following the closing of the Actavis transaction.

                                             *       *      *

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         Total sales were $93 billion, with significant growth in goodwill and intangible
         assets, resulting from the progress made on the Actavis acquisition versus price
         allocation.

         697.       In the 2016 Form 20-F, filed on February 15, 2017, Teva made the following false

and misleading statements concerning the financial impact of the Actavis acquisition and integration

on the Company’s business prospects and reported financials:

                In August 2016, we completed our acquisition of Allergan plc’s worldwide
         generic pharmaceuticals business (“Actavis Generics”). At closing, we paid Allergan
         consideration of approximately $33.4 billion in cash and approximately 100.3 million
         Teva shares. The acquisition significantly expanded our generics product portfolio
         and pipeline, R&D capabilities and global operational network.

                                            *       *      *

                 In August 2016, we completed the Actavis Generics acquisition. Our strong
         legacy generics business, combined with the Actavis Generics business, has a world-
         leading product portfolio, comprehensive R&D capabilities, robust product pipeline
         and an efficient global operational network. The combined generic business has a
         wide-reaching commercial presence, as the market leader in the United States and a
         top three leadership position in over 40 countries, including some of our key
         European markets. The combined business benefits from a leading and diverse
         pipeline of products, which will help us continue executing key generic launches and
         further expand our product pipeline, focusing on both large and small opportunities.
         We expect that a larger number of smaller but more durable launches will help offset
         expected price erosion while diversifying our revenue stream.

                                            *       *      *

         Significant highlights of 2016 included:

                       In August 2016, we completed our acquisition of Actavis Generics.
         The acquisition had a significant impact on our generic medicines segment,
         expanding our product portfolio and pipeline, R&D capabilities and global
         operational network.

         698.       In the 1Q2017 Form 6-K, filed on May 11, 2017, Teva made the following false and

misleading statements concerning the financial impact of the Actavis acquisition and integration on

the Company’s business prospects and reported financials:

                On August 2, 2016, Teva consummated its acquisition of Allergan plc’s
         (“Allergan”) worldwide generic pharmaceuticals business (“Actavis Generics”). At
         closing, Teva transferred to Allergan consideration of approximately $33.4 billion in

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          cash and approximately 100.3 million Teva shares. The acquisition significantly
          expanded Teva’s generics product portfolio and pipeline, R&D capabilities and
          global operational network.

          699.      On the same day, Teva hosted its 1Q2017 earnings call, where Peterburg and Desheh

stated:

          [Peterburg:] As it relates to our first priority, I’m pleased to report the synergies
          related to the Actavis Generics acquisition and additional cost reduction, which the
          company has identified, is now on track to realize cumulative net synergies and cost
          reduction of approximately $1.5 billion by the end of 2017.

                                             *       *      *

                  Turning to generics. It has been 2 full quarters since the completion of our
          acquisition of Actavis Generics. The acquisition has provided us with many benefits,
          especially much stronger and broader R&D capabilities, which we believe are the
          engine for any substantial generic business. This is essential in today’s world when
          we are operating across such an evolving competitive landscape and ongoing
          consolidation across our customer base. We are very confident that the global
          business we have built will allow Teva to thrive in the long-term future as a leader in
          the generics industry.

                                             *       *      *

                 [Desheh:] The increase in our operating profit was driven mainly by our
          generic business, following the closing of the Actavis transaction.

          700.      The statements in ¶¶692-699 concerning the Actavis acquisition and integration were

materially false and misleading. Considered as a whole, Defendants’ representations misled

investors by presenting a materially false and misleading picture of Teva’s business, financial results

and operations by, in addition to the reasons set forth in §§III.K.1-2, III.L (False and Misleading

Statements Regarding Competition; False and Misleading Statements Regarding Teva’s Price-Hike

Strategy and Collusive Activities; Teva Violated Its Statutory Duty to Disclose Pricing Trends) and

§III.M (Allegations of Scienter), failing to disclose and actively concealing the negative impact

resulting from the acquisition and integration of Actavis on the Company’s financial results and

business prospects, which (among other things) exacerbated the risky and unsustainable nature of the



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Price-Hike Strategy, which collapsed shortly after the closing of the Actavis acquisition in

August 2016.

                    5.     False and Misleading Statements Relating to Goodwill

         701.       Beginning in the fourth quarter of 2016, Teva overstated the value of its goodwill and

inflated its balance sheet and operating results by billions of dollars.

         702.       In the 2015 Form 20-F filed on February 11, 2016, Teva disclosed the goodwill

policy that Teva failed to follow:

                 We regularly review our long-lived assets, including identifiable intangible
         assets, goodwill and property, plant and equipment, for impairment. Goodwill and
         acquired indefinite life intangible assets are subject to impairment review on an
         annual basis and whenever potential impairment indicators are present . . . . The
         amount of goodwill, identifiable intangible assets and property, plant and equipment
         on our consolidated balance sheet . . . is expected to significantly increase further
         following consummation of the Actavis Generics and other future acquisitions.

                                               *       *       *

                    (a)    Long-lived assets:

                 Teva’s long-lived, non-current assets are comprised mainly of goodwill,
         identifiable intangible assets and property, plant and equipment. Teva reviews its
         long-lived assets and performs detailed testing whenever potential impairment
         indicators are present. In addition, the Company performs impairment testing as of
         October 1 of each year for goodwill and identifiable indefinite life intangible assets.

                    Goodwill
                  Goodwill reflects the excess of the consideration paid or transferred plus the
         fair value of contingent consideration and any non-controlling interest in the acquiree
         at the acquisition date over the fair values of the identifiable net assets acquired. The
         goodwill impairment test is performed according to the following principles:

         •          An initial qualitative assessment of the likelihood of impairment may be
                    performed. If this step does not result in a more likely than not indication of
                    impairment, no further impairment testing is required. If it does result in a
                    more likely than not indication of impairment, the impairment test is
                    performed.

         •          In step one of the impairment test, Teva compares the fair value of the
                    reporting units to the carrying value of net assets allocated to the reporting
                    units. If the fair value of the reporting unit exceeds the carrying value of the
                    net assets allocated to that unit, goodwill is not impaired, and no further
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                    testing is required. Otherwise, Teva must perform the second step of the
                    impairment test to measure the amount of the impairment.

         •          In the second step, the reporting unit’s fair value is allocated to all the assets
                    and liabilities of the reporting unit, including any unrecognized intangible
                    assets, in a hypothetical analysis that simulates the business combination
                    principles to derive an implied goodwill value. If the implied fair value of
                    the reporting unit’s goodwill is less than its carrying value, the difference is
                    recorded as an impairment.

                                                *       *       *

         In September 2015, the FASB issued guidance on current accounting for
         measurement-period adjustments. The new guidance requires entities to recognize
         adjustments to provisional amounts that are identified during the measurement period
         in the reporting period in which the adjustment amounts are determined.
         Measurement period adjustments were previously required to be retrospectively
         adjusted as of the acquisition date. The provisions of this update are effective for
         fiscal years, and interim periods within those fiscal years, beginning after
         December 15, 2015 (early adoption is permitted), and should be applied
         prospectively. Teva does not expect this guidance to have a material effect on its
         consolidated financial statements at the time of adoption of this standard.

         703.       On November 15, 2016, Teva disclosed its overstated balance sheet with inflated

goodwill valuations:

                 The table below summarizes the preliminary estimates of the fair value of the
         assets acquired and liabilities assumed and resulting goodwill. These values are not
         yet finalized and are subject to change, which could be significant. The amounts
         recognized and associated amortization periods will be finalized as the information
         necessary to complete the analyses is obtained, but no later than one year from the
         acquisition date.

                                                *       *       *

                                                                       U.S.$ in
                                                                       millions
                    Goodwill                                            19,630

                                                *       *       *

                 Total balance sheet assets amounted to $98.7 billion as of September 30,
         2016, compared to $57.9 billion as of June 30, 2016. The increase was mainly due
         to an increase of $40.0 billion of goodwill and other intangible assets mainly
         related to the Actavis Generics acquisition.

                                                *       *       *

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         CONSOLIDATED BALANCE SHEETS - USD ($)                 September 30,        December 31,
         $ in Millions                                             2016                 2015
         Goodwill                                                        40,296              19,025

         Total assets                                      $             98,747 $            54,233

         704.       Teva’s 2016 Form 20-F, filed on February 15, 2017, included the Company’s

goodwill impairment testing policy – which it failed to follow – and disclosed false and misleading

goodwill valuations relating to its generics segment:

                 We regularly review our long-lived assets, including identifiable intangible
         assets, goodwill and property, plant and equipment, for impairment. Goodwill and
         acquired indefinite life intangible assets are subject to impairment review on an
         annual basis and whenever potential impairment indicators are present.

                                            *       *          *

                 We review goodwill and purchased intangible assets with indefinite lives for
         impairment annually and whenever events or changes in circumstances indicate the
         carrying value of an asset may not be recoverable. The provisions of the accounting
         standard for goodwill and other intangibles allow us to first assess qualitative factors
         to determine whether it is necessary to perform the two-step quantitative goodwill
         impairment test.

                  For our annual goodwill impairment test in 2016, we performed a quantitative
         test for all of our reporting units. We determine the fair value of our reporting units
         using a weighting of fair values derived from the income approach.

                 The income approach is a forward-looking approach to estimating fair value
         and relies primarily on internal forecasts. Within the income approach, the method
         that we use is the discounted cash flow method. We start with a forecast of all the
         expected net cash flows associated with the reporting unit, which includes the
         application of a terminal value, and then we apply a discount rate to arrive at a net
         present value amount.

                Cash flow projections are based on management’s estimates of revenue
         growth rates and operating margins, taking into consideration industry and market
         conditions. The discount rate used is based on the weighted-average cost of capital
         adjusted for the relevant risk associated with business-specific characteristics.

                Our annual goodwill impairment analysis, performed during the fourth
         quarter of 2016, resulted in a goodwill impairment charge of approximately
         $900 million related to the Rimsa acquisition. . . .

                 There was no impairment for our remaining reporting units, whose fair value
         was estimated based on future cash flows discounted at a market participant rate. We
         adjust the discount rate in certain circumstances based on specific additional country

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         level risk or business risk. Other events or circumstances that could impact the
         estimated fair value of a reporting unit include changes in our key assumptions
         relating to operating results and anticipated future cash flows.

                 Our U.S. generics reporting unit has the narrowest percentage difference
         between estimated fair value and estimated carrying value, with approximately
         $23.1 billion of allocated goodwill. The estimated fair value and the carrying value,
         including goodwill, of this reporting unit increased significantly compared to the
         prior year, due to our acquisition of Actavis Generics, reducing the relative
         difference between estimated fair value and carrying value. . . .

                 A hypothetical decrease in the fair value of our U.S. generics reporting unit of
         approximately 21% could trigger a potential impairment of its goodwill. In
         determining the fair value of our U.S. generics reporting unit we used a discounted
         cash flow analysis and applied the following key assumptions: expected revenue
         growth, which reflects our ability to successfully launch new generic products,
         operating profit margins including an estimate for price erosion in the U.S. generics
         market and discount rate, amongst others. If any of these were to vary materially
         from our plans, we could face impairment of goodwill allocated to this reporting unit
         in the future.

                                            *           *       *

                 We will continue to evaluate goodwill on an annual basis as of the beginning
         of the fourth quarter each year or whenever events or changes in circumstances
         indicate that there may be a potential trigger of impairment.

                                            *           *       *

                 The table below summarizes the preliminary estimates of the fair value of
         the assets acquired and liabilities assumed and resulting goodwill. These values
         are not yet finalized and are subject to change, which could be significant. The
         amounts recognized and associated amortization periods will be finalized as the
         information necessary to complete the analyses is obtained, but no later than one
         year from the acquisition date (“the measurement period”).

                Recognized amounts of identifiable assets acquired and liabilities assumed
         [from the Actavis acquisition]:

                                            *           *       *
                                                                    Measurement
                                                                       period
                                       Preliminary                  adjustments,        Preliminary
                                        values at                   and impact of         values at
                                      September 30,                     Anda            December 31,
             U.S.$ in millions            2016                       acquisition            2016
              Goodwill                                19,630                    4,562           24,192

                                            *           *       *


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         The changes in the carrying amount of goodwill for the years ended December 31,
         2016 and 2015 were as follows:

                                                      *          *          *

                                                          Generics              Specialty                Other           Total
                                                                                    (U.S. $ in millions)
          Balance as of December 31, 2015             $        8,465        $       9,420          $        1,140      $ 19,025
          Changes during year:
               Goodwill acquired and adjustments(2)           25,767                  (29)                  1,091        26,829
                Goodwill disposed(3)                                 (99)                                                    (99)
                Goodwill impairment(4)                          (900)                                                       (900)
                Translation differences and other               (370)                 (68)                       (8)        (446)

          Balance as of December 31, 2016             $       32,863        $       9,323          $        2,223      $ 44,409



                                                      *          *          *

         (2) Goodwill recognized as part of the Actavis Generics, Anda, Takeda and Rimsa
         acquisitions. Goodwill acquired in the specialty segment represents measurement
         period adjustments on goodwill acquired in 2015 (mainly Auspex).

         705.       In the 1Q2017 Form 6-K, filed on May 11, 2017, Teva assured investors of its

continuous monitoring of “events or changes in circumstances that may impact the valuation of [its]

goodwill” and concluded that nothing affected its conclusion that the fair value estimates were

greater than the carrying amounts of the goodwill. In fact, not only did Teva fail to impair its

overvalued goodwill, it also increased the amount of goodwill relating to its Actavis acquisition and

its generics segment:

                We continuously monitor for events or changes in circumstances that may
         impact the valuation of our goodwill. Notwithstanding the recent performance of
         our shares on the market, the February 2017 departure of our President and Chief
         Executive Officer and the announcement of the impending departure of our Chief
         Financial Officer, we have determined that our business has not changed in a
         manner that affects our conclusion that the fair value estimates of our reporting
         units are greater than their respective carrying amounts.

                                                      *          *          *

                 The table below summarizes the preliminary estimates of the fair value of the
         assets acquired and liabilities assumed and resulting goodwill [from the Actavis
         acquisition]. These values are not yet finalized and are subject to change, which
         could be significant. The amounts recognized and associated amortization periods


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          will be finalized as the information necessary to complete the analyses is obtained,
          but no later than one year from the acquisition date (“the measurement period”).

                    Recognized amounts of identifiable assets acquired and liabilities assumed:
          U.S.$ in millions
                                                                      Preliminary
                                                                                   Measurement Preliminary
                                                                        values at
                                                                                     period      values at
                                                                      December 31,
                                                                                   adjustments March 31, 2017
                                                                          2016

                                                  *        *          *
                    Goodwill                                                 24,192          390              24,582

                                                  *        *          *

          The changes in the carrying amount of goodwill for the period ended March 31, 2017
          were as follows:
                                                                  Generics      Specialty      Other        Total
                                                                                 (U.S. $ in millions)
            Balance as of January 1, 2017                      $ 32,863 $ 9,323 $ 2,223 $ 44,409

            Changes during the period:
                Goodwill adjustments (1)                              355             —           —              355
                Translation differences                               235              22               5        262

            Balance as of March 31, 2017                       $ 33,453 $ 9,345 $ 2,228 $ 45,026

          (1)       Due to Actavis Generics and Rimsa measurement period adjustments.

                  As a result of the acquisition of Actavis Generics, Teva conducted an analysis
          of its business segments, which led to a change to Teva’s segment reporting and
          goodwill assignment in the fourth quarter of 2016. Teva reallocated goodwill to its
          adjusted reporting units using a relative fair value approach.

          706.      On August 3, 2017, Teva filed its 2Q2017 Form 6-K and reported “a goodwill

impairment charge of $6.1 billion related to its U.S. generics reporting unit.” The Form 6-K further

stated:

                   The table below summarizes the fair value estimates of the assets acquired,
          liabilities assumed and resulting goodwill. As the measurement period is now
          closed, the amounts were finalized during the second quarter of 2017.

                                                  *        *          *
                                   Preliminary
                                     values at             Measurement
                                   December 31,              period                         Values at June 30,
                                       2016                adjustments                            2017
          Goodwill                          24,192                           961                              25,153


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                                                *          *           *

               The changes in the carrying amount of goodwill for the period ended June 30,
         2017 were as follows:
                                              Generics             Specialty             Other          Total
                                                                        (U.S. $ in millions)
          Balance as of January, 1 2017   $     32,863         $       9,323       $       2,223    $    44,409

          Changes during the period
             Goodwill impairment                 (6,100)                    –––               –––        (6,100)
             Goodwill adjustments(1)              1,490                     –––             (560)           930
             Goodwill disposed                       (7)                   (24)               –––           (31)
             Translation differences                713                      92                22           827

          Balance as of June 30, 2017     $      28,959        $        9,391      $       1,685    $    40,035

          (1)
            Due to Actavis Generics and Rimsa measurement period adjustments. See note 3.
                                                *          *           *

                 During the second quarter of 2017, Teva identified certain developments in
         the U.S. market, which negatively impacted Teva’s outlook for its U.S. generics
         business. These developments included: (i) additional pricing pressure in the U.S.
         market as a result of customer consolidation into larger buying groups to extract
         further price reductions; (ii) accelerated FDA approval of additional generic
         versions of off-patent medicines, resulting in increased competition for these
         products; and (iii) delays in new launches of certain of Teva’s generic products.
         These developments caused Teva to revisit its assumptions supporting the cash
         flow projections for its U.S. generics reporting unit, including: (i) expected price
         erosion and certain revenue growth assumptions; (ii) the associated operating
         profit margins; and (iii) the terminal growth rate of its U.S. generics reporting
         unit.

                 Teva determined the fair value of the reporting units using a weighting of fair
         values derived from the income approach. The income approach is a forward-
         looking approach to estimating fair value and utilizes the 2017 remaining year
         forecast, projections for growth off that base with an associated price erosion as well
         as terminal growth rate. Within the income approach, the method that was used is
         the discounted cash flow method. Teva started with a forecast of all the expected net
         cash flows associated with the reporting unit, which includes the application of a
         terminal value, and then applied a discount rate to arrive at a net present value
         amount. Cash flow projections are based on Teva’s estimates of revenue growth
         rates and operating margins, taking into consideration industry and market
         conditions. The discount rate used is based on the weighted-average cost of capital
         adjusted for the relevant risk associated with country-specific characteristics.

               Based on the revised discounted cash flows analysis, Teva recorded a
         goodwill impairment charge of $6.1 billion related to its U.S. generics reporting

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         unit in the second quarter of 2017. The remaining goodwill allocated to this
         reporting unit amounts to $15.5 billion as of June 30, 2017.

         707.       On the same day, Teva hosted its second quarter 2017 earnings call and attributed the

belated $6.1 billion goodwill write-down to factors that Teva had encountered for the past year. The

write-down was inadequate and the Company continued to overstate its goodwill:

         [Peterburg:] In the last 3 months, our results were greatly impacted by the
         performance in the U.S. Generics business and continued deterioration in
         Venezuela. In our U.S. Generics business, we experienced accelerated price
         erosion and decreased volume, mainly due to customer consolidation, greater
         competition as a result of an increase in generic drug approval by the FDA and
         some new product launches that were either delayed this quarter or got subjected
         to more competition.

                                              *       *      *

                 On a GAAP basis, we are reporting today an EPS loss for the second quarter
         of $5.94. This loss is primarily the result of a $6.1 billion impairment charge to
         reduce goodwill associated with our U.S. Generics business unit, which includes
         both the Teva legacy business and the Actavis Generics business. This impairment
         reflects our revised outlook for the business given the trends we are seeing in the
         market, as I have just articulated.

                                              *       *      *

                 [McClellan :] As mentioned by Yitzhak, during the second quarter of 2017,
         management identified certain developments in the U. S. market, which we feel
         negatively impact Teva’s outlook for the U. S. Generics business. And this has led
         us to review the value of this business at the half year, though we have typically
         done our goodwill impairment analysis at the end of the year.

                 First in Q2, we renegotiated both prices and volumes of our in-line
         products with some of our largest customers. These developments had a much
         greater impact than expected, negatively impacting not only our Q2 results, but our
         results through the rest of the year and our outlook going forward in the near
         term. This manifests itself as an accelerated rate of price erosion on our base
         generic portfolio as well as some reduced volumes sold into the marketplace.

                 In addition, since the end of the year, we have seen an increase in generics
         drug approvals by the FDA. This has resulted in additional competition on our
         existing portfolio, which is further accelerating price and volume erosion and
         negatively impacting our overall business and performance outlook.

                Finally, we had some launches for the year in the U.S. that experienced
         delays and some did not materialize.

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                All of this led management to revisit its long-term forecast for the U.S.
         Generics unit, as we see these pressures persisting into the near future, leading to
         lower revenue and profit most likely in the U.S. Generics in 2018 and potentially
         2019. All of these factors, which became strongly evident during Q2, triggered us
         to review and impair our goodwill to align our revised expectations for the
         performance of this business in our balance sheet.

                 The goodwill impairment was the main driver of the changes in our balance
         sheet, and you can see the goodwill went down by $5 billion. This is the $6.1 billion
         impairment, offset by $1 billion, which was reallocated to goodwill in the final
         Actavis purchase price allocation, as we closed the purchase price allocation as of
         June 30. There was also a corresponding reduction in our shareholders’ equity for
         the charge of the goodwill impairment.




         708.       In the 3Q2017 Form 6-K filed on November 2, 2017, Teva falsely assured investors

that the Company had conducted impairment testing of goodwill for the third quarter of 2017 and

that the goodwill fair value was actually higher than carrying value, even though the Company had

lowered projections for 2017:

                                Preliminary
                                  values at           Measurement
                                December 31,            period            Values at June 30,
                                    2016              adjustments               2017
          Goodwill                       24,192                     961                    25,153

                                               *     *       *

         The changes in the carrying amount of goodwill for the period ended September 30,
         2017 were as follows:
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                                                          Generics             Specialty         Other         Total
                                                                                 (U.S. $ in millions)
         Balance as of January 1, 2017                $     32,863         $      9,323      $ 2,223       $   44,409

         Changes during the period:
           Goodwill impairment                              (6,100)                  —              —           (6,100)
           Goodwill adjustments(1)                           1,482                   —             (560)           922
           Goodwill reclassified to assets held for
            sale                                                —                   (905)          —              (905)
           Goodwill disposed                                     (7)                 (24)          —               (31)
           Translation differences                              968                  106            23           1,097

         Balance as of September 30, 2017             $     29,206         $      8,500      $ 1,686       $   39,392

         (1)
           Due to Actavis Generics and Rimsa measurement period adjustments. See note 3.

                                                 *          *          *

         Given certain developments in its businesses and especially the significant decline
         of its share price during the third quarter of 2017, Teva reassessed its cash flow
         projections for its reporting units as of September 30, 2017, focusing on its
         specialty reporting unit and its U.S. generics reporting unit. As part of this
         assessment, Teva considered the sensitivity of estimates and assumptions used in
         the latest projections and the sensitivity of changes to the prior projections on its
         June 30, 2017 impairment testing.

                                                 *          *          *

         During the second quarter of 2017, Teva identified certain developments in the U.S.
         market, which negatively impacted Teva’s outlook for its U.S. generics business.
         These developments included: (i) additional pricing pressure in the U.S. market as a
         result of customer consolidation into larger buying groups to extract further price
         reductions; (ii) accelerated FDA approval of additional generic versions of off-patent
         medicines, resulting in increased competition for these products; and (iii) delays in
         new launches of certain of Teva’s generic products. These developments caused
         Teva to revisit its assumptions supporting the cash flow projections for its U.S.
         generics reporting unit, including: (i) expected price erosion and certain revenue
         growth assumptions; (ii) the associated operating profit margins; and (iii) the
         terminal growth rate of its U.S. generics reporting unit.

                                                 *          *          *

         Based on the revised discounted cash flows analysis, Teva recorded a goodwill
         impairment charge of $6.1 billion related to its U.S. generics reporting unit in the
         second quarter of 2017. The remaining goodwill allocated to this reporting unit
         amounted to $15.5 billion as of June 30, 2017, and remained unchanged as of
         September 30, 2017.

         As of September 30, 2017, Teva adjusted the projections for its U.S. generics
         reporting unit to reflect favorable events, partially offset by further increased

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         pressure in the U.S. generics market. Teva believes that risks are appropriately
         reflected in the cash flow projections and therefore no risk premium is required to
         the discount rate of 6.8%. The adjustments to the projections resulted in a slight
         increase of the fair value over carrying value with a percentage difference of 1%.
         Goodwill allocated to this reporting unit remained unchanged as of September 30,
         2017.

         709.       The foregoing statements concerning Teva’s goodwill are false and misleading

because, as described in §III.J, Teva materially overstated the value of its goodwill, which inflated

the Company’s balance sheet and understated its goodwill impairment charge. This, in turn, inflated

Teva’s operating income and net earnings by billions of dollars.

                    6.     False and Misleading Statements Relating to Financial Results

         710.       The sales and profit figures Teva announced during the Relevant Period, listed in the

charts in ¶¶711-744 below, were false and misleading, as were Teva’s reasons for the increases in

sales and profits. Teva certified that its financial information was fairly presented in all material

respects as to the financial condition, results of operations, and cash flows of the Company without

disclosing that revenues and profitability were impacted by the illicit anti-competitive schemes and

the Price-Hike Strategy in its U.S. generics business. Teva’s undisclosed inflation of its sales

through collusive price fixing constituted a violation of U.S. antitrust laws and exposed the

Company to significant risk of prosecution by state and federal authorities, along with the attendant

negative financial and reputational harm. In addition, Teva’s failure to make required disclosures

regarding the impact of artificial price increases from the unsustainable Price-Hike Strategy on its

reported financial results was a violation of SEC disclosure rules.

         711.       On October 31, 2013, Teva reported its third quarter 2013 financial results in its

3Q2013 Form 6-K and hosted its quarterly earnings call:

                                         Three Months Ended Sep. 30,   Nine Months Ended Sep. 30,
                               million      2013           2012           2013           2012
        Total Revenues                     $5,059         $4,972        $14,884        $15,068
        Gross Profit                       $2,630         $2,601         $7,813         $7,867
          Generic Medicines Segment        $2,483             $2,492     $7,209         $7,723
          Revenues

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            U.S. Revenues                       $1,138             $1,074           $3,003             $3,347
        EBITDA (Non-GAAP                        $1,330             $1,400           $3,840             $4,369
        Operating Income)
        Cash Flow from Operations               $444               $1,000
        Free Cash Flow                          ($34)               $577
        3Q2013 Form 6-K:
        Highlights
             •      Our revenues amounted to $5.1 billion, an increase of 2% compared to the third quarter of
                    2012. In local currency terms, revenues also increased 2%. The increase in local currency
                    terms was primarily attributable to higher sales of generic medicines in the United States,
                    higher revenues from global sales of our specialty and OTC medicines and higher revenues
                    from generic medicines (exclusive of APIs) in our ROW markets. This increase was partially
                    offset by a decrease in global API sales to third parties and lower revenues from generic
                    medicines in Europe.
                                                   *         *        *
                  Revenues from generic medicines in the United States during the third quarter of 2013
        amounted to $1.1 billion, an increase of 6% compared to the third quarter of 2012. The increase resulted
        mainly from the exclusive launches of niacin ER, the generic equivalent of Niaspan® and temozolomide,
        the generic equivalent of Temodar®, as well as higher sales of amphetamine salts IR, and products that
        were sold in the third quarter of 2013 that were not sold in the third quarter of 2012, the largest of which
        was fenofibrate, the generic equivalent of Tricor®. The increase was partially offset by a decline in sales
        of escitalopram oxalate, for which we had exclusive rights in the third quarter of 2012, and a decline in
        sales of pioglitazone and pioglitazone/metformin, which were launched in the third quarter of 2012.
                                                   *         *        *

               Revenues from generic medicines in the United States in the nine months ended September 30,
        2013 amounted to $3.0 billion, a decrease of 10%, compared to $3.3 billion in the same period of 2012.
                Among the most significant generic medicines sold in the United States during the nine months
        ended September 30, 2013 were generic versions of Pulmicort® (budesonide inhalation), Adderall IR®
        (amphetamine salts IR), Niaspan® (niacin ER), Tricor® (fenofibrate), Adderall XR® (mixed
        amphetamine salts ER), Provigil® (modafinil) and Accutane® (isotretinoin, which we market as
        Claravis™).
        3Q2013 Earnings Conference Call:
        Teva’s non-GAAP operating profit this quarter was approximately $1.3 billion, down 5% compared to
        the third quarter of 2012 mainly as a result of higher R&D and sales and marketing spending. The over
        split of operating profits before G&A expenses between our main lines of business for the quarter is as
        follows, global generics 25%, multiple sclerosis, 49%, other specialty brands 22%, OTC and other
        businesses at 4%. Our non-GAAP financial expenses in the quarter were slightly down to $71 million.


           712.     On February 6, 2014, Teva reported its fourth quarter 2013 financial results in the

4Q2013 Form 6-K Press Release and hosted an earnings call announcing its quarterly and annual

results:

                                            Three Months Ended Dec. 31,              Year Ended Dec. 31,
                                  million      2013           2012                  2013           2012
        Total Revenues                        $5,430         $5,249                $20,314        $20,317
        Gross Profit                          $2,894         $2,785                $10,707        $10,652
        Generic Medicines Segment:
          Revenues                              $2,697            $2,662            $9,906             $10,385
            U.S. Revenues                       $1,178            $1,034            $4,181              $4,381
          Gross Profit                          $1,149            $1,153            $4,095              $4,518
          Segment Profit                         $482              $505             $1,656              $2,062

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        EBITDA (Non-GAAP
                                                 $1,358            $1,346            $5,198             $5,175
        Operating Income)
        Cash Flow from Operations                 $816             $1,577
        Free Cash Flow                            $236             $1,000
        4Q2013 Form 6-K Press Release:
                  Revenues for the three months ended December 31, 2013, were $5.4 billion, an increase of 3%
        compared to the fourth quarter of 2012. In local currency terms, revenues increased 4%. The increase
        was primarily attributable to higher sales of generic medicines in the U.S. and higher revenues from our
        global specialty medicines business, as well as higher sales of OTC products. This increase was
        partially offset by a decrease in generics sales outside the U.S., mostly in Japan, due to the weaker yen,
        and API sales to third parties.
                                                     *        *         *
                 Generic medicines net revenues in the fourth quarter were $2.7 billion (including API sales to
        third parties of $163 million), an increase of 1% compared to the fourth quarter of 2012. In local
        currency terms, revenues increased 3%. Generic revenues consisted of:
             •      U.S. revenues of $1.2 billion, an increase of 14% compared to the fourth quarter of 2012. The
                    increase resulted mainly from the exclusive launches of niacin ER, the generic version of
                    Niaspan®, and temozolomide, the generic version of Temodar®, in the third quarter of 2013,
                    and launches of duloxetine, the generic version of Cymbalta®, and tobramycin, the generic
                    version of Tobi®, in the fourth quarter of 2013, as well as higher sales of budesonide
                    inhalation, the generic version of Pulmicort®.
                                                     *        *         *
                Generic medicines net revenues in 2013 were $9.9 billion (including API sales to third parties
        of $692 million), a decrease of 5% compared to $10.4 billion in 2012. Generic revenues consisted of:
             •      U.S. revenues of $4.2 billion, a decrease of 5% compared to 2012. The decrease mainly
                    reflected the absence of royalties related to sales of atorvastatin, the generic equivalent of
                    Lipitor® under our agreement with Ranbaxy, which we received in the first half of 2012, a
                    decline in sales of escitalopram oxalate, the generic version of Lexapro®, to which we had
                    exclusive rights in the first half of 2012, and a decline in sales of generic versions of Actos®
                    (pioglitazone) and Actoplus Met® (pioglitazone/ metformin), which were launched in the third
                    quarter of 2012.
        4Q2013 Earnings Conference Call:
        Non-GAAP gross profit in 2013 was $11.9 billion or 58.6% of revenue, a decrease of $0.2 billion or
        0.8% compared to 2012. This decrease was mainly the result of lower revenues of PROVIGIL, which
        lost its exclusivity, as well as the reduced revenue from additional exclusive generic products, mainly
        atorvastatin.
                 These were partially offset by [a] more profitable product mix mainly in the US generic
        business, and higher COPAXONE revenue, as well as early contribution of our cost reduction program.
                                                     *        *         *
                 Our non-GAAP operating profit in 2013 was $5.2 billion compared to $5.7 billion in 2012.
        This 9% decline is mainly the result of slower sales of exclusive generic and specialty products mainly
        PROVIGIL, coupled with higher R&D and sales and marketing expenses. For the fourth quarter
        operating profit totaled $1.36 billion, an increase of 1% compared to last year. For the full-year 2013
        the overall split of operating profit before G&A expenses between our main lines of business is global
        generics 29%, MS 50%, other specialty brands 19%, [and] OTC and other businesses 2%.


         713.       On February 10, 2014, Teva filed its 2013 Form 20-F:

                       million     2013                   2012           2011            2010             2009
        Total Revenues          $20,314                  $20,317       $18,312         $16,121          $13,899
        Gross Profit            $10,707                  $10,652        $9,515          $9,065           $7,367
        Generic Medicines Segment:
         Revenues                $9,906                  $10,385       $10,196
            U.S. Revenues        $4,181                   $4,381        $3,957
          Gross Profit           $4,095                   $4,518        $4,605
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          Segment Profit               $1,656          $2,062         $2,059
        EBITDA (Non-GAAP               $5,198          $5,715         $5,253
        Operating Income)
        Cash Flow from                 $3,200          $4,500
        Operations
        Free Cash Flow                 $1,220          $2,738
        Significant highlights of 2013 included:
                                                   *        *         *
             •      Our generic medicines segment generated revenues of $9.9 billion and profitability of
                    $1.7 billion, down 5% and 20%, respectively. The decline in revenues was mainly due to
                    lower sales in the United States and ROW markets. Profitability was affected by product mix
                    and increasing costs.
                                                   *        *         *
                 Revenues from generic medicines in the United States during 2013 amounted to $4.2 billion,
        down 5% compared to $4.4 billion in 2012. The decrease resulted mainly from a decline in sales of the
        generic version of Lexapro® (escitalopram oxalate) for which we had exclusive rights in the first half of
        2012, the lack of royalties related to the sales of the generic equivalent of Lipitor® (atorvastatin) under
        our agreement with Ranbaxy, which we received in the first half of 2012, and a decline in sales of the
        generic version of Actos® (pioglitazone) and Actoplus met® (pioglitazone/metformin), which were
        launched in the third quarter of 2012. These decreases were partially offset by higher sales of the
        generic version of Pulmicort® (budesonide inhalation) and the generic version of Adderall IR®
        (amphetamine salts IR), the exclusive launch of niacin ER, the generic equivalent of Niaspan®, as well
        as products that were sold in 2013 that were not sold in 2012.
                                                   *        *         *
                  In 2013 gross profit from our generic medicines segment amounted to $4.1 billion, a decrease
        of $423 million, or 9%, compared to $4.5 billion in 2012. The lower gross profit was mainly a result of
        a change in the composition of revenues in the United States and Canada, mainly royalties related to
        sales in the United States of the generic equivalent of Lipitor® (atorvastatin) under the agreement with
        Ranbaxy, higher charges related to inventories, a decrease in profits from API sales to third parties, as
        well as lower sales of other generic medicines, partially offset by sales of higher profitability products
        in the United States.


         714.       The financial figures and the reasons given for the figures in ¶¶711-713 were

materially false and misleading or omitted material facts because Teva failed to disclose that its

revenues and profits were inflated by the Price-Hike Strategy and included sales from collusive

price-fixing and market allocation schemes. Significantly, Inflated Profit and Collusive Profit

increased Teva’s profitability by at least $250 million in 2013 – with contribution of at least

$103 million in the third quarter of 2013 and $147 million in the fourth quarter of 2013.

         715.       On May 1, 2014, Teva hosted its first quarter 2014 earnings call and reported its

quarterly financial results in the 1Q2014 Form 6-K:

                                                                 Three Months Ended Mar. 31,
                                        million               2014                        2013
        Total Revenues                                       $5,001                      $4,901
        Gross Profit                                         $2,697                      $2,590
        Generic Medicines Segment:

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          Revenues                                             $2,398                            $2,328
            U.S. Revenues                                      $1,048                             $893
          Gross Profit                                         $1,042                             $951
          Segment Profit                                        $499                              $382
        EBITDA (Non-GAAP Operating
                                                               $1,365                            $1,250
        Income)
        Cash Flow from Operations                                  $898                          $1,102
        Free Cash Flow                                             $382                           $640
        1Q2014 Form 6-K:
        Significant highlights of the first quarter of 2014 included:
             •      Our revenues amounted to $5.0 billion, an increase of 2% compared to the first quarter of
                    2013. In local currency terms, revenues increased 3%. The increase is due to higher revenues
                    from our generic and specialty medicines, partially offset by lower sales of OTC products.
             •      Our generic medicines segment generated revenues of $2.4 billion and profitability of
                    $0.5 billion in the first quarter of 2014, up 3% and 31%, respectively, from the first quarter of
                    2013. The increase in revenues and profitability was driven by improved results in the United
                    States, partially offset by generic medicines’ lower performance in our ROW and European
                    markets.
                                                     *         *          *
                 Revenues from generic medicines in the United States during the first quarter of 2014 amounted
        to $1.0 billion, an increase of 17% compared to $893 million in the first quarter of 2013. The increase
        resulted mainly from the exclusive launch of capecitabine (the generic equivalent of Xeloda ®), the
        launch of tolterodine tartrate (the generic equivalent of Detrol ®), and higher sales of budesonide
        inhalation (the generic version of Pulmicort ®) as well as sales of products that were sold in the first
        quarter of 2014 but not sold in the first quarter of 2013, the most significant of which were niacin (the
        generic equivalent of Niaspan®) and tobramycin (the generic equivalent of Tobi®). These increases
        were partially offset by declines in other products due to loss of exclusivity or additional competition, the
        most significant of which were amphetamine salts (the generic equivalent of Adderall ®), fenofibrate (the
        generic equivalent of Tricor®) and clonidine patch (the generic equivalent of Catapres TTS ®).
                 Among the most significant generic products we sold in the United States in the first quarter of
        2014 were generic versions of Pulmicort ® (budesonide inhalation), Niaspan® (niacin ER), Xeloda®
        (capecitabine), Detrol® (tolterodine tartrate), Tobi® (tobramycin), Pravachol® (pravastatin), Adderall
        IR® (mixed amphetamine salts IR) and Evista ® (raloxifene).
                                                     *         *          *
                  In the first quarter of 2014, gross profit from our generic medicine segment amounted to
        $1,042 million, an increase of $91 million, or 10%, compared to $951 million in the first quarter of
        2013. The higher gross profit was mainly a result of higher revenues and of the change in the
        composition of revenues in the United States and Europe, mainly products launched during the first
        quarter of 2014 and in the United States in the second half of 2013. These increases were partially
        offset by lower revenues from our ROW markets, as well as a decrease in profit from API sales to third
        parties.
                                                     *         *          *
                 Profitability of our generic medicine segment amounted to $499 million in the first quarter of
        2014, compared to $382 million in the first quarter of 2013. The increase was due to the factors
        previously discussed, primarily higher revenues, higher gross profit and a reduction in selling and
        marketing expenses, which were partially offset by an increase in research and development expenses.
        1Q2014 Earnings Conference Call:
        The profitability of our major business segment was driven by global generic, with 31% improvement
        resulting from the strong performance in the US market and higher profitability in Europe.


         716.       On July 31, 2014, Teva reported its second quarter 2014 financial results in its

2Q2014 Form 6-K and hosted its quarterly earnings call:


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                                           Three Months Ended Jun. 30,            Six Months Ended Jun. 30,
                               million        2014           2013                   2014            2013
        Total Revenues                       $5,045         $4,924                $10,046          $9,825
        Gross Profit                         $2,661         $2,593                 $5,358          $5,183
        Generic Medicines
        Segment:
          Revenues                            $2,515              $2,405           $4,913             $4,733
            U.S. Revenues                     $1,068               $967            $2,116             $1,860
          Gross Profit                        $1,046               $989            $2,088             $1,940
          Segment Profit                       $532                $376            $1,031              $758
        EBITDA (Non-GAAP                                          $1,260           $2,732             $2,510
        Operating Income)                     $1,367
        Cash Flow from                        $1,100              $900
        Operations
        Free Cash Flow                         $583               $378
        2Q2014 Form 6-K:
        Significant highlights of the second quarter of 2014 included:
             •      Our revenues amounted to $5.0 billion, an increase of 2% in both U.S. dollar and local
                    currency terms, compared to the second quarter of 2013. The increase is due to higher
                    revenues from our generic medicines, partially offset by lower sales of specialty medicines.
             •      Our generic medicines segment generated revenues of $2.5 billion and profitability of
                    $532 million in the second quarter of 2014, up 5% and 41%, respectively, from the second
                    quarter of 2013. The increase in revenues was driven by higher sales in the United States.
                    Profitability increased as a result of higher profitability in the United States and in Europe.
                                                      *       *          *
                  Revenues from generic medicines in the United States during the second quarter of 2014
        amounted to $1.1 billion, an increase of 10% compared to $1.0 billion in the second quarter of 2013.
        The increase resulted mainly from a full quarter of sales of capecitabine (the generic equivalent of
        Xeloda®), which was launched exclusively in March of 2014, and the launch of omega-3-acid ethyl
        esters (the generic equivalent of Lovaza®) for which we are first to market, as well as sales of products
        that were sold in the second quarter of 2014 but not sold in the second quarter of 2013, the most
        significant of which were raloxifene (the generic equivalent of Evista®) and tolterodine tartrate (the
        generic equivalent of Detrol®). These increases were partially offset by declines in other products, the
        most significant of which was amphetamine salts (the generic equivalent of Adderall®).
                 Among the most significant generic products we sold in the United States in the second quarter
        of 2014 were generic versions of Pulmicort® (budesonide inhalation), Xeloda® (capecitabine), Lovaza®
        (omega-3-acid ethyl esters), Adderall XR® (mixed amphetamine salts ER), Pravachol® (pravastatin),
        Evista® (raloxifene), Accutane® (isotretinoin, which we market as Claravis™) and Adderall IR®
        (mixed amphetamine salts IR).
                                                      *       *          *
                  In the second quarter of 2014, gross profit from our generic medicine segment amounted to
        $1.0 billion, an increase of $57 million, or 6%, compared to the second quarter of 2013. The higher
        gross profit was mainly a result of higher revenues in the United States, specifically of products
        launched during the first half of 2014 and in the second half of 2013, and higher revenues in Canada as
        well as the higher gross profit due to the change in the composition of revenues in Europe. These
        increases were partially offset by lower revenues and a change in the composition of revenues in certain
        ROW markets, mainly Japan and Russia.
                                                      *       *          *
                 Revenues in the second quarter of 2014 amounted to $5.0 billion, an increase of 2% in both
        U.S. dollar and local currency terms compared to the second quarter of 2013. Our revenues were
        positively affected by higher revenues of our generic medicines, partially offset by lower revenues of
        our specialty medicines. See “Generic Medicine Revenues” and “Specialty Medicine Revenues” above.
        Exchange rate movements during the second quarter of 2014 in comparison with the second quarter of
        2013 positively impacted overall revenues by approximately $16 million.
                                                      *       *          *
                    Revenues from generic medicines in the United States during the first six months of 2014
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        amounted to $2.1 billion, an increase of 14% compared to $1.9 billion in the first half of 2013.
                 Among the most significant generic products we sold in the United States in the first six
        months of 2014 were generic versions of Pulmicort® (budesonide inhalation), Xeloda® (capecitabine),
        Detrol® (tolterodine tartrate), Pravachol® (pravastatin), Lovaza® (omega-3-acid ethyl esters), Evista®
        (raloxifene), Niaspan® (niacin ER) and Adderall XR® (mixed amphetamine salts ER).
        2Q2014 Earnings Conference Call:
                  Looking at what impacted profitability this quarter, the improvement of operating profit and
        profitability was driven by strong results of our global generic business, with profit improvement of
        41% compared to last year. Launch of generic Xeloda in March and generic Lovaza this quarter in the
        US market, together with improvements in profitability in Europe, led to the better results. Copaxone
        profit contribution was down following the decline in sales, and our other specialty products, especially
        Azilect, Treanda, [and] ProAir, showed good improvement contributing to $57 million to the
        improvement in operating profit.
                 So when we look at profitability by segment this quarter, profit contribution of the generic
        business increased from 24% last year to 32% of total this year. While Copaxone contribution was
        down from 51%, it was more than half of our profit last year, to 42% this year.


         717.       On October 30, 2014, Teva reported its third quarter 2014 financial results in its

3Q2014 Form 6-K and hosted its quarterly earnings call:

                                          Three Months Ended Sep. 30,           Nine Months Ended Sep. 30,
                               million       2014            2013                 2014            2013
        Total Revenues                      $5,058          $5,059              $15,104         $14,884
        Gross Profit                        $2,809          $2,630               $8,167          $7,813
        Generic Medicines
        Segment:
          Revenues                           $2,432             $2,489           $7,345             $7,222
            U.S. Revenues                    $1,124             $1,137           $3,240             $2,997
          Gross Profit                       $1,078              $984            $3,166             $2,924
          Segment Profit                      $556               $396            $1,587             $1,154
        EBITDA (Non-GAAP                     $1,504             $1,330           $4,236             $3,840
        Operating Income)
        Cash Flow from                                          $400
                                             $1,400
        Operations
        Free Cash Flow                        $924              ($34)
        3Q2014 Form 6-K:
        Significant highlights of the third quarter of 2014 included:
                                                     *      *           *
             •      Our generic medicines segment generated revenues of $2.4 billion and profitability of
                    $556 million. Revenues decreased 2% compared to the third quarter of 2013, but profitability
                    increased 40%. The increase in profitability was mainly due to higher profitability in the
                    United States and Europe.
                                                     *      *           *
                  Revenues from generic medicines in the United States during the third quarter of 2014
        amounted to $1.1 billion, a decrease of 1% compared to the third quarter of 2013. The decrease resulted
        mainly from a decline in sales of amphetamine salts (the generic equivalent of Adderall®) and the loss
        of exclusivity of niacin ER (the generic equivalent of Niaspan®). This decrease was largely offset by
        sales of products sold in the third quarter of 2014 which were not sold in the third quarter of 2013, the
        most significant of which were capecitabine (the generic equivalent of Xeloda®) and omega-3-acid
        ethyl esters (the generic equivalent of Lovaza®), as well as entecavir (the generic equivalent of
        Baraclude®), which was exclusively launched during the third quarter of 2014.
                                                     *      *           *
                    In the third quarter of 2014, gross profit from our generic medicine segment amounted to
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        $1.1 billion, an increase of $94 million, or 10%, compared to the third quarter of 2013. The higher
        gross profit was mainly a result of lower expenses related to production, higher revenues from our API
        business as well as higher gross profit due to the change in the composition of revenues. These
        increases were partially offset by lower revenues in certain ROW markets and a change in the
        composition of revenues in these markets, as well as a slight decrease in revenues in the United States.
                  Gross profit margin for our generic medicine segment in the third quarter of 2014 increased to
        44.3%, from 39.5% in the third quarter of 2013. This increase of 4.8 points in gross margin was mainly
        a result of lower expenses related to production and higher revenues from our API business as well as
        the change in composition of revenues in Europe and in the United States, partially offset by lower
        gross profit from our ROW markets, as mentioned above.
                                                  *         *          *
                 Profitability of our generic medicine segment amounted to $556 million in the third quarter of
        2014, compared to $396 million in the third quarter of 2013. The increase was due to the factors
        previously discussed, primarily higher gross profit and a significant reduction in selling and marketing
        expenses, partially offset by higher research and development expenses.
                                                  *         *          *
                  In the third quarter of 2014, gross profit amounted to $2.8 billion, an increase of 7% compared
        to the third quarter of 2013.
                 The higher gross profit is primarily the result of the higher gross profit of our generic segment
        and our specialty medicines’ segment. See “Generic Medicine Gross Profit” and “Specialty Medicine
        Gross Profit” above.
                                                  *         *          *
               Revenues from generic medicines in the United States during the first nine months of 2014
        amounted to $3.2 billion, an increase of 8% compared to $3.0 billion in the first nine months of 2013.
                Among the most significant generic products we sold in the United States in the first nine
        months of 2014 were generic versions of Pulmicort® (budesonide inhalation), Xeloda® (capecitabine),
        Lovaza® (omega-3-acid ethyl esters), Niaspan® (niacin ER), Adderall XR® (mixed amphetamine salts
        ER), Evista® (raloxifene), Pravachol® (pravastatin), Tobi® (tobramycin sulfate) and Adderall IR®
        (mixed amphetamine salts IR).
        3Q2014 Earnings Conference Call:
                Profitability, which is our measure for segment operating income without G&A allocation,
        improved through all segments. Mostly for the generic segment, with 40% improvement year over year,
        as you have heard from Siggi. The improvement is due to better gross margins, lower sales and
        marketing expenses and Copaxone revenue, which grew year over year.


           718.     On February 5, 2015, Teva reported its fourth quarter 2014 financial results in the

4Q2014 Form 6-K Press Release and hosted an earnings call announcing its quarterly and annual

results:

                                         Three Months Ended Dec. 31,                Year Ended Dec. 31,
                             million        2014            2013                  2014             2013
        Total Revenues                     $5,168          $5,430                $20,272         $20,314
        Gross Profit                        2,889          $2,894                $11,056         $10,707
        Generic Medicines
        Segment:
          Revenues                          $2,469              $2,680           $9,814              $9,902
            U.S. Revenues                   $1,178              $1,175           $4,418              $4,172
          Gross Profit                      $1,081              $1,155           $4,247              $4,079
          Segment Profit                     $561                $514            $2,148              $1,668
        EBITDA (Non-GAAP                    $1,496              $1,358           $5,732              $5,198
        Operating Income)
        Cash Flow from                      $1,800              $800             $5,100              $3,200

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        Operations
        Free Cash Flow                        $1,500              $500             $4,300             $2,300
        4Q2014 Form 6-K Press Release:
                 Eyal Desheh, Chief Financial Officer of Teva, stated “Throughout the year, Teva placed great
        emphasis on the optimization of our global portfolio and the ongoing cost containment efforts, which
        resulted in an overall improvement in our non-GAAP operating margin of approximately 400 basis
        points. These efforts contributed to the strong financial results in 2014, which included achieving or
        exceeding the key metrics of our financial guidance.
                                                    *         *          *
        Generic revenues consisted of:
             •      U.S. revenues of $1.2 billion, flat compared to the fourth quarter of 2013, as higher sales of
                    omega-3-acid ethyl esters (the generic equivalent of Lovaza®), capecitabine (the generic
                    equivalent of Xeloda®), celecoxib (the generic equivalent of Celebrex®), raloxifene (the
                    generic equivalent of Evista®) and entecavir (the generic equivalent of Baraclude®) were offset
                    by lower revenues of products launched during 2013, mainly niacin ER (the generic equivalent
                    of Niaspan®), following the loss of exclusivity.
                                                    *         *          *
                  Gross profit from our generic medicines segment in the fourth quarter of 2014 amounted to
        $1.1 billion, a decrease of 6%, compared to the fourth quarter of 2013. The lower gross profit was
        mainly the result of lower revenues . . . partially offset by higher profitability of products launched in
        2014 and of our European portfolio, improved pricing and higher gross profit of our APIs. Gross profit
        margin for our generic medicines segment in the fourth quarter of 2014 increased to 43.8%, from 43.1%
        in the fourth quarter of 2013.
                 Profit from our generic medicines segment amounted to $561 million in the fourth quarter of
        2014, an increase of 9% compared to $514 million in the fourth quarter of 2013. The increase was
        primarily due to our lower S&M expenses and lower R&D expenses, partially offset by lower gross
        profit. Generic medicines profit as a percentage of generic medicines revenues was 22.7% in the fourth
        quarter of 2014, up from 19.2% in the fourth quarter of 2013.
        4Q2014 Earnings Conference Call:
                 The most notable contribution was generated by our generic business, improving profitability
        by more than 500 basis points. The contribution of our generic business to the growth of other
        operating profit was nearly $500 million, increas[ing] its share of the total to 31%.


         719.       On February 9, 2015, Teva filed its 2014 Form 20-F:

                       million      2014                 2013             2012           2011            2010
        Total Revenues            $20,272               $20,314          $20,317       $18,312         $16,121
        Gross Profit              $11,056               $10,707          $10,652        $9,515          $9,065
        Generic Medicines Segment:
          Revenues                 $9,814               $9,902           $10,385
            U.S. Revenues          $4,418               $4,172            $4,381
          Gross Profit             $4,247               $4,079            $4,518
          Segment Profit           $2,148               $1,668            $2,062
        EBITDA (Non-GAAP
        Operating Income)          $5,732               $5,198           $5,715
        Cash Flow from             $5,100               $3,200
        Operations
        Free Cash Flow             $4,300               $2,300
        Significant highlights of 2014 included:
                                                    *         *          *
             •      Our generic medicines segment generated revenues of $9.8 billion and profit of $2.1 billion,
                    down 1% and up 29%, respectively. The decline in revenues was due to lower sales in the
                    European and ROW markets, largely offset by higher sales in the United States. The increase
                    in profit resulted from lower S&M expenses and higher gross profit.


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                                                     *        *         *
                  Revenues from generic medicines in the United States in 2014 amounted to $4.4 billion, up 6%
        compared to $4.2 billion in 2013. The increase resulted mainly from the 2014 exclusive launch of
        capecitabine (the generic equivalent of Xeloda®), the launch of omega-3-acid ethyl esters (the generic
        equivalent of Lovaza®) for which we were first to market, and the launch of raloxifene (the generic
        equivalent of Evista®), as well as products that were sold in 2014 that were not sold in 2013. These
        increases were partially offset by lower sales of the generic versions of Adderall IR® (amphetamine
        salts IR), Pulmicort® (budesonide inhalation) and Niaspan® (niacin ER).
                                                     *        *         *
                  In 2014, gross profit from our generic medicines segment amounted to $4.2 billion, an increase
        of $168 million, or 4%, compared to $4.1 billion in 2013. The higher gross profit was mainly a result of
        higher revenues in the United States, specifically of products launched during 2014 and in the second
        half of 2013, and higher revenues in Canada, which led to higher gross profits, as well as higher gross
        profit from API sales to third parties. These increases were partially offset by lower revenues in Europe
        and certain ROW markets, which led to lower gross profits.


         720.       The financial figures and the reasons given for the figures in ¶¶715-719 were

materially false and misleading or omitted material facts because Teva failed to disclose that its

revenues and profits were inflated by the Price-Hike Strategy and included sales from price-fixing

and market allocation schemes. Significantly, Inflated Profit and Collusive Profit increased Teva’s

profitability by at least $693 million in 2014 – with contribution of at least $120 million in the first

quarter of 2014, $160 million in the second quarter of 2014, $193 million in the third quarter of

2014, and $219 million in the fourth quarter of 2014.

         721.       On April 30, 2015, Teva reported its first quarter 2015 financial results in its 1Q2015

Form 6-K and hosted its quarterly earnings call:

                                                                   Three Months Ended Mar. 31,
                                         million                2014                        2013
        Total Revenues                                         $4,982                      $5,001
        Gross Profit                                           $2,836                      $2,697
        Generic Medicines Segment:
          Revenues                                             $2,621                           $2,398
            U.S. Revenues                                      $1,439                           $1,048
          Gross Profit                                         $1,284                           $1,043
          Segment Profit                                        $799                             $503
        EBITDA (Non-GAAP Operating                             $1,533                           $1,381
        Income)
        Cash Flow from Operations                              $1,400                            $900
        Free Cash Flow                                         $1,200                            $540
        1Q2015 Form 6-K:
        Significant highlights of the first quarter of 2015 included:
             •      Our revenues amounted to $5.0 billion, consistent with the first quarter of 2014, and up 7% in
                    local currency terms.
             •      Our generic medicines segment generated revenues of $2.6 billion and profit of $799 million.
                    As compared to the first quarter of 2014, revenues increased 9% as a result of higher U.S. sales
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                    and profit increased 59%. The increase in profit was mainly due to higher profit in the United
                    States and Europe.
                                                    *        *         *
                 Revenues from generic medicines in the United States during the first quarter of 2015
        amounted to $1.4 billion, an increase of 37% compared to the first quarter of 2014. The increase
        resulted mainly from the launch of esomeprazole magnesium DR capsules (the generic equivalent of
        Nexium®) this quarter and from sales of other products that were not sold in the first quarter of 2014,
        the most significant of which was omega-3-acid ethyl esters (the generic equivalent of Lovaza®). These
        increases were partially offset by declines in other products, the most significant of which was niacin
        ER (the generic equivalent of Niaspan®).
                                                    *        *         *
                  In the first quarter of 2015, gross profit from our generic medicines segment amounted to
        $1.3 billion, an increase of $241 million, or 23%, compared to the first quarter of 2014. The higher
        gross profit was mainly a result of the launch of esomeprazole in the United States during the quarter
        and improved profitability of our European business.
        1Q2015 Earnings Conference Call:
        [Olafsson:] And despite the FX impact, the profit for the generics increased 59% to $799 million. The
        revenues were up 9% to $2.6 billion. And our operating profit in [the] first-quarter was 30.5%, which is
        a significant improvement over the 2014 operating profit of 21.9% and 16.7% in operating profit in
        2013. We successfully launched generic Nexium, esomeprazole, on February 17. We are still exclusive
        on the market. But pending at the FDA are 10 other ANDA filers waiting for approval.


         722.       On July 30, 2015, Teva reported its second quarter 2015 financial results in its

2Q2015 Form 6-K and hosted its quarterly earnings call.

                                              Three Months Ended Jun. 30,        Six Months Ended Jun. 30,
                                    million       2015          2014                 2015            2014
        Total Revenues                           $4,966        $5,045               $9,948         $10,046
        Gross Profit                             $2,902        $2,661               $5,738          $5,358
        Generic Medicines Segment:
          Revenues                                $2,466             $2,515         $5,087            $4,913
            U.S. Revenues                         $1,326             $1,068         $2,765            $2,116
          Gross Profit                            $1,198             $1,049         $2,482            $2,092
          Segment Profit                           $729               $536          $1,528            $1,039
        EBITDA (Non-GAAP
        Operating Income)                         $1,610             $1,387         $3,143            $2,768
        Cash Flow from Operations                 $1,500             $1,100
        Free Cash Flow                            $1,336              $882          $2,549            $1,555
        2Q2015 Form 6-K:
        Significant highlights of the second quarter of 2015 included:
             •      Our revenues amounted to $5.0 billion, consistent with the second quarter of 2014, but up 5%
                    in local currency terms.
             •      Our generic medicines segment generated revenues of $2.5 billion and profit of $729 million.
                    Revenues decreased 2% (but increased 6% in local currency terms), while profit increased
                    36%, compared to the second quarter of 2014. The increase in profit was mainly due to higher
                    profit in the United States.
                                                    *        *         *
                 Revenues from generic medicines in the United States during the second quarter of 2015
        amounted to $1.3 billion, an increase of 24% compared to the second quarter of 2014. The increase
        resulted mainly from the at-risk launch of aripiprazole tablets (the generic equivalent of Abilify®)
        during the second quarter of 2015 and from sales of other products that were not sold in the second
        quarter of 2014, the most significant of which was esomeprazole magnesium DR capsules (the generic
        equivalent of Nexium®). These increases were partially offset by declines in other products, the most


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        significant of which was capecitabine (the generic equivalent of Xeloda®).
                                                    *        *        *
                  In the second quarter of 2015, gross profit from our generic medicines segment amounted to
        $1.2 billion, an increase of $149 million, or 14%, compared to the second quarter of 2014. The higher
        gross profit was mainly a result of higher gross profit in the United States, due to the launches of
        aripiprazole in the second quarter of 2015 and of esomeprazole during the first quarter of 2015, and
        lower production expenses, partially offset by lower gross profit of our ROW markets and our European
        business due to our focus on profitable business and lower gross profit of our API business.
        2Q2015 Earnings Conference Call:
                The result of all this is a strong trend of improvement in operating margin for Teva over the
        past 18 months of almost 500 basis points in operating profit. This was built upon the impressive
        improvement in the profitability of our generic business.


         723.       On October 29, 2015, Teva reported its third quarter 2015 financial results in its

3Q2015 Form 6-K:

                                              Three Months Ended Sep. 30,         Nine Months Ended Sep. 30,
                                    million      2015           2014                 2015           2014
        Total Revenues                          $4,823         $5,058              $14,771        $15,104
        Gross Profit                            $2,771         $2,809               $8,509         $8,167
        Generic Medicines Segment:
          Revenues                               $2,202             $2,432          $7,289           $7,345
            U.S. Revenues                        $1,032             $1,124          $3,797           $3,240
          Gross Profit                           $1,005             $1,078          $3,487           $3,170
          Segment Profit                          $578               $558           $2,106           $1,597
        EBITDA (Non-GAAP
        Operating Income)                        $1,550             $1,522          $4,693           $4,290
        Cash Flow from Operations                $1,100             $1,400
        Free Cash Flow                           $1,000
        3Q2015 Form 6-K:
        Significant highlights of the third quarter of 2015 included:
             •      Our revenues amounted to $4.8 billion, compared to $5.1 billion in the third quarter of 2014,
                    down 5%, but up 3% in local currency terms.
             •      Our generic medicines segment generated revenues of $2.2 billion and profit of $578 million.
                    Revenues decreased 9%, or 1% in local currency terms. Profit increased 4% compared to the
                    third quarter of 2014. The increase in profit was mainly due to lower selling and marketing
                    expenses.
                                                    *        *        *
                 Revenues from generic medicines in the United States during the third quarter of 2015
        amounted to $1.0 billion, a decrease of 8% compared to the third quarter of 2014. The decrease resulted
        mainly from a decline in sales of budesonide (the generic equivalent of Pulmicort®), niacin ER (the
        generic equivalent of Niaspan®), capecitabine (the generic equivalent of Xeloda®) and omega-3-acid
        ethyl esters (the generic equivalent of Lovaza®) due to price declines resulting from increased
        competition. These decreases were partially offset by sales of products sold in the third quarter of 2015
        that were not sold in the third quarter of 2014, the most significant of which were esomeprazole (the
        generic equivalent of Nexium®), aspirin/extended-release dipyridamole (the generic equivalent of
        Aggrenox®) and aripiprazole (the generic equivalent of Abilify®).
                                                    *        *        *
                  In the third quarter of 2015, gross profit from our generic medicines segment amounted to
        $1.0 billion, a decrease of $73 million, or 7%, compared to the third quarter of 2014. The lower gross
        profit was mainly a result of lower sales of budesonide (the generic equivalent of Pulmicort®) and
        niacin ER (the generic equivalent of Niaspan®) in the United States, which are both high gross profit
        products. In addition, exchange rate movements in our ROW and European markets further decreased
        gross profit. This decrease was partially offset by higher gross profit of our API business. In local

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        currency terms, gross profit increased 1%
                                                   *        *         *
               Revenues from generic medicines in the United States in the first nine months of 2015
        amounted to $3.8 billion, an increase of 17% compared to $3.2 billion in the first nine months of 2014.
                 Among the most significant generic products we sold in the United States in the first nine
        months of 2015 were generic versions of Nexium® (esomeprazole), Pulmicort® (budesonide
        inhalation), Abilify® (aripiprazole), Xeloda® (capecitabine), Lovaza® (omega-3-acid ethyl esters),
        Adderall XR® (mixed amphetamine salts ER), Detrol® (tolterodine ER), Accutane® (isotretinoin),
        Pravachol® (pravastatin), Evista® (raloxifene), and Celebrex® (celecoxib).


           724.     On February 11, 2016, Teva reported its fourth quarter 2015 financial results in the

4Q2015 Form 6-K Press Release and hosted an earnings call announcing its quarterly and annual

results:

                                              Three Months Ended Dec. 31,           Year Ended Dec. 31,
                                   million       2015           2014               2015           2014
        Total Revenues                          $4,881         $5,168             $19,652       $20,272
        Gross Profit                            $2,847         $2,889             $11,356       $11,056
        Generic Medicines Segment:
          Revenues                               $2,257             $2,469         $9,546           $9,814
            U.S. Revenues                         $996              $1,178         $4,793           $4,418
          Gross Profit                           $1,012             $1,083         $4,499           $4,253
          Segment Profit                          $576               $569          $2,682           $2,166
        EBITDA (Non-GAAP
        Operating Income)                        $1,481             $1,520         $6,174           $5,810
        Cash Flow from Operations                $1,600             $1,800         $5,500           $5,100
        Free Cash Flow                           $1,400             $1,500         $4,900           $4,300
        4Q2015 Form 6-K Press Release:
        Generic revenues consisted of:
             •      U.S. revenues of $1.0 billion, a decrease of 15% compared to the fourth quarter of 2014. The
                    decrease resulted mainly from a decline in sales of omega-3-acid ethyl esters (Lovaza®),
                    budesonide (Pulmicort®) and capecitabine (Xeloda®).
                                                   *        *         *
                  Gross profit from our generic medicines segment in the fourth quarter of 2015 amounted to
        $1.0 billion, a decrease of 7% compared to the fourth quarter of 2014. The lower gross profit was
        mainly a result of lower sales of budesonide (Pulmicort®) in the United States. In addition, exchange
        rate movements in our ROW and European markets had a negative impact on our gross profit. This
        decrease was partially offset by higher gross profit of our API business.
                                                   *        *         *
                  Our generic medicines segment generated profit of $576 million in the fourth quarter of 2015,
        an increase of 1% compared to the fourth quarter of 2014. Generic medicines profitability as a
        percentage of generic medicines revenues was 25.5% in the fourth quarter of 2015, up from 23.0% in
        the fourth quarter of 2014. The increase was primarily due to the reduction in S&M expenses, partially
        offset by lower gross profit.
        4Q2015 Earnings Conference Call:
                 2015 was a very good year for Teva Generics. Thanks to our strong performance of the base
        business and good new products launches, we delivered great results in the US and in major markets
        globally. We continued improving the operating profit of the generic business, coming from
        $1.68 billion operating profit in 2013, or 17% of revenue, to $2.68 billion operating profit in 2015, or
        28% of revenue. This is [a] $1 billion improvement in operating profit over 24 months [sic] period.
                    So how did we do this? Not by pricing but by portfolio mix, new products, and efficiency

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        measures.
                                                   *        *         *
                Looking at EBITDA, this important measurement will continue to drive very strong EBITDA
        growth, with 7.8% CAGR over the past three years. The improved generic business generated 37% of
        annual operating profit without G&A, while Copaxone’s share of this profit was down from 46% to
        42%. And these two major pieces of our business are coming close in contribution.
                                                   *        *         *
        [O]n the profitability, the overall business coming in at 28% versus what we – for the full year was
        25.5% for fourth quarter. I think how you need to think about it is, obviously, when you have an
        exclusive opportunity, especially in the US, you traditionally have a higher profitability. And we saw
        that in the first two quarters of the year, where we didn’t have any exclusive product in third and fourth
        quarter, there was a lower profitability.
                 . . . But keep in mind that from fourth-quarter 2014 to fourth-quarter 2015, there is a 200-basis-
        point improvement the operating profit. So there were no exclusive launches in either quarters. So the
        base business, overall base business improvement from the 12-month period was 200 basis point from
        fourth quarter to fourth quarter. So I think the overall business is improving.


         725.       On February 11, 2016, Teva filed its 2015 Form 20-F:

                        million      2015                2014            2013            2012            2011
        Total Revenues             $19,652             $20,272         $20,314         $20,317         $18,312
        Gross Profit                $8,296              $9,216          $9,607          $9,665          $8,797
        Generic Medicines Segment:
         Revenues                   $9,546             $9,814             $9,902
            U.S. Revenues           $4,793             $4,418             $4,172
          Gross Profit              $4,499             $4,253             $4,083
          Segment Profit            $2,682             $2,166             $1,680
        EBITDA (Non-GAAP            $6,174             $5,810             $5,252
        Operating Income)
        Cash Flow from              $5,500             $5,100
        Operations
                 Revenues from generic medicines in the United States in 2015 amounted to $4.8 billion, up 8%
        compared to $4.4 billion in 2014. The increase resulted mainly from the 2015 exclusive launch of
        esomeprazole (the generic equivalent of Nexium®) and the launch of aripiprazole (the generic
        equivalent of Abilify®), as well as products that were sold in 2015 that were not sold in 2014. This
        increase was partially offset by lower sales of the generic versions of Pulmicort® (budesonide
        inhalation), Xeloda® (capecitabine), Niaspan® (niacin ER) and Lovaza® (omega-3-acid ethyl esters).
                                                   *        *         *
                 In 2015, gross profit from our generic medicines segment amounted to $4.5 billion, an increase
        of $246 million, or 6%, compared to $4.3 billion in 2014. The higher gross profit was mainly a result of
        higher revenues from new products launched in the United States during 2015, lower other production
        expenses and higher gross profit from API sales to third parties. These increases were partially offset
        by lower gross profit in our ROW markets and lower gross profit in Europe.


         726.       The financial figures and the reasons given for the figures in ¶¶721-725 were

materially false and misleading or omitted material facts because Teva failed to disclose that its

revenues and profits were inflated by the Price-Hike Strategy and included sales from collusive

price-fixing and market allocation schemes. Significantly, Inflated Profit and Collusive Profit

increased Teva’s profitability by at least $848 million in 2015 – with contribution of at least

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$228 million in the first quarter of 2015, $236 million in the second quarter of 2015, $218 million in

the third quarter of 2015, and $166 million in the fourth quarter of 2015.

         727.       On May 9, 2016, Teva reported its first quarter 2016 financial results in its 1Q2016

Form 6-K and hosted its quarterly earnings call:

                                                                    Three Months Ended Mar. 31,
                                            million               2016                      2015
        Total Revenues                                           $4,810                    $4,982
        Gross Profit                                             $2,791                    $2,146
        Generic Medicines Segment:
          Revenues                                               $2,170                          $2,621
            U.S. Revenues                                         $976                           $1,439
          Gross Profit                                            $999                           $1,284
          Segment Profit                                          $584                            $799
        EBITDA (Non-GAAP Operating                               $1,526                          $1,533
        Income)
        Cash Flow from Operations                                $1,376                          $1,354
        Free Cash Flow                                           $1,200
        1Q2016 Form 6-K:
        Significant highlights of the first quarter of 2016 included:
                                                      *      *          *
             •      Our generic medicines segment generated revenues of $2.2 billion and profit of $584 million.
                    Revenues decreased 17%, or 15% in local currency terms, mainly due to lower U.S. sales.
                    Profit decreased 27% compared to the first quarter of 2015. Our higher revenues and profit in
                    the first quarter of 2015 were both due to significant launches in the U.S.
                  Revenues from generic medicines in the United States during the first quarter of 2016
        amounted to $976 million, a decrease of 32% or of $463 million, compared to the first quarter of 2015.
        The decrease resulted mainly from a decline in sales of $427 million due to the loss of exclusivity on
        esomeprazole (the generic equivalent of Nexium®) and budesonide (the generic equivalent of
        Pulmicort®) as well as a decline in sales of omega-3-acid ethyl esters (the generic equivalent of
        Lovaza®) and capecitabine (the generic equivalent of Xeloda®) due to increased competition. These
        decreases were partially offset by sales of products sold in the first quarter of 2016 that were not sold in
        the first quarter of 2015, the most significant of which were aripiprazole (the generic equivalent of
        Abilify®) and aspirin/extended-release dipyridamole.
                                                      *      *          *
                 In the first quarter of 2016, gross profit from our generic medicines segment amounted to
        $999 million, a decrease of $285 million, or 22%, compared to the first quarter of 2015. In local
        currency terms, gross profit decreased 20%. The lower gross profit was mainly a result of lower sales
        of high gross profit products in the United States, higher production expenses and lower gross profit in
        our European markets. This decrease was partially offset by higher gross profit of our ROW markets
        and our API business.
        1Q2016 Earnings Conference Call:
                 We have taken a significant step to transform our generic business, solidify our foundation,
        increase our profitability, and to better position us to generate sustainable long-term growth. These
        many steps have included portfolio optimization, strengthening our capabilities in R&D, and
        manufacturing of complex products, regaining a leading position in submission on first-to-files,
        enhancing our go-to-market, and sales force effectiveness capabilities, and much, much more.
                                                      *      *          *
        Sales declined by 3%, mostly due to exchange rates impact. However, operating income, EBITDA, net
        income, and earning per share were at the same level of last year, due to improved efficiency, and
        profitability . . . .


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         728.       On August 4, 2016, Teva reported its second quarter 2016 financial results in its

2Q2016 Form 6-K and hosted its quarterly earnings call:

                                               Three Months Ended Jun. 30,          Six Months Ended Jun. 30,
                                    million       2016           2015                 2016           2015
        Total Revenues                           $5,038         $4,966               $9,848         $9,948
        Gross Profit                             $2,877         $2,902               $5,668         $5,738
        Generic Medicines Segment:
          Revenues                                $2,294             $2,466          $4,464            $5,087
            U.S. Revenues                          $892              $1,326          $1,868            $2,765
          Gross Profit                            $1,072             $1,198          $2,071            $2,482
          Segment Profit                           $614               $729           $1,198            $1,528
        EBITDA (Non-GAAP                          $1,583             $1,610          $3,109            $3,143
        Operating Income)
        Cash Flow from Operations                  $963              $1,500
        Free Cash Flow                             $800              $1,300
        2Q2016 Form 6-K:
        Significant highlights of the second quarter of 2016 included:
                                                    *         *        *
             •      Our generic medicines segment generated revenues of $2.3 billion and profit of $614 million.
                    Revenues decreased 7%, or 4% in local currency terms. Profit decreased 16% compared to the
                    second quarter of 2015. Our lower revenues and profit in the second quarter of 2016 were
                    mainly due to loss of exclusivity on certain products as well as increased competition on other
                    product.
                                                    *         *        *
                Revenues from generic medicines in the United States during the second quarter of 2016
        amounted to $892 million, a decrease of $434 million, or 33%, compared to the second quarter of 2015.
        The decrease resulted mainly from the loss of exclusivity on aripiprazole (the generic equivalent of
        Abilify®) and esomeprazole (the generic equivalent of Nexium®) as well as a decline in sales of
        budesonide (the generic equivalent of Pulmicort®), capecitabine (the generic equivalent of Xeloda®)
        and omega-3-acid ethyl esters (the generic equivalent of Lovaza®), due to increased competition.
                                                    *         *        *
                  In the second quarter of 2016, gross profit from our generic medicines segment amounted to
        $1.1 billion, a decrease of $126 million, or 11%, compared to the second quarter of 2015. In local
        currency terms, gross profit decreased 7%. The lower gross profit was mainly a result of loss of
        exclusivity on certain products as well as increased competition on other products in the United States
        (as described above) and higher production expenses, partially offset by higher gross profit of our ROW
        markets, higher gross profit of our API business and higher gross profit of our European markets.
                                                    *         *        *
                 Revenues from generic medicines in the United States in the first six months of 2016 amounted
        to $1.9 billion, a decrease of 32% compared to $2.8 billion in the first six months of 2015. The decrease
        resulted mainly from the loss of exclusivity on aripiprazole (the generic equivalent of Abilify®) and
        esomeprazole (the generic equivalent of Nexium®) as well as a decline in sales of budesonide (the
        generic equivalent of Pulmicort®).
                                                    *         *        *
               In the first six months of 2016, gross profit amounted to $5.7 billion, a decrease of 1%
        compared to the first six months of 2015.
                   The lower gross profit was mainly a result of the lower gross profit of our generic medicines
        segment as well as inventory step-up charges and higher costs related to regulatory actions taken in
        facilities, partially offset by higher gross profit of our specialty medicines segment, lower amortization
        of purchased intangible assets and higher gross profit of our OTC activity.
        2Q2016 Earnings Conference Call:

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                 Operating profit for the quarter, which was similar to last year were influenced by the decline
        of our Aripiprazole, Esomeprazole, and Budesonide due to competition.
                                                     *         *        *
                On the profitability of our generic pieces, obviously, we are not breaking this down, but what
        you’ve seen is that the level of profitability was similar to Q1, 26.8%. The difference from last year,
        mostly due to the three major products that saw a much more intensive competition in the US market.


         729.       On November 15, 2016, Teva reported its third quarter 2016 financial results in its

3Q2016 Form 6-K and hosted its quarterly earnings call:

                                                Three Months Ended Sep. 30,         Nine Months Ended Sep. 30,
                                     million       2016           2015                 2016           2015
        Total Revenues                            $5,563         $4,823              $15,411        $14,771
        Gross Profit                              $2,801         $2,771               $8,469         $8,509
        Generic Medicines Segment:
          Revenues                                 $2,904             $2,202           $7,368            $7,289
            U.S. Revenues                          $1,293             $1,032           $3,161            $3,797
          Gross Profit                             $1,466             $1,005           $3,537            $3,487
          Segment Profit                            $867               $578            $2,065            $2,106
        EBITDA (Non-GAAP
        Operating Income)                          $1,794             $1,550           $4,903            $4,693
        Cash Flow from Operations                  $1,500             $1,100
        Free Cash Flow                             $1,200             $1,000
        3Q2016 Form 6-K:
        Significant highlights of the third quarter of 2016 included:
             •      On August 2, 2016, we consummated the Actavis Generics acquisition. The acquisition had a
                    significant impact on our generic medicines segment, expanding our product portfolio, R&D
                    capabilities, product pipeline, and global operational network. Our results of operations for the
                    third quarter of 2016 include two months of Actavis Generics results, with $887 million
                    included in our consolidated revenues.
                                                     *         *        *
             •      Our generic medicines segment generated revenues of $2.9 billion and profit of $867 million.
                    Revenues increased 32%, or 35% in local currency terms. Profit increased 50% compared to
                    the third quarter of 2015. Our higher revenues and profit in the third quarter of 2016 were
                    mainly due to the inclusion of two months of Actavis Generics revenues in this quarter.
                                                     *         *        *
                  Revenues from generic medicines in the United States during the third quarter of 2016 were
        $1.3 billion, an increase of $261 million, or 25%, compared to the third quarter of 2015. The increase
        resulted mainly from the inclusion of two months of Actavis Generics revenues of approximately
        $538 million, partially offset by loss of revenues following our divestment of certain products in
        connection with the acquisition, a decline in sales of budesonide (the generic equivalent of Pulmicort®)
        due to increased competition and the loss of exclusivity on esomeprazole (the generic equivalent of
        Nexium®).
                                                     *         *        *
                 In the third quarter of 2016, gross profit from our generic medicines segment was $1.5 billion,
        an increase of $461 million, or 46%, compared to the third quarter of 2015. The higher gross profit was
        mainly due to the first time inclusion of Actavis Generics and our business venture with Takeda in
        Japan, commencing with the second quarter of 2016, and higher gross profit of our API business as well
        as lower expenses related to production.
                                                     *         *        *
                 Revenues in the third quarter of 2016 were $5.6 billion, an increase of 15% compared to the
        third quarter of 2015, primarily due to higher revenues of our generic medicines due to the first time
        inclusion of the Actavis Generics, as well as higher revenues of other activities, partially offset by lower

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        revenues of our specialty medicines. See “Generic Medicines Revenues,” . . . .
                                                  *         *        *
                  In the third quarter of 2016, gross profit amounted to $2.8 billion, an increase of 1% compared
        to the third quarter of 2015.
                  The higher gross profit was mainly the result of higher gross profit of our generics medicines
        due to the first time inclusion of Actavis Generics and higher gross profit of our OTC activity, partially
        offset by higher amortization of purchased intangible assets, inventory step-up charges in the third
        quarter of 2016, lower gross profit of our specialty medicines segment, higher costs related to regulatory
        actions taken in facilities and other activities. See “Generic Medicines Gross Profit,” . . . .
                                                  *         *        *
                 Revenues from generic medicines in the United States in the first nine months of 2016
        amounted to $3.2 billion, a decrease of 17% compared to $3.8 billion in the first nine months of 2015.
        The decrease resulted mainly from the loss of exclusivity on esomeprazole (the generic equivalent of
        Nexium®), a decline in sales of budesonide (the generic equivalent of Pulmicort®) and the loss of
        exclusivity on aripiprazole (the generic equivalent of Abilify®), partially offset by the inclusion of two
        months of Actavis Generics revenues.
                                                  *         *        *
                  Cash flow generated from operating activities during the third quarter of 2016 amounted to
        $1.5 billion, compared to $1.1 billion in the third quarter of 2015. The increase was mainly due to
        lower payments for legal settlements, partially offset by an increase in accounts receivable, net of
        SR&A, and an increase in inventories. Cash flow was affected by the inclusion of two months of
        Actavis Generics.
        3Q2016 Earnings Conference Call:
                 Turning to our profit margins, the generic business came in at 29.9%. By exercising strong
        focus on cost control, and driving the right business mix, we compensated for challenges on the top line.
                                                  *         *        *
                 Our non-GAAP operating profit, this measure excludes G&A, was up 16% year-over-year.
        Generics including Actavis contributed additional operating profit of more than $300 million to our
        operating profit, and our operating profit from our specialty business was down by $120 million year-
        over-year, all in all, a 16% increase.


           730.     On February 13, 2017, Teva reported its fourth quarter 2016 financial results in its

4Q2016 Form 6-K Press Release and hosted an earnings call announcing its quarterly and annual

results:

                                              Three Months Ended Dec. 31,             Year Ended Dec. 31,
                                   million       2016           2015                 2016           2015
        Total Revenues                          $6,492         $4,881               $21,903       $19,652
        Gross Profit                            $3,390         $2,847               $11,859       $11,356
        Generic Medicines Segment:
          Revenues                                $3,716           $2,573           $11,990           $10,540
            U.S. Revenues                         $1,395            $998             $4,556            $4,795
          Gross Profit                            $1,835           $1,169            $5,696            $4,903
          Segment Profit                          $1,075            $693             $3,310            $2,925
        EBITDA (Non-GAAP Operating
        Income)                                   $1,944           $1,481            $6,847           $6,174
        Cash Flow from Operations                 $1,400                             $5,200           $5,500
        Free Cash Flow                            $1,100                             $4,400           $4,900
        4Q2016 Form 6-K Press Release:
                 Revenues in 2016 were $21.9 billion, an increase of 11% compared to 2015, primarily due to
        the inclusion, following the closing on August 2, of the results of the Actavis Generics business.

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                                                    *        *        *
                 Revenues in the fourth quarter of 2016 were $6.5 billion, up 33% compared to the fourth
        quarter of 2015, primarily due to the inclusion, following the closing on August 2, of the results of the
        Actavis Generics business.
                                                    *        *        *
                Generic medicines revenues in the fourth quarter of 2016 were $3.7 billion, an increase of 44%
        compared to the fourth quarter of 2015, reflecting the results of the Actavis Generics business from
        August 2, 2016.
        Generic revenues consisted of:
             •      U.S. revenues of $1.4 billion, an increase of 40% compared to the fourth quarter of 2015,
                    mainly due to the inclusion of Actavis Generics with revenues of $630 million.
        4Q2016 Earnings Conference Call:
        As you can see, on a non-GAAP basis, our profit and EBITDA were up about 30% compared to Q4 last
        year, all driven by inorganic growth, related mostly to the Actavis acquisition, and also to the joint
        venture with Takeda in Japan.
                                                    *        *        *
                 The increase in our operating profit was driven mainly by our generic business, following the
        closing of the Actavis transaction.


         731.       On February 15, 2017, Teva filed its 2016 Form 20-F:

                         million          2016           2015           2014           2013            2012
        Total Revenues                   $21,903        $19,652        $20,272        $20,314         $20,317
        Gross Profit                     $11,859        $11,356        $11,056        $10,707         $10,652
        Generic Medicines Segment:
         Revenues                        $11,990        $10,540        $10,810
            U.S. Revenues                 $4,556         $4,795         $4,516
          Gross Profit                    $5,696         $4,903         $4,601
          Segment Profit                  $3,310         $2,925         $2,346
        EBITDA (Non-GAAP
                                         $6,847         $6,174            $5,810
        Operating Income)
        Cash Flow from
                                         $5,200         $5,500
        Operations
        Significant highlights of 2016 included:
                                                    *        *        *
             •      Revenues of our generic medicines segment were $12.0 billion, up 14%, and profit was
                    $3.3 billion, up 13%. Our higher revenues and profit in 2016 were mainly due to the inclusion
                    of five months of Actavis Generics revenues in 2016 and our new business venture with
                    Takeda, which commenced operations in April 2016, partially offset by losses of exclusivity
                    and increased competition on certain products in the U.S.
                                                    *        *        *
                Revenues from generic medicines in the United States in 2016 were $4.6 billion, a decrease of
        5% compared to $4.8 billion in 2015. The decrease resulted mainly from the loss of exclusivity on
        esomeprazole (the generic equivalent of Nexium®) and aripiprazole (the generic equivalent of
        Abilify®), a decline in the sales of budesonide (the generic equivalent of Pulmicort®) due to increased
        competition, loss of revenues following our divestment of certain products in connection with the
        Actavis Generics acquisition and the decline in sales of capecitabine (the generic equivalent of
        Xeloda®). This decrease was partially offset by the inclusion of five months of Actavis Generics
        revenues of approximately $1.2 billion and revenues from products that were not sold in 2015.
                                                    *        *        *
                 In 2016, gross profit from our generic medicines segment was $5.7 billion, an increase of
        $793 million, or 16%, compared to $4.9 billion in 2015. The higher gross profit was mainly a result of
        higher gross profit in our ROW markets and in Europe as well as higher gross profit from API sales to

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        third parties, partially offset by lower gross profit in the United States as well as higher other production
        expenses.
                                                    *         *         *
                 Revenues in 2016 were $21.9 billion, an increase of 11% compared to 2015, mainly due to
        higher revenues of our generic medicines and of our specialty medicines. See “Generic Medicines
        Revenues,” . . . .


         732.       The financial figures and the reasons given for the figures in ¶¶727-731 were

materially false and misleading or omitted material facts because Teva failed to disclose that its

revenues and profits were inflated by the Price-Hike Strategy and illegal price-fixing and market

allocation schemes. Significantly, Inflated Profit and Collusive Profit increased Teva’s profitability

by at least $513 million in 2016 – with contribution of at least $124 million in the first quarter of

2016, $114 million in the second quarter of 2016, $149 million in the third quarter of 2016, and

$127 million in the fourth quarter of 2016.

         733.       On May 11, 2017, Teva reported its first quarter 2017 financial results in its 1Q2017

Form 6-K and hosted its quarterly earnings call:

                                                                        Three Months Ended Mar. 31,
                                                  million              2017                    2016
        Total Revenues                                                $5,630                  $4,810
        Gross Profit                                                  $2,819                  $2,791
        Generic Medicines Segment:
          Revenues                                                    $3,058                       $2,458
            U.S. Revenues                                             $1,381                        $976
          Gross Profit                                                $1,370                       $1,123
          Segment Profit                                               $779                         $649
        EBITDA (Non-GAAP Operating Income)                            $1,621                       $1,526
        Cash Flow from Operations                                      $470                        $1,400
        Free Cash Flow                                                 $300                        $1,200
        1Q2017 Form 6-K:
        Significant highlights of the first quarter of 2017 included:
                                                    *         *         *
             •      Our generic medicines segment generated revenues of $3.1 billion and profit of $779 million.
                    Revenues increased 24%, or 34% in local currency terms. Profit increased 20% compared to
                    the first quarter of 2016. The increase in revenues and profit in the first quarter of 2017 was
                    mainly due to the inclusion of Actavis Generics revenues.
                                                    *         *         *
                  Revenues from generic medicines in the United States during the first quarter of 2017 were
        $1.4 billion, an increase of 41%, compared to the first quarter of 2016. The increase resulted mainly
        from the inclusion of Actavis Generics revenues and products sold in the first quarter of 2017 that were
        not sold in the first quarter of 2016, partially offset by a decline in sales due to increased competition,
        mainly to aripiprazole (the generic equivalent of Abilify®) and budesonide (the generic equivalent of
        Pulmicort®) and loss of revenues following our divestment of certain products in connection with the


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        acquisition.
                                                    *        *         *
                 In the first quarter of 2017, gross profit from our generic medicines segment was $1.4 billion,
        an increase of $247 million, or 22%, compared to the first quarter of 2016. The higher gross profit was
        mainly due to the inclusion of Actavis Generics and our business venture with Takeda in Japan.
                                                    *        *         *
                  Revenues in the first quarter of 2017 were $5.6 billion, an increase of 17% compared to the
        first quarter of 2016, primarily due to higher revenues of our generic medicines and other activities,
        which were mainly related to the acquisitions of Actavis Generics and Anda as well as the business
        venture with Takeda in Japan, partially offset by lower revenues of our specialty medicines.
        1Q2017 Earnings Conference Call:
                 Our operating income from Q4 to Q1 declined by 17%. While gross profit margin of our U.S.
        generic business remained stable, overall gross profit and gross margin was impacted by the Venezuela
        devaluation, our business in Japan and the divestment in the U.K. Lower NINLARO income was also a
        contributor to lower profit and profitability. On the other hand, you could see our efficiency initiatives,
        which reduced our operating expenses across the board and mitigated some of the decline in the gross
        profit. And we expect this trend to continue throughout the year. On our balance sheet compared to
        December 31, 2016, our balance sheet amounted to total assets of $91.3 billion and total equity of
        $34 billion.


         734.       On August 3, 2017, Teva reported its second quarter 2017 financial results in its

2Q2017 Form 6-K:

                                               Three Months Ended Jun. 30,          Six Months Ended Jun. 30,
                                     million      2017           2016                  2017          2016
        Total Revenues                           $5,686         $5,038               $11,316        $9,848
        Gross Profit                             $2,821         $2,161                $5,676        $4,180
        Generic Medicines Segment:
          Revenues                                $3,078             $2,557          $6,136            $5,015
            U.S. Revenues                         $1,290              $892           $2,671            $1,868
          Gross Profit                            $1,316             $1,148          $2,686            $2,271
          Segment Profit                           $691               $604           $1,470            $1,253
        EBITDA (Non-GAAP
                                                  $1,597             $1,583          $3,218            $3,109
        Operating Income)
        Cash Flow from Operations                  $741              $963
        Free Cash Flow                             $567              $796
        2Q2017 Form 6-K:
        Significant highlights of the second quarter of 2017 included:
             •      Our revenues were $5.7 billion, up 13%, or 17% in local currency terms, compared to the
                    second quarter of 2016.
             •      Our generic medicines segment generated revenues of $3.1 billion and profit of $691 million.
                    Revenues increased 20%, or 28% in local currency terms. Profit increased 14% compared to
                    the second quarter of 2016. The increase in revenues and profit in the second quarter of 2017
                    was mainly due to the inclusion of Actavis Generics.
                                                    *        *         *
                  Revenues from generic medicines in the United States during the second quarter of 2017 were
        $1.3 billion, an increase of 45%, compared to the second quarter of 2016. The increase resulted mainly
        from the inclusion of Actavis Generics revenues and products sold in the second quarter of 2017 that
        were not sold in the second quarter of 2016, partially offset by a decline in sales due to increased
        competition, mainly to budesonide (the generic equivalent of Pulmicort®) and aripiprazole (the generic
        equivalent of Abilify®) and loss of revenues following our divestment of certain products in connection
        with the Actavis Generics acquisition.
                                                    *        *         *

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                  In the second quarter of 2017, gross profit from our generic medicines segment was
        $1.3 billion, an increase of $168 million, or 15%, compared to the second quarter of 2016. The higher
        gross profit was mainly due to higher sales following the inclusion of Actavis Generics.
                                                   *         *         *
                 Revenues from generic medicines in the United States in the first six months of 2017 amounted
        to $2.7 billion, an increase of 43% compared to $1.9 billion in the first six months of 2016. The
        increase resulted mainly from the inclusion of Actavis Generics revenues and products sold in the first
        half of 2017 that were not sold in the first half of 2016, partially offset by a decline in sales due to
        increased competition, mainly to budesonide (the generic equivalent of Pulmicort®) and aripiprazole
        (the generic equivalent of Abilify®) and loss of revenues following our divestment of certain products
        in connection with the acquisition.
        2Q2017 Earnings Conference Call:
        In terms of profit, we are up 1%, compared to . . . – Q2 2016, sorry. Our generics segment has
        generated $136 million of additional profits, driven mainly by the higher sales as a result of the Actavis
        acquisition.


         735.       On November 2, 2017, Teva reported its third quarter 2017 financial results in its

3Q2017 Form 6-K and hosted its quarterly earnings call:

                                               Three Months Ended Sep. 30,        Nine Months Ended Sep. 30,
                               (in millions)      2017           2016                2017           2016
        Total Revenues                           $5,610         $5,563             $16,926        $15,411
        Gross Profit                             $2,643         $2,801              $8,283         $8,469
        Generic Medicines Segment:
          Revenues                                $3,007             $3,259          $9,143           $8,274
            U.S. Revenues                         $1,179             $1,293          $3,850           $3,161
          Gross Profit                            $1,158             $1,590          $3,844           $3,861
          Segment Profit                           $619               $982           $2,089           $2,235
        EBITDA (Non-GAAP                          $1,470             $1,794          $4,688           $4,903
        Operating Income)
        Cash Flow from Operations                 $1,100             $1,500
        Free Cash Flow                             $900              $1,200
        3Q2017 Form 6-K:
        Significant highlights of the third quarter of 2017 included:
                                                   *         *         *
             •      Our generic medicines segment generated revenues of $3.0 billion and profit of $619 million.
                    Revenues decreased 8%, or 2% in local currency terms. Profit decreased 37% compared to the
                    third quarter of 2016. The decrease in revenues and profit in the third quarter of 2017 was
                    mainly due to market dynamics in the United States.
                                                   *         *         *
                  Revenues from generic medicines in the United States during the third quarter of 2017 were
        $1.2 billion, a decrease of 9%, compared to the third quarter of 2016. The decrease was mainly due to
        pricing declines resulting from customer consolidation into larger buying groups and accelerated FDA
        approvals for additional generic versions of competing off-patent medicines as well as volume decline
        of methylphenidate extended-release tablets (Concerta® authorized generic) due to the launch of a
        competing product, partially offset by the inclusion of three months of Actavis Generics revenues in this
        quarter, compared to two months in the third quarter of 2016.
                                                   *         *         *
                 In the third quarter of 2017, gross profit from our generic medicines segment was $1.2 billion,
        a decrease of $432 million, or 27%, compared to the third quarter of 2016. The lower gross profit was
        mainly due to higher production expenses, market dynamics in the United States and lower revenues in
        Venezuela following the currency devaluation.

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                                                  *        *         *
                  Revenues from generic medicines in the United States in the first nine months of 2017 were
        $3.9 billion, an increase of 22% compared to $3.2 billion in the first nine months of 2016. The increase
        resulted mainly from the inclusion of Actavis Generics revenues and products sold in the first nine
        months of 2017 that were not sold in the comparable period of 2016, partially offset by a decline in
        sales due to increased competition, mainly to budesonide (the generic equivalent of Pulmicort®) and
        aripiprazole (the generic equivalent of Abilify®) and loss of revenues following our divestment of
        certain products in connection with the acquisition.
        3Q2017 Earnings Conference Call:
        The profitability of the company was down to 26.2% from 32.2% in 2016 Q3. This reflects a lower
        gross profit of 53% in the quarter compared to 61% in the same quarter of the previous year. This is
        driven by several factors. The inclusion of ANDA distribution business as well as lower margins in the
        generics, specifically, in our U.S. generic market. This was partially offset by reductions in expenses,
        mainly in our R&D and sales and marketing. . . . For the quarterly non-GAAP operating profit, we are
        down overall 18%. The largest decrease was in the profit of our generics business, mainly due to lower
        revenues and margins in the U.S. COPAXONE revenues and profit were down slightly based on the
        discussion I just had.

         736.       On February 8, 2018, Teva reported its fourth quarter and full year 2017 financial

results in its 4Q2017 Form 8-K 25:

                                             Three Months Ended Dec. 31,          Full Year Ended Dec. 31,
                             (in millions)      2017           2016                2017            2016
        Total Revenues                         $5,459         $6,492              $22,385         $21,903
        Gross Profit                           $2,542         $3,390              $10,825         $11,859
        Generic Medicines Segment:
          Revenues                              $3,114             $3,716         $12.257           $11,990
            U.S. Revenues                       $1,186             $1,395          $5,036            $4,556
          Gross Profit                          $1,271             $1,835          $5,115            $5,696
          Segment Profit                         $740              $1,075          $2,829            $3,310
        EBITDA (Non-GAAP                        $1,385             $1,944          $6,073            $6,847
        Operating Income)
        Cash Flow from Operations               $1,200                             $3,500            $5,200
        Free Cash Flow                           $900                              $2,700            $4,400

        2017 Annual Results
                 Revenues in 2017 were $22.4 billion, an increase of 2%, or 6% in local currency terms,
        compared to 2016, primarily due to: (i) an increase in our generic medicines segment from the inclusion
        of Actavis Generics revenues for the full year of 2017 as compared to five month in 2016, partially
        offset by the adverse market dynamics in the United States; (ii) the acquisition of Anda in the fourth
        quarter of 2016 . . . .
                  GAAP gross profit was $10.8 billion in 2017, down 9% compared to 2016. GAAP gross profit
        margin for the year was 48.4%, compared to 54.1% in 2016. Non-GAAP gross profit was $12.2 billion
        in 2017, down 9% compared to 2016. Non-GAAP gross profit margin was 54.7% in 2017, compared to
        61.3% in 2016. The decrease in GAAP gross profit as a percentage of revenues primarily reflects lower
        profitability of our generic medicines segment, higher amortization of purchased intangible assets,
        lower profitability of our specialty medicines segment and the inclusion of Anda . . . .
                                                  *        *         *
        Fourth Quarter 2017 Results


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     Due to Teva’s acquisition of Actavis, the SEC re-classified Teva as a U.S. domestic issuer and
the Company lost its foreign private issuer status. As a result, Teva had to comply with the SEC’s
filing requirements for U.S. reporting companies effective January 1, 2018.

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                 Revenues in the fourth quarter of 2017 were $5.5 billion, down 16% compared to the fourth
        quarter of 2016, primarily due to . . . the challenging market dynamics in the U.S. generics market.
                                                    *        *        *
        Generic Medicines Revenues
               Generic medicines revenues in the fourth quarter of 2017 were $3.1 billion, a decrease of 16%
        compared to the fourth quarter of 2016.
        Generic revenues consisted of:
        •       U.S. revenues of $1.2 billion, a decrease of 15% compared to the fourth quarter of 2016,
        mainly due to challenging market dynamics including pricing declines resulting from customer
        consolidation into large buying groups and accelerated FDA approvals for additional generic versions of
        competing off-patent medicines . . . .
        Generic Medicines Gross Profit
        Gross profit of our generic medicines segment in the fourth quarter of 2017 was $1.3 billion, a decrease
        of 31% compared to $1.8 billion in the fourth quarter of 2016. The lower gross profit was mainly due to
        higher production expenses, market dynamics in the United States . . . .
                                                    *        *        *
        Generic Medicines Profit
                 Our generic medicines segment generated profit of $740 million in the fourth quarter of 2017,
        a decrease of 31% compared to the fourth quarter of 2016. Generic medicines profitability as a
        percentage of generic medicines revenues was 23.8% in the fourth quarter of 2017, down from 28.9% in
        the fourth quarter of 2016.


         737.       On February 12, 2018, Teva filed its 2017 Form 10-K:

                         million          2017           2016            2015           2014            2013
        Total Revenues                   $22,385        $21,903         $19,652        $20,272         $20,314
        Gross Profit                     $10,825        $11,859         $11,356        $11,056         $10,707
        Generic Medicines Segment:
         Revenues                        $12,257        $11,990         $10,540
            U.S. Revenues                 $5,036         $4,556          $4,795
          Gross Profit                    $5,115         $5,696          $4,903
          Segment Profit                  $2,829         $3,310          $2,925
        EBITDA (Non-GAAP                 $6,073          $6,847           $6,174
        Operating Income)
        Cash Flow from                   $3,500          $5,200
        Operations
        Significant highlights of 2017 included:
                                                    *        *        *
                   Our generic medicines segment generated revenues of $12.3 billion and profit of $2.8 billion.
                    Revenues increased 2%, or 10% in local currency terms compared to 2016. Profit decreased
                    15% compared to 2016. Our higher revenues in 2017 were mainly due to the inclusion of
                    Actavis Generics revenues for the full year of 2017 compared to five months in 2016, partially
                    offset by the adverse market dynamics in the United States. Our lower profit in 2017 was
                    mainly due to price erosion in the U.S. generics market.
                                                    *        *        *

                 Revenues from generic medicines in the United States in 2017 were $5.0 billion, an
        increase of 11% compared to $4.6 billion in 2016. The increase resulted mainly from the inclusion
        of Actavis Generics revenues for the full year of 2017 compared to five months in 2016 and
        products sold in 2017 that were not sold in 2016, partially offset by:
              • decline in sales of budesonide (the generic equivalent of Pulmicort®) and methylphenidate
                extended-release tablets (Concerta® authorized generic) due to increased competition;

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              • price erosion resulting from the following factors:
                    •   customer consolidation into larger buying groups; and
                    •   accelerated FDA approvals for additional generic versions of competing off-patent
                        medicines . . . .

                                                   *        *         *
                  In 2017, gross profit from our generic medicines segment was $5.1 billion, a decrease of $581
        million, or 10%, compared to $5.7 billion in 2016. The lower gross profit was mainly a result of higher
        other production expenses, lower gross profit in the United States due to price erosion . . . .


         738.       The financial figures and the reasons given for the figures in ¶¶733-737 were

materially false and misleading or omitted material facts because Teva failed to disclose that its

revenues and profits were impacted by the Price-Hike Strategy and illegal price-fixing and market

allocation schemes. Significantly, Inflated Profit and Collusive Profit increased Teva’s profitability

by at least $309 million in 2017 – with contribution of at least $103 million in the first quarter of

2017, $79 million in the second quarter of 2017, $69 million in the third quarter of 2017, and $58

million in the fourth quarter of 2017.

         739.       On May 3, 2018, Teva reported its first quarter 2018 financial results in its 1Q2018

Form 8-K and 1Q2018 Form 10-Q 26:

                                                                      Three Months Ended Mar. 31,
                                                million              2018                    2017
        Total Revenues                                              $5,065                  $5,650
        Gross Profit                                                $2,348                  $2,839
        North America Segment:
          Revenues                                                  $2,531                    $3,240
            Generic Products Revenues                               $1,088                    $1,415
          Gross Profit                                              $1,432                    $2,080
          Segment Profit                                             $915                     $1,306
        EBITDA (Non-GAAP Operating Income)                          $1,600                    $1,800
        Cash Flow from Operations                                   $1,500                     $100
        Free Cash Flow                                              $1,900                     $300

        1Q2018 Form 8-K:
        The decrease in gross profit margin, on both a GAAP and a non-GAAP basis, was mainly the result of
        lower profitability in our North America segment due to lower COPAXONE sales and adverse market
        dynamics in the U.S. generics market.


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   Beginning with the 1Q2018 financial reporting, Teva stopped reporting generic medicines
segment results and changed segment reporting to North America, Europe, and Growth Markets
segments.

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                                                 *        *         *
                 Generic products revenues in our North America segment in the first quarter of 2018 decreased
        by 23% to $1.1 billion, compared to the first quarter of 2017, mainly due to lower volumes and price
        erosion.
                                                 *        *         *
                Gross profit margin for our North America segment in the first quarter of 2018 decreased to
        56.6%, compared to 64.2% in the first quarter of 2017. This decrease was mainly due to lower
        COPAXONE revenues and continued price erosion of generic products.
                                                 *        *         *
                 Profit from our North America segment in the first quarter of 2018 was $915 million, a
        decrease of 30% compared to $1.3 billion in the first quarter of 2017. The decrease was mainly due to
        lower revenues due to generic competition for COPAXONE and continued price erosion in the U.S.
        generics market, partially offset by cost reduction and higher other income.
        1Q2018 Form 10-Q:
                Generic products revenues in our North America segment in the first quarter of 2018 decreased
        by 23% to $1.1 billion, compared to the first quarter of 2017, mainly due to lower volumes and
        continued price erosion.
                                                 *        *         *
                Revenues in the first quarter of 2018 were $5.1 billion, a decrease of 10%, or 15% in local
        currency terms, compared to the first quarter of 2017, mainly due to adverse market dynamics in the
        U.S. generics market . . . .


         740.       On August 2, 2018, Teva reported its second quarter 2018 financial results in its

2Q2018 Form 8-K and 2Q2018 Form 10-Q:

                                             Three Months Ended Jun. 30,        Six Months Ended Jun. 30,
                                  million       2018           2017               2018           2017
        Total Revenues                         $4,701         $5,720             $9,766        $11,370
        Gross Profit                           $2,061         $2,855             $4,409         $5,694
        North America Segment:
          Revenues                             $2,263             $3,169          $4,794           $6,409
            Generic Products Revenues           $947              $1,331          $2,035           $2,746
          Gross Profit                         $1,203             $2,058          $2,635           $4,138
          Segment Profit                        $722              $1,250          $1,637           $2,556
        EBITDA (Non-GAAP
        Operating Income)                      $1,400             $1,700
        Cash Flow from Operations               $162              $435
        Free Cash Flow                          $600              $600
        2Q2018 Form 8-K:
        Second Quarter 2018 Consolidated Results
                Revenues in the second quarter of 2018 were $4.7 billion, a decrease of 18%, or 19% in local
        currency terms, compared to the second quarter of 2017, mainly due to continued price erosion in our
        U.S. generics business . . . .
                                                 *        *         *
        The decrease in gross profit margin, on both a GAAP and a non-GAAP basis, resulted primarily from
        price erosion in our U.S. generics business . . . .
                                                 *        *         *
                 Gross profit from our North America segment in the second quarter of 2018 was $1.2 billion, a
        decrease of 42% compared to $2.1 billion in the second quarter of 2017. The decrease was mainly due
        to lower revenues from COPAXONE and generic products . . . .


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                                                   *         *         *
                 Profit from our North America segment in the second quarter of 2018 was $722 million, a
        decrease of 42% compared to $1.3 billion in the second quarter of 2017. The decrease was mainly due
        to lower revenues from COPAXONE and generic products.
        2Q2018 Form 10-Q:
                    Significant highlights of the second quarter of 2018 included:
                                                   *         *         *
                   Our North America segment generated revenues of $2.3 billion and profit of $722 million in
                    the second quarter of 2018. Revenues decreased by 29% compared to the second quarter of
                    2017, mainly due to a decline in revenues of COPAXONE® as well as an equally significant
                    decline in revenues in our U.S. generics business . . . .
                                                   *         *         *
                  Generic products revenues in our North America segment in the second quarter of 2018
        decreased by 29% to $947 million, compared to the second quarter of 2017, mainly due to continued
        price erosion in our U.S. generics business, additional competition to methylphenidate extended-release
        tablets (Concerta® authorized generic) and portfolio optimization, primarily as part of the restructuring
        plan.


         741.       On November 1, 2018, Teva reported its third quarter 2018 financial results in its

3Q2018 Form 8-K and 3Q2018 Form 10-Q:

                                               Three Months Ended Sep. 30,           Nine Months Ended Sep. 30,
                               (in millions)      2018           2017                   2018           2017
        Total Revenues                           $4,529         $5,617                $14,295        $16,987
        Gross Profit                             $2,021         $2,650                 $6,430         $8,344
        North America Segment:
          Revenues                                $2,265             $3,043            $7,059         $9,452
            Generic Products Revenues              $922              $1,233            $2,957         $3,979
          Gross Profit                            $1,232             $1,833            $3,867         $5,971
          Segment Profit                           $649              $1,130            $2,286         $3,686
        EBITDA (Non-GAAP                          $1,253             $1,618
        Operating Income)
        Cash Flow from Operations                  $421              $795
        Free Cash Flow                             $704              $920
        3Q2018 Form 8-K:
        Third Quarter 2018 Consolidated Results
                Revenues in the third quarter of 2018 were $4,529 million, a decrease of 19%, or 18% in local
        currency terms, compared to the third quarter of 2017, mainly due to generic competition to
        COPAXONE, price erosion in our U.S. generics business . . . .
                                                   *         *         *
        The decrease in gross profit margin, on both a GAAP and a non-GAAP basis, resulted primarily from a
        decline in COPAXONE revenues due to generic competition, price erosion in our U.S. generics
        business . . . .
        3Q2018 Form 10-Q:
        Significant highlights of the third quarter of 2018 included:
                                                     *       *      *
                   Our North America segment generated revenues of $2,265 million and profit of $649 million
                    in the third quarter of 2018. Revenues decreased by 26% compared to the third quarter of
                    2017, mainly due to a decline in revenues of COPAXONE®, as well as a decline in revenues
                    in our U.S. generics business . . . .

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                                                *        *        *
                Generic products revenues in our North America segment in the third quarter of 2018
        decreased by 25% to $922 million, compared to the third quarter of 2017, mainly due to price erosion in
        our U.S. generics business, additional competition to methylphenidate extended-release tablets
        (Concerta® authorized generic) and portfolio optimization, primarily as part of the restructuring plan.
                                               *        *         *
                 Gross profit from our North America segment in the third quarter of 2018 was $1,232 million,
        a decrease of 33% compared to $1,833 million in the third quarter of 2017. The decrease was mainly
        due to lower revenues from COPAXONE and generic products . . . .
                                               *         *        *
                 Profit from our North America segment in the third quarter of 2018 was $649 million, a
        decrease of 43% compared to $1,130 million in the third quarter of 2017. The decrease was mainly due
        to lower revenues from COPAXONE and generic products . . . .

         742.       On February 13, 2019, Teva reported its fourth quarter and full year 2018 financial

results in its 4Q2018 Form 8-K:

                                             Three Months Ended Dec. 31,          Full Year Ended Dec. 31,
                             (in millions)      2018           2017                 2018           2017
        Total Revenues                         $4,559         $5,398              $18,854         $22,385
        Gross Profit                           $1,971         $2,444               $8,296         $10,615
        North America Segment:
          Revenues                              $2,238             $2,689         $9,297           $12,141
            Generic Products Revenues           $1,099             $1,224         $4,056            $5,203
          Gross Profit                          $1,201             $1,506         $4,979            $7,322
          Segment Profit                         $551               $938          $2,837            $4,624
        EBITDA (Non-GAAP                        $1,091             $1,534
        Operating Income)
        Cash Flow from Operations                $367              $859           $2,446
        Free Cash Flow                           $522              $934           $3,679            $2,693
        2018 Annual Consolidated Results
                Revenues in 2018 were $18,854 million, a decrease of 16% in both U.S. dollar and local
        currency terms, compared to 2017, mainly due to generic competition to COPAXONE®, a decline in
        revenues in our U.S. generics business . . . .
                                                 *         *         *
        The decrease in both GAAP and non-GAAP gross profit was mainly due to lower profitability in North
        America resulting from a decline in COPAXONE revenues due to generic competition and a decline in
        revenues in our U.S. generics business, partially offset by higher profitability in Europe.
                                                 *         *         *
        Fourth Quarter 2018 Consolidated Results
                 Revenues in the fourth quarter of 2018 were $4,559 million, a decrease of 16%, or 14% in
        local currency terms, compared to the fourth quarter of 2017, mainly due to generic competition to
        COPAXONE, a decline in revenues in our U.S. generics business . . . .
                                                 *         *         *
                 Revenues from our North America segment in the fourth quarter of 2018 were $2,238 million,
        a decrease of $451 million, or 17%, compared to the fourth quarter of 2017, mainly due to a decline in
        revenues of COPAXONE, our U.S. generics business . . . .
                                                 *         *         *
                Generic products revenues in our North America segment in the fourth quarter of 2018
        decreased by 10% to $1,099 million, compared to the fourth quarter of 2017, mainly due to additional
        competition to methylphenidate extended-release tablets (Concerta® authorized generic), portfolio

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        optimization primarily as part of the restructuring plan as well as market dynamics and price erosion in
        our U.S. generics business, partially offset by new generic product launches.
                                                   *           *     *
                 Gross profit from our North America segment in the fourth quarter of 2018 was $1,201 million,
        a decrease of 20% compared to $1,506 million in the fourth quarter of 2017. The decrease was mainly
        due to lower revenues from COPAXONE and generic products.
                                                   *           *     *
                 Profit from our North America segment in the fourth quarter of 2018 was $551 million, a
        decrease of 41% compared to $938 million in the fourth quarter of 2017. The decrease was mainly due
        to lower revenues from COPAXONE and generic products as well as investment in the launch of
        AJOVY.


         743.       On February 19, 2019, Teva filed its 2018 Form 10-K:

                         million          2018          2017           2016            2015            2014
        Total Revenues                  $18,854        $22,385        $21,903         $19,652         $20,272
        Gross Profit                     $8,296        $10,615        $11,653         $11,120         $10,628
        North America Segment:
         Revenues                        $9,297        $12,141        $11,778
            Generic Products             $4,056         $5,203           $4,654
            Revenues
          Gross Profit                   $4,979         $7,322           $8,404
          Segment Profit                 $2,837         $4,624           $5,536
                    Significant highlights of 2018 included:
                                                   *           *     *
                   Our revenues in 2018 were $18,854 million, a decrease of 16% in both U.S. dollar and local
                    currency terms compared to 2017, mainly due to generic competition to COPAXONE, a
                    decline in revenues in our U.S. generics business . . . .
                                                   *           *     *

        Revenues from our North America segment in 2018 were $9,297 million, a decrease of $2,844
        million, or 23%, compared to 2017, mainly due to a decline in revenues of COPAXONE, our U.S.
        generics business . . . .
                                               *        *        *
                  Generic products revenues in our North America segment in 2018 decreased by 22% to $4,056
        million, compared to 2017, mainly due to additional competition to methylphenidate extended-release
        tablets (Concerta® authorized generic), portfolio optimization primarily as part of the restructuring
        plan, as well as market dynamics and price erosion in our U.S. generics business, partially offset by new
        generic product launches.
                                                   *           *     *
               Gross profit from our North America segment in 2018 was $4,979 million, a decrease of 32%
        compared to $7,322 million in 2017. The decrease was mainly due to lower revenues from
        COPAXONE and a decline in sales of generic and other specialty products.
                                                   *           *     *
                 Profit from our North America segment in 2018 was $2,837 million, a decrease of 39%
        compared to $4,624 million in 2017. The decrease was mainly due to lower revenues from
        COPAXONE and a decline in sales of generic and other specialty products, partially offset by cost
        reductions and efficiency measures as part of the restructuring plan.


         744.       On May 2, 2019, Teva reported its first quarter 2019 financial results in its 1Q2019

Form 8-K and 1Q2019 Form 10-Q:

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                                                                     Three Months Ended Mar. 31,
                                               million              2019                    2018
        Total Revenues                                             $4,295                  $5,065
        Gross Profit                                               $1,856                  $2,315
        North America Segment:
          Revenues                                                 $2,047                       $2,531
            Generic Products Revenues                               $966                        $1,088
          Gross Profit                                             $1,039                       $1,403
          Segment Profit                                            $498                         $915
        EBITDA (Non-GAAP Operating Income)                         $1,154                       $1,587
        Cash Flow from Operations                                   $112                        $1,496
        Free Cash Flow                                              $360                        $1,894

        1Q2019 Form 8-K:
        The decrease in gross profit margin was mainly due to lower profitability in North America resulting
        mainly from a decline in COPAXONE revenues due to generic competition and lower revenues of
        certain other specialty prodeucts.
                                                  *        *            *
                 Generic products revenues in our North America segment in the first quarter of 2019 decreased
        by 11% to $966 million, compared to the first quarter of 2018, mainly due to market dynamics, price
        erosion in our U.S. generics business . . . .
                                                  *        *            *
                Gross profit margin for our North America segment in the first quarter of 2019 decreased to
        50.8%, compared to 55.5% in the first quarter of 2018. This decrease was mainly due to lower
        COPAXONE revenues . . . .
                                                  *        *            *
                 Profit from our North America segment in the first quarter of 2019 was $498 million, a
        decrease of 46% compared to $915 million in the first quarter of 2018. The decrease was mainly due to
        lower revenues from COPAXONE . . . .
        1Q2019 Form 10-Q:
        Significant highlights in the first quarter of 2019 included:
              • Revenues in the first quarter of 2019 were $4,295 million, a decrease of 15%, or 12% in local
                currency terms, compared to the first quarter of 2018, mainly due to generic competition to
                COPAXONE, as well as declines in revenues from our respiratory products and U.S. generics
                business.
              • Our North America segment generated revenues of $2,047 million and profit of $498 million in
                the first quarter of 2019. Revenues decreased by 19% compared to the first quarter of 2018,
                mainly due to a decline in revenues from COPAXONE, our U.S. generics business, as well as
                certain other specialty products. Profit decreased by 46%, mainly due to lower revenues from
                COPAXONE, a decline in sales of certain other specialty products and generic products, as well
                as lower other income.
                                                  *        *            *
        North America Revenues
                 Our North America segment includes the United States and Canada. Revenues from our North
        America segment in the first quarter of 2019 were $2,047 million, a decrease of $484 million, or 19%,
        compared to the first quarter of 2018, mainly due to a decline in revenues of COPAXONE, our U.S.
        generics business . . . .
                                                  *        *            *
                 Generic products revenues in our North America segment in the first quarter of 2019 decreased
        by 11% to $966 million, compared to the first quarter of 2018, mainly due to market dynamics, price
        erosion in our U.S. generics business and portfolio optimization, partially offset by new generic product
        launches.


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                                                 *        *         *
                 Gross profit from our North America segment in the first quarter of 2019 was $1,039 million, a
        decrease of 26% compared to $1,403 million in the first quarter of 2018. The decrease was mainly due
        to lower revenues from COPAXONE, as well as a decline in sales of certain other specialty products
        and generic products . . . .
                                                 *        *         *
        Profit from our North America segment in the first quarter of 2019 was $498 million, a decrease of 46%
        compared to $915 million in the first quarter of 2018. The decrease was mainly due to lower revenues
        from COPAXONE, as well as a decline in sales of certain other specialty products and generic products
        and lower other income . . . .


         745.       The financial figures and the reasons given for the figures in ¶¶739-744 were

materially false and misleading or omitted material facts because Teva failed to disclose that its

revenues and profits were impacted by the Price-Hike Strategy and illegal price-fixing and market

allocation schemes. Significantly, Inflated Profit and Collusive Profit increased Teva’s profitability

by at least $126 million from 2018 to the first quarter of 2019 – with contribution of at least

$34 million in the first quarter of 2018, $30 million in the second quarter of 2018, $26 million in the

third quarter of 2018, $21 million in the fourth quarter of 2018, and $14 million in the first quarter of

2019.

                    7.     False and Misleading Statements Regarding Legal Compliance

         746.       During the Relevant Period, Teva filed: (i) a Form 6-K on December 24, 2013, signed

by Altman, the Acting CFO, with a Credit Agreement dated December 17, 2013, by and among

Teva, as Guarantor, Teva Holdings K.K., as Borrower, Mizuho Bank, Ltd., Sumitomo Mitsui

Banking Corporation and The Bank Of Tokyo-Mitsubishi UFJ, Ltd.; (ii) the 2013 Form 20-F, with a

Credit Agreement dated January 8, 2014 by and among Teva and Teva USA, as borrower, Citibank

N.A., as administrative agent and the lenders party thereto; (iii) a Form 6-K on September 28, 2015,

signed by Desheh, with a Credit Agreement dated September 25, 2015 by and among Teva, Teva

USA, Teva Finance, Teva Capital Services Switzerland GmbH, Citibank, N.A., and the lenders

thereto; (iv) a Form 6-K on November 18, 2015, signed by Desheh, with two Credit Agreements,

both dated November 16, 2015, by and among Teva, Teva USA, Teva Capital Services Switzerland

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GmbH, Teva Finance Services B.V., Teva Finance Services II B.V., Teva Finance, Citibank N.A.

and the lenders thereto; and (v) the May 11, 2017 1Q2017 Form 6-K, with a Credit Agreement dated

March 22, 2017 by and among Teva, Teva Holdings KKK, the lenders thereto and Sumitomo Mitsui

Banking Corporation.

         747.       All of the filings above contained materially false and misleading statements that the

Company and its subsidiaries complied with laws and regulations. In addition, Teva and Teva USA

covenanted that they will continue to comply with law:

                               REPRESENTATIONS AND WARRANTIES

                                              *       *       *

         Such Loan Party [Teva, Teva USA, Teva Holdings K.K.] is in compliance with all
         laws, regulations, orders, writs, injunctions and decrees of any Governmental
         Authority applicable to it or its property and all indentures, agreements and other
         instruments binding upon it or its property, except, in each case, where the failure to
         do so, individually or in the aggregate, could not reasonably be expected to result in a
         Material Adverse Effect.

                                              *       *       *

                                      AFFIRMATIVE COVENANTS

                                              *       *       *

         Each Loan Party [Teva, Teva USA, Teva Holdings K.K.] will, and will cause each
         of its Subsidiaries to, comply with all requirements of law applicable to it or its
         property, except where the failure to do so, individually or in the aggregate, could
         not reasonably be expected to result in a Material Adverse Effect.

                                              *       *       *

         “Material Adverse Effect” means any event or circumstance which:

         (a) is materially adverse to:

                (i) the business, operations or financial condition of the Loan Parties [Teva,
         Teva Pharmaceuticals USA, Inc., Teva Holdings K.K.] and their Subsidiaries, taken
         as a whole; or

                 (ii) the ability of the Loan Parties to perform their financial obligations
         (including both payment obligations and compliance with financial covenants) under
         any Loan Document; or
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         (b) affects the validity or the enforceability against any Loan Party of any Loan
         Document.

         748.       On October 30, 2013, Teva hosted an investor conference call to announce

management succession. Defendant Desheh spoke as Teva’s Acting President and CEO and assured

investors that Teva continued to be in compliance with all legal requirements:

                    Eyal Desheh – Teva Pharmaceutical Industries Ltd – EVP, CFO

                Under Jeremy’s leadership, we significantly improved the transparency and
         accountability to our shareholders, and I intend to continue that. We remain fully
         committed to running this company with high ethics and compliance in accordance
         with our core value, code of conduct as well as all legal requirements.

         749.       By at least the end of 2013, Teva published its 2012 Corporate Social Responsibility

Report, signed by Desheh, which unequivocally assured investors that its “sales and marketing

efforts follow the laws and regulations of markets where we operate”:

                    OUR APPROACH TO SUPPORTING PATIENTS

                                              *      *       *

                   We work to promote access to high quality, affordable medicines around the
                    world.

                                              *      *       *

                   Our sales and marketing efforts follow the laws and regulations of markets
                    where we operate.

         750.       On December 15, 2014, the Company issued its 2013 Corporate Social Responsibility

Report, signed by Vigodman, which falsely stated that “Teva does not tolerate behavior that is

unethical, illegal or dishonest”:

                 Our leadership enforces high standards of conduct for our employees.
         Teva does not tolerate behavior that is unethical, illegal or dishonest. All our
         employees are required to comply with the laws of the countries in which we
         operate and with the regulatory rules that affect our business. Failure to do so can
         result in severe penalties, including termination and potential criminal or civil
         actions.



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         751.       On July 27, 2015, Teva filed a Form 6-K, signed by defendant Desheh, with a press

release announcing “Teva to Acquire Allergan Generics for $40.5 billion Creating a Transformative

Generics and Specialty Company Well Positioned to Win in Global Healthcare.” In the filing, Teva

falsely stated that the Company and Actavis “boasted the highest industry standards” and complied

with all regulations:

                Teva and Allergan Generics are committed to adherence to all applicable
         regulatory requirements and boast the highest industry standards, dedicated to
         defining and implementing patient safety policies and systems, as well as ensuring
         compliance with all relevant global and local regulations.

         752.       On July 28, 2015, the Company filed a Form 6-K, signed by Desheh, with the Master

Purchase Agreement, dated July 26, 2015, between Allergan and Teva, signed by Vigodman, Desheh

and Olafsson, that stated:

                    REPRESENTATIONS AND WARRANTIES OF BUYER PARENT

                                              *       *        *

                 5.6 Compliance with Law. Buyer Parent [Teva] and each of Buyer
         Parent’s Subsidiaries are in compliance with and are not in default under or in
         violation of any Laws, applicable to Buyer Parent [Teva], such Subsidiaries or any
         of their respective properties or assets, except where such non-compliance, default
         or violation would not reasonably be expected to prevent or materially delay the
         consummation of the Transactions or to have, individually or in the aggregate, a
         Buyer Material Adverse Effect.

                                              *       *        *

         “Buyer Material Adverse Effect” means any Effect that is, or would reasonably be
         expected to be, materially adverse to the business of the Buyer Group [Teva and its
         affiliates] or the financial condition, liabilities, business or results of operations of the
         business of the Buyer Group [Teva and its affiliates], taken as a whole . . . .

         753.       Teva filed its (i) ADS/Preferred Registration Statement on November 30, 2015;

(ii) Preferred Prospectus Supplement on December 3, 2015; and (iii) ADS Prospectus Supplement on

December 3, 2015 – all of which incorporated by reference the materially false and misleading

statements in the Master Purchase Agreement (¶752). In addition, with respect to the Master


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Purchase Agreement, the Preferred Prospectus Supplement and the ADS Prospectus Supplement

affirmed that:

                The purchase agreement for the Actavis Generics acquisition contains a
         number of conditions that must be fulfilled to complete the acquisition. Those
         conditions primarily consist of U.S. and European Union antitrust approvals and
         other customary conditions, including, among others, (i) the accuracy of
         representations and warranties and compliance with covenants and (ii) the absence
         of any material adverse effect with respect to Actavis Generics or Teva.

         754.       Moreover, during the Relevant Period, Teva filed: (i) the ADS Underwriting

Agreement on December 8, 2015; (ii) the Preferred Underwriting Agreement on December 8, 2015;

and (iii) the Notes Underwriting Agreement on July 21, 2016, which falsely represented:

         Representations, Warranties and Agreements of the Company and/or the Guarantor
         [Teva]

                                            *       *       *

         The Incorporated Documents as amended or supplemented at the date hereof,
         when they were filed with the Commission, conformed in all material respects to
         the requirements of the Securities Act and the Exchange Act. None of the
         Incorporated Documents as amended or supplemented at the date hereof, when
         such documents were filed with the Commission, contained any untrue statement
         of a material fact or omitted to state any material fact required to be stated therein
         or necessary in order to make the statements therein, in light of the circumstances
         under which they were made, not misleading. Any further documents so filed and
         incorporated by reference in the Prospectus, when such documents are filed with
         the Commission, will conform in all material respects to the requirements of the
         Exchange Act and will not contain any untrue statement of a material fact or omit
         to state any material fact required to be stated therein or necessary to make the
         statements therein, in light of the circumstances under which they were made, not
         misleading.

                                            *       *       *

         [The Company or the Guarantor [Teva]] is not . . . (iii) in violation of any law,
         ordinance, governmental rule, regulation or court decree to which it or its
         properties or assets may be subject or has failed to obtain any license, permit,
         certificate, franchise or other governmental authorization or permit necessary to the
         ownership of its properties or to the conduct of its business, except to the extent that
         any such default, event or violation described in the foregoing clauses (ii) and
         (iii) would not have a Material Adverse Effect.

                                            *       *       *

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         [Material Adverse Effect was defined as] material adverse effect on the business,
         properties, financial condition, results of operations or prospects of the Company and
         its subsidiaries, taken as a whole . . . .

         755.       On November 30, 2015 and July 13, 2016, Teva filed: (i) the ADS/Preferred

Registration Statement and exhibits that formed part of the registration statement; and (ii) the Notes

Registration Statement Amendment No. 1 and exhibits that formed part of the registration statement,

respectively. The ADS/Preferred Registration Statement and the Notes Registration Statement

repeated all of the materially false and misleading statements in the Master Purchase Agreement, the

ADS Underwriting Agreement, the Preferred Underwriting Agreement and Notes Underwriting

Agreement that formed part of the applicable registration statement. See ¶¶752-754.

         756.       On January 5, 2016, Teva issued its 2014 Global Citizenship Report and falsely

represented that the Company went “beyond minimal compliance with legislation” and operated

ethically:

                 We aim to go beyond minimal compliance with legislation to create a
         culture of compliance that proactively assesses all forms of risk and ensures
         frameworks are in place to protect our business, our patients, our employees and
         all the stakeholders we impact. Within this approach, transparency is the key to
         ensuring our stakeholders know that we take their interests seriously and operate
         ethically.

         757.       In the 2016 Social Impact Report published by Teva on September 14, 2017 and

signed by Peterburg, the Company touted its compliance to “applicable laws, regulations, policies,

and process” at “every level and every location” and affirmed the accuracy and transparency of its

books and records:

         We obey our Code of Conduct, applicable laws, regulations, policies, and processes

         We are accurate and transparent in our books and records

                                            *      *       *

                    Ensuring compliance at every level and every location

                                            *      *       *

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                 Our commitment to compliance, ethical standards, and responsible supply
         chain practices relies on vigilance and transparency. We strive to conduct our
         business – and ourselves – in ways that reflect well on the people we employ, the
         patients we serve, and the communities in which we live. We are dedicated to
         fostering a culture of responsibility, integrity, and respect as we endeavor to enable
         people to live better days.

         758.       The statements set forth in ¶¶746-757 above were materially false and misleading or

omitted material facts because Teva was not in compliance with the laws and regulations governing

the Company. Teva’s undisclosed inflation of its sales through collusive price-fixing and market

allocation schemes was a violation of U.S. antitrust laws and exposed the Company to significant

risk of prosecution by state and federal authorities, along with the attendant negative financial and

reputational harm.

                    8.     False and Misleading Statements Relating to the Bribery
                           Schemes

         759.       Throughout the Relevant Period, Teva discussed the drivers of financial results

relating to Copaxone sales in Russia, Ukraine and Mexico – while concealing that the results were at

least in part a result of the Company’s illegal payments worldwide to influence the governmental

approvals of and prescriptive and purchase decisions concerning its key drug Copaxone:

         •          2013 Form 20-F filed on February 10, 2014: “Our Copaxone® revenues outside the
                    United States amounted to $1.1 billion during the year, 2% higher than 2012. The
                    increase mostly reflects higher revenues in Europe driven by volume growth, which
                    were partially offset by lower revenues in our ROW markets, mostly due to the
                    timing of tenders in Russia. . . . As part of a government tender procedure in
                    Mexico, a local manufacturer was allowed to bid to provide a purported generic
                    glatiramer acetate and was awarded a substantial part of the tender in 2013 and 2014.
                    We are pursuing legal action seeking to revoke the local manufacturer approval. The
                    award did not materially affect our global sales of Copaxone®.”

         •          1Q2014 Form 6-K/A filed on May 1, 2014: “Copaxone® . . . [s]ales outside the
                    United States amounted to $254 million during the first quarter of 2014, a decrease
                    of 2% in both U.S. dollar and local currency terms, compared to the first quarter of
                    2013. The decrease reflects the timing of tenders in Russia, which took place in the
                    first quarter of 2013 but not in the first quarter of 2014, partially offset by higher
                    revenues in Europe.”


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         •          3Q2014 Form 6-K filed on October 30, 2014: “Copaxone® revenues outside the
                    United States amounted to $307 million during the third quarter of 2014, an increase
                    of 21%, or 24% in local currency terms, compared to the third quarter of 2013. The
                    increase is a result of the timing of a tender in Russia, partially offset by lower
                    revenues in other markets.”

         •          4Q2014 Form 6-K Press Release filed on February 5, 2015: “Sales [of Copaxone]
                    outside the United States amounted to $286 million, a decrease of 15%, but flat in
                    local currency terms, compared to the fourth quarter of 2013, as higher sales in
                    Russia, due to the timing of a tender in Russia, were offset by lower revenues in
                    other markets.”

         •          2014 Form 20-F filed on February 9, 2015: “Our Copaxone® revenues outside the
                    United States amounted to $1.1 billion during the year, 2% higher than 2013. In
                    local currency terms, revenues grew 7%, primarily due to the timing of tenders in
                    Russia.”

         •          2Q2015 Earnings Call on July 30, 2015, Desheh stated: “First of all, the ex-US
                    Copaxone was strongly influenced by exchange rate. We sell in Russia, we sell in
                    Europe. Rubel and euro are down year-over-year significantly against the dollar so
                    that has the biggest impact. In Russia, we have to remember also, there are tenders,
                    and this quarter there was no tenders, so basically we have a bump each time we
                    have a tender in Russia. . . . Gross margin of Copaxone is just under 90%, pretty
                    high and stable. And then we have a few hundreds of millions of sales and
                    marketing expenses supporting our sales effort in the US and in the international
                    markets, which, of course, are a judgment call based on launches effort and driving
                    sales in the geographies.”

         •          3Q2015 Form 6-K filed on October 29, 2015: “Our Copaxone® revenues outside the
                    United States were $207 million in the third quarter of 2015, a decrease of 33%, or
                    15% in local currency terms, compared to the third quarter of 2014. The decrease in
                    local currency terms is mainly due to increased competition in our European markets
                    resulting in lower volumes and lower tender volumes in Russia.”

         •          2015 Form 20-F filed on February 11, 2016: “Our Copaxone® revenues outside the
                    United States amounted to $783 million during 2015, 30% lower than in 2014. In
                    local currency terms, revenues decreased 16%, primarily due to lower tender orders
                    in Russia, as well as lower volumes sold in Europe.”

         760.       In addition to failing to disclose in its filings that the Company’s improper practices

were centered around its key drug Copaxone, by at least the end of 2013, Teva published its 2012

Corporate Social Responsibility Report touting its “100 years of ethical and responsible business

practice,” its anti-corruption policies, its ethical dealings with all healthcare professionals, and its

compliance of laws and regulations:
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         Letter from the CEO

                 As one of the world’s largest medicine companies, Teva has a tremendous
         responsibility to our patients, as well as to our customers, shareholders and
         employees and to the communities in which we live and work. We consider this
         responsibility a foundation of doing business, and are guided by our values –
         integrity, respect, collaboration, excellence and leadership – in everything we do.

                In 2012, we began the process of integrating our existing Corporate Social
         Responsibility (CSR) activities around the world. Although Teva is a global
         organization, we view CSR as a local endeavor.

                                             *       *       *

                Teva boasts more than 100 years of ethical and responsible business
         practices.

                                             *       *       *

                Teva aims to build a culture of integrity and ethical behavior in every
         country where we do business. We uphold the highest ethical standards for our
         Board of Directors, executives and employees.

                                             *       *       *

                Our Anti-Corruption Policy facilitates meaningful and fully compliant
         collaboration with healthcare professionals and government officials in the
         development of products, and in our training and education procedures for the safe
         and effective use of those products.

                                             *       *       *

         OUR APPROACH TO SUPPORTING PATIENTS

                                             *       *       *

                   We collaborate with healthcare professionals to enhance our understanding of
                    patient needs and ensure that our financial support is impactful and
                    ethical . . . .

                   Our sales and marketing efforts follow the laws and regulations of markets
                    where we operate. . . .

                                             *       *       *

                Healthcare professionals (HCPs) provide the frontline in patient care around
         the world. . . .

                    . . . In all dealings with HCPs, we maintain high ethical standards.

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                                             *       *      *

                We target our work with healthcare professionals on areas that advance our
         healthcare mission, following all codes and regulations governing interaction with
         HCPs. When applicable we compensate HCPs, taking care to ensure that such
         payments are not perceived as inducements or rewards for prescribing our
         products.

                In some countries, certain HCPs can qualify as government officials for the
         purposes of anti-corruption laws.

         761.       In addition, in the Forms 20-F, Teva discussed obtaining marketing approvals for

Copaxone in Russia and other global markets and the measures it was taking in response to the

Russian government’s 2020 pharmaceutical strategy requirements, but failed to disclose these

initiatives included making illegal payments to authorities as part of the Company’s worldwide

bribery scheme:

                    The key elements of our strategy consist of the following:

                                             *       *      *

                 In Russia, which is primarily a branded generic market, we market a
         diverse portfolio of branded generic products, as well as OTC pharmaceutical
         products and specialty products. We have a portfolio of approximately 130
         products sold to both retail and hospital channels. We are currently one of the
         largest pharmaceutical companies in Russia.

                The Russian government seeks to encourage the use of generic products in
         order to reduce the cost of pharmaceuticals. Russian pharmaceutical law is
         currently under review and undergoing continual changes, with the goal of
         increasing access and controlling pricing of products. The government is further
         seeking to encourage local production of pharmaceuticals by providing incentives
         for domestic or localized foreign producers.

                 Competitive Landscape. The Russian market includes large local
         manufacturers as well as international pharmaceutical companies, both generic
         and innovative. As part of Russia’s 2020 pharmaceutical strategy, companies with
         a local manufacturing presence will receive favorable treatment. We are building
         a manufacturing facility in Yaroslavl, Russia, which is expected to be operational
         by 2015.

         762.       On May 1, 2014, Teva hosted its 1Q2014 earnings call, with participation from

Defendants Vigodman and Desheh. During the call, Desheh discussed the importance of the Russian

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market to the specialty segment and Copaxone-related performance and Russia’s drag on the

Company’s performance with its political instability and unmaterialized Copaxone tender – without

disclosing that the Company drove its Copaxone and specialty revenues and Russian tender results

through illegal payments to Russian authorities:

         Eyal Desheh – Teva Pharmaceutical Industries Ltd – CFO

                                            *      *       *

         The improvement of our sales this quarter was nicely split between the generic and
         the specialty businesses. In generics, we experienced significant growth in the
         United States market, with 17% year-over-year growth to a total of $1 billion, with a
         number of new product launches.

                However, part of the growth was offset by weaker sales in Eastern Europe
         due to an exceptionally warm winter and political instability in Russia and
         Ukraine . . . .

                The specialty business continued to grow with Copaxone, which delivered
         another good quarter, even without a tender in Russia, which we believe will
         materialize in Q2.

                 Maybe I will add a few data points about Russia and the neighboring
         countries. . . . The other thing, that everybody is of course aware of is political
         issues in Russia, transforming a little bit due to economic uncertainties, which is
         never good of business, but it wasn’t terrible.

                . . . Also, the Copaxone tender, which can move from one quarter to
         another, it didn’t happen this quarter in Q1 in Russia. We expect this to
         materialize in the second quarter, so the Copaxone results were without Russia,
         which is not an insignificant piece.

         763.       On June 10, 2014, Defendant Desheh participated in the Goldman Sachs Healthcare

Conference, where he discussed Teva’s presence in the Russian and Mexican markets. In particular,

Desheh discussed the Russian government’s imposition of duty on foreign products but failed to

disclose that the prospect of paying such duty prompted Teva to enter into illegal arrangements with

a local distributor owned by a prominent Russian official:

         Eyal Desheh – Teva Pharmaceutical Industries Ltd – CFO

                                            *      *       *

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                Mexico is another country where we have a pretty nice presence in Mexico,
         but the market there is much, much bigger than where we are. And we can do
         more.

                In Eastern Europe there’s room for growth. A lot of this is organic growth.
         Building a plant in Russia today that will help us reduce our costs over there,
         because there are for foreign product there’s duty in Russia. Local manufacturing
         has an advantage so we’re building a plant there. Russia is a very large market for
         us and a fast growing. Russia and its neighboring countries.

         764.       On October 30, 2014, Defendants Vigodman, Desheh and Olafsson participated in

Teva’s 3Q2014 earnings call. During the call, defendants discussed the Russian tender’s significant

contribution to Copaxone sales – without disclosing that Teva made illicit payments to Russian

officials to influence the drug’s tender and approval processes:

         Erez Vigodman – Teva Pharmaceutical Industries Ltd – President and CEO

                                           *      *       *

                 . . . Copaxone 40 milligram has gained already 10% market share in the MS
         space, and it accounts for 57.4% of the entire family based on mostly [CTIMS] data
         updated to October 2014. Copaxone 40 milligram was launched also in Argentina
         and Israel, approved in Chile, pending in Russia, Brazil, and EMEA.

         Eyal Desheh – Teva Pharmaceutical Industries Ltd – CFO

                                           *      *       *

                Copaxone sales. We delivered a very good quarter in Copaxone sales.
         Results show an improvement in the US, resulting from some inventory buildup
         following a weak Q2, as we all remember. And the impact of the tender in Russia,
         which was delivered in Q3.

                                           *      *       *

         Siggi Olafsson – Teva Pharmaceutical Industries Ltd – President and CEO of
         Global Generics Medicines Group

                                           *      *       *

                If we look at the rest of the world, we have very significant generic business
         in Russia. It’s a good business. We are improving the pipeline in Russia, we are
         building it up.




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                Obviously we also have a good Russian business due to the Copaxone
         tender that Eyal mentioned in his presentation. We see that business growing
         going forward.

         765.       On December 15, 2014, Teva published its 2013 Corporate Social Responsibility

Report and assured investors that its dealing with healthcare providers were “not perceived as

inducements or rewards for prescribing our products” and that the Company adhered to its Code of

Conduct in its activities in all countries “even if this put[ ] us at a competitive disadvantage”:

         A Letter from Erez Vigodman, Teva’s President & CEO

                                           *       *       *

                 We target our work with healthcare professionals on areas that advance
         our healthcare mission, following our Code of Business Conduct and regulations
         governing interaction with HCPs. When applicable we compensate HCPs, taking
         care to ensure that such payments are not perceived as inducements or rewards for
         prescribing our products. We are developing local, regional and global policies and
         standard operating procedures in parallel with existing local and regional reporting
         requirements governing specific interactions with HCPs.

                In some countries, certain HCPs can qualify as government officials for the
         purposes of anticorruption laws.

                                           *       *       *

                  We carefully monitor compliance with the Foreign Corrupt Practices
         Act . . . .

                                           *       *       *

         While marketing regulations may differ by region, we adhere to the ethical
         marketing guidelines in our Code of Business Conduct in all countries, even if this
         puts us at a competitive disadvantage.

                                           *       *       *

                Our leadership enforces high standards of conduct for our employees.
         Teva does not tolerate behavior that is unethical, illegal or dishonest. All our
         employees are required to comply with the laws of the countries in which we operate
         and with the regulatory rules that affect our business. Failure to do so can result in
         severe penalties, including termination and potential criminal or civil actions.

                                           *       *       *



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                 From the Board of Directors and CEO to each individual employee in each
         unit, we are unwavering in our commitment to doing what is right while striving to
         reach our financial and business goals. Although we face complex challenges as
         we transform our business, no objective is worth compromising our values or
         ethical standards.

         766.       On February 5, 2015, Teva conducted it 4Q2014 earnings call hosted by Defendants

Vigodman, Desheh and Olafsson. During the call, Olafsson touted Teva’s Russia management team

and the volume growth and price adjustments made in the Russian market – without disclosing that

the Russian team had engaged in a bribery scheme and Teva’s presence in the Russian market was

built on illicit payments made to Russian authorities for Copaxone. In fact, when an analyst inquired

about the Russian marketing practice investigation, Vigodman suggested that he had nothing to add

beyond what was disclosed in the SEC filings:

         Siggi Olafsson – Teva Pharmaceutical Industries Ltd – Global Generic Medicines

                I think, David, on Russia, per se, we are fully aligned that this is still an
         opportunity. This is still a very fast-growing market for us. We are number five in
         Russia today.

                Our volume growth in the market and any price adjustment we have made,
         we are still being very close to keep up with the currency. We feel that we are well
         positioned on expanding our business in Russia. We have amazing management
         team in the country.

                So we are not gun shy, maybe for the reason of the currency per se, but we
         need to be careful. There is risk in the Russian market, but there is also risk in
         other emerging markets on the growth markets we are looking to.

                                            *       *      *

         Ronny Gal – Sanford C. Bernstein & Company, Inc. – Analyst

                                            *       *      *

                Second on the content . . . the marketing practice investigation in Russia. If
         you’d mentioned to us the risk there.

                                            *       *      *




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         Erez Vigodman – Teva Pharmaceutical Industries Ltd. – President and CEO

                On the second one, we have nothing to add beyond the note to the financial
         statements.

         767.       The statements referenced above in ¶¶759-766 were materially false and misleading

or omitted material facts. Considered as a whole, Defendants’ representations misled investors by

presenting a materially false and misleading picture of Teva’s business, financials, operations and

compliance policies by, among other things, failing to disclose and actively concealing that Teva

made illegal payments worldwide to influence the governmental approvals of and prescriptive and

purchase decisions concerning its key drug Copaxone. Teva’s pattern of illegal activities included,

inter alia: (i) bribing government officials in Russia to improperly influence the results of

government tenders for Copaxone and speed up drug registrations to increase market shares and

access; (ii) bribing government officials to improperly influence the registrations and promotion of

Copaxone and other drugs in Ukraine; and (iii) bribing health care providers at state-owned hospitals

in Mexico to improperly influence their prescription decisions for Copaxone. These bribery schemes

were unethical and lacked integrity, transparency and legality, and the resulting Copaxone sales and

contracts awarded were not based on fair dealing, bidding and competition.

         L.         Teva Violated Its Statutory Duty to Disclose Pricing Trends

         768.       During the Relevant Period, Defendants Vigodman, Peterburg, and Desheh were

under a statutory duty of disclosure pursuant to Item 5 of Form 20-F (“Item 5”), interpreted by the

SEC and courts to require the same disclosures as Item 303 of Regulation S-K (“Item 303”). Item

303 (and Item 5) require that a foreign issuer like Teva must, in the Management’s Discussion and

Analysis (“MD&A”) section of its Forms 20-F, describe any known trends or uncertainties that have

had or that the registrant reasonably expects will have a material favorable or unfavorable impact on

net sales or revenues or income from continuing operations.



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         769.       According to the SEC’s interpretive release regarding Item 303, disclosure is

necessary where a trend, demand, commitment, event or uncertainty is both presently known to

management and reasonably likely to have material effects on the registrant’s financial conditions or

results of operations. Even if Defendants were not certain about the likely effect of the event or trend

on their future revenues, Defendants were still required under Item 303 to disclose the manner in

which that then-known trend, event, or uncertainty might reasonably be expected to materially

impact Teva’s future revenues. Specifically, Item 303 states:

         To the extent that the financial statements disclose material increases in net sales or
         revenues, provide a narrative discussion of the extent to which such increases are
         attributable to increases in prices or to increases in the volume or amount of goods
         or services being sold or to the introduction of new products or services.

         770.       SEC Staff Accounting Bulletin No. 104 explains this disclosure duty further,

requiring that management disclose in the MD&A section the impact of artificial or collusive price

increases, demanding that:

                 MD&A requires a discussion of liquidity, capital resources, results of
         operations and other information necessary to an understanding of a registrant’s
         financial condition, changes in financial condition and results of operations. This
         includes unusual or infrequent transactions, known trends or uncertainties that have
         had, or might reasonably be expected to have, a favorable or unfavorable material
         effect on revenue, operating income or net income and the relationship between
         revenue and the costs of the revenue. Changes in revenue should not be evaluated
         solely in terms of volume and price changes, but should also include an analysis of
         the reasons and factors contributing to the increase or decrease. The Commission
         stated in FRR 36 that MD&A should “give investors an opportunity to look at the
         registrant through the eyes of management by providing a historical and
         prospective analysis of the registrant’s financial condition and results of operations,
         with a particular emphasis on the registrant’s prospects for the future.”

         771.       During the Relevant Period, under Item 303, Defendants failed to disclose at least two

trends related to the pricing of Teva’s generic drugs. First, Defendants failed to disclose the trend

that Teva’s financial success was driven in a material way by the Price-Hike Strategy. These price

increases, as discussed, generated over $2.75 billion in Inflated Profit, including at least $1.57 billion


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of Collusive Profit for Teva over the Relevant Period. Yet, the Price-Hike Strategy and the Inflated

Profit and Collusive Profit it generated were risky and unsustainable as the Price-Hike Strategy was

susceptible to actual competition, as well as public scrutiny, and scrutiny by legislatures, regulators

and criminal investigators.

         772.       Second, starting no later than the beginning of 2016, Defendants failed to disclose the

by-then known trend that the Price-Hike Strategy was beginning to fail. Teva could not maintain the

Inflated Profit, as industry-wide pricing pressure, which Defendants consistently denied, was

reducing the inflated prices on Teva’s generic drug portfolio. Teva was also finding it increasingly

difficult, if not impossible, to make additional price increases because of the scrutiny from the

public, Congress, and the DOJ and State AGs investigations; and indeed, Teva effectively could not

make any price increases after the DOJ subpoena was served on June 21, 2016.

         773.       SEC Release No. 33-8350 provides MD&A disclosure guidance that is a nearly

perfect analogy to the facts here, stating:

                 One of the most important elements necessary to an understanding of a
         company’s performance, and the extent to which reported financial information is
         indicative of future results, is the discussion and analysis of known trends, demands,
         commitments, events and uncertainties. Disclosure decisions concerning trends,
         demands, commitments, events, and uncertainties generally should involve the:

                          consideration of financial, operational and other information known
                           to the company;

                          identification, based on this information, of known trends and
                           uncertainties; and

                          assessment of whether these trends and uncertainties will have, or are
                           reasonably likely to have, a material impact on the company’s
                           liquidity, capital resources or results of operations.

                 As we have explained in prior guidance, disclosure of a trend, demand,
         commitment, event or uncertainty is required unless a company is able to conclude
         either that it is not reasonably likely that the trend, uncertainty or other event will
         occur or come to fruition, or that a material effect on the company’s liquidity, capital
         resources or results of operations is not reasonably likely to occur.


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                                               *       *       *

                 One of the principal objectives of MD&A is to provide information about the
         quality and potential variability of a company’s earnings and cash flow, so that
         readers can ascertain the likelihood that past performance is indicative of future
         performance. Ascertaining this indicative value depends to a significant degree on
         the quality of disclosure about the facts and circumstances surrounding known
         material trends and uncertainties in MD&A.

         774.       Teva, in violation of its duties under Item 303, only disclosed trends that did not bear

on the issue of price inflation (through price increases), or price erosion. Teva’s failure to disclose

the pricing trends was particularly misleading given that: (i) price increases were a core but

concealed business strategy; (ii) management concurrently denied that pricing had impacted Teva’s

bottom line and that the Company made price increases simply for profit; (iii) management

consistently minimized the positive impact of price increases on Teva’s profits; (iv) management

consistently denied that price increases had resulted in price inflation; and (v) management denied

that price deflation was materially affecting Teva, even as its revenues from the former price

increases cratered.

         M.         Additional Allegations of Scienter

         775.       Together with the above-alleged facts, Defendants each acted with scienter in that

each knew or recklessly disregarded the true facts in making the materially false and misleading

statements identified herein.

                    1.     The Officer Defendants Knew of and Controlled the Price
                           Hikes

         776.       Throughout the Relevant Period, Defendants closely monitored product-by-product

pricing and deliberately chose which products to target for price hikes. Between 2013 and 2015,

when Teva was actively hiking prices and entering into collusive agreements to drive profits, Teva’s

generic pricing was one of the first topics Defendants addressed in virtually all of the earnings




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conference calls throughout the Relevant Period, and Defendants and senior executives frequently

discussed targeted price increases and margin enhancement:

         •          On October 31, 2013, Oberman revealed a “margin enhancement strategy” that
                    involved focusing on “product by product. Individual products where we want to
                    improve our margins . . . . It’s a tweaking here and there of products that we are
                    working very consciously on to improve our margin.”

         •          On December 10, 2013, Oberman further explained that, in a year with few new
                    product launches, Teva increased “pricing on a number of products” as part of a
                    “value creation based strategy” and forecasted “next year to recoup some of that
                    price erosion.”

         •          On May 1, 2014, Vigodman told investors that “we have been assessing markets and
                    products, in order to terminate products and markets, which will not meet a minimum
                    threshold of profitability. I strongly believe that there is significant strategic and
                    economic value in global generics leadership. Teva must regain focus on its generic
                    business, with strong emphasis on portfolio selection and management . . . .”

         •          On July 31, 2014, Olafsson represented to investors that “[w]e have taken the
                    decision that in some of our markets, we look at the portfolio and we take a pricing
                    decision, and see if we stay for this molecule or not.”




         •          On October 30, 2014, Olafsson suggested to investors that “there’s never a price
                    increase on the base business as a whole. Like any other business, if there’s a pricing
                    opportunity that comes in the market, we look for that. . . . When there is an
                    opportunity, when there is a shortage in the market, we obviously look for pricing
                    like any other business.”

         •          On December 11, 2014, Olafsson told investors that “[w]e are looking through our
                    portfolio, what are the most profitable products we have. We work hand in hand
                    with the manufacturing and the operation, if we need to cut the portfolio to reduce
                    our cost; but we still want to retain our leadership in the US market.”
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         •          On January 13, 2015, Vigodman explained to analysts that opportunity for margin
                    expansion in the generics business involved strong focus on “optimization of
                    products and markets, product selection decisions.”

         •          On March 12, 2015, Desheh told analysts that to drive “the absolute profit” and not
                    just the profit margins, price increases must be managed correctly, stating that “[w]e
                    see price increases, we manage it right. You have to manage [it] correctly, it can
                    bounce back very, very easily.”

         777.       After the government scrutiny on generic drug price increases heightened, Defendants

addressed the issues directly with investors and falsely denied the price hikes and collusive

activities:

         •          On November 29, 2015, Desheh reviewed Teva’s potential exposure from past
                    conduct and represented to investors that “our exposure to all these things is very
                    minimal.” He further emphasized that Teva played the competitive game “by the
                    book and by the rule.”

         •          On January 11, 2016, Olafsson discussed his generics portfolio and conveyed that
                    “on 5%, we might be flat or a slight increase” and the remaining 95% experienced a
                    “slight decrease in pricing.”

         •          On February 11, 2016, in answering an analyst’s question about contracting with
                    large customers in the United States, Olafsson stated that “you are really fighting on
                    a molecule by molecule basis. If there is a lowering of the prices, you either have to
                    walk away from the business and that’s that.” In addition, “[w]e basically launched
                    the product. We compete on pricing.”

         •          On February 11, 2016, while touting Teva’s $1 billion improvement in operating
                    profit over a 24-month period, Olafsson offered “how did we do this? Not by
                    pricing.” Further, speaking on behalf of the industry, he stated “we and the generic
                    industry overall don’t see price inflation of generics as it sometimes is portrayed in
                    the media.”

         •          On May 9, 2016, Olafsson suggested that Teva did not buy market share, but instead,
                    “[w]e . . . are seeing our volumes go down, deliberately.” Furthermore “we also
                    walk away when the competition is too fierce on a product.”

         •          On June 8, 2016, Olafsson stated that, “about two years ago when they started the
                    price increases[,] [t]here was a lot of shortages in the market. This is when the FDA
                    went very strongly and had the import bans and things like that, which led to
                    shortages, which meant that the overall business was doing much better.”

         •          On September 9, 2016, Olafsson indicated that “pricing and pharmaceuticals are
                    always a hot topic in an election year” and, with 208 generic companies, “an average
                    of every molecule we have, there is more than five competitors. So there’s always
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                    somebody happy to take a little bit lower price. So it’s a very competitive business
                    we’re in. I think overall, obviously, we look at each opportunity . . . we have an
                    opportunity to work with it.” In turn, Andy Boyer, Head of North America Generics
                    after the Actavis acquisition, affirmed that “if . . . there’s been a change in
                    marketplace dynamics due to supply chain or someone leaving the market, we will
                    evaluate that and price our products accordingly.”

         •          On December 14, 2017, Schultz stated that “[i]n order to secure that we have a long
                    term sustainable portfolio, we are reviewing each and every product worldwide, and
                    we will make pricing adjustments to the extent that this is necessary.”

         778.       This self-proclaimed personal involvement by the Defendants supports a strong

inference that they possessed knowledge of the true state of affairs of the business, and thus had

knowledge that their representations were misleading, or were reckless in not knowing.

         779.       In the absence of collusion, moreover, Teva’s generic drug price hikes during 2013 to

2015 would have been against its self-interest and unsustainable. The rational response to the

massive price increases would be for “someone happy to take a little bit lower price” and Teva

would either fight “on a molecule by molecule basis” or “walk away from the business and that’s

that.” In a commoditized business with multiple competitors, price increases would indeed “be a

small pricing opportunity that usually comes in and comes out” as companies could only gain market

share by competing on price. Yet, as explained herein, Teva and its co-conspirators substantially

maintained market share on the 25 collusive drugs subject to collusion with negligible pricing

competition.

         780.       Furthermore, contrary to Olafsson’s justifications for Teva’s price hikes that occurred

in 2014, none of the 25 drugs subject to collusive price increases and none of the Price-Hike Strategy

drugs experienced supply shortages in the market around that time. Manufacturers were required by

federal law to report any potential drug shortages to the FDA, and no shortage report existed for any

of the 25 drugs and Price-Hike Strategy drugs around the time of their respective price hikes.




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                    2.     Former Employee Allegations

         781.       Former Teva employees provided information on a confidential basis supporting the

strong inference that the Defendants acted with scienter in making the alleged materially false and

misleading statements and omissions. The former employees’ accounts corroborate one another,

Defendants’ admissions, and the additional facts alleged herein.

         782.       Confidential Witness 1 (“CW1”) was a Senior Financial Analyst, Financial Planning

and Analysis at Teva from 2010 to 2018. CW1 reported that one of his primary responsibilities was

collecting quality of revenue data, and then calculating the “effective price” that Teva experienced in

selling individual products in Latin America. CW1 also was responsible for calculating variances

between forecasts and actual results, using Teva’s Hyperion Planning system, part of a company-

wide Oracle ERP system. CW1 stated that Teva’s Hyperion database system was used throughout

the Company for financial forecasting, planning and analysis. CW1 stated that throughout the

Company, pricing was done on Excel spreadsheets, all ultimately controlled by the Global Pricing

Group in North Wales, Pennsylvania. CW1 also worked on a “Price Quarterly Analysis” that he

prepared in Hyperion, which showed the effective price of sales for each drug. He believed this

analysis was done each quarter by each region including the United States. CW1 stated that from

2011 to early 2013, he reported to William Marsh, Teva’s President and CEO of the Americas.

Plaintiffs’ investigation indicates that Marsh is currently the President and CEO for North American

and Europe at Heritage.

         783.       Confidential Witness 2 (“CW2”) was employed at Teva in Fraser, Pennsylvania, from

January 2003 through the end of the Relevant Period. From 2003 to 2014, CW2 was first a Regional

Sales Manager for Specialty Products, and from 2013 to 2014, a Senior Regional Sales Manager for

Specialty Products. From January 2015 through the end of the Relevant Period, CW2 was a Senior

Regional Sales Manager for a generic product category, reporting to Vice President of Institutional

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Sales, John Fallon, who in turn reported to the SVP of Generic Sales for the United States, Mark

Falkin. CW2 stated that the product pricing in Teva’s generics contracts was all handled by a

pricing group at Teva’s U.S. headquarters in North Wales, Pennsylvania. This group was headed up

by Kevin Galownia (“Galownia”), who CW2 recalled was the Director or Vice President of Pricing.

According to CW2, there were approximately six “National Account Managers” who negotiated

contracts with the GPOs in connection with the pricing work performed at North Wales. CW2

identified Nisha Patel as one of Teva’s U.S. National Account Managers.

         784.       Confidential Witness 3 (“CW3”) was a Manager of Revenue Accounting at Teva.

CW3 was first an Actavis employee starting in 2004, and remained with Allergan/Actavis through

the time Actavis was acquired by Teva in 2016.             He was the Manager of Revenue for

Allergan/Actavis at the time of the acquisition, and continued as a Manager of Revenue Accounting

with Teva until he left in August 2017. CW3’s central function for Actavis and then Teva was to

calculate “gross to net revenue” for monthly reporting from sales information on spreadsheets he

accessed in the Teva accounting system. The sales information was generated by the sales group for

the generics market and the accounting system he used was “Oracle and Hyperion based.” CW3

indicated that Teva’s Sales and Marketing Group and the Contracts Group of Teva’s Generics

Division were involved with negotiating and implementing prices before contract execution and sale

He also confirmed that the pricing group in North Wales established prices for generic sales in the

United States and was headed by Galownia.

         785.       The following information from former employees, which was cited in the amended

consolidated complaint filed in Ontario Teachers’ Pension Plan Board v. Teva Pharm. Indus. Ltd.,

No. 3:17-cv-00558-SRU (D. Conn.), on June 22, 2018 (the “Class Complaint”) corroborates the

confidential witness accounts, Defendants’ admissions, and other facts alleged herein:



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                    (i)    Senior Product Operations Manager, or FE-1, started at Teva in 2005 and,

until 2011, FE-1 worked in new generic drug forecasting. From 2011 to July 2014, FE-1 was a

manager responsible for forecasting and analysis of a product group, and from July 2014 through

April 2016, FE-1 was a Product Manager and then Senior Product Manager responsible for supply

chain and inventory management of Teva’s base-line generics business. In FE-1’s most recent role,

FE-1 reported to Bryan Bart who, in turn, reported to Galownia, Senior Director of Marketing.

According to FE-1, based on personal knowledge:

         (i) Teva stored drug-by-drug pricing, sales, and revenue data on the Company’s
         Oracle ERP System; (ii) the Company’s long-range “Work Plan” forecasting 3-5
         years of revenue on a granular level, and prepared annually following a
         predetermined scheduled, was reviewed and approved by Teva’s U.S. and Israeli
         executives; (iii) daily or weekly “Scorecards” that tracked generic drug revenues and
         informed Teva executives of any “holes” or “red flags” were distributed to Teva’s
         top U.S. executives, including Griffin, Cavanaugh, Olafsson, and Oberman;
         (iv) quarterly Latest Best Estimates (“LBEs”) comparing results to Work Plan
         forecasts were sent to U.S. and Israeli executives; (v) Teva increased prices when
         other companies did, when it had a monopoly, and when there was a shortage;
         (vi) Olafsson claimed that every company he joined acquired his previous employer;
         (vii) Nisha Patel (“Patel”) was Teva’s Director of Strategic Customer Marketing
         from April 2013 to August 2014 and Director of National Accounts from
         September 2014 to December 2016, and Patel was on maternity leave on or about
         August to December 2013; and (viii) that compensation structure for Teva’s national
         account managers was not tied to individual performance.

Class Complaint, ¶242.

                    (ii)   Senior Director of Trade Relations, or FE-2, worked at Teva from 2006 until

August 2012. During his tenure, FE-2 was in charge of sales for the branded, generics, and

injectables groups. FE-2 later, and until leaving Teva, oversaw the branded drug national account

managers, reporting to the Head of U.S. Brands. FE-2 also remained involved and knowledgeable

about Teva’s U.S. generics. According to FE-2, based on personal knowledge:

         (i) Teva aligned its generic and branded segments under the “One Teva” motto;
         (ii) Galownia evaluated Teva’s generics drug portfolio on a “constant and ongoing”
         basis to find opportunities to increase prices; (iii) Galownia was “just the guy doing
         the evaluation,” as the decision to increase prices was made by senior executives,

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         including Cavanaugh and Griffin, who would conduct their own evaluations of the
         costs and financial benefits of each price increase on a drug- by-drug basis, a process
         in which Christine Baeder, VP Commercial Operations, was also involved;
         (iv) Cavanaugh and Griffin reported directly to Oberman, and would later report to
         Olafsson; (iv) the process for increasing price could take up to 60 days, required
         formal notice to customers, and was done in batches; (v) it was critical to ensure that
         price increases would “stick,” i.e., competitors would not undercut Teva’s price
         increases; (vi) “everyone would have known,” including, Oberman, and later
         Olafsson, if a large price increase generated significant profit, something which
         Cavanaugh, Griffin, Oberman, and later Olafsson, would track closely, if not daily;
         (vii) executives used price increases to “fill the hole,” when actual revenue did not
         meet forecasts; (viii) each year the finance and operations teams created a budget that
         included revenue forecasts; and (ix) the senior managers including Griffin,
         Cavanaugh, and Oberman, received reports on whether revenues were meeting
         forecasts up to four times per quarter.

Class Complaint, ¶243.

                    (iii)   Associate Manager of Customer Marketing, or FE-3, worked at Teva from

September 2014 until May 2016 and was a member of the pricing team. FE-3 reported to a person

who reported to Galownia, who reported to Christine Baeder and, for a time, to Cavanaugh. FE-3

was responsible for evaluating requests for proposals and assessing market pricing for generic drugs.

According to FE-3, based on personal knowledge:

         (i) members of the Pricing Group could only lower prices of generic drugs after
         undertaking an extensively researched and documented analysis; (ii) when prices
         were increased, the Pricing Group was “told” to increase the price in a meeting or via
         email, often from Galownia; (iii) Galownia did not have the authority to raise prices,
         decisions to raise prices came from higher-level management; (iii) customers were
         informed of price increases; (iv) even a small change in price (e.g., $0.25) could have
         a “huge impact” on revenues; (v) a shared Excel file, kept on a shared electronic
         drive, contained pricing information and was readily accessible to the Pricing Group
         and top Teva executives; (vi) the Company stored pricing and revenue data “down to
         the NDC code” on the Oracle system; and (vii) executives, including Cavanaugh,
         Oberman, and Olafsson, had access to the Oracle ERP System, and were routinely
         filled in on sales numbers.

Class Complaint, ¶244.

                    (iv)    Manager of Customer Operations, or FE-4, was employed at Teva from

April 2008 to April 2014 and was responsible for metrics for the phone system and managing the


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process for customer calls to Teva regarding generic drugs. FE-4 reported directly to Baeder until

2012, and later to Michelle Osmian. According to FE-4, based on personal knowledge:

         (i) in the early part of 2013, at a quarterly marketing group “all- hands” meeting that
         FE-4 attended, along with additional pricing, sales, finance, and customer service
         employees at Teva’s North Wales U.S. headquarters, Galownia informed the
         attendees that Teva was implementing a strategy to increase the prices of generic
         drugs; (ii) Galownia could not approve price increases, as Cavanaugh, or an
         executive above her made these decision; (iii) after a price increase, Teva would send
         letters to customers informing them of the increase; the letters were also emailed to
         Teva employees whose work was impacted by price increases; (iv) Teva regularly
         raised prices on generics from 2013 onward and was “getting more aggressive with
         pricing” by raising prices more frequently up until the time of FE-4’s departure in
         April 2014; and (v) consumer complaints would rise following price increases, and
         the complaints were logged and sent to Baeder on a monthly basis.

Class Complaint, ¶245.

                    3.     Defendants Were Motivated to Use Teva’s Stock as
                           “Currency” for a “Transformational” Acquisition

         786.       The Defendants were motivated to make false statements to inflate the price of Teva

securities in order to complete a “transformational” acquisition. By January 2014, once the Price-

Hike Strategy was fully implemented and had generated material profits toward fourth quarter 2013

results, Desheh announced this motivation, setting out that “the stock price will go up and we’ll be

able to use our share as a currency . . . to fund transactions.” Upon his hiring in February 2014,

Vigodman was reported to also favor significant M&A activity.

         787.       Unbeknownst to investors, Teva was already focused on acquiring Actavis by as early

as the middle of 2014. Soon after joining Teva from Actavis in August 2014, Olafsson announced at

an “all-hands” quarterly meeting at the North Wales headquarters that he had never joined a new

company that did not subsequently purchase his former employer. (FE-1.) By the end of 2014, with

the strategy resulting in numerous batches of systematic price hikes, involving 46 drugs, and

generating as much as $943 million in Inflated Profit, Teva’s ADSs were trading in the mid-$50s,

and the ordinary shares were trading at ILS 22,200. By then, as Vigodman would later acknowledge

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on July 27, 2015, Defendants had developed a list of acquisition targets and Actavis was at the top.

Concealed from investors at this time, Teva had already approached Actavis, but was rejected.

         788.       By the end of the first quarter of 2015, the Price-Hike Strategy resulted in another

batch of hikes, involving 12 drugs. All told, over $1.1 billion in Inflated Profit had been generated,

and Teva’s ADSs were trading near $63 per share, with the ordinary shares trading at ILS 24,960.

Defendants’ “willingness” to perform a “transformational” acquisition in the generics space was

well known to analysts, as was their “urgency to diversify via M&A” as Barclays and Leerink wrote

on April 7 and 16, 2015, respectively. On April 21, 2015, Defendants attempted to purchase Mylan.

Mylan’s board dismissed the offer on April 27, 2015.

         789.       Undeterred, during a June 10, 2015 Goldman Sachs conference, Teva again

announced glowing results, with Vigodman emphasizing to investors the “profound change in the

generic business” and Olafsson noting the improvement of “$1 billion . . . in 14 months, 16

months,” while concealing that the Price-Hike Strategy and collusive activities had generated over

$1.1 billion in profits for the generics unit over that time. Fueled by profits from the fraud, by

July 27, 2015, the price of Teva’s ADSs had reached an all-time high of $72 per share, and the

ordinary shares were near an all-time high of ILS 26,040.

         790.       That day, Teva announced the $40 billion acquisition of Actavis from Allergan.

Vigodman explained that the improvement in generics was a “precondition” for accomplishing their

motivation for a deal. Indeed, without the inflated securities as a “currency,” Teva did not have the

cash; the $40 billion price tag was roughly 20 years of Teva’s average annual income from 2013 to

2015. They raised the cash from investors.

         791.       By the second quarter of 2015, however, the Price-Hike Strategy had peaked. Teva

began to experience pricing pressure on its generic drugs, and was increasingly unable to make

additional large price increases. The Inflated Profit began to deteriorate, even as Defendants needed

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to raise the capital necessary to pay Actavis’s $40 billion price tag. As questions were raised

regarding the deteriorating pricing environment and Teva’s weakening financials, Defendants flatly

denied Teva was making profits from price increases or that Teva was facing pricing pressure. It

was not until Defendants had completed over $27 billion in public offerings by July 28, 2016, and

closed the Actavis deal on August 2, 2016, that they disclosed that their generics business was now

the subject of government subpoenas. Soon after that, the truth began to leak into the marketplace,

and the fraud fell apart.

                    4.     Only Senior Executives Could Make Price Increases

         792.       All sales, marketing, and finance executives with responsibility for U.S. generics

pricing are based in Pennsylvania, and carrying out the price increases required the explicit approval

of the senior executives at the U.S. headquarters. (See Kim Declaration; CW1, CW2, FE-2.) 27 The

Inflated Profit would be captured by the daily and weekly reports circulated to Oberman,

Cavanaugh, and defendants Griffin and Olafsson. (CW1, CW2, FE-1.) They were also reflected in

the intra-quarter reports that these Officer Defendants assembled and sent to Teva’s senior

executives in Israel. (FE-1, FE-2.) Consistent with this, according to FE-2, “everyone would have

known” of large price increases that had a significant financial impact, including Oberman,

especially if they were used to fill a “hole” between revenues and forecasts.

         793.       Defendants’ scienter is also supported by the fact that the execution of the Price-Hike

Strategy required that senior executives personally analyzed and approved each price increase

pursuant to an established and formalized process that was in place by 2012 when FE-2 was

employed at Teva. Galownia and the Pricing Group would initiate the process. (FE-2, FE-4.)

Galownia would analyze Teva’s portfolio of established generic drugs on a “constant and ongoing


27
   “Kim Declaration” refers to the Declaration of Austin D. Kim filed in Galmi v. Teva Pharm.
Indus. Ltd., No. 16-cv-08259 (C.D. Cal.) (“Galmi”) (ECF No. 37-2).

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basis” and produce a “list of opportunities” and recommendations of potential price increases to

Teva USA’s COO, Cavanaugh, and defendant Griffin, who was Chief Accounting Officer of Teva

and the CFO of Teva USA. (FE-2.)

          794.      However, Galownia was “just the guy doing the evaluation” (FE-2), as his superiors

made the actual decision to increase the price of a generic drug. (FE-2, FE-3, FE-1.) Accordingly,

Cavanaugh and Griffin would each separately evaluate whether Teva would make a price increase,

and if so, when. (FE-2.) Cavanaugh would review the price increases from the operational

perspective, while Griffin would undertake a financial cost-benefit analysis that would evaluate both

whether and when to implement the price increases. (FE-2.) In particular, Griffin would have to

factor in specific contract terms and costs associated with increasing pricing and determine the right

timing for the increase. (FE-2.) Sometimes Griffin’s decision was to raise a price, but wait until the

next quarter when the contractual implications would be more favorable.                (FE-2.)    This

recommendation and evaluation process could be quick, but could also span weeks, with the

implemented price hike following as many as 60 days after Galownia’s initial recommendation.

(FE-2.)

          795.      The members of the Pricing Group would routinely engage in a bottom-up analysis in

deciding to lower prices. This required them to conduct and provide senior executives with detailed

analysis and documentation justifying their decisions to reduce prices. (FE-3.) Price increases, in

contrast, came from the top down. When prices were increased, the Pricing Group was simply

“told,” by email or in a meeting, to raise the prices of certain drugs, without conducting any analysis

justifying the increase. (FE-3.) Members of the Pricing Group did not have authority to implement

price increases. (FE-3.) Defendants became “more aggressive with pricing” by frequently

increasing prices from 2013 onward. (FE-4.) Empirical evidence confirms this observation. See

App. A.

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         796.       As was the case during the Relevant Period, and as the empirical evidence confirms,

approved price increases would often be batched together and announced on the same day. (FE-2.)

Once a price increase was made, Teva would send letters to affected customers informing them of

the price increase. (FE-2, FE-4.) Galownia or his team would also email these letters to all Teva

employees whose work would have been impacted by price increases. (FE-4.)

         797.       Given this formalized process involving Griffin and Cavanaugh, there is a strong

inference that Defendants were aware of, or at least recklessly disregarded, the 76 price increases,

ranging from 22% to 1,500%, over the course of over three years, that generated over $2.6 billion in

Inflated Profit.

                    5.     Defendants Had Continuous Access to Documents and
                           Information Tracking Profits from Price Increases

         798.       Defendants were given documents that tracked the financial impact of the Price-Hike

Strategy against the detailed revenue goals for Teva’s U.S. generics business, as often as on a daily

basis. (CW1, CW3, FE-1.) They also had access to company-wide databases with detailed drug-by-

drug information about the price, sales, and profits of each drug on a real-time basis. (CW1, CW3,

FE-1, FE-3.) Given the close attention paid to revenue and its sources, and the readily available

information concerning these topics, there is a strong inference that Defendants knew or recklessly

ignored that billions of dollars in Inflated Profit and Collusive Profit were generated through the

Price-Hike Strategy, and its collapse caused the later short-falls in profits.

         799.       Long-Range Work Plan: Among the documents Defendants created and received was

a long-range Work Plan, generated annually, that included generic revenue forecasts for three to five

years and contained granular pricing details down to the National Drug Code, or NDC, level.

(FE-1.) The employees preparing the Work Plan would receive feedback from executives over the

course of a pre-established schedule. (FE-1.) The process began around March each year, with the


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U.S.-based executives, including Oberman and Olafsson, reviewing and approving the Work Plan

over the late summer. (FE-1.) The U.S.-based executives would then present the Work Plan to

Teva’s executives in Israel, including Vigodman and Desheh, each year. (FE-1.)

         800.       Daily Scorecards: Weekly or daily Scorecards were circulated among Teva’s top

executives, including Olafsson and Oberman. (FE-1, FE-2.) These Scorecards provided these

executives with regular access to U.S. sales and revenue data for generic drugs. (FE-1.) The

Scorecards also compared Teva’s actual revenue figures to longer term revenue goals. (FE-1.) The

executives used the Scorecards to track “holes” between the actual revenues and forecasts, including

the Work Plan. (FE-1, FE-2.) The price increases were used to “fill” the holes. (FE-2.)

         801.       Latest Best Estimates (“LBEs”): Teva’s U.S. executives also tracked, and would

report to the executives in Israel, U.S. generic performance on a quarterly basis through the LBEs,

which showed how a current financial quarter compared to long-term forecasts. (FE-1.) The LBEs

would also be circulated to the executives in Israel. (FE-1.)

         802.       Price Quarterly Analysis: Teva financial analysts created Price Quarterly analyses

each quarter that showed the effective price of sales for each drug in each region. (CW1.)

         803.       Oracle ERP System: Teva housed the pricing, revenue and sales data of its generic

drugs on its Oracle ERP system, a company-wide database. (CW1, CW3, FE-1, FE-3.) Through

this system, pricing, sales and revenue information for each generic drug was readily and easily

available at the granular level, “down to the NDC code.” (FE-3.) Teva executives, including

Oberman, Cavanaugh, and defendants Griffin and Olafsson, all had access to the Oracle ERP

system. (FE-1, FE-3.) The Oracle ERP system was the source for the data used for the Scorecards,

Work Plan and LBEs. (CW1, CW3, FE-1.)




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                    6.     Defendants’ and Analysts’ Focus on Generics

         804.       The fact that Defendants recurrently publicized that Teva’s generics segment, fueled

by its U.S. division, was driving the Company’s turnaround during the Relevant Period supports a

strong inference of scienter. For example, on May 13, 2015, Desheh described the turn-around in

generics as “nothing short of a revolution.” On June 10, 2015, Olafsson touted improvement of the

“generic business by . . . $1 billion . . . in 14 months, 16 months.” That same day, Vigodman touted

“the profound change in the generic business,” citing increased operating profit from 2013 to 2014.

         805.       Analysts accordingly focused on Teva’s generics business, and particularly its U.S.

division, as a financial driver for the Company, further supporting a strong inference of scienter. For

example, in a February 5, 2015 report, Piper Jaffray noted that “the profitability of the generics

business [is] continuing to improve.” On April 30, 2015, J.P. Morgan wrote: “Teva continues to

make progress on generics profitability . . . we remain encouraged by the recovery in Teva’s generic

business.” The same day Cowen and Company noted that Teva’s “outperformance was a result of

better than expected U.S. generic sales.”

         806.       Similarly, when industry pricing pressure damaged Teva’s competitors, analysts

peppered Defendants with questions about pricing pressure over the course of several months, which

were met with detailed answers. For example, on February 11, 2016, Guggenheim asked Olafsson

about “pricing pressure in the generics business,” with Olafsson claiming to know that “on the

pricing . . . we didn’t see anything change in fourth quarter.” On September 7, 2016, Wells Fargo

asked whether Teva was “seeing the same generic erosion, pricing erosion that some of the other

companies” had, to which Desheh asserted he knew that in “the base [generics] business . . . the

prices are very stable there.”




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                    7.     The Magnitude, Importance and Duration of the Fraud

         807.       The fact that Teva’s collusive activities and Price-Hike Strategy generated as much as

$2.6 billion in Inflated Profit supports a strong inference of scienter. Indeed, the Inflated Profit

drove Teva’s reported financial turnaround throughout the Relevant Period. In 2014 and 2015, the

Inflated Profit comprised an increasingly large portion of Teva’s overall net income. As to the

generics segment’s profits, the Inflated Profit accounted for 15% of segment profits in 2013 – of

which 50% was Collusive Profit; 32% in 2014 – of which 56% was Collusive Profit; and 32% in

2015 – of which 51% was Collusive Profit. The Inflated Profit accounted for an even larger portion

of the Company’s overall net income: in 2013, the Inflated Profit accounted for 20% of net income;

in 2014, 23%; in 2015, 54%; and in 2016, more than all of Teva’s overall profit. The stronger

inference is that Defendants knew of the source of these profits.

         808.       Likewise, in 2016, the Price-Hike Strategy deteriorated as Teva began to experience

significant pricing pressure and accelerated price erosion and was no longer able to implement

additional price hikes. As a result, Teva’s generic drug profits plummeted. Indeed, Teva’s

deteriorating financial condition in 2017 called into question whether it could service its massive

$35 billion debt and forced the Company to take a staggering $6.1 billion impairment charge to its

generics business and reduce its dividend. The stronger inference by far is that Defendants were

aware of the source of this decline, or were reckless in not knowing.

                    8.     Contemporaneous Red Flags Indicated that Defendants’
                           Statements Were False or Misleading

         809.       Contemporaneous red flags alerted Defendants to the possibility that their statements

were false and misleading. At a minimum, Defendants recklessly failed to review or check

information that they had a duty to monitor under these circumstances.




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         810.       Congressional Inquiry: On October 2, 2014, Congress sent Vigodman a personal

letter seeking answers to “the underlying causes of recent increases in the price of [Teva’s] drugs.”

This should have placed Defendants on alert to discover whether Teva had taken price increases and

to what extent. Despite this, on October 30, 2014, Vigodman, when faced with an analyst question

on the subject, denied that Teva derived revenues from price increases. Similarly, Congress invited

Teva to testify at a November 20, 2014 hearing on whether “there was a rational economic reason as

to . . . huge price increases.” Again, this should have sparked an internal inquiry from Teva’s

executives. Yet, on December 11, 2014, when faced with the assertion from an analyst that

wholesalers were seeing large price increases, Olafsson flatly denied that Teva was involved in those

practices.

         811.       The State AG and DOJ Investigations: The fact that the DOJ and State AGs began

investigations into Teva’s competitors related to their pricing practices also supports a strong

inference of scienter. The fact of those investigations should have triggered an internal inquiry at

Teva into the facts of its own pricing practices, including the dozens of price increases that Teva

made in tandem with its competitors.

         812.       GAO Report: On September 12, 2016, the GAO, which Congress had commissioned

over two years earlier, publicly released its report on “Generic Drugs Under Medicare,”

documenting its audit of Medicare Part D data from June 2015 to August 2016. The GAO found

hundreds of unexplained “extraordinary price increases,” defined as the price of a particular drug

increasing over 100% within a 12-month period, and that some drug prices increased more than

1,000%. Teva had numerous drugs that showed extraordinary price increases in the GAO Report.

The facts of the GAO Report support the inference that Defendants spoke the alleged false

statements with scienter.



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                    9.     Officer Terminations Support Scienter

         813.       That three of the Officer Defendants – Olafsson, Vigodman, and Desheh – resigned

from Teva or had their employment with Teva terminated at a critical time, as the Company’s Price-

Hike Strategy was deteriorating and Teva was in regulators’ crosshairs, further supports scienter.

There is a strong inference that the termination of Olafsson was connected to his fraudulent cover-up

of the Price-Hike Strategy and the subsequent decline in Teva’s profits as the strategy collapsed.

The explanation for his termination as “retirement” was false, and the first charges from the DOJ and

State AGs regarding their pricing investigations were released only days later. There is a similarly

strong inference regarding Vigodman’s termination. He was fired without a replacement just one

month after Teva significantly revised its 2017 guidance downwards, resulting in part from increased

price erosion and dwindling generic profits, and one week before Teva reported disappointing

financial results for the fourth quarter of 2016. Finally, less than two months after Desheh left Teva,

and in the very first reporting period after all of these defendants were gone, Teva took a staggering

$6.1 billion charge against its U.S. generics business, and announced a radical 75% reduction in

dividend payments to shareholders. This supports an inference that it was these defendants who

were blocking the true financial state of the Company from coming to light.

                    10.    Other Facts Supporting Scienter

         814.       The Receipt of the Subpoenas: Teva’s receipt of subpoenas from the DOJ and the

Connecticut AG on June 21, 2016 and July 12, 2016, respectively, supports a strong inference of

Defendants’ scienter. Particularly, Defendants failed to disclose the Subpoenas in the mandatory

SEC disclosures filed in conjunction with the Notes Offering and Notes Offering Materials, but then

disclosed them approximately two weeks after completing the Notes Offering. The failure to

disclose receipt of the Subpoenas until the Notes Offering was completed supports scienter, as does

the fact that many of Teva’s competitors disclosed their receipt of a subpoena immediately, in the

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very next SEC disclosure. Moreover, the Subpoenas triggered a legally mandatory duty to inquire

into Teva’s pricing practices. Yet, Defendants thereafter made materially false and misleading

statements about their exposure to price erosion, including during Teva’s September 9, 2016

Generics Day.

         815.       Bloomberg Article: The November 3, 2016 Bloomberg article revealed that Teva was

the subject of the DOJ criminal inquiry, and that the DOJ and State AGs could likely bring charges

later in the year. Despite this, Vigodman, almost two weeks later, on November 15, 2016, claimed

that he was “not aware of any fact that would give rise to an exposure to Teva with respect to the

investigation.” The State AGs suit and the DOJ charges against Glazer and Malek soon followed

and, subsequently, those investigations have expanded massively.               The close proximity of

Vigodman’s statement to the announcement of the charges diminishes the plausibility of innocent

explanations or denials from the Defendants.

         816.       Teva’s Further Denials of Liability Despite Its Purported Investigation of the Facts:

As set forth above, Teva repeatedly denied any involvement in collusive conduct during the Relevant

Period, and continues to do so. For example, on November 7, 2019, defendant Schultz stated during

an investor earnings conference call: “We have, of course, shared more than 1 million documents

with [the DOJ]. We’ve not found any evidence that we were in any way part of any structured

collusion or price fixing.” Such statements underscore that Defendants knew Teva was a central

actor in collusive conduct, or at a minimum, recklessly failed to review or check information they

had a duty to monitor that would have revealed that fact.

                    11.    Corporate Scienter

         817.       Teva possessed scienter by virtue of the fact that the Officer Defendants, who acted

with scienter as set forth above had binding authority over the Company. In addition, certain

allegations herein establish Teva’s corporate scienter based on: (i) the state of mind of employees

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whose intent can be imputed to the Company; and/or (ii) the knowledge of employees who approved

the statements alleged herein despite knowing the statements’ false and misleading nature.

         818.       It can be inferred that senior corporate executives at Teva possessed scienter such that

their intent can be imputed to the Company. For instance, in 2013, Galownia, Teva’s Senior

Director of Marketing who led Teva U.S.’s pricing department, knew of and discussed Teva’s new

Price-Hike Strategy at a quarterly “all-hands” meeting of the sales, customer service, finance, and

pricing groups. Given the nature of this strategy, that it required the involvement of numerous

divisions within Teva to implement, including the Operations department under U.S. COO

Cavanaugh and the Finance department under U.S. CFO Griffin, and that it had a material impact on

Teva’s financial statements, additional unknown executives sufficiently senior to impute their

scienter to Teva were also aware of the Price-Hike Strategy.

         819.       As yet unidentified employees also approved the false statements despite knowing of

their false and misleading nature. As discussed, Teva had in place extensive processes to track its

financial performance on a daily, quarterly, and yearly basis. From this, it can be inferred that

someone at Teva approved of the false and misleading statements in Teva’s financial statements

concerning the source of its generics profits, while knowing that the true source of the profits were

the Inflated Profit from the Price-Hike Strategy. Indeed, according to FE-2, “everyone” would have

known of price increases that had a material impact on Teva’s financial reporting for the U.S.

generics business. It can also be inferred that someone approved the false and misleading statements

that Teva was competing intensely on price, someone who knew of the Price-Hike Strategy, and that

it was largely dependent on a lack of competition.




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                    12.    The Officer Defendants Were Personally Motivated by
                           Compensation

         820.       The Officer Defendants made millions of dollars in personal compensation from the

reported success of the Company’s U.S. generics business during the Relevant Period. They

received cash bonuses of as much as 158% of their annual salaries based on performance metrics

directly impacted by the illicit revenues derived from fixing and maintaining prices, rigging bids,

and allocating customers and markets. Teva also made substantial equity grants to Oberman and

defendants Vigodman, Desheh, Olafsson, and likely other senior officers, including options to

purchase shares, awards of restricted shares, and awards of Performance Share Units (“PSUs”).

         821.       For 2014, Teva reported paying Oberman nearly $6.5 million in cash and nearly

$1 million in equity compensation. (He stepped down that year.) For 2015, Teva reported paying

defendant Desheh more than $1.8 million in cash and $1.7 million in equity compensation. (His

compensation was not disclosed for 2014 or 2016.) For 2015 and 2016, Teva reported paying

defendant Olafsson more than $4.8 million in cash and more than $3.5 million in equity

compensation. (His compensation was not disclosed for 2014.) For 2014 to 2016, Teva reported

paying defendant Vigodman more than $8.4 million in cash and more than $5 million in equity

compensation.

         822.       The Officer Defendants’ compensation structure incentivized fraud. The intent of the

Company’s Compensation Policy for Executive Officers and Directors (the “Compensation Policy”)

is stated, as follows:

         Teva aims to incentivize its executive officers by creating a strong link between their
         performance and compensation. Therefore, a significant portion of the total
         compensation package provided to Teva’s executive officers is based on measures
         that reflect both Teva’s short- and long-term goals and performance, as well as the
         executive officer’s individual performance and impact on shareholder value.




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         823.       A significant component of the Compensation Policy was the Company’s annual cash

bonus program. Teva described the bonuses as “strictly pay-for-performance . . . as payout

eligibility and levels are determined based on actual financial and operational results, as well as

individual performance.” While the Compensation Policy laid out the general parameters of the

bonus program, it gave Teva’s Board and its Compensation Committee some flexibility to alter the

measurements used to award cash bonuses year-to-year.

                           a.      2014 Compensation

         824.       In 2014, Vigodman, Desheh, Oberman, and Olafsson received cash bonuses and

equity compensation based, in significant part, on Teva’s achievement of certain financial targets,

which were impacted by the revenues generated from the anti-competitive conduct and collusion.

         825.       According to the 2014 Form 20-F, more than 70% of Vigodman’s cash bonus was

tied to such financial targets (specifically, 35.4% for non-GAAP operating profit, 21.2% for non-

GAAP net revenue, and 14.2% for cash flow). He was entitled to a bonus of 140% of salary for

achieving 100% of the targets, and a maximum of 200% of salary if 125% of the targets were met.

         826.       Vigodman’s total reported compensation was nearly $4.5 million; he received a salary

of $1,183,888, a bonus of $1,868,477 (approximately 158% of salary), and a one-time bonus of

$237,401 for “significant achievements and efforts,” including Teva “strengthen[ing] its leading

position in generics.” He also was awarded options to purchase 280,702 shares at $41.05; a grant of

15,660 restricted shares; and a grant of 30,869 PSUs based on targets of cumulative non-GAAP

operating profit and cumulative non-GAAP net revenue from 2014 to 2016.

         827.       According to the 2014 Form 20-F, at least 50% of Oberman’s cash bonus also was

tied to such financial targets (specifically, 25% for non-GAAP operating profit, 15% for non-GAAP

net revenue, and 10% for cash flow). An additional 20% of his bonus was based on Teva’s generics



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business. He was entitled to a bonus of 100% of salary for achieving 100% of the targets, and a

maximum of 200% of salary if 120% of the targets were met.

         828.       Oberman’s total reported compensation of $7,337,661 made him the highest-paid

Teva executive for 2014, after being functionally replaced in July. Oberman received a salary of

$850,000, a cash bonus of $1,194,435 (approximately 140% of salary), and a cash severance of

$4,464,171 based primarily on the amounts of his salary and average bonuses for 2012 to 2014.

         829.       Because Olafsson and Desheh were not among Teva’s five highest paid executives in

2014, their salaries and cash bonuses were not disclosed (Olafsson joined Teva in July 2014).

Olafsson was awarded options to purchase 88,238 shares at a price of $54.02; a grant of 18,229

PSUs; and an additional grant of 17,773 PSUs based on Teva’s 2014 performance. Desheh was

awarded options to purchase 98,581 shares at a price of $48.76 and a grant of 20,066 PSUs.

                           b.     2015 Compensation

         830.       In 2015, defendants Vigodman, Desheh, and Olafsson received cash bonuses and

equity compensation based, in significant part, on Teva’s achievement of certain financial targets,

which were impacted by the revenue generated from the anti-competitive conduct and collusion.

         831.       According to the 2015 Form 20-F, more than 70% of Vigodman’s cash bonus was

tied to such financial targets (specifically, 35.4% for non-GAAP operating profit, 21.2% for non-

GAAP net revenue, and 14.2% for free cash flow). He was entitled to a bonus of up to 200% of

salary if 125% of the targets were met.

         832.       Vigodman’s total reported compensation was approximately $5.7 million; he received

a salary of $1,363,682 and a bonus of $2,253,581 (approximately 165% of salary). He also was

awarded options to purchase 163,859 shares at a price of $57.35 and a grant of 30,869 PSUs based

on Teva’s 2014 to 2015 cumulative performance.



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         833.       According to the 2015 Form 20-F, Desheh and Olafsson also were entitled to bonuses

based on such financial targets (specifically, 25% for non-GAAP operating profit, 15% for net

revenue, and 10% for free cash flow), in amounts of up to 200% of salary if 120% of the targets

were met.

         834.       Desheh’s total reported compensation was approximately $4.3 million; he received a

salary of $733,863 and a bonus of $1,110,824 (approximately 151% of salary). He also was

awarded options to purchase 89,376 shares at a price of $57.35 and a grant of 16,838 PSUs.

         835.       Olafsson’s total reported compensation was approximately $3.9 million; he received a

salary of $954,955 and a bonus of $1,449,375 (approximately 151% of salary). He also was

awarded options to purchase 94,343 shares at a price of $57.35; options to purchase an additional

160,114 shares at a price of $59.19 “[i]n light of the increase in . . . scope of work and

responsibilities as head of . . . Global Generics Medicines Group in connection with the Actavis

acquisition”; and a grant of 17,773 PSUs based on Teva’s 2014 to 2015 cumulative performance.

         836.       Teva’s ADS price reached a high of $72 on July 27, 2015, making the potential value

of the Officer Defendants’ 2014 and 2015 options quite significant at the height of the alleged

fraudulent scheme. However, because Teva was a “foreign private issuer” during the Relevant

Period, it was not required to report insider sales and, therefore, it is unknown whether these Officer

Defendants, or any other insider, engaged in suspicious trading activity. Evidence of insider trading,

if any, could be obtained in discovery.

         N.         Loss Causation

         837.       In addition to the allegations herein concerning the direct and proximate causal link

between Defendants’ wrongful conduct and the economic harm suffered by Plaintiffs, set forth

below are Plaintiffs’ additional allegations of loss causation.



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         838.       As alleged in §III.O, Presumption of Reliance and Fraud-on-the-Market Doctrine, the

market for Teva’s ADSs, ordinary shares, Preferred Shares, and Notes was open, well developed,

and efficient at all relevant times. As a result of Defendants’ fraudulent scheme, the prices of Teva

securities were artificially inflated and/or maintained during the Relevant Period and, thus, investors

who purchased or otherwise acquired those securities did so at artificially inflated prices.

         839.       Between August 2016 and May 2019, as a series of negative events and disclosures

began to reveal, on a piecemeal basis, the false and misleading nature of Defendants’ statements and

omissions, the artificial inflation leaked out, at least in part, and the value of Teva securities

declined, causing economic harm to investors.

         840.       As a result of Defendants’ wrongful conduct, Teva’s ADS price, for example, which

steadily increased from the start of the Relevant Period to an all-time high of $72 per ADS in

July 2015, fell to less than $11.30 per ADS, reducing Teva’s market capitalization by close to

$50 billion as the truth leaked out. Similarly, the ordinary shares dropped from an all-time high of

ILS 27,120 to ILS 4,026. The Company has experienced dislocation and uncertainty due to the

abrupt departures of three top executives and ongoing disruption and fallout from numerous criminal

and civil investigations and litigations. Teva’s credit ratings have been downgraded to one level

above “junk,” and it may be forced to sell assets to reduce debt. In addition, Teva cut its profit

forecast for 2017, cut its dividend, and warned investors that it risks breaching debt covenants.

         841.       These negative events and disclosures were directly related to Defendants’ fraudulent

scheme. As detailed herein, during the Relevant Period, Defendants made false and misleading

statements and engaged in a scheme that artificially inflated the price of Teva securities. Defendants

misled investors about Teva’s financial health and performance and its prospects for future financial

success by concealing the details of its collusive conduct and Price-Hike Strategy, maintaining that

Teva was not subject to the pricing pressures that finally came to bear on the U.S. generic drug

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market, and overstating goodwill and failing to make timely impairments. Throughout the Relevant

Period, Defendants denied their involvement in the alleged unlawful conduct in the generics market,

denied that Teva’s results were driven by generic drug price increases, and maintained the illusion

that Teva faced “intense competition” and that the Company’s positive results were based on other

factors, such as cost-cutting and organic growth from new products.

         842.       By concealing, among other things, the collusive conduct, the Price-Hike Strategy,

that the strategy was driving known material trends, and that as the strategy failed and pricing

competition increased Teva’s financial condition was deteriorating, Defendants also concealed the

numerous and related risks associated with their false statements and omissions, including but not

limited to:

         •          The strategy was highly risky and not sustainable, and as the strategy failed, Teva’s
                    profits would collapse;

         •          By their nature, especially when done in tandem with competitors, price hikes might
                    appear to arise from anti-competitive and/or collusive conduct and, thus, draw the
                    attention of government investigators and law enforcement agencies, precipitating
                    possible legal actions, civil liabilities, and criminal sanctions;

         •          Should the collusive activity or the Price-Hike Strategy come under public,
                    legislative, or law enforcement scrutiny, the viability of sustaining the Inflated Profit
                    and/or implementing new price hikes would be severely undermined, and would
                    thereby undercut a major driver of the generics segment’s profit;

         •          If pricing pressure or competition increased, Teva would be far more susceptible to a
                    rapid and material decline in the Inflated Profit, resulting in poor financial results and
                    undercutting reported and forecasted profits;

         •          Upon the failure of the Price-Hike Strategy, the Company could be further disrupted
                    by the termination of the senior managers who were responsible for the strategy and
                    by any increased difficulty in hiring qualified replacements;

         •          As the Price-Hike Strategy in fact failed over time and Teva was prevented from
                    making additional price increases, Teva’s Inflated Profit declined; and

         •          Teva’s goodwill was overstated by billions of dollars.




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         843.       Beginning in August 2016, the concealed risks began to materialize through a series

of negative events and disclosures that revealed, on a piecemeal basis, the false and misleading

nature of the Defendants’ Relevant Period statements and omissions. None of these negative events

or disclosures was sufficient, on its own, to fully remove the inflation from the prices of Teva

securities because each only partially revealed the scope and consequence of the fraudulent scheme.

Despite the leakage of these partially corrective events and disclosures, the prices of Teva securities

remained artificially inflated, and were prevented from declining to their true value. As Plaintiffs

continued to hold Teva securities, and/or purchased or acquired those securities, the artificial

inflation caused them further injury when additional information was revealed. The corrective effect

of each new piece of information was tempered by Defendants’ continuing efforts to conceal the true

risks and conditions arising from Teva’s involvement in anti-competitive conduct and collusion,

improper financial reporting and disclosures, and Teva’s true financial and business condition.

                    1.     August 4-5, 2016

         844.       After trading on August 4, 2016, Teva filed the 2Q2016 Form 6-K, reporting second

quarter 2016 results, including a $434 million decline in revenue in the U.S. generics segment

compared to the second quarter of 2015. This marked the beginning of the leakage of corrective

information to investors. However, Defendants misleadingly attributed Teva’s disappointing

financial results to the loss of exclusivity on certain drugs and a decline in sales in others; they did

not fully reveal Teva’s anti-competitive conduct and collusion, improper financial reporting and

disclosures, and Teva’s true financial and business condition.

         845.       The 2Q2016 Form 6-K disclosed for the first time that: (i) “[o]n June 21, 2015, Teva

USA received a subpoena from the Antitrust Division of the United States Department of Justice

seeking documents and other information relating to the marketing and pricing of certain of Teva

USA’s generic products and communications with competitors about such products”; and (ii) “[o]n

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July 12, 2016, Teva USA received a subpoena from the Connecticut AG seeking documents and

other information relating to potential state antitrust law violations.” The disclosure of the

Subpoenas was the first indication to the market that Defendants were implicated in the DOJ’s and

State AGs’ antitrust investigations.

         846.       The 2Q2016 Form 6-K falsely and misleadingly stated that Teva had received its DOJ

subpoena on June 21, 2015 (around the time other generic drug companies received and disclosed

similar subpoenas, e.g., Actavis received a DOJ subpoena on June 25, 2015), when Teva had

actually received its DOJ subpoena on June 21, 2016 (as revealed in the 3Q2016 Form 6-K filed

with the SEC on November 15, 2016 without any explanation for the correction).

         847.       As a result of this new negative information, the next trading day, the prices of Teva

securities declined. The ADS price fell $1.24 per share, or 2.24%, from a close of $55.45 on

August 4, 2016 to a close of $54.21 on August 5, 2016, on high trading volume. Teva’s market

capitalization was reduced by approximately $1.13 billion. Similarly, the Preferred Shares price fell

$12 per share, or 1.32% from a close of $907 on August 4, 2016 to a close of $895 on August 5,

2016.

                    2.     November 3-6, 2016

         848.       During trading on the NYSE on November 3, 2016, new information was revealed to

the market regarding the DOJ investigation into Teva’s marketing and pricing of generic drugs. On

that day, Bloomberg published an article, titled “U.S. Charges in Generic-Drug Probe to Be Filed by

Year End,” which described the DOJ’s “sweeping” two-year investigation of suspected price

collusion involving more than a dozen generic pharmaceutical companies, including Teva. The

article broke news of a grand jury probe, reporting that the first criminal charges against executives

of those companies could emerge by the end of the year. This indicated to the market that Teva and

its executives were likely targets of the federal antitrust investigation, and that the investigation had

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found evidence of criminal conduct, despite Defendants’ repeated statements regarding “intense

competition” in the generics market and an overall decline in price on the Company’s generics

portfolio. The Bloomberg article also revealed that the Connecticut AG might file a civil complaint

against Teva and other generics companies.

         849.       Investors and analysts reacted to this new negative news. For instance, analysts at

S&P Capital IQ lowered their rating of Teva’s ADSs from “buy” to “hold,” and Fierce Pharma

reported that analysts believed the investigation could have a sizeable financial impact on Teva,

estimated to be as much as $700 million.

         850.       As a result of this new negative information, Teva’s ADS price fell $4.13 per share,

or 9.53%, from $43.33 on November 2, 2016 to $39.20 on November 3, 2016, on high trading

volume. Teva’s market capitalization was reduced by approximately $4 billion. Similarly, the

Preferred Shares, 2026 Notes, and 2046 Notes prices fell from $767.50 to $711.00 (7.36% decline),

$97.03 to $95.68 (1.39% decline), and $92.34 to $88.97 (1.0% decline), respectively, from

November 2, 2016 to November 3, 2016.

         851.       The next trading day on the TASE, Teva ordinary shares fell ILS 710, or 4.5%, from

ILS 16,040 on November 3, 2016 to ILS 15,330 on November 6, 2016.

                    3.     November 15, 2016

         852.       Before the open of trading on the NYSE on November 15, 2016, Teva filed a press

release on Form 6-K with the SEC, reporting third quarter 2016 revenues below consensus

expectations. During an investor conference call that day, defendant Olafsson explained the poor

financial reporting was a result of pricing pressures, stating that, despite his past denials that Teva

was exposed to pricing pressure, or even observed such pressure, price erosion in Teva’s U.S.

generics business had, in fact, been approximately 7%, as compared to the 5% that Olafsson had just

recently stated. While Defendants acknowledged that pricing pressure was impacting profits, they

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attributed these negative results to the divestiture of certain generic products related to the Actavis

acquisition, and continued to conceal Teva’s anti-competitive conduct and collusion, unsustainable

Price-Hike Strategy, improper financial reporting and disclosures, and Teva’s true financial and

business condition.

         853.       During the same conference call, defendant Vigodman announced that Teva had set

aside $500 million in provisions as it was in settlement discussions with the DOJ and the SEC to

resolve their FCPA investigations relating to conduct involving Russia, Mexico and Ukraine.

         854.       In addition, defendant Vigodman directly addressed the DOJ investigation into price

collusion in the generic drug industry that had been in the news that month, emphasizing that, “based

on all of our efforts to date, internal and external . . . we are not aware of any fact that would give

rise to an exposure to Teva with respect to the investigation.” These denials tempered the impact of

the corrective information and implied that Defendants, and specifically defendant Vigodman, had

knowledge of and/or had made a meaningful inquiry into the underlying facts and had not ignored

obvious signs of Teva’s anti-competitive conduct and collusion, improper financial reporting and

disclosures, and Teva’s true financial and business condition.

         855.       As a result of this new negative information, investors and analysts reacted

negatively. For instance, analysts at Jefferies reported that their view of the Company had changed

and downgraded Teva’s ADSs from “buy” to “hold.”

         856.       The price of Teva’s ADSs fell $3.43 per share, or 8.36%, from $41.03 on

November 14, 2016 to $37.60 on November 15, 2016, on high trading volume. The ordinary share

price also declined ILS 720, or 4.6%, from a close of ILS 15,710 on November 14, 2016 to a close of

ILS 14,990 on November 15, 2016. Teva’s market capitalization was reduced by approximately

$3 billion. Similarly, the Preferred Shares price fell from $728.00 to $689.99, a 5.22% decline, from

November 14, 2016 to November 15, 2016.

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                    4.     December 5-6, 2016

         857.       After trading on December 5, 2016, Teva filed a Form 6-K, announcing that

defendant Olafsson would leave the Company and had been replaced, effective immediately, as

President and CEO of Teva’s Global Generic Medicines Group. The Form 6-K did not offer any

explanation for Olafsson’s departure and said only that he was “retiring,” even though he was only in

his late 40s.

         858.       Olafsson’s abrupt exit, less than two-and-a-half years after his appointment to lead the

newly formed Global Generic Medicines Group, surprised the market, and analysts tied Olafsson’s

termination to the apparent rise of pricing pressure. For instance, TheStreet.com reported that

Olafsson’s resignation “rais[ed] more questions for investors” about the drug pricing allegations

against Teva. Analysts at Morningstar, in a December 6, 2016 report, noted that:

         Teva’s announcement that Dipankar Bhattacharjee will replace Siggi Olafsson as
         CEO of the generics segment does not inspire confidence. Recent pricing pressure in
         the generic drug market and anticipated generic competition on the 40mg version of
         Copaxone in 2017 remain significant near-term challenges for Teva, which makes
         the abrupt leadership change a concerning development at a critical time for the
         company.

BTIG analysts, in a report dated December 5, 2016, further noted that “[w]ithout Siggi [Olafsson] at

the helm of Teva’s global generic segment, we think investor sentiment could worsen as the market

has remained focused on price erosion for the [Company’s] base generics business.” Other analysts

were concerned his departure suggested that there may be something “going on internally in the

generics business” that had not been disclosed. (Citi analyst question at December 8, 2016 Citi

Global Healthcare Conference; Piper Jaffray analyst report on December 6, 2016).

         859.       As a result of this new negative information, on the next trading day, Teva’s ADS

price fell $2.01 per share, or 5.43%, from a close of $37.04 on December 5, 2016 to a close of

$35.03 on December 6, 2016, on high trading volume. The ordinary share price also declined


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ILS 690, or 4.91%, from a close of ILS 14,050 on December 5, 2016 to a close of ILS 13,360 on

December 6, 2016. Teva’s market capitalization was reduced by approximately $1.84 billion.

Similarly, the Preferred Shares and 2046 Notes prices fell from $657.01 to $630.75 (4.00% decline)

and $86.94 to $85.76 (1.36% decline), respectively, from December 5, 2016 to December 6, 2016.

                    5.     December 14, 2016

         860.       During trading on the NYSE on December 14, 2016, the DOJ announced in a press

release that it had charged (by information) Glazer and Malek, the former CEO and former President

of Heritage, for their roles in conspiracies to fix prices, rig bids, and allocate customers for certain

generic drugs, namely Doxycycline (as early as April 2013 until at least December 2015) and

Glyburide (as early as April 2014 until at least December 2015). Teva was the dominant market

participant in the Glyburide market and a major player in the market for Doxycycline through its

acquisition of Actavis during the Relevant Period.

         861.       The DOJ further stated that the charges resulted from an ongoing federal antitrust

investigation into price fixing, bid rigging and other anti-competitive conduct relating to generic

drugs and marked “an important step” in ensuring true competition among companies “at a price set

by the market, not by collusion.”

         862.       Two-count felony charges for violations of §1 of the Sherman Antitrust Act against

Glazer and Malek also were unsealed that day, alleging the following in sum and substance:

         •          Various corporations and individuals participated as co-conspirators in the offenses
                    and performed acts and made statements in furtherance thereof;

         •          The defendants and co-conspirators knowingly entered into and engaged in a
                    combination and conspiracy with other persons and entities engaged in the
                    production and sale of generic drugs, including Doxycycline and Glyburide, the
                    primary purpose of which was to allocate customers, rig bids, and fix and maintain
                    prices of those drugs sold in the United States; and

         •          For the purpose of forming and carrying out the charged combination and
                    conspiracy, the defendants and co-conspirators, among other things, participated in

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                    meetings and communications to discuss the sale of and to allocate customers or rig
                    bids for the drugs; agreed not to compete against each other for certain customers;
                    submitted bids, withheld bids, and issued proposals in accordance with their
                    agreements; and sold the drugs at collusive and noncompetitive prices.

         863.       In a felony case, an information outlining probable cause may be filed where the

accused has waived indictment and has agreed, instead, to plead guilty. Various news outlets,

including Bloomberg, confirmed that Glazer and Malek were preparing to plead guilty and that their

cooperation could lead to charges against executives at other drug companies.

         864.       As a result of this new negative information, Teva’s ADS price fell $0.66 per share,

or 1.75%, from a close of $37.66 on December 13, 2016 to a close of $37.00 on December 14, 2016.

Teva’s market capitalization was reduced by approximately $710 million. Similarly, the Preferred

Shares, 2026 Notes, and 2046 Notes prices fell from $673.00 to $660.00 (1.93% decline), $91.99 to

$91.10 (0.97% decline), and $85.13 to $83.81 (1.55% decline), respectively, from December 13,

2016 to December 14, 2016.

                    6.     December 15-18, 2016

         865.       During trading on the NYSE on December 15, 2016, Connecticut AG Jepsen

announced that he and 19 other State AGs had filed a federal lawsuit for violation of §1 of the

Sherman Antitrust Act against Teva USA and five other drug companies (Heritage, Aurobindo,

Citron, Mayne, and Mylan), alleging that they had entered into illegal conspiracies to unreasonably

restrain trade, artificially inflate and manipulate prices, and reduce competition for Doxycycline

Hyclate and Glyburide.

         866.       The press release stated that portions of the complaint were redacted “to avoid

compromising the ongoing investigation” as to “a number of additional generic drugs”:

                 In July 2014, the state of Connecticut initiated [a non-public] investigation of
         the reasons behind suspicious price increases of certain generic pharmaceuticals.
         The investigation, which is still ongoing as to a number of additional generic drugs,
         uncovered evidence of a well-coordinated and long- running conspiracy to fix prices

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         and allocate markets for doxycycline hyclate delayed release and glyburide. In
         today’s lawsuit, the states allege that the misconduct was conceived and carried out
         by senior drug company executives and their subordinate marketing and sales
         executives.

                 The complaint further alleges that the defendants routinely coordinated their
         schemes through direct interaction with their competitors at industry trade shows,
         customer conferences and other events, as well as through direct email, phone and
         text message communications. The anticompetitive conduct – including efforts to fix
         and maintain prices, allocate markets and otherwise thwart competition – caused
         significant, harmful and continuing effects in the country’s healthcare system, the
         states allege.

                  The states further allege that the drug companies knew that their conduct was
         illegal and made efforts to avoid communicating with each other in writing or, in
         some instances, to delete written communications after becoming aware of the
         investigation. The states allege that the companies’ conduct violated the federal
         Sherman Act and are asking the court to enjoin the companies from engaging in
         illegal, anticompetitive behavior and for equitable relief, including substantial
         financial relief, to address the violations of law and restore competition.

         867.       Connecticut led the multistate group of plaintiff states, which included Delaware,

Florida, Hawaii, Idaho, Iowa, Kansas, Kentucky, Louisiana, Maine, Maryland, Massachusetts,

Minnesota, Nevada, New York, North Dakota, Ohio, Pennsylvania, Virginia, and Washington.

         868.       As Forbes reported that day, the complaint revealed new information regarding

Teva’s potential exposure relating to two generic drugs, in that it “makes clear which companies

could be implicated in the antitrust investigation federal prosecutors are pursuing” and that Glazer

and Malek were cooperating; according to the publicly available complaint, Malek had a direct

relationship with an unnamed Teva employee and the two agreed to raise the prices of Glyburide.

         869.       As a result of this new negative information, the prices of Teva securities continued to

decline. Teva’s ADS price fell $0.27 per share, or 0.73%, from a close of $37.00 on December 14,

2016 to a close of $36.73 on December 15, 2016. Teva’s market capitalization was reduced by

approximately $274 million. Similarly, the Preferred Shares, 2026 Notes, and 2046 Notes prices fell

from $660.00 to $655.00 (0.76% decline), $91.10 to $90.81 (0.32% decline), and $83.81 to $83.69

(0.15% decline), respectively, from December 14, 2016 to December 15, 2016.
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         870.       The next trading day on the TASE, the ordinary share price fell ILS 140, or 0.98%,

from a close of ILS 14,240 on December 15, 2016 to a close of ILS 14,100 on December 18, 2016.

                    7.     January 6-8, 2017

         871.       Before the open of trading on the NYSE on January 6, 2017, Teva filed a press

release on Form 6-K announcing a significant reduction in 2017 guidance, far below market

expectations, due to previously unannounced poor performance and increased competitive pricing

pressures in the market. The press release quoted defendant Vigodman, who stated that “[t]he entire

healthcare sector has faced significant headwinds, and we have not been immune.” Defendants thus

acknowledged for the first time that Teva had suffered greatly from competitive pressures such as

pricing, a fact that they had denied vehemently until that point. As explained by an analyst at

Morningstar in a January 6, 2017 report, entitled “Teva Previews Weak Year on Competitive

Pressures and Currency Headwinds,” “Teva’s management lowered its 2017 outlook from its

previous forecast released in July [2016, at the time of the Notes Offering] as the firm succumbs to

increased competitive pressure, especially in the U.S. generics market.”

         872.       Indeed, analysts at Piper Jaffray wrote that the disclosure “further erod[ed] what in

[their] view was already limited management credibility.” The analysts rhetorically questioned

“how is it possible that 2017 EPS guidance was cut by as much as 18% within the space of six

months with largely the same senior management in place?”

         873.       That day, certain of the Officer Defendants hosted a “business outlook” conference

call, during which defendant Vigodman stated that there was an EBITDA gap of $1.2 billion

emanating from Teva’s U.S. generics business. He attributed the majority of that gap to delayed

product launches. Defendants continued to conceal, at least in part, the collusive practices in Teva’s

U.S. generics business, including bid rigging, price fixing, and market and customer allocation, as

well as pricing pressure due to the weakening of the collusion.

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         874.       Investors and analysts reacted to the new negative news. For instance, TheStreet

reported that Teva’s ADS prices “plummeted” due to the lowered 2017 guidance.

         875.       As a result of this new negative information, the prices of Teva securities continued to

decline. That day, Teva’s ADS price fell $2.86 per share, or 7.53%, from a close of $37.96 on

January 5, 2017 to a close of $35.10 on January 6, 2017, on high trading volume. Teva’s market

capitalization was reduced by approximately $3 billion. Similarly, the Preferred Shares, 2026 Notes,

and 2046 Notes prices fell from $680.00 to $633.00 (6.91% decline), $93.33 to $92.30 (1.10%

decline), and $87.96 to $86.11 (2.11% decline), respectively, from January 5, 2017 to January 6,

2017.

         876.       The next trading day on the TASE, the ordinary share price fell ILS 790, or 5.49%,

from a close of ILS 14,390 on January 5, 2017 to a close of ILS 13,600 on January 8, 2017.

                    8.     August 3-7, 2017

         877.       Before the open of trading on the NYSE on Thursday, August 3, 2017, Teva filed a

press release on Form 6-K announcing lower-than-expected second quarter 2017 results due to poor

performance in its U.S. generics business and “accelerated price erosion and decreased volume due

mainly to customer consolidation, greater competition as a result of an increase in generic drug

approvals by the U.S. FDA, and some new product launches that were either delayed or subject to

more competition.”

         878.       The Company also disclosed a net earnings loss primarily as a result of a $6.1 billion

goodwill impairment charge related to its U.S. generics unit – which consisted of both Teva legacy

and Actavis generics business.

         879.       This disclosure revealed that Teva’s business was facing significant and permanent

pricing pressure. As Bloomberg reported that day, “Pharma Giant Teva’s Stock Is Imploding As

Generic Drugs Get Cheaper.” Deutsche Bank analysts reported in an August 3, 2017 report that

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“TEVA described increased pressures on its US generic business, which it believes could persist in

2018 and potentially 2019.” Defendants until then had vehemently denied that Teva was susceptible

to such pricing pressure.

         880.       As a result of this new negative information, Teva’s ADS price fell $7.50 per share,

or 24%, from a close of $31.25 on August 2, 2017 to a close of $23.75 on August 3, 2017, on high

trading volume. The ordinary share price also declined ILS 1,980, or 17.79%, from a close of

ILS 11,130 on August 2, 2017 to a close of ILS 9,150 on August 3, 2017. Teva’s market

capitalization was reduced by approximately $8 billion. Similarly, the Preferred Shares, 2026 Notes,

and 2046 Notes prices fell from $560.50 to $465.05 (17.03% decline), $95.27 to $93.76 (1.58%

decline), and $90.73 to $88.91 (2.00% decline), respectively, from August 2, 2017 to August 3,

2017.

         881.       On Friday, August 4, 2017, Fitch Ratings also downgraded Teva to BBB- (one step

above junk), with a negative outlook. As a result of the news on August 3 and 4, Teva’s ADS price

continued to fall by an additional $3.15 per share, or 13.26%, from a close of $23.75 on August 3,

2017 to a close of $20.60 on August 4, 2017, on high trading volume. Teva’s market capitalization

was reduced by approximately $3.3 billion. Similarly, the Preferred Shares, 2026 Notes, and 2046

Notes prices fell from $465.05 to $409.00 (12.05% decline), $93.76 to $92.03 (1.85% decline), and

$88.91 to $85.86 (3.43% decline), respectively, from August 3, 2017 to August 4, 2017.

         882.       The next trading day on the TASE, the ordinary share price continued to fall by

ILS 2,022, or 22.10%, from a close of ILS 9,150 on Thursday, August 3, 2017 to a close of

ILS 7,128 on Sunday, August 6, 2017.

         883.       The next trading day, Monday, August 7, 2017, as the prices of Teva securities

continued to drop, Morgan Stanley analysts downgraded Teva’s ADSs to “Underweight,” noting

specifically that they had “underappreciated the risk of generics pricing pressure to Teva’s earnings

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and dividend, and we expect Teva to continue to underperform given overhangs.” In other words,

the analysts had been led to believe through Defendants’ repeated and adamant denials that Teva was

not vulnerable to the pricing pressure.

         884.       As a result of the news on August 7, 2017, Teva’s ADS price continued to fall by an

additional $2.01 per share, or 9.76%, from a close of $20.60 on August 4, 2017 to a close of $18.59

on August 7, 2017, on high trading volume. Teva’s market capitalization was reduced by

approximately $2.2 billion. Similarly, the Preferred Shares, 2026 Notes, and 2046 Notes prices fell

from $409.00 to $376.00 (8.07% decline), $92.03 to $91.40 (0.68% decline), and $85.86 to $84.97

(1.04% decline), respectively, from August 4, 2017 to August 7, 2017.

         885.       The ordinary share price also continued to fall by ILS 18, or 0.25%, from a close of

ILS 7,128 on Sunday, August 6, 2017 to a close of ILS 7,110 on Monday, August 7, 2017.

         886.       In total, over these three trading days, Teva’s ADS price fell $12.66 per share, or

40.6%; its ordinary share price fell ILS 4,020, or 36.2%; Preferred Shares price fell $184.50, or

32.9%; 2026 Notes price fell $3.86, or 4.1%; and 2046 Notes price fell $5.76, or 5.4%. Teva’s

market capitalization was reduced by approximately $13 billion.

                    9.     November 2, 2017

         887.       On November 2, 2017, Teva filed its 3Q2017 Form 6-K, reporting the Company’s

third quarter 2017 financial results, including a 9% decline in U.S. Generic Medicine quarterly

revenues compared to the third quarter of 2016. The decrease was misleadingly attributed to

“pricing declines resulting from customer consolidation into larger buying groups and accelerated

FDA approvals for additional generic versions of competing off-patent medicines as well as volume

decline of methylphenidate extended-release tablets (Concerta® authorized generic) due to the

launch of a competing product.”



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         888.       Investors and analysts reacted negatively to this news. Analysts at Cowen and

Company called the Company’s full year guidance “unfavorable” and stated that, with a “difficult

generic pricing environment and competitive pressures – which are not being properly offset by new

product launches – the Teva business model is now upside down.” Analysts at RBC Capital Markets

stated that the results were even “below our cautious expectations,” and that the “magnitude of

weakness in the US generics business in both revenue and margins was surprising.” Wells Fargo

Securities analysts found Teva’s results to be “especially disappointing.”

         889.       As a result of this new negative information, the prices of Teva securities declined.

The ADS price fell $2.79 per share, or nearly 20%, from a close of $14.02 on November 1, 2017 to a

close of $11.23 on November 2, 2017, on high trading volume. Teva’s market capitalization was

reduced by approximately $3 billion. Similarly, the Preferred Shares, 2026 Notes, and 2046 Notes

prices fell from $288.01 to $239.57 (16.82% decline), $88.54 to $85.47 (3.47% decline), and $80.03

to $77.22 (3.51% decline), respectively, from November 1, 2017 to November 2, 2017.

         890.       The next trading day on the TASE, Teva’s ordinary shares fell ILS 670, or 13.65%,

from a close of ILS 4,908 on Wednesday, November 1, 2017 to a close of ILS 4,238 on Thursday,

November 2, 2017.

                    10.    February 8, 2018

         891.       On February 8, 2018, Teva issued a press release announcing its fourth quarter and

full year financial results, including a staggering $17.1 billion goodwill impairment mainly related to

its generics business for 2017. On the conference call with investors held later that day, Teva

explained that $11 billion of the impairment “related to our U.S. generics business as well as

additional impairments of other long-lived assets of $3.2 billion, mainly related to a revaluation of

generic products acquired from Actavis.”



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         892.       Investors and analysts reacted negatively to this news. Analysts at Wells Fargo

Securities stated that the Company missed consensus expectations “by a significant margin,” but

noted that:

         [W]e believe it will be the lower than consensus 2018 outlook that investors will be
         focused on, especially the commentary about generic pricing worsening in 4Q and
         the overall environment worsening for the value of future launches. Teva took a
         $17.1 billion goodwill impairment, which investors should see as reflective of how
         challenging the situation is.

BTIG analysts noted “another major write-down following last year’s $6B goodwill impairment.”

Similarly, IBI Brokerage stated that the $11 billion “impairment charge [was] almost entirely for the

generics business in the US” and that guidance for fiscal year 2018 was “way below market

expectations.”

         893.       As a result of this new negative information, the prices for Teva securities declined.

Teva’s ADS price fell $2.21 per share, or over 10.5%, from a close of $20.85 on February 7, 2018 to

a close of $18.64 on February 8, 2018, on high trading volume. Teva’s market capitalization was

reduced by approximately $2.3 billion. Similarly, the Preferred Shares, 2026 Notes, and 2046 Notes

prices fell from $360.25 to $352.00 (2.29% decline), $82.36 to $81.28 (1.30% decline), and $74.99

to $74.06 (1.24% decline), respectively, from February 7, 2018 to February 8, 2018.

         894.       The next trading day on the TASE, the ordinary share price fell ILS 500, or 6.9%,

from a close of ILS 7,200 on February 7, 2018 to a close of ILS 6,700 on February 8, 2018.

                    11.    December 9-10, 2018

         895.       On December 9, 2018, an article in The Washington Post quoted statements from

Connecticut Assistant AG Joseph Nielsen that the State AG investigation had expanded to at least 16

companies and 300 drugs, and exposed “‘the largest cartel in the history of the United States.’”

While the article noted Teva’s continued denial of engaging in any anticompetitive conduct, and its

statement in a court filing that allegations of price-fixing conspiracy “‘are entirely conclusory and

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devoid of any facts,’” the price of Teva securities dropped substantially with the disclosure of the

State AGs’ expanded investigation.

         896.       Between the close of trading on December 7, 2018 (the last trading day before the

announcement) and the close of trading on December 10, 2018, the price of Teva’s ADS fell $0.97

per share or 5% to close at $18.44 and the price of the 2026 Notes fell $1.29, or 1.6%, to close at

$79.92. Similarly, the Preferred Shares, 2026 Notes, and 2046 Notes prices fell from $369.80 to

$353.40 (4.43% decline), $81.21 to $79.92 (1.59% decline), and $70.30 to $68.65 (2.35% decline),

respectively, from December 7, 2018 to December 10, 2018.

         897.       The next trading day on the TASE, the ordinary share price fell ILS 390, or 5.3%

from a close of ILS 7,300 on December 9, 2018 to a close of ILS 6,910 on December 10, 2018.

                    12.    May 10, 2019

         898.       On May 10, 2019, after the market closed, the State AGs filed a 467-page antitrust

complaint revealing previously undisclosed facts regarding Teva’s participation in the generic drug

price-fixing conspiracy. The May 2019 AG Complaint details Teva’s price-fixing with regards to at

least 86 different generic drugs, compared to just 7 drugs in the previously filed action. The

complaint further asserts that the Company implemented significant price increases for

approximately 112 generic drugs, including extraordinary price hikes of over 1,000%, and details

Teva’s role as a “consistent participant” and a central player in the conspiracy. Further, the

May 2019 AG Complaint names four Teva employees personally as defendants: Cavanaugh, Patel,

Green (Teva’s former Director of National Accounts), and Rekenthaler (Teva’s former Vice

President, Sales U.S. Generics).

         899.       On this news, the price of Teva’s ADS declined by 14.83%, from a closing price of

$14.36 on May 10, 2019, to a closing price of $12.23 on May 13, 2019. Similarly, the 2026 Notes



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and 2046 Notes prices fell from $82.57 to $80.71 (2.25% decline) and $70.35 to $69.65 (1.0%

decline), respectively, from May 10, 2019 to May 13, 2019.

         900.       The next trading day on the TASE, the ordinary share price fell ILS 559, or 10.7%

from a close of ILS 5,225 on May 7, 2019 to a close of ILS 4,666 on May 12, 2019.

         901.       Analysts were surprised by the revelations in the State AGs’ May 10, 2019 complaint.

For example, Bernstein warned that “[t]he price-fixing lawsuit is worse than we expected” and

“there seem to be specific cases in the lawsuit that are going to be hard to explain away.” J.P.

Morgan stated that “[w]e were open to the majority of price spikes being ‘explainable’ by way of

shortages, limited competition (only two or three competitors), and price ‘signaling,’ a grey area of

antitrust law. So we were sorely disappointed by the nature of the direct quotes attributed to Teva

employees in the expanded complaint.”

         O.         Presumption of Reliance and Fraud-on-the-Market Doctrine

         902.       There is a presumption of reliance established pursuant to the fraud-on-the-market

doctrine because, among other things:

                    (a)    Defendants made misrepresentations or omissions that were public;

                    (b)    the misrepresentations or omissions were material;

                    (c)    the misrepresentations or omissions would tend to induce a reasonable

investor to misjudge the value of Teva securities;

                    (d)    Teva securities traded in an efficient market; and

                    (e)    Plaintiffs traded in Teva securities between the time the misrepresentations or

omissions were made and the time when the truth was revealed.

         903.       At all relevant times, the market for Teva securities was efficient for the following

reasons, among others:



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                    (a)     Teva’s ADSs met the requirements for listing, and were listed and actively

traded on the NYSE, a highly efficient and automated market;

                    (b)     the average weekly trading volume of Teva securities was significant;

                    (c)     as a regulated issuer, Teva filed public reports with the SEC and the NYSE;

                    (d)     Teva was eligible to file simplified SEC filings;

                    (e)     Teva regularly communicated with the public through established market

communication channels, including through regular dissemination of news releases on major

newswire services and through other wide-ranging public disclosures, such as communications with

the financial press and other similar reporting services; and

                    (f)     numerous securities and credit analysts followed Teva and wrote reports that

were published, distributed, and entered the public market.

         904.       As a result of the foregoing, the market for Teva securities promptly digested current

information regarding the Company from all publicly available sources and reflected such

information in their prices. All purchasers of Teva securities during the Relevant Period suffered

similar injury through their purchases of Teva securities at artificially inflated prices, and a

presumption of reliance therefore applies.

         905.       In addition, or in the alternative, Plaintiffs are entitled to a presumption of reliance

pursuant to Affiliated Ute Citizens v. United States, 406 U.S. 128 (1972), and its progeny, because

the claims asserted herein are predicated in part upon omissions of material fact that Defendants had

a duty to disclose.

         P.         Inapplicability of the Statutory Safe Harbor or Bespeaks Caution
                    Doctrine

         906.       The statutory safe harbor and bespeaks caution doctrine applicable to forward-

looking statements under certain circumstances do not apply to any of the untrue or misleading


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statements alleged herein. First, the statements complained of herein concerned present or historical

facts or conditions that were existing or purported to exist at the time they were made. Second, the

statutory safe harbor does not apply to statements included in financial statements that purport to

have been prepared in accordance with GAAP. Further, to the extent that any of the untrue or

misleading statements alleged herein were identified as forward looking, and can be construed as

forward looking, the statements were not accompanied by meaningful cautionary statements

identifying important facts that could cause actual results to differ materially from those statements,

and the generalized disclosures made by Defendants were not sufficient to shield them from liability.

         907.       In the alternative, to the extent the statutory safe harbor otherwise would apply,

Defendants are liable for any untrue or misleading forward-looking statement complained of herein

because the person who made each such statement knew that the statement was false or misleading

and/or each such statement was made or approved by an executive officer of the Company who

knew that the statement was false or misleading.

IV.      INFLATED PROFIT METHODOLOGY

         908.       Teva did not disclose profits, revenues, or pricing for individual generic drugs, nor

was that information otherwise public. Counsel therefore undertook an investigation and engaged

econometric experts, working at counsel’s direction, to calculate and isolate the profit that Teva

earned from its Price-Hike Strategy. The investigation comprised multiple distinct econometric

analyses, including regression analyses, that ultimately took into account thousands of data points.

         909.       The analysis screened Teva’s entire generic drug portfolio during the Relevant Period

to identify significant WAC increases. The data was accessed via private, subscription-only

databases costing tens of thousands of dollars annually. Next, any price increases plausibly

connected to supply shortages or other economic anomalies were removed from the set.



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         910.       To isolate Inflated Profit for each drug, the analysis first determined the drug’s price

per unit had Teva not made the increase. To do so, the drug’s specific pricing history was analyzed

using a regression analysis to determine the price through the Relevant Period had prevailing drug-

specific pricing trends continued. The analysis further took into account CPI inflation for

prescription drugs and empirical measures of the trend in average pricing for prescription drugs over

the past five years.

         911.       Calculating Inflated Profit, i.e., the difference between Teva’s actual revenues (with

the price increase) and the revenues that would have been earned at each drug’s price without the

increase, involved accounting on a month-by-month basis for: (i) Teva’s sales quantities; and (ii) the

discounts and rebates, unique to each drug, that Teva would provide to customers, which varied over

time.

         912.       Sales volumes were derived by reference to figures reported in a subscription

database. Through another regression analysis, it was confirmed that the price and volume for each

drug exhibited no statistically meaningful relationship, meaning that as pricing changed, volume of

sales did not change.

         913.       Teva’s discounts and rebates are unavailable by any means of which counsel is aware.

Thus, the level of discounts and rebates was determined by analyzing, on a month-by-month basis

over the Relevant Period, multiple data points from a number of subscription and other industry

datasets that reflected average pricing and sales volume data. This analysis was unique for each drug

and captured fluctuations over time.




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V.       CLAIMS FOR RELIEF

                                                  COUNT I

              For Violation of §10(b) of the Exchange Act and Rule 10b-5
Against Teva and the Officer Defendants for ADS, Preferred Shares, and Notes Purchases

         914.       Plaintiffs repeat and reallege each and every allegation set forth above as if fully set

forth herein.

         915.       This Count is asserted against Teva and the Officer Defendants for violations of

§10(b) of the Exchange Act, 15 U.S.C. §78j(b), and Rule 10b-5 promulgated thereunder, 17 C.F.R.

§240.10b-5.

         916.       The defendants named in the Count disseminated or approved the false and

misleading statements specified above during the Relevant Period, which they knew, or deliberately

disregarded, were misleading in that they contained misrepresentations and failed to disclose

material facts necessary in order to make the statements made, in light of the circumstances under

which they were made, not misleading.

         917.       Teva and the Officer Defendants violated §10(b) of the Exchange Act and Rule 10b-5

in that they: (a) employed devices, schemes, and artifices to defraud; (b) made untrue statements of

material fact or omitted to state material facts necessary in order to make the statements made, in

light of the circumstances under which they were made, not misleading; and/or (c) engaged in acts,

practices, and a course of business that operated as a fraud or deceit upon Plaintiffs in connection

with their purchases of Teva securities during the Relevant Period.

         918.       Teva and the Officer Defendants, individually and in concert, directly or indirectly,

by the use of the means or instrumentalities of interstate commerce or of the mails, and by the use of

the facilities of a national securities exchange with respect to Teva securities, engaged in a

continuous course of conduct that operated as a fraud and deceit, or otherwise used or employed

manipulative or deceptive devices or contrivances, which were intended to and did: (i) deceive the
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investing public, including Plaintiffs, regarding, among other things, Teva’s participation in illegal

anti-competitive activities; (ii) artificially inflate and/or maintain the market price of Teva securities;

and (iii) cause Plaintiffs to purchase Teva securities at artificially inflated prices, and thereby suffer

losses when the truth was revealed.

         919.       Teva and the Officer Defendants are liable for all materially false and misleading

statements made during the Relevant Period, as alleged above.

         920.       As set forth above, Teva and the Officer Defendants acted with the requisite scienter

in that they acted either with intent to deceive, manipulate, or defraud, or with recklessness. The

misrepresentations and omissions of material facts set forth herein, which presented a danger of

misleading buyers or sellers of Teva securities, were either known to these defendants or were so

obvious that these defendants should have been aware of them.

         921.       Plaintiffs suffered damages as a result of Teva’s and the Officer Defendants’

wrongful conduct in that they purchased or otherwise acquired Teva securities at artificially inflated

prices in reliance on (i) these defendants’ untrue or misleading statements or omissions of material

fact and/or (ii) the integrity of the market. Plaintiffs would not have purchased or otherwise acquired

Teva securities at the prices they paid, or at all, had they been aware that those prices were

artificially inflated and/or maintained as a result of the wrongful conduct alleged herein.

         922.       As a direct and proximate result of Teva’s and the Officer Defendants’ wrongful

conduct, Plaintiffs suffered damages attributable to the material misstatements and omissions alleged

herein in connection with their purchases of Teva securities during the Relevant Period.




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                                                 COUNT II

                         For Violation of §20(a) of the Exchange Act
       Against the Officer Defendants for ADS, Preferred Shares, and Notes Purchases

         923.       Plaintiffs repeat and reallege each and every allegation set forth above as if fully set

forth herein.

         924.       This Count is asserted against the Officer Defendants pursuant to §20(a) of the

Exchange Act, 15 U.S.C. §78t(a).

         925.       During their tenures as officers and/or directors of Teva, the Officer Defendants were

controlling persons of the Company, within the meaning of §20(a) of the Exchange Act, and were

culpable participants in the alleged wrongful conduct that is the basis of Count I.

         926.       The Officer Defendants, by virtue of their control and authority as officers and/or

directors of Teva and their direct participation in and/or awareness of the Company’s operations and

finances, possessed the power and authority to, and did, direct or cause the direction of the

management and policies of the Company and its employees, or otherwise cause the Company to

engage in the alleged wrongful conduct that is the basis of Count I.

         927.       The Officer Defendants were able to and did control, directly and indirectly, the

content of the public statements made by Teva during the Relevant Period, including its materially

misleading financial statements, thereby causing the dissemination of the false and misleading

statements and omissions of material facts as alleged herein.

         928.       In their capacities as senior corporate officers of the Company, and as more fully

described above, the Officer Defendants had direct involvement in the day-to-day operations of the

Company, in reviewing and managing its regulatory and legal compliance, and in its accounting and

reporting functions. The Officer Defendants regularly spoke on behalf of the Company and had the

power to, and did, control, directly or indirectly, the decision-making of the Company. The Officer


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Defendants signed the Company’s SEC filings during the Relevant Period, and/or were directly

involved and responsible in providing false and misleading information and certifying and approving

the false and misleading statements disseminated by Teva during the Relevant Period. The Officer

Defendants were also directly responsible for controlling, and did control, the Company’s violations

of GAAP and other relevant accounting rules, and were directly involved in providing false and

misleading information and certifying and approving the false statements disseminated by Teva

during the Relevant Period. As a result of the foregoing, the Officer Defendants, as a group and

individually, were controlling persons of Teva within the meaning of §20(a) of the Exchange Act.

          929.      As set forth above, Teva violated §10(b) of the Exchange Act and Rule 10b- 5; as

controlling persons of the Company, each of the Officer Defendants is liable jointly and severally for

such violation, with and to the same extent as the Company. Moreover, as detailed above, during the

respective times the Officer Defendants served as officers and/or directors of Teva, each of these

Officer Defendants was culpable for the material misstatements and omissions made by Teva. As a

direct and proximate result of these Officer Defendants’ conduct, Plaintiffs suffered damages in

connection with their purchase or acquisition of Teva securities.

                                                 COUNT III

                         For Violation of §§1-402(c) and 1-501(c) of the PSA
                       Against All Defendants for All Teva Securities Purchases

          930.      Plaintiffs repeat and reallege each and every allegation set forth above as if fully set

forth herein.

          931.      This Count is asserted against Defendants (Teva, Teva USA, and the Officer

Defendants) for violations of §§1-402(c) and 1-501(c) of the PSA, 70 Pa. Stat. §§1-402(c) & 1-

501(c).




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         932.       Defendants directly and/or indirectly, for the purpose of inducing the purchase of

Teva securities by others, participated in the circulation and/or dissemination of misrepresentations

and omissions of material facts to the effect that the price of the security would or was likely to rise.

During the Relevant Period, Defendants sold or offered to sell Teva securities, or received

consideration, directly or indirectly, from a person who sold or offered to sell Teva securities.

         933.       Pennsylvania is “the factual center” of this action. Galmi, ECF No. 37-1, at 6. In two

separate securities cases, Teva moved to transfer venue to the Eastern District of Pennsylvania from

the Central District of California. See, e.g., Galmi, ECF No. 37-1. In support of its motion, Teva

submitted a sworn declaration from Austin D. Kim (“Kim”), its Vice President and Deputy General

Counsel, Corporate/M&A, who detailed the substantial connections between this District and the

events giving rise to this lawsuit. Galmi, ECF No. 37-2 (“Kim Declaration”). The false statements

“were prepared in Pennsylvania and Israel.” See Galmi, ECF No. 37-1, at 6; see also Kim

Declaration, ¶5 (“Individuals, myself included, who participated in drafting and preparing [the

relevant SEC] filings, or who otherwise controlled the drafting process, are located in or around

Petach Tikva, Israel and North Wales, Pennsylvania.”). And “[s]everal departments, including

investor relations and sales and marketing for the North American generic medicines business, are

based at the Pennsylvania offices. In addition, all sales, marketing, and finance executives with

responsibility for U.S. generics pricing are based in Pennsylvania.”              Kim Declaration, ¶4.

Documents related to this case – “e.g., materials related to Teva USA, drug pricing and U.S.

Competitors . . . are located in Pennsylvania, or, if not there, [in] Israel.” Id., ¶3. Furthermore,

Teva’s Vice President and Deputy General Counsel, Corporate/M&A, Kim, “also live[s] and work[s]

in Pennsylvania,” and Teva USA’s headquarters and principal executive offices are located at 1090

Horsham Road, North Wales, Pennsylvania, 19454.” Id., ¶¶1, 3-4.



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         934.       Defendants willfully participated in the acts and transactions that caused the

circulation and/or dissemination of misrepresentations and omissions of material facts.

         935.       Defendants are liable for all materially false and misleading statements made during

the Relevant Period, as alleged above.

         936.       Defendants acted with the requisite scienter in that they acted either with intent to

deceive, manipulate, or defraud, or with recklessness. The misrepresentations and omissions of

material fact set forth herein were either known to Defendants or were so obvious that Defendants

should have been aware of them.

         937.       Plaintiffs suffered damages as a result of Defendants’ wrongful conduct in that they

purchased or otherwise acquired Teva securities at artificially inflated prices in reliance on

Defendants’ untrue or misleading statements or omissions of material fact and/or the integrity of the

market.

         938.       As a direct and proximate result of Defendants’ wrongful conduct, Plaintiffs suffered

damages.

                                                 COUNT IV

                         For Violation of the Israel Securities Law, 1968,
            Against All Defendants for Ordinary Share Purchases Made on the TASE

         939.       Plaintiffs repeat and reallege each and every allegation set forth above as if fully set

forth herein.

         940.       Throughout the Relevant Period, Teva’s ADSs and ordinary shares were “dual listed”

on both the NYSE and the TASE under Israeli law. 28

         941.       Israeli securities law provides unique treatment for securities of certain firms that are

“dual listed,” i.e., available for trading on both the TASE and the national U.S. stock markets. For

28
   See http://www.tase.co.il/eng/marketdata/stocks/marketdata/pages/marketdata.aspx (last visited
Apr. 26, 2019).

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dual-listed firms incorporated in Israel, Israeli law applies the reporting requirements (including the

anti-fraud provisions) of the country of primary listing. See Israel Securities Law, 1968 (“Securities

Law”), §§1, 35T, 35DD, 35EEE.

         942.       Section 1 of the Securities Law defines a “foreign corporation” as “a corporation

incorporated in Israel whose securities are listed for trade on a foreign stock exchange.” The NYSE

is a “foreign stock exchange” under the Securities Law. Because Teva is incorporated in Israel and

has its securities, such as the ADSs, listed for trading on the NYSE, it is a “foreign corporation”

under the Securities Law. Therefore, the TASE correctly recognizes Teva as a dual-listed company.

         943.       For “foreign corporations” that are dual listed in the United States, Israeli law applies

the reporting requirements (including the anti-fraud requirements) of the United States. See

Securities Law §§35T, 35EE.

         944.       Section 1 of the Securities Law defines “the foreign law” as “the law applying to a

foreign corporation because its securities are listed for trade on a foreign stock exchange, including

the rules of that foreign stock exchange.” A “foreign corporation” must agree to comply with the

foreign law as a matter of Israeli law. See Securities Law §35T(a)(1). Indeed, a foreign corporation,

like Teva, generally only needs to file its U.S. SEC filings in Israel (without further alteration or

translation) in order to comply with Israeli reporting requirements. As a matter of Israeli securities

law, Teva agreed to comply with the U.S. securities laws and the rules of the NYSE to fulfill its

obligations under Israeli law.

         945.       Accordingly, to construe the propriety of Teva’s disclosures to investors, Israel

applies U.S. laws and regulations, including the anti-fraud provisions of the U.S. securities laws, to

enforce disclosure obligations for dual-listed stocks. See Securities Law, §§35T, 35DD, 35EE;

Verifone Holdings, Inc. v. Stern, Class Action 3912-01-08, decision rendered Nov. 16, 2008; Stern v.

Verifone Holdings, Inc., Class Action 3912-01-08, decision rendered Aug. 25, 2011 (subsequent to

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and in light of Morrison v. Nat’l Austl. Bank Ltd., 561 U.S. 247 (2010)); Letter from Israel Securities

Authority to the SEC (Feb. 18, 2011), https://www.sec.gov/comments/4-617/4617-45.pdf (last

visited Apr. 26, 2019).

         946.       In a Motion to Dismiss the Class Action Complaint filed on December 1, 2017, in

Ontario Teachers’ Pension Plan Board v. Teva Pharm. Indus. Ltd., No. 3:17-cv-00558-SRU

(D. Conn.), Teva, Vigodman, Desheh, Altman, Oberman, Olafsson, Peterburg, and Bhattacharjee

         agree[d] that Israeli law mirrors U.S. law here. The Israeli dual-listing regime was
         purposefully created in 2000 to make the Tel Aviv Stock Exchange more attractive to
         Israeli companies (like Teva) who otherwise might list their securities only on
         exchanges outside of Israel. See generally, e.g., Marcus Best & Jean-Luc Soulier,
         Israel §21.1, International Securities Law Handbook (4th ed. 2014). Because issuers
         find it unattractive to be subject to multiple and diverging regulatory regimes, Israel
         simply adopts the securities law requirements of the foreign jurisdiction – in this
         case, the United States – instead of enforcing “requirements that apply to Israeli
         companies listed solely on the TASE.” Id. As Plaintiffs acknowledge, both Israeli
         case law and the Israel Securities Authority’s public statements support the view that,
         as a matter of Israeli law, Israel voluntarily applies U.S. liability standards to dual-
         listed companies like Teva. Compl., ¶1084; see In re VeriFone Holdings, Inc. Sec.
         Litig., No. 07-cv-06140 EMC, 2014 WL 12646027, at *1 (N.D. Cal. Feb. 18, 2014)
         (noting, in case involving securities fraud claims under Israeli law and a dual-listed
         company, that “the Israeli district court ruled twice that U.S. law, and not Israeli law,
         applies”).

         947.       This Count incorporates Counts I and II under the Exchange Act by reference

VI.      SECURITIES ACT ALLEGATIONS

         A.         Securities Act Parties

                    1.     Securities Act Plaintiffs

         948.       Plaintiffs purchased or otherwise acquired Teva’s ADSs, Preferred Shares, and Notes

in or pursuant to and/or traceable to the Offerings. For instance, on and/or around the December 3,

2015 offering date and at the $62.50 offering price, Plaintiffs purchased Teva’s ADS (SEDOL:

2883878), which are listed on the NYSE, in the ADS Offering.

         949.       As a result of material misstatements and omissions made by the Securities Act

Defendants (defined below), Plaintiffs purchased or otherwise acquired Teva securities at artificially
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inflated prices. When the relevant truth concerning the Securities Act Defendants’ misstatements

and omissions of material fact leaked out into the market from August 2016 to May 2019, the price

of Teva securities fell, causing Plaintiffs to suffer losses.

                    2.     The Securities Act Defendants

         950.       Each of the following defendants is statutorily liable under §§11, 12(a)(2) and/or 15

of the Securities Act for the material misstatements and omissions contained in and incorporated

(and thereby made anew) in the Offering Materials.

         951.       Defendant Teva was the issuer of the ADSs, Preferred Shares, and Notes. Teva also

caused its wholly-owned special purpose finance subsidiary Teva Finance to issue the Notes in the

Notes Offering and unconditionally guaranteed the payment of all principal and interest payable on

the Notes.

         952.       Defendant Teva Finance also issued the Notes in the Notes Offering. Teva Finance, a

shell company that is a wholly-owned and controlled special purpose finance subsidiary of Teva, is a

Dutch private limited liability company with its business address at Piet Heinkade 107, 1019 GM

Amsterdam, Netherlands. Teva Finance does not have any independent operations and does not

purport to engage in any activities other than issuing securities and investing the proceeds in Teva or

its affiliates at the direction of Teva.

         953.       Defendant Vigodman signed the ADS/Preferred Registration Statement, Notes

Registration Statement, the Notes Registration Amendment No. 1, the Master Purchase Agreement,

and the 1Q2016 Form 6-K. He also signed and certified the 2014 Form 20-F and 2015 Form 20-F.

He also was, at all relevant times, a member of Teva’s Board at the time of the Offerings.

         954.       Defendant Desheh signed the ADS/Preferred Registration Statement, Notes

Registration Statement, the Notes Registration Amendment No. 1, the ADS Underwriting

Agreement, the Preferred Underwriting Agreement, the Notes Underwriting Agreement, the 2014

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Form 20-F, the 2015 Form 20-F, the 1Q2015 Form 6-K, the 2Q2015 Form 6-K, the 3Q2015 Form

6-K, the July 28, 2015 Form 6-K with the Master Purchase Agreement, the January 25, 2016 Form

6-K, and the 1Q2016 Form 6-K – documents filed with the SEC and incorporated by reference into

the ADS/Preferred Registration Statement and Notes Registration Statement.

         955.       Defendant Griffin signed the ADS/Preferred Registration Statement, Notes

Registration Statement, and Notes Registration Statement Amendment No. 1, and was at all relevant

times Teva’s SVP and Chief Accounting Officer (Principal Accounting Officer), the Authorized U.S.

Representative of Teva, and the Authorized U.S. Representative of Teva Finance.

         956.       Defendant Peterburg signed the ADS/Preferred Registration Statement, Notes

Registration Statement, and Notes Registration Statement Amendment No. 1, and was at all relevant

times Chairman of Teva’s Board.

         957.       Defendants Teva, Teva Finance, Vigodman, Desheh, Peterburg, and Griffin are

collectively referred to herein as the “Securities Act Defendants.”

         B.         The Relevant Offerings

         958.       On November 30, 2015, Teva filed with the SEC a Form 6-K and press release,

announcing that it was commencing two concurrent public offerings totaling approximately

$6.75 billion. These offerings consisted of approximately $3.375 billion worth of ADSs and

approximately $3.375 billion worth of Preferred Shares, and were announced pursuant to a

prospectus and related prospectus supplements constituting part of Teva’s shelf registration

statement on Form F-3 filed with the SEC on November 30, 2015 (the “ADS/Preferred Registration

Statement”). Each ADS represents one ordinary share of Teva. Likewise, on November 30, 2015,

Teva also filed with the SEC, pursuant to Rule 424(b)(5), the preliminary prospectus supplement for

the ADS Offering and the preliminary prospectus supplement for the Preferred Offering, each dated

November 30, 2015.

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         959.       On December 3, 2015, Teva filed with the SEC a Form 6-K, announcing the pricing

of the ADS/Preferred Offerings. That same day, Teva also filed with the SEC, pursuant to Rule

424(b)(5), the ADS Prospectus Supplement and the Preferred Prospectus Supplement and, pursuant

to Rule 433, a free writing prospectus and pricing term sheet, all dated December 2, 2015.

         960.       The ADS/Preferred Registration Statement, along with the base and preliminary

prospectus and related prospectus supplements constituting part of the ADS/Preferred Registration

Statement, including the ADS Prospectus Supplement and the Preferred Prospectus Supplement, and

the documents incorporated by reference therein, are sometimes referred to herein collectively as the

“ADS/Preferred Offering Materials.”

         961.       On December 8, 2015, Teva closed the ADS Offering and issued 54 million ADSs at

$62.50 per ADS and 3,375,000 Preferred Shares (7.00% mandatory convertible preferred shares,

nominal (par) value NIS 0.10 per share) at $1,000.00 per share. The Company’s net proceeds, after

estimated underwriting discounts, commissions, and offering expenses by Teva, were approximately

$3.29 billion from the ADS Offering and approximately $3.29 billion from the Preferred Offering,

for a total of approximately $6.58 billion.

         962.       Certain underwriters of the ADS Offerings exercised their options to purchase

additional ADSs and Preferred Shares to cover overallotments. Teva issued an additional 5.4 million

ADSs and an additional 337,500 Preferred Shares at the time of such purchases, on January 6, 2016.

As a result, Teva received an additional $329 million in net proceeds for the ADS Offering and an

additional $329 million in net proceeds for the Preferred Offering, for an aggregate of approximately

$3.62 billion for the ADS Offering and an aggregate of approximately $3.62 billion for the Preferred

Offering. As a result of the ADS Offering and the Preferred Offering, Teva raised a total of

approximately $7.24 billion.



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         963.       On July 12, 2016, Teva filed with the SEC a Form 6-K and, under Rule 433, a free

writing prospectus dated July 12, 2016, each of which announced a conference call and webcast to

provide a preliminary outlook for 2016-2019. On July 13, 2016, Teva filed with the SEC its Post-

Effective Amendment No. 1 to its shelf registration statement on Form F-3 (Registration Nos. 333-

201984, 333-201984-09), superseding the original base prospectus dated February 9, 2015 (the

“Notes Registration Statement”) and, under Rule 433, a free writing prospectus in the form of an

investor presentation titled “2016-2019 Preliminary Financial Outlook” dated July 13, 2016.

         964.       On July 18, 2016, Teva filed with the SEC, under Rule 424(b)(5), a preliminary

prospectus supplement for the Notes Offering dated July 18, 2016. Then, on July 19, 2016, Teva

filed with the SEC, pursuant to Rule 424(b)(5), its final prospectus supplement (together with the

preliminary prospectus supplement, the “Notes Prospectus Supplements”) and, under Rule 433, two

free writing prospectuses, all dated July 18, 2016.

         965.       The Notes Registration Statement, along with the base and preliminary prospectus

and related prospectus supplements constituting part of the Notes Registration Statement, including

the Notes Prospectus Supplements, and the documents incorporated by reference therein, are

sometimes referred to herein collectively as the “Notes Offering Materials.”

         966.       On July 21, 2016, Teva consummated, through Teva Finance, its special purpose

finance subsidiary, the offering of $3.5 billion in 3.150% Senior Notes due 2026 and $2 billion of

4.100% Senior Notes due 2046 (collectively, the “Notes” and the “Notes Offering”). The payment

of principal and interest was unconditionally guaranteed by Teva. After underwriting discounts and

estimated offering expenses payable by the Company, Teva’s net proceeds from the Notes Offering

were approximately $5.44 billion.




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         C.         Teva Filings Incorporated into the Offering Materials

         967.       The ADS/Preferred Registration Statement, the ADS Prospectus Supplement, and the

Preferred Prospectus Supplement incorporated by reference various documents that Teva had

previously filed with the SEC and all §§13(a), 13(c), 14 or 15(d) reports or documents filed by Teva

subsequent to the dates of the ADS/Preferred Registration Statement, the ADS Prospectus

Supplement, and the Preferred Prospectus Supplement until the ADS Offering and the Preferred

Offering was complete. Specifically, the ADS/Preferred Registration Statement and the ADS

Prospectus Supplement incorporated by reference Teva’s 2014 Form 20-F, 1Q2015 Form 6-K,

2Q2015 Form 6-K, 3Q2015 Form 6-K, the July 28, 2015 Form 6-K with the Master Purchase

Agreement, the ADS Underwriting Agreement, and the Preferred Underwriting Agreement.

         968.       The Notes Registration Statement and the Notes Prospectus Supplements

incorporated by reference various documents that Teva had previously filed with the SEC and all

§§13(a), 13(c), 14 or 15(d) reports or documents filed by Teva subsequent to the dates of the Notes

Registration Statement and the Notes Prospectus Supplements, until the Notes Offering was

completed. Specifically, the Notes Prospectus Supplements incorporated by reference the 2015

Form 20-F, the January 25, 2016 Form 6-K containing the Teva Corporate Social Responsibility

Highlights, the 1Q2016 Form 6-K, and the Notes Underwriting Agreement.

         969.       The ADS/Preferred Offering Materials and the Notes Offering Materials contained

material misstatements and omissions concerning: (i) the collusive activities and Price-Hike Strategy

and the benefits and risks stemming therefrom; (ii) the purported competitiveness of the U.S.

generics market and Teva’s relationship to that market; (iii) material trends that were not disclosed

under Item 5 of Form 20-F; (iv) the subpoenas issued to the Company by the DOJ and the State

AGs; (v) legal compliance; and (vi) the international bribery scheme that centered around Teva’s key

drug Copaxcone, as well as other topics discussed below. The statements and omissions contained

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in the ADS/Preferred Offering Materials and the Notes Offering Materials and the reasons why they

are materially misleading are described above in §III.K.

         D.         The Offering Materials Contained Material Misstatements and
                    Omissions

                    1.     Material Misstatements and Omissions Concerning Collusive
                           Activities and the Price-Hike Strategy and the Benefits and
                           Risks Stemming Therefrom

         970.       The ADS/Preferred Offering Materials and Notes Offering Materials contained

material misstatements and omissions concerning the attribution of the sources of Teva’s generics

segment’s revenues and profit during the Relevant Period. The statements and omissions contained

in the ADS/Preferred Offering Materials and Notes Offering Materials, and the reasons why they are

materially misleading, are described in §§III.K.2 and III.K.6.

         971.       In sum, the various financial disclosures regarding the sources of Teva’s generics

revenues and profits contained within the incorporated filings were materially misstated because

they failed to disclose collusive activities and the Price-Hike Strategy, pursuant to which Teva

implemented price hikes on a number of Teva’s generic drugs, generating a significant amount of the

Inflated Profit, including the Collusive Profit, as a result of those price hikes that was unsustainable,

while attributing the source of those profits to other sources and failing to disclose that they were

caused by concealed price hikes.

         972.       Teva failed to disclose the material risks associated with collusive activities and the

Price-Hike Strategy. Those material risks included: (i) increased public, legislative, and regulatory

scrutiny of generic drug price increases that undermined Teva’s ability to sustain the Inflated Profit

and Collusive Profit from price increases and/or implement further price increases; (ii) increased

legislative and law enforcement scrutiny that resulted in legal actions being taken against Teva;

(iii) increased competition from other generic manufacturers who undercut Teva’s raised prices as


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they themselves faced increased scrutiny; and (iv) significant disruption caused by the termination of

members of senior management who were responsible for the strategy, and the attendant resources

required to locate and hire suitably qualified replacements.

                    2.     Material Misstatements and Omissions Concerning Known
                           Trends Required to Be Disclosed Pursuant to Item 5 of
                           Form 20-F

         973.       The ADS/Preferred Offering Materials and the Notes Offering Materials, by

incorporating Teva’s 2014 Form 20-F and 2015 Form 20-F, respectively, contained material

misstatements and omissions in that they violated SEC Item 5 of Form F-20 by failing to disclose

two known trends. See §III.L, supra. The Securities Act Defendants failed to disclose the trend that

Teva’s financial success was materially dependent on collusive activities and the Price-Hike Strategy

and the attendant price increases on generic drugs that generated significant amounts of Collusive

Profit and Inflated Profit. These prices increases generated as much as $2.75 billion in profit for

Teva over the Relevant Period. Yet the existence of this trend and the related risks and uncertainties

surrounding its source and sustainability were concealed.

                    3.     Material Misstatements and Omissions Concerning
                           Competition in the U.S. Generics Market

         974.       The ADS/Preferred Offering Materials (by incorporating the 2014 Form 20-F, the

1Q2015 Form 6-K, the 2Q2015 Form 6-K, and the 3Q2015 Form 6-K) and the Notes Offering

Materials (by incorporating the 2015 Form 20-F and 1Q2016 Form 6-K) contained material

misstatements and omissions in that they, among other things, purportedly: (i) warned investors that

one of the primary risks that Teva faced was “intense” competition in the U.S. generics drug market,

and that this competition would force the price of generic drugs down; and (ii) described how Teva’s

competitive advantage was a “competitive pricing strategy” and the ability to launch new generics.




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These statements and omissions were materially misstated for all of the reasons described above in

§III.K.1.

                    4.     Material Misstatements and Omissions Concerning the DOJ
                           and State AGs’ Subpoenas

         975.       The Notes Offering Materials, including by incorporation of the 2015 Form 20-F,

contained material misstatements and omissions of material fact in that they failed to disclose Teva’s

receipt of subpoenas from the DOJ and Connecticut AG as set forth in §III.K.3.

                    5.     Material Misstatements and Omissions Concerning Legal
                           Compliance

         976.       The ADS/Preferred Offering Materials and Notes Offering Materials contained

material misstatements and omissions of material fact in that Teva and its subsidiary Teva USA were

not in compliance with laws and regulations. Teva’s undisclosed inflation of sales through collusive

price-fixing and market allocation were violations of U.S. antitrust laws and exposed the Company

to significant risk of prosecution by state and federal authorities, along with the attendant financial

and reputational harm as set forth in §III.K.7.

                    6.     Material Misstatements and Omissions Relating to the Bribery
                           Schemes

         977.       The ADS/Preferred Offering Materials and Notes Offering Materials contained

material misstatements and omissions of material fact in that Teva failed to disclose that the financial

results were impacted at least in part by the Company’s illegal scheme worldwide to influence the

governmental approvals of and prescriptive and purchase decisions concerning its key drug

Copaxone. These statements and omissions were materially misstated for all of the reasons

described above in §III.K.8.




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VII.     CLAIMS FOR RELIEF UNDER THE SECURITIES ACT

                                                 COUNT V

           For Violation of §11 of the Securities Act in Connection with the Offerings
       Against Defendants Teva, Teva Finance, Vigodman, Desheh, Peterburg and Griffin

         978.       Plaintiffs repeat and reallege each and every allegation above relating to the

Securities Act claims as if fully set forth herein.

         979.       Defendants’ liability under this Count is predicated on the participation of each of the

Securities Act Defendants in the Offerings pursuant to the ADS/Preferred Offering Materials and

Notes Offering Materials, which contained untrue statements and omissions of material fact.

         980.       This Count does not sound in fraud. Any allegations of fraud or fraudulent conduct

and/or motive are specifically excluded, except that any challenged statements of opinion or belief

made in connection with the Offerings are alleged to have been materially misstated statements of

opinion or belief when made and at the time of Offerings. For purposes of asserting this and their

other claims under the Securities Act, Plaintiffs do not allege that the Securities Act Defendants

acted with intentional, reckless or otherwise fraudulent intent.

         981.       This Count is brought pursuant to §11 of the Securities Act against defendants Teva,

Teva Finance, Vigodman, Desheh, Peterburg, and Griffin and arises out of Plaintiffs’ purchase or

acquisition of the securities pursuant and/or traceable to the Offerings. This Count is based solely in

strict liability and negligence. Teva was the issuer, within the meaning of §11 of the Securities Act,

pursuant to the ADS/Preferred Offering Materials and Notes Offering Materials.

         982.       The ADS/Preferred Offering Materials and Notes Offering Materials, at the time

when the relevant parts became effective, contained (and/or incorporated by reference) untrue

statements of material fact or omitted to state (and/or incorporated by reference documents that

omitted to state) material facts required to be stated therein or necessary to make the statements

therein not misleading.
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         983.       The defendants named in this Count issued or disseminated, caused to be issued or

disseminated, or participated in the issuance or dissemination of the ADS/Preferred Offering

Materials and Notes Offering Materials.

         984.       As the issuer of the Offerings, Teva is strictly liable for the actionable statements and

omissions in the ADS/Preferred Offering Materials and Notes Offering Materials.

         985.       As the issuer of the Notes Offering, Teva Finance is strictly liable for the actionable

statements and omissions in the Notes Offering Materials.

         986.       The other defendants named in this Count acted negligently in that none of them

conducted a reasonable investigation to ensure, or had reasonable grounds to believe at the time the

relevant parts became effective, that the statements contained in the ADS/Preferred Registration

Statement and the Notes Registration Statement were true and there was no omission of material fact

required to be stated therein or necessary to make the statements therein not misleading. These

defendants are liable for the actionable statements and omissions in the ADS/Preferred Registration

Statements and the Notes Registration Statement in that, among other things:

                   Vigodman, Desheh, Peterburg, and Griffin each signed the ADS/Preferred
                    Registration Statement and the Notes Registration Statement as a senior officer
                    and/or director of Teva; and

                   Vigodman and Peterburg were directors of the Company at the time of the filing of
                    the relevant parts of the ADS/Preferred Registration Statement and the Notes
                    Registration Statement with respect to which their liability is asserted.

         987.       When they acquired the securities in, pursuant, and/or traceable to the Offerings,

Plaintiffs did not know, nor in the exercise of reasonable care could they have known, of the untruths

or omissions contained (and/or incorporated by reference) in the ADS/Preferred Offering Materials

and Notes Offering Materials.

         988.       Plaintiffs suffered damages in connection with the purchase or acquisition of the

securities in, pursuant to, and/or traceable to the Offerings.

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                                                 COUNT VI

       For Violation of §12(a)(2) of the Securities Act in Connection with the Offerings
     Against Defendants Teva, Teva Finance, Vigodman, Desheh, Peterburg and Griffin

         989.       Plaintiffs repeat and reallege each and every allegation above relating to the

Securities Act claims as if fully set forth herein.

         990.       For the purposes of this Count, Plaintiffs assert only negligence claims, and expressly

exclude from this Count any allegations of fraud or reckless or intentional misconduct, except that

any challenged statements of opinion or belief made in connection with the Offerings are alleged to

have been materially misstated statements of opinion or belief when made and at the time of the

Offerings.

         991.       This claim is brought pursuant to §12(a)(2) of the Securities Act against Teva, Teva

Finance, Vigodman, Desheh, Peterburg, and Griffin on behalf of Plaintiffs who purchased securities

in, pursuant to, and/or traceable to the Offerings.

         992.       The defendants named in this Count offered, sold, and/or solicited the purchase of (or

assisted in the offer, sale, or solicitation of the purchase of) the securities, within the meaning of the

Securities Act, by means of a prospectus or oral communication.

         993.       The defendants named in this Count assisted in the planning of the Offerings and

actively participated in decisions regarding, among other things, the price of the securities and the

information contained in the ADS Prospectus Supplement, Preferred Prospectus Supplement, and

Notes Prospectus Supplements.

         994.       The ADS Prospectus Supplement, Preferred Prospectus Supplement, and Notes

Prospectus Supplements included (and/or incorporated by reference) untrue statements of material

fact and/or omitted to state (and/or incorporated by reference documents that omitted to state)




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material facts necessary in order to make the statements, in light of the circumstances under which

they were made, not misleading.

         995.       The defendants named in this Count acted negligently in that none of them exercised

reasonable care to ensure that the ADS Prospectus Supplement, Preferred Prospectus Supplement,

and Notes Prospectus Supplements did not include untrue or misleading statements or omissions of

material fact.

         996.       When they acquired the securities directly in, pursuant to, and/or traceable to the

Offerings, Plaintiffs did not know, nor in the exercise of reasonable care could they have known, of

the untruths or omissions contained (and/or incorporated by reference) in the ADS Prospectus

Supplement, Preferred Prospectus Supplement, and Notes Prospectus Supplements.

         997.       Plaintiffs suffered damages in connection with their purchases or acquisitions of the

securities in, pursuant to, and/or traceable to the Offerings.

         998.       By reason of the foregoing, the defendants named in this Count are liable to Plaintiffs

for either: (i) the consideration paid for the securities with interest thereon, less the amount of any

income received thereon, upon tender of such securities; or (ii) damages as to the securities no longer

owned.

                                                COUNT VII

           For Violation of §15 of the Securities Act in Connection with the Offerings
                Against Defendants Vigodman, Desheh, Peterburg and Griffin

         999.       Plaintiffs repeat and reallege each and every allegation above relating to the

Securities Act claims as if fully set forth herein, and expressly exclude from this Count any

allegations of fraud or intentional misconduct. This Count is based solely on negligence.

         1000. This Count is brought pursuant to §15 of the Securities Act against defendants

Vigodman, Desheh, Peterburg, and Griffin in connection with the Offerings on behalf of Plaintiffs


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who purchased or otherwise acquired the securities pursuant and/or traceable to the ADS/Preferred

Offering Materials and Notes Offering Materials and were damaged thereby. For purposes of this

Count, Plaintiffs assert only negligence claims and expressly disclaim any allegation of fraud or

intentional misconduct, except that any challenged statements of opinion or belief made in

connection with the Offerings are alleged to have been materially misstated statements of opinion or

belief when made and at the time of the Offerings.

         1001. During their tenures as officers and/or directors of the Company, Vigodman, Desheh,

Peterburg, and Griffin were controlling persons of Teva and Teva Finance, within the meaning of the

Securities Act.

         1002. The defendants named in this Count, by virtue of their positions of control and

authority and their direct participation in and/or awareness of Teva’s and Teva Finance’s operations

and finances, possessed the power to, and did, direct or cause the direction of the management and

policies of Teva, Teva Finance and their employees, or cause Teva and Teva Finance to issue, offer,

and/or sell securities pursuant to the defective ADS/Preferred Offering Materials and Notes Offering

Materials.

         1003. The defendants named in this Count had the power to, and did, control the decision-

making of Teva and Teva Finance, including the content and issuance of the statements contained

(and/or incorporated by reference) in the ADS/Preferred Offering Materials and Notes Offering

Materials. They were provided with or had unlimited access to copies of the ADS/Preferred

Offering Materials and Notes Offering Materials (and/or documents incorporated by reference)

alleged herein to contain actionable statements or omissions prior to and/or shortly after such

statements were issued, and had the power to prevent the issuance of the statements or omissions or

to cause them to be corrected. These defendants signed the ADS/Preferred Registration Statement

and the Notes Registration Statement (and/or certain of the Company’s SEC filings incorporated by

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reference therein) and were directly involved in or responsible for providing the false or misleading

information contained in the ADS/Preferred Offering Materials and Notes Offering Materials (and/or

documents incorporated by reference therein) and/or certifying and approving that information.

         1004. The defendants named in this Count acted negligently in that none of them exercised

reasonable care to ensure, or had reasonable grounds to believe, that the ADS/Preferred Offering

Materials and Notes Offering Materials were true and not misleading as to all material facts and did

not omit to state any material fact required to be stated therein or necessary to make to the statements

therein not misleading.

         1005. Plaintiffs suffered damages in connection with the purchase or acquisition of the

securities in, pursuant to, and/or traceable to the Offerings.

                                         PRAYER FOR RELIEF

         WHEREFORE, Plaintiffs respectfully pray for relief and judgment as follows:

         A.         Declaring and determining that Defendants violated the Exchange Act, Securities Act,

PSA and Israel Securities Law, 1968 by reason of the acts and omissions alleged herein;

         B.         Awarding Plaintiffs compensatory damages against all Defendants, jointly and

severally, in an amount to be proven at trial together with prejudgment interest thereon;

         C.         Awarding Plaintiffs reasonable costs and expenses incurred in this action, including

but not limited to, attorneys’ fees and costs incurred by consulting and testifying expert witnesses;

         D.         Awarding rescission or a rescissory measure of damages; and

         E.         Granting such other and further relief as the Court deems just and proper.




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                                         JURY DEMAND

         Plaintiffs hereby demand a trial by jury.

DATED: May 28, 2020                              ROBBINS GELLER RUDMAN
                                                  & DOWD LLP
                                                 CHAD JOHNSON


                                                                s/ Chad Johnson
                                                               CHAD JOHNSON

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                                                 ERIC I. NIEHAUS
                                                 ANGEL P. LAU
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                                      MOTLEY RICE LLC
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                                      860/882-1682 (fax)
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                                      mjasinski@motleyrice.com

                                      Attorneys for Plaintiffs Harel Pension and
                                      Provident Ltd., et al. and Phoenix Insurance
                                      Company Ltd., et al.




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                                                                   APPENDIX A
                                                                Teva WAC Increases


                                          Drug Name / Form            Wtd. Avg.
                                                                      Increase
                                                      April 4, 2014
                                          Ketoconazole                 250%
                                          Tablets
                                          Bumetanide Tablets           249%                                Parallel Price Increases Indicated in     Orange
                                          Cephalexin                   111%
                                          Oral Suspension
                                          Nystatin Tablets             110%
                                          Ketoconazole                 108%
                                          Cream
                                          Hydroxyzine                   94%
                                          Pamoate Capsules
                                          Cyproheptadine                93%
                                          HCL Tablets
                                          Dicloxacillin Tablets         91%
                                          (1st of 2)
                                          Theophylline                  75%
                                          Anhydrous SR Tabs
                                          Anagrelide HCL                58%
                                          Capsules (1st of 2)
                                          Estazolam Tablets             37%
                                          (1st of 2)
                                                    April 15, 2014                  Drug Name / Form       Wtd. Avg.
                                                                                                           Increase
                                          Baclofen Tablets             381%                 January 28, 2015
     Drug Name / Form         Wtd. Avg.              July 1, 2014                   Fluoxetine HCL           608%
                              Increase                                              Tablets
               July 3, 2013               Fluocinonide
                                          .05% Cream              435%              Propranolol Tablets        447%
     Oxybutynin Chloride       812%       Fluocinonide            415%              Glimepiride Tablets        312%
     Tablets                              .05% Ointment
                                          Fluocinonide                              Ciprofloxacin HCL
     Nadolol Tablets           786%       .05% Gel                255%              Tablets                    194%

     Fluconazole Tablets       218%               August 28, 2014                   Penicillin v Potass.       91%
                                                                                    Oral Sol. (1st of 2)
     Methotrexate                         Carbamazepine                             Nortryptyline HCL
     Sodium Tablets            163%       Tablets                      1543%        Capsules                   91%
     Cimetidine Tablets        151%       Carbamazepine                270%         Estradiol Tablets          90%
     (1st of 3)                           Chewable Tablets
                                          Enalapril Maleate                         Ketoprofen Capsules
     Prazosin Capsules         118%       Tablets (2nd of 2)           230%         (2nd of 3)                 90%
     Ranitidine HCL            115%       Clotrimazole Topical         164%         Danazol Capsules           90%
     Tablets                              Solution (1st of 2)
               July 19, 2013                                                        Ketorolac Trometh.
                                          Flutamide Capsules           140%         Tablets (2nd of 2)         90%
     Enalapril Maleate     316%           Meperidine HCL               110%         Methyldopa Tablets         90%
     Tablets (1st of 2)                   Tablets
              August 9, 2013              Penicillin V Potass.                      Diltiazem HCL
                                          Tablets                      100%         Tablets                    90%
     Doxazosin Mesylate        305%       Nefazodone Tablets            90%         Carbidopa/                 50%
     Tablets                              (1 of 2)                                  Levodopa Tablets
                                                                                    Griseofulvin
     Etodolac Tablets          282%       Mexiletine Capsules           90%         Oral Suspension            50%
     Pravastatin Sodium        175%       Cromolyn Sodium               90%                    July 29, 2015
     Tablets                              Inhalant (1st of 2)
     Ketoprofen Capsules                  Desmopressin                              Fluoxetine HCL                                                   Wtd. Avg.
     (1st of 3)                168%       Acetate Tablets               75%         Oral Solution              275%       Drug Name / Form           Increase
     Etodolac SR Tablets        96%       Fosinopril Tablets            70%         Dipyridamole               98%                   April 6, 2016
                                                                                    Tablets
     Tolmetin Sodium                      Megestrol Acetate                                                               Anagrelide HCL
     Capsules (1st of 3)        91%       Tablets                       55%         Trazodone Tablets          77%        Capsules (2nd of 2)          27%
     Clemastine                 90%       Diclofenac Potass.            50%         Loperamide HCL             68%        Penicillin v Potass.         26%
     Fumarate                             Tablets (2nd of 2)                        Capsules (2nd of 2)                   Oral Sol. (2nd of 2)
     Diltiazem HCL                        Cimetidine Tablets                        Clotrimazole Topical                  Nefazodone Tablets
     Tablets                    71%       (2nd of 3)                    29%         Solution (2nd of 2)        65%        (2nd of 2)                   25%
     Ketorolac Trometh.         34%       Tolmetin Sodium               25%         Cimetidine Tablets         54%        Tolmetin Sodium              25%
     Tablets (1st of 2)                   Capsules (2nd of 3)                       (3rd of 3)                            Capsules (3rd of 3)
     Diclofenac Potass.                   Loperamide HCL                            Estazolam Tablets                     Cromolyn Sodium
     Tablets (1st of 2)         22%       Capsules (1st of 2)           22%         (2nd of 2)                 50%        Inhalant (2nd of 2)          24%




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                                     APPENDIX B
                              Trade Shows and Conferences


Trade Shows and Conferences
    MEETING / CONFERENCE
              DATE                CORPORATE ATTENDEES         INDIVIDUAL ATTENDEES, INCLUDING:
            LOCATION
NACDS Annual Meeting          ○   Teva                  Teva
April 30-May 3, 2011          ○   Allergan                  ○ Theresa Coward, Senior Director of
Scottsdale, AZ                ○   Par                           National Sales & Trade Relations
                              ○   Perrigo                   ○ Maureen Cavanaugh, Chief Operating
                              ○   Sandoz                        Officer, North America Generics
                              ○   Taro                      ○ Jonathan Kafer, VP Sales and Marketing
                              ○   Apotex                    ○ Robert Cunard, VP, Sales
                              ○   Aurobindo             Allergan
                              ○   Dr. Reddy’s               ○ Andrew Boyer, EVP, Commercial
                              ○   Fougera                       Operations
                              ○   Glenmark                  ○ Sigurdur Olafsson, President
                              ○   Impax                     ○ Michael Baker, Executive VP, Trade Sales
                              ○   Mylan                         and Development
                              ○   Sun                       ○ Paul Bisaro, President and Chief Executive
                              ○   Zydus                         Officer
                                                            ○ Michael Reed, Executive Director, Trade
                                                                Relations
                                                            ○ Paul Reed, Senior Director, Trade Sales
                                                                and Operations
                                                            ○ John Shane, Director, Trade Relations
                                                            ○ Allan Slavsky, Sales Consultant
                                                        Par
                                                            ○ Paul Campanelli, President & CEO (Endo)
                                                            ○ Michael Altamuro, Commercial Operations
                                                                & Marketing
                                                            ○ Renee Kenney, Senior Advisor, Generic
                                                                Sales
                                                        Perrigo
                                                            ○ Sharon Kochan, Executive VP & GM,
                                                                Perrigo Pharmaceuticals
                                                            ○ Richard McWilliams, Senior VP & General
                                                                Manager
                                                            ○ Jim Tomshack, Senior VP, Sales
                                                            ○ John Wesolowski, Executive VP, President,
                                                                RX
                                                        Sandoz
                                                            ○ Don DeGolyer, Chief Executive Officer
                                                                and Board Director
                                                            ○ Jeff George, Division Head and CEO
                                                            ○ Steven Greenstein, Director, Key
                                                                Customers
                                                            ○ Armando Kellum, VP, Sales & Marketing
                                                            ○ Paul Krauthauser, Senior VP, Commercial
                                                                Operations
                                                            ○ Della Lubke, Director, National Accounts
                                                        Taro
                                                            ○ Jim Kedrowski, Interim CEO
                                                            ○ Jim Josway, VP, RX Sales
                                                            ○ Bill Seiden, Senior VP, U.S. Sales &
                                                                Marketing




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    MEETING / CONFERENCE
              DATE                      CORPORATE ATTENDEES         INDIVIDUAL ATTENDEES, INCLUDING:
            LOCATION
HDMA 2011 Business and Leadership   ○   Teva                  Teva
Conference                          ○   Allergan                  ○ Theresa Coward, Senior Director of
June 6-7, 2011                      ○   Par                          National Sales
Phoenix, AZ                         ○   Sandoz                    ○ Jonathan Kafer, VP Sales & Marketing
                                    ○   Apotex                    ○ Robert Cunard, VP, Sales
                                    ○   Dr. Reddy’s               ○ Andrew Boyer, Senior VP, Generic Sales
                                    ○   Fougera                      and Marketing
                                    ○   Lannett                   ○ Kevin Green, National Account Manager
                                    ○   Mylan                     ○ Jessica Peters, National Account Manager
                                    ○   Sun                       ○ Allan Slavsky, VP Sales
                                    ○   Zydus                 Allergan
                                                                  ○ Michael Baker, EVP, Trade Sales and
                                                                     Development
                                                                  ○ John Shane, Director, Trade Relations
                                                              Par
                                                                  ○ Michael Altamuro, Commercial Operations
                                                                     & Marketing
                                                                  ○ Renee Kenney, Senior Advisor, Generic
                                                                     Sales
                                                                  ○ Sandra Bayer, National Accounts Manager
                                                              Sandoz
                                                                  ○ Steven Greenstein, Director, National
                                                                     Accounts
                                                                  ○ Armando Kellum, Director, Contracts &
                                                                     Pricing
                                                                  ○ Paul Krauthauser, Director, National
                                                                     Accounts
                                                                  ○ Della Lubke, Director, National Accounts
                                                                  ○ Rich Tremonte, VP, Sales & Marketing
NACDS 2011 Pharmacy & Technology    ○   Teva                  Teva
Meeting                             ○   Allergan                  ○ Theresa Coward, Senior Director Sales &
August 27-30, 2011                  ○   Par                          Trade Relations
Boston, MA                          ○   Perrigo                   ○ Maureen Cavanaugh, Chief Operating
                                    ○   Sandoz                       Officer, North American Generics
                                    ○   Taro                      ○ Robert Cunard, VP, Sales
                                    ○   Apotex                    ○ Christine Baeder, SVP, Customer and
                                    ○   Aurobindo                    Marketing Operations
                                    ○   Dr. Reddy’s               ○ Kevin Green, Associate VP, National
                                    ○   Fougera                      Accounts
                                    ○   Glenmark                  ○ Teri Mauro Sherman, Director, National
                                    ○   G&W Laboratories             Accounts
                                    ○   Heritage                  ○ Jessica Peters, Director, Trade Operations
                                    ○   Lannett                   ○ David Rekenthaler, VP, Sales
                                    ○   Mylan                 Allergan
                                    ○   Sun                       ○ Andrew Boyer, EVP, Commercial
                                    ○   West-Ward                    Operations
                                    ○   Zydus                     ○ Sigurdur Olafsson, Chief Executive Officer
                                                                  ○ Allan Slavsky, Sales Consultant
                                                                  ○ Napoleon Clark, VP Marketing
                                                                  ○ Anthony Giannone, Executive Director,
                                                                     Sales
                                                                  ○ Ara Aprahamian, VP, Sales & Marketing
                                                                  ○ Michael Dorsey, Director, National
                                                                     Accounts
                                                                  ○ Michael Perfetto, Chief Commercial
                                                                     Officer, Generic RX/OTC, US and Canada
                                                              Par
                                                                  ○ Paul Campanelli, President & CEO (Endo)
                                                                  ○ Michael Altamuro, Commercial Operations
                                                                     & Marketing

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    MEETING / CONFERENCE
           DATE                CORPORATE ATTENDEES         INDIVIDUAL ATTENDEES, INCLUDING:
         LOCATION
                                                         ○ Jon Holden, VP, Sales
                                                         ○ Renee Kenney, Senior Advisor, Generic
                                                             Sales
                                                         ○ Karen O’Connor, VP, National Accounts
                                                         ○ Sandra Bayer, Sr. Director, National
                                                             Accounts
                                                     Perrigo
                                                         ○ Sharon Kochan
                                                         ○ John Wesolowski
                                                         ○ Andrea Felix
                                                         ○ Tony Polman
                                                         ○ Anthony Schott
                                                     Sandoz
                                                         ○ Don DeGolyer, Chief Executive Officer
                                                             and Board Director
                                                         ○ Jeff George, Division Head and CEO
                                                         ○ Steven Greenstein, Director, Key
                                                             Customers
                                                         ○ Armando Kellum, VP, Sales & Marketing
                                                         ○ Paul Krauthauser, Senior VP, Commercial
                                                             Operations
                                                         ○ Della Lubke, Director, National Accounts
                                                     Taro
                                                         ○ Jim Josway, VP, RX Sales
                                                         ○ Bill Seiden, Senior VP, U.S. Sales &
                                                             Marketing
                                                         ○ Scott Brick, Manager, National Accounts
NACDS Annual Meeting       ○   Teva                  Teva
April 24-27, 2012          ○   Allergan                  ○ Theresa Coward, Senior Director Sales &
Palm Beach, FL             ○   Par                           Trade Relations
                           ○   Sandoz                    ○ Maureen Cavanaugh, Chief Operating
                           ○   Apotex                        Officer, North America Generics
                           ○   Aurobindo                 ○ Christine Baeder, SVP, Customer and
                           ○   Dr. Reddy’s                   Marketing Operations
                           ○   Fougera                   ○ Jonathan Kafer, EVP, Sales & Marketing
                           ○   Glenmark                  ○ Jeremy Levin, President & CEO
                           ○   G&W Laboratories      Allergan
                           ○   Impax                     ○ Andrew Boyer, EVP, Commercial
                           ○   Mylan/UDL                     Operations
                           ○   Perrigo                   ○ Sigurdur Olafsson, Chief Executive Officer
                           ○   Sun                       ○ Michael Reed, Executive Director, Trade
                           ○   Taro                          Relations
                           ○   Zydus                     ○ Paul Reed, Senior Director, Trade Sales
                                                             and Operations
                                                         ○ John Shane, Director, Trade Relations
                                                         ○ Allan Slavsky, Sales Consultant
                                                         ○ Michael Perfetto, Chief Commercial
                                                             Officer, Generic RX/OTC, US and Canada
                                                         ○ Paul Bisaro, President and Chief Executive
                                                             Officer
                                                         ○ Robert Stewart, EVP, Global Operations
                                                     Par
                                                         ○ Paul Campanelli, President & CEO (Endo)
                                                         ○ Michael Altamuro, Commercial Operations
                                                             & Marketing
                                                         ○ Renee Kenney, Senior Advisor, Generic
                                                             Sales
                                                         ○ Thomas Haughey, President
                                                     Sandoz
                                                         ○ Don DeGolyer, Chief Executive Officer

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    MEETING / CONFERENCE
           DATE                         CORPORATE ATTENDEES         INDIVIDUAL ATTENDEES, INCLUDING:
         LOCATION
                                                                     and Board Director
                                                                  ○ Jeff George, Division Head and CEO
                                                                  ○ Armando Kellum, VP, Sales & Marketing
HDMA 2012 Business and Leadership   ○   Teva                  Teva
Conference                          ○   Allergan                  ○ Theresa Coward, Senior Director of
June 13, 2012                       ○   Par                          National Sales
San Antonio, TX                     ○   Sandoz                    ○ Kevin Green, National Account Manager
                                    ○   Apotex                    ○ Jessica Peters, National Account Manager
                                    ○   Aurobindo                 ○ David Rekenthaler, Director, National
                                    ○   Dr. Reddy’s                  Accounts
                                    ○   Fougera                   ○ Teri Mauro Sherman, Director, National
                                    ○   Heritage                     Accounts
                                    ○   Lannett               Allergan
                                    ○   Mylan/UDL                 ○ Andrew Boyer, EVP, Commercial
                                    ○   Sun                          Operations
                                    ○   Valeant                   ○ Richard Rogerson, Director, Pricing
                                    ○   West-Ward                 ○ Allan Slavsky, VP, Sales
                                    ○   Zydus                     ○ Michael Baker, Executive VP, Trade Sales
                                                                     and Development
                                                                  ○ John Shane, Director, Trade Relations
                                                                  ○ Jack Ericsson, Senior Regional Manager
                                                                  ○ Michael Reed, Director, National Trade
                                                                     Accounts
                                                                  ○ Paul Reed, Senior Director, Trade Sales
                                                                  ○ Carrie Wetzel, National Account Manager
                                                              Par
                                                                  ○ Sandra Bayer, National Accounts Manager
                                                              Sandoz
                                                                  ○ Steven Greenstein, Director, National
                                                                     Accounts
                                                                  ○ Paul Krauthauser, Director, National
                                                                     Accounts
                                                                  ○ Della Lubke, Director, National Accounts
                                                                  ○ Christopher Neurohr, Director, National
                                                                     Accounts
NACDS 2012 Pharmacy and             ○   Teva                  Teva
Technology Conference               ○   Allergan                  ○ Theresa Coward, Senior Director Sales &
August 25-28, 2012                  ○   Par                          Trade Relations
Denver, CO                          ○   Sandoz                    ○ Maureen Cavanaugh, Chief Operating
                                    ○   Apotex                       Officer, North America Generics
                                    ○   Aurobindo                 ○ Christine Baeder, SVP, Customer and
                                    ○   Dr. Reddy’s                  Marketing Operations
                                    ○   Fougera                   ○ Kevin Galownia, Senior Director, Pricing
                                    ○   Glenmark                  ○ Scott Goldy, National Accounts
                                    ○   Heritage                  ○ Kevin Green, Associate VP, National
                                    ○   Impax                        Accounts
                                    ○   Lannett                   ○ Teri Moura Sherman, Director, National
                                    ○   Mylan                        Accounts
                                    ○   Perrigo                   ○ Jessica Peters, Director, Trade Operations
                                    ○   Sun                       ○ Dave Rekenthaler, VP Sales
                                    ○   Taro                  Allergan
                                    ○   West-Ward                 ○ Andrew Boyer, EVP, Commercial
                                    ○   Zydus                        Operations
                                                                  ○ Allan Slavsky, VP, Sales
                                                                  ○ Michael Perfetto, Chief Commercial
                                                                     Officer, Generic RX/OTC, US and Canada
                                                                  ○ Napoleon Clark, VP, Marketing
                                                                  ○ Anthony Giannone, Executive Director,
                                                                     Sales
                                                                  ○ David Schmidt, Director, National

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    MEETING / CONFERENCE
           DATE                           CORPORATE ATTENDEES                 INDIVIDUAL ATTENDEES, INCLUDING:
         LOCATION
                                                                              Accounts
                                                                            ○ Michael Baker, Executive VP, Trade Sales
                                                                              and Development
                                                                            ○ Ara Aprahamian, VP, Sales & Marketing
                                                                            ○ Steve Cohen, VP, National Accounts
                                                                            ○ Michael Dorsey, Director, National
                                                                              Accounts
                                                                            ○ Jinping McCormick, VP, Rx Sales &
                                                                              Marketing, US Generics
                                                                      Par
                                                                          ○ Paul Campanelli, President & CEO
                                                                          ○ Michael Altamuro, Commercial Operations
                                                                              & Marketing
                                                                          ○ Renee Kenney, Senior Advisor, Generic
                                                                              Sales
                                                                          ○ Jon Holden, VP, Sales
                                                                          ○ Karen O’Connor, VP, National Accounts
                                                                      Sandoz
                                                                          ○ Armando Kellum, VP, Sales & Marketing
                                                                          ○ Steven Greenstein, Director, Key
                                                                              Customers
                                                                          ○ Della Lubke, Director, National Accounts
                                                                          ○ Chris Neurohr, Director, National Accounts
GPhA 2012 Technical Conference        ○   Teva                        Teva
October 1-3, 2012                     ○   Allergan                        ○ Allan Oberman, President
Bethesda North Marriott Hotel &       ○   Akorn                           ○ Debbie Jaskot, VP, US Generic Regulatory
 Conference Center, Bethesda, MD      ○   Apotex                              Affairs & North American Policy
                                      ○   Aurobindo                       ○ Jonathan Kafer, VP Sales & Marketing
                                      ○   Breckenridge                Allergan
                                      ○   Dr. Reddy’s                     ○ Joyce DelGaudio, Executive Director,
                                      ○   Fougera                             Regulatory Affairs
                                      ○   Glenmark                    Apotex
                                      ○   Heritage                        ○ Bruce Clark, Senior VP, Scientific &
                                      ○   Impax                               Regulatory Affairs
                                      ○   Lannett                     Dr. Reddy’s
                                      ○   Lupin                           ○ Nick Cappuccino, Vice President and Head
                                      ○   Mylan                               of Global Quality
                                      ○   Par                         Impax
                                      ○   Perrigo                         ○ Marcy Macdonald, VP, Regulatory Affairs
                                      ○   Sandoz                      Mylan
                                      ○   Sun                             ○ Marcie McClintic, VP & General Counsel
                                      ○   Taro                        Perrigo
                                      ○   UDL (Mylan Institutional)       ○ Richard Stec, VP, Global Regulatory
                                      ○   Upsher-Smith                        Affairs
                                      ○   Wockhardt                   Sandoz
                                      ○   Zydus                           ○ Don DeGolyer, President
NACDS 2013 Regional Chain             ○   Teva                        Teva
Conference                            ○   Allergan                        ○ Theresa Coward, Senior Director Sales and
February 3-5, 2013                                                            Trade Relations
Harbor Beach Marriott Resort & Spa,                                   Allergan
Fort Lauderdale, FL                                                       ○ Michael Baker, Executive VP, Trade and
                                                                              Sales Department
                                                                          ○ Paul Reed, Senior Director, Trade Sales
                                                                              and Development
GPhA 2013 Annual Meeting              ○   Teva                        Teva
February 20-22, 2013                  ○   Allergan                        ○ Allan Oberman, President & CEO
JW Marriott Orlando Grande Lakes,     ○   Akorn                       Allergan
  Orlando, FL                         ○   Apotex                          ○ Sigurdur Olafsson, President
                                      ○   Aurobindo                   Mylan
                                                                          ○ Tony Mauro, President

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    MEETING / CONFERENCE
           DATE                          CORPORATE ATTENDEES                 INDIVIDUAL ATTENDEES, INCLUDING:
         LOCATION
                                     ○   Breckenridge                  Sandoz
                                     ○   Dr. Reddy’s                      ○ Donald DeGolyer, President
                                     ○   Glenmark
                                     ○   Heritage
                                     ○   Impax
                                     ○   Lupin
                                     ○   Mylan
                                     ○   Par
                                     ○   Perrigo
                                     ○   Sandoz
                                     ○   Taro
                                     ○   Teligent (IGI Laboratories)
                                     ○   Wockhardt
                                     ○   Zydus
ECRM Annual Retail Pharmacy          ○   Teva
Efficient Program Planning Session   ○   Allergan
February 24-27, 2013                 ○   Akorn
Sheraton Dallas Hotel, Dallas, TX    ○   Apotex
                                     ○   Ascend
                                     ○   Aurobindo
                                     ○   Breckenridge
                                     ○   Dr. Reddy’s
                                     ○   Epic
                                     ○   Fougera
                                     ○   Heritage
                                     ○   Hi-Tech
                                     ○   Impax
                                     ○   Lupin
                                     ○   Par/Endo
                                     ○   Perrigo
                                     ○   Sandoz
                                     ○   Sun
                                     ○   Taro
                                     ○   Teligent
                                     ○   Upsher-Smith
                                     ○   West-Ward
                                     ○   Wockhardt
                                     ○   Zydus
2013 NACDS Annual Meeting            ○   Teva                          Teva
April 20-23, 2013                    ○   Allergan                          ○ Jeremy Levin, President and CEO
Palm Beach, FL                       ○   Mylan                             ○ Allan Oberman, President and CEO, Teva
                                     ○   Par                                  Americas Generics
                                     ○   Taro                              ○ Maureen Cavanaugh, Sr. VP and Chief
                                     ○   Upsher-Smith                         Operating Officer of North America
                                     ○   Apotex                               Generics
                                     ○   Aurobindo                         ○ Theresa Coward, Sr. Director Sales and
                                     ○   Dr. Reddy’s                          Trade Relations
                                     ○   G&W Laboratories                  ○ Michael Sine, Director, Corporate Account
                                     ○   Glenmark                             Group
                                     ○   Impax                             ○ Jonathan Kafer, Executive VP, Sales and
                                     ○   Lupin                                Marketing
                                                                           ○ David Marshall, VP of Operations
                                     ○   Perrigo
                                                                           ○ Dave Rekenthaler, VP of Sales
                                     ○   Sandoz                        Allergan
                                     ○   Sun                               ○ Paul Bisaro, Board Member
                                     ○   Valeant                           ○ Sigurdur Olafsson, President, Global
                                     ○   Wockhardt                            Generics
                                     ○   Zydus                             ○ Andrew Boyer, President and CEO of
                                                                              North America Generics
                                                                           ○ Michael Reed, Executive Director of Trade
                                                                              Relations

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    MEETING / CONFERENCE
           DATE                         CORPORATE ATTENDEES         INDIVIDUAL ATTENDEES, INCLUDING:
         LOCATION
                                                                  ○ Michael Baker, Executive VP of Trade
                                                                     Sales and Development
                                                                  ○ Paul Reed, Sr. Director of Trade Sales and
                                                                     Development
                                                                  ○ Robert Stewart, Chief Operating Officer
                                                                  ○ John Shane, Director, Trade Relations
                                                                  ○ Alan Slavsky, Sales Consultant
                                                              Lupin
                                                                  ○ Dave Berthold, SVP, Generics
                                                                  ○ Vinita Gupta, CEO
                                                                  ○ Robert Hoffman, EVP, U.S. Generics
                                                                  ○ Paul McGarty, President
                                                              Mylan
                                                                  ○ Joe Duda, President
                                                                  ○ Tony Mauro, Chief Commercial Officer
                                                                  ○ Robert Potter, Sr. VP of North America
                                                                     National Accounts and Channel
                                                                     Development
                                                                  ○ Jeffrey May, VP of North America Product
                                                                     Strategy
                                                                  ○ Jim Nesta, VP of Sales
                                                              Par
                                                                  ○ Paul Campanelli, President
                                                                  ○ Jon Holden, VP of Sales
                                                                  ○ Michael Altamuro, VP of Marketing and
                                                                     Business Analytics
                                                                  ○ Renee Kenney, Sr. Advisor for Generic
                                                                     Sales
                                                              Taro
                                                                  ○ Jim Kedrowski, Interim CEO
                                                                  ○ Ara Aprahamian, VP Sales and Marketing
                                                                  ○ Michael Perfetto, Chief Commercial
                                                                     Officer, Generic RX/OTC, US and Canada
                                                                  ○ Carlton Holmes, VP Marketing
                                                                  ○ Elizabeth Ivey, VP, Sales and Marketing
                                                              Upsher-Smith
                                                                  ○ Mark Evenstad, CEO
                                                                  ○ Thomas Burke, Chief Operating Officer
                                                                  ○ Brad Leonard, Sr. Director of National
                                                                     Accounts
                                                                  ○ Scott Hussey, Sr. VP of Sales
                                                                  ○ Jim Maahs, VP of Commercial Portfolio
                                                                     Management
                                                                  ○ Mike McBride, VP of Partner Relations
HDMA 2013 Business and Leadership   ○   Teva                  Teva
Conference                          ○   Allergan                  ○ Theresa Coward, Senior Director, National
June 2-5, 2013                      ○   Akron/Hi-Tech                Sales
Orlando, FL                         ○   Apotex                    ○ Jessica Peters, National Accounts Manager
                                    ○   Aurobindo                 ○ Teri Sherman, National Accounts Director
                                    ○   Citron                    ○ Christine Baeder, Senior Director,
                                    ○   Dr. Reddy’s                  Customer Operations
                                    ○   Glenmark              Allergan
                                    ○   Heritage                  ○ Andrew Boyer, President and CEO of
                                    ○   Impax                        North America Generics
                                    ○   Lannett                   ○ Marc Falkin, VP of Purchasing
                                    ○   Lupin                     ○ Maureen Barrett, Director of National
                                    ○   Mylan                        Accounts
                                    ○   Par                       ○ Anthony Giannone, National Accounts
                                    ○   Sandoz                       Director


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    MEETING / CONFERENCE
           DATE                         CORPORATE ATTENDEES               INDIVIDUAL ATTENDEES, INCLUDING:
         LOCATION
                                    ○   Sun                         Lupin
                                    ○   Valeant                         ○ Dave Berthold, VP, Sales, U.S. Generics
                                    ○   West-Ward                       ○ David Shirkey, National Accounts Manager
                                    ○   Zydus                           ○ Lauren Walten, National Account Manager
GPhA 2013 CMC Conference            ○   Teva                        Apotex
June 4-5, 2013                      ○   Allergan                        ○ Kiran Krishnan, VP, Regulatory Affairs
Bethesda North Marriott Hotel &     ○   Apotex                      Dr. Reddy’s
  Conference Center, Bethesda, MD   ○   Breckenridge                    ○ Nick Cappuccino, Vice President and Head
                                    ○   Dr. Reddy’s                         of Global Quality
                                    ○   Fougera                     Impax
                                    ○   Glenmark                        ○ Marcy Macdonald, VP, Regulatory Affairs
                                    ○   Heritage                    Perrigo
                                    ○   Hi-Tech                         ○ Richard Stec, VP, Global Regulatory
                                    ○   Impax                               Affairs
                                    ○   Lannett                     Sandoz
                                    ○   Morton Grove                    ○ Alison Sherwood, Associate Director,
                                    ○   Mylan                               Regulatory Affairs
                                    ○   Par
                                    ○   Perrigo
                                    ○   Sandoz
                                    ○   Sun
                                    ○   Taro
                                    ○   UDL (Mylan Institutional)
                                    ○   Upsher-Smith
                                    ○   Zydus
2013 NACDS Total Store Expo         ○   Teva                        Teva
August 10-13, 2013                  ○   Allergan                        ○ Theresa Coward, Senior Director of Sales
Sands Expo Convention Center, Las   ○   Breckenridge                    ○ David Rekenthaler, VP, Sales
Vegas, NV                           ○   Heritage                        ○ Maureen Cavanaugh, Senior VP and Chief
                                    ○   Mylan                              Operating Officer, N.A. Generics
                                    ○   Par                             ○ Kevin Galownia, Head of Marketing
                                    ○   Upsher-Smith                       Operations
                                    ○   Akorn/High-Tech                 ○ Jessica Peters, Manager of Corporate
                                    ○   Apotex                             Accounts
                                    ○   Aurobindo                       ○ Allan Oberman, President and CEO, Teva
                                    ○   Citron                             Americas Generics
                                    ○   Dr. Reddy’s                     ○ Scott Goldy, Director, National Accounts
                                    ○   Fougera                         ○ Christine Baeder, Senior VP, Customer and
                                    ○   G&W Laboratories                   Marketing Operations
                                    ○   Glenmark                        ○ Kevin Green, Associate VP, National
                                    ○   Impax                              Accounts
                                    ○   Lannett                         ○ Jonathan Kafer, Executive VP, Sales and
                                    ○   Lupin                              Marketing
                                    ○   Perrigo                         ○ Teri Sherman, Director, National Accounts
                                    ○   Sandoz                      Allergan
                                    ○   Sun                             ○ Andrew Boyer, Senior VP (Generic Sales,
                                    ○   Taro                               Marketing, National Accounts)
                                    ○   Valeant                         ○ Marc Falkin, VP (Marketing, Pricing and
                                    ○   West-Ward                          Contracts)
                                    ○   Wockhardt                       ○ Michael Baker, Executive VP, Trade and
                                    ○   Zydus                              Sales Department
                                                                        ○ Napoleon Clark, VP of Marketing
                                                                        ○ Michael Dorsey, Director of National
                                                                           Accounts
                                                                        ○ Anthony Giannone, National Accounts
                                                                           Director
                                                                        ○ Richard Rogerson, Senior Director, New
                                                                           Products
                                                                        ○ Allan Slavsky, Sales Consultant


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    MEETING / CONFERENCE
           DATE              CORPORATE ATTENDEES         INDIVIDUAL ATTENDEES, INCLUDING:
         LOCATION
                                                   Breckenridge
                                                       ○ Larry Lapila, President
                                                   Heritage
                                                       ○ Matthew Edelson, Senior Director of Sales
                                                       ○ Jeffrey A. Glazer (then CEO and
                                                          Chairman)
                                                       ○ Jason T. Malek, SVP (then Senior VP,
                                                          Commercial Operations, and subsequently
                                                          President)
                                                       ○ Gina Gramuglia, Commercial Operations
                                                       ○ Neal O’Mara, Senior Director, National
                                                          Accounts
                                                       ○ Anne Sather, Senior Director, National
                                                          Accounts
                                                   Lupin
                                                       ○ Dave Berthold, SVP, Generics
                                                       ○ Robert Hoffman, EVP, U.S. Generics
                                                       ○ Paul McGarty, President
                                                       ○ Steve Randazzo, SVP
                                                       ○ David Shirkey, National Account Manager
                                                       ○ Lauren Walten, National Account Manager
                                                   Mylan
                                                       ○ Mike Aigner, Director, National Accounts
                                                       ○ Kevin McElfresh, Executive Director,
                                                          National Accounts
                                                       ○ Joe Duda, President
                                                       ○ Robert Potter, Senior VP North America
                                                          National Accounts
                                                       ○ Rob O’Neill, Head of Sales
                                                       ○ Lance Wyatt, Director, National Accounts
                                                       ○ James Nesta, VP of Sales
                                                   Par
                                                       ○ Jon Holden, VP of Sales
                                                       ○ Renee Kenney, Senior Advisor Generic
                                                          Sales
                                                       ○ Karen O’Connor, VP National Accounts
                                                       ○ Lori Minnihan, Manager, Pricing &
                                                          Analytics
                                                       ○ Warren Pefley, Director, National
                                                          Accounts
                                                       ○ Charles “Trey” Propst, VP, National
                                                          Accounts
                                                       ○ Michael Reiney, VP, Sales
                                                       ○ Jeremy Tatum, Demand Manager
                                                   Taro
                                                       ○ Ara Aprahamian, Vice President, Sales and
                                                          Marketing
                                                       ○ Michael Perfetto, Group Vice President and
                                                          Chief Commercial Officer of the Generic
                                                          Rx Business
                                                       ○ Howard Marcus, Vice President Sales and
                                                          Marketing
                                                       ○ Doug Statler, Senior Director, Head of
                                                          Sales
                                                       ○ Elizabeth Guerrero, Director, Corporate
                                                          Accounts, Managed Care
                                                       ○ Carlton Holmes, Vice President, Marketing
                                                   Upsher-Smith
                                                       ○ Scott Hussey, Senior VP, Sales


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    MEETING / CONFERENCE
           DATE                           CORPORATE ATTENDEES                 INDIVIDUAL ATTENDEES, INCLUDING:
         LOCATION
                                                                            ○ Brad Leonard, Senior Director, National
                                                                                Accounts
                                                                            ○ Michael Muzetras, Sr. National Accounts
                                                                                Manager
                                                                            ○ Beth Pannier, Senior National Accounts
                                                                                Manager
                                                                            ○ Mary Rotunno, National Accounts
                                                                                Manager
GPhA 2013 Fall Technical Conference   ○   Teva                          Apotex
October 28-30, 2013                   ○   Allergan                          ○ Kiran Krishnan VP, Regulatory Affairs
Bethesda North Marriot Hotel &        ○   Akorn                         Dr. Reddy’s
 Conference Center, Bethesda, MD      ○   Apotex                            ○ Nick Cappuccino, Vice President and Head
                                      ○   Aurobindo                             of Global Quality
                                      ○   Breckenridge                  Impax
                                      ○   Dr. Reddy’s                       ○ Marcy Macdonald, VP, Regulatory Affairs
                                      ○   Fougera                       Mylan
                                      ○   Glenmark                          ○ Dan Snider, VP, Morgantown RD
                                      ○   Heritage                          ○ Marcie McClintic, VP & Chief of Staff
                                      ○   Hi-Tech                           ○ Carmen Shepard, Senior VP, Global Policy
                                      ○   Impax                                 & Regulatory
                                      ○   Lannett                       Perrigo
                                      ○   Lupin                             ○ Richard Stec, VP, Global Regulatory
                                      ○   Mylan                                 Affairs
                                      ○   Par
                                      ○   Perrigo
                                      ○   Sandoz
                                      ○   Sun
                                      ○   Taro
                                      ○   Teligent (IGI Laboratories)
                                      ○   UDL (Mylan Institutional)
                                      ○   Upsher-Smith
                                      ○   Wockhardt
                                      ○   Zydus
2013 NACDS NYC Week Annual            ○   Teva                          Teva
  Foundation Dinner                   ○   Allergan                          ○ Theresa Coward, Senior Director of Sales
December 1-3, 2013                    ○   Mylan                             ○ David Rekenthaler, VP, Sales
New York, NY                          ○   Upsher-Smith                      ○ Maureen Cavanaugh, Senior VP and Chief
                                      ○   Apotex                               Operating Officer, N.A. Generics
                                      ○   Perrigo                           ○ David Marshall, VP of Operations
                                      ○   Sandoz                        Allergan
                                                                            ○ Andrew Boyer, Senior VP (Generic Sales,
                                                                               Marketing, National Accounts)
                                                                            ○ Marc Falkin, VP (Marketing, Pricing and
                                                                               Contracts)
                                                                            ○ Anthony Giannone, Executive Director,
                                                                               Sales
                                                                            ○ Paul Reed, Senior Director, Trade Sales
                                                                               and Development
                                                                            ○ Michael Reed, Executive Director, Trade
                                                                               Relations
                                                                            ○ John Shane, Director, Trade Relations
                                                                        Mylan
                                                                            ○ Joe Duda, President
                                                                            ○ Tony Mauro, COO
                                                                            ○ Robert Potter, Senior VP, North America
                                                                               National Accounts
                                                                            ○ Rob O’Neill, Head of Sales
                                                                        Upsher-Smith
                                                                            ○ Scott Hussey, Senior VP, Sales


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    MEETING / CONFERENCE
           DATE                             CORPORATE ATTENDEES                 INDIVIDUAL ATTENDEES, INCLUDING:
         LOCATION
                                                                             ○ Jim Maahs, VP, Commercial Portfolio
                                                                                 Management
                                                                             ○ Mike McBride, VP, Partner Relations
GPhA 2014 Annual Meeting                ○   Teva                          Teva
February 19-21, 2014                    ○   Allergan                         ○ Allan Oberman, President & CEO
JW Marriott Orlando Grande Lakes,       ○   Apotex                        Apotex
  Orlando, FL                           ○   Aurobindo                        ○ Jeff Watson, President
                                        ○   Breckenridge                  Mylan
                                        ○   Dr. Reddy’s                      ○ Marcie McClintic Coates, VP & Head of
                                        ○   Epic                                 Global Regulatory Affairs
                                        ○   Heritage                         ○ Andrea Miller, Senior VP, Head of Global
                                        ○   Akron/Hi-Tech                        Complex Products Operations
                                        ○   Impax                            ○ Tony Mauro, President
                                        ○   Lupin                         Sandoz
                                        ○   Mylan                            ○ Carlos Sattler, M.D., VP, Clinical
                                        ○   Par                                  Development & Medical Affairs
                                        ○   Perrigo
                                        ○   Sandoz
                                        ○   Sun
                                        ○   Taro
                                        ○   Teligent (IGI Laboratories)
                                        ○   Upsher-Smith
                                        ○   Wockhardt
                                        ○   Zydus
HDMA Sixth Annual CEO Roundtable        ○   Teva                          Teva
Fundraiser                              ○   Allergan                          ○ Maureen Cavanaugh, Senior VP, Sales and
April 1, 2014                           ○   Apotex                               Marketing
New York, NY                            ○   Aurobindo                         ○ Christopher Doerr, Director, Trade
                                        ○   Citron                               Operations
                                        ○   Mylan                             ○ David Rekenthaler, Generic Sales
                                        ○   Par                           Allergan
                                        ○   Perrigo                           ○ Andrew Boyer, Senior VP, US Generics
                                        ○   Sandoz                               Sales and Marketing
                                        ○   Taro                              ○ Napoleon Clark, Executive Director, US
                                        ○   Upsher-Smith                         Generics Marketing
                                                                              ○ Marc Falkin, VP, Marketing, Pricing, and
                                                                                 Contracts
                                                                              ○ Anthony Giannone, Executive Director,
                                                                                 Sales
                                                                              ○ Rick Rogerson, Director, Pricing
                                                                          Mylan
                                                                              ○ Anthony Mauro, Senior Vice President, and
                                                                                 President of North America
                                                                              ○ James Nesta, Vice President of Sales
                                                                              ○ Robert Potter, Senior Vice President, North
                                                                                 America National Accounts and Channel
                                                                                 Development
                                                                          Aurobindo
                                                                              ○ Robert Cunard, CEO
                                                                              ○ Paul McMahon, Senior Director
                                                                                 Commercial Operations
2014 NACDS Annual Meeting               ○   Teva                          Teva
April 26-29, 2014                       ○   Allergan                          ○ Theresa Coward, Senior Director of Sales
The Phoenician Resort, Scottsdale, AZ   ○   Aurobindo                         ○ David Rekenthaler, Vice President, Sales
                                        ○   Breckenridge                      ○ Maureen Cavanaugh, Senior VP and Chief
                                        ○   Heritage                             Operating Officer, N.A. Generics
                                        ○   Mylan                             ○ Allan Oberman, President and CEO, Teva
                                        ○   Par                                  Americas Generics
                                        ○   Sandoz                            ○ Christine Baeder, Senior Director,


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    MEETING / CONFERENCE
           DATE                CORPORATE ATTENDEES         INDIVIDUAL ATTENDEES, INCLUDING:
         LOCATION
                           ○   Taro                         Customer Operations
                           ○   Upsher-Smith          Allergan
                           ○   Apotex                    ○ Andrew Boyer, Senior VP (Generic Sales,
                           ○   Citron                       Marketing, National Accounts)
                           ○   Dr. Reddy’s               ○ Marc Falkin, VP (Marketing, Pricing and
                           ○   G&W Laboratories             Contracts)
                           ○   Glenmark                  ○ Sigurdur Olafsson, President
                           ○   Impax                     ○ Robert Stewart, Chief Operating Officer
                           ○   Lannett                   ○ Paul Bisaro, Board Member
                           ○   Lupin                 Aurobindo
                           ○   Perrigo                   ○ Robert Cunard, CEO
                           ○   Sun                       ○ Paul McMahon, Senior Director,
                           ○   Valeant                      Commercial Operations
                           ○   Wockhardt             Breckenridge
                           ○   Zydus                     ○ Larry Lapila, President
                                                         ○ Brian Guy, VP, Business Development
                                                         ○ Martin Schatz, Senior VP, Sales
                                                     Heritage
                                                         ○ Jeffrey Glazer (then CEO and Chairman)
                                                     Mylan
                                                         ○ Joe Duda, President
                                                         ○ Tony Mauro, President
                                                         ○ James Nesta, Vice President of Sales
                                                         ○ Hal Korman, Executive Vice President and
                                                            Chief Operating Officer
                                                         ○ Robert Potter, Senior VP, North America
                                                            National Accounts and Channel
                                                            Development
                                                         ○ Rob O’Neill, Head of Sales
                                                     Par
                                                         ○ Jon Holden, VP of Sales
                                                         ○ Paul Campanelli, President
                                                         ○ Renee Kenney, Senior Advisor, Generic
                                                            Sales
                                                     Sandoz
                                                         ○ Peter Goldschmidt, President Sandoz, US
                                                            and Head, North America
                                                         ○ Steven Greenstein, Director, Key
                                                            Customers
                                                         ○ Anuj Hasija, Executive Director, Key
                                                            Customers
                                                         ○ Armando Kellum, VP, Sales and Marketing
                                                     Taro
                                                         ○ Ara Aprahamian, VP, Sales and Marketing
                                                         ○ Michael Perfetto, Chief Commercial
                                                            Officer, Generic RX, OTC, US and Canada
                                                         ○ Alex Likvornik, Senior Director, Strategic
                                                            Pricing and Marketing
                                                         ○ Elizabeth Ivey, VP, Sales and Marketing
                                                     Upsher-Smith
                                                         ○ Scott Hussey, Senior VP, Sales
                                                         ○ Brad Leonard, Senior Director, National
                                                            Accounts
                                                         ○ Jim Maahs, VP, Commercial Portfolio
                                                            Management
                                                         ○ Mark Evenstad, CEO
                                                         ○ Rusty Field, President




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    MEETING / CONFERENCE
             DATE                           CORPORATE ATTENDEES         INDIVIDUAL ATTENDEES, INCLUDING:
           LOCATION
2014 MMCAP National Member              ○   Teva                  Teva
Conference                              ○   Allergan                  ○ Nick Gerebi, National Account Manager
May 12-15, 2014                         ○   Breckenridge          Allergan
Bloomington, MN                         ○   Heritage                  ○ Mark Blitman, Executive Director of Sales
                                        ○   Mylan                        for Government Markets
                                        ○   Upsher-Smith          Breckenridge
                                        ○   Apotex                    ○ Scott Cohon, National Accounts Director
                                        ○   Aurobindo             Heritage
                                        ○   Lannett                   ○ Anne Sather, Director, National Accounts
                                        ○   Par                   Mylan
                                        ○   Perrigo                   ○ Jan Bell, Director, National Accounts
                                        ○   Sandoz                Upsher-Smith
                                        ○   West-Ward                 ○ Michelle Brassington, Regional Account
                                                                         Manager
2014 HDMA Business and Leadership       ○   Teva                  Teva
  Conference                            ○   Allergan                  ○ Theresa Coward, Senior Director, National
June 1-4, 2014                          ○   Heritage                     Sales
JW Marriott Desert Ridge, Phoenix, AZ   ○   Sandoz                    ○ Jessica Peters, Director, National Accounts
                                        ○   Taro                      ○ Teri Sherman, National Accounts Director
                                        ○   Mylan                     ○ Cassie Dunrud, Associate Director
                                        ○   Upsher-Smith              ○ David Rekenthaler, VP, Sales, US Generics
                                        ○   Akorn/Hi-Tech             ○ Nisha Patel, Director
                                        ○   Apotex                    ○ Nick Gerebi, Director, National Accounts
                                        ○   Aurobindo             Allergan
                                        ○   Citron                    ○ Marc Falkin, VP of Purchasing
                                        ○   Dr. Reddy’s               ○ Anthony Giannone, National Accounts
                                        ○   Glenmark                     Director
                                        ○   Impax                     ○ Andrew Boyer, Senior VP, Generic Sales
                                        ○   Lannett                      and Marketing
                                        ○   Lupin                     ○ Richard Rogerson, Executive Director
                                        ○   Par                          Pricing and Business Analytics
                                        ○   Sun                   Heritage
                                        ○   Valeant                   ○ Anne Sather, National Accounts Manager
                                        ○   West-Ward                 ○ Neal O’Mara, National Accounts Manager
                                        ○   Wockhardt                 ○ Jeffrey Glazer, Chairman and CEO
                                        ○   Zydus                     ○ Jason Malek, Senior VP, Commercial
                                                                         Operations
                                                                      ○ Matthew Edelson, Associate Director,
                                                                         National Accounts
                                                                  Sandoz
                                                                      ○ Lisa Badura, Director, National Accounts
                                                                         Sales
                                                                      ○ Anuj Hasija, Key Account Executive
                                                                         Director
                                                                      ○ Della Lubke, Director, National Accounts
                                                                      ○ David Picard, VP, Generic Sales
                                                                      ○ Christopher Bihari, Director, National
                                                                         Sales
                                                                      ○ Steve Greenstein, Director, National
                                                                         Accounts
                                                                  Taro
                                                                      ○ Anand Shah, Associate Director, Sales
                                                                         Operations
                                                                  Mylan
                                                                      ○ Lance Wyatt, Director, National Accounts
                                                                      ○ Richard Isaac, Senior Manager, Strategic
                                                                         Accounts
                                                                      ○ James Nesta, VP of Sales
                                                                      ○ Michael Aigner, Director, National


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    MEETING / CONFERENCE
           DATE                            CORPORATE ATTENDEES                 INDIVIDUAL ATTENDEES, INCLUDING:
         LOCATION
                                                                                 Accounts
                                                                         Upsher-Smith
                                                                             ○ JoAnn Gaio, Sr. National Account
                                                                                 Manager, Trade
                                                                             ○ Scott Hussey, Senior VP, Global Sales
                                                                             ○ Jim Maahs, Sr. Director
                                                                             ○ Michael McBride, Associate VP, Partner
                                                                                 Relations
                                                                             ○ Mike Muzetras, Senior National Accounts
                                                                                 Manager
                                                                             ○ Doug Zitnak, National Accounts Senior
                                                                                 Director – Trade
GPhA 2014 CMC Conference               ○   Teva                          Teva
June 3-4, 2014                         ○   Allergan                          ○ Scott Tomsky, Generic Regulatory Affairs,
Bethesda North Marriot Hotel &         ○   Apotex                                North America
  Conference Center, Bethesda, MD      ○   Dr. Reddy’s                       ○ Siva Vaithiyalingam, Director, Regulatory
                                       ○   Fougera                               Affairs
                                       ○   Glenmark                      Apotex
                                       ○   Heritage                          ○ Pradeep Sanghvi, Executive VP, Global
                                       ○   Akorn/Hi-Tech                         R&D
                                       ○   Impax                             ○ Kiran Krishnan, VP, Regulatory Affairs
                                       ○   Lannett                           ○ Chetan Doshi, Director of Formulation
                                       ○   Lupin                                 Development – Solid Dose
                                       ○   Morton Grove                  Impax
                                       ○   Mylan                             ○ Marcy Macdonald, VP, Regulatory Affairs
                                       ○   Par                           Mylan
                                       ○   Perrigo                           ○ Dan Snider, VP, Morgantown RD
                                       ○   Sandoz                        Perrigo
                                       ○   Sun                               ○ Richard Stec, VP, Global Regulatory
                                       ○   Taro                                  Affairs
                                       ○   Teligent (IGI Laboratories)
                                       ○   Upsher-Smith
                                       ○   Zydus
2014 NACDS Total Store Expo            ○   Teva                          Teva
August 23-26, 2014                     ○   Allergan                          ○ David Rekenthaler, VP, Sales
Boston Convention Center, Boston, MA   ○   Breckenridge                      ○ Maureen Cavanaugh, Senior VP and Chief
                                       ○   Heritage                             Operating Officer, N.A. Generics
                                       ○   Mylan                             ○ Kevin Galownia, Head of Marketing
                                       ○   Par                                  Operations
                                       ○   Upsher-Smith                      ○ Jessica Peters, Manager of Corporate
                                       ○   Akorn/Hi-Tech                        Accounts
                                       ○   Apotex                            ○ Nisha Patel, Director of National Accounts
                                       ○   Aurobindo                         ○ Theresa Coward, Senior Director Sales and
                                       ○   Breckenridge                         Trade Relations
                                       ○   Citron                            ○ Cassie Dunrud, Associate Director,
                                       ○   Dr. Reddy’s                          National Accounts
                                       ○   Epic                              ○ Christine Baeder, Senior VP, Customer and
                                       ○   G&W Laboratories                     Marketing Operations
                                       ○   Glenmark                      Allergan
                                       ○   Impax                             ○ Andrew Boyer, Senior VP (Generic Sales,
                                       ○   Lannett                              Marketing, National Accounts)
                                       ○   Lupin                             ○ Marc Falkin, VP (Marketing, Pricing and
                                       ○   Mayne                                Contracts)
                                       ○   Perrigo                           ○ Richard Rogerson, Executive Director
                                       ○   Sandoz                               (Pricing & Business Analytics)
                                       ○   Sun                               ○ David Buchen, Executive VP, Commercial,
                                       ○   Taro                                 North America Generics and International
                                       ○   Valeant                           ○ Napoleon Clark, VP of Marketing
                                       ○   West-Ward                         ○ Michael Dorsey, Director of National


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    MEETING / CONFERENCE
           DATE              CORPORATE ATTENDEES         INDIVIDUAL ATTENDEES, INCLUDING:
         LOCATION
                           ○ Wockhardt                    Accounts
                           ○ Zydus                     ○ Paul Reed, Senior Director, Trade Sales
                                                          and Development
                                                       ○ Anthony Giannone, Executive Director,
                                                          Sales
                                                       ○ Michael Reed, Executive Director, Trade
                                                          Relations
                                                       ○ Allan Slavsky, Sales Consultant
                                                   Akorn/Hi-Tech
                                                       ○ Ed Berrios, VP, Sales and Marketing –
                                                          Hi-Tech Pharmacal Co., Inc.
                                                       ○ Michael Corley, VP, National Accounts
                                                       ○ Thomas Kronovich, VP, National Accounts
                                                       ○ Bruce Kutinsky, Chief Operating Officer
                                                       ○ Mick McCanna, Executive Director of
                                                          National Accounts
                                                       ○ Raj Rai, Chief Executive Officer
                                                       ○ John Sabat, Senior VP of National
                                                          Accounts
                                                       ○ M. Tranter, National Accounts Manager,
                                                          Sales & Marketing
                                                   Breckenridge
                                                       ○ Larry Lapila, President
                                                       ○ Martin Schatz, Senior VP, Sales
                                                   Dr. Reddy’s
                                                       ○ Victor Borelli, VP and Head, National
                                                          Accounts, North America Generics
                                                       ○ Jinping McCormick, VP, Rx Marketing,
                                                          US Generics
                                                       ○ Nimish Muzumdar, Director of Marketing
                                                       ○ Jake Austin, Director, National Accounts
                                                   Heritage
                                                       ○ Heather Beem, National Account Manager,
                                                          Institutional
                                                       ○ Katie Brodowski, Associate Director,
                                                          Institutional Sales
                                                       ○ Matthew Edelson, Senior Director of Sales
                                                       ○ Jeffrey A. Glazer (then CEO and
                                                          Chairman)
                                                       ○ Jason T. Malek, SVP (then Senior VP,
                                                          Commercial Operations, and subsequently
                                                          President)
                                                       ○ Gina Gramuglia, Commercial Operations
                                                       ○ Neal O’Mara, Senior Director, National
                                                          Accounts
                                                       ○ Anne Sather, Senior Director, National
                                                          Accounts
                                                   Mylan
                                                       ○ Joe Duda, President
                                                       ○ Robert Potter, Senior VP, North America
                                                          National Accounts and Channel Manager
                                                       ○ Kevin McElfresh, Executive Director,
                                                          National Accounts
                                                       ○ Michael Aigner, Director, National
                                                          Accounts
                                                       ○ Gary Tighe, National Accounts Director
                                                       ○ Lance Wyatt, National Accounts Director
                                                       ○ James Nesta, VP, Sales
                                                   Par


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    MEETING / CONFERENCE
           DATE                  CORPORATE ATTENDEES         INDIVIDUAL ATTENDEES, INCLUDING:
         LOCATION
                                                          ○ Jon Holden, VP of Sales
                                                          ○ Renee Kenney, Senior Advisor, Generic
                                                              Sales
                                                          ○ Lori Minnihan, Manager, Pricing &
                                                              Analytics
                                                          ○ Warren Pefley, Director, National
                                                              Accounts
                                                          ○ Charles “Trey” Propst, VP, National
                                                              Accounts
                                                          ○ Michael Reiney, VP, Sales
                                                          ○ Jeremy Tatum, Demand Manager
                                                       Sandoz
                                                          ○ Lisa Badura, Director, Key Customers
                                                          ○ Christopher Bihari, Director, Key
                                                              Customers
                                                          ○ Steven Greenstein, Director, Key
                                                              Customers
                                                          ○ Anuj Hasija, Executive Director, Key
                                                              Customers
                                                          ○ Armando Kellum, VP, Sales and Marketing
                                                          ○ Della Lubke, National Account Executive
                                                          ○ Scott Smith, VP, Sales and Marketing
                                                          ○ Arunesh Verma, Executive Director,
                                                              Marketing
                                                          ○ Sean Walsh, Director, Key Customers
                                                       Taro
                                                          ○ Ara Aprahamian, VP, Sales and Marketing
                                                          ○ Scott Brick, Manager, National Accounts
                                                          ○ Kevin Kriel, Executive Director, Marketing
                                                              and Business Development, US and
                                                              Canada
                                                          ○ Christopher Urbanski, Director, Corporate
                                                              Accounts
                                                          ○ Alex Likvornik, Senior Director, Strategic
                                                              Pricing and Marketing
                                                          ○ Michael Perfetto, Chief Commercial
                                                              Officer, Generic RX/OTC
                                                       Upsher-Smith
                                                          ○ Scott Hussey, Senior VP, Sales
                                                          ○ Brad Leonard, Senior Director, National
                                                              Accounts
                                                          ○ Jim Maahs, VP, Commercial Portfolio
                                                              Management
                                                       Zydus
                                                          ○ Scott Goldy, Director, National Accounts
                                                          ○ Kevin Green, Associate VP, National
                                                              Accounts
                                                          ○ Michael Keenley, President
                                                          ○ Ganesh Nayak, Chief Operating Officer
                                                              and Executive Director
                                                          ○ Elizabeth Purcell, Senior Director,
                                                              Marketing and Portfolio Management
                                                          ○ Kristy Ronco, VP, Sales
2014 HCSCA LogiPharma Supply   ○ Teva
  Chain Conference             ○ Allergan
September 16-18, 2014
Princeton, NJ




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    MEETING / CONFERENCE
             DATE                           CORPORATE ATTENDEES                 INDIVIDUAL ATTENDEES, INCLUDING:
          LOCATION
HDMA 2014 Annual Board and              ○   Teva                          Teva
Membership Meeting                      ○   Allergan                          ○ Maureen Cavanaugh, Chief Operating
September 27, 2014-October 1, 2014      ○   Apotex                                Officer, Teva US Generics
Laguna Beach, CA                        ○   Mylan                             ○ Christopher Doerr, Director, Trade
                                        ○   Zydus                                 Operations
                                                                              ○ David Rekenthaler, VP Sales, US Generics
                                                                          ○ Christine Baeder, Senior Director, Customer
                                                                              Operations
                                                                          Allergan
                                                                              ○ Marc Falkin, VP, Marketing, Pricing and
                                                                                  Contracts
                                                                              ○ Andrew Boyer, Senior VP, Generic Sales
                                                                                  and Marketing
GPhA 2014 Fall Technical Conference     ○   Teva                          Teva
October 27-29, 2014                     ○   Allergan                          ○ Scott Tomsky, Generic Regulatory Affairs,
Bethesda North Marriot Hotel &          ○   Apotex                                North America
 Conference Center, Bethesda, MD        ○   Aurobindo                     Allergan
                                        ○   Breckenridge                      ○ Michael Kimball, Executive Director,
                                        ○   Citron                                Transdermal Development
                                        ○   Dr. Reddy’s                   Apotex
                                        ○   Fougera                           ○ Kiran Krishnan, VP, Regulatory Affairs
                                        ○   Glenmark                      Impax
                                        ○   Heritage                          ○ Marcy Macdonald, VP, Regulatory Affairs
                                        ○   Impax                         Mylan
                                        ○   Lannett                           ○ Marcie McClintic Coates, VP & Head of
                                        ○   Lupin                                 Global Regulatory Affairs
                                        ○   Mylan                         Perrigo
                                        ○   Par                               ○ Richard Stec, VP, Global Regulatory
                                        ○   Perrigo                               Affairs
                                        ○   Sandoz
                                        ○   Sun
                                        ○   Taro
                                        ○   Teligent (IGI Laboratories)
                                        ○   Upsher-Smith
                                        ○   UDL (Mylan Institutional)
                                        ○   West-Ward
                                        ○   Wockhardt
                                        ○   Zydus
2014 IGPA Annual Conference             ○   Teva                          Teva
November 19-21, 2014                    ○   Allergan                          ○ Allan Oberman, President and CEO, Teva
Ritz-Carlton, Key Biscayne, Miami, FL   ○   Apotex                               Americas Generics
                                        ○   Dr. Reddy’s                       ○ Yehudah Livneh, Ph.D., VP, Global Public
                                        ○   Mylan                                Policy, Asia and EMIA
                                        ○   Sandoz                        Allergan
                                                                              ○ David Buchen, Executive VP, Commercial
                                                                                 North American Generics and International
                                                                              ○ Shawn Brown, Esq., VP, International
                                                                                 Government Affairs
                                                                          Apotex
                                                                              ○ Jeremy Desai, Ph.D., President & CEO
                                                                          Dr. Reddy’s
                                                                              ○ Nicholas Cappuccino, Jr., Ph.D., Vice
                                                                                 President and Head of Global Quality
                                                                          Mylan
                                                                              ○ Rajiv Malik, President
                                                                              ○ Nawel Bailey Rojkjaer, Senior Director,
                                                                                 International Affairs, Office of Global
                                                                                 Policy
                                                                          Sandoz


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    MEETING / CONFERENCE
           DATE                            CORPORATE ATTENDEES                 INDIVIDUAL ATTENDEES, INCLUDING:
         LOCATION
                                                                             ○ Peter Goldschmidt, President of Sandoz US
                                                                                 and Head of North America
                                                                             ○ Nick Haggar, Head of Western Europe,
                                                                                 Middle East & Africa
2014 NACDS NYC Week Annual             ○   Teva                          Teva
  Foundation Dinner                    ○   Allergan                          ○ Theresa Coward, Senior Director of Sales
December 3, 2014                       ○   Mylan                             ○ David Rekenthaler, VP, Sales
New York, NY                           ○   Apotex                            ○ Maureen Cavanaugh, Senior VP and Chief
                                       ○   Perrigo                               Operating Officer, N.A. Generics
                                       ○   Sandoz                            ○ Jessica Peters, Director, National Accounts
                                       ○   Valeant                           ○ Christine Baeder, Senior Director,
                                       ○   Upsher-Smith                          Customer Operations
                                                                         Allergan
                                                                             ○ Andrew Boyer, Senior VP (Generic Sales,
                                                                                 Marketing, National Accounts)
                                                                             ○ Marc Falkin, VP (Marketing, Pricing and
                                                                                 Contracts)
                                                                             ○ Brent Saunders, President, CEO and
                                                                                 Chairman
                                                                         Mylan
                                                                             ○ Mike Aigner, Director, National Accounts
                                                                             ○ Robert Potter, Senior VP, North America
                                                                                 National Accounts and Channel
                                                                                 Development
                                                                             ○ Tony Mauro, COO
GPhA 2015 Annual Meeting               ○   Teva                          Teva
February 9-11, 2015                    ○   Allergan                          ○ Sigurdur Olafsson, President & Chief
Fontainebleau Miami Beach, Miami, FL   ○   Akorn                                 Executive Officer, Global Generic
                                       ○   Apotex                                Medicines Group
                                       ○   Aurobindo                         ○ Brian Rubenstein, Executive Counsel
                                       ○   Breckenridge                  Apotex
                                       ○   Dr. Reddy’s                       ○ Jeff Watson, President
                                       ○   Epic                          Mylan
                                       ○   Glenmark                          ○ Rajiv Malik, President
                                       ○   Heritage                          ○ Deborah Autor, Senior VP, Strategic
                                       ○   Impax                                 Global Quality & Regulatory Policy
                                       ○   Lupin                         Perrigo
                                       ○   Mylan                             ○ Joseph Papa, President, Chief Executive
                                       ○   Par                                   Officer & Chairman
                                       ○   Perrigo
                                       ○   Sandoz
                                       ○   Taro
                                       ○   Teligent (IGI Laboratories)
                                       ○   Upsher-Smith
                                       ○   West-Ward
                                       ○   Wockhardt
                                       ○   Zydus
2015 HCSCA National Pharmacy           ○   Teva                          Teva
Forum                                  ○   Allergan                          ○ Nick Gerebi, Director of National Accounts
February 16-18, 2015                   ○   Breckenridge                      ○ Jeff McClard, Sr. Director of National
Tampa, FL                              ○   Mylan                                Accounts
                                       ○   Taro                              ○ Cam Bivens, Director of National Accounts
                                       ○   West-Ward                         ○ Brad Bradford, Director of National
                                                                                Accounts
                                                                         Allergan
                                                                             ○ John Fallon, Executive Director of Sales
                                                                         Breckenridge
                                                                             ○ David Giering, Marketing and Trade
                                                                                Relations Manager


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    MEETING / CONFERENCE
           DATE                           CORPORATE ATTENDEES         INDIVIDUAL ATTENDEES, INCLUDING:
         LOCATION
                                                                Mylan
                                                                   ○ Lee Rosencrance, District Manager
                                                                   ○ Martin Wingerter, Director of National
                                                                      Accounts
                                                                   ○ Jan Bell, Director of National Accounts
                                                                   ○ Heather Paton, VP of Institutional Sales
                                                                   ○ Mark Pittenger, Sr. Director of National
                                                                      Accounts
ECRM’s Annual Retail Pharmacy         ○   Teva
Efficient Program Planning Session    ○   Allergan
February 22-25, 2015                  ○   Akorn
                                      ○   Apotex
                                      ○   Ascend
                                      ○   Aurobindo
                                      ○   Citron
                                      ○   Dr. Reddy’s
                                      ○   Epic
                                      ○   Heritage
                                      ○   Impax
                                      ○   Lannett
                                      ○   Lupin
                                      ○   Mayne
                                      ○   Par
                                      ○   Perrigo
                                      ○   Sandoz
                                      ○   Taro
                                      ○   Teligent
                                      ○   Upsher-Smith
                                      ○   West-Ward
                                      ○   Wockhardt
                                      ○   Zydus
HDMA 2015 Annual CEO Roundtable       ○   Teva                  Teva
Fundraiser                            ○   Allergan                  ○ Christine Baeder, VP, Customer Operations
April 14, 2015                        ○   Apotex                    ○ Maureen Cavanaugh, Chief Operating
New York, NY                          ○   Dr. Reddy’s                  Officer
                                      ○   Mylan                 Allergan
                                      ○   Par                       ○ Andrew Boyer, Senior VP, Generic Sales,
                                      ○   Sandoz                       Marketing, National Accounts
                                      ○   Sun                       ○ Marc Falkin, VP, Marketing, Pricing and
                                      ○   Zydus                        Contracts
                                                                    ○ Anthony Giannone, Executive Director,
                                                                       Sales
2015 NACDS Annual Meeting             ○   Allergan              Teva
April 25-28, 2015                     ○   Teva                      ○ Christine Baeder, Senior VP, Customer and
The Breakers Resort, Palm Beach, FL   ○   Breckenridge                 Marketing Operations
                                      ○   Mylan                     ○ Maureen Cavanaugh, Senior VP and Chief
                                      ○   Par                          Operating Officer, North America Generics
                                      ○   Upsher-Smith              ○ Theresa Coward, Senior Director Sales and
                                      ○   Akorn                        Trade Relations
                                      ○   Apotex                Allergan
                                      ○   Aurobindo                 ○ Andrew Boyer, Senior VP, Generic Sales,
                                      ○   Citron                       Marketing, National Accounts
                                      ○   Dr. Reddy’s               ○ Marc Falkin, VP, Marketing, Pricing and
                                      ○   G&W Laboratories             Contracts
                                      ○   Glenmark                  ○ Robert Stewart, Chief Operating Officer
                                      ○   Impax                     ○ Paul Bisaro, Board Member
                                      ○   Perrigo               Mylan
                                      ○   Sandoz                    ○ Robert Potter, Senior VP, National
                                      ○   Sun                          Accounts and Channel Development


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    MEETING / CONFERENCE
           DATE                             CORPORATE ATTENDEES          INDIVIDUAL ATTENDEES, INCLUDING:
         LOCATION
                                        ○   Taro                     ○    Rob O’Neill, Head of Sales
                                        ○   Valeant                  ○    Anthony Mauro, Chief Commercial Officer
                                        ○   West-Ward                ○    Robert Tighe, National Accounts Director
                                        ○   Wockhardt                ○    James Nesta, VP, Sales
                                        ○   Zydus
2015 HDMA Business & Leadership         ○   Teva                  Teva
Conference                              ○   Allergan                  ○ Christine Bader, VP, Commercial
June 7-10, 2015                         ○   Apotex                       Operations
JW Marriott San Antonio Hill Country,   ○   Aurobindo                 ○ Brad Bradford, Director, National
  San Antonio, TX                       ○   Breckenridge                 Accounts
                                        ○   Citron                    ○ Theresa Coward, Senior Director of
                                        ○   Dr. Reddy’s                  National Sales
                                        ○   Heritage                  ○ Christopher Doerr, Senior Director, Trade
                                        ○   Impax                        Operations
                                        ○   Lannett                   ○ Cassie Dunrud, Associate Director
                                        ○   Lupin                     ○ Nick Gerebi, Director, National Accounts
                                        ○   Mylan                     ○ Jeff Herberholt, Senior Manager, Regional
                                        ○   Par                          Accounts
                                        ○   Sandoz                    ○ Jeff McClard, Senior Director, National
                                        ○   Sun                          Accounts
                                        ○   Upsher-Smith              ○ Jason Nagel, Associate Director, Trade
                                        ○   Wockhardt                    Relations
                                        ○   Zydus                     ○ Michelle Osmian, Director, Customer
                                                                         Operations
                                                                      ○ Nisha Patel, Director, National Accounts
                                                                      ○ Jessica Peters, Director, National Accounts
                                                                  Allergan
                                                                      ○ Andrew Boyer, Sr. VP Generic Sales &
                                                                         Marketing
                                                                      ○ Marc Falkin, VP Marketing, Pricing &
                                                                         Contracts
                                                                      ○ Anthony Giannone, Executive Director,
                                                                         Sales
                                                                      ○ Brandon Miller, Executive Director, Trade
                                                                         Relations
                                                                      ○ Michael Reed, Director, National Trade
                                                                         Accounts
                                                                  Apotex
                                                                      ○ Sam Boulton, Director, National Account
                                                                      ○ John Crawford, Director, National Account
                                                                      ○ Beth Hamilton, VP, Sales & Marketing
                                                                      ○ Jeff Hampton, Sr. VP, Commercial
                                                                         Operations
                                                                      ○ Tina Kaus, Director, National Account
                                                                      ○ Erin Organ, Director, Commercial
                                                                         Operations
                                                                      ○ Jim Van Lieshout, VP, Market Access &
                                                                         Pharmacy Strategy
                                                                      ○ Debbie Veira, Manager, National Accounts
                                                                  Aurobindo
                                                                      ○ Julia Faria, Sr. Manager, Sales Operations
                                                                         & Contract Administration
                                                                      ○ Charles Rath, National Trade Relations
                                                                         Manager
                                                                  Breckenridge
                                                                      ○ Scott Cohon, Director of Sales
                                                                      ○ David Giering, Manager, Marketing &
                                                                         Trade Relations
                                                                      ○ Philip Goldstein, Director of National


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    MEETING / CONFERENCE
           DATE              CORPORATE ATTENDEES         INDIVIDUAL ATTENDEES, INCLUDING:
         LOCATION
                                                           Accounts
                                                   Citron
                                                       ○ Susan Knoblauch, Director, National
                                                           Accounts
                                                       ○ Laura Short, VP of Sales
                                                       ○ Karen Strelau, EVP of Sales & Marketing
                                                   Dr. Reddy’s
                                                       ○ Jake Austin, Director, National Accounts
                                                           Rx Generics
                                                       ○ Victor Borelli, Sr. Director, Head of
                                                           National Accounts Rx Generics
                                                       ○ Sherice Koonce, Director, Rx Pricing
                                                       ○ Katherine Neely, Director, National
                                                           Accounts
                                                       ○ Patricia Wetzel, Sr. Director, National
                                                           Accounts
                                                   Heritage
                                                       ○ Matthew Edelson, Associate Director,
                                                           National Accounts
                                                       ○ Jeff Glazer, CEO & Vice Chairman
                                                       ○ Jason Malek, Senior VP, Commercial
                                                           Operations
                                                       ○ Neal O’Mara, Director, National Accounts
                                                       ○ Anne Sather, Director, National Accounts
                                                   Impax
                                                       ○ William Ball, Senior National Sales
                                                           Manager
                                                       ○ Danny Darnell, Senior National Accounts
                                                           Manager
                                                       ○ Todd Engle, VP, Sales & Marketing
                                                       ○ Michael Grigsby, Senior National Accounts
                                                           Manager
                                                       ○ Italo Pennella, Trade Account Manager
                                                       ○ Thomas Sammler, Director, Sales
                                                           Operations
                                                       ○ Gary Skalski, Senior Director, Sales
                                                   Lannett
                                                       ○ Kevin Smith, Sr. VP of Sales & Marketing
                                                       ○ Breanna Stillman, Sales Analyst
                                                       ○ Tracy Sullivan, Director of National
                                                           Accounts
                                                       ○ Grace Wilks, Director of National
                                                           Accounts
                                                   Lupin
                                                       ○ David Berthold, VP of Sales, US Generics
                                                       ○ William Chase, Director, Managed Markets
                                                           & Trade (Brand)
                                                       ○ Jason Gensburger, Director, Financial
                                                           Services
                                                       ○ Kevin Walker, National Account Manager
                                                       ○ Lauren Walten, Regional Sales Associate
                                                   Mylan
                                                       ○ Todd Bebout, VP of Sales, VP – NA
                                                           Supply Chain Management
                                                       ○ Janet Bell, Director, National Accounts
                                                       ○ Richard Isaac, Senior Manager, Strategic
                                                           Accounts
                                                       ○ Stephen Krinke, National Account
                                                           Manager


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    MEETING / CONFERENCE
           DATE                         CORPORATE ATTENDEES             INDIVIDUAL ATTENDEES, INCLUDING:
         LOCATION
                                                                    ○    Rob O’Neill, Head of Sales, Generic, NA
                                                                    ○    Sean Reilly, National Account Manager
                                                                    ○    Erik Williams, VP, NA Pricing
                                                                    ○    Lance Wyatt, Director, National Accounts
                                                              Par
                                                                  ○ Karen O’Connor, VP, National Accounts
                                                              Sandoz
                                                                  ○ Ken Baker, Director, Managed Markets
                                                                  ○ Christopher Bihari, Director of National
                                                                     Accounts (Sales)
                                                                  ○ Seth Coombs, Executive Director,
                                                                     Oncology Injectables
                                                                  ○ Steven Greenstein, Director of National
                                                                     Accounts (Sales)
                                                                  ○ Anuj Hasija, Executive Director, Key
                                                                     Customers
                                                                  ○ Jason Jones, Director of Key Customers
                                                                  ○ Kirko Kirkov, Executive Director, Key
                                                                     Customers
                                                                  ○ Marco Polizzi, Head, Institutional Sales &
                                                                     Marketing
                                                                  ○ Arun Varma, Executive Director,
                                                                     Marketing
                                                                  ○ Sean Walsh, Key Account Manager
                                                              Sun
                                                                  ○ Daniel Schober, VP, Trade Sales
                                                                  ○ Steve Smith, Sr. Director, Sales
                                                              Upsher-Smith
                                                                  ○ JoAnn Gaio, Senior National Account
                                                                     Manager, Trade
                                                                  ○ Scott Hussey, Senior VP, Global Sales
                                                                  ○ Brad Leonard, Senior Director, National
                                                                     Accounts
                                                                  ○ Michael McBride, Associate VP, Partner
                                                                     Relations
                                                                  ○ Mike Muzetras, Senior National Accounts
                                                                     Manager
                                                                  ○ David Zitnak, National Accounts Senior
                                                                     Director – Trade
                                                                  ○ Doug Zitnak, National Accounts Senior
                                                                     Director – Trade
                                                              Wockhardt
                                                                  ○ Karen Andrus, Director of Sales
                                                                  ○ Scott Koenig, VP, Retail Generics
                                                              Zydus
                                                                  ○ Maria Bianco-Falcone, Director of Offer
                                                                     Development & Trade Operations
                                                                  ○ Scott Goldy, Sales Director
                                                                  ○ Kevin Green, Senior Director of Sales
                                                                  ○ Maria McManus, Corporate Account
                                                                     Manager
                                                                  ○ Louis Pastor, Senior Director, Trade
                                                                     Operations
                                                                  ○ Kristy Ronco, VP, Sales
                                                                  ○ Jodi Weber, Corporate Account Manager
GPhA 2015 CMC Conference            ○   Teva                  Teva
June 9-10, 2015                     ○   Allergan                  ○ Scott Tomsky, Generic Regulatory Affairs,
Bethesda North Marriot Hotel &      ○   Apotex                       North America
  Conference Center, Bethesda, MD   ○   Citron                    ○ Siva Vaithiyalingam, Director, Regulatory


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    MEETING / CONFERENCE
           DATE                   CORPORATE ATTENDEES               INDIVIDUAL ATTENDEES, INCLUDING:
         LOCATION
                              ○   Dr. Reddy’s                         Affairs
                              ○   Fougera                     Allergan
                              ○   Glenmark                        ○ Joyce Anne DelGaudio Executive Director,
                              ○   Heritage                            Regulatory Affairs
                              ○   Impax                       Apotex
                              ○   Lannett                         ○ Kiran Krishnan, VP, Regulatory Affairs
                              ○   Lupin                       Impax
                              ○   Mylan                           ○ Marcy Macdonald, VP, Regulatory Affairs
                              ○   Par                         Mylan
                              ○   Perrigo                         ○ Bryan Winship, Senior Director, Quality
                              ○   Sandoz                              Management, Strategic Global Quality &
                              ○   Sun                                 Regulatory Policy
                              ○   Taro                            ○ Daniel Snider, VP, Research &
                              ○   UDL (Mylan Institutional)           Development
                              ○   Upsher-Smith                    ○ Timothy Ames, VP, Global Strategic
                              ○   West-Ward                           Regulatory Affairs
                              ○   Wockhardt                       ○ Dawn Culp, VP, Global Regulatory Affairs
                              ○   Zydus                               Policy
                                                              Perrigo
                                                                  ○ Richard Stec, VP, Global Regulatory
                                                                      Affairs
                                                              Sandoz
                                                                  ○ Nicholas Tantillo, Head, Policy &
                                                                      Regulatory Strategy
2015 NACDS Total Store Expo   ○   Teva                        Teva
August 22-25, 2015            ○   Allergan                        ○ Maureen Cavanaugh, Senior VP and Chief
Colorado Convention Center,   ○   Breckenridge                        Operating Officer, North America Generics
Denver, CO                    ○   Heritage                        ○ Kevin Galownia, Head of Marketing
                              ○   Mylan                               Operations
                              ○   Par                             ○ Jessica Peters, Manager of Corporate
                              ○   Upsher-Smith                        Accounts
                              ○   Akorn                           ○ Nisha Patel, Director of National Accounts
                              ○   Apotex                          ○ Theresa Coward, Senior Director, Sales and
                              ○   Citron                              Trade Relations
                              ○   Dr. Reddy’s                     ○ Cassie Dunrud, Associate Director,
                              ○   Glenmark                            National Accounts
                              ○   Lannett                         ○ Christine Baeder, Senior VP, Customer and
                              ○   Mayne                               Marketing Operations
                              ○   Perrigo                     Allergan
                              ○   Sandoz                          ○ Andrew Boyer, President and CEO, North
                              ○   Sun                                 America Generics
                              ○   Taro                            ○ Napoleon Clark, VP of Marketing
                              ○   Valeant                         ○ Michael Dorsey, Director of National
                              ○   West-Ward                           Accounts
                              ○   Wockhardt                       ○ Marc Falkin, VP of Purchasing
                              ○   Zydus                           ○ Richard Rogerson, Senior Director, New
                                                                      Products, Business Analytics and Systems
                                                                  ○ Anthony Giannone, Executive Director,
                                                                      Sales
                                                                  ○ Allan Slavsky, Sales Consultant
                                                              Heritage
                                                                  ○ Jeffrey Glazer, CEO
                                                                  ○ Jason Malek, Senior VP
                                                                  ○ Gina Gramuglia, Commercial Operations
                                                                  ○ Neal O’Mara, National Accounts Manager
                                                                  ○ Anne Sather, National Accounts Manager
                                                                  ○ Ashley O’Rourke, Sales Director
                                                              Mylan
                                                                  ○ Anthony Mauro, President


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    MEETING / CONFERENCE
           DATE                           CORPORATE ATTENDEES         INDIVIDUAL ATTENDEES, INCLUDING:
         LOCATION
                                                                   ○ Kevin McElfresh, Executive Director,
                                                                     National Accounts
                                                                   ○ Robert Potter, Senior VP, National
                                                                     Accounts and Channel Development
                                                                   ○ Michael Aigner, Director, National
                                                                     Accounts
                                                                   ○ James Nesta, VP, Sales
GPhA 2015 Fall Technical Conference   ○   Teva
November 2-4, 2015                    ○   Allergan
Bethesda, MD                          ○   Apotex
                                      ○   Aurobindo
                                      ○   Citron
                                      ○   Dr. Reddy’s
                                      ○   Glenmark
                                      ○   Heritage
                                      ○   Lannett
                                      ○   Mylan
                                      ○   Par
                                      ○   Perrigo
                                      ○   Sandoz
                                      ○   Sun
                                      ○   Taro
                                      ○   Westward
                                      ○   Zydus
NACDS 2016 Annual Meeting             ○   Teva                  Teva
April 16-19, 2016                     ○   Allergan                  ○ Christine Baeder, Senior VP, Customer and
Palm Beach, FL                        ○   Akorn/Hi-Tech                Marketing Operations
                                      ○   Aurobindo                 ○ Maureen Cavanaugh, Senior VP and Chief
                                      ○   Breckenridge                 Operating Officer, North America Generics
                                      ○   Citron                    ○ Sigurdur Olafsson, President
                                      ○   Dr. Reddy’s           Allergan
                                      ○   Glenmark                  ○ Marc Falkin, Senior VP, Sales
                                      ○   Lupin                     ○ Andrew Boyer, President North American
                                      ○   Mylan                        Generics
                                      ○   Par
                                      ○   Perrigo
                                      ○   Sandoz
                                      ○   Sun
                                      ○   Taro
                                      ○   Upsher-Smith
                                      ○   West-Ward
                                      ○   Wockhardt
                                      ○   Zydus




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                                        APPENDIX C
                              Graphs of Collusive Price Increases


a.       Pravastatin Sodium




b.       Enalapril Maleate




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c.       Cephalexin Oral Suspension




d.       Ketoconazole Tablets and 2% Cream




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e.       Baclofen Tablets




f.       0.05% Fluocinonide




g.       Carbamazepine Tablets and Chewable Tablets




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h.       Estradiol Tablets




i.       Clobetasol Propionate Topical Cream




j.       Diclofenac Potassium Tablets




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k.       Glyburide Micronized




l.       Desonide Topical Lotion and External Cream




m.       Doxycycline Hyclate Capsules




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n.       Propranolol Hydrochloride




o.       Tretinoin External Cream




p.       Ursodiol Capsules




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q.       Nystatin




r.       Theophylline ER




s.       Propranolol Tablets




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t.       Oxybutynin Chloride




u.       Desmopressin Acetate




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v.       Labetalol




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                                   CERTIFICATE OF SERVICE

         I hereby certify that on this 28th day of May, 2020, a copy of the foregoing was filed

electronically. Notice of this filing will be sent by e-mail to all parties by operation of the Court’s

electronic filing system or by mail to anyone unable to accept electronic filing as indicated on the

Notice of Electronic Filing. Parties may access this filing through the Court’s CM/ECF system.

                                                    s/ Chad Johnson
                                                    CHAD JOHNSON

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                                                    Telephone: 619/231-1058
                                                    619/231-7423 (fax)

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